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                           No. 19-2706


  In The
  lti TO United  States Court
         Eluiteb iptate   court Off Appeals
                                    ZippeaN
          For
          jfor The
               TO Third
                    ZEljtrb Circuit
                            Circuit

                     DR. ORIEN L. TULP,

                                                    Plaintiff - Appellant,
                                                    Plaintiff
                                 vv..


 EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
               GRADUATES et al.,

                                                  Defendants - Appellees.


      On Appeal from the Order and Judgment Entered by the
       United States District Court for the Eastern District of
              Pennsylvania, No. 2:18-cv-05540-WB


               SUPPLEMENTAL APPENDIX
           (Volume II of III, pages SAppx0040-0510)


                                         Elisa P. McEnroe
                                         Matthew D. Klayman
                                         MORGAN, L
                                         MORGAN,    EWIS & B
                                                   LEWIS     OCKIUS LLP
                                                            BOCKIUS
                                         1701 Market Street
                                         Philadelphia, PA 19103
                                         T. 215.963.5917
                                         F. 215.963.5001

          for Appellees Educational Commission for
Attorneysfor                                    for Foreign Medical
                 Graduates and Dr. William
                                    William Pinsky
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     20, 2019 ........................................................................................ SAppx0954
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                                                                                               of Pennsylvania

                                                                                                     CLOSED,APPEAL,SPECIAL

                                            United States District Court
                                   Eastern District of Pennsylvania (Philadelphia)
                                 CIVIL DOCKET FOR CASE #: 2:18-cv-05540-WB


 TULP v. EDUCATIONAL COMMISSION FOR FOREIGN                                         Date Filed: 12/24/2018
 MEDICAL GRADUATES et al                                                            Date Terminated: 06/25/2019
 Assigned to: HONORABLE WENDY BEETLESTONE                                           Jury Demand: Plaintiff
 related Case: 2:19-cv-02779-WB                                                     Nature of Suit: 190 Contract: Other
 Case in other court: USCA, 19-02706                                                Jurisdiction: Diversity
 Cause: 28:1332 Diversity-Other Contract
 Plaintiff
 DR. ORIEN L. TULP                                                   represented by TOMMY SWATE
 PRESIDENT OF THE UNIVERSITY OF                                                     403 WILD PLUM
 SCIENCE, ARTS, AND TECHNOLOGY                                                      HOUSTON, TX 77013
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    WILLIAM C. REIL
                                                                                    1515 MARKET ST SUITE 1200
                                                                                    PHILADELPHIA, PA 19102
                                                                                    215-564-1635
                                                                                    Fax: 215-564-4292
                                                                                    Email: billreillaw@gmail.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


 V.
 V.
 Defendant
 EDUCATIONAL COMMISSION FOR                                          represented by ELISA P. MCENROE
 FOREIGN MEDICAL GRADUATES                                                          MORGAN LEWIS BOCKIUS LLP
                                                                                    1701 MARKET ST
                                                                                    PHILADELPHIA, PA 19103-2921
                                                                                    215-963-5917
                                                                                    Email: emcenroe@morganlewis.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    MATTHEW DANIEL KLAYMAN
                                                                                    MORGAN, LEWIS & BOCKIUS LLP
                                                                                    1701 MARKET STREET
                                                                                    PHILADELPHIA, PA 19103
                                                                                    215-963-5000
                                                                                    Fax: 215-963-5001
                                                                                    Email:
                                                                                    matthew.klayman@morganlewis.com
                                                                                    ATTORNEY TO BE NOTICED

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                                                                 District Court     4 District
                                                                                Eastern   Date     Filed: 01/16/2020
                                                                                               of Pennsylvania

 Defendant
 DR. WILLIAM W. PINSKY                                               represented by ELISA P. MCENROE
 PRESIDENT AND CEO EDUCATIONAL                                                      (See above for address)
 COMMISSION FOR FOREIGN MEDICAL                                                     LEAD ATTORNEY
 GRADUATES                                                                          ATTORNEY TO BE NOTICED

                                                                                    MATTHEW DANIEL KLAYMAN
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  12/24/2018          I 1 COMPLAINT against EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                          GRADUATES, WILLIAM W. PINSKY ( Filing fee $ 400 receipt number 189872.), filed
                          by ORIEN L. TULP. (Attachments: # 1 Civil Cover Sheets)(ahf) (Entered: 12/26/2018)
  12/24/2018                 Summons Issued as to EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                             GRADUATES, WILLIAM W. PINSKY. 2 Forwarded To: Counsel on 12/26/2018 (ahf)
                             (Entered: 12/26/2018)
  12/24/2018            2 Disclosure Statement Form pursuant to FRCP 7.1 by OMEN L. TULP.(ahf) (Entered:
                          12/26/2018)
  12/24/2018                 DEMAND for Trial by Jury by OMEN L. TULP. (ahf) (Entered: 12/26/2018)
  01/02/2019          I 3 First MOTION for Permanent Injunction , First MOTION for Preliminary Injunction filed
                          by OMEN L. TULP.Memorandum of Law. (Attachments: # 1 Text of Proposed Order
                          Order, # 2 Memorandum Memo of Law)(REIL, WILLIAM) (Entered: 01/02/2019)
  01/03/2019          I 4 SUMMONS Returned Executed by OMEN L. TULP re: James Davis served Summons
                          and Complaint upon EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                          GRADUATES, WILLIAM W. PINSKY by Personal Service. EDUCATIONAL
                          COMMISSION FOR FOREIGN MEDICAL GRADUATES served on 1/2/2019, answer
                          due 1/23/2019; WILLIAM W. PINSKY served on 1/2/2019, answer due 1/23/2019. (fdc, )
                          (Entered: 01/03/2019)
  01/03/2019            5 Praecipe to Attach Certificate of Service by OMEN L. TULP. (Attachments: # 1
                          Memorandum, # 2 Certificate of Service Cert of Service)(REIL, WILLIAM) (Entered:
                          01/03/2019)
  01/03/2019          I 6 APPLICATION for Admission Pro Hac Vice of Tommy Swate by OMEN L. TULP..
                          (REIL, WILLIAM) (Entered: 01/03/2019)
  01/04/2019            7 AMENDED DOCUMENT by OMEN L. TULP. Amendment to 6 Application for
                          Admission Pro Hac Vice . (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                          Service)(REIL, WILLIAM) (Entered: 01/04/2019)
  01/04/2019          I 8 ORDER THAT THE APPLICATION OF TOMMY SWATE, ESQ. TO PRACTICE IN
                          THIS COURT PURSUANT TO LRCP 83.5.2(B) IS GRANTED. SIGNED BY
                          HONORABLE WENDY BEETLESTONE ON 1/4/19. 1/4/19 ENTERED AND COPIES
                          MAILED AND E-MAILED. COPIES MAILED TO UNREPS. ECF APPLICATION
                          MAILED TO SWATE. (fdc) (Entered: 01/04/2019)
  01/04/2019          I 9 ORDER THAT A HEARING ON PLAINTIFF'S FIRST MOTION FOR PERMANENT
                          INJUNCTION (ECF # 3) SHALL TAKE PLACE ON FRIDAY, 1/11/2019 AT 10:00 AM
                          IN COURTROOM 3B OF 601 MARKET STREET, PHILADELPHIA, PA 19106.
                          SIGNED BY HONORABLE WENDY BEETLESTONE ON 01/04/2019. 01/04/2019
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                                                                                Eastern   Date     Filed: 01/16/2020
                                                                                               of Pennsylvania

                             ENTERED AND COPIES MAILED, E-MAILED.(nd, ) Modified on 1/4/2019 (nd, ).
                             (Entered: 01/04/2019)
  01/04/2019           10 AFFIDAVIT of Service by Theresa DeTommaso re: served Summons & Complaint upon
                          Educational Commission for Foreign Medical Graduates, Dr. William W. Pinsky by
                          Personal Service on 12/31/18. (fdc) (Entered: 01/07/2019)
  01/08/2019           11 NOTICE of Appearance by ELISA P. MCENROE on behalf of EDUCATIONAL
                          COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM W. PINSKY with
                          Certificate of Service(MCENROE, ELISA) (Entered: 01/08/2019)
  01/10/2019           12 RESPONSE in Opposition re 3 First MOTION for Permanent Injunction First MOTION
                          for Preliminary Injunction with Certificate of Service filed by EDUCATIONAL
                          COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM W. PINSKY.
                          (Attachments: # 1 Text of Proposed Order Proposed Order, # 2 Exhibit Exhibit 1, # 3
                          Exhibit Exhibit 2, # 4 Exhibit Exhibit 3, # 5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7
                          Exhibit Exhibit 6, # 8 Exhibit Exhibit 7, # 9 Exhibit Exhibit 8, # 10 Exhibit Exhibit 9, # 11
                          Exhibit Exhibit 10, # 12 Exhibit Exhibit 11, # 13 Exhibit Exhibit 12, # 14 Exhibit Exhibit
                          13, # 15 Exhibit Exhibit 14, # 16 Exhibit Exhibit 15, # 17 Exhibit Exhibit 16)(MCENROE,
                          ELISA) (Entered: 01/10/2019)
  01/10/2019           13 MOTION to Quash Subpoena for the Appearance of Dr. William W. Pinsky filed by
                          EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM
                          W. PINSKY.Memorandum, Declaration, Certificate of Service. (Attachments: # 1
                          Memorandum of Law, # 2 Text of Proposed Order, # 3 Exhibit A, # 4 Exhibit B, # 5
                          Exhibit C, # 6 Exhibit D, # 7 Exhibit E)(MCENROE, ELISA) (Entered: 01/10/2019)
  01/10/2019           14 Disclosure Statement Form pursuant to FRCP 7.1 with Certificate of Service by
                          EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES.
                          (MCENROE, ELISA) (Entered: 01/10/2019)
                                                                                                                __
  01/10/2019           15 AFFIDAVIT of Service by National Association of Professional Process Servers re: served
                          Praecipe to Attach upon Education Commission for Foreign Medical Graduates, Dr.
                          William W. Pinsky by Personal Service on 1/4/19 (fdc,)
                                                                          (fdc, ) (Entered: 01/10/2019)
                                                                                                                 _
  01/10/2019           16 NOTICE OF RESCHEDULED HEARING ON PRELIMINARY INJUNCTION -
                          HEARING HAS BEEN RESCHEDULED UNTIL THURSDAY, JANUARY 24, 2019 AT
                          2:00 P.M. IN COURTROOM 3B. PLEASE MAKE NOTE OF THIS CHANGE IN DATE
                          AND TIME. THANK YOU. (amw, ) (Entered: 01/10/2019)
  01/10/2019           17 NOTICE of Appearance by MATTHEW DANIEL KLAYMAN on behalf of
                          EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM
                          W. PINSKY with Certificate of Service(KLAYMAN, MATTHEW) (Entered: 01/10/2019)
  01/15/2019           18 NOTICE OF CONFERENCE FOLLOWING HEARING: PRETRIAL CONFERENCE
                          SET FOR 1/24/2019 04:00 PM FOLLOWING SCHEDULED PRELIMINARY
                          INJUNCTION HEARING IN COURTROOM 3B BEFORE HONORABLE WENDY
                          BEETLESTONE. (Attachments: # 1 Electronic Discovery Order, # 2 Joint Report of Rule
                          26(f) Meeting and Proposed Discovery Plan)(amw, ) (Entered: 01/15/2019)
  01/18/2019           19 Report Of Rule 260
                                         26(1) Meeting and Proposed Discovery Plan by EDUCATIONAL
                          COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM W. PINSKY.
                          (KLAYMAN, MATTHEW) (Entered: 01/18/2019)
  01/22/2019           20 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by EDUCATIONAL
                          COMMISSION FOR FOREIGN MEDICAL GRADUATES, WILLIAM W.
                          PINSKY.Certificate of Service. (Attachments: # 1 Memorandum of Law, # 2 Proposed
                          Order)(MCENROE, ELISA) (Entered: 01/22/2019)

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  01/25/2019           21    SCHEDULING ORDER. ORDER THAT ALL FACT DISCOVERY IS DUE BY 4/19/19,
                             ANY MOTIONS FOR SUMMARY JUDGMENT SHALL BE FILED BY 5/3/19.
                             SIGNED BY HONORABLE WENDY BEETLESTONE ON 1/24/19. 1/25/19 ENTERED
                             AND COPIES MAILED & E-MAILED.(fdc) (Entered: 01/25/2019)
  01/25/2019           22 ORDER THAT PLAINTIFF'S 3 MOTION FOR A PERMANENT AND PRELIMINARY
                          INJUNCTION IS DENIED. IT IS FURTHER ORDERED THAT DEFENDANTS' 13
                          MOTION TO QUASH SUBPOENA FOR THE APPEARANCE OF DR. WILLIAM W.
                          PINSKY IS DISMISSED AS MOOT. SIGNED BY HONORABLE WENDY
                          BEETLESTONE ON 1/24/19.1/25/19 ENTERED AND COPIES MAILED AND E-
                          MAILED.(fdc) (Entered: 01/25/2019)
  01/25/2019           23 Minute Entry for proceedings held before HONORABLE WENDY BEETLESTONE.
                          Preliminary Pretrial Conference & Injunction Hearing held on 1/24/19 Court Reporter:
                          ESR. (fdc) (Entered: 01/28/2019)
  02/14/2019           24 RESPONSE in Opposition re 20 MOTION TO DISMISS FOR FAILURE TO STATE A
                          CLAIM with Memorandum of Law, Proposed Order, and Certificate of Service filed by
                          ORIEN L. TULP. (REIL, WILLIAM) (Entered: 02/14/2019)
                                                                                                  __
  02/21/2019           25 REPLY to Response to Motion re 20 MOTION TO DISMISS FOR FAILURE TO STATE
                          A CLAIM filed by EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                          GRADUATES, WILLIAM W. PINSKY. (MCENROE, ELISA) (Entered: 02/21/2019)
  02/25/2019           26    TRANSCRIPT of Preliminary Injunction Hearing held on 1/24/19, before Judge
                             Beetlestone. Court Reporter/Transcriber Chris Hwang. Transcript may be viewed at the
                             court public terminal or purchased through the Court Reporter/Transcriber before the
                             deadline for Release of Transcript Restriction. After that date it may be obtained through
                             PACER.. Redaction Request due 3/18/2019. Redacted Transcript Deadline set for
                             3/28/2019. Release of Transcript Restriction set for 5/28/2019. (fdc) (Entered: 02/25/2019)
  02/25/2019           27 Notice of Filing of Official Transcript with Certificate of Service re 26 Transcript - PDF,
                          2/25/19 Entered and Copies Emailed and Mailed. (fdc) (Entered: 02/25/2019)
  03/26/2019           28 MEMORANDUM AND OPINION. SIGNED BY HONORABLE WENDY
                          BEETLESTONE ON 3/26/19. 3/26/19 ENTERED AND COPIES MAILED AND E-
                          MAILED.(fdc) (Entered: 03/26/2019)
  03/26/2019           29 MEMORANDUM AND ORDER THAT DEFENDANTS' MOTION TO DISMISS
                          PLAINTIFF'S COMMON LAW DUE PROCESS CLAIM AGAINST ECFMG IS
                          DENIED; DEFENDANTS' MOTION TO DISMISS THE REMAINDER OF
                          PLAINTIFF'S CLAIMS AGAINST DEFENDANTS IS GRANTED. SUCH CLAIMS
                          ARE DISMISSED WITHOUT PREJUDICE. SIGNED BY HONORABLE WENDY
                          BEETLESTONE ON 3/26/19. 3/26/19 ENTERED AND COPIES MAILED AND E-
                          MAILED.(fdc) (Entered: 03/26/2019)
  04/09/2019           30 ANSWER to 1 Complaint and Affirmative Defenses by EDUCATIONAL COMMISSION
                          FOR FOREIGN MEDICAL GRADUATES.(MCENROE, ELISA) (Entered: 04/09/2019)
                                                                                                                        _
  05/03/2019           31 MOTION for Summary Judgment filed by EDUCATIONAL COMMISSION FOR
                          FOREIGN MEDICAL GRADUATES.Certificate of Service. (Attachments: # 1
                          Memorandum of Law, # 2 Proposed Order, # 3 Statement of Undisputed Material Facts, #
                          4 Joint Appendix)(MCENROE, ELISA) (Entered: 05/03/2019)
  05/17/2019           32    STIPULATION AND ORDER THAT PLAINTIFF WILL RECEIVE A 10-DAY
                             EXTENSION (UNTIL JUNE 3, 2019) OF THE DEADLINE TO RESPOND TO
                             DEFENDANT'S MOTION FOR SUMMARY JUDGMENT 31 . SIGNED BY


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                                                                                Eastern   Date     Filed: 01/16/2020
                                                                                               of Pennsylvania

                             HONORABLE WENDY BEETLESTONE ON 5/14/19. 5/17/19 ENTERED AND
                             COPIES MAILED & E-MAILED.(fdc) (Entered: 05/17/2019)
  06/03/2019         133 Answer to defendants' re 31 MOTION for Summary Judgment filed by ORIEN L. TULP.
                         Memorandum of law, Statement of Disputed Facts, Certificate of service. (Attachments: #
                         1 Memorandum, # 2 Text of Proposed Order, # 3 Statement of Disputed Material Facts, # 4
                         Appendix-Table of Contents, # 5 Plaintiffs Appendix, # 6 Certificate of Service)(REIL,
                         WILLIAM) Modified on 6/5/2019 (afm, ). (Entered: 06/03/2019)
  06/20/2019          1 34 REPLY to Response to Motion re 31 MOTION for Summary Judgment with Certificate of
                           Service filed by EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                           GRADUATES. (Attachments: # 1 Reply Statement of Undisputed Material Facts, # 2
                           Supplement to Joint Appendix and Table of Contents)(MCENROE, ELISA) (Entered:
                           06/20/2019)
  06/25/2019         135 MEMORANDUM AND OPINION. SIGNED BY HONORABLE WENDY
                         BEETLESTONE ON 6/25/19. 6/25/19 ENTERED AND COPIES MAILED & E-
                         MAILED.(fdc)
                         MAILED.(fdc) (Entered: 06/25/2019)
  06/25/2019         136 MEMORANDUM AND ORDER THAT DEFENDANT'S MOTION FOR SUMMARY
                         JUDGMENT 33 IS GRANTED. IT IS FURTHER ORDERED THAT THE CLERK OF
                         COURT SHALL MARK THIS CASE AS CLOSED. SIGNED BY HONORABLE
                         WENDY BEETLESTONE ON 6/25/19. 6/25/19 ENTERED AND COPIES MAILED
                         AND E-MAILED.(fdc) (Entered: 06/25/2019)
  07/23/2019           37 NOTICE OF APPEAL by ORIEN L. TULP. Filing fee $ 505, receipt number 0313-
                          13687584. Copies to Judge, Clerk USCA, Appeals Clerk and Appeal Record due by
                          7/25/2019. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Certificate of Service)(REIL,
                          WILLIAM) (Entered: 07/23/2019)
  07/26/2019         138 NOTICE of Docketing Record on Appeal from USCA re 37 Notice of Appeal (Credit Card
                         Payment), filed by ORIEN L. TULP. USCA Case Number 19-2706 (dmc, ) (Entered:
                         07/29/2019)




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                                      1 Filed Date Filed: 01/16/2020
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LAW    OFFICES OF
LAW OFFICES       OF WILLIAM
                       WILLIAM C.   C. REIL
                                       REIL
BY: William
BY:  William C.C. Reil,
                  Reil, Esquire
                        Esquire
Identification No. 26833
Identification No.  26833
1515 Market
1515  Market Street,
               Street, Suite  1200
                       Suite 1200
Philadelphia, PA
Philadelphia,  PA 19102
                   19102
215-564-1635
215-564-1635                                                ATTORNEY FOR
                                                            ATTORNEY   FOR PLAINTIFF
                                                                           PLAINTIFF
Dr. Orien
Dr. Orien L.
           L. Tulp
              Tulp                             :            UNITED STATES
                                                            UNITED         DISTRICT
                                                                    STATES DISTRICT
President of
President of the
             the                               :            COURT FOR
                                                            COURT  FOR THE
                                                                       THE EASTERN
                                                                           EASTERN
University of
University  of Science,  Arts, and
               Science, Arts,   and Technology
                                    Technology ::           DISTRICT OF
                                                            DISTRICT OF PENNSYLVANIA
                                                                        PENNSYLVANIA
4288 Youngfield
4288  Youngfield Street
                   Street                      :
Wheat Ridge,
Wheat   Ridge, CO
                CO 80033
                    80033                      :            CIVIL ACTION
                                                            CIVIL ACTION NO.
                                                                         NO.
                        vs.
                        vs.                    :
Educational  Commission for
Educational Commission       for                :
Foreign Medical
Foreign  Medical Graduates
                   Graduates                   :
3624 Market
3624  Market Street
               Street                          :
Philadelphia, PA
Philadelphia,  PA 19104
                   19104                       :
                        and
                        and                    :
Dr. William
Dr. William W W. Pinsky
                  Pinsky                       :
President and
President and CEO
               CEO                             :
Educational  Commission for
Educational Commission       for                :
Foreign Medical
Foreign  Medical Graduates
                   Graduates                   :
3624 Market
3624  Market Street
               Street                          :
Philadelphia, PA
Philadelphia,  PA 19104
                   19104                       :            JURY
                                                            JURY TRIAL DEMANDED
                                                                 TRIAL DEMANDED

                               COMPLAINT —
                               COMPLAINT – CIVIL
                                           CIVIL ACTION
                                                 ACTION

                                             PARTIES
                                             PARTIES

    1. The
    1.       plaintiff is
       The plaintiff    is Dr.
                           Dr. Orien
                                Orien L.
                                       L. Tulp, hereafter referred
                                          Tulp, hereafter  referred to
                                                                    to as
                                                                       as "Dr.
                                                                          “Dr. Tulp”,
                                                                                Tulp", anan adult
                                                                                             adult
individual whose
individual whose address
                   address for for service
                                   service of
                                           of process
                                              process is
                                                       is at
                                                          at 4288
                                                              4288 Youngfield
                                                                   Youngfield Street,    Wheat
                                                                                Street, Wheat
Ridge, CO
Ridge, CO 80033.
            80033. AtAt all
                          all times
                              times material
                                     material herein,
                                              herein, plaintiff
                                                      plaintiff was
                                                                 was President
                                                                     President ofof the
                                                                                    the University
                                                                                         University
of Science,
of          Arts, and
   Science, Arts, and Technology        (“USAT”), and
                         Technology ("USAT"),       and had
                                                          had an
                                                               an ownership
                                                                  ownership interest
                                                                              interest in
                                                                                        in the
                                                                                           the
University. USAT     is  located  in Montserrat,  but its  US   administrative office  is
University. USAT is located in Montserrat, but its US administrative office is located at located  at
the address
the address in
            in the
               the caption,
                    caption, andand students
                                    students take
                                              take classes
                                                   classes in   Montserrat and
                                                             in Montserrat  and the
                                                                                the US
                                                                                     US via
                                                                                          via aa
distance education
distance education format.
                     format.

    2. A
    2.  A defendant
          defendant is is the
                          the Educational   Commission for
                              Educational Commission    for Foreign
                                                            Foreign Medical
                                                                     Medical Graduates,
                                                                               Graduates,
hereafter referred
hereafter referred to
                    to as
                        as "ECFMG"
                           “ECFMG” or  or "the
                                          “the Board",
                                               Board”, which
                                                       which is
                                                              is an
                                                                 an unincorporated
                                                                    unincorporated association,
                                                                                    association,
whose address
whose   address for
                 for service
                     service of
                              of process
                                 process is
                                         is 3624
                                            3624 Market
                                                 Market Street,  Philadelphia, PA
                                                         Street, Philadelphia, PA 19104.
                                                                                   19104.
According to
According   to their
               their mission
                     mission statement,
                               statement, the
                                           the ECFMG
                                               ECFMG isis an
                                                          an organization
                                                             organization which
                                                                           which purports
                                                                                  purports to
                                                                                           to
certify medical
certify medical school
                  school students
                          students and
                                    and graduates
                                        graduates to
                                                  to practice
                                                     practice medicine
                                                              medicine in  the United
                                                                        in the United States.
                                                                                      States.




                                              SAppx0045
                                              SAppx0045
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    3. A
    3. A defendant
         defendant isis Dr.
                        Dr. William
                            William WW. Pinsky,
                                          Pinsky, the
                                                  the President
                                                      President and
                                                                and CEO
                                                                     CEO of
                                                                          of the
                                                                             the ECFMG,
                                                                                 ECFMG,
whose address
whose  address for
               for service
                   service of
                            of process
                               process is
                                       is indicated
                                          indicated in
                                                    in the
                                                       the caption. See Exhibit
                                                           caption. See         A, attached
                                                                        Exhibit A, attached
and incorporated
and              herein.
    incorporated herein.

    4. ECFMG
    4.  ECFMG is   is an
                      an organization
                           organization sponsored
                                          sponsored by by various
                                                          various medical
                                                                     medical organizations,
                                                                              organizations, including
                                                                                                 including
the Federation
the Federation ofof State   Medical Boards.
                     State Medical    Boards. Through
                                                Through thethe ECFMG’s       certification process,
                                                                ECFMG's certification        process, it it
gives medical
gives  medical students
                students andand medical
                                 medical graduates
                                           graduates aa certification
                                                         certification ofof eligibility
                                                                            eligibility (essentially
                                                                                         (essentially aa
license) to
license) to apply
            apply for
                    for aa ACGME
                           ACGME [Accreditation
                                      [Accreditation Council
                                                        Council forfor Graduate
                                                                       Graduate Medical
                                                                                   Medical Education]
                                                                                              Education]
certified residency
certified              program of
          residency program       of postgraduate
                                     postgraduate specialty
                                                     specialty training
                                                                 training that
                                                                          that can
                                                                                can lead   to medical
                                                                                      lead to medical
licensure  of the
licensure of  the applicant.
                  applicant. A  A residency    program is
                                   residency program     is aa certified
                                                               certified program
                                                                         program thatthat trains
                                                                                          trains students
                                                                                                  students
who have
who   have graduated
           graduated fromfrom aa medical
                                 medical school
                                            school and
                                                    and taken
                                                         taken aa series
                                                                   series of
                                                                          of examinations
                                                                             examinations or   or tests
                                                                                                   tests
administered by
administered   by way
                   way of of the
                             the United
                                 United States    Medical Licensing
                                          States Medical     Licensing Examination
                                                                         Examination [the [the USMLE].
                                                                                               USMLE].
The  state medical
The state  medical boards
                     boards have
                               have given
                                     given ECFMG
                                             ECFMG the the power
                                                           power to to examine
                                                                       examine and and certify
                                                                                        certify
international medical
international  medical graduates
                           graduates [IMGs]
                                      [IMGs] as as competent
                                                   competent to  to undertake
                                                                    undertake residency
                                                                                 residency training
                                                                                             training inin
the USA.
the USA. Without
           Without thethe certification
                           certification (license)
                                          (license) from   the ECFMG,
                                                     from the   ECFMG, aa foreign       medical
                                                                              foreign medical
graduate cannot
graduate  cannot start
                  start the
                          the process
                              process ofof being
                                           being licensed
                                                  licensed asas aa physician
                                                                   physician inin the
                                                                                  the United
                                                                                       United States.
                                                                                                States.

     5.
     5. The    action of
         The action    of the
                          the ECFMG
                              ECFMG is    is in granting authority
                                             in granting   authority to to apply
                                                                           apply for
                                                                                  for aa residency
                                                                                         residency
program is
program    is state
              state action.
                    action. The
                             The ECFMG's        authority, which
                                  ECFMG's authority,         which isis in  essence aa license
                                                                         in essence              to apply
                                                                                        license to  apply
for
for aa residency   program, has
       residency program,     has aa close
                                     close nexus
                                             nexus toto the
                                                        the various
                                                            various state
                                                                       state medical
                                                                             medical boards.
                                                                                        boards. Without
                                                                                                  Without
the ECFMG
the  ECFMG certificate,      the ACGME
                certificate, the ACGME postgraduate
                                              postgraduate programs
                                                              programs will will not
                                                                                 not permit
                                                                                     permit the
                                                                                              the applicant
                                                                                                   applicant
to start
to start the
         the training
              training that
                        that will
                             will in
                                  in essence
                                     essence allow
                                                allow the
                                                        the gate
                                                            gate to
                                                                  to be
                                                                      be closed
                                                                          closed to
                                                                                  to obtaining
                                                                                     obtaining aa medical
                                                                                                    medical
residency and
residency   and eventual
                  eventual license
                            license toto practice
                                         practice medicine
                                                    medicine in    the USA.
                                                                in the   USA. Without
                                                                                Without thethe residency
                                                                                               residency
training, the
training,  the medical
                medical graduate
                          graduate cannot
                                     cannot obtain
                                              obtain aa full  unrestricted medical
                                                         full unrestricted    medical license.
                                                                                         license. The  state
                                                                                                  The state
medical boards
medical    boards have
                   have granted
                          granted the
                                   the power
                                        power to to the
                                                    the ECFMG
                                                         ECFMG to   to screen
                                                                        screen foreign     medical students
                                                                                foreign medical     students
for  licensure. State
for licensure.          action is
                 State action     established because
                               is established    because of of this
                                                               this delegation
                                                                     delegation ofof screening
                                                                                     screening
power. Jackson
power.   Jackson v.    Metro Edison
                    v. Metro  Edison Co.,     419 U.S.
                                        Co., 419   U.S. 345,
                                                          345, 351.
                                                                351.

   6.
   6. The
      The ECFMG
            ECFMG has has placed
                          placed itself
                                 itself in
                                        in aa position
                                              position of
                                                       of interdependence    with the
                                                          interdependence with    the state
                                                                                      state
medical boards.
medical boards. The
                 The ECFMG
                      ECFMG cannot
                               cannot bebe considered
                                           considered toto be
                                                           be aa private
                                                                 private entity because the
                                                                         entity because  the
ECFMG    reports to
ECFMG reports    to the
                    the state
                        state medical
                              medical boards
                                      boards but
                                               but also
                                                    also reports
                                                         reports to
                                                                  to the
                                                                     the National
                                                                         National Practitioner
                                                                                  Practitioner
Data Bank.
Data Bank. The
            The ECFMG
                ECFMG wouldwould not
                                 not exist
                                      exist without
                                             without the
                                                      the powers
                                                          powers delegated
                                                                   delegated by
                                                                              by the
                                                                                 the state
                                                                                     state
medical boards.
medical boards. Burton
                Burton v.v. Wilmington              Authority, 365
                                         Parkway Authority,
                            Wilmington Parkway                        U.S. 715,
                                                                365 U.S.   715, 725
                                                                                725 (1961).
                                                                                    (1961).

    7.  Because the
    7. Because   the ECFMG’s   actions are
                     ECFMG's actions   are delegated state actions,
                                           delegated state actions, the
                                                                    the ECFMG
                                                                        ECFMG is    required
                                                                                 is required
to give
to give both
        both procedural
             procedural and
                        and substantive
                            substantive Fourteenth
                                        Fourteenth Amendment
                                                   Amendment due      process rights.
                                                                 due process  rights.

                                  JURISDICTION AND
                                  JURISDICTION AND VENUE
                                                   VENUE

   8.
   8. The   Court has
      The Court    has jurisdiction
                       jurisdiction under
                                    under Diversity
                                          Diversity of
                                                     of Citizenship,
                                                        Citizenship, the
                                                                     the Civil
                                                                         Civil Rights
                                                                               Rights Act
                                                                                      Act (42
                                                                                          (42
U.S.C.A. 1983)
U.S.C.A. 1983) and
                and the
                     the Due
                         Due Process
                              Process clause
                                       clause of
                                              of the
                                                 the United
                                                     United States  Constitution, with
                                                             States Constitution, with
pendent jurisdiction
pendent jurisdiction to
                     to consider
                        consider any
                                  any claims
                                      claims arising
                                             arising under
                                                     under state
                                                            state law.
                                                                  law.

   9.  Venue is
   9. Venue    is properly
                  properly before
                           before the
                                  the Court,
                                      Court, since
                                             since all
                                                   all defendants
                                                       defendants are
                                                                  are located
                                                                      located and
                                                                              and conduct
                                                                                  conduct
business in
business in the
            the Eastern District of
                Eastern District of Pennsylvania.
                                    Pennsylvania.




                                                 SAppx0046
                                                 SAppx0046
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                                              SUMMARY
                                              SUMMARY

    10. In
    10.     an attempt
        In an  attempt to to close
                             close down
                                    down the
                                           the USAT
                                               USAT and   and sanction
                                                               sanction Dr.
                                                                         Dr. Tulp,     defendant ECFMG
                                                                               Tulp, defendant      ECFMG
has refused
has refused toto allow
                 allow students
                         students ofof USAT
                                       USAT to to take
                                                   take necessary
                                                          necessary medical
                                                                      medical examinations.
                                                                                  examinations.
Defendant ECFMG
Defendant    ECFMG has  has effectively   closed USAT,
                             effectively closed     USAT, by  by refusing
                                                                 refusing to to release
                                                                                release scores
                                                                                           scores for
                                                                                                  for
students who
students  who paid
                paid for   the examinations.
                      for the  examinations. Doctors
                                                 Doctors who who graduated
                                                                  graduated from       USAT have
                                                                                from USAT       have been
                                                                                                      been
unable  to commence       their residency   due   to the   refusal of  the Board
unable to commence their residency due to the refusal of the Board to issue an      to  issue  an
appropriate certification.
appropriate   certification. ECFMG
                               ECFMG has has also
                                              also sent
                                                     sent misleading
                                                            misleading "affidavits"
                                                                         “affidavits” to  to many
                                                                                             many USAT
                                                                                                    USAT
students and
students  and threatened
               threatened many
                             many students
                                     students with
                                              with "irregular
                                                       “irregular behavior"
                                                                   behavior” in     order to
                                                                                 in order   to sanction
                                                                                               sanction Dr.
                                                                                                         Dr.
Tulp  and force
Tulp and          closure of
           force closure    of the
                               the University,
                                    University, which
                                                   which he he founded.
                                                               founded. He He is
                                                                               is President,
                                                                                   President, CEO,
                                                                                                CEO, and
                                                                                                       and an
                                                                                                           an
equal owner
equal  owner ofof the
                  the University.
                       University. Thus,
                                      Thus, ECFMG         tortiously interfered
                                             ECFMG tortiously                       with the
                                                                      interfered with      the educational
                                                                                               educational
contract between
contract  between thethe students
                          students ofof USAT,
                                        USAT, thethe University,
                                                       University, and
                                                                    and Dr.
                                                                          Dr. Tulp,    denied due
                                                                               Tulp, denied     due process
                                                                                                     process
to Dr.
to Dr. Tulp   and the
       Tulp and    the students
                        students ofof USAT,
                                       USAT, and
                                               and improperly
                                                      improperly used
                                                                    used anan "affidavit"
                                                                               “affidavit” [See     Exhibit D]
                                                                                              [See Exhibit   D]
to coerce
to coerce information
           information from      students. [Pinsky
                           from students.   [Pinsky letter,     See Exhibit
                                                        letter, See Exhibit A.]A.] In   addition, the
                                                                                    In addition,   the Board
                                                                                                       Board
placed information
placed  information in in the
                           the World
                               World Directory
                                        Directory of of Medical
                                                         Medical Schools,      prior to
                                                                   Schools, prior     to any
                                                                                          any hearing   or
                                                                                               hearing or
legal process,   advising   that it would   no  longer    recognize   the  test
legal process, advising that it would no longer recognize the test scores of USATscores   of USAT
graduates after
graduates   after January
                  January 1, 1, 2019.
                                2019. See
                                       See Exhibit
                                            Exhibit B. B.

                                   GENERAL ALLEGATIONS
                                   GENERAL ALLEGATIONS

    11. ECFMG
    11.           sent to
         ECFMG sent     to USAT
                           USAT aa letter  implying that
                                    letter implying that the
                                                         the school
                                                             school would
                                                                     would be
                                                                            be closed
                                                                               closed on
                                                                                       on or
                                                                                          or
about 01/01/19
about            because the
      01/01/19 because     the Board
                               Board would
                                       would no
                                             no longer  recognize the
                                                longer recognize   the scores
                                                                       scores of
                                                                              of its
                                                                                 its students
                                                                                     students in
                                                                                              in
taking the
taking  the three-part
            three-part United
                        United States  Medical Licensing
                                States Medical Licensing Examination.
                                                           Examination. This   action prohibits
                                                                          This action  prohibits
applicants from
applicants        sitting for
            from sitting  for the
                              the USMLE,
                                  USMLE, which
                                            which is
                                                  is required  for unrestricted
                                                     required for  unrestricted medical
                                                                                medical
licensure.
licensure.

     12. On
     12.  On 11/21/18,
               11/21/18, Kara
                          Kara Corrado,
                                Corrado, J.D.,   Vice President
                                           J.D., Vice  President forfor Operations
                                                                        Operations ofof the
                                                                                        the Board,
                                                                                            Board, sent
                                                                                                     sent
aa letter to counsel
   letter to           for USAT
              counsel for  USAT indicating    two concerns:
                                   indicating two  concerns: 1)  1) that
                                                                    that USAT's
                                                                         USAT’s authority
                                                                                   authority to
                                                                                             to
 conduct its
 conduct       medical education
           its medical   education program
                                     program amounted
                                              amounted to  to "irregular
                                                               “irregular behavior"
                                                                           behavior” because
                                                                                      because USAT
                                                                                                USAT
 had not
 had  not been
           been certified
                 certified by
                           by aa governmental
                                 governmental entity
                                                 entity in
                                                        in the
                                                            the United
                                                                 United States,   and 2)
                                                                          States, and 2) the
                                                                                         the allegation
                                                                                             allegation
 that USAT
that  USAT was was operating
                    operating medical
                                medical school
                                         school campuses
                                                 campuses in     the United
                                                              in the  United States.
                                                                              States. See Exhibit E.
                                                                                      See Exhibit   E.
 On October
On   October 18,18, 2018,
                    2018, Lisa   Cover, aa Senior
                           Lisa Cover,             Vice President
                                           Senior Vice   President with
                                                                      with ECFMG,      wrote aa letter
                                                                            ECFMG, wrote               to
                                                                                                letter to
 Dr. Tulp
Dr.  Tulp advising
            advising him
                       him of
                            of the
                               the allegation
                                   allegation that
                                              that he
                                                   he engaged
                                                       engaged in     “irregular behavior".
                                                                   in "irregular  behavior”. See
                                                                                              See
 Exhibit
 Exhibit F.F.

    13. USAT
    13. USAT hashas aa certification
                       certification from    the government
                                       from the  government of of Montserrat,
                                                                  Montserrat, allowing
                                                                               allowing itit to
                                                                                             to
operate temporary
operate temporary venues
                      venues due
                              due toto an
                                       an active
                                          active volcano
                                                  volcano on
                                                           on the
                                                              the island.
                                                                  island. Such
                                                                          Such certification
                                                                                 certification had
                                                                                                had
been recognized
been recognized by by the
                       the Board
                           Board without
                                   without incident   since 2003.
                                             incident since  2003. USAT
                                                                    USAT also
                                                                           also operates
                                                                                 operates online
                                                                                            online
courses for
courses  for the
             the majority
                 majority ofof its
                               its basic
                                   basic sciences
                                          sciences course
                                                    course requirements
                                                           requirements via
                                                                          via aa specially
                                                                                 specially
developed SPOC
developed           [small platform
            SPOC [small     platform online
                                        online courses,
                                               courses, developed
                                                        developed by by USAT].
                                                                        USAT]. A  A true
                                                                                     true and
                                                                                          and
correct copy
correct copy ofof the
                  the certification
                      certification from
                                      from Montserrat
                                            Montserrat is
                                                        is attached
                                                           attached and
                                                                     and incorporated
                                                                         incorporated as as Exhibit
                                                                                            Exhibit
C.
C.

   14. Students
   14. Students from USAT have
                from USAT  have each  paid well
                                 each paid well over
                                                over $1,000
                                                     $1,000 to
                                                             to the
                                                                the Board
                                                                    Board to
                                                                           to take
                                                                              take
necessary medical
necessary medical exams,
                  exams, and
                         and the
                             the Board
                                 Board has
                                       has refused
                                           refused to
                                                   to release
                                                      release their
                                                              their scores
                                                                    scores because
                                                                           because of
                                                                                   of




                                                 SAppx0047
                                                 SAppx0047
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 alleged misconduct
alleged   misconduct by  by Dr.
                            Dr. Tulp,  and an
                                 Tulp, and  an assignment
                                                assignment by
                                                            by the
                                                               the Board
                                                                   Board ofof "irregular
                                                                              “irregular behavior"
                                                                                          behavior”
 arising out
arising  out ofof an
                  an illegal
                     illegal affidavit
                             affidavit issued  to students
                                       issued to  students of
                                                           of USAT.
                                                              USAT. "Irregular
                                                                       “Irregular behavior"
                                                                                  behavior” may
                                                                                              may be
                                                                                                  be
aa permanent
   permanent admonition
                admonition on on aa student
                                    student or
                                            or physician's
                                                physician’s official
                                                            official record, and make
                                                                     record, and  make residency
                                                                                         residency
 difficult, if
 difficult,    not impossible.
            if not impossible.

    15. The
    15.       Board set
        The Board    set up
                         up aa hearing
                                hearing on
                                         on 11/28/18
                                            11/28/18 for   Dr. Tulp,
                                                       for Dr. Tulp, only,
                                                                      only, in
                                                                            in Philadelphia,
                                                                                Philadelphia, atat the
                                                                                                   the
address in
address     the caption
         in the  caption to
                          to address
                             address so-called
                                      so-called "irregular
                                                 “irregular behavior".
                                                             behavior”. After
                                                                          After aa few  minutes, with
                                                                                   few minutes,   with
no witnesses
no  witnesses called,
               called, Board
                        Board counsel
                                counsel announced
                                         announced that
                                                      that the
                                                           the hearing
                                                               hearing was
                                                                         was terminated.
                                                                             terminated. Prior
                                                                                            Prior to
                                                                                                  to
the hearing,
the hearing, the
              the Board
                   Board took
                           took the
                                 the position
                                     position that
                                              that Dr.
                                                    Dr. Tulp  had the
                                                        Tulp had   the burden
                                                                       burden ofof proof
                                                                                   proof on
                                                                                          on the
                                                                                              the issue
                                                                                                  issue
of "irregular
of “irregular behavior"
               behavior” forfor which
                                which he
                                       he had
                                          had been
                                               been charged
                                                     charged byby the
                                                                   the Board.
                                                                       Board. The
                                                                               The Board
                                                                                      Board set
                                                                                            set 20
                                                                                                 20
minutes as
minutes   as the
             the duration
                  duration of
                            of the
                               the hearing.
                                   hearing. No
                                             No testimony
                                                 testimony was
                                                             was taken
                                                                  taken or
                                                                         or exhibits
                                                                            exhibits received    in
                                                                                       received in
evidence, before
evidence,   before Board
                    Board counsel
                            counsel terminated
                                     terminated the
                                                  the hearing.  No Transcript
                                                      hearing. No    Transcript of
                                                                                 of the
                                                                                     the proceedings
                                                                                         proceedings
has been
has  been received.
           received. The    Board indicated
                      The Board    indicated that
                                              that on
                                                   on 01/01/19
                                                       01/01/19 it
                                                                 it will
                                                                    will issue
                                                                         issue aa finding  of
                                                                                  finding of
“irregular behavior"
"irregular  behavior” toto Dr.
                            Dr. Tulp
                                Tulp effectively   closing USAT.
                                      effectively closing   USAT.

    16. There
    16.        was no
        There was   no jurisdiction
                        jurisdiction over,
                                     over, or
                                           or relationship with, Dr.
                                              relationship with,  Dr. Tulp
                                                                      Tulp to
                                                                            to compel
                                                                               compel him
                                                                                       him to
                                                                                            to
attend the  hearing by  the Board,  and  he made  a special appearance   while  not agreeing
attend the hearing by the Board, and he made a special appearance while not agreeing to       to
jurisdiction. ECFMG
jurisdiction. ECFMG has has no
                             no jurisdiction
                                jurisdiction over
                                             over Dr.
                                                  Dr. Tulp,
                                                      Tulp, or
                                                             or legal
                                                                legal relationship
                                                                      relationship with
                                                                                   with Dr.
                                                                                        Dr.
Tulp, or the
Tulp, or  the power
              power to
                     to enter any sanction
                        enter any  sanction against
                                             against him.
                                                     him. The  Board has
                                                          The Board    has no
                                                                           no contractual  or
                                                                               contractual or
statutory authority
statutory  authority over
                     over Dr.
                           Dr. Tulp.
                               Tulp.

    17. The
   17.      Board would
        The Board  would not
                         not give
                             give Dr.
                                  Dr. Tulp
                                      Tulp sufficient
                                           sufficient discovery  to conduct
                                                      discovery to  conduct an
                                                                            an adequate
                                                                                adequate
defense. Also,
defense. Also, the
               the Board
                   Board has
                         has never
                             never requested any curricula,
                                   requested any  curricula, student
                                                             student records,
                                                                     records, or
                                                                              or any
                                                                                 any
documentation from
documentation   from USAT.
                     USAT.

    18. The
    18.       term "irregular
         The term    “irregular behavior"
                                behavior” is
                                           is void
                                              void for
                                                   for vagueness,
                                                       vagueness, since
                                                                   since "irregular
                                                                         “irregular behavior"
                                                                                     behavior” is
                                                                                                is
so broad
so broad that
          that it
                it essentially amounts to
                   essentially amounts   to any
                                            any behavior
                                                behavior which
                                                          which the
                                                                 the Board
                                                                     Board does
                                                                             does not
                                                                                  not approve.
                                                                                      approve.
There  is no
There is  no intelligible  standard to
              intelligible standard  to ascertain
                                        ascertain "irregular
                                                  “irregular behavior"
                                                             behavior” with
                                                                        with the
                                                                              the exception
                                                                                  exception of
                                                                                            of
the fiat
the      by the
    fiat by the ECFMG.
                 ECFMG. There
                            There is  no due
                                   is no due process
                                              process mechanism
                                                       mechanism toto effectively challenge aa
                                                                      effectively challenge
finding  of "irregular
finding of  “irregular behavior"
                         behavior” which
                                    which can
                                            can amount
                                                amount to
                                                        to an
                                                           an indefinite suspension of
                                                              indefinite suspension   of United
                                                                                         United
States medical licenses
States medical    licenses by
                            by the
                               the Board
                                   Board without
                                           without formal
                                                   formal notification
                                                           notification of
                                                                        of such
                                                                           such assignment
                                                                                 assignment to
                                                                                             to
the individual
the              concerned.
    individual concerned.

    19. There
    19.        is no
        There is  no reasonable  way to
                     reasonable way  to ascertain
                                        ascertain the
                                                  the standards
                                                      standards for “irregular behavior"
                                                                for "irregular behavior” in
                                                                                         in
the instant
the         case, prior
    instant case, prior to
                        to any
                           any adjudication.
                               adjudication.

    20. The
    20.      Board has
        The Board    has effectively
                         effectively closed
                                     closed USAT
                                            USAT by by not
                                                       not allowing
                                                           allowing its
                                                                    its students
                                                                        students and
                                                                                 and
graduates to
graduates  to complete
              complete the
                         the necessary
                             necessary medical
                                        medical examinations   beyond January
                                                 examinations beyond            1, 2019,
                                                                        January 1, 2019, and
                                                                                         and
has tortiously
has tortiously interfered
                interfered with
                           with the
                                the relationship
                                    relationship of
                                                 of the
                                                    the students
                                                        students of
                                                                 of USAT
                                                                    USAT and
                                                                           and Dr.
                                                                               Dr. Tulp,  the
                                                                                    Tulp, the
President of
President of the
              the University.
                  University.




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                                              SAppx0048
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                                  FIRST
                                  FIRST CAUSE
                                         CAUSE OF  OF ACTION
                                                      ACTION
                                      Plaintiff v. ECFMG
                                      Plaintiff v. ECFMG

    21. Plaintiff
    21. Plaintiff incorporates
                  incorporates all
                               all prior
                                   prior paragraphs
                                         paragraphs as
                                                    as though
                                                       though fully set forth
                                                              fully set forth herein.
                                                                              herein.

    22. This
    22.       cause of
        This cause  of action
                       action is
                              is for
                                 for the
                                     the illegal  actions of
                                          illegal actions of the
                                                             the ECFMG  (the Board)
                                                                 ECFMG (the  Board) in
                                                                                     in
tortiously interfering with the  contract   between  the students of USAT
tortiously interfering with the contract between the students of USAT and  and plaintiff
                                                                               plaintiff Dr.
                                                                                         Dr.
Orien Tulp,
Orien  Tulp, the
             the University
                 University President
                             President and
                                         and co-owner.
                                              co-owner.

    23. The
    23.     Board allegedly
        The Board allegedly refused
                            refused to
                                    to release scores of
                                       release scores of necessary
                                                         necessary medical
                                                                   medical exams
                                                                           exams to
                                                                                 to
students and
students and graduates
             graduates of
                       of USAT,
                          USAT, de
                                 de facto, closing the
                                    facto, closing the University.
                                                       University.

    24. The
    24.     Board published,
        The Board   published, in
                                in the
                                   the World
                                       World Directory
                                             Directory of
                                                        of Medical
                                                           Medical Schools,
                                                                   Schools, aa warning
                                                                               warning to
                                                                                       to
students that
students that it
              it would
                 would not
                        not recognize  USAT with
                            recognize USAT   with respect
                                                   respect to
                                                           to necessary
                                                              necessary medical
                                                                        medical qualifying
                                                                                qualifying
examinations after
examinations   after January  1, 2019.
                     January 1,  2019. See
                                       See Exhibit B.
                                           Exhibit B.

      25. The
      25.      Board sent
          The Board    sent illegal
                             illegal "affidavits"
                                     “affidavits” to
                                                   to students
                                                      students inin an
                                                                    an attempt
                                                                        attempt to
                                                                                 to intimidate
                                                                                    intimidate them
                                                                                                them
 from continuing
 from  continuing as as students
                        students atat USAT.
                                      USAT. These
                                              These alleged
                                                      alleged affidavits
                                                                affidavits threatened
                                                                            threatened medical
                                                                                        medical
 students with
students   with perjury,
                 perjury, asas well
                               well as
                                     as "irregular
                                        “irregular behavior",
                                                    behavior”, and
                                                                 and also
                                                                      also directed
                                                                            directed the
                                                                                      the students
                                                                                          students to
                                                                                                    to
 provide certain
provide    certain documentary
                   documentary evidence,
                                    evidence, such
                                               such asas aa copy
                                                            copy of
                                                                  of their
                                                                     their passport.
                                                                            passport. This  “affidavit”
                                                                                       This "affidavit"
 by the
by   the Board
         Board was
                 was an
                      an abuse
                          abuse ofof process,
                                     process, and
                                              and constituted
                                                    constituted fraudulent
                                                                  fraudulent oror negligent
                                                                                  negligent
 representation, since
 representation,   since it
                          it was
                             was tantamount
                                  tantamount toto aa "subpoena
                                                     “subpoena duces
                                                                   duces tecum"
                                                                          tecum” without
                                                                                   without first
                                                                                            first having
                                                                                                  having
aa legal  proceeding. The
   legal proceeding.    The Board
                              Board had
                                      had no
                                           no power
                                              power toto issue
                                                          issue these
                                                                these so-called
                                                                       so-called affidavits.
                                                                                  affidavits. These
                                                                                              These
 affidavits are
affidavits   are also
                 also aa violation
                         violation of
                                    of Federal
                                        Federal Education     Records Protection
                                                Education Records        Protection Act
                                                                                     Act
 (FERPA). Students
 (FERPA).                are predominantly
              Students are   predominantly US  US citizens
                                                   citizens and
                                                              and are
                                                                   are entitled
                                                                       entitled to
                                                                                to such
                                                                                   such protection
                                                                                         protection
 under FERPA.
 under  FERPA.

   26. The
   26.      purpose of
       The purpose   of the
                        the ECFMG
                            ECFMG doing     this was
                                     doing this  was to
                                                      to effectively
                                                         effectively remove
                                                                     remove Dr.
                                                                              Dr. Tulp as
                                                                                  Tulp as
President of
President of the
             the University
                 University by
                            by discouraging
                                discouraging students
                                              students from   registering or
                                                        from registering  or continuing
                                                                             continuing their
                                                                                         their
education at
education at USAT,
             USAT, including    verbal recommendations
                     including verbal  recommendations fromfrom ECFMG
                                                                 ECFMG casecase workers.
                                                                                workers. The
                                                                                          The
Board issued
Board         “affidavits” and
      issued "affidavits"  and threatened
                               threatened to
                                           to find
                                              find students
                                                   students of
                                                             of USAT
                                                                USAT guilty   of "irregular
                                                                       guilty of “irregular
behavior”.
behavior".

    27. There
    27.         was no
        There was   no hearing
                       hearing before
                                before the
                                        the students
                                            students of
                                                     of USAT
                                                        USAT were
                                                                were sent
                                                                     sent emails  by the
                                                                          emails by  the
ECFMG     telling them
ECFMG telling     them that
                        that they
                             they may
                                  may have
                                       have been
                                             been assigned
                                                  assigned "irregular
                                                            “irregular behavior"
                                                                       behavior” and
                                                                                  and that
                                                                                       that
their scores  would  not be released to  medical institutions to be accepted for residency
their scores would not be released to medical institutions to be accepted for residency
applications or
applications  or other
                 other ECFMG     services.
                       ECFMG services.

    28. ECFMG
    28.           alleges to
        ECFMG alleges       to be
                                be aa private
                                      private organization
                                               organization which
                                                             which permits
                                                                    permits the
                                                                             the administration
                                                                                 administration of of
qualifying examinations
qualifying  examinations for for foreign
                                  foreign medical
                                           medical students
                                                     students and
                                                              and international   medical
                                                                   international medical
graduates and
graduates  and passes
                passes information
                         information to to the
                                           the state
                                                state licensing agencies in
                                                      licensing agencies  in the
                                                                             the United
                                                                                 United States.    De
                                                                                           States. De
facto, the ECFMG
facto, the ECFMG is  is aa quasi-governmental
                           quasi-governmental agencyagency that
                                                            that issues
                                                                 issues certificates, that are
                                                                        certificates, that  are
essentially licenses,
essentially licenses, to
                       to foreign    medical students
                           foreign medical     students and
                                                         and physicians
                                                             physicians upon
                                                                         upon completion
                                                                                completion of of their
                                                                                                 their
certification process,
certification process, and
                         and it  holds itself
                              it holds  itself out
                                               out to
                                                   to medical
                                                       medical students
                                                               students and
                                                                         and others
                                                                              others as
                                                                                      as aa
governmental entity
governmental    entity




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    29. As
    29. As aa result
              result of
                     of the
                        the illegal
                             illegal actions
                                     actions of
                                              of the
                                                  the Board
                                                       Board in
                                                              in refusing
                                                                 refusing to
                                                                           to release  the scores
                                                                              release the  scores of
                                                                                                  of
the students
the students of
              of the
                 the plaintiff,
                     plaintiff, the
                                 the plaintiff
                                     plaintiff has
                                               has suffered,
                                                     suffered, and
                                                                and will
                                                                    will continue
                                                                         continue toto suffer,
                                                                                       suffer,
irreparable harm
irreparable  harm including,
                   including, butbut not
                                     not limited
                                         limited to,
                                                   to, the
                                                       the immediate
                                                            immediate closing
                                                                       closing ofof USAT
                                                                                    USAT College
                                                                                            College of
                                                                                                     of
Medicine and
Medicine   and the
                the removal
                    removal of of Dr.
                                  Dr. Tulp   as aa medical
                                       Tulp as     medical educator
                                                             educator under
                                                                       under the
                                                                               the cloud
                                                                                   cloud of
                                                                                          of an
                                                                                             an
indefinite sentence
indefinite sentence ofof "irregular
                         “irregular behavior"
                                      behavior” forfor aa duration
                                                          duration of
                                                                   of not
                                                                      not less
                                                                          less than
                                                                                than 55 years.
                                                                                        years.

    30. Dr.
    30. Dr. Tulp
             Tulp will
                  will also
                       also suffer
                             suffer loss
                                    loss of
                                         of his
                                            his position
                                                 position as
                                                          as President
                                                               President of
                                                                         of the
                                                                            the University,
                                                                                 University, as
                                                                                              as well
                                                                                                 well
as direct
as direct monetary
          monetary damages
                     damages resulting
                               resulting from    the closing
                                          from the   closing ofof USAT,
                                                                  USAT, arising
                                                                          arising out
                                                                                   out of
                                                                                       of the
                                                                                          the
actions of
actions  of ECFMG
            ECFMG to to close  USAT, and
                        close USAT,     and to
                                             to preclude
                                                preclude its   students from
                                                           its students from practicing
                                                                               practicing medicine
                                                                                           medicine
or engaging
or engaging inin postgraduate
                 postgraduate training
                               training in  the USA,
                                         in the  USA, and
                                                        and the
                                                             the discouraging
                                                                  discouraging ofof any
                                                                                    any students
                                                                                        students
from attending
from  attending an
                 an institution where they
                    institution where   they cannot
                                              cannot receive
                                                      receive required
                                                                required certification  from
                                                                          certification from
the ECFMG
the ECFMG BoardBoard to
                     to qualify  for licensure
                        qualify for  licensure oror registration
                                                    registration to
                                                                  to practice
                                                                     practice medicine
                                                                              medicine in   the USA.
                                                                                         in the  USA.

    WHEREFORE, the
    WHEREFORE,        the Court
                          Court isis requested
                                     requested to
                                                to order
                                                   order ECFMG
                                                         ECFMG to to immediately    resume
                                                                     immediately resume
processing the
processing  the medical
                medical examinations
                          examinations of of students
                                             students of
                                                       of USAT,
                                                          USAT, and
                                                                 and release
                                                                      release their
                                                                              their examination
                                                                                    examination
scores, and  remove  the  negative   advisory  from  the sponsor notes  on the World
scores, and remove the negative advisory from the sponsor notes on the World Directory Directory
of Medical
of Medical Schools   listing for
            Schools listing  for the
                                  the USAT
                                       USAT College
                                              College ofof Medicine,
                                                           Medicine, and
                                                                     and to
                                                                          to award
                                                                             award such
                                                                                     such other
                                                                                          other
injunctive and
injunctive and equitable   relief as
                equitable relief  as appropriate,
                                      appropriate, plus
                                                    plus damages,
                                                         damages, interest,
                                                                  interest, and
                                                                            and attorney
                                                                                attorney fees.
                                                                                          fees.

                                SECOND  CAUSE OF
                                SECOND CAUSE      OF ACTION
                                                     ACTION
                                    Plaintiff v. ECFMG
                                    Plaintiff v. ECFMG

    31. Plaintiff
    31. Plaintiff incorporates
                  incorporates all
                               all prior
                                   prior paragraphs
                                         paragraphs as
                                                    as though
                                                       though fully set forth
                                                              fully set forth herein.
                                                                              herein.

    32. This
    32.      cause of
        This cause of action
                      action is
                             is for
                                for violation
                                    violation of
                                              of due
                                                 due process
                                                     process by
                                                             by the
                                                                the ECFMG
                                                                    ECFMG (the
                                                                          (the Board).
                                                                               Board).

    33. The
    33.       Board violated
        The Board     violated the
                               the due
                                   due process
                                       process rights
                                                rights of
                                                       of Dr.
                                                          Dr. Tulp by finding
                                                              Tulp by finding him
                                                                               him guilty  of
                                                                                    guilty of
“irregular behavior"
"irregular  behavior” when
                        when it
                              it had
                                 had no
                                     no jurisdiction
                                        jurisdiction over
                                                     over Dr.
                                                          Dr. Tulp,  or any
                                                               Tulp, or any direct contact with
                                                                            direct contact with
him prior
him  prior to
           to aa finding of "irregular
                 finding of “irregular behavior".
                                       behavior”.

   34. The
   34.      Board violated
       The Board    violated the
                             the due
                                 due process
                                     process rights
                                             rights of
                                                    of Dr.
                                                       Dr. Tulp by illegally
                                                           Tulp by illegally withholding
                                                                             withholding
necessary medical
necessary medical examination
                    examination for
                                  for USAT
                                      USAT students
                                             students and
                                                       and graduates
                                                           graduates in
                                                                     in an
                                                                        an attempt
                                                                           attempt to
                                                                                   to
sanction plaintiff
sanction plaintiff and
                   and to
                       to force closure of
                          force closure of USAT.
                                           USAT.

    35. The
    35.      Board violated
         The Board   violated the
                               the due
                                   due process
                                       process rights
                                                rights of
                                                       of Dr.
                                                          Dr. Tulp
                                                               Tulp byby sending
                                                                         sending misleading
                                                                                  misleading
affidavits to students  of  USAT,   which affidavits  were  illegal  and  designed
affidavits to students of USAT, which affidavits were illegal and designed to      to intimidate
                                                                                      intimidate
the students
the students from
              from attending
                    attending USAT.
                                USAT. The
                                       The Board
                                            Board stated
                                                    stated that
                                                           that as
                                                                as January   1, 2019,
                                                                    January 1,  2019, students
                                                                                       students of
                                                                                                of
USAT may
USAT    may not
              not apply
                  apply to
                         to ECFMG
                            ECFMG forfor certification.
                                         certification. Essentially,   the Board
                                                        Essentially, the   Board engaged
                                                                                  engaged inin an
                                                                                               an
illegal scheme
illegal scheme toto destroy
                    destroy USAT
                             USAT and
                                    and Dr.
                                        Dr. Tulp
                                             Tulp by
                                                   by publishing
                                                       publishing the
                                                                    the demise  of the
                                                                        demise of  the University
                                                                                        University
in the
in the World
       World Directory
               Directory ofof Medical
                              Medical Schools   before any
                                       Schools before   any notification
                                                             notification of
                                                                           of such
                                                                              such intent  by the
                                                                                   intent by  the
ECFMG.
ECFMG.

    36. The
    36.      Board violated
        The Board   violated the
                              the due
                                  due process
                                      process rights
                                              rights of
                                                     of Dr.
                                                        Dr. Tulp  by failing
                                                            Tulp by  failing to
                                                                             to award
                                                                                award him
                                                                                      him or
                                                                                           or
the students
the students of
             of his
                his college
                    college aa legitimate
                               legitimate hearing
                                          hearing before
                                                   before taking
                                                          taking adverse
                                                                 adverse action.
                                                                          action. The
                                                                                  The Board
                                                                                      Board
commingled the
commingled    the adjudicatory
                  adjudicatory and
                                 and investigative functions, particularly
                                     investigative functions, particularly through
                                                                           through the
                                                                                   the use
                                                                                       use of
                                                                                           of




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                                              SAppx0050
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affidavits sent
affidavits sent to
                to students
                   students to
                            to secure
                               secure documentary
                                      documentary evidence  under the
                                                   evidence under the threat
                                                                      threat of
                                                                             of "irregular
                                                                                “irregular
behavior”. See
behavior".  See Lyness
                 Lyness v.
                        v. Com.,  State Bd.
                           Com., State  Bd. Of Medicine 529
                                            Of Medicine     Pa. 535
                                                        529 Pa.     (1992).
                                                                535 (1992).

    37. ECFMG
    37. ECFMG is is estopped
                    estopped from
                              from denying    that it
                                    denying that   it is
                                                      is aa governmental
                                                            governmental or or quasi-
                                                                               quasi-
governmental entity,
governmental  entity, inter       because no
                            alia, because
                      inter alia,          no disclaimer
                                               disclaimer that
                                                             that it was aa private
                                                                  it was    private entity
                                                                                    entity to
                                                                                           to that
                                                                                               that
effect was
effect was placed
           placed on
                   on the
                      the affidavits
                          affidavits sent
                                     sent to
                                          to thousands
                                             thousands of  of USAT
                                                              USAT students.
                                                                      students. In
                                                                                 In point
                                                                                    point of
                                                                                          of fact,
                                                                                              fact,
the opposite
the opposite was
             was implied.
                  implied.

   38. The
   38.     Board has
       The Board has acted
                     acted as
                           as aa governmental
                                 governmental entity,
                                              entity, and
                                                      and is
                                                          is estopped
                                                             estopped from
                                                                      from denying the
                                                                           denying the
same.
same.

     39. When
    39.   When thethe Board
                      Board corresponded
                             corresponded withwith USAT
                                                    USAT andand with
                                                                with its
                                                                      its students,
                                                                          students, there
                                                                                    there was
                                                                                          was no
                                                                                               no
disclaimer that
disclaimer    that the
                    the Board
                        Board was
                               was not
                                    not acting
                                         acting on
                                                on behalf
                                                     behalf of
                                                            of any
                                                               any governmental     authorization, or
                                                                    governmental authorization,    or
that it
that     was allegedly
      it was  allegedly aa private
                           private entity,
                                    entity, and
                                            and the
                                                 the students
                                                      students were
                                                               were not
                                                                     not required   by law
                                                                          required by      to respond
                                                                                       law to respond
to the
to the affidavit
         affidavit or
                   or provide
                       provide any
                               any documents.
                                     documents. Students     were required
                                                   Students were             to complete
                                                                   required to  complete
“affidavits” under
"affidavits"   under penalty
                       penalty of
                               of aa finding  of "irregular
                                     finding of   “irregular behavior"
                                                             behavior” and
                                                                         and denial
                                                                              denial of
                                                                                     of ECFMG
                                                                                        ECFMG
services.
services.

     40. Under
     40. Under the
               the doctrine
                   doctrine of
                            of state
                               state action,
                                     action, the
                                             the Board
                                                  Board has
                                                        has failed to exercise
                                                            failed to exercise due
                                                                               due process
                                                                                   process in
                                                                                           in
its dealings
its          with USAT
    dealings with USAT and
                         and its
                             its students
                                 students as
                                          as is
                                              is required by the
                                                 required by the Due
                                                                 Due Process
                                                                      Process Clause
                                                                               Clause of
                                                                                      of the
                                                                                         the
Pennsylvania and
Pennsylvania   and US
                   US Constitutions.
                       Constitutions.

    41. The
    41.     Board has
        The Board  has failed
                       failed to
                              to show
                                  show due  process to
                                       due process   to USAT
                                                        USAT students,
                                                               students, as
                                                                         as heretofore
                                                                            heretofore
mentioned. The
mentioned.      affidavits indicated
            The affidavits            that the
                           indicated that  the Board
                                               Board has
                                                      has illegally
                                                          illegally commingled   the
                                                                    commingled the
adjudicatory and
adjudicatory and prosecutorial
                 prosecutorial functions,   in violation
                                 functions, in violation of
                                                         of due process.
                                                            due process.

   42. As
   42. As aa result
             result of
                    of the
                       the Board
                           Board acting
                                 acting as
                                        as aa quasi-governmental
                                              quasi-governmental entity, Dr. Tulp
                                                                 entity, Dr. Tulp and
                                                                                  and his
                                                                                      his
University suffered  the damages  as previously  enumerated.
University suffered the damages as previously enumerated.

    WHEREFORE, the
    WHEREFORE,        the Court
                          Court isis requested
                                     requested to
                                                to order
                                                   order ECFMG
                                                         ECFMG to to immediately    resume
                                                                     immediately resume
processing the
processing  the medical
                medical examinations
                          examinations of of students
                                             students of
                                                       of USAT,
                                                          USAT, and
                                                                 and release
                                                                      release their
                                                                              their examination
                                                                                    examination
scores, and
scores, and remove   the negative
             remove the   negative advisory
                                     advisory from
                                               from the
                                                     the sponsor
                                                         sponsor notes
                                                                 notes on
                                                                        on the
                                                                           the World
                                                                               World Directory
                                                                                       Directory
of Medical
of Medical Schools   listing for
            Schools listing  for the
                                  the USAT
                                       USAT College
                                              College ofof Medicine,
                                                           Medicine, and
                                                                     and to
                                                                          to award
                                                                             award such
                                                                                     such other
                                                                                          other
injunctive and
injunctive and equitable   relief as
                equitable relief  as appropriate,
                                      appropriate, plus
                                                    plus damages,
                                                         damages, interest,
                                                                  interest, and
                                                                            and attorney
                                                                                attorney fees.
                                                                                          fees.

                                THIRD  CAUSE OF
                                THIRD CAUSE      OF ACTION
                                                    ACTION
                                    Plaintiff v. ECFMG
                                    Plaintiff v. ECFMG

    43. Plaintiff
    43. Plaintiff incorporates
                  incorporates all
                               all prior
                                   prior paragraphs
                                         paragraphs as
                                                    as though
                                                       though fully set forth
                                                              fully set forth herein.
                                                                              herein.

   44. This
   44.       is aa cause
       This is     cause of
                         of action
                            action for
                                   for fraudulent misrepresentation, abuse
                                       fraudulent misrepresentation, abuse of
                                                                           of process,
                                                                              process, and
                                                                                       and
negligent representation
negligent representation against
                           against the
                                   the ECFMG    (the Board).
                                        ECFMG (the   Board).

    45. As
    45. As heretofore
           heretofore indicated,
                      indicated, the
                                 the Board
                                     Board committed the aforementioned
                                           committed the aforementioned torts
                                                                        torts through
                                                                              through
the following
the           acts and
    following acts and omissions:
                       omissions:




                                              SAppx0051
                                              SAppx0051
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        (a) representing
        (a) representing itself
                            itself as
                                   as an
                                      an official
                                         official governmental
                                                  governmental agency;
                                                                  agency;
        (b) distributing
        (b) distributing affidavits
                           affidavits to
                                       to intimidate
                                          intimidate USAT
                                                      USAT students,
                                                             students, which
                                                                         which affidavits
                                                                                 affidavits did
                                                                                            did not
                                                                                                 not
            have aa disclaimer
            have    disclaimer or or conform
                                      conform to
                                               to law;
                                                  law;
        (c) placing
        (c) placing misleading
                      misleading information
                                    information about
                                                  about USAT
                                                         USAT into
                                                                 into the
                                                                      the World
                                                                          World Directory
                                                                                   Directory of
                                                                                              of
            Medical Schools
            Medical              without notice,
                       Schools without     notice, and
                                                   and which
                                                       which was
                                                               was designed
                                                                     designed to
                                                                               to intimidate
                                                                                   intimidate
            students and
            students   and to
                            to effectively
                               effectively force   closure of
                                            force closure  of USAT;
                                                              USAT;
        (d) using
        (d) using illegal
                   illegal affidavits
                            affidavits whose
                                        whose purpose
                                               purpose was
                                                         was to
                                                              to gather
                                                                 gather documents
                                                                         documents and and evidence
                                                                                           evidence
            of alleged
            of alleged culpable     behavior by
                         culpable behavior    by USAT
                                                  USAT andand Dr.
                                                               Dr. Tulp,
                                                                   Tulp, all
                                                                          all of
                                                                              of which
                                                                                 which was
                                                                                         was in
                                                                                              in
            violation of
            violation   of FERPA,
                           FERPA, the the Family
                                          Family Educational    Rights and
                                                   Educational Rights    and Privacy
                                                                              Privacy Act;
                                                                                        Act;
        (e) violating
        (e) violating FERPA
                        FERPA by  by not
                                      not receiving
                                          receiving the
                                                     the requisite
                                                         requisite consent   of students
                                                                    consent of  students to
                                                                                          to their
                                                                                             their
            educational records.
            educational    records.

    46. As
    46. As indicated
            indicated in  the prior
                       in the prior counts,
                                     counts, the
                                             the Board
                                                 Board has
                                                        has held
                                                             held itself
                                                                   itself out
                                                                          out as
                                                                              as aa governmental
                                                                                    governmental
agency. The
agency.       Board has
        The Board     has never
                          never indicated   to those
                                 indicated to  those that
                                                     that it dealt with,
                                                          it dealt  with, in
                                                                          in particular
                                                                             particular the
                                                                                        the
students, that
students, that it
               it is
                  is not
                     not an
                         an official
                            official governmental
                                     governmental agency.
                                                    agency.

   47. Accordingly,
   47. Accordingly, the
                     the Board
                          Board is
                                 is estopped by its
                                    estopped by its conduct
                                                    conduct to
                                                            to deny
                                                               deny that
                                                                    that it
                                                                         it is required to
                                                                            is required to
show due
show due process,
         process, as
                  as if
                     if it
                        it were
                           were aa governmental
                                   governmental entity.
                                                 entity.

    WHEREFORE, the
    WHEREFORE,        the Court
                          Court isis requested
                                     requested to
                                                to order
                                                   order ECFMG
                                                         ECFMG to to immediately    resume
                                                                     immediately resume
processing the
processing  the medical
                medical examinations
                          examinations of of students
                                             students of
                                                       of USAT,
                                                          USAT, and
                                                                 and release
                                                                      release their
                                                                              their examination
                                                                                    examination
scores, and
scores, and remove   the negative
             remove the   negative advisory
                                     advisory from
                                               from the
                                                     the sponsor
                                                         sponsor notes
                                                                 notes on
                                                                        on the
                                                                           the World
                                                                               World Directory
                                                                                       Directory
of Medical
of Medical Schools   listing for
            Schools listing  for the
                                  the USAT
                                       USAT College
                                              College ofof Medicine,
                                                           Medicine, and
                                                                     and to
                                                                          to award
                                                                             award such
                                                                                     such other
                                                                                          other
injunctive and
injunctive and equitable   relief as
                equitable relief  as appropriate,
                                      appropriate, plus
                                                    plus damages,
                                                         damages, interest,
                                                                  interest, and
                                                                            and attorney
                                                                                attorney fees.
                                                                                          fees.

                               FOURTH
                               FOURTH CAUSE
                                         CAUSE OF  OF ACTION
                                                      ACTION
                                 Plaintiff v.
                                 Plaintiff v. All
                                              All Defendants
                                                  Defendants

    48. Plaintiff
    48. Plaintiff incorporates
                  incorporates all
                               all prior
                                   prior paragraphs
                                         paragraphs as
                                                    as though
                                                       though fully set forth
                                                              fully set forth herein.
                                                                              herein.

   49. This
   49.       cause of
       This cause  of action
                      action arises
                             arises out
                                    out of
                                        of the
                                           the 12/14/18
                                               12/14/18 letter by Dr.
                                                        letter by Dr. William
                                                                      William W
                                                                              W. Pinsky,
                                                                                 Pinsky,
which is
which    attached and
      is attached and incorporated   as Exhibit
                       incorporated as          A.
                                        Exhibit A.

    50. Dr. Pinsky
    50. Dr. Pinsky is   the President
                     is the President and
                                       and CEO
                                           CEO of
                                               of the
                                                  the ECFMG,   and in
                                                      ECFMG, and   in that
                                                                      that capacity, he
                                                                           capacity, he
authorized the
authorized  the illegal  actions of
                illegal actions  of the
                                    the ECFMG,  heretofore described.
                                        ECFMG, heretofore  described.

   51. On 12/14/18,
   51. On  12/14/18, Dr
                     Dr. Pinsky
                         Pinsky sent
                                sent aa letter
                                        letter [Exhibit
                                               [Exhibit A]
                                                        A] to
                                                            to Dr.
                                                               Dr. Orien
                                                                   Orien L. Tulp, addressing
                                                                         L. Tulp, addressing
him as
him as Professor
       Professor and
                 and President
                     President of
                               of USAT
                                  USAT at  at its
                                              its main
                                                  main location
                                                       location in Montserrat.
                                                                in Montserrat.

    52.
     52. In  this letter,
         In this          Dr. Pinsky
                  letter, Dr
                          Dr. Pinsky indicated,
                                      indicated, inter  alia, essentially,
                                                  inter alia,              that the
                                                              essentially, that the ECFMG
                                                                                    ECFMG
Committee had
Committee      had determined
                    determined that,
                                 that, for
                                       for aa minimum
                                              minimum period
                                                         period of
                                                                 of five
                                                                    five years,
                                                                         years, from the date
                                                                                from the date of
                                                                                              of the
                                                                                                 the
letter, that Dr.
letter, that  Dr. Tulp   was banned
                  Tulp was    banned from
                                      from submitting
                                              submitting any
                                                          any documents
                                                              documents or or having
                                                                              having any
                                                                                     any dealings
                                                                                          dealings
with the
with  the ECFMG
          ECFMG on    on behalf
                          behalf of
                                 of USAT
                                    USAT or  or otherwise.
                                                otherwise.




                                             SAppx0052
                                             SAppx0052
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    53.
    53. This  indefinite ban
        This indefinite  ban of
                             of Dr.
                                Dr. Tulp
                                    Tulp for allegedly engaging
                                         for allegedly engaging in  “irregular behavior"
                                                                 in "irregular behavior”
was arbitrarily
was  arbitrarily imposed
                 imposed by
                          by the
                              the ECFMG
                                  ECFMG Committee
                                          Committee forfor alleged
                                                           alleged unproven  false
                                                                   unproven false
statements, none
statements,        of which
             none of  which allegations
                             allegations were
                                         were actually
                                              actually documented.
                                                       documented.

    54.
    54. This ban effectively
        This ban effectively precludes
                             precludes Dr.
                                       Dr. Tulp  from operating,
                                           Tulp from   operating, or
                                                                  or being
                                                                     being involved
                                                                           involved with,
                                                                                      with,
any medical
any medical school,
             school, in any capacity,
                     in any capacity, for
                                      for an
                                          an indefinite period of
                                             indefinite period of time,
                                                                  time, subject
                                                                        subject to
                                                                                to the
                                                                                   the
unfettered discretion
unfettered            of ECFMG.
           discretion of ECFMG.

   55.
    55. This ban effectively
        This ban  effectively closes
                              closes USAT,
                                     USAT, as
                                            as an
                                               an institution
                                                  institution for medical students,
                                                              for medical students, for an
                                                                                    for an
indefinite period
indefinite period of
                  of time,
                     time, if not permanently.
                           if not permanently.

    56. Actions which
    56. Actions   which allegedly
                        allegedly are
                                    are announced
                                        announced inin Dr.
                                                       Dr. Pinsky's
                                                           Pinsky’s letter
                                                                    letter have already been
                                                                           have already been
instituted by
instituted by the
               the ECFMG    such as
                   ECFMG such     as the
                                     the ban
                                         ban on
                                             on the
                                                 the World
                                                     World Directory
                                                            Directory of
                                                                       of Medical
                                                                           Medical Schools
                                                                                   Schools
website and
website  and the
              the shutdown
                  shutdown ofof the
                                the portal
                                    portal and
                                           and the
                                               the blocking
                                                   blocking of
                                                             of student
                                                                student scores
                                                                         scores and
                                                                                and the
                                                                                    the
affidavits.
affidavits.

    57.
    57. The   ban by
        The ban   by the
                      the ECFMG,
                          ECFMG, as  as set
                                        set forth in the
                                            forth in the letter  of Dr
                                                          letter of Dr. Pinsky,
                                                                    Dr.   Pinsky, also
                                                                                   also means
                                                                                        means that
                                                                                                that
the operations
the operations ofof the
                    the USAT
                        USAT in    the United
                                in the United States   must be
                                               States must    be shut
                                                                  shut down,
                                                                        down, and
                                                                                and the
                                                                                     the students
                                                                                         students
from the
from  the United
          United States   will be
                   States will  be separated
                                   separated from
                                              from USAT,
                                                    USAT, which
                                                              which will
                                                                       will have
                                                                            have to
                                                                                  to be
                                                                                      be closed
                                                                                         closed if  the
                                                                                                 if the
actions of
actions  of the
            the ECFMG
                ECFMG are  are not reversed. Two
                               not reversed.  Two ofof the
                                                       the three
                                                            three administrative
                                                                   administrative conference
                                                                                     conference
venues have
venues  have been
               been closed   due to
                     closed due  to the
                                    the actions
                                         actions of
                                                 of the
                                                    the ECFMG.
                                                         ECFMG. Students        have been
                                                                      Students have    been forced
                                                                                             forced toto
transfer to
transfer to other
             other medical
                   medical schools
                             schools to
                                     to continue
                                         continue their
                                                   their education
                                                         education pastpast January
                                                                            January 1,1, 2019.
                                                                                         2019. As
                                                                                                As
previously mentioned,
previously   mentioned, the
                          the bulk
                              bulk of
                                    of the
                                       the USAT
                                           USAT Basic
                                                   Basic Sciences      Program is
                                                           Sciences Program         delivered via
                                                                                 is delivered   via an
                                                                                                     an
advanced SPOC
advanced           [Small Program
            SPOC [Small     Program Online
                                      Online Course
                                              Course program
                                                       program developed
                                                                   developed by by USAT
                                                                                    USAT andand
delivered worldwide,
delivered  worldwide, thereby
                         thereby negating
                                  negating any
                                             any requirement
                                                 requirement for for aa fixed US Campus].
                                                                        fixed US   Campus]. TheThe
ECFMG
ECFMG or  or Dr.
              Dr. Pinsky
                  Pinsky has
                          has never
                               never asked
                                      asked for  any information
                                             for any  information about
                                                                      about the
                                                                             the structure
                                                                                 structure or
                                                                                            or content
                                                                                               content
of the
of the Basic
       Basic Sciences    Program.
               Sciences Program.

    58.
    58. The  actions of
        The actions  of the
                        the ECFMG
                            ECFMG onon Dr.
                                       Dr. Tulp
                                           Tulp and
                                                and the
                                                     the students
                                                         students of
                                                                  of USAT
                                                                     USAT amount
                                                                          amount to
                                                                                 to aa
violation of
violation of procedural
             procedural and
                         and substantive
                             substantive due
                                         due process,
                                             process, as
                                                      as follows:
                                                         follows:

        (a) banning
        (a) banning Dr.Dr. Tulp
                            Tulp without
                                  without aa proper
                                              proper hearing;
                                                     hearing;
        (b) banning
        (b) banning Dr.Dr. Tulp   without an
                            Tulp without    an evidentiary  basis;
                                               evidentiary basis;
        (c) forcing
        (c) forcing closure
                      closure ofof USAT
                                   USAT andand causing
                                                causing its
                                                        its students
                                                            students to
                                                                      to be
                                                                         be dismissed
                                                                             dismissed in
                                                                                       in an
                                                                                          an
            arbitrary and
            arbitrary  and capricious    manner;
                              capricious manner;
        (d) requiring,
        (d) requiring, atat aa hearing
                               hearing on
                                       on 11/28/18,
                                           11/28/18, that
                                                      that USAT
                                                           USAT assume
                                                                   assume thethe burden
                                                                                 burden of
                                                                                        of proof
                                                                                           proof
            and allotting
            and  allotting 2020 minutes
                                 minutes for
                                          for the
                                              the hearing;
                                                  hearing;
        (e) terminating
        (e) terminating thethe hearing
                                hearing on
                                        on 11/28/18
                                             11/28/18 without
                                                       without receiving    any evidence
                                                                receiving any    evidence from
                                                                                          from Dr.
                                                                                                Dr.
            Tulp;
            Tulp;
        (f) finding
        (f)           Dr. Tulp
            finding Dr.          guilty of
                          Tulp guilty   of "irregular
                                            “irregular behavior"
                                                       behavior” without
                                                                   without jurisdiction
                                                                            jurisdiction and
                                                                                         and due
                                                                                             due
            process, and
            process,   and effectively
                             effectively forcing
                                         forcing closure   of USAT
                                                  closure of  USAT College
                                                                      College ofof Medicine
                                                                                   Medicine without
                                                                                             without
            legal process, and
            legal process,     and constructively  dismissing the
                                   constructively dismissing    the students
                                                                    students ofof USAT
                                                                                  USAT in  violation
                                                                                        in violation
            of the
            of the law.
                    law.




                                               SAppx0053
                                               SAppx0053
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    WHEREFORE, the
    WHEREFORE,        the Court
                          Court isis requested
                                     requested to
                                                to order
                                                   order ECFMG
                                                         ECFMG to to immediately    resume
                                                                     immediately resume
processing the
processing  the medical
                medical examinations
                          examinations of of students
                                             students of
                                                       of USAT,
                                                          USAT, and
                                                                 and release
                                                                      release their
                                                                              their examination
                                                                                    examination
scores, and
scores, and remove   the negative
             remove the   negative advisory
                                     advisory from
                                               from the
                                                     the sponsor
                                                         sponsor notes
                                                                 notes on
                                                                        on the
                                                                           the World
                                                                               World Directory
                                                                                       Directory
of Medical
of Medical Schools   listing for
            Schools listing  for the
                                  the USAT
                                       USAT College
                                              College ofof Medicine,
                                                           Medicine, and
                                                                     and to
                                                                          to award
                                                                             award such
                                                                                     such other
                                                                                          other
injunctive and
injunctive and equitable   relief as
                equitable relief  as appropriate,
                                      appropriate, plus
                                                    plus damages,
                                                         damages, interest,
                                                                  interest, and
                                                                            and attorney
                                                                                attorney fees.
                                                                                          fees.




                                                        Respectfully submitted,
                                                        Respectfully submitted,


                                                        William C.
                                                        William   C. Reil,
                                                                     Reil, Esquire
                                                                           Esquire
                                                        FOR: Tommy
                                                        FOR:   Tommy Swate,
                                                                        Swate, Esquire
                                                                                Esquire
                                                        Attorneys for
                                                        Attorneys      Plaintiff
                                                                   for Plaintiff
                                                        File I.D.
                                                        File I.D. No.
                                                                  No. WCR1962
                                                                      WCR1962
                                                        Attorney I.D.
                                                        Attorney  I.D. No.
                                                                       No. 26833
                                                                            26833
                                                        1515 Market
                                                        1515  Market Street,
                                                                      Street, Suite 1200
                                                                              Suite 1200
                                                        Philadelphia, PA
                                                        Philadelphia,  PA 19102
                                                                           19102
                                                        215-564-1635
                                                        215-564-1635

                                                        December 24,
                                                        December 24, 2018
                                                                     2018




                                           SAppx0054
                                           SAppx0054
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        GZJKDKV C
        EXHIBIT A
                             SAppx0055
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                       EDUCATIONAL COMMISSION FOR                                   3624 Market Street
ECFMG®                 FOREIGN MEDICAL GRADUATES                                    Philadelphia PA 19104-2685 USA
                                                                                    215-386-5900 I 215-386-9767 Fax
                                                                                    www.ecfmg.org

PERSONAL AND CONFIDENTIAL
VIA EMAIL: o.tulb usat.edu

                                                    December 14, 2018

Dr. Orien L. Tulp
Professor and President
University of Science, Arts & Technology (USAT) Faculty of Medicine
Main Campus
S. Mayfield Estate Drive
Olveston
MONTSERRAT

Dear Dr. Tulp:

         I am writing to inform you that the ECFMG Medical Education Credentials Committee
("ECFMG Committee") has completed its review of the allegation that you, individually and in
your capacity as an official of University of Science, Arts & Technology (USAT) Faculty of
Medicine, Montserrat, engaged in irregular behavior in connection with providing false
information to ECFMG. Specifically, you provided false information to ECFMG when you (1)
notified ECFMG that USAT does not operate a branch campus in Miami, FL and (2) certified to
the attendance dates of several USAT students and graduates when ECFMG has information
that these students were not attending USAT during some of the time periods to which you
certified.

        In advance of the review, the members of the ECFMG Committee were provided with
the documents listed in ECFMG's October 18, 2018 letter and ECFMG's November 14, 2018
emails. A hardcopy of the complete file was also sent to your attorney, Mr. Tommy Swate, on
November 16, 2018 via Federal Express. On November 16, 2018, Mr. Swate acknowledged
receipt of this complete file. You made a personal appearance before the ECFMG Committee
accompanied by your legal counsel, Mr. Swate. A copy of the transcript of' the proceedings will
be sent to you as soon as it is available.

        The ECFMG Committee considered the documentation presented to it and Mr. Swate's
statements. Following careful review, the ECFMG Committee determined that you engaged in
irregular behavior in connection with providing false information to ECFMG.

     The ECFMG Committee has determined that ECFMG will not accept any documents signed
/ certified by you for ECFMG on behalf of USAT, or any other medical school, for a minimum of
five years from today; thereafter, the prohibition shall end only upon a petition to ECFMG
conclusively demonstrating to the satisfaction of the ECFMG Committee a familiarity with, and
willingness to adhere to, ECFMG polices. Your ECFMG Medical School Web Portal (EMSWP)
account will remain deactivated.

       In light of the ECFMG Committee's findings, the ECFMG Sponsor Note for USAT in the
World Directory of Medical Schools (World Directory) will be updated as follows:




     ECFMG® is an organization committed to promoting excellence in international medical education.

                                                 SAppx0056
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Dr. Orien L. Tulp
December 14, 2018
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           In 2018, ECFMG determined that a certain official of the University of Science
           Arts & Technology engaged in irregular behavior in connection with providing
           false information to ECFMG.

This note will remain in USAT's ECFMG Sponsor Note in the World Directory for five years,
regardless of whether USAT changes its name, ownership, and/or location.

        Additionally, in accordance with the ECFMG Policies and Procedures Regarding
Irregular Behavior, a permanent annotation that you engaged in irregular behavior will be
included in your ECFMG record. ECFMG may report the ECFMG Committee's determination of
irregular behavior to the Federation of State Medical Boards of the United States, U.S. state and
international medical licensing authorities, directors of graduate medical education programs,
and to any other organization or individual who, in the judgment of ECFMG, has a legitimate
interest in such information.

       As noted in the enclosed ECFMG Rules of Appellate Procedure, decisions of the
ECFMG Medical Education Credentials Committee may be appealed within the 30-day time
period specified.


                                                      Sincerely,



                                                      William W. Pinsky, MD FAAP FACC
                                                      President and CEO


CC: Tommy Swate, Esq. swatemd aol.com
    William Reil, Esq. billreillawagmail.com

Encl: As noted.




                                               SAppx0057
                                               SAppxOO57
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        GZJKDKV D
        EXHIBIT B
                             SAppx0058
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University of Science,
              Science,     Arts Document:
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Montserrat



                                nforrikation
                                lifOrrna        c'rr.qrainl eta
                                                   oaram Uetaiis      Sponsor Notes




                                                                                                                                  Case 2:18-cv-05540-WB Document 1 Filed 12/24/18 Page 15 of 32
  The information below has been provided by the World Directory's sponsoring organizations.

      • Students and graduates of this medical school are eligible to apply to ECFMG for ECFMG Certification and for
        examination, provided that:
         0O For medical school students officially enrolled in this school, the graduation years are listed below as "current".
         0© For graduates of this medical school, their graduation year is included in the graduation years listed below.
                   Graduation Years:
                        2003 - 2018
         O All other eligibility requirements are met. Refer to the 1.AG Informatiul
                                                                                formation Book for detailed information.
                                                                                                              information,

      • Note: As of January 1, 2019, students and graduates of this medical school with a graduation year of 2019
        and later are not eligible to apply to ECFMG for ECFMG Certification, which also renders them ineligible to
        apply to ECFMG for the United States Medical Licensing Examinations (USMLE) as a step toward ECFMG
        Certification.

        Currently, students and graduates of USAT are subject to enhanced procedures that must be met in order to
        be eligible to apply for ECFMG Certification related services, including but not limited to: ECFMG
        Certification, USMLE examinations that lead to ECFMG Certification, and Electronic Residency Application
        Service (ERAS()) Support Services. ECFMG will provide information and instructions to applicants upon
        receipt of application.




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                                                                SAppx0059
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        GZJKDKV E
        EXHIBIT C
                             SAppx0060
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                         AN AGREEMENT

                           BETWEEN.

                THE GOVERNMENT OF MONTSERRAT




                              AND

                      MEDICAL COLLEGE OF

                         LONDON (MCL),

                  UNIVERSITY OF SCIENCE, ARTS

                              AND

                          TECHNOLOGY

                    (MONTSERRAT) LTD. (USAT)




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                                          MONTSERRAT

                                            A>1..)       2003


                                        6GREE MENT


          THIS AGREEMENT made the             :..'day
                                                 f    of ..—.211;!fr":42.-}e 2003 between:

                THE GOVERNMENT OF MONTSERRAT (hereinafter referred to as the
          Government' which expression shalt where the context so admits include its
          assigns and successors) whose address for service is THE CHIEF MINISTER'S
          OFFICE. 81:JADES. MONTSERRAT and MEDICAL COLLEGE OF LONDON
          (MCL), UNIVERSITY OF SCIENCE, ARTS AND TECHNOLOGY (Montserrat)
          LTD (USAT), a duly Incorporated company (hereinafter referred to as 'the MCL-
          USAT' which expression shall where the context so admits include its assigns
          and successors) whose address Is BRA1)ES, Montserrat,

          WITNESSETH AS FOLLOWS:

          I.    DEFINITIO

                in this agreement thefollowing expressions shall have the moaning herein
                ascribed to thorn.

                "Agreement Period" means a period of 20 years commencing with the
                date on which this agreement is executed. The MCL-USAT will havo the
                option to review and renew the Agreement.

                "Contributions" means a contribution payable to the Social Secutily.Fund,

                "Expatriate Staff" means staff recruited from overseas who WO not citrons
                of Montserrat or are not ordinarily resident In Montserrat for tax purposes.

                "USAT4 means UNIVERSITY OF SCIENCE, ART AND TECHNOLOGY
                (tvIONTSERRAT) LTD,

          2.    TAX EXEMPTION
                                      (1)
         6.    WOE% iY.EINILLEQELEXPAMYST                 l'APt_oYEes
               6.1   MCL-USAT will at the beginning of each year of the agreement
                     period provide a list of names of its academic and administrative
                     staff requiring work permits and in addition shalt supply all relevant
                     information needed for the processing of the work permits.

               6.2   Government of Montserrat shall issue the necessary work permits
                     and visas to enable MCL<USAT staff, students and families to
                     remain on island for the period of their employment or study subject
                     to the significance of any information provided on Police Records.




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               7.2     MCI.-USAT      ensure that Income
                       MCL-USAT will ensure                                     of each of
                                                         tax is paid in respect of
                                                  income tux
                       its employees,
                           employees.

         8,
         8-    OSKBAL
               0..,M9Al.,
               8,1     The Government undertakes to establish a registry to     to record
                                                                      MCL-USAT.
                       certification obtained by medical graduates of fvfa-USAT,

               8.2                                               re,queSt of MCI.-USAT
                                                         at tire roqueal
                       The Government of Montserrat will al                  MCL-USAT
                                                                            Directory of
                       request the listing of MCL-USAT with the World Dirottery
                       Medical Schools published by WHO.
                                                    WHO, Geneva, Switzerland,




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                8,13   MCL-USAT agrees to maintain
                                                Maintain operations In KM;
                                                                        Wkoitsorrat with regard
                       to il3
                       10 its Medical and otherother IProgrammes !orfor the duration of the
                                               unforeseen circumstances
                                      unless untef,
                       agreement urRoor.                             'ear eos ni   , :- natural
                                                                                 and,or     turat
                       disaster arise !hdi
                                        that the MCL-USAT   " may choose          relocate to an
                                                                   .1:1•looso to reloLoto
                                     .
                                 convenience
                              of con,
                       area 'of                 for the rtv1CL-USAT tor
                                                                      for a lime
                                                                             time period to be
                       determined by a fv1CIAJSAT.,-
                                              IJSAi This would not alfeetaffect any permission
                       granted to th(.   • USAT by the Government of Montserrat,
                                   the MCL.USAT                              fvloniserrat,

                           MCL-USAT. ;may
                     The MCLAJSAT
                8.14 The
                8.i4                         • *an'      at • tlic and professional de9ries.
                                                  grant academic                          degrees to
                     dilly  qualifiod. students of the institution and commensurate with an
                     duly qualified                                                                   -01
                     institution of higher education who have completed  ‘...qeptowl the academic •
                           professional
                     and pefe.      ..i .    requirements of the -dogree•fer. which they have
                     been considered, and who have been , recommended for such by
                                               ,:ctor • of MCL.USAT.
                           faculty and 'directors
                      the fecuity                          MCL,USAT, The 'specific degrees        greed
                     authorized shall include  w_10 Doctor ofet Philosophy    (PH,13.), the Doctor
                                                                Philosophy (t31-1.0.),           :tor of
                     Medicine (M,D;) • or Bachelor of Surgery 01.0.83),   (M.B.B.S), Garr:    :;!Or of
                                                                                         Bachelor
                                          (I. SI, the
                     Dental Surgery (8.D.S.},
                     Den                                                       Health.(M.P.H.),
                                                     theMaster of Public Health-(MY             I.), the
                     Ma;;R.,:i     Sokoo, (vt,Sc,),
                     Master of Science                       Master ref
                                                        .the Piaster
                                               4.S0,),;the           of Arts   (M,A.), the Bachelor
                                                                        Ana (MA.),          L i- chafor
                                   (0.$0,) and the Bitcholor.of
                     of Science (E.S0,)                Bachelor of MsArts (O
                                                                           (B.A,),
                                                                               A,),

          IN WITNESS whereof the parties or the duly duty authorised reproSoniativo
                                                                       representative of tthe
          parties have signed this Deed on the day first above written,    -



                 AZet.44-21---e  „ .....
          Sigi ed by Mr. John A. Osborne
          SO rid                                                  Dr. Orlon
                                                                  Dr, Wen L. Tuip
          Minister
          MinfSter for Finance and                                President, USAT, end
                                                                  Pretident,       and Dimolor
                                                                                       Director
          Economic Development en  on behalf                      Medical College of London
          Of the Government of Montserrat
          of                    Montsen'al

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                                                                  EScol)inty-Greer
          Attorney General                                        Attoilloy General
                                                                  Attorney




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                 9,5
                 9.5     At the end of the agreement period MCL-USAT shall have the
                                                          far a further period to be
                         option to extend the agreement for
                         cotton
                                       MOL-IJSAT and
                         determined by M(1.-USAT dnd GOM,
                                                     GOM.

                 9.6
                 9,6     Netwith- Slanding the above, the otter included in this agreement
                         Netwitte3landing
                         shall be valid ler for a period of one (1)           from, ihc:
                                                                   fI) year law             ,1 !0 of this
                                                                                      the date
                         agreetrvint
                         agreement afteraltar which the terms        contritlop, may :be:: .,,object
                                                                and conditions
                                                          terms-and                            subject to
                         ro-c,,,:::Ir!iion                  MC1-1./SAT makes
                         te,neeotiation however, Ifif MCL-USAT                        any substantial
                                                                                •. ,any       s•ubstantial
                         property investment or undertakes any major  ma, contractual
                                                                                    ifactual obligation
                         top: ,k le to and in reliance
                         referable               telirince on this Agreement,
                                                                   Agroeil• • • then Ion the,
                                                                                          the toms
                                                                                                terms sot
                         out shall
                             Gii0 become final and binding on the Government,   rerrnc rat.

          IN WITNESS whereof
                          wilc'i"°:f the parties
                                            !r"., .9 or the duly ;11,11tOrised reprosoniativtt of the
                                                                 authorised representative
                  imbue sir
          parties have    y. this Deed on- the day first above written,
                        signed                                         written.



                414.,
                P2-144-,
          Signed by Mr. John A, Osborne.                         Dr. Orton L
                                                                 L. Orion  1. Tulp
                                                                              Pulp
          Minister lor
                   for Finance and                                          USAT, and Director
                                                                 President, LISAT,
                     Dovo]
          Economic Development        laohalf
                                 d on behalf                     Medical College of London
          of the Government of Monisorrat
                                tviontserrat

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          Esc() HOW reer                                               Hennj-Greer
                                                                 Esco Frenni-Greer
          Attorney GoneraI                                       Alleiney General
                                                                 Attorney




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                                                                                              romr.4 me NO,
                                                                                              COMPANY   No,


                        ,                  Dl' MONTSEORAT
                             COMPANIES ACT OF  MONTSEIIIIAT


                              CERTIFICATE OF INCORPORATION


                                      UNIVERSITY OF SCIENCE, ARTS
                                   AND TECHNOLOGY (MONTS.
                                                  CMONThERRAT)   LTD.
                                                          ERRAT) [fit.
                                                 NAME OF comPAtty
                                                           MPANT


      I hochy
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               cvilifly that the above-mentiond  Company, the Artielet4
                                 tabow-mentipned Coinpony,    Articles ofIncorporation or
                                                                         latotpontlion ()A'

      which arc attnitol,
                attached, was
                          wus incorporated under the MOtilkttlit
                              lacurporatrd mkt.                  Companies Act 19$,
                                                     Mont:A/KIS Coraptuties    1, I}$,




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                                        ®    EDUCATIONAL COMMISSION FOR                                                                     33624
                                                                                                                                                4 Market Street
                                                                                                                                              624
            ECFMG                            FOREIGN MEDICAL GRADUATES                                                                      Philadelphia, PA 19104-2685 USA
                                                                                                                                            215-386-5900 |1 215-386-9767 Fax
                                                                                                                                            215-386-59001215-386-9767
                                                                                                                                            www.ecfmg.org

                            AFFIDAVIT ATTESTING TO MEDICAL SCHOOL ATTENDANCE
   I,
                                ECFMG Applicant Name                                                                      ECFMG ID Number
hereby declare, under penalty of perjury under the laws of
                                                        of all applicable jurisdictions, including the United States of
                                                                                                                     of America, and under penalty of a finding of irregular
behavior under applicable ECFMG rules and regulations, that:
             AttendaODF%BUFTBU6OJWFSTJUZPG4DJFODF
  Section 1: Attendance    Dates at University of Science,"SUT5FDIOPMPHZ       64"5 'BDVMUZPG.FEJDJOF
                                                             Arts & Technology (USAT)      Faculty of Medicine
    I*BUUFOEFE6OJWFSTJUZPG4DJFODF
       attended University of Science,"SUT5FDIOPMPHZ 64"5 'BDVMUZPG.FEJDJOFMPDBUFEJO.POUTFSSBUEVSJOHUIFGPMMPXJOHEBUFT
                                       Arts & Technology (USAT) Faculty of Medicine located in Montserrat during the following dates:

                                                      From (Month/Year)                                     To (Month/Year)




                                                                   .POUTFSSBU
  Section 2: Dates and Location of Basic Sciences Courses Taken in Montserrat
        was physically present and took basic sciences courses in Montserrat, during the following dates and at the following
     I*XBTQIZTJDBMMZQSFTFOUBOEUPPLCBTJDTDJFODFTDPVSTFTJO.POUTFSSBU                                             following
            (If you did
  location (If      didnot complete your basic sciences course work at a facility located
                                                                                  located in Montserrat,
                                                                                             .POUTFSSBU, complete Section 3):

                                              Dates of Basic Sciences Courses Taken while Physically Located In Montserrat
                                                                                                                   .POUTFSSBU
               (Do not include dates if you were not physically present in Montserrat.
                                                                           .POUTFSSBU. Do not include breaks in time where you were not physically located in
                 .POUTFSSBU. Only list the beginning and end date for when you were physically present in Montserrat
                 Montserrat.                                                                                 .POUTFSSBU attending basic sciences courses.)
                                                                                                                                                 'acility Where
                                                                                                                                     Address of Facility  8here
                       From (Month/Year)                                         To (Month/Year)
                                                                                                                                  Basic Sciences Classes Were Held




  While I took my basic sciences classes in Montserrat,
                                            .POUTFSSBU, I resided
                                                           esided at the following location(s):
                                                                                                                                         .POUTFSSBU
                                                                                                                      Residence Dates in Montserrat
                                                   .POUTFSSBU
                              Residence Address in Montserrat
                                                                                                From (Month/Year)                               To (Month/Year)




  I am attaching the following documentation to demonstrate my physical presence in Montserrat
                                                                                         .POUTFSSBU during the time I was taking
  basic sciences classes at University
                            6OJWFSTJUZPG4DJFODF
                                       of Science,"SUT5FDIOPMPHZ
                                                   Arts &             64"5 'BDVMUZPG.FEJDJOF.
                                                          Technology (USAT)
                                                        &Technology                                     all that apply):
                                                                            Faculty of Medicine. (check all

         111 My passport, showing travel to Montserrat
                                            .POUTFSSBU and visas for Montserrat
                                                                     .POUTFSSBU                          111 My lease, utility bills, etc. for my housing

         111 My airline
                Birline tickets/boarding passes documenting travel to Montserrat
                                                                      .POUTFSSBU                         111 Other (please specify)

  Section 3: TO BE COMPLETED ONLY IF YOU CANNOT COMPLETE SECTION 2
        I did not
              not take basic sciences courses at a facility located in Montserrat
                                                                       .POUTFSSBUbecause:
                                                                                  because:




  I also declare that this information is comprehensive, complete and accurate as of the date of
                                                                                              of my signature.




            of Applicant
  Signature of                                                                                                                          (day)         (month)        (year)
                                                                             Certification by Official
  I certify that on the date set forth below the individual named above did appear personally before me and that the statements in this document are subscribed
  and sworn to before me by the individual on this          day, of the month of
                                                                              of         in the year          .



            of Notary Public
  Signature of                                                                                                                                      Official Seal


  Printed Name of
  Printed      of Offical
                  Offical

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WHAT YOU NEED TO DO
Effective immediately, as a USAT student or graduate seeking a service or services related to ECFMG
                                                            Medical Licensing Examination (USMLE), release
Certification, including registration for the United States Medical
of USMLE scores, issuance of an ECFMG Certificate, or issuance of ECFMG Certification Status Reports to
residency programs, you mustroust complete the attached affidavit, attesting to the accuracy of your medical
school attendance information to ECFMG's satisfaction. Completion of the affidavit is required and will
facilitate ECFMG's review.

The affidavit must also be notarized by NotaryCam, which provides secure on-line notarization of
                                      https://www.notarycanconifecfmg-affidaviti and follow NotaryCam's
documents. To use NotaryCam, go to https://www.notaryoam.com/ecfmg-affidavit'
instructions. NotaryCam will e-mail your affidavit to ECFMG directly.

YOU MUST COMPLETE AND SUBMIT THIS AFFIDAVIT NO LATER THAN NOVEMBER 1, 2018.

Please allow two to four weeks processing time after the above-described affidavit has been submitted
                                                                                            submitted to
ECFMG. ECFMG will notify you in writing after your affidavit has been processed.



I
ECFMG reserves the right to bring allegations of irregular behavior against you, in accordance with its
                                                                  dicates that you have engaged in
policies and procedures, should ECFMG obtain information thatniindicates
irregular behavior with respect to any documentation submitted as part of this process.

If you have any questions, please contact MECCsupport    ecfmg.org and you will be assigned a Case
                                          MECCsupport@ecfmg.oro
Manager. If you prefer, you may call 215-386-5900 and ask to be transferred to a Case Manager for USAT.

Sincerely,

ECFMG




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                        EDUCATIONAL COMMISSION
                        EDUCATIONAL COMMISSION FOR
                                               FOR                                   3624 Market
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ECFMG®                  FOREIGN MEDICAL GRADUATES
                        FOREIGN MEDICAL GRADUATES                                    Philadelphia PA
                                                                                     Philadelphia PA 19104-2685
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                                                                                     215-386-5900 | 215-386-9767
                                                                                     215-386-5900
                                                                                                                 USA
                                                                                                       215-386-9767 Fax
                                                                                                                    Fax
                                                                                     www.ecfmg.org
                                                                                     www.ecfmg.org

VIA EMAIL: swatemd@aol.com

                                                     November 21, 2018


Mr. Tommy Swate
Attorney at Law
403 Wild Plum
Houston, Texas 77013

Dear Mr. Swate:

       Thank you for the email confirmation on November 16, 2018 that you received the
complete file that will be reviewed by the ECFMG Medical Education Credentials Committee
("ECFMG    Committee”) in the matter related to Dr. Orien Tulp. As previously communicated, Dr.
(“ECFMG Committee")
Tulp is scheduled to make a personal appearance (accompanied by you and Mr. Reil, his
attorneys) before the ECFMG Committee on Wednesday, November 28, 2018 at 9:00 AM at the
Rittenhouse Hotel, 210 West Rittenhouse Square, Philadelphia, PA 19103. Please arrive with
Dr. Tulp at 8:45 AM.

        I am writing in response to your letter dated November 13, 2018, which is rife with
misstatements. There are two important issues of concern which require clarification at this
            ECFMG’s authority to conduct its activities, including the ECFMG Certification
time: (1) ECFMG's
program and making allegations of irregular behavior pertaining to Dr. Tulp; and (2) the "activity
                                                                                         “activity
of the ECFMG in regards to the USAT"
                                USAT” related to ECFMG's
                                                  ECFMG’s update of USAT's
                                                                        USAT’s World
                                                                                World Directory
   Medical Schools ECFMG Sponsor Note.
of Medical
of

Concern (1): ECFMG's
                ECFMG’s Authority to Conduct the ECFMG
                                                 ECFMG Certification Program &
Irregular
Irregular Behavior
          Behavior

                                                “identify by what legal authority [ECFMG] has to
       In your letter, you request ECFMG to "identify
claim and report that Dr. Tulp - engaged in 'irregular
                                              ‘irregular behavior’.”
                                                          behavior'." For some additional context
           ECFMG’s responsibility and its mission to protect the public, ECFMG (formally the
regarding ECFMG's
Evaluation Service for Foreign Medical Graduates) was established as a private, non-profit
organization in 1956 by the Federation of State Medical Boards (FSMB), the American Hospital
Association (AHA), the Association of American Medical Colleges (AAMC), and the American
Medical Association (AMA). It was established to validate medical credentials, assess basic
medical knowledge and determine English language proficiency for graduates of international
medical schools. As you may already know, medical licensing authorities in the United States
require that international medical graduates (IMGs) be certified by ECFMG, among other
requirements, to obtain an unrestricted license to practice medicine.

        In support of its mission to protect the public, individuals that have or have attempted to
         ECFMG’s policies and procedures are subject to ECFMG's
subvert ECFMG's                                              ECFMG’s Policies and Procedures on
Irregular Behavior. These were previously shared with you and are also available on ECFMG's
                                                                                          ECFMG’s
web-site at https://www.ecfmg.org/programs/irregular-behavior.html. As communicated in our
prior correspondence, it is under these policies that Dr. Tulp is charged with irregular behavior
for providing false information to ECFMG. I trust that the files you received on November 16
help clarify the charges and evidence of irregular behavior.


      ECFMG ® is
      ECFMG®  is an
                 an organization
                    organization committed
                                 committed to
                                           to promoting excellence in
                                              promoting excellence in international
                                                                      international medical
                                                                                    medical education.
                                                                                            education.

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Mr. Tommy Swate
November 21, 2018
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Concern (2): ECFMG's
             ECFMG’s Update to USAT’s
                               USAT's World                 Sponsor Note
                                      World Directory ECFMG Sponsor

      As previously communicated to you, ECFMG's ECFMG’s update to USAT'sUSAT’s World Directory
Sponsor note is not related to a charge of irregular behavior for Dr. Tulp.

        ECFMG updated its sponsor note on October 18, 2018 because ECFMG learned that
USAT was operating a medical school campus located in the United States. Before taking this
action, ECFMG had requested USAT to provide documentation from the appropriate United
States authorities that USAT is authorized to operate its medical school campuses and
educational programs in the United States.    To date, USAT has failed to deliver such
documentation.

       It appears from the information gathered from you (e.g. your statement that USAT has
conducted classes "in“in locations other than Montserrat for                  incident…”) and
                                                         for 15 years without incident...")
corroborated by USAT students that USAT has primarily operated and conducted its
educational activities in the United States. Based on this information, USAT may not even be
an international medical school. However, as previously communicated, if you are able to
provide documentation from the appropriate United States authorities that USAT is authorized to
operate its medical school branch campuses in the United States, ECFMG will consider this
information.

       Also, in your letter dated November 13, 2018 you state "ECFMG
                                                                 “ECFMG has taken the position
                                               school.” We must clarify for you that ECFMG is
that ECFMG has the right to accredit a medical school."
not an accrediting agency and does not purport to accredit international medical schools.

     Please contact me if you have any additional questions regarding our ECFMG
Committee meeting scheduled next week.


                                                          Sincerely,


                                                           JJe,uklAAt
                                                             e_i_A9-1A4t
                                                          Ms. Kara Corrado, JD
                                                          Vice President for Operations




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                      EDUCATIONAL COMMISSION FOR                                   3624 Market
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ECFMC®
ECFMG®                FOREIGN MEDICAL GRADUATES
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                                                                                                               USA

                                                                                   www.ecfmg.org
                                                                                   www.ecfmg.org

PERSONAL AND CONFIDENTIAL
VIA EMAIL: o.tulp@usat.edu

                                                                                 October 18, 2018


Dr. Orien L. Tulp
Professor and President
University of Science, Arts & Technology (USAT) Faculty of Medicine
Main Campus
S. Mayfield Estate Drive
Olveston
MONTSERRAT

Dear Dr. Tulp:

       I am writing to advise you of the allegation that you, individually and in your
capacity as an official of the University of Science, Arts & Technology (USAT) Faculty of
Medicine, Montserrat, engaged in irregular behavior in connection with providing false
information to ECFMG. Specifically, you provided false information to ECFMG when
you (1) notified ECFMG that USAT does not operate a branch campus in Miami, Florida
and (2) certified to the attendance dates of several USAT students and graduates when
ECFMG has information that these students were not attending USAT during some of
the time periods to which you certified. The details of ECFMG's
                                                          ECFMG’s allegation are set forth
below.

Details of Allegation
                      Regarding U.S. Branch Campuses
False Information Regarding
         On August 21, 2018, ECFMG advised you that we had become aware that USAT
                    “branch” campus in Miami, Florida. We advised you that in order for
was operating a "branch"
students and graduates of an international medical school, such as USAT, to have
eligibility to apply for ECFMG Certification, ECFMG policy requires confirmation from
the appropriate government authority in the branch campus country that the branch
campus is authorized to operate as a medical school in such branch campus country.
Therefore, we requested that USAT provide documentation from the United States
Department of Education and/or the Florida Department of Education confirming that
USAT’s Miami branch campus is authorized to operate as a medical school in the
USAT's
United States. We indicated that this documentation should cover the whole time period
that the USAT Miami branch campus has been in operation.

                     ECFMG’s August 21, 2018 letter, you replied:
      In response to ECFMG's

      “This is incorrect information. The Miami location is an information and testing
      "This
      site only, where a pre-usmle examination [an NBME] may administered, and an
      Orientation for new students is conducted prior to their traveling to the


           ECFMG ® is
           ECFMG®  is an
                      an organization
                         organization committed
                                      committed to
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Dr. Orien L. Tulp
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       Caribbean.. It is NOT a campus. Our ONLY Campus is located in Olveston,
       Montserrat, British West Indies.

       Actually, recall that Montserrat is a volcanic Island, and the license issued to
       USAT in September, 2003 DOES actually permit the establishment of off-campus
       lecture and administrative sites as needed. USAT has students on island on a
                                  origination.” [emphasis in original]
       year round basis since its origination."

       After receiving your reply, ECFMG received information that USAT was also
providing medical education lectures not only at its Miami site, but also at sites in
Tampa, Florida, Dallas, Texas, and Puerto Rico. As a result and to ensure that
information regarding international medical schools and their students provided to
ECFMG complies with ECFMG policies and requirements, ECFMG notified you that
ECFMG would require USAT students and graduates to complete an affidavit, attesting
to the accuracy of the medical school information provided to ECFMG.

                       ECFMG’s affidavit request, many USAT students and graduates
       In response to ECFMG's
have certified that they have not completed any courses on Montserrat, but instead
completed courses on site in the United States at the direction of USAT officials due to
                                                                                   “2018
volcanic and hurricane activity on Montserrat. ECFMG also received a copy of the "2018
                                                                Schedule” which shows
University of Science, Arts and Technology Lecture Conference Schedule"
lectures occurring in Florida and Texas. We note that there are no lectures scheduled
for Montserrat. We also note that graduation occurs in Miami, Florida.

        This directly conflicts with the information that you provided, i.e. that "the
                                                                                  “the Miami
location is an information and testing site only, where a pre-usmle examination [an
NBME] may administered, and an Orientation for new students is conducted prior to
their traveling to the Caribbean.. It is NOT a campus. Our ONLY Campus is located in
Olveston, Montserrat, British West Indies."
                                         Indies.” [emphasis in original]. Further, though
USAT’s agreement with the Montserrat government indicates that USAT "agrees
USAT's                                                                            “agrees to
maintain operations in Monserrat with regard to its Medical and other programmes for
the duration of the agreement unless unforeseen circumstances and/or natural disaster
arise that the MCL-USAT may choose to relocate to an area of convenience for the
MCL-USAT for a time period to be determined by MCL-USAT. This would not effect
any permission granted to MCL-USAT by the government of Montserrat,"
                                                                 Montserrat,” ECFMG has
no record of receipt of any official communication from you or any other USAT official
indicating that USAT relocated due to volcanic activity, from 2003 until present.

           ECFMG’s September 15, 2017 announcement "Relocation
       In ECFMG's                                              “Relocation of Caribbean
Medical Schools Impacted by Hurricane Irma" Irma” ECFMG advised: "Schools
                                                                      “Schools that have
relocated or plan to relocate their operations to the United States or elsewhere as a
result of Hurricane Irma should provide ECFMG with: a) a formal notice to ECFMG that
includes the address of where the school is temporarily located and the expected date
of when the school will return to its home country, b) copies of approvals from the home
country governmental authorities, and c) copies of approvals from the accrediting




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October 18, 2018
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agency, if any. This information should be e-mailed to Medical Education Resources
   medschoolreview@ecfmq.org, along with any questions or comments."
at medschoolreview@ecfmg.org,                                comments.” ECFMG has
no record of receipt of any correspondence from you or any other USAT official that
USAT was relocating to the United States due to Hurricane Irma, or any other hurricane.

Certification of                    Regarding Students Attendance Dates
              ofFalse Information Regarding
                                                    USAT’s branch campuses, ECFMG
       During the course of the investigation into USAT's
has discovered information that indicates that you provided false information to ECFMG
regarding the attendance dates of some of your students on some of their applications
for United States Medical Licensing Examinations (USMLE). Specifically, you certified
that students were attending USAT during time periods which they were not actually
attending USAT.

              ECFMG’s usual practice to consider any action or attempted actions by any
        It is ECFMG's
person that would or could subvert the processes, programs or services of ECFMG to
be irregular behavior. See Section A.1. of the enclosed ECFMG Medical Medical Education
Credentials Committee Policies and and Procedures. Examples of irregular behavior include
the provision of false information or falsified credentials to ECFMG. ECFMG
investigates and considers allegations of irregular behavior in order to protect the
integrity of its processes, programs, and services. The ECFMG Committee can impose
serious sanctions if it finds irregular behavior has been committed.

      The review into the matters described in this letter are ongoing. ECFMG
reserves the right to amend or make additional allegations of irregular behavior, in
accordance with its policies and procedures, should ECFMG obtain information that
supports such amendment or additional allegations.

ECFMG Medical Education Credentials Committee Review of this Allegation

      This matter will be referred to the ECFMG Committee for review at its next
scheduled meeting on November 28, 2018 in Philadelphia. The ECFMG Committee will
consider the information presented and take action in accordance with the enclosed
ECFMG Medical
        Medical Education Credentials Committee Policies and
                                                         and Procedures.

        You will have the opportunity to appear personally before the ECFMG
Committee, accompanied by legal counsel, if you so wish. Please indicate in your
response if you wish to appear personally before the ECFMG Committee in your
individual and/or official capacities. If you do wish to make a personal appearance, I will
notify you of the particular time and location of the meeting.

    The following documents will be included in the Agenda for the ECFMG
Committee’s review:
Committee's

     •x ECFMG's
        ECFMG’s August 21, 2018 letter to you and your August 21, 2018 e-mail reply;




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October 18, 2018
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     •x   ECFMG’s September 14, 2018 letter to you, including a copy of the affidavit
          ECFMG's
          sent to USAT students on September 14, 2018;
     •x             “2018 University of Science, Arts and Technology Lecture Conference
          Copy of "2018
          Schedule”
          Schedule"
     •x   September 15, 2017 ECFMG Announcement "Relocation
                                                         “Relocation of Caribbean Medical
                                           Irma”;
          Schools Impacted by Hurricane Irma";
     •x             “An Agreement Between the Government of Montserrat and Medical
          Copy of "An
          College of London (MCL) University of Science, Arts, and Technology
          (Montserrat) LTD. (USAT)"
                             (USAT)”
     •x   Affidavits completed by USAT students; and
     •x   This letter.

      Copies of these documents, with the exception of the completed affidavits by
students, are enclosed.

      Please provide a response to ECFMG by November 1, 2018. In your
response, please note whether you wish to make a personal appearance before the
ECFMG Committee. All documents should be submitted to Ms. Kara Corrado, Vice
President for Operations, at the address above or via e-mail at kcorrado@ecfmg.org.
                                                                kcorrado@ecfmq.orq. If
you have any questions, please do not hesitate to call me at (215) 883-7318.

                                                 Sincerely,


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                                                 Lisa L. Cover
                                                 Senior Vice President for Business
                                                 Development and Operations
Encl: As noted.




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                                                              counsel of record or pro se ptamtiff, do hereby certify

                                                 § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in
                   ant to Local Civil Rule 53.2, *                                                                                m this civil action case
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       IRACK DESIGNATION FORM
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In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
                                                                 1:03 of the plan set forth on the reverse
                                                          (See§§ 1:03
filing the complaint and serve a copy on all defendants. (See
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of
                                                                                   of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT
                                 MA.1'lAGEMENT TRACKS:
                                                         through§§ 2255.
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through                                      ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
  . and Human Services denying plaintiff Social Security Benefits.                                    ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.
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            Management-
(e) Special Management     - Cases that do not fall into tracks (a) through (d) that are
                referred to as complex and that need special or intense management by
    commonly referred
    the court. (See reverse side of this form for a detailed explanation of special
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                 )
DR. ORIEN L. TULP,
DR.
                                                 )
                                                 )      Case No. 2:18-cv-05540-WB
                       Plaintiff,
                                                 )
                                                 )      Hon. Wendy Beetlestone
 v.
                                                 )
 EDUCATIONAL COMMISSION FOR
                                                 )
 FOREIGN MEDICAL GRADUATES and
                                                 )
                                                 )
 DR. WILLIAM W. PINSKY,
                                                 )
                                                 )
                       Defendants.
                                                 )


          DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
          DEFENDANTS'                   PLAINTIFF'S COMPLAINT

       For the reasons set forth in the attached memorandum of law, Defendants Educational

Commission for Foreign Medical Graduates ("ECFMG")
                                         (“ECFMG”) and Dr. William W. Pinsky, by and

through their undersigned counsel, move to dismiss Plaintiff's
                                                   Plaintiff’s Complaint pursuant to Federal Rule

of Civil Procedure 12(b)(6) for failure to state any claim against ECFMG or Dr. Pinsky
                                                                                Pinsky.

 Dated: January 22, 2019                         Respectfully submitted,

                                                 /s/ Elisa P. McEnroe
                                                 /s/Elisa
                                                 Elisa P. McEnroe, PA Bar No. 206143
                                                 Matthew D. Klayman, PA Bar No. 319105
                                                 MORGAN, LEWIS & BOCKIUS, LLP
                                                 1701 Market Street
                                                 Philadelphia, PA 19103-2921
                                                 Telephone: +1.215.963.5917
                                                 Facsimile:     +1.215.963.5001
                                                 elisa.mcenroe@morganlewis.com
                                                 matthew.klayman@morganlewis.com

                                                           for the Educational Commission for
                                                 Attorneysfor                              for
                                                 Foreign Medical Graduates and Dr. William
                                                                                    William
                                                 W.
                                                 W. Pinsky




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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon the following counsel of record via the ECF

system and/or U.S. mail:


                              TOMMY SWATE
                              403 WILD PLUM
                              HOUSTON, TX 77013

                              WILLIAM C. REIL
                              1515 MARKET ST SUITE 1200
                              PHILADELPHIA, PA 19102
                              215-564-1635
                              Fax: 215-564-4292
                              Email: billreillaw@gmail.com

                                        for Plaintiff
                              Attorneysfor  Plaintiff




DATED: January 22, 2019                                 /s/ Elisa P. McEnroe
                                                        /s/Elisa
                                                        Elisa P. McEnroe




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                         )
DR. ORIEN L. TULP,
DR.
                                         )
                                         )      Case No. 2:18-cv-05540-WB
                      Plaintiff,
                                         )
                                         )      Hon. Wendy Beetlestone
v.
                                         )
EDUCATIONAL COMMISSION FOR
                                         )
FOREIGN MEDICAL GRADUATES and
                                         )
                                         )
DR. WILLIAM W. PINSKY,
                                         )
                                         )
                      Defendants.
                                         )


                MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
        DEFENDANTS'                   PLAINTIFF'S COMPLAINT




January 22, 2019                         Elisa P. McEnroe, PA Bar No. 206143
                                         Matthew D. Klayman, PA Bar No. 319105
                                         MORGAN, LEWIS & BOCKIUS, LLP
                                         1701 Market Street
                                         Philadelphia, PA 19103-2921
                                         Telephone: +1.215.963.5917
                                         Facsimile:     +1.215.963.5001
                                         elisa.mcenroe@morganlewis.com
                                         matthew.klayman@morganlewis.com

                                                   for the Educational Commission for
                                         Attorneysfor                              for
                                         Foreign Medical Graduates and Dr. William
                                                                            William
                                         W.
                                         W. Pinsky




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     I.   INTRODUCTION

          Plaintiff Dr. Orien L. Tulp sued the Educational Commission for Foreign Medical

          (“ECFMG”)—a private non-profit organization that certifies whether international
Graduates ("ECFMG")—a

medical graduates ("IMGs")
                  (“IMGs”) have met minimum requirements to be eligible for residency

programs in the United States—and ECFMG’s
                                  ECFMG's President and CEO Dr. William W. Pinsky.

Through this lawsuit, Dr. Tulp is trying to force ECFMG to recognize the University of Science,

Arts and Technology ("USAT")
                    (“USAT”) of Montserrat—a school owned and run by Dr. Tulp—as a

legitimate foreign
            foreign medical school, despite ECFMG’s
                                            ECFMG's findings that USAT provided medical

education at unauthorized satellite locations in the United States and that Dr. Tulp lied to ECFMG

about those locations.

          Though Dr. Tulp is apparently frustrated with the actions taken by ECFMG as a

consequence of his own misconduct, that does not mean that he has stated any viable claim against

ECFMG or Dr. Pinsky. To the contrary, Dr. Tulp's
                                          Tulp’s Complaint is deficient as a matter of law and

cannot be resuscitated through amendment; Dr. Tulp fails to allege facts supporting key elements

of his claims and many of the allegations in the Complaint are plainly and directly contradicted by

the documents attached to the Complaint as exhibits or referenced therein.

          Because Dr. Tulp has failed to state any claim against ECFMG or Dr. Pinsky, this Court

               Plaintiff’s Complaint in its entirety and with prejudice pursuant to Federal Rule of
should dismiss Plaintiffs

Civil Procedure 12(b)(6).

    II.   BACKGROUND1
          BACKGROUND'

          A.     The Educational Commission for Foreign Medical Graduates

          ECFMG is a private not-for-profit corporation that promotes quality health care for the


' In ruling on a motion to dismiss, the Court "must
1
                                              “must accept all of the complaint's
                                                                      complaint’s well-pleaded facts
as true, but may disregard any legal conclusions."
                                        conclusions.” Fowler v. UPMC Shadyside, 578 F.3d 203,




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public by certifying physicians who received their basic medical degree from an international

medical school (known as international medical graduates or "IMGs")
                                                            “IMGs”) for entry into U.S. graduate

medical education.              ¶ 4.
                         Compl. ¶      At times the Complaint mistakenly conflates ECFMG

Certification with a license to practice medicine. See id. But ECFMG Certification is merely a

necessary precursor to admission into many U.S. graduate medical education programs. ECFMG

Certification signals to directors of accredited residency and fellowship programs that an IMG has

satisfied certain minimum eligibility requirements; it is not a license for an IMG to practice

medicine in the United States. See id. (recognizing that ECFMG Certification allows an IMG to

“start the process of being licensed as a physician in the United States”).
"start                                                            States"). ECFMG is not an

accrediting agency and does not purport to accredit international medical schools. See Compl. Ex.

E.

           Dr. Pinsky is the President and CEO of ECFMG.

           B.    Dr. Orien L. Tulp and USAT

           Dr. Orien L. Tulp is the President and CEO of the University of Science, Arts, and

Technology ("USAT"),
           (“USAT”), which is alleged to be located in Montserrat. Compl. 'Irlf
                                                                          ¶¶ 1, 10. It is alleged

that he has an ownership interest in USAT. Id. 'Irlf
                                               ¶¶ 1, 10. USAT has its administrative office in the

United States and allegedly offers courses to students in both Montserrat and the United States.

    ¶ 1.
Id. ¶1.

           C.    ECFMG Investigates Allegations of Unauthorized USAT Operations in the
                 United States.

           On August 21, 2018, ECFMG advised Dr. Tulp of allegations that USAT was operating a


210–11 (3d Cir. 2009). Accordingly, the "Background"
210-11                                      “Background” set forth herein assumes the truth of
Plaintiff’s "well-pleaded
Plaintiff's “well-pleaded facts"
                          facts” and does not accept as true the allegations in the Complaint that
                         “legal conclusions."
constitute no more than "legal  conclusions.” Defendants'
                                               Defendants’ Opposition to Plaintiff's
                                                                            Plaintiff’s Motion for a
Preliminary and/or Permanent Injunction (ECF No. 12) sets forth a more detailed description of
                                                         Plaintiff’s allegations.
the factual background that does not assume the truth of Plaintiff's


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campus in Miami and that ECFMG had no documentation from the proper U.S.-based authorities

                                      ¶ 12 & Ex. F. ECFMG advised Dr. Tulp that "in
authorizing such a campus. See Compl. ¶                                         “in order

for students and graduates of an international medical school, such as USAT to have eligibility to

apply for ECFMG Certification,"
                Certification,” ECFMG policy requires confirmation that the appropriate

government authority in the branch campus country authorized the operation of that medical

school. Compl. Ex. F. Consistent with its policy, ECFMG requested that USAT "provide
                                                                            “provide

documentation from the United States Department of Education and/or the Florida Department of

Education confirming that USAT's
                          USAT’s Miami branch campus is authorized to operate as a medical

school in the United States.”
                     States." Id.

       Later that day, Dr. Tulp responded to ECFMG via email:

       This is incorrect information. The Miami location is an information and testing site only,
       where a pre-usmle examination [an NBME] may be administered, and an Orientation for
       new students is conducted prior to their traveling to the Caribbean.. It is NOT a campus.
       Our ONLY Campus is located in Olveston, Montserrat, British West Indies.

       Actually, recall that Montserrat is a volcanic Island, and the license issued to USAT in
       September, 2003 DOES actually permit the establishment of off-campus lecture and
       administrative sites as needed. USAT has students on island on a year round basis in its
       origination.

           ¶ 13 & Ex. F.
See Compl. ¶

       On October 18, 2018, in light of additional information ECFMG received confirming

USAT’s unauthorized campuses in the United States, ECFMG advised Dr. Tulp that ECFMG was
USAT's

continuing its review of the matter to "ensure
                                       “ensure that information regarding international medical

schools and their students provided to ECFMG complies with ECFMG policies and requirements.”
                                                                              requirements."

See Compl. Ex. F. As part of the ongoing review, ECFMG informed Dr. Tulp that it had contacted

USAT students and graduates to collect information on their attendance at USAT and that ECFMG

“would require USAT students and graduates [seeking ECFMG services] to complete an affidavit,
"would




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attesting to the accuracy of the medical school information provided to ECFMG.”
                                                                        ECFMG." Id. ECFMG

provided the affidavit only to those USAT students and graduates who submitted a formal

application to ECFMG to engage in the ECFMG Certification process. See Compl. Ex. D

(“Effective immediately, as a USAT student or graduate seeking a service or services related to
("Effective

ECFMG Certification . . . you must complete the attached affidavit . . . .").
                                                                         .”). The affidavit asked

the USAT students and graduates to certify under penalty of perjury and under penalty of a finding

   “irregular behavior"
of "irregular behavior” (a designation in ECFMG’s
                                          ECFMG's policies for conduct subversive to ECFMG)

(1) their dates of attendance at USAT, and (2) the location where they took their basic science

courses. Id. Many USAT students submitted affidavits to ECFMG indicating that they took USAT

classes in the United States. Compl. Ex. F. ECFMG also received a copy of the 2018 USAT

Lecture Conference Schedule showing lectures occurring in Florida and Texas, with graduation to

occur in Miami, Florida. See id. There were no lectures or graduations scheduled for Montserrat.

Id.

                                     USAT’s activities in the United States, ECFMG also
       During the investigation into USAT's

discovered that Dr. Tulp had provided false information to ECFMG regarding the attendance dates

of some USAT students in connection with their United States Medical Licensing Examination

(“USMLE”) applications. Id.
("USMLE")

       D.      ECFMG Modifies Its Sponsor Note for USAT in the World Directory of
               Medical Schools.

       As ECFMG continued to receive additional information confirming that USAT was

operating campuses in the United States without disclosing those campuses to ECFMG and

without proof of authority from the proper authorities, ECFMG announced that students graduating

from USAT as of January 1, 2019 or later would no longer be eligible for ECFMG Certification

or to register for USMLE examinations as a step toward ECFMG Certification. See Compl. Ex.



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B. This information was published as a Sponsor Note in the World Directory of Medical Schools.

See id.

          E.     Allegations of Irregular Behavior Against Dr. Tulp Are Deemed Founded.

          On October 18, 2018, ECFMG sent a letter to Dr. Tulp advising him of an allegation that

he individually and in his capacity as an official at USAT engaged in irregular behavior by

providing false information to ECFMG. See Compl. Ex. F. The letter advised Dr. Tulp that the

ECFMG Medical Education Credentials Committee, a sub-committee of ECFMG’s
                                                                  ECFMG's Board of

Trustees, would hold a hearing to address the allegations of irregular behavior on November 28,

2018. Id. Before the hearing, Dr. Tulp and his counsel were sent the file that was to be reviewed

by the Credentials Committee. See Compl. Ex. E. Dr. Tulp was also notified that he was permitted

to make a personal appearance before the Credentials Committee and to submit additional

documents for consideration. Compl. Exs. E, F.

          At the hearing, Dr. Tulp offered no testimony, no witnesses, and no evidence whatsoever.

Compl. ¶
       ¶ 15. Dr. Tulp admits that he presented no evidence at the hearing, but he does not allege

that he was denied the opportunity to present evidence or argument to the Credentials Committee.

The hearing was adjourned shortly after it began, with Dr. Tulp having failed to provide any

evidence explaining or clarifying why the evidence previously gathered by ECFMG and disclosed

to Dr. Tulp did not warrant a finding of irregular behavior.

          By letter dated December 14, 2018, ECFMG notified Dr. Tulp that the Credentials

Committee had completed its review and determined that Dr. Tulp had engaged in irregular

behavior. See Compl. Ex. A. As a result, and consistent with its policies, ECFMG decided it

      “not accept any documents signed/certified by [Dr. Tull)]
would "not                                               Tulp] for ECFMG on behalf of USAT,

or any other medical school, for a minimum of five years from today; thereafter, the prohibition

shall end only upon a petition to ECFMG conclusively demonstrating to the satisfaction of the


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ECFMG Committee a familiarity with, and willingness to adhere to, ECFMG policies."
                                                                        policies.” Id.

       F.      Dr. Tulp Sues ECFMG and Moves for Injunctive Relief.

       On December 24, 2018, Dr. Tulp filed suit against ECFMG and Dr. Pinsky, alleging

various tort claims and violations of due process. The crux of Plaintiffs
                                                               Plaintiff’s Complaint is his

allegation that ECFMG has attempted to shutdown USAT by sanctioning Dr. Tulp, refusing to

allow USAT students to take necessary medical examinations, and refusing to release test scores

for students who have already paid for such examinations. Compl. ¶
                                                                 ¶ 10.

       Dr. Tulp also filed a Motion for Preliminary and/or Permanent Injunction on January 2,

2019, and Defendants filed their Opposition on January 10, 2019. Presently, ECFMG moves to

dismiss Dr. Tulp’s
            Tulp's case in its entirety with prejudice pursuant to Rule 12(b)(6).

III.   LEGAL STANDARD

       To survive a motion to dismiss, a complaint must state a "plausible
                                                                “plausible claim for relief"
                                                                                     relief.”

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

         “A claim has facial plausibility when the plaintiff pleads factual content that allows the
(2007)). "A

court to draw the reasonable inference that the defendant is liable for the misconduct alleged."
                                                                                       alleged.” Id.

at 678. This standard "demands
                      “demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. Rather, to survive a motion to dismiss, a complaint must allege facts sufficient
accusation."

   “raise a right to relief above the speculative level.”
to "raise                                         level." Twombly, 550 U.S. at 555; Fowler v. UPMC

Shadyside, 578 F.3d 203, 211 (3d Cir. 2009). The Court thus must conduct a two-part analysis.

Fowler, 578 F.3d at 210. The Court must first accept Plaintiffs
                                                     Plaintiff’s factual allegations as true, and

disregard legal conclusions or mere recitations of the elements. Id. at 210-11.
                                                                        210–11. The Court must

                                                    “plausible” claim for relief. Id. at 211.
then determine whether the facts alleged make out a "plausible"

       “In deciding motions to dismiss pursuant to Rule 12(b)(6), courts generally consider only
       "In

the allegations in the complaint, exhibits attached to the complaint, matters of public record, and


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documents that form the basis of a claim."
                                   claim.” Lum v. Bank of
                                                       of America, 361 F.3d 217, 221 n.3 (3d

Cir. 2004); see Winer
                Winer Family Trust v. Queen, 503 F.3d 319, 327 (3d Cir. 2007). "Threadbare
                                                                               “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Iqbal, 556 U.S. at 678; see also 5B Wright & Miller, Federal Practice and Procedure, §
suffice."

1357 (3d 2004) (noting that courts have ignored a pleading's
                                                  pleading’s "legal
                                                             “legal conclusions,"
                                                                    conclusions,” "unsupported
                                                                                  “unsupported

conclusions,” "unwarranted
conclusions," “unwarranted inferences,"
                           inferences,” "unwarranted
                                        “unwarranted deductions,"
                                                     deductions,” or "sweeping
                                                                     “sweeping legal

conclusions cast in the form of factual allegations.").
                                        allegations.”). Similarly, "[w]hen
                                                                   “[w]hen allegations in a complaint

are contradicted by the materials appended to or referenced in the complaint, ‘the
                                                                              'the document

controls and the court need not accept as true the allegations of the complaint.’”
                                                                      complaint.'" Byers v. Intuit,

Inc., No. 07-4753, 2009 WL 948651, at *2 (E.D. Pa. March 18, 2009) (citing Barnum v. Milbrook

Care Ltd. Partnership, 850 F. Supp. 1227, 1232-33
                                          1232–33 (S.D.N.Y. 1994)); see also Plasko v. City of
                                                                                            of

Pottsville, 852 F. Supp. 1258, 1262 (E.D. Pa. 1994) ("Conclusory
                                                    (“Conclusory allegations are not acceptable

. . . where no facts are alleged to support the conclusion or where the allegations are contradicted

             themselves.”). The pleading standard of Rule 8 "does
by the facts themselves.").                                 “does not unlock the doors of

discovery for a plaintiff armed with nothing more than conclusions.”
                                                       conclusions." Iqbal, 556 U.S. at 678-79.
                                                                                        678–79.

IV.
IV.    ARGUMENT

       Plaintiff’s efforts to attack in federal court both the Credentials Committee's
       Plaintiff's                                                         Committee’s decision and

ECFMG’s
ECFMG's policies—tailored to address the public interest in accurately assessing the

qualifications of IMGs—fall far short of stating any viable claim against ECFMG or Dr. Pinsky.

The Complaint consists largely of unsupported legal conclusions and exaggerated

characterizations. It should be dismissed in its entirety with prejudice pursuant to Federal Rule of

Civil Procedure 12(b)(6).

       A.      Dr. Tulp Has Not Stated A Claim for Tortious Interference.

       Dr. Tulp alleges that ECFMG tortiously interfered with "the
                                                              “the educational contract between


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the students of USAT, the University, and Dr. Tulp”
                                              Tulp" by sending blank affidavits to USAT students

as part of the ECFMG Certification process and by updating the ECFMG Sponsor Note for USAT

in the World Directory of Medical Schools. Compl. I¶¶ 10, 20, 22. Dr. Tulp's
                                                                      Tulp’s tortious interference

claim fails.

        To prove tortious interference with an existing or prospective contract, a plaintiff must

establish:

        (1) the existence of a contractual relationship or prospective contractual relationship
        between the plaintiff and another party; (2) an intent on the part of the defendant to harm
        the plaintiff by interfering with that contractual relationship or preventing the relationship
        from occurring; (3) the absence of privilege or justification on the part of the defendant;
                                                                   defendant’s conduct.
        and (4) the occasioning of actual damage as a result of defendant's

BP Envtl. Servs., Inc. v. Republic Servs., Inc., 946 F. Supp. 2d 402, 407 (E.D. Pa. 2013) (citing

Phillips v. Selig, 959 A.2d 420, 428-29
                                 428–29 (Pa. Super. 2008)). Dr. Tulp’s
                                                                Tulp's tortious interference claim

should be dismissed because he has not plausibly pleaded the existence of an existing or

prospective contractual relationship and has not pleaded the absence of a justification or privilege.

        First, Dr. Tulp has alleged no facts supporting the conclusory allegation that he has existing

or prospective contractual relationships with USAT students. Compl. 'Irlf
                                                                    ¶¶ 20, 22; see also Fowler,

578 F.3d at 210 (directing Courts to disregard formulaic recitation of the elements of a cause of

action). Because Dr. Tulp is the plaintiff in this lawsuit, he can only bring a claim for tortious

interference based on a contract to which he is (or expects to be) a party. BP Envtl. Servs., 946 F.

Supp. 2d at 412 ("To
                (“To satisfy this first element, a plaintiff must show that it is reasonably probable

                                                      plaintiff would have had a contractual
that, but for the wrongful acts of the defendant, the plaintiff

                          party” (emphasis added)). Other than Dr. Tulp’s
relationship with a third party"                                   Tulp's conclusory allegations

regarding his contracts with unidentified USAT
                                          USAT students, the Complaint contains no allegations

or exhibits demonstrating the existence of any such relationship. Moreover, it is implausible that

a medical school President would enter into separate contractual relationships with its students,


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when the students presumably contract with the school itself on issues such as tuition, fees, and

services. A prospective contractual relationship is "something
                                                    “something less than a contractual right, [yet]

                         hope.” Phillips, 959 A.2d at 428. Dr. Tulp has not alleged that his
something more than mere hope."

purported contractual relationship with USAT students extends beyond a mere hope. See Neopart

Transit, LLC v. CBM
                CBM N.A. Inc., 314 F. Supp. 3d 628, 639 (E.D. Pa. 2018) (dismissing tortious

interference claim when allegations on whether there was a prospective contractual relationship

was based solely on historical relationship with clients and optimism that plaintiff could win

prospective clients through bidding process).

       Second, Dr. Tulp has not sufficiently alleged that ECFMG lacked a privilege or

justification to act as it did, i.e., that its actions "were
                                                       “were improper under the circumstances presented."
                                                                                              presented.”

Phillips, 959 A.2d at 429. In determining whether alleged interference was "improper
                                                                           “improper or not,"
                                                                                        not,”

consideration is given to numerous factors, including:

                              actor’s conduct, (b) the actor's
        (a) the nature of the actor's                    actor’s motive, (c) the interests of the other
        with which the actor's
                         actor’s conduct interferes, (d) the interests sought to be advanced by the
        actor, (e) the social interests in protecting the freedom of action of the actor and the
        contractual interests of the other, (f) the proximity or remoteness of the actor's
                                                                                    actor’s conduct to
        the interference and (g) the relations between the parties.

Walnut
Walnut St. Assocs., Inc. v. Brokerage Concepts, Inc., 20 A.3d 468, 476 (Pa. 2011). Dr. Tulp fails

to allege that ECFMG had no privilege or justification and fails to address the factors enumerated

above. This is fatal to his claim, as the absence of a privilege or justification "is
                                                                                  “is an element of the

                              pleaded” by the plaintiff. Synthes, Inc. v. Emerge Med., Inc., No.
cause of action which must be pleaded"

11-1566, 2014 WL 2616824, at *19 (E.D.Pa June 11, 2014) (quoting Bahleda v. Hankison Corp.,

              122–23 (Pa. Super. 1974)); see also Simply Snackin, Inc. v. S-L Distributors, No.
323 A.2d 121, 122-23

17-cv-0381, 2017 WL 6039734, at *7 (M.D.Pa. Dec. 6, 2017) (dismissing claim because "merely
                                                                                    “merely

             Defendant’s conduct was ‘without
stating that Defendant's                      justification’” was insufficient).
                                     'without justification'                                Indeed, the

allegations and exhibits of the Complaint demonstrate that ECFMG’s
                                                           ECFMG's actions were proper
                                                                                proper in light


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   ECFMG’s well-supported findings that USAT has not proven it is a bona fide
of ECFMG's                                                                fide international

medical school and that Dr. Tulp lied to ECFMG about USAT's
                                                     USAT’s operations in the United States.

       ¶¶ 10, 12; Compl. Exs. A, D, E, F.
Compl. In

        Third, the information contained in the Sponsor Note about USAT and the affidavits sent

to USAT students is true—Plaintiff has not alleged otherwise as discussed in Section IV.D—and

“[t]here is of course no liability for interference with a contract . . . on the part of one who merely
"[t]here

                              another.” Restatement (Second) of Torts § 772, cmt. b. Indeed,
gives truthful information to another."

“courts in a majority of states"—including
"courts                  states”—including Pennsylvania—"have
                                           Pennsylvania—“have held that an action for tortious

                                          statements.” Walnut
interference may not be based on truthful statements." Walnut St. Assocs., 20 A.3d at 479 & n.13.

Because the Sponsor Note and the affidavits contain only truthful information (e.g., that beginning

on January 1, 2019, USAT students and graduates would not be eligible for ECFMG Certification),

they cannot constitute tortious interference. Id.

        B.     Dr. Tulp Has Not Stated Claims for Fraudulent and/or Negligent
               Misrepresentation.

       Dr. Tulp alleges that ECFMG is liable for fraudulent or negligent misrepresentation

because it supposedly (a) misrepresented itself as a government agency, and (b) placed misleading

information about USAT in the World Directory of Medical Schools. Compl. ¶
                                                                         ¶ 45. Plaintiff again

fails to support these claims with sufficient factual allegations, requiring dismissal.

        To prevail on a claim for fraudulent misrepresentation, Dr. Tulp must demonstrate:

       (1) a representation; (2) which is material to the transaction at hand; (3) made falsely, with
       knowledge of its falsity or recklessness as to whether it is true or false; (4) with the intent
       of misleading another into relying on it; (5) justifiable reliance on the misrepresentation;
       and (6) the resulting injury was proximately caused by the reliance.

Gibbs v. Ernst, 647 A.2d 882, 889 (Pa. 1994) (internal citations omitted). To prevail on a claim

for negligent misrepresentation, he must prove "(1)
                                               “(1) a misrepresentation of a material fact; (2) made

under circumstances in which the misrepresented ought to have known its falsity; (3) with an intent


                                                    10

                                              SAppx0097
                                              SAppx0097
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to induce another to act on it; and (4) which results in injury to a party acting in justifiable reliance

       misrepresentation.”
on the misrepresentation."      Gongloff
                                Gongloff Contracting, L.L.C. v. L. Robert Kimball & Assocs.,

               Eng’rs, Inc., 119 A.3d 1070, 1076 (Pa. Super. 2015). Dr. Tulp has failed to state a
Architects and Eng'rs,

claim against ECFMG for either fraudulent or negligent misrepresentation.

        First, Dr. Tulp has failed to allege any actionable misrepresentation. This alone is a basis

to dismiss his claims of fraudulent and negligent misrepresentation. Regarding his contention that

ECFMG misrepresented itself as a government agency, none of the ECFMG correspondence Dr.

Tulp attaches to his Complaint reflect any representation by ECFMG that it is a government

agency. See Compl. Exs A, D, E, F; see also Plasko v. City of
                                                           of Pottsville, 852 F. Supp. 1258, 1262

                (“Conclusory allegations are not acceptable . . . where no facts are alleged to
(E.D. Pa. 1994) ("Conclusory

                                                          facts themselves.")
support or where the allegations are contradiccted by the facts themselves.”) (emphasis added).

Moreover, the absence of a disclaimer in ECFMG’s
                                         ECFMG's correspondence and affidavit that ECFMG is

a private party—a disclaimer Plaintiff implausibly alleges was necessary—certainly does not

constitute a representation that ECFMG is a governmental entity. Regarding the second alleged

misrepresentation—the Sponsor Note published in the World Directory of Medical Schools—Dr.

Tulp has not alleged how it was false. The Sponsor Note said only that: "As
                                                                        “As of January 1, 2019,

students and graduates of this medical school with a graduation year of 2019 and later are not

eligible to apply to ECFMG for ECFMG Certification, which also renders them ineligible to apply

to ECFMG for the United States Medical Licensing Examinations as a step toward ECFMG

Certification,” and that some USAT students and graduates would be subject to enhanced
Certification,"

procedures in order to be eligible for ECFMG Certification related services. See Compl. Ex. B.

There is nothing untrue or false about this statement.




                                                   11

                                               SAppx0098
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       Second, Dr. Tulp has not alleged that (a) he, personally, relied on ECFMG’s
                                                                           ECFMG's alleged

misrepresentations to his detriment, or (b) the alleged misrepresentations were made knowingly or

with the intent to mislead him. As "[t]he
                                   “[t]he successful maintenance of a cause of action for fraud

includes, inter alia, a showing that the plaintiff
                                         plaintiff acted in reliance on the defendant's
                                                                            defendant’s

misrepresentations,” the Court should dismiss these misrepresentation claims. Klemow v. Time
misrepresentations,"

Inc., 352 A.2d 12, 16 n.17 (Pa. 1976) (emphasis added); see Liss & Marion, P.C. v. Recordex

Acquisition Corp., 983 A.2d 652, 665 (Pa. 2009) (same). Even on a generous reading of the

Complaint, the only reliance on alleged misrepresentations that is potentially alluded to is that of

USAT students or prospective
                 prospective students, which is insufficient as a matter of law for Dr. Tulp to

state a misrepresentation claim. See Joyce v. Erie Ins. Exchange, 74 A.3d 157, 167 (Pa. Super.

2013) (dismissing misrepresentation claim for failure to "allege
                                                         “allege that the recipient of the

misrepresentation was the individual or entity damaged as a proximate result of reasonable reliance

         misrepresentation”). And even if Dr. Tulp could claim that he relied on any alleged
upon the misrepresentation").

misrepresentations, which he does not, his claims would still fail because such reliance could not

possibly be reasonable or justifiable. See, e.g., LeDonne v. Kessler, 389 A.2d 1123, 1129-30
                                                                                     1129–30 (Pa.

Super. 1978) (ruling that a plaintiffs
                            plaintiff’s reliance on a representation cannot be justifiable if the

plaintiff had personal knowledge that the representation was false). It is not plausible that the

President and CEO of a medical school, with vast exposure to the ECFMG Certification process,

would believe any of the alleged misrepresentations—especially when correspondence shows he

                           ECFMG’s background and status as a private, non-profit organization
received information about ECFMG's

                      ECFMG’s investigation of USAT. Compl. Ex. E; see also In re Thorne’s
and was familiar with ECFMG's                                                     Thorne's

                                    (“No one is deceived by a declaration he disbelieves.”).
Estate, 25 A.2d 811, 816 (Pa. 1942) ("No                                     disbelieves.").




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       Third, Dr. Tulp has not sufficiently alleged that ECFMG failed to make a reasonable

investigation, as is necessary to establish liability under Dr. Tulp’s
                                                                Tulp's negligent misrepresentation

claim. See Gongloff
           Gongloff Contracting, 119 A.3d at 1076. Dr. Tulp alleges ECFMG has "never
                                                                              “never

requested any curricula, student records, or any documentation from USAT."
                                                                    USAT.” Compl. ¶
                                                                                  ¶ 17. This

is plainly contrary to the allegations of Dr. Tulp’s
                                              Tulp's own Complaint and contrary to the wealth of

                                                       ¶¶ 36, 45(d) & Exs A, D, E, F.
correspondence referenced by the Complaint. See Compl. In

Accordingly, the Court can disregard Dr. Tulp’s
                                         Tulp's contradictory allegation and dismiss his negligent

misrepresentation claim. See Plasko, 852 F. Supp. at 1262.

       C.      Dr. Tulp Has Not Stated A Claim for Abuse of Process.

       “To establish a claim for abuse of process it must be shown that the defendant (1) used a
       "To

legal process against the plaintiff, (2) primarily to accomplish a purpose for which the process was

not designed, and (3) harm has been caused to the plaintiff."
                                                  plaintiff.” Lerner v. Lerner, 954 A.2d 1229,

1238 (Pa. Super. 2008) (quoting Shiner v. Moriarty, 706 A.2d 1228, 1236 (Pa. Super. 1998)). Dr.

                                                                                       dismissed.2
Tulp has not alleged any of these elements, so his abuse of process claim must also be dismissed.2

       Dr. Tulp has not alleged that ECFMG used any legal process against him. At most, Dr.

Tulp characterizes the blank affidavits sent to USAT students as part of their application for

ECFMG Certification as "tantamount
                       “tantamount to a subpoena duces tecum without first having a legal

proceeding.” Compl. ¶
proceeding."        ¶ 25. As the text of the affidavit shows, the affidavit was intended for USAT

students and graduates "seeking
                       “seeking a service or services related to ECFMG certification."
                                                                       certification.” Compl.



2
2 Dr. Tulp also alleges in conclusory fashion that ECFMG is liable for violating the Federal
Education Records Protection Act ("FERPA"),
                                   (“FERPA”), 20 U.S.C. § 1232g. This baseless allegation fails
for a number of reasons, including that the U.S. Supreme Court has held that private parties like
Dr. Tulp may not sue to enforce that statute. See Gonzaga Univ. v. Doe, 536 U.S. 273, 29091
(2002). Defendants do not read Plaintiffs
                                Plaintiff’s Complaint as alleging a claim based on FERPA, and if
this Court finds otherwise (and finds that claim is somehow sufficient), Defendants would
respectfully request an opportunity to present argument to the Court.


                                                13

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                                             SAppx0100
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Ex. D. Further, the affidavit made clear to USAT students and graduates seeking ECFMG

                   “attesting to the accuracy of [their] medical school attendance . . . will facilitate
Certification that "attesting

ECFMG’s review” of their application. Id. Requesting that an applicant complete a notarized
ECFMG's review"

form as part of an application is not the use—let alone abuse—of legal process. See Rockman v.

Aciukewicz, No. 1434 MDA 2013, 2014 WL 10937492, at *6 (Pa. Super. Apr. 1, 2014) ("Neither
                                                                                 (“Neither

correspondence nor an affidavit is legal process,"
                                         process,” especially when the affidavit is never used in

litigation); see also Schmoltze v. County of
                                          of Berks, No. 99-cv-1069, 2000 WL 62600, at *8 (E.D.

Pa. January 14, 2000) (“[T]he
                      ("[T]he word ‘process’
                                   'process' as used in the tort of abuse of process encompasses

the entire range of procedures incident to the litigation process.")
                                                          process.”) (emphasis added) (citing Shiner,

706 A.2d at 1237).

       Furthermore, Dr. Tulp has not alleged how ECFMG’s
                                                 ECFMG's use of the affidavit (1) differs from

the purpose for which it was designed, or (2) or has caused him harm. It is implausible that

ECFMG’s
ECFMG's primary purpose in sending out these affidavits was anything other than to make sure it

had adequate, truthful information to certify foreign medical school graduates for study in the

United States—a purpose Dr. Tulp acknowledges. See Compl. ¶
                                                          ¶ 2. Determining the "accuracy
                                                                               “accuracy of

                       attendance” was necessary to help ECFMG ascertain whether certification
[their] medical school attendance"

of these applicants would be proper, especially in light of the false information Dr. Tulp was

providing to ECFMG about USAT's
                         USAT’s locations and the attendance dates of USAT students and

graduates. Compl. Ex. A, Ex. D. Dr. Tulp has not sufficiently alleged that the use of this affidavit

deviated from this intended purpose. See Feingold v. State Farm Mutual Ins. Co., No. 1573 EDA

2015, 2016 WL 4690712, at *6 (Pa. Super. June 24, 2016) (affirming dismissal of abuse of process

              plaintiff’s allegations that pleadings and motions were filed to "harass
claim despite plaintiff's                                                      “harass and vex"
                                                                                           vex”

plaintiff when there was no explanation on how the challenged documents "were
                                                                        “were used to




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                                               SAppx0101
                                               SAppx0101
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accomplish anything they were not designed for”).
                                           for"). Finally, although he contends that the affidavits

                 “to intimidate USAT students,"
were distributed "to                 students,” "coerce
                                                “coerce information from students,"
                                                                         students,” and "gather
                                                                                        “gather

documents and evidence of alleged culpable behavior by USAT and Dr. Tulp,”
                                                                    Tulp," such contentions

do not identify any actionable harm. Compl. I¶¶ 10, 45(b), 45(d).

       D.      Dr. Tulp Has Not Stated Claims Pursuant to 42 U.S.C. § 1983 for
               Deprivation of Due Process.

       In Counts Two and Four of the Complaint, Dr. Tulp identifies a list of alleged procedural

deficiencies in how ECFMG conducted Dr. Tulp’s
                                        Tulp's irregular behavior hearing and alleges that

ECFMG violated Dr. Tulp’s                                rights.3 See Compl. 'IrIf
                                   students’ due process rights.3
                   Tulp's and USAT students'                                  ¶¶ 35, 36, 41,

58. Dr. Tulp has not, however, stated a viable § 1983 claim against Defendants for three reasons.

       First, ECFMG is not a state actor, and the due process requirements of the Fourteenth

Amendment apply only to state actors. Rendell-Baker v. Kohn, 457 U.S. 830, 837 (1982). Multiple

courts, including the Third Circuit and Courts in this District have previously held that ECFMG

is not a state actor and that its functions do not constitute state action. See, e.g., Opoku v.

ECFMG, 574 F. App'x
              App’x 197, 201 (3d Cir. 2014) ("Grese
                                            (“Grese and ECFMG, a private not-for-profit

                                                actors.”); Thomas v. NBME-Nat'l
organization, are private parties and not state actors.");           NBME-Nat’l Bd. of
                                                                                    of Medical

Examin’rs, No. 13-3946, 2015 WL 667077, at *4 (E.D. Pa. Feb. 13, 2015) ("Because
Examin'rs,                                                             (“Because neither

ECFMG nor NBME is a state actor, Plaintiff cannot prevail on this claim.”);
                                                                  claim."); Elias v. ECFMG, No.

C-82-08, 2010 WL 4340640, at *1 (N.J. Super. Nov. 4, 2010) (finding insufficient evidence "to
                                                                                          “to



3
3 Dr. Tulp refers in passing, without any explanation, to an alleged violation of "substantive
                                                                                  “substantive due
process.” Compl. ¶
process."            ¶ 58. He has not identified how ECFMG’s
                                                        ECFMG's actions implicate a fundamental
right subject to this protection. See Nicholas v. Pa. State Univ., 227 F.3d 133, 140 (3d Cir. 2000)
(“Whether a certain property interest [is worthy of protection under the substantive due process
("Whether
clause] . . . depends on whether that interest is ‘fundamental’
                                                          'fundamental' under the United States
Constitution.”). Absent some effect on a fundamental right, the action at issue "is
Constitution.").                                                                 “is entirely outside
                           process.” Id. at 142.
the ambit of substantive process."


                                                 15

                                              SAppx0102
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establish that the ECFMG is a state actor");
                                    actor”); Staudinger v. ECFMG, No. 92-8071, 1993 WL 138954

(S.D.N.Y. Apr. 28, 1993) (dismissing § 1983 claims because ECFMG is not a state actor and does

not act under the color of state law).

        As ECFMG is a private actor, based on this overwhelming authority, the next question is

whether ECFMG’s                                                         “fairly attributable"
        ECFMG's actions can be viewed as state actions because they are "fairly attributable” to

the state. McKeesport Hosp. v. Accreditation Councilfor
                                                     for Graduate Med. Educ., 24 F.3d 519, 524

(3d Cir. 1994). The U.S. Supreme Court has identified only three possible ways for private action

                                                                           “if the private party acted
to be attributable to the state and therefore constitute state action: (1) "if

with the help of or in concert with state officials,"
                                          officials,” (2) "when
                                                          “when the private party has been ‘delegated
                                                                                           'delegated

a power traditionally exclusively reserved to the State,’”       “if ‘there
                                                  State,' or (3) "if 'there is a sufficiently close

nexus between the state and the challenged action of the [private] entity so that the action of the

latter may be fairly treated as the state itself.’”
                                          itself.' Id. (internal citations omitted).

        ECFMG’s
        ECFMG's actions do not meet any of these tests, despite Dr. Tulp's
                                                                    Tulp’s conclusory allegations

                         ¶¶ 4-7.
that they do. See Compl. In 4–7. ECFMG did not act or conspire with a state actor to carry out

its actions. See Opoku, 74 F. App'x
                              App’x at 201 ("Liability
                                           (“Liability would only attach if a private party conspired

             actor” and vague allegations of conspiracy between ECFMG and a state actor are not
with a state actor"

sufficient); Loftus v. SEPTA, 843 F. Supp. 981, 983–84
                                                983-84 (E.D. Pa. 1994). Nor were ECFMG’s
                                                                                 ECFMG's

actions delegations of "a
                       “a power traditionally exclusively reserved to the State.”
                                                                          State." McKeesport

Hosp., 24 F.3d 519 at 525. Rather, its actions were limited sanctions tied to ECFMG’s
                                                                              ECFMG's role in

assessing the qualifications of IMGs and certifying their readiness to enter the U.S. graduate

medical education system, which is not a power exclusive to the state. See Staudinger, 1993 WL

138954, at *4; see also McKeesport Hosp., 24 F.3d at 525 ("The
                                                         (“The evaluation and accreditation of

medical education in this country is neither a traditional nor an exclusive state action.").
                                                                                  action.”). And




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despite Dr. Tulp’s
            Tulp's contention that there is a sufficiently close nexus between ECFMG’s
                                                                               ECFMG's actions

and state medical boards to establish state action, this is not the case. "ECFMG
                                                                          “ECFMG is not a subdivision

of or affiliated with any governmental entity, its Board of Trustees receives no funding from any

governmental entity . . . and it sets its own standards for an [IMG]'s
                                                               [IMG]’s eligibility to take the United

States Medical Licensing Examination (USMLE)."
                                     (USMLE).”              Elias, 2010 WL 4340640, at *1; see

McKeesport Hosp., 24 F.3d at 525 ("The
                                 (“The ACGME is self-governed and financed, and its standards

are independently set; the state Board simply recognizes and relies upon its expertise.”).
                                                                             expertise."). That state

medical boards rely on ECFMG Certifications does not render ECFMG a state actor. See Brown

v. Fed'n
   Fed’n of
         of State Med. Bds., No. 82-7398, 1985 WL 1659, at *5 (N.D. Ill. May 31, 1985) (holding

              “not [a] state agenc[y]"
that ECFMG is "not           agenc[y]” and "do[es]
                                           “do[es] not participate in a state activity"
                                                                              activity” because

“[t]he actual state actors here are the state licensing boards, which have complete control over
"[t]he

whether or not to use the defendants’                                    tests” and "[t]he
                          defendants' tests, and if so, how to use these tests"     “[t]he state boards

                      consumers”).4
            [ECFMG’s] consumers").4
are at most [ECFMG's]

       Second, even if ECFMG’s                                                           Tulp’s
                       ECFMG's actions constituted state actions, which they do not, Dr. Tulp's

due process claims also fail because he has not identified a sufficient liberty or property interest of

which he has been deprived. See Bd. of
                                    of Regents of
                                               of State Colls. v. Roth, 408 U.S. 564, 569 (1972)

(“The requirements of procedural due process apply only to the deprivation of interests
("The

                              Amendment’s protection of liberty and property.").
encompassed by the Fourteenth Amendment's                           property.”). ECFMG’s
                                                                                 ECFMG's



4
4 Dr. Tulp’s
      Tulp's suggestion that ECFMG is "estopped
                                      “estopped from denying that it is a government or quasi-
governmental entity, inter alia, because no disclaimer that it was a private entity to that effect
                                                                students” is baseless. Compl.
[sic] was placed on the affidavits sent to thousands of USAT students"
¶¶ 37–38.
   37-38.    ECFMG   sent affidavits only to those USAT    students and graduates who were
“seeking a service or services related to ECFMG Certification."
"seeking                                            Certification.” Compl. Ex. D. Such students
are familiar with the role ECFMG certification plays for IMGs seeking to enter U.S. graduate
medical education and have had prior access to ECFMG’s
                                                  ECFMG's resources. ECFMG never presented
itself as a government or quasi-governmental entity.


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decision not to accept documents signed by Dr. Tulp, especially given Dr. Tulp's
                                                                          Tulp’s history of

falsehoods, does not implicate any liberty or property concerns which would trigger due process

protections. Nor do USAT students have any property right to ECFMG Certification. See Elias,

2010 WL 4340640, at *3 (applicant for ECFMG certification did not have a right to a medical

license as "a
           “a protected right in a professional license comes into existence only after a license has

     obtained”).
been obtained").

       Third, even if ECFMG actions were state actions and did implicate interests protected by

the Fourteenth Amendment—again, they do not—Dr. Tulp would still not succeed on his due

process claims because he was afforded due process, as is clear from the allegations of Dr. Tulp's
                                                                                            Tulp’s

                                              “[D]ue process is flexible and calls for such
Complaint and the materials attached thereto. "[D]ue

                                                   demands.” Matthews v. Eldridge, 424 U.S. 319,
procedural protections as the particular situation demands."

                                         “The fundamental requirement of due process is the
334 (1976) (internal citations omitted). "The

opportunity to be heard ‘at                                       manner.’” Id. at 333.
                        'at a meaningful time and in a meaningful manner.'

       Dr. Tulp received prior notification of the allegations against him and concerns about

USAT. See Compl. Exs. E, F. Dr. Tulp and USAT were both invited to submit whatever

explanation or evidence they thought were necessary to address ECFMG’s
                                                               ECFMG's concerns regarding the

irregularities concerning USAT's
                          USAT’s operations in the United States and Dr. Tulp’s
                                                                         Tulp's

misrepresentations regarding same. See id. Dr. Tulp also received numerous letters explaining

ECFMG’s
ECFMG's process for investigating and evaluating allegations of irregular behavior, was provided

with copies of ECFMG’s
               ECFMG's policies and procedures, and was sent a copy of the materials to be

reviewed by the Credentials Committee in assessing the allegations against him. See Compl. Exs.

A, E, F. This constitutes ample notice of the accusations made against him and how they would

be resolved. See, e.g., Biliski v. Red Clay Consol. School Dist. Bd. of
                                                                     of Educ., 574 F.3d 214, 221-
                                                                                             221–




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22 (3d Cir. 2009) (holding that a discharged employee was given "constitutionally
                                                                “constitutionally sufficient notice

       reasons” his dismissal was sought when he was provided with multiple disciplinary memos
of the reasons"

which described the bad conduct and what body would decide whether dismissal was appropriate).

       Moreover, Dr. Tulp had an opportunity to appear personally before the Credentials

Committee with an attorney of his choosing. See Compl. Exs. A, E, & F; see also Matthews, 424

             344–346 (explaining that some form of hearing with safeguards such as the
U.S. at 334, 344-346

opportunity to submit documentation, access to the file under review, and ability to be represented

are safeguards which speak to whether adequate procedures were in place). And even if Dr. Tulp

had not been given a hearing, there is no constitutional right to present oral responses at a formal

                                 (“There is no inexorable requirement that oral testimony must be
hearing. See Biliski, 574 at 222 ("There

heard in every administrative proceeding in which it is tendered."
                                                        tendered.” (quoting Fed. Deposit Ins. Corp.

v. Mallen, 486 U.S. 230, 247-48
                         247–48 (1988))).

       Process was afforded to Dr. Tulp. For this reason, and because Dr. Tulp has not identified

a valid liberty or property interest or alleged facts establishing that ECFMG is a state actor,

dismissal of Dr. Tulp’s
                 Tulp's due process claims is warranted. See also Osei v. Temple Univ., 518 F.

App’x 86, 88-89
App'x     88–89 (3d Cir. 2013) (affirming dismissal of due process claim when allegations

                           “notice of the charges,"
showed Plaintiff was given "notice        charges,” "an
                                                    “an explanation of the evidence"
                                                                           evidence” against him,

    “an opportunity to present his side of the story.")
and "an                                        story.”)

       E.      Dr. Tulp Has Not Alleged Any Claim Against Dr. Pinsky.

       Dr. Tulp’s
           Tulp's sole claim against Dr. Pinsky is for a due process violation. For the reasons set

forth above, Dr. Tulp has failed to state a due process claim against either Defendant, and Count

4 should be dismissed. With respect to Dr. Pinsky, Dr. Tulp’s
                                                       Tulp's allegations are especially deficient

and dismissal is particularly warranted. Dr. Tulp has made no allegations that Dr. Pinsky is a state

actor, that Dr
            Dr. Pinsky acted under color of state law, or that Dr
                                                               Dr. Pinsky's
                                                                   Pinsky’s actions constituted state


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action as is required for § 1983 liability based on a violation of due process. See West
                                                                                    West v. Atkins,

             48–49 (1988); Rendell-Baker v. Kohn, 457 U.S. 830, 837 (1982).
487 U.S. 42, 48-49

                     Tulp’s own description of Dr. Pinsky's
       Moreover, Dr. Tulp's                        Pinsky’s actions demonstrate that there is no

                         Pinsky. Dr. Tulp alleges that Dr
viable claim against Dr. Pinsky                        Dr. Pinsky sent a letter on December 14,

2018 in which Dr. Pinsky communicated the determination of the Credentials Committee that Dr.

Tulp "was
     “was banned from submitting any documents or having any dealings with the ECFMG on

                            otherwise.” Compl. 'Irlf
behalf of behalf of USAT or otherwise."        ¶¶ 51–52.
                                                     51-52. There are no allegations that the letter

                           Committee’s decision is in itself a due process violation. To the extent
announcing the Credentials Committee's

                            “Dr. Pinsky is the President and CEO of the ECFMG, and in that capacity,
that Plaintiff alleges that "Dr

he authorized the illegal actions of the ECFMG,”
                                         ECFMG," this is not sufficient to show § 1983 liability.

See Santiago v. Warminster
                Warminster Twp., 629 F.3d 121, 131-34
                                               131–34 (3d Cir. 2010) (affirming dismissal of

§ 1983 claim as allegation that an individual developed and authorized actions taken against

                                                           “not entitled to the assumption of
plaintiff without more was a conclusory assertion that was "not

truth”). Accordingly, given the limited scope of Dr. Pinsky's
truth").                                             Pinsky’s involvement as alleged in the

Complaint, even if some claim remains against ECFMG, Plaintiff has failed to show that he is

entitled to relief from Dr
                        Dr. Pinsky, and dismissal of this sole claim against Dr
                                                                             Dr. Pinsky is appropriate.

 V.    CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant the Motion

           Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). Dr. Tulp's
to Dismiss Plaintiff's                                                                     Tulp’s

Complaint does not state any claim upon which relief can be granted. Moreover, because the

defects in the Complaint cannot be cured by amendment, Defendants ask that the dismissal be with

prejudice. See Grayson v. Mayview State Hospital, 293 F.3d 103, 108 (3d Cir. 2002).




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Dated: January 22, 2019                 Respectfully submitted,

                                        /s/ Elisa P. McEnroe
                                        /s/Elisa
                                        Elisa P. McEnroe, PA Bar No. 206143
                                        Matthew D. Klayman, PA Bar No. 319105
                                        MORGAN, LEWIS & BOCKIUS, LLP
                                        1701 Market Street
                                        Philadelphia, PA 19103-2921
                                        Telephone: +1.215.963.5917
                                        Facsimile:     +1.215.963.5001
                                        elisa.mcenroe@morganlewis.com
                                        matthew.klayman@morganlewis.com

                                                  for the Educational Commission for
                                        Attorneysfor                              for
                                        Foreign Medical Graduates and Dr. William
                                                                           William
                                        W.
                                        W. Pinsky




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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                              )
DR. ORIEN L. TULP,
DR.
                                              )
                                              )      Case No. 2:18-cv-05540-WB
                     Plaintiff,
                                              )
                                              )      Hon. Wendy Beetlestone
 v.
                                              )
 EDUCATIONAL COMMISSION FOR
                                              )
 FOREIGN MEDICAL GRADUATES and
                                              )
                                              )
 DR. WILLIAM W. PINSKY,
                                              )
                                              )
                     Defendants.
                                              )


                                   [PROPOSED] ORDER

      AND NOW, this __ day of ________ 2019, upon consideration of Defendants'
                                                                   Defendants’ Motion to

        Plaintiff’s Complaint, IT IS HEREBY ORDERED that the Motion to Dismiss Plaintiff's
Dismiss Plaintiff's                                                            Plaintiff’s

Complaint is GRANTED. The Complaint is DISMISSED with prejudice.




                                                  BY THE COURT:


                                                  _______________________________
                                                                    Beetlestone, J.




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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF PENNSYLVANIA

DR. ORIEN L. TULP,                          :
                                            :
                      Plaintiff,            :        Case No. 2:18-cv-05540-WB
                                            :
                 v.                         :
                                            :
EDUCATIONAL COMMISSION FOR                  :
FOREIGN MEDICAL GRADUATES,                  :
                                            :
               and                          :
                                            :
DR. WILLIAM PINSKY,                         :
                                            :
                       Defendants           :

                                       ORDER

       NOW, on this ____day
                        day of _______________,, 2019, upon consideration of

Defendants’ Motion to Dismiss Plaintiff's
Defendants'                   Plaintiff’s Complaint Pursuant to F.R.C.P. 12(b)(6), and

Plaintiff’s Response thereto, it is hereby ORDERED and DECREED that Defendants'
Plaintiff's                                                         Defendants’

                  Plaintiff’s Complaint is DENIED.
Motion to Dismiss Plaintiff's


                                                     By the Court:

                                                     _________________________
                                                     Honorable Wendy Beetlestone
                                                     United States District Court Judge




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LAW OFFICES OF WILLIAM C. REIL
BY: William C. Reil, Esquire
Identification No. 26833
1515 Market Street, Suite 1200
Philadelphia, PA 19102
215-564-1635                                       ATTORNEY FOR PLAINTIFF
DR. ORIEN L. TULP,                          :
                                            :
                         Plaintiff,         :      Case No. 2:18-cv-05540-WB
                                            :
                 v.                         :
                                            :
EDUCATIONAL COMMISSION FOR                  :
FOREIGN MEDICAL GRADUATES,                  :
                                            :
                and                         :
                                            :
DR. WILLIAM PINSKY,                         :
                                            :
                          Defendants        :

   PLAINTIFF’S ANSWER TO DEFENDANTS'
   PLAINTIFF'S           DEFENDANTS’ MOTION TO DISMISS THE
                          COMPLAINT

       For the reasons set forth in the attached memorandum of law, Plaintiff Dr. Orien

L. Tulp, by his undersigned counsel, moves to deny Defendants'
                                                   Defendants’ Motion to Dismiss

Plaintiff’s Complaint.
Plaintiffs

                                                   Respectfully submitted,


                                                   William C. Reil, Esquire
                                                   Attorney for Plaintiff
                                                   Attorney I.D. No. 26833
                                                   1515 Market Street, Suite 1200
                                                   Philadelphia, PA 19102
                                                   215-564-1635
                                                   February 14, 2019
                                                   For: Tommy Swate, Esquire




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LAW OFFICES OF WILLIAM C. REIL
BY: William C. Reil, Esquire
Identification No. 26833
1515 Market Street, Suite 1200
Philadelphia, PA 19102
215-564-1635                                          ATTORNEY FOR PLAINTIFF
DR. ORIEN L. TULP,                            :
                                              :
                       Plaintiff,             :       Case No. 2:18-cv-05540-WB
                                              :
                  v.                          :
                                              :
EDUCATIONAL COMMISSION FOR                    :
FOREIGN MEDICAL GRADUATES,                    :
                                              :
                and                           :
                                              :
DR. WILLIAM PINSKY,                           :
                                              :
                        Defendants            :

PLAINTIFF’S
PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS'
                                               DEFENDANTS’
              MOTION TO DISMISS THE COMPLAINT

       Plaintiff, Dr. Orien L. Tulp, through his undersigned counsel, submits this

Memorandum of Law in Opposition to Defendant's
                                   Defendant’s Motion to Dismiss the Complaint,

under F.R.C.P. 12(b)(6), and in support thereof, it is averred as follows:

       CASE OVERVIEW

       Preliminarily, it should be noted that defendants did not file a motion with

numbered averments for plaintiff to answer individually, but filed a Memorandum of

Law requesting dismissal of plaintiffs
                            plaintiff’s complaint under F.R.C.P. 12(b)(6).

       An overview of the case can be found in paragraph 10 of the complaint, titled

“Summary”, and in paragraphs 11 through 20, titled "General
"Summary",                                         “General Allegations".
                                                            Allegations”. They read as

follows:

       10. In an attempt to close down the USAT and sanction Dr. Tulp, defendant
       ECFMG has refused to allow students of USAT to take necessary medical


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  examinations. Defendant ECFMG has effectively closed USAT, by refusing to
  release scores for students who paid for the examinations. Doctors who graduated
  from USAT have been unable to commence their residency due to the refusal of
  the Board to issue an appropriate certification. ECFMG has also sent misleading
  “affidavits” to many USAT students and threatened many students with "irregular
  "affidavits"                                                               “irregular
  behavior” in order to sanction Dr. Tulp and force closure of the University, which
  behavior"
  he founded. He is President, CEO, and an equal owner of the University. Thus,
  ECFMG tortiously interfered with the educational contract between the students
  of USAT, the University, and Dr. Tulp, denied due process to Dr. Tulp and the
                                               “affidavit” [See Exhibit D] to coerce
  students of USAT, and improperly used an "affidavit"
  information from students. [Pinsky letter, See Exhibit A.] In addition, the Board
  placed information in the World Directory of Medical Schools, prior to any
  hearing or legal process, advising that it would no longer recognize the test scores
  of USAT graduates after January 1, 2019. See Exhibit B.

  11. ECFMG sent to USAT a letter implying that the school would be closed on or
  about 01/01/19 because the Board would no longer recognize the scores of its
  students in taking the three-part United States Medical Licensing Examination.
  This action prohibits applicants from sitting for the USMLE, which is required for
  unrestricted medical licensure.

  12. On 11/21/18, Kara Corrado, J.D., Vice President for Operations of the Board,
  sent a letter to counsel for USAT indicating two concerns: 1) that USAT's
                                                                      USAT’s
  authority to conduct its medical education program amounted to "irregular
                                                                     “irregular
  behavior” because USAT had not been certified by a governmental entity in the
  behavior"
  United States, and 2) the allegation that USAT was operating medical school
  campuses in the United States. See Exhibit E. On October 18, 2018, Lisa Cover, a
  Senior Vice President with ECFMG, wrote a letter to Dr. Tulp advising him of the
  allegation that he engaged in "irregular
                                 “irregular behavior".
                                            behavior”. See Exhibit F.

  13. USAT has a certification from the government of Montserrat, allowing it to
  operate temporary venues due to an active volcano on the island. Such
  certification had been recognized by the Board without incident since 2003.
  USAT also operates online courses for the majority of its basic sciences course
  requirements via a specially developed SPOC [small platform online courses,
  developed by USAT]. A true and correct copy of the certification from Montserrat
  is attached and incorporated as Exhibit C.

  14. Students from USAT have each paid well over $1,000 to the Board to take
  necessary medical exams, and the Board has refused to release their scores
  because of alleged misconduct by Dr. Tulp, and an assignment by the Board of
  “irregular behavior"
  "irregular  behavior” arising out of an illegal affidavit issued to students of USAT.
  “Irregular behavior"
  "Irregular  behavior” may be a permanent admonition on a student or physician's
                                                                            physician’s
  official record, and make residency difficult, if not impossible.




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       15. The Board set up a hearing on 11/28/18 for Dr. Tulp, only, in Philadelphia, at
       the address in the caption to address so-called "irregular
                                                       “irregular behavior".
                                                                  behavior”. After a few
       minutes, with no witnesses called, Board counsel announced that the hearing was
       terminated. Prior to the hearing, the Board took the position that Dr. Tulp had the
                                       “irregular behavior"
       burden of proof on the issue of "irregular behavior” for which he had been
       charged by the Board. The Board set 20 minutes as the duration of the hearing.
       No testimony was taken or exhibits received in evidence, before Board counsel
       terminated the hearing. No Transcript of the proceedings has been received. The
       Board indicated that on 01/01/19 it will issue a finding of "irregular
                                                                   “irregular behavior"
                                                                              behavior” to
       Dr. Tulp effectively closing USAT.

       16. There was no jurisdiction over, or relationship with, Dr. Tulp to compel him
       to attend the hearing by the Board, and he made a special appearance while not
       agreeing to jurisdiction. ECFMG has no jurisdiction over Dr. Tulp, or legal
       relationship with Dr. Tulp, or the power to enter any sanction against him. The
       Board has no contractual or statutory authority over Dr. Tulp.

       17. The Board would not give Dr. Tulp sufficient discovery to conduct an
       adequate defense. Also, the Board has never requested any curricula, student
       records, or any documentation from USAT.

       18. The term "irregular
                     “irregular behavior"
                                behavior” is void for vagueness, since "irregular
                                                                        “irregular
       behavior” is so broad that it essentially amounts to any behavior which the Board
       behavior"
       does not approve. There is no intelligible standard to ascertain "irregular
                                                                        “irregular
       behavior” with the exception of the fiat by the ECFMG. There is no due process
       behavior"
       mechanism to effectively challenge a finding of "irregular
                                                         “irregular behavior"
                                                                    behavior” which can
       amount to an indefinite suspension of United States medical licenses by the Board
       without formal notification of such assignment to the individual concerned.

       19. There is no reasonable way to ascertain the standards for "irregular
                                                                     “irregular behavior"
                                                                                behavior”
       in the instant case, prior to any adjudication.

       20. The Board has effectively closed USAT by not allowing its students and
       graduates to complete the necessary medical examinations beyond January 1,
       2019, and has tortiously interfered with the relationship of the students of USAT
       and Dr. Tulp, the President of the University.

       In the complaint, the first cause of action deals with tortious interference of

contract by the ECFMG with regard to Dr. Tulp. The second cause of action is for

violation of due process, including fundamental fairness with respect to the rights of Dr.

Tulp by the ECFMG. The third cause of action deals with state torts, including fraudulent

misrepresentation, abuse of process, and misrepresentation by defendant. It should be



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noted that there is a dual basis for jurisdiction here, based on diversity and on violation of

plaintiff’s civil rights. The fourth cause of action is titled "plaintiff
plaintiffs                                                     “plaintiff v. all defendants",
                                                                                 defendants”,

          Dr. Pinsky, and incorporates the prior averments. Instructive is paragraph 58
including Dr

which reads:

            The actions of the ECFMG on Dr. Tulp and the students of USAT amount to a
        violation of procedural and substantive due process, as follows:
            (a) banning Dr. Tulp without a proper hearing;
            (b) banning Dr. Tulp without an evidentiary basis;
            (c) forcing closure of USAT and causing its students to be dismissed in an
                arbitrary and capricious manner;
            (d) requiring, at a hearing on 11/28/18, that USAT assume the burden of proof
                and allotting 20 minutes for the hearing;
            (e) terminating the hearing on 11/28/18 without receiving any evidence from
                Dr. Tulp;
            (f) finding Dr. Tulp guilty of "irregular
                                           “irregular behavior"
                                                      behavior” without jurisdiction and
                due process, and effectively forcing closure of USAT College of
                Medicine without legal process, and constructively dismissing the students
                of USAT in violation of the law.

        EVIDENTIARY STANDARD FOR A MOTION TO DISMISS

        A court should only dismiss a suit under F.R.C.P. 12(b)(6) if "it
                                                                      “it appears beyond

doubt that the plaintiff can prove no set of facts in support of his claim which would

entitle him to relief.”
               relief." Conley v. Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 102, (1957).

Similarly, "The
           “The district court must construe the complaint in a light most favorable to the

plaintiff, accept all the factual allegations as true, and determine whether the plaintiff

undoubtedly can prove no set of facts in support of his claims that would entitle him to

relief. …
relief  ... When an allegation is capable of more than one inference, it must be construed

       plaintiff’s favor. …
in the plaintiffs         ... Hence, a judge may not grant a Rule 12(b)(6) motion based on

a disbelief of a complaint's
                 complaint’s factual allegations."
                                     allegations.” Columbia Nat Resources, Inc. v. Tatum,

58 F.3d 1101, 1109 (6th Cir.1995)."
                        Cir.1995).”

        The Conley standard above was replaced by the United States Supreme Court in



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the case of Bell Atlantic Corporation v. Twombly, 127 S.Ct. 1955, 550 (2007). Twombly

is somewhat more restrictive, but it still requires that the Court take the well-pled

allegations of the complaint as true, along with any reasonable inferences thereof. The

Court is required to determine whether the complaint alleges facts which give rise to

relief, as opposed to mere speculation.

       Plaintiff argues that the complaint is sufficiently specific to apprise defendants of

the nature of this lawsuit and enunciates plausible claims sufficient to overcome a motion

to dismiss. A plaintiff is not required to plead all the evidence necessary to prove their

case in the complaint. H.M. Bickford Company V.
                                             V. Speigle, 120 A.2d 167, 384 Pa. 227

(1956). While Bickford is a state case, it is averred that federal law, with respect to a

motion to dismiss, is substantially the same.

       A defendant moving to dismiss under F.R.C.P. 12(b)(6) bears the burden of

proving that the plaintiff has failed to state a claim for relief. See F.R.C.P. 12(b)(6);

see also, e.g., Hedges v. United States, 404 F.3d 744, 750 (3d Cir. 2005). To survive a

Rule 12(b)(6) motion, the complaint must contain sufficient factual matter, accepted as

true, to state a facially plausible claim to relief. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible

"when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678.

Southeastern Pennsylvania Transportation Authority v. Gilead Sciences, Inc., Civil

Action 14-6978 (E.D.Pa. 05/04/2015). As such, "[t]he touchstone of the pleading

standard is plausability." Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012).

       Dismissal is appropriate only if, accepting as true all the facts alleged in the




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complaint, a plaintiff has not pleaded "enough facts to state a claim to relief that is

plausible on its face," Twombly, 550 U.S. at 570, 127 S.Ct. 1955, meaning enough factual

allegations "to raise a reasonable expectation that discovery will reveal evidence of "each
                                                                                      “each

                                      of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008)
necessary element. Phillips v. County of

(quoting Twombly, 550 U.S. at 556, 127 S.Ct. 1955)."
                                             1955).” The plausibility standard is not

akin to a 'probability requirement,' but it asks for more than a sheer possibility that a

defendant has acted unlawfully." Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. "When there are

well-pleaded factual allegations, a court should assume their veracity and then determine

whether they plausibly give rise to an entitlement to relief." Id. at 679, 129 S.Ct. 1937.

       Federal pleading rules call for "a
                                       “a short and plain statement of the claim showing

that the pleader is entitled to relief,”
                                relief," F.R.C.P. 8(a)(2); they do not countenance dismissal

of a complaint for imperfect statement of the legal theory supporting the claim asserted.

Supreme Court. Johnson v. City of
                               of Shelby, Mississippi, 135 S. Ct. 346 (2014).

       PLAUSIBLE CLAIMS AND WELL-PLEADED ALLEGATIONS

       Among the plausible claims asserted by the complaint with its exhibits, are the

following:

       1. A decision was made by the ECFMG to find Dr. Tulp guilty of "irregular
                                                                      “irregular

behavior”, with a mandate that he be barred as a medical educator for at least five years.
behavior",

“Irregular behavior"
"Irregular behavior” is a permanent sanction. Importantly, before any hearing occurred

with the ECFMG, it already found Dr. Tulp guilty of "irregular
                                                    “irregular behavior".
                                                               behavior”. See complaint

at paragraph 58(a) and Exhibit "A".
                               “A”. The exhibit from the WDOMS was published on the

Internet at the behest of the ECFMG well before the 11/28/18 hearing. See Exhibit "B"
                                                                                  “B” to

the complaint.




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       2. Virtually no hearing was given to Dr. Tulp after the ECFMG extended an

invitation to him to attend a hearing on 11/28/18. See complaint at paragraph 15. This is

underscored by the fact that there is no evidence or witnesses cited by defendants that

                            “hearing”. In point of fact, plaintiff alleges that no evidence
took place at the so-called "hearing".

was introduced at the hearing even though the Board or Credentials Committee was

represented by the main defense counsel in this case. Dr. Tulp never addressed the

ECFMG Board before the hearing was terminated by defense counsel. The ECFMG

charged Dr. Tulp with "irregular
                      “irregular behavior"
                                 behavior” and put the burden of proof on him to show

his innocence.

       Also, defendants never assert a failure to exhaust administrative remedies on

appeal, because there was no evidence of any kind admitted at Dr. Tulp's
                                                                  Tulp’s hearing. There

is a factual issue as to what occurred at the hearing, or even if an evidentiary hearing took

place. Dr. Tulp was not afforded even the most rudimentary due process, which would

apply to ECFMG, whether it be deemed a state actor in this particular instance, or a

private actor. ECFMG, by extending an invitation for a hearing to Dr. Tulp, assumed a

duty that such a hearing would not be a sham.

       3. There was an abuse of process when the ECFMG issued affidavits to hundreds

of students at USAT, the university that Dr. Tulp founded and owned half of its assets.

See complaint at paragraph 10. This so-called "affidavit"
                                              “affidavit” (Exhibit "D"
                                                                   “D” to the complaint),

concocted by the ECFMG, requested documents, including passports of students, and

           “irregular behavior"
threatened "irregular behavior” if they did not comply. A reasonable USAT student could

believe they had to cooperate with the ECFMG, attempting to pose as a governmental

agency, or put their desire for a United States medical license in permanent jeopardy. No




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disclaimer that the ECFMG was a private entity was ever communicated to a USAT

student or on the WDOMS Internet site.

       The abuse of process arises from what is termed an "affidavit"
                                                          “affidavit” by defendants, but

what is actually more akin to a subpoena duces tecum, or a grand jury subpoena. It is

averred that this document was designed to portray ECFMG as a governmental body and

to undermine Dr. Tulp with the students of his university.

       4. Dr. Pinsky wrote in his letter of 12/14/18 that "in
                                                          “in 2018, the ECFMG

determined that a certain individual of the University of Science, Art, and Technology

engaged in "irregular
           “irregular behavior"
                      behavior” with providing false information to the ECFMG."
                                                                        ECFMG.”

Similar postings by the ECFMG in sponsor notes on the WDOMS (Internet) sufficiently

identified and defamed plaintiff, even before his alleged due process hearing. See

                   “A” and "B".
complaint Exhibits "A"     “B”.

       5. The charges of "irregular
                         “irregular behavior"
                                    behavior” against Dr. Tulp exceeded the authority of

                                         “Irregular behavior",
the ECFMG, and were vague and overbroad. "Irregular behavior”, in reality, amounts to

any actions by one who opposes the authority of the ECFMG or even does something of

which the organization disapproves. "It
                                    “It is ECFMG’s
                                           ECFMG's usual practice to consider any

action or attempted actions by any person that would or could subvert the processes,

                                               behavior." See Exhibit "F",
programs, or services of ECFMG to be irregular behavior.”             “F”, letter of

Lisa L. Cover, Senior Vice President for Business Development and Operations.

       Generally, the complaint must set forth enough information to outline the

elements of a claim or to permit inferences to be drawn that these elements exist. Jenkins

v. McKeithen, 395 U.S. 411, 89 S. Ct. 1843, 23 L. Ed. 2d 404 (1969); Pennsylvania ex.

Rel. Zimmerman v. Pepsico, Inc., 836 F. 2d 173, 179 (3d Cir. 1988). The court can




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        plaintiff’s complaint "only
dismiss plaintiffs            “only if it is clear that no relief could be granted under

                                                          allegations." Hishon v. King
any set of facts that could be proved consistent with the allegations.”

& Spalding, 467 U.S. 69 (1984). (emphasis supplied)

       AFFIRMATIVE DEFENSES

       Defendants have asserted a variety of affirmative defenses, such as a privilege to

defame, as well as truth as a defense to Dr. Tulp’s
                                             Tulp's defamation claim against Dr
                                                                             Dr. Pinsky

and ECFMG. These are affirmative defenses, and not the subject of the 12(b)(6) inquiry.

In addition, the voluminous exhibits that defendants have attached from the injunction

hearing to their motion to dismiss should not be considered.

       Under Federal Rules of Civil Procedure, an 8(a) complaint need not anticipate or

overcome affirmative defenses. Thus, a complaint does not fail to state a claim simply

because it omits facts that would defeat a statute of limitations defense. See In re Adams

Golf, Inc. Sec. Litig., 381 F.3d 267, 277 (3d Cir. 2004).

       The District Court in Robinson erred in considering certain documents attached to

defendants’ Rule 12(b)(6) motions. Technically, the Federal Rules of Civil Procedure
defendants'

require a defendant to plead an affirmative defense, like a statute of limitations defense,

in the answer, not in a motion to dismiss. See Robinson v. Johnson, 313 F.3d 128, 134-35

(3d Cir 2002).

       “To decide a motion to dismiss, courts generally consider only the allegations
       "To

contained in the complaint, exhibits attached to the complaint and matters of public

record.” Pension Benefit Guar. Corp. V.
record."                                White Consol. Indus., Inc., 998 F.2d 1192, 1196
                                     V. White

(3d Cir. 199); see also Mayer v. Belichick, 605 F.3d 223, 230 (3d. Cir. 2010).




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        ACTIONS OF ECFMG IMPLICATE DUE PROCESS IN THIS CASE

        Plaintiff argues that the abuse of authority by the ECFMG in this case creates a

sufficient nexus with state action to render the organization a state actor.

               “affidavit” is an abuse of authority designed to make the ECFMG appear
        1. The "affidavit"

                                        “D”.
like a governmental agency. See Exhibit "D".

        2. The ECFMG sponsor notes in the World Directory of Medical Schools were

designed for viewing by USAT students, and it already implied that Dr. Tulp was guilty

well before his hearing date. It is suggested that the Court may take judicial notice of a

matter of public notice that the ECFMG and the WDOMS have the same address: 3624

Market Street.

        3. The actions of the ECFMG violate FERPA ("Family
                                                  (“Family Educational Rights and

        Act”) with respect to its "homemade"
Privacy Act")                     “homemade” affidavit designed to illegally coerce

private information from USAT students.

        CIVIL RIGHTS CLAIM

        The ECFMG is liable for plaintiffs
                                plaintiff’s injuries under Section 1983, as set forth in

plaintiff’s complaint, because defendants'
plaintiffs                     defendants’ employees or agents executed a governmental

policy that directly resulted in the deprivation of plaintiffs
                                                    plaintiff’s civil rights. Monell v.
                                                    plaintiff's

           of Social Services, 436 U.S. 658, 98 S. Ct. 2018 (1978). If a city official
Department of

causes a deprivation of life or liberty upon another because he was following a city policy

               policymakers’ deliberate indifference to constitutional rights, then the city
reflecting the policymakers'

is directly liable under Section 1983 for causing a violation of plaintiffs
                                                                 plaintiff’s Fourteenth
                                                                 plaintiff's

Amendment rights. Fagan v. City of Vineland, 22 F.3d at 17 (3d Cir. 1993) Liability may
                                of Vineland,

be based on actions of an official with final policy-making authority, which is then




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attributed to the municipality, and even a single action by the policymaker may be

enough to trigger municipal liability. Pembaur v. City of
                                                       of Cincinnati, 475 U.S. 469, 106 S.

Ct. 1292 (1986). (emphasis supplied)

       It is not required to find that individual defendants violated the rights of plaintiff

to find that the government bodies and corporate entities named in plaintiffs
                                                                   plaintiff’s complaint
                                                                   plaintiff's

had a policy whose implementation violated those civil rights. Pembaur, supra;

Tennessee v. Guiner, S. Ct. 1694 (1985); Simmons v. City of
                                                         of Philadelphia, 947 F. 2d

1042 (3rd Cir. 1991). In his excellent analysis at p. 28-45
                                                      28–45 of Simmons v. Philadelphia,

supra, Judge Becker rejects the City's
                                City’s argument that an employee must have primary

liability for a constitutional violation. The Supreme Court in both Pembaur and Guiner,

supra, considered civil rights liability of the municipality alone, where all individual

defendants had been dismissed.

       In order to state a valid claim under Section 1983, plaintiff must allege the

following: (1) that the conduct complained of was committed by a person acting under

the color of state law; and (2) the conduct deprived plaintiff of rights, privileges or

immunities secured by the United States Constitution. Coates v. Jeffers, 822 F. Supp.

1189 (E.D. Pa. 1993) citing Parratt v. Taylor, 451 U.S. 527, 535 101 S. Ct. 1908, 1912,

68 L. Ed.2d 420 (1980).

       A deprivation of a property interest without due process of law is a violation of 42

U.S.C. 1983. Bradshaw v. Pennsylvania State University, Eastern District, 10-4839. The

complaint delineates that plaintiff had a one-half property interest in the university and

was its founder.




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       ECFMG FUNCTION

       ECFMG is an organization sponsored by state medical organizations, including

the federation of state medical boards. Through its process, it gives students what is a

license to apply for a residency program. A residency program is a certified program that

trains students who have graduated from medical school and who have taken a series of

tests known as the United States Medical Licensing Examination. The various state

boards have given the power to test and certify international medical graduates as

competent to undertake residency training. New Jersey requires a foreign

medical graduate to demonstrate to the New Jersey State Board of Medical Examiners

that he or she holds a certificate issued by the ECFMG which was granted following the

attainment of a passing score on an acceptable examination and verification of his or her

credentials by the ECFMG.

       ECFMG issues a de facto license (certification) which renders a foreign medical

graduate eligible to apply for admission to a residence program in the United States.

Without this license, a foreign medical graduate can not apply for a residency program.

Without training in a residency program, the foreign medical graduate can not obtain a

state medical license.

       The actions of the ECFMG should be considered state actions under the

circumstances. The ECFMG’s
                   ECFMG's procedure in granting, what is the initial license

to eventually obtain a full medical license, has a significantly close nexus to the various

state medical boards. Without the ECFMG certificate, the gate is closed to obtaining a

medical residency. The state medical boards have granted the power to the ECFMG to




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screen foreign medical students for licensure. State action is established. Jackson v.

Metro Edison Co. 419 u.s.345, 351.

       The ECFMG has insinuated itself into a position of interdependence with the state

medical boards. The ECFMG can not be considered to be purely private. Not only does

the ECFMG report to state medical boards, it also reports to the National Physician Data

Bank. The ECFMG would not exist if it was not delegated powers by the state medical

boards. Burton v. Wilmington
                  Wilmington Parkway Authority 365 U.S. 715, 725 (1961).

       Because the ECFMG actions in this case should be treated as state actions, the

ECFMG violated both procedural and substantial Fourteenth Amendment procedures and

substantive due process rights.

       Procedural due process rights were violated because at a minimum, a right to

                         “irregular behavior"
notice of the charges of "irregular behavior” and a right to present evidence to refute the

charges is required by the Fourteenth Amendment. Neither notice of charges nor the right

to present evidence was allowed by the ECFMG.

       State action determination is necessarily a fact-bound inquiry. McKeesport Hosp.

                         for Graduate Medical Educ., 24 F.3d 519 (3d Cir. 05/17/1994).
v. Accreditation Council for

The point is that while ECFMG has often been found to be a private party (in cases

                 pro se medical students), the facts in this case indicate that ECFMG
mostly involving pro

exceeded its authority and acted as if it were a governmental entity.

       When the ECFMG chose to portray itself to USAT students, through threats of

“irregular behavior",
"irregular behavior”, coercive affidavits, and misuse of social media, as an apparent

governmental agency in this case, it abnegated the ability to defend against liability by

donning the mantle of a private entity.




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        AMENDED COMPLAINT

        Plaintiff requests the Court to allow amendment of the complaint, if necessary. If

the complaint is insufficient due to a dearth of factual allegations, then there is a strong

policy favoring the allowance of an amended complaint. "If
                                                       “If a complaint is subject

to a Rule 12(b)(6) dismissal, a district court must permit a curative amendment unless

such an amendment would be inequitable or futile."
                                          futile.” Phillips v. County of
                                                                      of Allegheny, 515

F.3d 224, 245 (3d Cir. 2008) (citation omitted). In Grayson, The District Court did not

follow these principles. Before it dismissed the case, the Court should have--absent

inequity or futility of amendment--specifically advised Grayson that he could amend his

complaint and given him a chance to do so. Neither inequity nor futility of amendment is

present. Grayson v. Mayview State Hospital, 3rd Cir. Crt. Of Appeals (2002).

        DEFENDANTS’ BRIEF
        DEFENDANTS'

        Defendants cited in the table of authorities, two Third Circuit cases to support that

ECFMG is a private party. These are Opoku and Osei. Both are non-precedential and thus

not allowed to be cited. In the instant case, a core issue is whether the ECFMG

overstepped its authority, and acted with apparent governmental authority.

        AUTHORITY OF ECFMG OVER DR. TULP

        There is no basis to exercise jurisdiction over Dr. Tulp if ECFMG is a private

party, as defendants argue. There is no contractual relationship between the parties and

defendants claim there is no state action. If that is true, there is no basis to exercise

jurisdiction over Dr. Tulp. He is not a medical student, nor did he ever enter into an

agreement with the ECFMG. Defendants can not with one hand proclaim that ECFMG

has jurisdiction over Dr. Tulp, but with the other hand, assert that it is a private party.




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       TORTIOUS INTERFERENCE WITH CONTRACT

       Plaintiff alleges in the first cause of action of the complaint that defendants

tortiously interfered with contract. This is more broadly known as intentional interference

with contractual relations. Pennsylvania Standard Suggested Jury Instructions, Section

17.280 Civil, in pertinent part states: "One
                                        “One who intentionally induces or otherwise

intentionally prevents another from performing a contract with a third person or makes

the performance of the contract more expensive is responsible to the other for the loss he

or she suffered as a result of the prevention or interference with the contract. The

intentional tort of interference with contractual relations has been recognized by the

Pennsylvania Supreme Court."
                     Court.” Caskie v. Philadelphia Rapid Transcit Co., 184 A. 17 (Pa.

1936); Capecci v. Liberty Corp., 176 A.2d 664 (Pa. 1962).

       The contention in plaintiffs
                         plaintiff’s first cause of action involves the efforts by the

ECFMG to destroy the medical education career of Dr. Tulp and close his university,

USAT. Dr. Tulp had a property interest in USAT, and as stated in the complaint

(paragraphs 1 and 10), he was not only the founder, but also had a significant property

interest in the university. Dr. Tulp had a contract as the President and CEO with USAT,

his university. Furthermore, the students at USAT had implied contracts with the

university and Dr. Tulp arising out of their payment of tuition.

       It is alleged that the efforts by ECFMG to illegally find that Dr. Tulp committed

“irregular behavior",
"irregular behavior”, to use a so-called "affidavit"
                                         “affidavit” and the threat of "irregular
                                                                       “irregular behavior"
                                                                                  behavior”

to bully students into cooperation, as well as the relationship between the World

Directory of Medical Schools and the ECFMG, which share a common address, indicate

an illegal and duplicitous attempt to interfere with the contract between Dr. Tulp and the




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                                                                       “A”, "B",
USAT, by destroying the man and his university. See complaint exhibits "A", “B”, and

“D”.

         SUMMARY AND CONCLUSION

         The Court should not dismiss the complaint under Rule 12(b)(6), since there are

plausible claims by plaintiff which support viable causes of action.

        1. There was no hearing at all and the decision on Dr. Tulp was made before the
purported hearing, as indicated in the WDOMS website, Exhibit "D".   “D”. The hearing was a
sham, which was arbitrary and capricious. This is evidenced by the fact that defendants
did not claim that plaintiff did not try to exhaust his administrative remedies on appeal to
the administrative body, because there was nothing to appeal in the record. The three
salient points here are: A decision was made and posted on the WDOMS before the
hearing; no evidence was presented at the hearing; and Dr. Tulp was given no
opportunity to be heard or to present evidence, as indicated in the transcript.

        2. Defendants violated the right to due process, and to a fair hearing even if
defendants were private actors. In this particular instance, the ECFMG overstepped its
authority and essentially acted as an agent of the state medical boards. The ECFMG has a
monopoly, in the sense that no foreign medical student can practice medicine in the U.S.
without the ECFMG certifying them. The ECFMG is essentially a kind of gatekeeper. If
the ECFMG is seen to be a private actor, it did not even achieve the minimum standard of
notice and a hearing. If the ECFMG affords a hearing, then it has assumed a duty to
provide a fair hearing. If it indeed has authority to charge Dr. Tulp with "irregular
                                                                           “irregular
behavior” (a permanent sanction), then the abuse of that authority is a violation of Dr.
behavior"
Tulp’s
Tulp's civil rights.

        3. There are state tort actions based on diversity of jurisdiction, as well as pendent
jurisdiction, including defamation, the abuse of process and misrepresentation. Liability
    Dr. Pinsky is indicated because he is the President, CEO, and a policymaker for the
for Dr
organization. Under diversity jurisdiction, the doctrine of respondeat superior applies.
The abuse of process claim flows from the misuse of the affidavits, which were
essentially used as subpoenas, and appeared to be issued by a state actor.

         Dr. Tulp has a property interest in the USAT. The nexus between ECFMG and the

state medical boards makes ECFMG a gatekeeper which has a monopoly on the

admission of any foreign medical student to practice in the United States. If the ECFMG

was a state actor, then there are rights of due process. If ECFMG was a private actor that

extended a hearing, then the hearing may not be a sham. Interestingly, defendants do not



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raise failure to exhaust administrative remedies for appeal, because there is no evidence

in the record from which to appeal.

                                                     Respectfully submitted,


                                                     William C. Reil, Esquire
                                                     Attorney for Plaintiff
                                                     Attorney I.D. No. 26833
                                                     1515 Market Street, Suite 1200
                                                     Philadelphia, PA 19102
                                                     215-564-1635
                                                     February 14, 2019
                                                     For: Tommy Swate, Esquire




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the attached document (s) was

served upon all other parties or their counsel of record by:


                                      Regular First Class Mail

                                      Facsimile

                                      Certified Mail

                                      Hand-Delivered

                              X       Electronic Filing

                              X       Email



                                                       William C. Reil, Esquire
                                                       Attorney for Plaintiff
                                                       Attorney I.D. No. 26833
                                                       1515 Market Street, Suite 1200
                                                       Philadelphia, PA 19102
                                                       215-564-1635
                                                       February 14, 2019
                                                       For: Tommy Swate, Esquire




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                        )
DR. ORIEN L. TULP,
DR.
                                        )
                                        )     Case No. 2:18-cv-05540-WB
                    Plaintiff,
                                        )
                                        )     Hon. Wendy Beetlestone
v.
                                        )
EDUCATIONAL COMMISSION FOR
                                        )
FOREIGN MEDICAL GRADUATES and
                                        )
                                        )
DR. WILLIAM W. PINSKY,
                                        )
                                        )
                    Defendants.
                                        )


                       REPLY IN SUPPORT OF
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
        DEFENDANTS'                   PLAINTIFF'S COMPLAINT




February 21, 2019                      Elisa P. McEnroe, PA Bar No. 206143
                                       Matthew D. Klayman, PA Bar No. 319105
                                       MORGAN, LEWIS & BOCKIUS, LLP
                                       1701 Market Street
                                       Philadelphia, PA 19103-2921
                                       Telephone: +1.215.963.5917
                                       Facsimile:     +1.215.963.5001
                                       elisa.mcenroe@morganlewis.com
                                       matthew.klayman@morganlewis.com

                                                 for the Educational Commission for
                                       Attorneysfor                              for
                                       Foreign Medical Graduates and Dr. William
                                                                          William
                                       W.
                                       W. Pinsky




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I.     INTRODUCTION

           Tulp’s Opposition does not meaningfully address any of the arguments raised in
       Dr. Tulp's

Defendants’ Motion to Dismiss. He cites inapplicable legal standards and mischaracterizes both
Defendants'

the allegations and claims purportedly set forth in the Complaint, but he fails to explain away the

deficiencies in his pleading that Defendants identified in the Motion to Dismiss. Because those

deficiencies are fatal to each of Dr. Tulp’s
                                      Tulp's claims, Dr. Tulp has failed to state any claim against

ECFMG or Dr. Pinsky, and this Court should dismiss the Complaint in its entirety and with

prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).

II.    ARGUMENT

       A.      Dr. Tulp Mischaracterizes the Allegations and Exhibits of the Complaint.

       As an initial matter, Dr. Tulp’s
                                 Tulp's Opposition contains numerous factual assertions that are

belied by the actual allegations and exhibits of the Complaint. Those mischaracterizations —
                                                                                           –

                          – should be rejected. See Byers v. Intuit, Inc., No. 07-4753, 2009 WL
described in detail below —

948651, at *2 (E.D. Pa. Mar. 18, 2009) ("When
                                       (“When allegations in a complaint are contradicted by the

materials appended to or referenced in the complaint, ‘the
                                                      'the document controls and the court need

                                          complaint.’” (quoting Barnum v. Milbrook Care Ltd.
not accept as true the allegations of the complaint.'

Partnership, 850 F. Supp. 1227, 1232-33
                                1232–33 (S.D.N.Y. 1994)).

       Dr. Tulp mischaracterizes the limited sanction ECFMG imposed on him after it found that

he engaged in irregular behavior. Dr. Tulp was not, as he claims, "barred"
                                                                  “barred” by ECFMG from

        “as a medical educator for at least five years."
serving "as                                      years.” Opp. 7. Nor was Dr. Tulp subjected to a

“permanent sanction"
"permanent sanction” as he contends in the Opposition. Id. Rather, per the letter from ECFMG

attached to the Complaint and on which Dr. Tulp relies, ECFMG’s
                                                        ECFMG's only action with respect to Dr.

Tulp was to decide that it would "not
                                 “not accept any documents signed/certified by [Dr. Tulp]
                                                                                    Tull)] for

ECFMG on behalf of USAT, or any other medical school, for a minimum of five years from today;




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thereafter, the prohibition shall end only upon a petition to ECFMG conclusively demonstrating

to the satisfaction of the ECFMG Committee a familiarity with, and willingness to adhere to,

ECFMG policies."
      policies.” Compl. Ex. A. The Complaint and its exhibit thus undermine the unsupported

assertions in the Opposition that Dr. Tulp is facing a "permanent
                                                       “permanent sanction"
                                                                  sanction” and that ECFMG has

“barred” Dr. Tulp from serving as a medical educator.
"barred"

       In support of Dr. Tulp’s
                         Tulp's mischaracterization of the limited sanction, Dr. Tulp contends that

ECFMG has "no
          “no basis to exercise jurisdiction over Dr. Tulp”
                                                      Tulp" and act as it did. Opp. 15. This

mischaracterizes ECFMG’s
                 ECFMG's action. As is clear from the Complaint and its exhibits, ECFMG

decided, following its own investigation and a hearing, that it would no longer accept his signature.

That is not a question of jurisdiction, but rather a question of whether ECFMG must believe Dr.

Tulp notwithstanding its finding that he lied to ECFMG. The notion of "jurisdiction"
                                                                      “jurisdiction” is a red

herring.

       Dr. Tulp also mischaracterizes the timing of ECFMG’s
                                                    ECFMG's decision to punish Dr. Tulp and the

extent to which ECFMG’s
                ECFMG's limited sanction on him was made public. In the Opposition, Dr. Tulp

relies on an October 2018 update to the ECFMG Sponsor Note about USAT in the World Directory

of Medical Schools to argue that ECFMG decided to punish him before his November 2018

hearing. See Opp. 7. But the Sponsor Note, attached to the Complaint, makes no reference to Dr.

Tulp whatsoever. See Compl. Ex. B. To the extent Dr. Tulp relies on his mischaracterization of

the Sponsor Note to argue that ECFMG prejudged Dr. Tulp’s
                                                   Tulp's case and decided he was guilty of

                                                                     – again —
irregular behavior before the November 2018 hearing, the argument is —       – directly

                    Tulp’s own pleading.
contradicted by Dr. Tulp's

       Dr. Tulp also mischaracterizes the content of the affidavits issued by ECFMG, claiming

that ECFMG threatened USAT students who failed to complete affidavits with "irregular
                                                                           “irregular



                                                -2-


                                              SAppx0135
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behavior.” Opp. 16. This, again, is directly contradicted by Dr. Tulp’s
behavior."                                                       Tulp's own pleading. The

affidavit, which Dr. Tulp attached to his Complaint, contains a warning that any student who

included false information on an affidavit could face allegations of "irregular
                                                                     “irregular behavior."
                                                                                behavior.” Compl.

Ex. D. The claim that ECFMG forced students to complete affidavits under threat of "irregular
                                                                                   “irregular

behavior” is thus belied by the affidavit itself.
behavior"

        Dr. Tulp further contends that "neither
                                       “neither notice of charges nor the right to present evidence

was allowed by the ECFMG”        Tulp’s irregular behavior hearing. Opp. 14. That is contrary
                   ECFMG" at Dr. Tulp's

                                                              Court’s findings at the preliminary
not just to the allegations in the Complaint, but also to the Court's

injunction hearing, which are preclusive on this issue. See infra.

        Beyond mischaracterizing the facts, Dr. Tulp’s
                                                Tulp's Opposition also misstates his own claims.

Dr. Tulp suggests repeatedly that the Complaint contains a defamation claim. See Opp. 10, 17.

                                                         claim1, and Dr. Tulp cannot try to
But the Complaint does not purport to state a defamation claims,

         Defendants’ Motion to Dismiss based on a claim not alleged in the Complaint. See
overcome Defendants'

Snyder v. Baxter Healthcare, Inc., 393 F. App'x.
                                          App’x. 905, 907 n. 4 (3d Cir. 2010) ("[A]
                                                                              (“[A] motion to

dismiss attacks claims contained by the four corners of the complaint.").
                                                            complaint.”).




11 Even if Dr. Tulp had included a defamation claim in his Complaint, such a claim would fail based
on the factual allegations already asserted. In Pennsylvania, truth is an affirmative defense to a
 defamation claim and may be raised at the motion to dismiss stage if it is true on the face of the
Complaint. 42 Pa. Cons. Stat. § 8343(b)(1); see Budhun v. Reading Hosp. & Med. Ctr., 765 F.3d
                                        Defendants’ Memorandum of Law, Dr. Tulp has failed to
245,259 (3d Cir. 2014). As laid out in Defendants'
 identify any falsehood or misrepresentation ECFMG made: (1) none of the ECFMG
                                                     Plaintiff’s contention that ECFMG held itself
 correspondence attached to the Complaint supports Plaintiff's
out as a government agency; and (2) the Sponsor Note at issue is completely accurate in that it
 describes ECFMG’s
            ECFMG's process for considering USAT students and graduates after January 1, 2019,
and Dr. Tulp has not alleged how it is inaccurate. Defs.'
                                                      Defs.’ MOL 11. As the Complaint does not
allege an untrue statement, had Plaintiff brought a defamation claim it would fail.
                                                    -3-


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       B.      Nothing In the Opposition Changes That Dr. Tulp's
                                                          Tulp’s Allegations Fail.

       In his Opposition, Dr. Tulp urges the Court to dismiss his Complaint "only
                                                                            “only if it is clear that

no relief could be granted under any set of facts that could be proved consistent with the

allegations.” Hishon v. King & Spalding, 467 U.S. 69 (1984). After Bell Atl. Corp. v. Twombly
allegations."

and Ashcroft v. lqbal,
                Iqbal, however, this is no longer the applicable standard for evaluating the

adequacy of a pleading. 550 U.S. 554, 563 (2007) (explaining that the "no
                                                                      “no set of facts”
                                                                                 facts" standard

“described the breadth of opportunity to prove what an adequate complaint claims, not the
"described

minimum standard of adequate pleading to govern a complaint’s survival.”). Accordingly, the
                                                  complaint's survival.").

Court shall dismiss all of Dr. Tulp's
                               Tulp’s claims against ECFMG because they fail under the appropriate

standard: Dr. Tulp does not state a "plausible
                                    “plausible claim for relief"
                                                         relief.” Ashcroft v. lqbal,
                                                                              Iqbal, 556 U.S. 662,

679 (2009).

               1.         Tulp’s Due Process Claims Fail as a Matter of Law.
                      Dr. Tulp's

       The arguments set forth in Dr. Tulp’s
                                      Tulp's Opposition do not save his due process claims from

dismissal for several reasons.

       First, the Court ruled at the preliminary injunction hearing that ECFMG is not a state actor.

See Jan. 24, 2019 Hr'g
                  Hr’g Tr. 131: 2-4
                                2–4 ("While
                                    (“While the lack of state action ultimately dooms Plaintiff's
                                                                                      Plaintiff’s

                                                                       clai[m]s.”).2 That ruling
constitutional claims, it if far from the only problem with the § 1983 clai[m]s.").2

has preclusive effect and Dr. Tulp's
                              Tulp’s due process claims should therefore be dismissed. The

Third Circuit has held that a district court's
                                       court’s findings and conclusions on a preliminary injunction

motion may "have
           “have preclusive effect if the circumstances make it likely that the findings are

‘sufficiently
`sufficiently firm’
              firm' to persuade the court that there is no compelling reason for permitting them to


2
2 Although Plaintiff now cites Monell v. Dep't
                                         Dep’t of
                                               of Soc. Servs. of
                                                              of the City of
                                                                          of New York, 436 U.S.
658, 690 (1978) as a way that ECFMG can be held liable for the actions of its employers, Monell
is not applicable here given that ECFMG is neither a municipal corporation nor a local government
unit.
                                                -4-


                                             SAppx0137
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             again.” Hawksbill Sea Turtle v. FEMA, 126 F.3d 461, 474 n.11 (3d Cir. 1997). Where
be litigated again."

the issues in a motion to dismiss and a motion for preliminary injunction are "exactly
                                                                              “exactly the same"
                                                                                           same”

                  “had a full opportunity to present their arguments at the hearing on the preliminary
and the plaintiff "had

                                                    inquiry.” McTernan v. City of
injunction, . . . there is no reason to prolong the inquiry."                  of York, Pennsylvania,

577 F.3d 521, 531 (3d Cir. 2009).

                                                                              testimony3 and
       Here, at the preliminary injunction hearing, the Court heard extensive testimony3

received numerous documents into evidence, ultimately ruling that Dr. Tulp was unlikely to

succeed on the merits of his due process claim because, inter alia, Defendants were not state actors

and even if they were Dr. Tulp received ample procedural protections, including notice and an

                  heard.4 See Jan. 24, 2019 Hr'g
opportunity to be heard.4                   Hr’g Tr. 129:18-131:1
                                                     129:18–131:1 (mentioning that the Third

        “has held that as a private not-for-profit organization, ECFMG is a private party and not a
Circuit "has

      actor” and that none of the circumstances apply under which a private actor can be found to
state actor"

                         131:10–11 ("In
engage in state action); 131:10-11 (“In this case, there was notice and an opportunity to be

heard.”). Nothing in the Opposition suggests that the inquiry at the motion-to-dismiss stage would
heard.").

                             Court’s ruling should be set aside. It therefore has preclusive effect,
be any different or that the Court's

and Dr. Tulp’s
        Tulp's due process claims should be dismissed with prejudice.



3
                           Hr’g Tr. 9:21–10:3
3 See, e.g., Jan. 24, 2019 Hr'g     9:21-10:3 (receiving testimony from K. Corrado that ECFMG
“is a nonprofit, private organization,"
"is                       organization,” that is not an accrediting agency); 10:11-15
                                                                                10:11–15 (receiving
                                  “Generally, the licensing boards in the United States will require
testimony from K. Corrado that "Generally,
ECFMG certification for international medical students, but it’s
                                                              it's the discretion of each state board
who they license.”).
          license.").
4
4 In the Opposition, Dr. Tulp contends that there was "virtually
                                                       “virtually no hearing."
                                                                      hearing.” Opp. 8. As laid out
in the exhibits attached to the Complaint and as found by the Court at the preliminary injunction
hearing, Dr. Tulp was given repeated notice of the charges against him, the policies and procedures
                                           Committee’s decision, and his opportunity to be heard.
that would guide the Medical Credentials Committee's
Compl. Exs. A, E, & F. This was more than adequate process, especially since "[t]here  “[t]here is no
inexorable requirement that oral testimony must be heard in every administrative proceeding in
            tendered.” Biliski v. Red Clay Consol. School Dist. Bd. Of
which it is tendered."                                                Of Educ., 574 F.3d 214, 221-
                                                                                                 221–
22 (3d Cir. 2009).
                                                 -5-


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                               Court’s ruling, Dr. Tulp’s
       Second, even absent the Court's             Tulp's contention that ECFMG was delegated

                               – and that its actions should therefore be deemed that of a state
powers by state medical boards —

      – is contrary to Third Circuit case law regarding entities analogous to ECFMG in the medical
actor —

education field.   Opp. 14.    As already discussed in Defendants'
                                                       Defendants’ Memorandum of Law, in

McKeesport Hospital v. Accreditation Council for
                                             for Graduate Medical Education, "the
                                                                             “the evaluation

and accreditation of medical education in this country is neither a traditional nor an exclusive state

action,” so such actions are not delegations of state power. 24 F.3d 519, 524 (3d Cir. 1994).
action,"

Accordingly, ECFMG’s
             ECFMG's limited role in graduate medical education —
                                                                – a step removed from

              – does not rise to the level of an entity exercising a delegated state power which
accreditation —

would subject it to the requirements of the Fourteenth Amendment. Dr. Tulp has not identified a

single case in which ECFMG or its executives have been held to be state actors. Nor has Dr. Tulp

articulated a compelling justification for rejecting the many cases from numerous jurisdictions —
                                                                                                –

                                                                actor.5 Absent the existence of
                            – holding that ECFMG is not a state actor.5
including the Third Circuit —

any delegation of a state power and/or authority, ECFMG could not have exceeded a state authority

in these circumstances, despite Plaintiffs
                                Plaintiff’s multiple attempts to argue so.

       Third, Dr. Tulp has failed to respond to Defendants'
                                                Defendants’ arguments that the absence of

allegations against Dr. Pinsky makes dismissal of the claim against him especially appropriate.

Dr. Tulp briefly argues that liability is appropriate under the doctrine of respondeat superior that

applies to state tort actions. See Opp. 3. But Dr. Tulp has not brought any state tort claims against



5
5 Indeed, the Court relied on the Third Circuit's
                                        Circuit’s decision in Opoku v. ECFMG, 574 F. App'x
                                                                                     App’x 197
(3d Cir. 2014) when denying Dr. Tulp's Tulp’s preliminary injunction motion and holding that
Defendants are not state actors. Jan. 24, 2019 Hr'g
                                                Hr’g 129:18-23.
                                                      129:18–23. Although district courts are not
bound by the Third Circuit's
                     Circuit’s unpublished opinions, there is no bar to citing to such opinions and
                                          “instructive,” particularly where the ruling involves the
many courts do so, finding such opinions "instructive,"
same party and issue. Sciarra v. Reliance Standard Life Ins. Co., No. 97-1363, 1998 WL 564481,
at *8 n.7 (E.D. Pa. Aug. 26, 1998).
                                                 -6-


                                              SAppx0139
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Dr. Pinsky. Rather, Dr. Tulp summarizes the fourth cause of action —
                                                                   – the only cause of action

                   – "as
against Dr. Pinsky — “as violation of procedural and substantive due process."
                                                                     process.”                Opp. 5.

Accordingly, liability is controlled by 42 U.S.C. § 1983, and Dr. Pinsky cannot be held liable for

a constitutional violation on a theory of respondeat superior. See Santiago v. Warminster
                                                                               Warminster Twp.,

629 F.3d 121, 131-34 (3d Cir. 2010).

               2.          Tulp’s Misrepresentation Claims Fail as a Matter of Law.
                       Dr. Tulp's

       The Opposition includes no arguments in connection with Dr. Tulp’s
                                                                   Tulp's claims for fraudulent

and/or negligent misrepresentation. As noted in Defendants'
                                                Defendants’ Memorandum of Law, Dr. Tulp has

                                         Defs.’ MOL 11. The closest Dr. Tulp comes to addressing
failed to allege any misrepresentations. Defs.'

this deficiency in his misrepresentation claims is his argument that the absence of a

misrepresentation is really an "affirmative
                               “affirmative defense"
                                            defense” that is "not
                                                             “not the subject of the 12(b)(6) inquiry."
                                                                                              inquiry.”

Opp. 10. But the existence of misrepresentation is an element of the prima
                                                                     primafacie
                                                                           facie case of fraudulent

or negligent misrepresentation, and for the reason set forth in Defendants'
                                                                Defendants’ Memorandum of Law,

Dr. Tulp simply has not plausibly alleged a false statement by Defendants. Defs.'
                                                                           Defs.’ MOL 10-11.

                                          Defendants’ Memorandum of Law that his
Nor did Dr. Tulp address the arguments in Defendants'

misrepresentation claims must be dismissed for failure to allege reliance, fraudulent intent, or

failure to make a reasonable investigation.

               3.          Tulp’s Abuse of Process Claims Fail as a Matter of Law.
                       Dr. Tulp's

       In support of his claim for abuse of process, Dr. Tulp relies on the conclusory allegation

that ECFMG was "attempting
               “attempting to pose as a governmental agency"
                                                     agency” in the affidavits it issued to

USAT students, despite the absence of any factual basis in the Complaint to support such a

                             Defs.’ MOL 13-14.
conclusion. Opp. 8; see also Defs.'     13–14. Similarly, Dr. Tulp's
                                                              Tulp’s Opposition fails to address

(1) Pennsylvania case law stating that an affidavit does not constitute "legal
                                                                        “legal process"
                                                                               process” to trigger an

abuse of process claim, see Rockman v. Aciukewicz, No. 1434 MDA 2013, 2014 WL 10937492,

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at *6 (Pa. Super. Apr. 1, 2014), and (2) direction from the Supreme Court that private parties like

Dr. Tulp may not sue to enforce the Federal Education Records Protection Act ("FERPA"),
                                                                             (“FERPA”), thus

weakening his reliance on FERPA as a basis for his abuse of process claim, see Gonzaga Univ. v.

              290–91 (2002). The Opposition does not explain how the bare allegations in the
Doe, 536 U.S. 290-91

Complaint are sufficient to set forth a claim for abuse of process claim. As a result, that claim

should be dismissed.

               4.          Tulp’s Tortious Interference Claims Fail as a Matter of Law.
                       Dr. Tulp's

       The Opposition also does nothing to rectify the glaring deficiencies in Dr. Tulp's
                                                                                   Tulp’s claims

for tortious interference. In the Opposition, Dr. Tulp asserts without any citation to the Complaint

        “had a contract as the President and CEO with USAT, his university."
that he "had                                                    university.” Nowhere in the

Complaint does Dr. Tulp allege that he has a contractual relationship with USAT or that his

interference claim is premised on that contractual relationship. Next, Dr. Tulp argues that "the
                                                                                            “the

students at USAT had implied contracts with the university and Dr. Tulp arising out of their

           tuition.” Opp. 16. The Complaint makes no mention of any alleged implied contracts
payment of tuition."

and, as explained in Defendants'
                     Defendants’ MOL, it is implausible to believe that Dr. Tulp had a contractual

relationship with USAT students when the students presumably contract with the school itself.

       Dr. Tulp also ignores entirely the argument in Defendants'
                                                      Defendants’ MOL that it is plain on the face

of the Complaint that ECFMG was privileged and justified to act as it did. To the extent Dr. Tulp

tries to argue that such privilege or justification is an affirmative defense not proper at the motion

                                                             “the absence of privilege or
to dismiss stage, he misunderstands Pennsylvania law because "the

justification” is an element of his prima
justification"                      prima facie
                                           facie case. See BP Envtl. Servs., Inc. v. Republic Servs.,

Inc., 946 F. Supp. 2d 402, 407 (E.D. Pa. 2013). And as was the case with respect to the

misrepresentation claims, Dr. Tulp has not alleged that any information provided by Defendants

was false, and "[t]here
               “[t]here is of course no liability for interference with a contract . . . on the part of
                                                 -8-


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                                             another.” Restatement (Second) of Torts § 772, cmt.
one who merely gives truthful information to another."

b; Walnut
   Walnut St. Assocs., Inc. v. Brokerage Concepts, Inc., 20 A.3d 468, 479 & n.13 (Pa. 2011).

       C.      Dr. Tulp Should Not Be Granted Leave to File an Amended Complaint.

       A district court may deny leave to amend on the ground that an amendment would be futile.

See Smith v. NCAA, 139 F.3d 180, 190 (3d Cir. 1998). An amendment is considered futile "if
                                                                                       “if the

pleading, as amended, would not survive a motion to dismiss for failure to state a claim upon which

                granted.” Id. Here, granting Dr. Tulp’s
relief could be granted."                        Tulp's request for an opportunity to amend his

Complaint would be futile for at least two reasons.

       First, Dr. Tulp has given no indication as to how any of the allegations in the Complaint

would be amended to successfully state a claim when the Complaint in its current form fails to

state any claims for relief. Thus, for example, it has already been ruled that ECFMG is not a state

actor, and it would be futile to permit Dr. Tulp a renewed opportunity to allege a due process claim

     ECFMG’s status as a private actor under the circumstances is fatal to that claim.
when ECFMG's

       Second, the Court has already heard testimony and evidence from Dr. Tulp in the context

of a preliminary injunction hearing, which hearing resulted in a ruling that Dr. Tulp is unlikely to

succeed on the merits of his due process claim. Dr. Tulp had every opportunity to present some

evidence to successfully state a claim against Defendants and he failed to do so. Unlike the pro
                                                                                             pro se

plaintiff who was granted leave to amend in Grayson v. Mayview State Hosp., 293 F.3d 103, 114

(3d Cir. 2002), Dr. Tulp is represented by counsel and still has not made any efforts to cure his

         “dearth of factual allegations."
admitted "dearth            allegations.” Opp. 16. There is no reason to believe that given an

opportunity to replead, Dr. Tulp would set forth sufficient facts now to state a claim against

Defendants.

       Dr. Tulp’s
           Tulp's deficient Complaint is not merely an "imperfect
                                                       “imperfect statement of the legal theor[ies]

supporting the claim[s] asserted,"
                        asserted,” as he contends, see Opp. 7; he has not and will not be able to
                                                -9-


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include sufficient factual allegations in his pleading to support key elements of the constitutional

and tort claims he has sought to bring against Defendants.

III.
III.   CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant the Motion

           Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) with
to Dismiss Plaintiff's

prejudice and without leave to file an amended complaint.



 Dated: February 21, 2019                          Respectfully submitted,

                                                   /s/ Elisa P. McEnroe
                                                   /s/Elisa
                                                   Elisa P. McEnroe, PA Bar No. 206143
                                                   Matthew D. Klayman, PA Bar No. 319105
                                                   MORGAN, LEWIS & BOCKIUS, LLP
                                                   1701 Market Street
                                                   Philadelphia, PA 19103-2921
                                                   Telephone: +1.215.963.5917
                                                   Facsimile:     +1.215.963.5001
                                                   elisa.mcenroe@morganlewis.com
                                                   matthew.klayman@morganlewis.com

                                                            for the Educational Commission for
                                                  Attorneysfor                              for
                                                  Foreign Medical Graduates and Dr. William
                                                                                     William
                                                  W.
                                                  W. Pinsky




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                                CERTIFICATE OF SERVICE
       I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon the following counsel of record via the ECF

system and/or e-mail:


                              TOMMY SWATE
                              403 WILD PLUM
                              HOUSTON, TX 77013

                              WILLIAM C. REIL
                              1515 MARKET ST SUITE 1200
                              PHILADELPHIA, PA 19102
                              215-564-1635
                              Fax: 215-564-4292
                              Email: billreillaw@gmail.com

                                        for Plaintiff
                              Attorneysfor  Plaintiff




DATED: February 21, 2019                                /s/ Elisa P. McEnroe
                                                        /s/Elisa
                                                        Elisa P. McEnroe




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  DR. ORIEN L. TULP,                               ))
                                                   ))
                         Plaintiff,
                         P/aintiff,                )     Case No. 2:18-cv-05540-WB
                                                   ))
  v.                                               )     Hon. Wendy Beetlestone
                                                   ))
  EDUCATIONAL COMMISSION FOR                       ))
  FOREIGN MEDICAL GRADUATES and                    )
  DR. WILLIAM W. PINSKY,                           )
                                                   )
                         Defendants.               )
                                                   ))

        DEFENDANT EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
       GRADUATES’
       GRADUATES' ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES

                                                                       (“ECFMG”),1 by and
        Defendant Educational Commission for Foreign Medical Graduates ("ECFMG"),1

through its undersigned counsel, hereby answers the Complaint filed by Dr. Orien L. Tulp in

accordance with the numbered paragraphs thereof as follows:

                                            PARTIES

        1.      The plaintiff is Dr. Orien L. Tulp, hereafter referred to as "Dr.
                                                                               “Dr. Tulp”,
                                                                                    Tulp", an adult
individual whose address for service of process is at 4288 Youngfield Street, Wheat Ridge, CO
80033. At all times material herein, plaintiff was President of the University of Science, Arts, and
Technology ("USAT"),
              (“USAT”), and had an ownership interest in the University. USAT is located in
Montserrat, but its US administrative office is located at the address in the caption, and students
take classes in Montserrat and the US via a distance education format.

        ANSWER:        ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that Dr. Orien L. Tulp is the plaintiff in this lawsuit. ECFMG denies that USAT

         “take classes in Montserrat and the US via a distance education format.”
students "take                                                           format." ECFMG lacks




11 On March 26, 2019, the Court dismissed all claims against Dr. William W. Pinsky. As a result,
this filing is made by and on behalf of ECFMG only, the sole remaining defendant.




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knowledge or information sufficient to form a belief about the truth of the remaining allegations

of this paragraph and they are, therefore, denied.

        2.      A defendant is the Educational Commission for Foreign Medical Graduates,
hereafter referred to as "ECFMG"
                         “ECFMG” or "the
                                      “the Board",
                                           Board”, which is an unincorporated association, whose
address for service of process is 3624 Market Street, Philadelphia, PA 19104. According to their
mission statement, the ECFMG is an organization which purports to certify medical school
students and graduates to practice medicine in the United States.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that is headquartered at 3624 Market Street, Philadelphia, PA 19104. ECFMG

further admits that, among other things, it certifies that foreign medical graduates have met certain

minimum criteria for entry into graduate medical education in the United States. ECFMG denies

that it is an unincorporated association and that it "certif[ies]
                                                     “certif[ies] medical school students and graduates

to practice medicine in the United States.”
                                   States." ECFMG denies the remaining allegations of this

paragraph.

       3.     A defendant is Dr. William W. Pinsky, the President and CEO of the ECFMG,
whose address for service of process is indicated in the caption. See Exhibit A, attached and
incorporated herein.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that Dr. William W
                              W. Pinsky is the President and CEO of ECFMG and that ECFMG

is headquartered at 3624 Market Street, Philadelphia, PA 19104. ECFMG denies that Dr
                                                                                  Dr. Pinsky

is a defendant in this lawsuit because the Court has dismissed all claims against Dr. Pinsky
                                                                                      Pinsky.

ECFMG denies the remaining allegations of this paragraph.

       4.      ECFMG is an organization sponsored by various medical organizations, including
the Federation of State Medical Boards. Through the ECFMG’s
                                                          ECFMG's certification process, it gives
medical students and medical graduates a certification of eligibility (essentially a license) to apply
for a ACGME [Accreditation Council for Graduate Medical Education] certified residency
program of postgraduate specialty training that can lead to medical licensure of the applicant. A
residency program is a certified program that trains students who have graduated from a medical
school and taken a series of examinations or tests administered by way of the United States Medical
Licensing Examination [the USMLE]. The state medical boards have given ECFMG the power to
examine and certify international medical graduates [IMGs] as competent to undertake residency


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training in the USA. Without the certification (license) from the ECFMG, a foreign medical
graduate cannot start the process of being licensed as a physician in the United States.

       ANSWER:         ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that, among other things, it certifies that foreign medical graduates have met

certain minimum criteria for entry into graduate medical education in the United States. ECFMG

further admits that ACGME has elected to require foreign medical graduates who enter ACGME-

accredited programs to be certified by ECFMG. ECFMG specifically denies that "[t]he
                                                                             “[t]he state

medical boards have given ECFMG the power to examine and certify international medical

graduates [IMGs] as competent to undertake residency training in the USA."
                                                                     USA.” ECFMG denies the

remaining allegations of this paragraph.

        5.      The action of the ECFMG is in granting authority to apply for a residency program
is state action. The ECFMG’s
                     ECFMG's authority, which is in essence a license to apply for a residency
program, has a close nexus to the various state medical boards. Without the ECFMG certificate,
the ACGME postgraduate programs will not permit the applicant to start the training that will in
essence allow the gate to be closed to obtaining a medical residency and eventual license to practice
medicine in the USA. Without the residency training, the medical graduate cannot obtain a full
unrestricted medical license. The state medical boards have granted the power to the ECFMG to
screen foreign medical students for licensure. State action is established because of this delegation
of screening power. Jackson v. Metro Edison Co., 419 U.S. 345, 351.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG admits in part and denies in part the allegations of this paragraph. ECFMG admits that

ACGME has elected to require foreign medical graduates who enter ACGME-accredited programs

to be certified by ECFMG. ECFMG specifically denies that "[t]he
                                                         “[t]he state medical boards have

granted the power to the ECFMG to screen foreign medical students for licensure."
                                                                      licensure.” ECFMG

denies the remaining allegations of this paragraph.

        6.      The ECFMG has placed itself in a position of interdependence with the state
medical boards. The ECFMG cannot be considered to be a private entity because the ECFMG
reports to the state medical boards but also reports to the National Practitioner Data Bank. The



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ECFMG would not exist without the powers delegated by the state medical boards. Burton v.
Wilmington
Wilmington Parkway Authority, 365 U.S. 715, 725 (1961).

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        7.     Because the ECFMG’s
                           ECFMG's actions are delegated state actions, the ECFMG is required
to give both procedural and substantive Fourteenth Amendment due process rights.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

                                JURISDICTION AND VENUE

        8.      The Court has jurisdiction under Diversity of Citizenship, the Civil Rights Act (42
U.S.C.A. 1983) and the Due Process clause of the United States Constitution, with pendent
jurisdiction to consider any claims arising under state law.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied.

       9.      Venue is properly before the Court, since all defendants are located and conduct
business in the Eastern District of Pennsylvania.

       ANSWER:         The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG admits that it is headquartered and conducts business in the Eastern District of

Pennsylvania.

                                           SUMMARY

       10.    In an attempt to close down the USAT and sanction Dr. Tulp, defendant ECFMG
has refused to allow students of USAT to take necessary medical examinations. Defendant
ECFMG has effectively closed USAT, by refusing to release scores for students who paid for the
examinations. Doctors who graduated from USAT have been unable to commence their residency
due to the refusal of the Board to issue an appropriate certification. ECFMG has also sent
           “affidavits” to many USAT students and threatened many students with "irregular
misleading "affidavits"                                                             “irregular


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behavior” in order to sanction Dr. Tulp and force closure of the University, which he founded. He
behavior"
is President, CEO, and an equal owner of the University. Thus, ECFMG tortiously interfered with
the educational contract between the students of USAT, the University, and Dr. Tulp, denied due
process to Dr. Tulp and the students of USAT, and improperly used an "affidavit"
                                                                        “affidavit” [See Exhibit DI
to coerce information from students. [Pinsky letter, See Exhibit A.] In addition, the Board placed
information in the World Directory of Medical Schools, prior to any hearing or legal process,
advising that it would no longer recognize the test scores of USAT graduates after January 1, 2019.
See Exhibit B.

       ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. Moreover, the allegations of this paragraph

refer to written documents that speak for themselves, and Plaintiff's
                                                          Plaintiff’s characterization of them is,

therefore, denied. To the extent that a response is required, ECFMG admits in part and denies in

part the allegations of this paragraph. ECFMG admits that it imposed a limited sanction on

                                           “irregular behavior"
Plaintiff after finding that he engaged in "irregular behavior” (as defined by and consistent with

ECFMG’s
ECFMG's Policies and Procedures Regarding Irregular Behavior), which finding was made after

Plaintiff was given notice of the allegations of "irregular
                                                 “irregular behavior,"
                                                            behavior,” copies of ECFMG’s
                                                                                 ECFMG's Policies

and Procedures Regarding Irregular Behavior and documentary evidence considered making the

finding of "irregular
           “irregular behavior,"
                      behavior,” and an opportunity to be heard at an in-person hearing before

ECFMG’s
ECFMG's Medical Education Credentials Committee. ECFMG further admits that it sent blank

affidavit forms to USAT students applying to ECFMG for services to gather information about

their medical school coursework. ECFMG denies that it "has
                                                      “has refused to allow students of USAT

                          examinations.” ECFMG denies that it "has
to take necessary medical examinations."                      “has effectively closed USAT,

by refusing to release scores for students who paid for the examinations.”
                                                            examinations." ECFMG denies that

“[d]octors who graduated from USAT have been unable to commence their residency due to the
"[d]octors

refusal of the Board to issue an appropriate certification.”
                                             certification." ECFMG denies that the blank affidavits

                           “misleading,” "threatened"
sent to USAT students were "misleading," “threatened” students with "irregular
                                                                    “irregular behavior,"
                                                                               behavior,” were

     “to sanction Dr. Tulp and force closure of
sent "to                                     of” USAT. ECFMG lacks knowledge or information



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sufficient to form a belief about the truth of the allegation that Plaintiff "is
                                                                             “is President, CEO, and an

            of” USAT. ECFMG specifically denies that Plaintiff was denied due process.
equal owner of

ECFMG denies the remaining allegations of this paragraph.

                                   GENERAL ALLEGATIONS

         11.     ECFMG sent to USAT a letter implying that the school would be closed on or about
01/01/19 because the Board would no longer recognize the scores of its students in taking the
three-part United States Medical Licensing Examination. This action prohibits applicants from
sitting for the USMLE, which is required for unrestricted medical licensure.

       ANSWER:          The allegations of this paragraph refer to a letter that is a written document

that speaks for itself, and Plaintiffs
                            Plaintiff’s characterization of it is, therefore, denied. To the extent that

a response is required, ECFMG denies the allegations of this paragraph.

        12.    On 11/21/18, Kara Corrado, J.D., Vice President for Operations of the Board, sent
a letter to counsel for USAT indicating two concerns: 1) that USAT's
                                                                 USAT’s authority to conduct its
                                         “irregular behavior"
medical education program amounted to "irregular    behavior” because USAT had not been certified
by a governmental entity in the United States, and 2) the allegation that USAT was operating
medical school campuses in the United States. See Exhibit E. On October 18, 2018, Lisa Cover, a
Senior Vice President with ECFMG, wrote a letter to Dr. Tulp advising him of the allegation that
               “irregular behavior".
he engaged in "irregular  behavior”. See Exhibit F.

       ANSWER:          The allegations of this paragraph refer to letters that are written documents

                                Plaintiff’s characterization of them is, therefore, denied. To the
that speaks for themselves, and Plaintiffs

extent that a response is required, ECFMG admits in part and denies in part the allegations of this

paragraph. ECFMG admits that Kara Corrado, the ECFMG Vice President of Operations, sent a

letter to counsel for Plaintiff on November 21, 2018 that, inter alia, (i) confirmed Plaintiff would

make personal appearance with his attorneys at a hearing before the ECFMG Medical Education

Credentials Committee on November 28, 2018 in connection with allegations of "irregular
                                                                             “irregular

behavior” against Plaintiff, (ii) corrected numerous misstatements set forth in a letter from counsel
behavior"

for Plaintiff dated November 13, 2018, and (iii) as ECFMG had already done multiple times,

invited Plaintiff and USAT to provide evidence to ECFMG that USAT's
                                                             USAT’s operations in the United



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States were authorized. ECFMG further admits that Lisa Cover, the ECFMG Senior Vice

President for Business Development and Operations, sent a letter to Plaintiff on October 18, 2018,

                                                      “irregular behavior"
which (i) gave Plaintiff notice of the allegations of "irregular behavior” against Plaintiff, (ii)

enclosed numerous documents supporting the allegations of "irregular
                                                          “irregular behavior"
                                                                     behavior” against Plaintiff,

and (iii) invited Plaintiff to make a personal appearance before the ECFMG Medical Education

Credentials Committee at a hearing regarding the allegations of "irregular
                                                                “irregular behavior"
                                                                           behavior” against

                           Committee’s policies and procedures. ECFMG denies the remaining
Plaintiff, pursuant to the Committee's

allegations of this paragraph.

        13.    USAT has a certification from the government of Montserrat, allowing it to operate
temporary venues due to an active volcano on the island. Such certification had been recognized
by the Board without incident since 2003. USAT also operates online courses for the majority of
its basic sciences course requirements via a specially developed SPOC [small platform online
courses, developed by USAT]. A true and correct copy of the certification from Montserrat is
attached and incorporated as Exhibit C.

       ANSWER:         The allegations of this paragraph refer to a written document that speaks for

            Plaintiff’s characterization of it is, therefore, denied. To the extent that a response is
itself, and Plaintiff's

required, ECFMG admits in part and denies in part the allegations of this paragraph. ECFMG

admits that before ECFMG learned of USAT's
                                    USAT’s unauthorized operations in the United States,

ECFMG treated USAT as a foreign medical school located in Montserrat based on authorization

by Montserrat to operate there. ECFMG lacks knowledge or information sufficient to form a belief

about the truth of the remaining allegations of this paragraph and they are, therefore, denied.

         14.     Students from USAT have each paid well over $1,000 to the Board to take
necessary medical exams, and the Board has refused to release their scores because of alleged
misconduct by Dr. Tulp, and an assignment by the Board of "irregular
                                                               “irregular behavior"
                                                                          behavior” arising out of an
                                               “Irregular behavior"
illegal affidavit issued to students of USAT. "Irregular  behavior” may be a permanent admonition
                 physician’s official record, and make residency difficult, if not impossible.
on a student or physician's




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       ANSWER:        ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that a finding of "irregular
                               “irregular behavior"
                                          behavior” results in a permanent annotation of that

finding in ECFMG’s
           ECFMG's records. ECFMG denies the remaining allegations of this paragraph.

        15.    The Board set up a hearing on 11/28/18 for Dr. Tulp, only, in Philadelphia, at the
address in the caption to address so-called "irregular
                                             “irregular behavior".
                                                        behavior”. After a few minutes, with no
witnesses called, Board counsel announced that the hearing was terminated. Prior to the hearing,
                                                                                      “irregular
the Board took the position that Dr. Tulp had the burden of proof on the issue of "irregular
behavior” for which he had been charged by the Board. The Board set 20 minutes as the duration
behavior"
of the hearing. No testimony was taken or exhibits received in evidence, before Board counsel
terminated the hearing. No Transcript of the proceedings has been received. The Board indicated
                                            “irregular behavior"
that on 01/01/19 it will issue a finding of "irregular behavior” to Dr. Tulp effectively closing
USAT.

       ANSWER:        ECFMG admits in part and denies in part the allegations of this paragraph.

ECFMG admits that a hearing about the allegations of "irregular
                                                     “irregular behavior"
                                                                behavior” against Plaintiff was

held on November 28, 2018 before ECFMG’s
                                 ECFMG's Medical Education Credentials Committee pursuant

       Committee’s policies and procedures. ECFMG admits that it allotted 20 minutes for the
to the Committee's

hearing (consistent with ECFMG’s
                         ECFMG's ordinary practice) and that the hearing concluded sooner

because Plaintiff (through his counsel) refused to engage and became argumentative. ECFMG

denies the remaining allegations of this paragraph.

        16.    There was no jurisdiction over, or relationship with, Dr. Tulp to compel him to
attend the hearing by the Board, and he made a special appearance while not agreeing to
jurisdiction. ECFMG has no jurisdiction over Dr. Tulp, or legal relationship with Dr. Tulp, or the
power to enter any sanction against him. The Board has no contractual or statutory authority over
Dr. Tulp.

       ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

       17.     The Board would not give Dr. Tulp sufficient discovery to conduct an adequate
defense. Also, the Board has never requested any curricula, student records, or any documentation
from USAT.

       ANSWER:        ECFMG denies the allegations of this paragraph.


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       18.      The term "irregular
                          “irregular behavior"
                                     behavior” is void for vagueness, since "irregular
                                                                            “irregular behavior"
                                                                                       behavior” is
so broad that it essentially amounts to any behavior which the Board does not approve. There is
                                       “irregular behavior"
no intelligible standard to ascertain "irregular  behavior” with the exception of the fiat by the
ECFMG. There is no due process mechanism to effectively challenge a finding of "irregular“irregular
behavior” which can amount to an indefinite suspension of United States medical licenses by the
behavior"
Board without formal notification of such assignment to the individual concerned.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        19.     There is no reasonable way to ascertain the standards for "irregular
                                                                          “irregular behavior"
                                                                                     behavior” in the
instant case, prior to any adjudication.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        20.    The Board has effectively closed USAT by not allowing its students and graduates
to complete the necessary medical examinations beyond January 1, 2019, and has tortiously
interfered with the relationship of the students of USAT and Dr. Tulp, the President of the
University.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

                                    FIRST CAUSE OF ACTION
                                        Plaintiff v. ECFMG

        21.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.

        22.    This cause of action is for the illegal actions of the ECFMG (the Board) in tortiously
interfering with the contract between the students of USAT and plaintiff Dr. Orien Tulp, the
University President and co-owner.




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       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

       23.     The Board allegedly refused to release scores of necessary medical exams to
students and graduates of USAT, de facto, closing the University.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

       24.    The Board published, in the World Directory of Medical Schools, a warning to
students that it would not recognize USAT with respect to necessary medical qualifying
examinations after January 1, 2019. See Exhibit B.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

        25.     The Board sent illegal "affidavits"
                                        “affidavits” to students in an attempt to intimidate them from
continuing as students at USAT. These alleged affidavits threatened medical students with perjury,
            “irregular behavior",
as well as "irregular  behavior”, and also directed the students to provide certain documentary
evidence, such as a copy of their passport. This "affidavit"
                                                   “affidavit” by the Board was an abuse of process,
and constituted fraudulent or negligent representation, since it was tantamount to a "subpoena
                                                                                             “subpoena
       tecum” without first having a legal proceeding. The Board had no power to issue these so-
duces tecum"
called affidavits. These affidavits are also a violation of Federal Education Records Protection Act
(FERPA). Students are predominantly US citizens and are entitled to such protection under
FERPA.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

       26.      The purpose of the ECFMG doing this was to effectively remove Dr. Tulp as
President of the University by discouraging students from registering or continuing their education
at USAT, including verbal recommendations from ECFMG case workers. The Board issued
“affidavits” and threatened to find students of USAT guilty of "irregular
"affidavits"                                                   “irregular behavior".
                                                                          behavior”.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

         27.   There was no hearing before the students of USAT were sent emails by the ECFMG
telling them that they may have been assigned "irregular
                                              “irregular behavior"
                                                         behavior” and that their scores would not
be released to medical institutions to be accepted for residency applications or other ECFMG
services.



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       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

        28.   ECFMG alleges to be a private organization which permits the administration of
qualifying examinations for foreign medical students and international medical graduates and
passes information to the state licensing agencies in the United States. De facto, the ECFMG is a
quasi-governmental agency that issues certificates, that are essentially licenses, to foreign medical
students and physicians upon completion of their certification process, and it holds itself out to
medical students and others as a governmental entity.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

        29.     As a result of the illegal actions of the Board in refusing to release the scores of the
students of the plaintiff, the plaintiff has suffered, and will continue to suffer, irreparable harm
including, but not limited to, the immediate closing of USAT College of Medicine and the removal
                                                                                   “irregular behavior"
of Dr. Tulp as a medical educator under the cloud of an indefinite sentence of "irregular     behavior”
for a duration of not less than 5 years.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no

response to this paragraph is required.

         30.    Dr. Tulp will also suffer loss of his position as President of the University, as well
as direct monetary damages resulting from the closing of USAT, arising out of the actions of
ECFMG to close USAT, and to preclude its students from practicing medicine or engaging in
postgraduate training in the USA, and the discouraging of any students from attending an
institution where they cannot receive required certification from the ECFMG Board to qualify for
licensure or registration to practice medicine in the USA.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this paragraph is required.

        WHEREFORE, the Court is requested to order ECFMG to immediately resume processing
the medical examinations of students of USAT, and release their examination scores, and remove
the negative advisory from the sponsor notes on the World Directory of Medical Schools listing
for the USAT College of Medicine, and to award such other injunctive and equitable relief as
appropriate, plus damages, interest, and attorneys fees.

       ANSWER:         The Court dismissed Plaintiffs
                                           Plaintiff’s First Cause of Action, and thus no response

to this WHEREFORE clause is required.




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                                   SECOND CAUSE OF ACTION
                                       Plaintiff v. ECFMG

        31.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.

        32.     This cause of action is for violation of due process by the ECFMG (the Board).

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied.

        33.     The Board violated the due process rights of Dr. Tulp by finding him guilty of
“irregular behavior"
"irregular behavior” when it had no jurisdiction over Dr. Tulp, or any direct contact with him prior
to a finding of "irregular
                “irregular behavior".
                           behavior”.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        34.     The Board violated the due process rights of Dr. Tulp by illegally withholding
necessary medical examination for USAT students and graduates in an attempt to sanction plaintiff
and to force closure of USAT.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        35.     The Board violated the due process rights of Dr. Tulp by sending misleading
affidavits to students of USAT, which affidavits were illegal and designed to intimidate the
students from attending USAT. The Board stated that as January 1, 2019, students of USAT may
not apply to ECFMG for certification. Essentially, the Board engaged in an illegal scheme to
destroy USAT and Dr. Tulp by publishing the demise of the University in the World Directory of
Medical Schools before any notification of such intent by the ECFMG.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.


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       36.     The Board violated the due process rights of Dr. Tulp by failing to award him or
the students of his college a legitimate hearing before taking adverse action. The Board
commingled the adjudicatory and investigative functions, particularly through the use of affidavits
sent to students to secure documentary evidence under the threat of "irregular
                                                                        “irregular behavior".
                                                                                   behavior”. See
Lyness v. Corn., State Bd. of
                           of Medicine 529 Pa. 535 (1992).

        ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

         37.     ECFMG is estopped from denying that it is a governmental or quasi-governmental
entity, inter alia, because no disclaimer that it was a private entity to that effect was placed on the
affidavits sent to thousands of USAT students. In point of fact, the opposite was implied.

        ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        38.    The Board has acted as a governmental entity, and is estopped from denying the
same.

        ANSWER:        The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

       39.      When the Board corresponded with USAT and with its students, there was no
disclaimer that the Board was not acting on behalf of any governmental authorization, or that it
was allegedly a private entity, and the students were not required by law to respond to the affidavit
or provide any documents. Students were required to complete "affidavits"
                                                                    “affidavits” under penalty of a
finding of "irregular
           “irregular behavior"
                      behavior” and denial of ECFMG services.

        ANSWER: The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        40.   Under the doctrine of state action, the Board has failed to exercise due process in
its dealings with USAT and its students as is required by the Due Process Clause of the
Pennsylvania and US Constitutions.



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        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

       41.     The Board has failed to show due process to USAT students, as heretofore
mentioned. The affidavits indicated that the Board has illegally commingled the adjudicatory and
prosecutorial functions, in violation of due process.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

      42.      As a result of the Board acting as a quasi-governmental entity, Dr. Tulp and his
University suffered the damages as previously enumerated.

        ANSWER:           The allegations of this paragraph contain conclusions of law to which no

response is required and they are, therefore, denied. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

        WHEREFORE, the Court is requested to order ECFMG to immediately resume processing
the medical examinations of students of USAT, and release their examination scores, and remove
the negative advisory from the sponsor notes on the World Directory of Medical Schools listing
for the USAT College of Medicine, and to award such other injunctive and equitable relief as
appropriate, plus damages, interest, and attorneys fees.

        ANSWER:           In response to this WHEREFORE clause, ECFMG denies that Plaintiff is

entitled to any type of remedy, relief, or damages whatsoever, including the relief requested in this

WHEREFORE clause. ECFMG denies the remaining allegations of this paragraph.

                                   THIRD CAUSE OF ACTION
                                       Plaintiff v. ECFMG

        43.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.




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       44.     This is a cause of action for fraudulent misrepresentation, abuse of process, and
negligent representation against the ECFMG (the Board).

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Third Cause of Action, and thus no response

to this paragraph is required.

       45.     As heretofore indicated, the Board committed the aforementioned torts through the
following acts and omissions:

               (a)     representing itself as an official governmental agency;

               (b)     distributing affidavits to intimidate USAT students, which affidavits did
                       not have a disclaimer or conform to law;

               (c)     placing misleading information about USAT into the World Directory of
                       Medical Schools without notice, and which was designed to intimidate
                       students and to effectively force closure of USAT;

               (d)     using illegal affidavits whose purpose was to gather documents and
                       evidence of alleged culpable behavior by USAT and Dr. Tulp, all of which
                       was in violation of FERPA, the Family Educational Rights and Privacy Act;

               (e)     violating FERPA by not receiving the requisite consent of students to their
                       educational records.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Third Cause of Action, and thus no response

to this paragraph and its subparts is required.

        46.     As indicated in the prior counts, the Board has held itself out as a governmental
agency. The Board has never indicated to those that it dealt with, in particular the students, that it
is not an official governmental agency.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Third Cause of Action, and thus no response

to this paragraph is required.

      47.     Accordingly, the Board is estopped by its conduct to deny that it is required to
show due process, as if it were a governmental entity.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Third Cause of Action, and thus no response

to this paragraph is required.

       WHEREFORE, the Court is requested to order ECFMG to immediately resume processing
the medical examinations of students of USAT, and release their examination scores, and remove
the negative advisory from the sponsor notes on the World Directory of Medical Schools listing


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for the USAT College of Medicine, and to award such other injunctive and equitable relief as
appropriate, plus damages, interest, and attorneys fees.

        ANSWER:           The Court dismissed Plaintiff's
                                              Plaintiff’s Third Cause of Action, and thus no response

to this WHEREFORE clause is required.

                                  FOURTH CAUSE OF ACTION
                                    Plaintiff v. All Defendants

        48.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        ANSWER:           ECFMG incorporates its responses to the previous paragraphs as though

fully set forth herein.

       49.     This cause of action arises out of the 12/14/18 letter by Dr. William W. Pinsky,
which is attached and incorporated as Exhibit A.

        ANSWER:           The Court dismissed Plaintiff's
                                              Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

       50.     Dr. Pinsky is the President and CEO of the ECFMG, and in that capacity, he
authorized the illegal actions of the ECFMG, heretofore described.

        ANSWER:           The Court dismissed Plaintiff's
                                              Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

       51.    On 12/14/18, Dr. Pinsky sent a letter [Exhibit A] to Dr. Orien L. Tulp, addressing
him as Professor and President of USAT at its main location in Montserrat.

        ANSWER:           The Court dismissed Plaintiff's
                                              Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        52.    In this letter, Dr. Pinsky indicated, inter alia, essentially, that the ECFMG
Committee had determined that, for a minimum period of five years, from the date of the letter,
that Dr. Tulp was banned from submitting any documents or having any dealings with the ECFMG
on behalf of USAT or otherwise.


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       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required.

        53.    This indefinite ban of Dr. Tulp for allegedly engaging in "irregular
                                                                         “irregular behavior"
                                                                                    behavior” was
arbitrarily imposed by the ECFMG Committee for alleged unproven false statements, none of
which allegations were actually documented.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        54.    This ban effectively precludes Dr. Tulp from operating, or being involved with,
any medical school, in any capacity, for an indefinite period of time, subject to the unfettered
discretion of ECFMG.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        55.     This ban effectively closes USAT, as an institution for medical students, for an
indefinite period of time, if not permanently.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        56.     Actions which allegedly are announced in Dr. Pinsky's
                                                                Pinsky’s letter have already been
instituted by the ECFMG such as the ban on the World Directory of Medical Schools website and
the shutdown of the portal and the blocking of student scores and the affidavits.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        57.    The ban by the ECFMG, as set forth in the letter of Dr. Pinsky, also means that the
operations of the USAT in the United States must be shut down, and the students from the United
States will be separated from USAT, which will have to be closed if the actions of the ECFMG
are not reversed. Two of the three administrative conference venues have been closed due to the


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actions of the ECFMG. Students have been forced to transfer to other medical schools to continue
their education past January 1, 2019. As previously mentioned, the bulk of the USAT Basic
Sciences Program is delivered via an advanced SPOC [Small Program Online Course program
developed by USAT and delivered worldwide, thereby negating any requirement for a fixed US
Campus]. The ECFMG or Dr. Pinsky has never asked for any information about the structure or
content of the Basic Sciences Program.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph is required. To the extent that a response is required, ECFMG denies

the allegations of this paragraph.

        58.     The actions of the ECFMG on Dr. Tulp and the students of USAT amount to a
violation of procedural and substantive due process, as follows:

               (a)     banning Dr. Tulp without a proper hearing;

               (b)     banning Dr. Tulp without an evidentiary basis;

               (c)     forcing closure of USAT and causing its students to be dismissed in an
                       arbitrary and capricious manner;

               (d)     requiring, at a hearing on 11/28/18, that USAT assume the burden of proof
                       and allotting 20 minutes for the hearing;

               (e)     terminating the hearing on 11/28/18 without receiving any evidence from
                       Dr. Tulp;

               (f)
               (f)     finding Dr. Tulp guilty of "irregular
                       fmding                     “irregular behavior"
                                                             behavior” without jurisdiction and due
                       process, and effectively forcing closure of USAT College of Medicine
                       without legal process, and constructively dismissing the students of USAT
                       in violation of the law.

       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this paragraph and its subparts is required. To the extent that a response is required,

ECFMG denies the allegations of this paragraph and its subparts.

        WHEREFORE, the Court is requested to order ECFMG to immediately resume processing
the medical examinations of students of USAT, and release their examination scores, and remove
the negative advisory from the sponsor notes on the World Directory of Medical Schools listing
for the USAT College of Medicine, and to award such other injunctive and equitable relief as
appropriate, plus damages, interest, and attorneys fees.




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       ANSWER:         The Court dismissed Plaintiff's
                                           Plaintiff’s Fourth Cause of Action, and thus no

response to this WHEREFORE clause is required. To the extent that a response is required,

ECFMG denies the allegations of this paragraph.

                                  AFFIRMATIVE DEFENSES

       Without assuming the burden of proof on any matters that would otherwise rest with

Plaintiff, and expressly denying any and all wrongdoing, ECFMG alleges the following affirmative

defenses. ECFMG presently has insufficient knowledge or information to form a belief as to

whether there are additional defenses than those stated below. Therefore, ECFMG expressly

reserves the right to assert additional defenses.

       1.      The Complaint fails to state a due process claim upon which relief may be granted.

       2.      Plaintiff’s due process claim fails because ECFMG afforded Plaintiff due process.
               Plaintiff's

       3.      Plaintiff’s due process claim fails because Plaintiff had notice and an opportunity
               Plaintiff's

to be heard.

       4.      Plaintiff’s due process claim is barred because Plaintiff has not suffered any actual
               Plaintiff's

injury or damage.

       5.      Plaintiff is not entitled to relief under the doctrine of unclean hands.

       6.      Plaintiff failed to mitigate his purported damages.




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                                 Respectfully submitted,

DATED: April 9, 2019              /s/ Elisa P. McEnroe
                                  Elisa P. McEnroe, PA Bar No. 206143
                                  Matthew D. Klayman, PA Bar No. 319105
                                  MORGAN, LEWIS & BOCKIUS, LLP
                                  1701 Market Street
                                  Philadelphia, PA 19103-2921
                                  Telephone:     +1.215.963.5917
                                  Facsimile:
                                  Facsimile•     +1.215.963.5001
                                  elisa.mcenroe@morganlewis.com
                                  matthew.klayman@morganlewis.com

                                  Attorneys for
                                            for the Educational Commission for
                                                                            for
                                  Foreign Medical Graduates




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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon the following counsel of record via the ECF

system and/or e-mail:


                              TOMMY SWATE
                              403 WILD PLUM
                              HOUSTON, TX 77013

                              WILLIAM C. REIL
                              1515 MARKET ST SUITE 1200
                              PHILADELPHIA, PA 19102
                              215-564-1635
                              Fax: 215-564-4292
                              Email: billreillaw@gmail.com

                                        for Plaintiffs'
                              Attorneysfor  Plaintiffs




DATED: April 9, 2019                    /s/ Elisa P. McEnroe
                                        /s/Elisa
                                        Elisa P. McEnroe




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 DR. ORIEN L. TULP,
                                               )
                                               )
                                               )      Case No. 2:18-cv-05540-WB
                      Plaintiff,
                                               )
                                               )      Hon. Wendy Beetlestone
 v.
                                               )
 EDUCATIONAL COMMISSION FOR
                                               )
 FOREIGN MEDICAL GRADUATES and
                                               )
                                               )
 DR. WILLIAM W. PINSKY,
                                               )
                                               )
                      Defendants.
                                               )


               DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
               DEFENDANT'S

       For the reasons set forth in the attached memorandum of law, Defendant Educational

                                         (“ECFMG”), by and through its undersigned counsel,
Commission for Foreign Medical Graduates ("ECFMG"),

moves for summary judgment pursuant to Federal Rule of Civil Procedure 56.


 Dated: May 3, 2019                            Respectfully submitted,

                                               /s/ Elisa P. McEnroe
                                               /s/Elisa
                                               Elisa P. McEnroe, PA Bar No. 206143
                                               Matthew D. Klayman, PA Bar No. 319105
                                               MORGAN, LEWIS & BOCKIUS, LLP
                                               1701 Market Street
                                               Philadelphia, PA 19103-2921
                                               Telephone: +1.215.963.5917
                                               Facsimile:     +1.215.963.5001
                                               elisa.mcenroe@morganlewis.com
                                               matthew.klayman@morganlewis.com

                                                        for the Educational Commission for
                                               Attorneysfor                             for
                                               Foreign Medical Graduates




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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this date, I caused true and correct copies of the foregoing

document and its attachments to be served via electronic filing upon the following counsel of

record using the ECF system and/or via email:


                              TOMMY SWATE
                              403 WILD PLUM
                              HOUSTON, TX 77013

                              WILLIAM C. REIL
                              1515 MARKET ST SUITE 1200
                              PHILADELPHIA, PA 19102
                              215-564-1635
                              Fax: 215-564-4292
                              Email: billreillaw@gmail.com

                                        for Plaintiff
                              Attorneysfor  Plaintiff




DATED: May 3, 2019                                      /s/ Elisa P. McEnroe
                                                        /s/Elisa
                                                        Elisa P. McEnroe




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA



DR. ORIEN L. TULP,
                                        )
                                        )
                                        )      Case No. 2:18-cv-05540-WB
                     Plaintiff,
                                        )
                                        )      Hon. Wendy Beetlestone
v.
                                        )
EDUCATIONAL COMMISSION FOR
                                        )
FOREIGN MEDICAL GRADUATES and
                                        )
                                        )
DR. WILLIAM W. PINSKY,
                                        )
                                        )
                     Defendants.
                                        )


     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT EDUCATIONAL
          COMMISSION FOR FOREIGN MEDICAL GRADUATES’
                                          GRADUATES'
                MOTION FOR SUMMARY JUDGMENT




Dated: May 3, 2019                      Elisa P. McEnroe, PA Bar No. 206143
                                        Matthew D. Klayman, PA Bar No. 319105
                                        MORGAN, LEWIS & BOCKIUS, LLP
                                        1701 Market Street
                                        Philadelphia, PA 19103-2921
                                        Telephone: +1.215.963.5917
                                        Facsimile:     +1.215.963.5001
                                        elisa.mcenroe@morganlewis.com
                                        matthew.klayman@morganlewis.com

                                                 for the Educational Commission for
                                        Attorneysfor                             for
                                        Foreign Medical Graduates




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I.      INTRODUCTION

       Defendant Educational Commission for Foreign Medical Graduates ("ECFMG")
                                                                      (“ECFMG”) moves

for summary judgment as to Plaintiff Dr. Orien L. Tulp's
                                                  Tulp’s common law due process claim, the sole

claim remaining in this action, because the undisputed material facts confirm that Dr. Tulp was

                                                   relief 1l
afforded due process and he is not entitled to any relief.

        In his Complaint, Dr. Tulp alleges that ECFMG violated his due process rights by deciding

not to accept documents signed by Dr. Tulp after finding that he made false representations to

ECFMG in violation of ECFMG's
                      ECFMG’s policies and procedures. But it is undisputed that ECFMG took

action as to Dr. Tulp after giving Dr. Tulp (a) repeated notice of the allegations and evidence

against him, and (b) multiple opportunities to present a substantive response—in writing and in

person—to the allegations and evidence against him. Indeed, following a lengthy hearing earlier

in this case on Dr. Tulp's
                    Tulp’s Motion for a Preliminary and/or Permanent Injunction (which was

denied) and considering the facts here, this Court already concluded that "ifin
                                                                          “[i]n this case, there was

notice and an opportunity to be heard"
                                heard.” SOF ¶
                                            ¶ 79. Discovery confirms that the Court's
                                                                              Court’s

conclusion cannot genuinely be disputed. Moreover, discovery established that Dr. Tulp is entitled

to neither legal nor equitable relief given the complete absence of proof of damages resulting from

the alleged due process violation and Dr. Tulp’s
                                          Tulp's failure to satisfy the requirements for a permanent

injunction.

       Accordingly, there remain no genuine issues of material fact, and ECFMG is entitled to

                                   Tulp’s sole remaining claim. This Court should grant summary
judgment as a matter of law on Dr. Tulp's




11   On March 26, 2019, the Court dismissed all claims against Dr. William W. Pinsky. See
ECF No. 29. As a result, the Motion for Summary Judgment is brought by and on behalf of
ECFMG only, the sole remaining defendant.

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judgment in favor of ECFMG on Dr. Tulp’s
                                  Tulp's common law due process claim, dismissing the

remainder of Dr. Tulp’s
                 Tulp's case in its entirety.

II.       BACKGROUND

          A.     The Educational Commission for Foreign Medical Graduates

          ECFMG is a private non-profit organization that promotes quality health care for the public

by certifying physicians who receive their basic medical degree from an international medical

school (known as international medical graduates or "IMGs")
                                                    “IMGs”) for entry into U.S. graduate medical

education. SOF I¶¶ 1-2. ECFMG’s
                        ECFMG's responsibilities include (among other things): (i) certifying the

readiness of IMGs for entry into graduate medical education and health care systems in the United

States through an evaluation of their qualifications, (ii) providing complete, timely, and accessible

information to IMGs regarding entry into graduate medical education in the United States, and (iii)

verifying credentials and providing other services to health care professionals worldwide. SOF

li¶ 13.

          To verify an applicant's
                       applicant’s credentials as part of ECFMG's
                                                          ECFMG’s certification process, ECFMG

collects documentation, including records relating to an applicant's
                                                         applicant’s attendance at a recognized

international medical school. SOF ¶
                                  ¶ 4. An "international
                                          “international medical school"
                                                                 school” is "an
                                                                            “an education facility

                             of the United States and Canada with its primary campuses and main
located in a country outside of

                           country.” SOF ¶ 5 (emphasis added). If an international medical school
operations located in that country."

has a branch campus outside the country where its primary campus is located, ECFMG "may
                                                                                   “may

require confirmation from the appropriate government authority"
                                                     authority” in the branch campus country

     “the branch campus is authorized to operate as a medical school in the branch campus country"
that "the                                                                                 country”

                                          “awards degrees that meet the medical education
and that the international medical school "awards

eligibility requirements for licensure to practice medicine in the branch campus country."
                                                                                 country.” SOF

¶ 6.
¶

                                                   2


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               applicant’s record is verified and complete and the applicant passes certain
       Once an applicant's

required substantive exams, ECFMG issues the applicant a certificate. SOF ¶
                                                                          ¶ 7. This certificate

signals that an IMG seeking admission to a U.S. graduate medical program has met certain

minimum standards of eligibility, including graduation from a bona fide
                                                                    fide international medical

school. SOF ¶
            ¶ 8.

       B.       ECFMG’s
                ECFMG's Policies and Procedures Regarding Irregular Behavior

       ECFMG’s
       ECFMG's publicly available Policies and Procedures Regarding Irregular Behavior define

                      “all actions or attempted actions on the part of applicants . . . or any other
irregular behavior as "all

person that would or could subvert the examination, certification or other processes, programs, or

services of ECFMG.”
            ECFMG." SOF ¶
                        ¶ 9. Examples of irregular behavior include, but are not limited to,

failing to comply with an ECFMG policy, procedure and/or rule, or providing false information to

ECFMG. SOF ¶
           ¶ 10.

       ECFMG’s
       ECFMG's Policies and Procedures Regarding Irregular Behavior set forth the following

steps for addressing suspected irregular behavior:

       •   Once ECFMG becomes aware of potential irregular behavior, ECFMG staff

            investigates the situation. SOF ¶
                                            ¶ 13(a). Depending on the specific circumstances of

            the potential irregular behavior, that investigation can involve the gathering of

            additional information. SOF ¶
                                        ¶ 13(a).

       •   “If ECFMG staff finds that there exists a reasonable basis to conclude that an individual
            "If

            may have engaged in irregular behavior, the matter will be referred to the Medical

            Education Credentials Committee[,]"
                                  Committee[,]” a sub-committee of the ECFMG Board of

            Trustees. SOF ¶
                          ¶ 13(b).

       •   Individuals alleged to have engaged in irregular behavior are "advised
                                                                          “advised in writing of the

            nature of the alleged irregular behavior and provided with a copy of the Policies and
                                                  3


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                                    Behavior.” SOF ¶ 13(c). In practice, they are also
     Procedures Regarding Irregular Behavior."

     provided with a copy of materials supporting the allegation of irregular behavior that

     are to be provided to the Medical Education Credentials Committee. SOF ¶
                                                                            ¶ 45.

•   Individuals alleged to have engaged in irregular behavior are also given "an
                                                                              “an opportunity

     to provide written explanation and to present other relevant information”
                                                                  information" to ECFMG.

     SOF ¶
         ¶ 13(d). They "may
                       “may also request the opportunity to appear personally before the

                                   Committee” to testify under oath (with representation
     Medical Education Credentials Committee"

     by counsel, if desired) about the allegations of irregular behavior. SOF ¶
                                                                              ¶ 13(e).

•   After the Medical Education Credentials Committee reviews the evidence—including

     any written explanation, testimony, or other relevant information provided by the

     individual alleged to have engaged in irregular behavior—the Medical Education

     Credentials Committee votes on whether the allegations of irregular behavior are

     founded. SOF ¶
                  ¶ 13(h).

•   If the Medical Education Credentials Committee determines that the allegations of

     irregular behavior are founded, "the
                                     “the Medical Education Credentials Committee will

                                                                         behavior,” and
     determine what action(s) will be taken as a result of the irregular behavior,"

     ECFMG notifies the individual as to the Medical Education Credentials Committee's
                                                                           Committee’s

     decisions. SOF ¶
                    ¶ 13(h)-(i).

•   Individuals found to have engaged in irregular behavior may appeal the Medical

     Education Credentials Committee's
                           Committee’s finding to ECFMG's
                                                  ECFMG’s Review Committee for

     Appeals, another sub-committee of the ECFMG Board of Trustees made up of

     members independent of the Medical Education Credentials Committee. SOF ¶
                                                                             ¶ 13(j).




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            They also may petition the Medical Education Credentials Committee to reconsider its

            finding.
            fmding. SOF ¶
                        ¶ 14.

       C.      Dr. Tulp Provided False Information to ECFMG During Its Investigation of
               USAT’s
               USAT's Unauthorized Operations in the United States.

       Plaintiff Dr. Tulp is the President of the University of Science, Arts, and Technology

           (“USAT”), a medical school with its primary campus and main operations supposedly
Montserrat ("USAT"),

in Montserrat. SOF ¶
                   ¶ 15. Even though Dr. Tulp is affiliated with USAT, he testified in this case

that he has never earned money from USAT. SOF 'IrIf
                                               ¶¶ 18-19. Rather, he has been retired for

decades and his income is derived entirely from pensions. SOF ¶
                                                              ¶ 20.

       In mid-2018, ECFMG received information indicating that USAT was operating a campus

and providing medical education in Miami, Florida. SOF ¶
                                                       ¶ 21. ECFMG had never received

evidence demonstrating that USAT had authorization from the United States or Florida to operate

a branch campus in Miami. SOF ¶
                              ¶ 23.

       Accordingly, on August 21, 2018, ECFMG sent a letter to Dr. Tulp requesting that Dr.

Tulp "provide
     “provide documentation from the United States Department of Education and/or the Florida

Department of Education confirming that USAT's
                                        USAT’s Miami branch campus is authorized to operate

as a medical school in the United States.”
                                  States." SOF ¶
                                               ¶ 22. ECFMG requested information covering

“the whole time period that the USAT Miami branch campus has been in operation."
"the                                                                 operation.” SOF ¶
                                                                                     ¶ 23.

       Later that day, Dr. Tulp responded to ECFMG via email:

       This is incorrect information. The Miami location is an information and testing site only,
       where a pre-usmle examination [an NBME] may be administered, and an Orientation for
       new students is conducted prior to their traveling to the Caribbean.. [sic] It is NOT a
       campus. Our ONLY Campus is located in Olveston, Montserrat, British West Indies.

       Actually, recall that Montserrat is a volcanic Island, and the license issued to USAT in
       September, 2003 DOES actually permit the establishment of off-campus lecture and
       administrative sites as needed. USAT has students on island on a year round basis in its
       origination.


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SOF ¶ 24.

       In the weeks that followed, ECFMG received additional information suggesting that Dr.

Tulp’s
Tulp's statement to ECFMG regarding USAT purportedly not providing education in the United

States was false and that USAT was actually operating multiple satellite campuses in cities across

the United States. SOF ¶
                       ¶ 25. In light of the additional information confirming that Dr. Tulp's
                                                                                        Tulp’s

representations to ECFMG were false, ECFMG sent another letter to Dr. Tulp on September 14,

2018, advising him that ECFMG was continuing its review of the matter to "ensure
                                                                         “ensure that

information regarding international medical schools and their students provided to ECFMG

complies with ECFMG policies and requirements."
                                 requirements.” SOF ¶
                                                    ¶ 26. As part of that ongoing review,

ECFMG informed Dr. Tulp that it had "reached
                                    “reached out to students and graduates of USAT in order to

collect information from them regarding their attendance at USAT"
                                                            USAT” and that "USAT
                                                                           “USAT students and

graduates seeking services related to ECFMG Certification . . . must complete and submit an

affidavit attesting to the accuracy of the medical school information provided to ECFMG.”
                                                                                  ECFMG." SOF

¶ 26. The affidavit asked USAT students and graduates to certify (1) their dates of attendance at
¶

USAT, and (2) the location where they took their basic science courses. SOF ¶
                                                                            ¶ 27.

       More than 300 students submitted affidavits to ECFMG indicating that they took classes

in the United States, and not a single student indicated that he or she took all of his or her basic

science courses in Montserrat. SOF ¶
                                   ¶ 28. There were also a "number
                                                           “number of affidavits"
                                                                      affidavits” from USAT

students where "Dr.
               “Dr. Tulp ha[d] provided information that conflicted with the affidavit information

that ECFMG got from the students."
                        students.” SOF ¶
                                       ¶ 29. As a result, ECFMG circulated a second affidavit

to USAT students and graduates, in which ECFMG sought information about whether USAT

                                  “advance standing"
students and graduates were given "advance standing” or exempted from taking required courses

at USAT based on credits earned outside of USAT. SOF ¶
                                                     ¶ 30.



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       D.     ECFMG Gave Dr. Tulp Notice of Allegations of His Irregular Behavior.

       On October 18, 2018, ECFMG sent a letter to Dr. Tulp advising him of an allegation that

he engaged in irregular behavior by providing false information to ECFMG. SOF 'Irlf
                                                                              ¶¶ 31-36. The

letter summarized the allegations in the opening paragraph as follows:

       Specifically, you provided false information to ECFMG when you (1) notified ECFMG
       that USAT does not operate a branch campus in Miami, Florida and (2) certified to the
       attendance dates of several USAT students and graduates when ECFMG has information
       that these students were not attending USAT during some of the time periods to which you
       certified. The details of ECFMG’s
                                 ECFMG's allegation are set forth below.

SOF ¶
    ¶ 32. The letter went on to describe at length the allegations against Dr. Tulp. SOF 'Irlf
                                                                                         ¶¶ 33-

35.

       The letter informed Dr. Tulp that ECFMG’s
                                         ECFMG's Medical Education Credentials Committee

would be meeting on November 28, 2018 to address the allegations of irregular behavior against

him. SOF ¶
         ¶ 35. The letter also listed and included many of the documents that would be presented

to the Medical Education Credentials Committee in connection with their review of the allegations

concerning Dr. Tulp. SOF ¶
                         ¶ 35. All of the documents that would be presented to the Medical

Education Credentials Committee were provided later to Dr. Tulp's
                                                           Tulp’s attorneys before the November

28 meeting. SOF 'Irlf
                ¶¶ 45-46.

       E.     Dr. Tulp Received an Opportunity to Be Heard Regarding Allegations of His
              Irregular Behavior.

       In its October 18, 2018 letter, ECFMG invited Dr. Tulp to submit to ECFMG a written

response to the allegations of irregular behavior and any relevant information that he wanted

ECFMG to consider in connection with the allegations of irregular behavior. SOF ¶
                                                                                ¶ 35. It also

invited Dr. Tulp to appear personally and with counsel before the Medical Education Credentials

Committee on November 28, 2018, which Dr. Tulp elected to do. SOF ¶
                                                                  ¶ 35.




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       Before the meeting of the Medical Education Credentials Committee, Dr. Tulp’s
                                                                              Tulp's counsel

communicated with ECFMG about the allegations of irregular behavior and the Medical Education

Credentials Committee. SOF 'Irlf
                           ¶¶ 37-46. ECFMG also provided Dr. Tulp’s
                                                             Tulp's counsel with copies of

materials that the Medical Education Credentials Committee would review in connection with the

allegations of irregular behavior concerning Dr. Tulp. SOF In
                                                           ¶¶ 45-46.

       On November 28, 2018, Dr. Tulp appeared before the Medical Education Credentials

Committee along with his two attorneys. SOF ¶
                                            ¶ 47. ECFMG typically allows only one attorney

to attend these meetings on behalf of an individual suspected of irregular behavior, but in this

instance, it granted Dr. Tulp’s
                         Tulp's request to bring both of his attorneys. SOF ¶
                                                                            ¶ 39. One of his

attorneys made an opening statement, in which he objected to the Medical Education Credentials

Committee’s authority and procedures; he did not present a substantive response to the allegations
Committee's

of irregular behavior. SOF 'Irlf
                            ¶¶ 51-54. He concluded by stating, "That
                                                               “That is our opening statement. If

you have any questions, you can address them to me. Dr. Tulp will not be answering any

questions.” SOF ¶ 54 (emphasis added). Counsel for ECFMG repeatedly invited Dr. Tulp’s
questions."                                                                     Tulp's

counsel (and Dr. Tulp himself) to present a substantive response to the allegations of irregular

behavior or the materials provided to Dr. Tulp and his counsel before the meeting. SOF ¶
                                                                                       ¶ 55.

                               Tulp’s counsel stated on the record, "Dr.
After much back and forth, Dr. Tulp's                               “Dr. Tulp is not going to be

talking today. The next time you
                             you hear him talk is going to be in federal
                                                                 federal court."
                                                                         court.” SOF ¶ 56

(emphasis added). After several more unsuccessful attempts by counsel for ECFMG to elicit a

substantive response from Dr. Tulp and his counsel regarding the allegations of irregular behavior,

counsel for ECFMG adjourned the meeting. SOF I¶¶ 57-62. A full read of the transcript gives a

                        Tulp’s opportunity (and refusal) to be heard. See JA0139-JA0171.
complete picture of Dr. Tulp's




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       F.      ECFMG Determined Dr. Tulp Engaged in Irregular Behavior.

       By letter dated December 14, 2018, ECFMG notified Dr. Tulp that the Medical Education

Credentials Committee had completed its review and determined that Dr. Tulp had engaged in

irregular behavior. SOF ¶
                        ¶ 63. As a result, ECFMG decided it would "not
                                                                  “not accept any documents

signed/certified by [Dr. Tulp]
                         Tull)] for ECFMG on behalf of USAT, or any other medical school, for a

minimum of five years from today; thereafter, the prohibition shall end only upon a petition to

ECFMG conclusively demonstrating to the satisfaction of the ECFMG Committee a familiarity

                                          policies.” SOF ¶
with, and willingness to adhere to, ECFMG policies."     ¶ 63. The action taken by ECFMG

does not prevent Dr. Tulp from operating a medical school in Montserrat or otherwise serving as

a professor or administrator at a medical school because any medical school affiliated with Dr.

Tulp could authorize a different official to sign documents for ECFMG. SOF 'IrIf
                                                                           ¶¶ 64-65. Indeed,

USAT may continue to submit documents to ECFMG because it has other "authorized
                                                                    “authorized

signatories.” SOF ¶
signatories."     ¶ 65. Thus, the limited practical effect of the irregular behavior finding is that

ECFMG will not accept representations or certifications by Dr. Tulp as valid in connection with

    ECFMG’s certification process (at least for a period of five years).
the ECFMG's

       G.      The USAT Sponsor Note in the World Directory of Medical Schools

       The World Directory of Medical Schools is a listing of the world's
                                                                  world’s medical schools. SOF

¶ 69. ECFMG uses a "Sponsor
¶                  “Sponsor Note"
                            Note” in the World Directory to inform the public generally and

students or graduates of the school specifically whether students and graduates from particular

schools in particular years are eligible to apply for ECFMG certification. SOF ¶
                                                                               ¶ 69.

       On or around September 24, 2018, ECFMG updated its Sponsor Note for USAT to reflect

the use of affidavits in the certification process as follows:

       Currently students and graduates of USAT are subject to enhanced procedures that must
       be met in order to be eligible for ECFMG Certification related services, including but not
       limited to: ECFMG Certification, USMLE examinations that lead to ECFMG certification,

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       and Electronic Residency Application Service (ERAS) Support Services. ECFMG will
       provide information and instructions to applicants upon receipt of application.

SOF ¶
    ¶ 70. USAT was given notice of the "enhanced
                                       “enhanced procedures"
                                                 procedures” described in the Sponsor Note

via letter from Ms. Corrado. SOF ¶
                                 ¶ 71.

       Then, as ECFMG's
                ECFMG’s investigation continued into USAT's
                                                     USAT’s authorization (or lack thereof) to

operate as it had, on or around October 18, 2018, ECFMG updated its Sponsor Note for USAT

again, this time to reflect ECFMG’s
                            ECFMG's decision that beginning on January 1, 2019, future USAT

students and graduates would not be eligible for ECFMG certification unless and until USAT

provided satisfactory documentation from U.S.-based authorities allowing USAT to operate

branch campuses in the United States. SOF ¶
                                          ¶ 72. Accordingly, ECFMG updated its Sponsor Note

to include the following language:

       Note: As of January 1, 2019, students and graduates of this medical school with a
       graduation year of 2019 and later are not eligible to apply to ECFMG for ECFMG
       Certification, which also renders them ineligible to apply to ECFMG for the United States
       Medical Licensing Examinations (USMLE) as a step towards ECFMG Certification.

SOF ¶
    ¶ 72. USAT was given notice of the change to ECFMG's
                                                 ECFMG’s Sponsor Note via letter from Ms.

Corrado. SOF ¶
             ¶ 73. In that same letter, Ms. Corrado again invited USAT to provide the requested

documentation. See JA0113-JA0114. USAT did not then and has never since provided the

requested documentation. SOF ¶
                             ¶ 23.

       ECFMG’s
       ECFMG's Sponsor Note for USAT currently has both the language added in September

2018 and the language added in October 2018. SOF ¶
                                                 ¶ 74. ECFMG did not update its Sponsor

Note for USAT to reflect the finding of irregular behavior against Dr. Tulp. SOF ¶
                                                                                 ¶ 75.

       H.     Procedural History

       On December 24, 2018, Dr. Tulp sued ECFMG and its President, Dr. William W
                                                                                W. Pinsky,

alleging that they committed various constitutional and common law torts in the course of

investigating and then taking action against Dr. Tulp. See ECF No. 1. Dr. Tulp moved for

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injunctive relief on January 2, 2019, and following a full hearing on the motion on January 24,

2019, this Court denied Dr. Tulp’s
                            Tulp's motion. See SOF ¶
                                                   ¶ 78. In explaining that Dr. Tulp had not

proven a likelihood of success on his constitutional due process claim, the Court specifically noted

     “[i]n this case, there was notice and an opportunity to be heard"
that "fin                                                       heard.” SOF ¶
                                                                            ¶ 78.

        On March 26, 2018, the Court granted in part Defendants'
                                                     Defendants’ Motion to Dismiss and

                     Tulp’s claims against ECFMG and Dr. Pinsky, except for a single common
dismissed all of Dr. Tulp's

law due process claim against ECFMG. See ECF No. 29. In its opinion allowing the common law

due process claim to proceed, the Court focused on Dr. Tulp’s
                                                       Tulp's allegations regarding his appearance

before the Medical Education Credentials Committee, specifically his allegation in the Complaint

that ECFMG ended the hearing "before
                             “before allowing [Dr. Tull)]
                                                   Tulp] an opportunity to present his side of

    story.” See ECF No. 28 at 12. Presently, ECFMG moves for summary judgment on this sole
the story."

remaining claim.

III.    LEGAL STANDARD

        Summary judgment is appropriate when "there
                                             “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.”
                                                      law." Fed. R. Civ. P. 56(a). The moving

party has the initial burden of demonstrating the absence of a genuine issue of material fact. See

Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). Then, the nonmoving party has the burden

of showing there is a genuine issue for trial by "citing
                                                 “citing to particular parts of materials in the record."
                                                                                                 record.”

Fed. R. Civ. P. 56(c)(1)(A); see J.F. Feeser, Inc. v. Serv-A-Portion, Inc., 909 F.2d 1524, 1531 (3d

Cir. 1990) (holding that once the movant discharges its burden, the non-movant "must
                                                                               “must establish

the existence of each element on which it bears the burden of proof')
                                                              proof”) (citing Celotex Corp. v.

Caltrett, 477 U.S. 317, 323 (1986)). A genuine issue exists "if
                                                            “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party."
                                                         party.” See Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986); Brewer v. Quaker State Oil Ref. Corp., 72 F.3d 326, 330 (3d Cir.

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1995) (recognizing that a genuine issue exists solely if the nonmoving party "provides
                                                                             “provides sufficient

evidence to allow a reasonable jury to find for him at trial").
                                                       trial”).

       The party opposing summary judgment must "do
                                                “do more than simply show that there is some

                                      facts.” See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio
metaphysical doubt as to the material facts."

Corp., 475 U.S. 574, 586 (1986). He must present more than just "bare
                                                                “bare assertions, conclusory

               suspicions” to show the existence of a genuine dispute. Fireman's
allegations or suspicions"                                             Fireman’s Ins. Co. of
                                                                                          of

Newark v. Du Fresne, 676 F.2d 965, 969 (3d Cir. 1982). Rather, "[t]he
                                                               “[t]he party opposing summary

judgment must support each essential element of that party's
                                                     party’s opposition with concrete evidence in

the record. If the evidence is merely colorable, or is not significantly probative, summary judgment

may be granted. This requirement upholds the underlying purpose of summary judgment which

is to avoid a pointless trial in cases where it is unnecessary and would only cause delay and

expense.” Whitmore
expense." Whitmore v. Liberty Mut. Fire Ins. Co., No. 07-5162, 2008 WL 4425227, at *1 (E.D.

Pa. Sept. 30, 2008) (citations and internal punctuation omitted).

IV.    ARGUMENT

       A.      Dr. Tulp Was Afforded Due Process, Including Notice and an Opportunity to
               Be Heard.

       Assuming for purposes of this Motion that ECFMG owes common law due process

                   Tulp,22 Dr. Tulp cannot succeed on his common-law due process claim because
obligations to Dr. Tulp,

there is no genuine dispute that he was afforded due process. In Pennsylvania, the common law



2
        Indeed, it is not clear that Dr. Tulp in fact pleaded a due process claim under the common
law as opposed to under the United States Constitution. At the injunction hearing on January 24,
                             Tulp’s counsel to confirm "exactly
2019, this Court asked Dr. Tulp's                         “exactly what causes of action are being
asserted.”
asserted." SOF   ¶
                 ¶  76. When    the Court twice described   Dr. Tulp’s
                                                                Tulp's due process claim as "a
                                                                                            “a § 1983
claim alleging that ECFMG violated [Dr.] Tulp’s
                                              Tulp's procedural and substantive due process rights
                           Amendment,” Dr. Tulp’s
as protected by the 14th Amendment,"           Tulp's counsel twice responded, "Yes,
                                                                                “Yes, Your Honor."
                                                                                             Honor.”
SOF ¶¶ 77. Because Dr. Tulp failed to plead a common law due process claim in the Complaint,
summary judgment in favor of ECFMG is also warranted on that basis.

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duty of due process emerges from the private school and university context, in which "students
                                                                                     “students

who are being disciplined are entitled only to those procedural safeguards which the school

             provides,” provided that such procedures are "fundamentally
specifically provides,"                                   “fundamentally fair.”
                                                                         fair." Psi Upsilon of
                                                                                            of

Phila. v. Univ. of
                of Pa., 591 A.2d 755, 758 (Pa. Super. Ct. 1991) (quoting Boehm v. Univ. of
                                                                                        of Pa.

     of Veterinary Med., 573 A.2d 575, 577 (Pa. Super. Ct. 1990)). Whether procedures are
Sch. of

“fundamentally fair”
"fundamentally fair" is determined by whether a student being disciplined was given notice of the

charges and an opportunity to be heard. Id. at 759–60.
                                               759-60.

       “[T]he requirements of common law due process are quite similar to those for
       "[T]he

                                                       interchangeably.” McKeesport Hosp. v.
constitutional due process, and most courts treat them interchangeably."

Accreditation Council for
                       for Graduate Med. Educ., 24 F.3d 519, 535 (3d Cir. 1994) (concurring, J.

Becker). Constitutional due process similarly focuses on whether there was notice and opportunity

for hearing appropriate to the nature of the case. See Cleveland Bd. of
                                                                     of Educ. v. Loudermill, 470

U.S. 532, 542 (1985).

              1.
              1.        This Court Already Ruled Dr. Tulp Was
                                                          Was Afforded Notice and an
                        Opportunity to Be Heard
                                          Heard.

       In denying Dr. Tulp’s
                      Tulp's request for injunctive relief in this case, this Court concluded that

ECFMG’s
ECFMG's disciplinary hearing met the requirements of constitutional due process and that there

was notice and opportunity to be heard. See SOF ¶ 78; JA0306 (Injunction Hr'g
                                                                         Hr’g Tr. 131:5-11

(citing Cleveland Bd. of
                      of Educ. v. Loudermill, 470 U.S. 532, 542 (1985))). Indeed, the Court

specifically stated in its ruling that "fin
                                       “[i]n this case, there was notice and an opportunity to be

heard.” SOF ¶ 78 (emphasis added). This is confirmed by the facts discussed below, see infra,
heard"

and Dr. Tulp can point to no evidence or disputes of material fact to disturb the Court's
                                                                                  Court’s prior




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conclusion.   Thus, Dr. Tulp's
                        Tulp’s irregular behavior proceeding also satisfies the notice and

                                                                   process.3
opportunity to be heard requirements of the common law duty of due process.3

               2.      Dr. Tulp Received Notice of
                                                of the Irregular Behavior Allegations.

       Dr. Tulp received notice of the allegations that he engaged in irregular behavior.

Consistent with ECFMG’s
                ECFMG's Policies and Procedures Regarding Irregular Behavior, on October 18,

2018, ECFMG sent a letter to Dr. Tulp summarizing and describing in detail the allegations of

irregular behavior against him. SOF I¶¶ 31-36. Prior to the November 28, 2018 meeting of the

Medical Education Credentials Committee, Dr. Tulp’s
                                             Tulp's counsel received copies of materials to be

considered by the Medical Education Credentials Committee in reaching a decision regarding

irregular behavior. SOF I¶¶ 45-46. Moreover, Dr. Tulp and his counsel received numerous letters

           ECFMG’s process for investigating and evaluating allegations of irregular behavior.
explaining ECFMG's

SOF 'Irlf
     ¶¶ 37-46. Indeed, ECFMG’s
                       ECFMG's Policies and Procedures Regarding Irregular Behavior are both

publicly available on the internet and were sent to Dr. Tulp in connection with the allegations of

          behavior.4 SOF In
irregular behavior.4     ¶¶ 9, 35.

       Courts routinely find that similar activities constitute sufficient notice of accusations and

the procedures through which the accusations of misconduct may be resolved. See, e.g., Biliski v.

Red Clay Consol. Sch. Dist. Bd. of
                                of Educ., 574 F.3d 214, 221-22
                                                        221–22 (3d Cir. 2009) (holding that a

discharged employee was given sufficient notice of the reasons for his dismissal when he was



3
       ECFMG met these requirements despite the fact that "[p]rivate
                                                             “[p]rivate institutions need not
endow their students with the constitutional due process protections that state [entities] are
           provide.” David v. Neumann Univ.,
obliged to provide."                           177 F. Supp. 3d 920, 926 (E.D. Pa. 2016)
                                         Univ.,177
(quoting Kimberg v. Univ. of
                           of Scranton, 411 F. App'x
                                               App’x 473, 481 (3d Cir. 2010)).
4
       ECFMG’s
       ECFMG's actions complied with its Policies and Procedures Regarding Irregular Behavior.
                              “no obligation to afford [plaintiffs] protections in addition to those
Because private entities bear "no
expressly embodied in”
                    in" their written policies and procedures, Kimberg v. Univ. of of Scranton, 411
   App’x 473, 481 (3d Cir. 2010), ECFMG afforded Dr. Tulp due process.
F. App'x

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provided with multiple disciplinary memos which described the alleged misconduct and what body

would decide whether dismissal was appropriate); McKeesport Hosp., 24 F.3d at 532 (defendant

            council’s use of detailed letters to communicate areas in which plaintiff hospital needed
accrediting council's

to improve, coupled with allowance of opportunity for hospital to submit additional information

to address these concerns, constituted adequate notice of deficiencies before withdrawal of

accreditation) (Becker, J., concurring); Psi Upsilon of
                                                     of Phila., 591 A.2d at 758-59
                                                                            758–59 (holding that

University’s procedure of sending a statement explaining charges and violations to disciplined
University's

fraternity members before a disciplinary hearing was sufficient notice of pending charges); Osei

v. Temple Univ., 518 F. App'x
                        App’x 86, 89 (3d Cir. 2013) (holding that even a one-day notice of witness

testifying against plaintiff at hearing was sufficient notice under the school disciplinary context

and constituted due process).

       It cannot be disputed that Dr. Tulp received a letter from ECFMG detailing the allegations

of irregular behavior. SOF 'Irlf
                            ¶¶ 31-36. It also cannot be disputed that Dr. Tulp received that letter

more than a month before the meeting of the Medical Education Credentials Committee and nearly

two months before a decision regarding the allegations of irregular behavior. SOF ¶
                                                                                  ¶ 47. This,

                                ECFMG’s communications with Dr. Tulp and his counsel, confirms
along with the entire record of ECFMG's

that Dr. Tulp received adequate notice of the allegations against him.

               3.      Dr. Tulp Had Multiple Opportunities to be Heard
                                                                 Heard.

       Consistent with ECFMG’s
                       ECFMG's Policies and Procedures Regarding Irregular Behavior, Dr. Tulp

had ample opportunity to be heard in connection with the allegations of his irregular behavior.

       First, Dr. Tulp had an opportunity to present a written response to the allegations of

irregular behavior and provide any relevant information that he wanted the Medical Education

Credentials Committee to consider.       SOF I¶¶ 13(d), 35. Because "[t]here
                                                                    “[t]here is no inexorable

requirement that oral testimony must be heard in every administrative proceeding in which it is

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tendered,” Biliski, 574 F.3d at 223 (quoting Fed. Deposit Ins. Corp. v. Mallen, 486 U.S. 230, 247-
tendered,"

48 (1988)), Dr. Tulp’s
                Tulp's opportunity to provide a written submission and relevant information in

response to the allegations of irregular behavior constitute an adequate opportunity to be heard.

See Matthews v. Eldridge, 424 U.S. 319, 334, 344-46
                                             344–46 (1976) (explaining that some form of hearing

with safeguards such as the opportunity to submit documentation, access to the file under review,

and ability to be represented are safeguards which speak to whether adequate procedures were in

place).

          Second, Dr. Tulp also had an opportunity to appear personally before the Credentials

Committee with two attorneys of his choosing. SOF ¶
                                                  ¶ 13(e)-(f), 35, 47. See, e.g., Psi Upsilon,

591 A.2d at 759 (presence of legal counsel at hearing speaks to adequacy of process given). Dr.

Tulp’s
Tulp's counsel made a full opening statement and had the opportunity to present whatever

argument or substantive response he wished. SOF I¶¶ 51-62. Indeed, counsel for ECFMG

repeatedly invited Dr. Tulp to give testimony and Dr. Tulp’s
                                                      Tulp's counsel to address specific parts of

the materials presented for the Committee's
                                Committee’s consideration. SOF ¶
                                                               ¶ 55-61. It was only after Dr.

Tulp’s
Tulp's counsel refused to allow Dr. Tulp to testify and refused to address specific documents that

the meeting was adjourned.

          That Dr. Tulp did not take full advantage of his personal appearance before the Medical

Education Credentials Committee to provide evidence or argument in his favor, does not change

the fact that he had an opportunity to be heard on the allegations of irregular behavior. If a plaintiff

   “given ample opportunity to present its position by written submission and to argue it orally,"
is "given                                                                                 orally,”

and fails to "make
             “make the best use of those opportunities . . . the blame cannot be placed on the

Commission.” Marlboro Corp. v. Ass
Commission."                   Ass’n  of Indep.Colleges and Schools, 556 F.2d 78, 82 (1st Cir.
                                   'n of

1977). Here, Dr. Tulp failed to make the best use of his opportunities to present his case to the



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Medical Education Credentials Committee in that he failed to provide any substantive response to

the allegations of irregular behavior, let alone "make
                                                 “make best use of those opportunities"
                                                                         opportunities” to be heard.

That failure does not mean he was denied due process.

       Nor does the due process analysis change simply because no witnesses were called to

                       “[t]here is no inexorable requirement that oral testimony must be heard in
testify. For starters, "[t]here

every administrative proceeding in which it is tendered,"
                                               tendered,” Biliski, 574 F.3d at 223 (quoting Fed.

Deposit Ins. Corp. v. Mallen, 486 U.S. 230, 247 —
                                                – 48 (1988)). Moreover, counsel for ECFMG

repeatedly invited Dr. Tulp to speak or offer evidence, but he refused to do so. See SOF 'IrIf
                                                                                          ¶¶ 54-56.

In Psi Upsilon of
               of Philadelphia, members of a disciplined fraternity argued that they were denied

a fair opportunity to be heard at a disciplinary hearing because they invoked their privilege against

self-incrimination given pending criminal charges, and thus did not testify or present evidence.

591 A.2d at 760. The court there found this contention to be without merit. Id. Similarly, Dr.

Tulp’s
Tulp's failure to testify at his own hearing or present any evidence, even though he was given

multiple opportunities to do so, does not mean that he was denied a fair opportunity to be heard.

       Because Dr. Tulp had an opportunity to be heard by the Medical Education Credentials

Committee, both in writing and in person, he was afforded an opportunity to be heard consistent

with his common law due process rights.

               4.      ECFMG’s Updates to the USAT Sponsor Note Cannot Establish A Due
                       ECFMG's
                       Process Violation.

       It is expected that Dr. Tulp may argue that the timing of ECFMG’s
                                                                 ECFMG's updates to its Sponsor

Note for USAT in the World Directory of Medical Schools somehow demonstrates that Dr. Tulp

was denied due process. Not so. At all times, ECFMG updated its Sponsor Note to accurately

reflect steps taken by ECFMG to validate that USAT students and graduates attended a bona fide
                                                                                           fide




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international medical school and were thus eligible for ECFMG certification. At no point was the

Sponsor Note updated in violation of Dr. Tulp’s
                                         Tulp's common law due process rights.

        In September 2018, ECFMG updated the USAT Sponsor Note so that USAT students and

graduates would know to expect that additional procedures would be necessary to secure ECFMG

certification.   In October 2018, after USAT failed to provide the documentation ECFMG

repeatedly requested to prove that its operations in the United States complied with ECFMG

policy, ECFMG updated the USAT Sponsor Note so that USAT students and graduates would

know that starting on January 1, 2019, future USAT students and graduates would not be eligible

for ECFMG certification unless and until USAT proved it was in compliance with ECFMG policy.

Neither of these updates to the USAT Sponsor Note violated Dr. Tulp’s
                                                               Tulp's common law right to any

form of due process.

        Indeed, to the extent ECFMG notified Dr. Tulp of its intent to update the USAT Sponsor

Note to reflect that Dr. Tulp had been found to have engaged in irregular behavior, that intent was

made clear only after the finding of irregular behavior had been made, and the language was not

been incorporated into the USAT Sponsor Note. SOF 'Irlf
                                                  ¶¶ 63, 75. Thus, updates to the USAT

Sponsor Note do not create any genuine dispute of material fact as to whether Dr. Tulp was denied

due process and any argument to the contrary would be unavailing.

                                         *      *        *

        As this Court previously concluded, Dr. Tulp was afforded notice of the allegations and

evidence of irregular behavior, as well as an opportunity to be heard. This satisfies his common

law right to due process in proceedings before the ECFMG and warrants summary judgment in

favor of ECFMG on the sole remaining claim in this case.




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       B.      The Action Taken as to Dr. Tulp Is Not One Of The Limited Circumstances
               Where Judicial Intervention Is Appropriate.

       Pennsylvania recognizes that "judicial
                                    “judicial interference in the affairs of private associations . . .

is appropriate only under limited circumstances, as where the private association has deprived a

member or prospective member of substantial economic or professional advantages or

fundamental constitutional rights."
                           rights.” Sch. Dist. of
                                               of City of
                                                       of Harrisburg v. Pa. Interscholastic Athletic

Ass’n, 309 A.2d 353, 357 (Pa. 1973); see also Psi Upsilon of
Ass'n,                                                    of Phila. v. Univ. of
                                                                             of Pa., 591 A.2d 755,

760 (Pa. Super. Ct. 1991) ("[C]ourts
                          (“[C]ourts should not interfere with internal procedure and discipline

unless real prejudice, bias or denial of due process is present.").
                                                        present.”). This is a case in which judicial

interference in the affairs of ECFMG, a private association, would not be appropriate.

       There is no dispute that ECFMG took action as to Dr. Tulp by deciding it would "not
                                                                                      “not accept

any documents signed/certified by [Dr. Tulp] for ECFMG on behalf of USAT, or any other medical

school, for a minimum of five years . . . thereafter, the prohibition shall end only upon a petition

to ECFMG conclusively demonstrating to the satisfaction of the ECFMG Committee a familiarity

with, and willingness to adhere to, ECFMG policies."
                                          policies.” SOF ¶
                                                         ¶ 63. This does not deprive Dr. Tulp

of a substantial economic or professional advantage or a fundamental constitutional right. It does

not prevent Dr. Tulp from operating a medical school in Montserrat or otherwise serving as a

professor of medicine. Indeed, it is undisputed that USAT has other authorized signatories, and

there is no evidence to suggest that Dr. Tulp needs to serve as an authorized signatory in order for

him or USAT to succeed. SOF 'Irlf
                            ¶¶ 64-65. Moreover, Dr. Tulp has never derived income from

USAT, SOF 'Irlf
          ¶¶ 18-20, so any interference with Dr. Tulp's
                                                 Tulp’s ability to fulfil his duties as President

of USAT could not possibly result in substantial economic harm to Dr. Tulp. Accordingly,

ECFMG’s
ECFMG's action does not deprive Dr. Tulp of "substantial
                                            “substantial economic or professional advantages"
                                                                                  advantages”

     “fundamental constitutional right[],"
or a "fundamental                right[],” and judicial intervention is thus not appropriate here.


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               of City of
See Sch. Dist. of      of Harrisburg, 309 A.2d at 357; see also McKeesport Hosp. v. Accreditation

Council for
         for Graduate Med. Educ., 24 F. 3d 519, 534 (3d Cir. 1994) (Becker, J., concurring)

(“Courts must pay special deference to a professional accreditation organization's
("Courts                                                            organization’s substantive

decisions in light of the special expertise required to determine professional competency.").
                                                                               competency.”).

        C.      Dr. Tulp Is Not Entitled To Legal Or Equitable Relief.

        Even if Dr. Tulp could establish a common law due process violation (and, as explained

above, he cannot), ECFMG is also entitled to summary judgment because the undisputed material

facts confirm that Dr. Tulp is not entitled to legal or equitable relief.

       Dr. Tulp is not entitled to recover damages because there is no evidence in the record to

support a damages award. ECFMG requested that Dr. Tulp produce any and all documents he

would use to support a damages award; no such documents were produced. SOF ¶
                                                                           ¶ 79. To the

contrary, Dr. Tulp testified that he never earned any money from USAT and that his income is

derived entirely from pensions and has been for many years. SOF I¶¶ 18-20. Dr. Tulp has no

evidence to substantiate a damages award, so summary judgment in favor of ECFMG is warranted

on any claim for damages resulting from Dr. Tulp’s
                                            Tulp's common law due process claim.

       Nor is Dr. Tulp entitled to equitable relief in the form of an injunction that would require

ECFMG to grant an exception to its policies and procedures, which are in place to protect the

health of the U.S. public. In addition to demonstrating actual success on the merits (which Dr.

Tulp cannot do), Dr. Tulp would only be entitled to permanent injunctive relief if he demonstrates

that "(1)
     “(1) [he] has suffered an irreparable injury; (2) that remedies available at law, such as

monetary damages, are inadequate to compensate for that injury; (3) that, considering the balance

of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the

public interest would not be disserved by a permanent injunction.”
                                                      injunction." EBay Inc. v. MercExchange,



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                          (2006).5 Here, ECFMG is entitled to summary judgment on Dr. Tulp’s
L.L.C., 547 U.S. 388, 391 (2006).5                                                    Tulp's

claim for injunctive relief because the undisputed facts show that Dr. Tulp cannot satisfy any of

these requirements.

       First, to make a showing of irreparable harm, the requisite feared injury or harm must not

                                             “must be of a peculiar nature so that compensation in
be merely serious or substantial, but rather "must

money cannot atone for it."
                       it.” ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987). In

            Tulp’s Motion for Preliminary and/or Permanent Injunction, this Court concluded that
denying Dr. Tulp's

Dr. Tulp had "not
             “not shown immediate irreparable injury resulting from ECFMG’s              .”
                                                                    ECFMG's action . . . ."

JA0309 (Injunction Hr'g
                   Hr’g Tr. 134:2-4).       The evidence gathered in discovery confirms that

conclusion. Dr. Tulp can present no evidence whatsoever of irreparable injury, which alone is

grounds for denying injunctive relief. See Pallante v. Those Certain Underwriters at Lloyd's,
                                                                                     Lloyd’s,

London, 311 F. Supp. 3d 692, 695 n.3 (E.D. Pa. 2018) (denying injunction where movant "filed
                                                                                      “filed

no relevant affidavit or verified pleading showing immediate and irreparable injury, loss, or

damage”); Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir. 1989).
damage");

       The types of harm allegedly suffered by Dr. Tulp are not irreparable as a matter of law. To

the extent Dr. Tulp suggests that he would be irreparably harmed absent injunctive relief by virtue

       “removal . . . as a medical educator under the cloud of an indefinite sentence of ‘irregular
of his "removal                                                                          'irregular

behavior’ for a duration of not less than 5 years,"
behavior'                                   years,” Compl. ¶
                                                           ¶ 29, this argument fails as a matter of

fact and law. Contrary to his naked allegations, the evidence shows that ECFMG’s
                                                                         ECFMG's limited action

                  “removal of Dr. Tulp as a medical educator"
did not cause the "removal                          educator” for any period of time. SOF 'Irlf
                                                                                          ¶¶ 63-



5
        “The standard for a preliminary injunction is essentially the same as for a permanent
        "The
injunction with the expception that the plaintiff must show a likelihood of success on the merits
                   success.” Ferring Pharmaceuticals, Inc. v. Watson
rather than actual success."                                    Watson Pharmaceuticals, Inc., 765
F.3d 205, 215 n.9 (3d Cir. 2014).

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64. Notwithstanding ECFMG’s
                    ECFMG's actions, Dr. Tulp remains free to teach medicine, and ECFMG

has no say over whether Dr. Tulp continues to teach medicine at USAT in Montserrat or elsewhere.

Indeed, Dr. Tulp testified that he is involved in opening a new medical school in the British Virgin

Islands. SOF ¶
             ¶ 66. Moreover, as a matter of law, any injury to Dr. Tulp’s
                                                                   Tulp's reputation is not

                                                                ECFMG’s finding of irregular
irreparable and would not be avoided through injunctive relief. ECFMG's

behavior has already been made public, at the very least through Dr. Tulp having filed this lawsuit

without filing under seal, and Dr. Tulp "is
                                        “is free to try to mitigate any reputational injury"
                                                                                     injury” as he sees

fit, but it does not rise to the level of irreparable harm. Thomas M
                                                                   M. Cooley Law Sch. v. Am. Bar

Ass’n, No. 17-13708, 2017 WL 6342629, at *4 (E.D. Mich. Dec. 12, 2017); Fla. Coastal Sch. of
Ass'n,                                                                                    of

Law, Inc. v. Am. Bar Ass'n,
                     Ass’n, No. 3:18-cv-00621-BJD-JBT, ECF No. 39, at 14 (M.D. Fla. July 9,

                                   “is already published and available to the public and has been
2018) (removal of information that "is

for nearly two months . . . will not undo whatever harm [movant] claims has already occurred");
                                                                                    occurred”);

Guttenberg v. Emergy, 26 F. Supp. 3d 88, 103 (D.D.C. 2014) ("As
                                                           (“As for injury to reputation, that

                                                                 [movant’s] professional life . . .
chicken has already flown the coop. . . . Any adverse effects on [movant's]

can be redressed through monetary compensation—if he is entitled to any—and hence that harm

is by definition not irreparable.”).
                     irreparable.").

       Second, Dr. Tulp cannot point to evidence showing that an injunction would be in the

public interest. See, e.g., Winter
                            Winter v. Nat. Res. Def. Counsel, 555 U.S. 7, 24 (2008) ("In
                                                                                    (“In exercising

their sound discretion, courts of equity should pay particular regard for the public consequences in

                                      injunction.”). It would be contrary to the public interest
employing the extraordinary remedy of injunction.").

for this Court to mandate that ECFMG continue to credit Dr. Tulp's
                                                            Tulp’s signature when it has

concluded, following a thorough investigation and hearing process, that Dr. Tulp made

misrepresentations to ECFMG. ECFMG has determined that Dr. Tulp made false statements to



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ECFMG about USAT, and Dr. Tulp has failed to present any evidence to alleviate ECFMG’s
                                                                               ECFMG's

concerns. See SOF ¶ 62. ECFMG endeavors to protect the health of the public through application

of its policies and procedures, see SOF 'Irlf
                                        ¶¶ 1-3, and an end-run around them would be adverse to

the public interest.

        Third, the balance of harms weighs against injunctive relief. As to Dr. Tulp, ECFMG

only restricted his authority to sign documents to be relied upon by ECFMG in connection with

ECFMG’s
ECFMG's certification process. SOF 'Irlf
                                   ¶¶ 63-64. This does not interfere with his ability to earn a

living, teach medicine, or work at a medical school.       By contrast, ECFMG would suffer

substantial harm if it were forced to accept Dr. Tulp’s
                                                 Tulp's signature on documents notwithstanding

his record of falsehoods. Numerous courts have held that orders interfering with a certification

process like that of ECFMG poses a serious risk of harm to the certifying body and weighs against

injunctive relief. See, e.g., Thomas M
                                     M. Cooley Law Sch., 2017 WL 6342629, at *4 (refusing to

                                      ABA’s decision to sanction a law school because doing so
grant injunction interfering with the ABA's

would harm the ABA by preventing it from executing its duties).

V.      CONCLUSION

        There remains no genuine issue of material fact, and ECFMG is entitled to judgment as a

                     Tulp’s sole remaining claim. Accordingly, ECFMG respectfully requests that
matter of law on Dr. Tulp's

the Court grant ECFMG’s
                ECFMG's Motion for Summary Judgment and enter an Order in the form attached.




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Dated: May 3, 2019                     Respectfully submitted,

                                       /s/ Elisa P. McEnroe
                                       /s/Elisa
                                       Elisa P. McEnroe, PA Bar No. 206143
                                       Matthew D. Klayman, PA Bar No. 319105
                                       MORGAN, LEWIS & BOCKIUS, LLP
                                       1701 Market Street
                                       Philadelphia, PA 19103-2921
                                       Telephone: +1.215.963.5917
                                       Facsimile:     +1.215.963.5001
                                       elisa.mcenroe@morganlewis.com
                                       matthew.klayman@morganlewis.com

                                                for the Educational Commission for
                                       Attorneysfor                             for
                                       Foreign Medical Graduates




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 DR. ORIEN L. TULP,
                                                    )
                                                    )
                                                    )     Case No. 2:18-cv-05540-WB
                        Plaintiff,
                                                    )
                                                    )     Hon. Wendy Beetlestone
 v.
                                                    )
 EDUCATIONAL COMMISSION FOR
                                                    )
 FOREIGN MEDICAL GRADUATES and
                                                    )
                                                    )
 DR. WILLIAM W. PINSKY,
                                                    )
                                                    )
                        Defendants.
                                                    )


                                      [PROPOSED] ORDER

       AND NOW, this __ day of ________ 2019, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ (“ECFMG’s”) Motion for Summary Judgment and
                               Graduates' ("ECFMG's")

any response thereto, IT IS HEREBY ORDERED that ECFMG's
                                                ECFMG’s Motion for Summary Judgment

is GRANTED. The Clerk of the Court shall enter judgment in favor of Defendant ECFMG and

                                  Plaintiff’s remaining claim.
against Plaintiff with respect to Plaintiffs




                                                        BY THE COURT:


                                                        _______________________________
                                                                          Beetlestone, J.




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 DR. ORIEN L. TULP,
                                                      )
                                                      )
                                                      )   Case No. 2:18-cv-05540-WB
                          Plaintiff,
                                                      )
                                                      )   Hon. Wendy Beetlestone
 v.
                                                      )
 EDUCATIONAL COMMISSION FOR
                                                      )
 FOREIGN MEDICAL GRADUATES and
                                                      )
                                                      )
 DR. WILLIAM W. PINSKY,
                                                      )
                                                      )
                          Defendants.
                                                      )


STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF DEFENDANT
   EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES’
                                                GRADUATES'
                MOTION FOR SUMMARY JUDGMENT

I.     The Educational Commission for Foreign Medical Graduates
      1.        Defendant Educational Commission for Foreign Medical Graduates ("ECFMG")
                                                                               (“ECFMG”) is

a private non-profit organization based in Philadelphia, Pennsylvania.       See JA0001 (About

ECFMG:          Statement        of
                                 of     Values,
                                        Values,       Mission,    and     Purposes,     ECFMG,

https://www.ecfmg.org/about/statement-of-values.html, Dkt. No. 12-2).

      2.        ECFMG promotes quality health care for the public by, among other things,

certifying physicians who received their basic medical degree from an international medical school

                                             “IMGs”) for entry into graduate medical education
(known as international medical graduates or "IMGs")

in the United States. See JA0001 (About ECFMG: Statement of
                                                         of Values, Mission, and Purposes,

ECFMG, https://www.ecfmg.org/about/statement-of-values.html, Dkt. No. 12-2); see also

JA0184-JA0185 (Tr. of Jan. 24, 2019 Preliminary Injunction Hearing (hereinafter "Injunction
                                                                                “Injunction

Hr’g. Tr.”)
Hr'g. Tr.") 9:21-10:1).



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      3.        ECFMG’s
                ECFMG's responsibilities include (among other things): (i) certifying the readiness

of IMGs for entry into graduate medical education and healthcare systems in the United States

through an evaluation of their qualifications, (ii) providing complete, timely, and accessible

information to IMGs regarding entry into graduate medical education in the United States, and (iii)

verifying credentials and providing other services to health care professionals world wide. See

JA0001 (About ECFMG: Statement of
                               of Values,
                                  Values, Mission, and Purposes,                         ECFMG,

https://www.ecfmg.org/about/statement-of-values.html, Dkt. No. 12-2).

      4.        To verify an applicant's
                             applicant’s credentials as part of ECFMG’s
                                                                ECFMG's certification process,

ECFMG collects documentation, including records relating to an applicant's
                                                               applicant’s attendance at a

recognized international medical school.      See JA0010-JA0012 (ECFMG, 2019 Information

Booklet 5-7 (last updated Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-

4).

      5.           “international medical school"
                An "international         school” is "an
                                                     “an education facility located in a country

        of the United States and Canada with its primary campuses and main operations located
outside of

        country.” JA0003 (ECFMG Medical School Policy, Dkt. No. 12-3) (emphases added).
in that country."

      6.        If an international medical school has a branch campus outside the country where

its primary campus is purportedly located, ECFMG "may
                                                 “may require confirmation from the

                       authority” in the branch campus country that "the
appropriate government authority"                                   “the branch campus is

authorized to operate as a medical school in the branch campus country"
                                                               country” and that the international

               “awards degrees that meet the medical education eligibility requirements for
medical school "awards

licensure to practice medicine in the branch campus country."
                                                    country.” JA0003 (ECFMG Medical School

Policy, Dkt. No. 12-3).




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      7.                applicant’s record is verified and complete and the applicant passes certain
                Once an applicant's

required substantive exams, ECFMG issues the applicant a certificate. See JA0010-JA0012

(ECFMG,        2019    Information     Booklet    5-7    (last    updated       Sept.     13,    2018),

https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

      8.        This certificate signals that an IMG seeking admission to a U.S. graduate medical

program has met certain minimum standards of eligibility, including graduation from a bona fide
                                                                                            fide

international medical school. See JA0010-JA0012 (ECFMG, 2019 Information Booklet 5-7 (last

updated Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

II.    ECFMG’s
       ECFMG's Policies and Procedures Regarding Irregular Behavior

      9.        ECFMG’s
                ECFMG's publicly available Policies and Procedures Regarding Irregular Behavior

       “irregular behavior"
define "irregular behavior” to include:

       all actions or attempted actions on the part of applicants, examinees, potential applicants,
       others when solicited by an applicant and/or examinee, or any other person that would or
       could subvert the examination, certification or other processes, programs or services of
       ECFMG, including, but not limited to, the ECFMG Exchange Visitor Sponsorship
       Program, ECFMG International Credentials Services (EICS), the Electronic Portfolio of
       International Credentials (EPIC), and Electronic Residency Application Service (ERAS)
       Support Services at ECFMG. Such actions or attempted actions are considered irregular
       behavior, regardless of when the irregular behavior occurs, and regardless of whether the
       individual is certified by ECFMG.
JA0029       (ECFMG,    2019 Information Booklet         24   (last   updated     Sept.    13,   2018),

https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

      10.       ECFMG’s
                ECFMG's Policies and Procedures Regarding Irregular Behavior provide:

“Examples of irregular behavior include, but are not limited to, submission of
"Examples                                                                   of any falsified
                                                                                    falsified or

                                                                             party, such as
altered document to ECFMG, whether submitted by the individual or by a third party,

                     behalf of
a medical school, on behalf of the individual; failing to comply with United States Medical

Licensing Examination or ECFMG policies, procedures, and/or rules;falsification
                                                                   falsification of
                                                                                 of information

on applications, submissions, or other materials to ECFMG; taking an examination when not

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eligible to do so, or submission of any falsified or altered ECFMG document to other entities or

individuals.” JA0029 (ECFMG, 2019 Information Booklet 24 (last updated Sept. 13, 2018),
individuals."

https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4) (emphases added); see JA0032-JA0033

(ECFMG,      2019    Information     Booklet    27-28    (last   updated    Sept.   13,    2018),

https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4) (irregular behavior includes providing

false information or documents to ECFMG)); see also JA0204 (Injunction Hr'g
                                                                       Hr’g Tr. 29:9-14).

    11.        Irregular behavior charges can be brought against any individuals who are involved

in the process of application for ECFMG certification or "any
                                                         “any other person that would or could

subvert the examination, certification or other processes programs or services of ECFMG,”
                                                                                  ECFMG,"

including medical school officials. JA0029 (ECFMG, 2019 Information Booklet 24 (last updated

Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4); see JA0351-JA0352,

JA0355-JA0356 (Tr. of Deposition of Dr. William W. Pinsky (hereinafter "Pinsky
                                                                       “Pinsky Dep.")
                                                                               Dep.”) 41:24-

42:3, 45:22-46:7).

     12.       ECFMG’s
               ECFMG's Policies and Procedures Regarding Irregular Behavior describe

ECFMG’s
ECFMG's process for investigating suspected irregular behavior, determining whether an

individual engaged in irregular behavior, and taking appropriate action if a finding of irregular

behavior is made. See JA0029-JA0033 (ECFMG, 2019 Information Booklet 24-28 (last updated

Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     13.       ECFMG’s
               ECFMG's Policies and Procedures Regarding Irregular Behavior set forth the

following steps for addressing suspected irregular behavior:

              “After receipt of a report or other information suggesting irregular behavior on the
           a. "After

              part of an individual, ECFMG staff will review the information and will assess

              whether there is sufficient evidence of irregular behavior. When indicated and



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     feasible, staff will conduct a follow-up investigation to gather additional

     information.” JA0030 (ECFMG, 2019 Information Booklet 25 (last updated Sept.
     information."

     13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     “If ECFMG staff finds that there exists a reasonable basis to conclude that an
  b. "If

     individual may have engaged in irregular behavior, the matter will be referred to

     the Medical Education Credentials Committee."
                                       Committee.”           JA0030 (ECFMG, 2019

     Information      Booklet     25       (last   updated     Sept.     13,     2018),

     https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

  c. The individual who may have engaged in irregular behavior "will
                                                               “will be advised in

     writing of the nature of the alleged irregular behavior and will be provided with a

                                                             Behavior.” JA0030
     copy of the Policies and Procedures Regarding Irregular Behavior."

     (ECFMG, 2019 Information Booklet 25 (last updated Sept. 13, 2018),

     https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4); see JA0199 (Injunction

     Hr’g Tr. 24:10-17).
     Hr'g

     “The individual will be given an opportunity to provide written explanation and to
  d. "The

     present other relevant information. Any such written explanation or other relevant

     information must be received by ECFMG by the deadline set forth in ECFMG’s
                                                                        ECFMG's

     writing to the individual.    Submissions received after the deadline will be

     considered by the Medical Education Credentials Committee at its discretion."
                                                                      discretion.”

     JA0030 (ECFMG, 2019 Information Booklet 25 (last updated Sept. 13, 2018),

     https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     “The individual may also request the opportunity to appear personally before the
  e. "The

     Medical Education Credentials Committee, and may be represented by legal



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     counsel, if the individual so wishes."
                                   wishes.” JA0030 (ECFMG, 2019 Information Booklet

     25 (last updated Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt.

     No. 12-4); see JA0199 (Injunction Hr'g
                                       Hr’g Tr. 24:10-17).

     “In instances in which the individual appears personally before the Medical
  f. "In

     Education Credentials Committee, a stenographic or audio recording will be made

     of that portion of the proceedings during which the individual is in attendance. Any

     statements made by the individual during a personal appearance before the Medical

     Education Credentials Committee will be under oath."
                                                   oath.” JA0030-JA0031 (ECFMG,

     2019    Information    Booklet    25-26    (last   updated    Sept.   13,    2018),

     https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     “All pertinent information regarding the irregular behavior, including any
  g. "All

     explanation or other information that the individual may provide, will be provided

     to the Medical Education Credentials Committee.           The Medical Education

     Credentials Committee, based on the information available to it, will determine

     whether the preponderance of the evidence indicates that the individual engaged in

               behavior.” JA0031 (ECFMG, 2019 Information Booklet 26 (last updated
     irregular behavior."

     Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     “If the Medical Education Credentials Committee determines that the individual
  h. "If

     engaged in irregular behavior, the Medical Education Credentials Committee will

                                                                         behavior.”
     determine what action(s) will be taken as a result of the irregular behavior."

     JA0031 (ECFMG, 2019 Information Booklet 26 (last updated Sept. 13, 2018),

     https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).




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              “ECFMG will notify the individual whether the Medical Education Credentials
           i. "ECFMG

              Committee determined the individual engaged in irregular behavior and of any

                                       thereto.” JA0031 (ECFMG, 2019 Information Booklet 26
              action(s) taken pursuant thereto."

              (last updated Sept. 13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No.

              12-4).

              “The Medical Education Credentials Committee's
           j. "The                               Committee’s determination of irregular

              behavior and any action(s) taken pursuant thereto (a ‘decision’
                                                                   'decision' of the Medical

              Education Credentials Committee) may be appealed to the Review Committee for

              Appeals if the individual has a reasonable basis to believe the Medical Education

              Credentials Committee did not act in compliance with the Medical Education

              Credentials Committee Policies and Procedures or that the Medical Education

                          Committee’s decision was clearly contrary to the weight of the
              Credentials Committee's

              evidence before it. The notice of appeal must be received by ECFMG within thirty

              (30) days of the date on which the notification advising the individual of the

              Medical Education Credentials Committee's
                                            Committee’s decision was mailed to the individual.

              The appeal of a decision of the Medical Education Credentials Committee is

                                                 Procedure.” JA0031-JA0032 (ECFMG, 2019
              governed by the Rules of Appellate Procedure."

              Information    Booklet     26-27        (last   updated    Sept.   13,    2018),

              https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).

     14.      ECFMG’s
              ECFMG's Policies and Procedures Regarding Irregular Behavior also allow

individuals to submit petitions for reconsideration of a decision of the Medical Education

Credentials Committee. See JA0032 (ECFMG, 2019 Information Booklet 27 (last updated Sept.

13, 2018), https://www.ecfmg.org/2019ib/2019ib.pdf, Dkt. No. 12-4).



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III.    Dr. Orien L. Tulp

       15.     Plaintiff Dr. Orien L. Tulp is the President of the University of Science, Arts, and

Technology Montserrat ("USAT"),
                      (“USAT”), a medical school with its primary campus and main operations

supposedly in Montserrat. JA0451 (Tr. of Deposition of Dr. Orien L. Tulp (hereinafter "Tulp
                                                                                      “Tulp

Dep.”) 24:2-6).
Dep.")

       16.                                “authorized signatory"
               For years, Dr. Tulp was an "authorized signatory” for USAT, meaning that ECFMG

would accept his signature on submissions to ECFMG made on behalf of USAT. See JA0474-

JA0477 (Tulp Dep. 47:16-50:13).

       17.    Dr. Tulp was one of several "authorized
                                          “authorized signatories"
                                                      signatories” for USAT. See JA0474-

JA0475 (Tulp Dep. 47:16-48:23); see also JA0212-JA0213 (Injunction Hr'g
                                                                   Hr’g Tr. 37:2-16).

       18.    Dr. Tulp has never earned money from USAT. JA0519 (Tulp Dep. 92:21-23).

       19.    Dr. Tulp is not, and has not previously been, paid by USAT. JA0519 (Tulp Dep.

92:10-15).

       20.    Dr. Tulp retired 20 years ago, and his income is derived entirely from pensions,

including a military pension, Social Security, and a teacher's
                                                     teacher’s retirement pension. JA0519-0521

(Tulp Dep. 92:16-94:10).

IV.     Dr. Tulp Provided False Information to ECFMG During Its Investigation of USAT’s
                                                                                 USAT's
        Unauthorized Operations in the United States.
       21.     In July and August of 2018, ECFMG received information indicating that USAT

was offering classes in Miami, Florida. See JA0092 (Aug. 8, 2018 email to ECFMG); JA0093-

JA0097 (Aug. 14, 2018 email from C. Ostwalt to S. Mealy).

       22.    On August 21, 2018, D. Scott Mealey, ECFMG’s
                                                   ECFMG's Manager of Medical Education

Resources & Operations Support, sent a letter to Dr. Tulp via email, which stated:




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        Dear Dr. Tulp,
        It has recently come to the attention of the Educational Commission for Foreign Medical
        Graduates (ECFMG) that USAT in Montserrat is operating a satellite (or branch) campus
        in Miami, Florida.
        In order for students and graduates of an international medical school, such as USAT, to
        have eligibility to apply for ECFMG Certification, ECFMG policy requires confirmation
        from the appropriate government authority in the branch campus country that the branch
        campus is authorized to operate as a medical school in such branch campus country.
        In light of this, ECFMG requests that USAT provide documentation from the United States
        Department of Education and/or the Florida Department of Education confirming that
        USAT’s Miami branch campus is authorized to operate as a medical school in the United
        USAT's
        States. This documentation should cover the whole time period that the USAT Miami
        branch campus has been in operation.
JA0098; see JA0219 (Injunction Hr'g
                               Hr’g Tr. 44:9-18); JA0256, (Injunction Hr'g
                                                                      Hr’g Tr. 81:4-82:11 (Dr.

Tulp testifying that he received the August 21, 2018 letter)).

      23.       The letter asked Dr. Tulp to provide the requested documentation "confirming
                                                                                 “confirming that

USAT’s Miami branch campus is authorized to operate as a medical school in the United States”
USAT's                                                                                States"

by September 3, 2018. JA0098. ECFMG never received documentation showing that USAT is

authorized to conduct education in the United States. JA0220 (Injunction Hr'g
                                                                         Hr’g Tr. 45:6-9).

      24.       Later on August 21, 2018, Dr. Tulp responded to Mr. Mealey via email, writing:

        Dear Mr. Mealey
        This is incorrect information. The Miami location is an information and testing site
        only, where a pre-usmle examination [an NBME] may be administered, and an
        Orientation for new students is conducted prior to their traveling to the Caribbean.. It
        is NOT a campus. Our ONLY Campus is located in Olveston, Montserrat, British
        West Indies.
        Actually, recall that Montserrat is a volcanic Island, and the license issued to USAT
        in September, 2003 DOES actually permit the establishment of off-campus lecture and
        administrative sites as needed. USAT has students on island on a year round basis in
        its origination.
        I hope this will clarify your concern.
JA0099; see JA0260-JA0262 (Injunction Hr'g
                                      Hr’g Tr. 85:16-87:8 (Dr. Tulp testifying that he sent

this email)).

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     25.        Between August 21, 2018 and September 14, 2018, ECFMG received information

that USAT was providing medical education lectures not only at its Miami site, but also at sites in

Tampa, Florida and Dallas, Texas. See JA0102 (Sept. 14, 2018 letter from K. Corrado to Dr. 0.
                                                                                           O.

Tulp).

      26.       On September 14, 2018, Kara Corrado, ECFMG’s
                                                     ECFMG's Vice President for Operations,

sent a letter to Dr. Tulp via email, which stated:

         Dear Dr. Tulp:
         This is a follow-up to our August 21, 2018 letter in which ECFMG requested information
         from you about the University of Science, Arts & Technology (USAT) Faculty of
         Medicine’s satellite (or branch) campus in Miami, FL. In response, you indicated, ‘The
         Medicine's                                                                          'The
         Miami location is an information and testing site only, where a pre-usmle examination [an
         NBME] may [be] administered, and an Orientation for new students is conducted prior to
         their traveling to the Caribbean. It is NOT a campus. Our ONLY Campus is located in
         Olveston, Montserrat, British West Indies.’                               reply.’
                                             Indies.' We thank you for your quick reply.'
         ECFMG has since received information that USAT is providing medical education lectures
         not only at its Miami site, but also at sites in Tamp, FL, and Dallas, TX.
         It is critical that ECFMG ensure that information regarding international medical schools
         and their students provided to ECFMG complies with ECFMG policies and requirements.
         Therefore, ECFMG continues its review of this matter. This letter is to advise you that, as
         part of its review, ECFMG has reached out to students and graduates of USAT in order to
         collect information from them regarding their attendance at USAT.
         Effective today, USAT students and graduates seeking services related to ECFMG
         Certification, including registration for USMLE examinations, release of USMLE scores,
         issuance of an ECFMG Certificate, or issuance of ECFMG Certification Status Reports to
         residency programs, must complete and submit an affidavit attesting to the accuracy of the
         medical school information provided to ECFMG. Services will not be provided to
         individuals who do not complete the affidavit. ECFMG has provided instructions about
         this process directly to the students and graduates.
JA0102; see JA0216 (Injunction Hr'g
                               Hr’g Tr. 41:5-13 ("We
                                                (“We had had information that USAT was

operating a campus in the United States in Florida. And Dr. Tulp had indicated that that was not

correct. So we still were getting information contrary to that. So we decided to send the affidavit

to the students to get information from the students about where they actually did their basic

sciences.”)).
sciences.")).


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                                              SAppx0207
                                              SAppx0207
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                                                                   11



     27.       ECFMG sent an affidavit to USAT students and graduates seeking ECFMG

services, asking them to certify under penalty of perjury and under penalty of a finding of irregular

behavior (1) their dates of attendance at USAT, and (2) the location where they took their basic

science courses. See JA0119 (Affidavits Attesting to Medical School Attendance and Education

Received at USAT); see also JA0191, JA0223 (Injunction Hr'g
                                                       Hr’g Tr. 16:1-6, 48:2-8 ("Essentially,
                                                                               (“Essentially,

in order to receive ECFMG services, they need to complete that affidavit and submit to ECFMG.

And once ECFMG has reviewed it and accepted it, then we will continue to provide services to

                    students.”)).
those graduates and students.")).

     28.       More than 300 students submitted affidavits to ECFMG indicating that they took

classes in the United States, and not a single student indicated that he or she took all of his or her

basic science courses in Montserrat. See JA0175 (Jan. 10, 2019 Declaration of K. Corrado ¶
                                                                                         ¶ 4,

Dkt. No. 12-10).

     29.       There were also a "number
                                 “number of affidavits"
                                            affidavits” from USAT students where "Dr.
                                                                                 “Dr. Tulp

ha[d] provided information that conflicted with the affidavit information that ECFMG got from

    students.” JA0193 (Injunction Hr'g
the students."                    Hr’g Tr. 18:7-16).

     30.       A second affidavit was later circulated to USAT students and graduates, in which

ECFMG sought information about whether USAT students and graduates were given "advance
                                                                              “advance

standing” or exempted from taking required courses at USAT based on credits earned outside of
standing"

USAT. JA0120-JA0121 (Affidavits Attesting to Medical School Attendance and Education

Received at USAT).

V.     ECFMG Initiated Irregular Behavior Proceedings Concerning Dr. Tulp.

     31.       On October 18, 2018, Lisa Cover, ECFMG’s
                                                ECFMG's Senior Vice President for Business

Development and Operations, sent a letter to Dr. Tulp advising him of allegations that he



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                                              SAppx0208
                                              SAppx0208
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individually and in his capacity as an official at USAT engaged in irregular behavior by providing

                                                                                         O.
false information to ECFMG. See JA0115-JA0118 (Oct. 18, 2018 letter from L. Cover to Dr. 0.

Tulp).

     32.        At the beginning of the letter, Ms. Cover detailed the allegations of irregular

behavior as follows:

         Dear Dr. Tulp:

         I am writing to advise you of the allegation that you, individually and in your capacity as
         an official of the University of Science, Arts & Technology (USAT) Faculty of Medicine,
         Montserrat, engaged in irregular behavior in connection with providing false information
         to ECFMG. Specifically, you provided false information to ECFMG when you (1) notified
         ECFMG that USAT does not operate a branch campus in Miami, Florida and (2) certified
         to the attendance dates of several USAT students and graduates when ECFMG has
         information that these students were not attending USAT during some of the time periods
                                                ECFMG’s allegation are set forth below.
         to which you certified. The details of ECFMG's

JA0115.

     33.                                               “Details of Alleffalion"
                The letter included a section entitled "Details    Allegation” that summarized the

allegation of "False
              “False Information Regarding U.S. Branch Campuses”
                                                       Campuses" as follows:

 Details of Allegation
 False Information Regarding U.S. Branch Campuses
          On August 21, 2018, ECFMG advised you that we had become aware that USAT
 was operating a "branch" campus in Miami, Florida. We advised you that in order for
 students and graduates of an international medical school, such as USAT, to have
 eligibility to apply for ECFMG Certification, ECFMG policy requires confirmation from
 the appropriate government authority in the branch campus country that the branch
 campus is authorized to operate as a medical school in such branch campus country.
 Therefore, we requested that USAT provide documentation from the United States
 Department of Education and/or the Florida Department of Education confirming that
 USAT's Miami branch campus is authorized to operate as a medical school in the
 United States. We indicated that this documentation should cover the whole time period
 that the USAT Miami branch campus has been in operation.

          In response to ECFMG's August 21, 2018 letter, you replied:

          "This is incorrect information. The Miami location is an information and testing
          site only, where a pre-usmle examination [an NBME] may administered, and an
          Orientation for new students is conducted prior to their traveling to the



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                                              SAppx0209
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       Caribbean.. It is NOT a campus. Our ONLY Campus is located in Olveston,
       Montserrat, British West Indies,

       Actually, recall that Montserrat is a volcanic Island, and the license issued to
       USAT in September, 2003 DOES actually permit the establishment of off-campus
       lecture and administrative sites as needed. USAT has students on island on a
       year round basis since its origination." [emphasis in original]

       After receiving your reply, ECFMG received information that USAT was also
providing medical education lectures not only at its Miami site, but also at sites in
Tampa, Florida, Dallas, Texas, and Puerto Rico. As a result and to ensure that
information regarding international medical schools and their students provided to
ECFMG complies with ECFMG policies and requirements, ECFMG notified you that
ECFMG would require USAT students and graduates to complete an affidavit, attesting
to the accuracy of the medical school information provided to ECFMG.

       In response to ECFMG's affidavit request, many USAT students and graduates
have certified that they have not completed any courses on Montserrat, but instead
completed courses on site in the United States at the direction of USAT officials due to
volcanic and hurricane activity on Montserrat. ECFMG also received a copy of the "2018
University of Science, Arts and Technology Lecture Conference Schedule' which shows
lectures occurring in Florida and Texas. We note that there are no lectures scheduled
for Montserrat. We also note that graduation occurs in Miami, Florida.

        This directly conflicts with the information that you provided, i.e. that "the Miami
location is an information and testing site only, where a pre-usmle
                                                                pre-usrnle examination [an
NBME] rnay administered, and an Orientation for new students is conducted prior to
their traveling to the Caribbean.. It Is NOT a campus. Our ONLY Campus is located In
Olveston. Montserrat British West Indies? [emphasis in original]. Further, though
USAT's agreement with the Montserrat government indicates that USAT "agrees to
maintain operations in Monserrat with regard to its Medical and other programmes for
the duration of the agreement unless unforeseen circumstances and/or natural disaster
arise that the MCL-USAT may choose to relocate to an area of convenience for the
MCL-USAT for a time period to be determined by MCL-USAT. This would not effect
any permission granted to MCL-USAT by the government of Montserrat," ECFMG has
no record of receipt of any official communication from you or any other USAT official
indicating that USAT relocated due to volcanic activity, from 2003 until present.

       In ECFMG's September 15, 2017 announcement "Relocation of Caribbean
Medical Schools Impacted by Hurricane Irma' ECFMG advised: "Schools that have
relocated or plan to relocate their operations to the United States or elsewhere as a
result of Hurricane Irma should provide ECFMG with: a) a formal notice to ECFMG that
includes the address of where the school is temporarily located and the expected date
of when the school will return to its home country, b) copies of approvals from the home
country governmental authorities, and c) copies of approvals from the accrediting




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 agency, if any. This information should be a-mailed to Medical Education Resources
 at medischoolreviewAecfmq.orq, along with any questions or comments." ECFMG has
 no record of receipt of any correspondence from you or any other USAT official that
 USAT was relocating to the United States due to Hurricane Irma, or any other hurricane.


JA0115-JA0117.

     34.     The letter then summarized the allegation of
                                                       of "Certification
                                                          “Certification of
                                                                         of False Information

                              Dates” as follows:
                   Attendance Dates"
Regarding Students Attendance


  Certification of False Information Regarding Students Attendance Dates
         During the course of the investigation into USATs branch campuses, ECFMG
  has discovered information that indicates that you provided false information to ECFMG
  regarding the attendance dates of some of your students on some of their applications
  for United States Medical Licensing Examinations (USMLE). Specifically, you certified
  that students were attending USAT during time periods which they were not actually
  attending USAT.

          It is ECFMG's usual practice to consider any action or attempted actions by any
  person that would or could subvert the processes, programs or services of ECFMG to
  be irregular behavior. See Section Al.   A.1. of the enclosed ECFMG Medical Education
  Credentials Committee Policies and Procedures. Examples of irregular behavior include
  the provision of false information or falsified credentials to ECFMG. ECFMG
  investigates and considers allegations of irregular behavior in order to protect the
  integrity of its processes, programs, and services. The ECFMG Committee can impose
  serious sanctions if it finds irregular behavior has been committed.

        The review into the matters described in this letter are ongoing. ECFMG
  reserves the right to amend or make additional allegations of irregular behavior, in
  accordance with its policies and procedures, should ECFMG obtain information that
  supports such amendment or additional allegations.


JA0117.




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                                         SAppx0211
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     35.      The letter concluded by summarizing the forthcoming "ECFMG
                                                                  “ECFMG Medical

Education Credentials Committee Review of this Allegation”
                                               Allegation" as follows:


 ECFMG Medical Education Credentials Committee Review of this Allegation

       This matter will be referred to the ECFMG Committee for review at its next
 scheduled meeting on November 2B, 2018 in Philadelphia. The ECFMG Committee will
 consider the information presented and take action in accordance with the enclosed
 ECFMG Medical Education Credentials Committee Policies and Procedures.

         You will have the opportunity to appear personally before the ECFMG
 Committee, accompanied by legal counsel, if you so wish. Please indicate in your
 response if you wish to appear personally before the ECFMG Committee in your
 individual and/or official capacities. If you do wish to make a personal appearance, I will
 notify you of the particular time and location of the meeting.

     The following documents will be included in the Agenda for the ECFN1G
 Committee's review

       •   ECFMG's August 21, 2018 letter to you and your August 21, 2018 e-mail reply;

       •   ECFMG's September 14, 2018 letter to you, including a copy of the affidavit
           sent to USAT students on September 14, 2018;
       •   Copy of "2018 University of Science, Arts and Technology Lecture Conference
           Schedule"
       •   September 15, 2017 ECFMG Announcement "Relocation of Caribbean Medical
           Schools Impacted by Hurricane Irma";
       •   Copy of "An Agreement Between the Government of Montserrat and Medical
           College of London (MCL) University of Science, Arts, and Technology
           (Montserrat) LTD. (USAT)"
       •   Affidavits completed by USAT students; and
       •   This letter.

        Copies of these documents, with the exception of the completed affidavits by
  students, are enclosed.

        Please provide a response to ECFMG by November 1. 2018. In your
  response, please note whether you wish to make a personal appearance before the
  ECFMG Committee. All documents should be submitted to Ms. Kara Corrado. Vice
  President for Operations, at the address above or via e-mail at kcorrado(Oecfmq.orq. If
  you haVe any questions, please do not hesitate to call me at (215) 883-7318.
JA0117-JA0118.




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     36.       The letter was sent to o.tulp@usat.edu, which is one of the email addresses used by

Dr. Tulp. See JA0115; JA0260 (Injunction Hr'g
                                         Hr’g Tr. 85:16-19); JA0479 (Tulp Dep. 52:12-16).

     37.       In the time period between Ms. Cover's
                                              Cover’s October 18, 2018 letter and the November

28, 2018 meeting of the Medical Education Credentials Committee, counsel for Dr. Tulp

exchanged numerous letters with ECFMG relating to the allegations of irregular behavior against

Dr. Tulp and the November 28, 2018 irregular behavior proceeding. See, e.g., JA0124-JA0126

(Oct. 23, 2018 letter from T. Swate to K. Corrado, incorrectly dated Sept. 23, 2018); JA0127-

JA0129 (Oct. 26, 2018 letter from K. Corrado to T. Swate); JA0130-JA133 (emails between K.

Corrado ECFMG and counsel for Dr. Tulp dated Nov. 9-14, 2018); JA0134-JA0136 (emails

between ECFMG and counsel for Dr. Tulp dated Nov. 9-16, 2018).

     38.       On October 23, 2018, ECFMG received a letter from attorney Tommy Swate dated

September 23, 2018. See JA0124-JA0126 (letter from T. Swate to K. Corrado, incorrectly dated

Sept. 23, 2018); JA0127 (letter from K. Corrado confirming receipt on Oct. 23, 2018 of letter from

T. Swate dated Sept. 23, 2018). In that letter, Mr. Swate explained that he represented USAT and

                                                               Cover’s October 18, 2018 letter
would attend the November 28, 2018 proceeding described in Ms. Cover's

to Dr. Tulp. He also sought to confirm that Ms. Cover's
                                                Cover’s October 18, 2018 letter to Dr. Tulp

contained all the allegations to be discussed at the November 28, 2018 proceeding and requested

the complete file to be reviewed by the Medical Education Credentials Committee at that

proceeding. JA0124-JA0126.




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     39.       On October 26, 2018, Ms. Corrado responded to Mr. Swate in a letter sent via email,

writing:


 Dear Mr. Swate:

         I am writing in response to your letters dated September 15, 2018 and September 23,
 2018. These letters were received at ECFMG on October 16_ 2018 and October 23, 2018
 respectively. We understand from your letters that you have been retained as counsel far
 University of Science, Arts & Technology (USAT) Faculty of Medicine. Montserrat. Your letters
 appear to conflate the issue that USAT is operating branch campuses in the United States
 without appropriate documentation with the allegations of irregular behavior for Dr. Tutp. We
 take this opportunity to clarify these issues for you.

 Allegations of irregular Behavior for Dr. Orien Tulp
         ECFMG has not alleged irregular behavior on the part of USAT (the institution). The
 allegations of irregular behavior are specific to Dr: Tutp, both individually and in his capacity as
 an official of USAT. Therefore, before providing you with any materials relating to allegations of
 irregular behavior concerning Dr. Tulp, we ask that you advise ECFMG whether you also
 represent Dr. Tulp individually, in addition to USAT. We will be happy to share the entire case
 file that will be reviewed by the ECFMG Medical Education Credentials Committee ("ECFMG
 Committee") with you once you have officially advised that you are Dr. Tulp's legal counsel.

        Please note that only Dr. Tulp is entitled to request a personal appearance at the
 ECFMG Committee hearing, with his legal counsel, as outlined in ECFMG's Policies and
 Procedures for Irregular Behavior. ECFMG will not permit any other person or official, from
 USAT or otherwise, to appear instead of Dr. Tulp at his hearing. If you are Dr. Tulp's legal
 counsel, Dr_ Tulp has the right for you to appear with him at the hearing. There is no right or
 need for 'local counsel" or "'paralegals" to attend; therefore, they will not be permitted to attend
 Dr. Tulp's hearing.

         Further, in your September 23, 2018 letter, you indicate that "a decision has already
 been made regarding October 18. 2018 allegations because the ECFMG has posted on various
 websites warning to USAT students that after January .1, 2018 USAT students will n❑ longer be
 eligible to apply for the various Step tests." This is incorrect. No decision regarding the
 allegations against Dr. Tulp has been made as the ECFMG Committee has not yet reviewed
 these allegations. ECFMG carefully follows its policies and procedures, maintaining fairness and
 integrity throughout its processes. We trust this information disabuses you of the notion that
 ECFMG's "proceedings are not neutral."

JA0127.




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     40.        On November 9, 2018, Ms. Corrado emailed Mr. Swate and William Reil, another

attorney who had communicated with ECFMG on behalf of Dr. Tulp and USAT, writing:
Gentleman:


  am following up on ECFMG's October 26, 2018 letter to you regarding USAT. We
 understand that you both are counsel for USAT.

As you know, ECFIVIG will review the allegations of irregular behavior for Dr. Tulp on
November 28, 2018. Dr. Tulp has a right to a personal appearance at that meeting
with his legal counsel.


 Please reply to this email by November 14, 2018 and indicate:
 If you are representing Dr. Tulp in this matter; and
 If Dr. Tulp plans to attend the meeting in person (and if so, which of his attorneys will be present).


If we do not receive a reply from you on or before November 14, 2018, we will
assume that Dr. Tulp is not making a personal appearance. Dr. Tulp's case is
scheduled to be reviewed on November 28, 2018 whether or not he makes a
personal appearance.

JA0132.

     41.                                                                          “Mr. Riel [sic]
                Later that day, Mr. Swate responded via email and wrote, in part: "Mr.

and I will represent Dr. Tulp at the hearing on October [sic] 28th. Please send a copy of the

October [sic] 28 agenda and written policy and procedure to my attention at swatemd@aol.com.

Please forward copies of all documents submitted to the committee members prior to the hearing."
                                                                                       hearing.”

JA0131.

     42.        On November 14, 2018, Ms. Corrado responded via email and wrote, "Thank
                                                                                 “Thank you

for your email. As we understand that you and Mr. Reil are representing Dr. Tulp in the matter

related to the allegations of irregular behavior, I am sending the materials that the ECFMG

Committee will review when considering these allegations. I will send the attachments in 5



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separate emails, as they are quite large. Please let me know if you have not received them. Please

                                                  Committee.” JA0130.
note that this email will also be provided to the Committee."

      43.      In the email, Ms. Corrado also wrote, "Dr.
                                                     “Dr. Tulp is scheduled to appear before

the ECFMG Committee with you and Mr. Reil (Dr. Tulp's
                                               Tulp’s attorneys) on Wednesday

November 28, 2018 at 9:00 AM at the Rittenhouse Hotel, 210 West Rittenhouse Square,

Philadelphia, PA 19103. Please arrive by 8:45 AM. In accordance with ECFMG's
                                                                     ECFMG’s standard

practice, Dr. Tulp will be scheduled for 20 minutes, during which time he will have the opportunity

to present his response to these allegations (either personally or through his counsel) and the

ECFMG Committee members, ECFMG counsel, and staff will have the opportunity to ask

questions. After that, Dr. Tulp may provide a brief, closing statement."
                                                             statement.” JA0130 (emphasis in

original).

      44.      On November 14, 2018, ECFMG emailed to Tommy Swate the materials that the

Medical Education Credentials Committee would review at its meeting on November 28, 2018

relating to the allegations of irregular behavior concerning Dr. Tulp. JA0134.

      45.      On November 16, 2018, Ms. Corrado emailed Dr. Tulp’s                    “I am
                                                             Tulp's counsel and wrote, "I

writing to confirm that you have received the materials that the ECFMG Committee will review

at its meeting on November 28, 2018 related to the allegations of irregular behavior for Dr. Tulp.”
                                                                                             Tulp."

JA0134. Ms. Corrado also wrote, "All
                                “All documents were emailed to you on Wednesday, November

14, 2018. I have also sent the documents to you via Federal Express today."
                                                                    today.” JA0134. See JA

                 Hr’g Tr. 40:10-15 ("Yes,
0215 (Injunction Hr'g              (“Yes, so we provide the materials to individuals prior to the

hearing. Those materials were sent via email to Dr. Tulp’s counsel.”)).
                                                    Tulp's counsel.")).

      46.      That same day, Mr. Swate responded, "Thank
                                                   “Thank you. I have received documents[.]”
                                                                               documents[.]"

JA0134.



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VI.    Dr. Tulp and His Counsel Appeared Before the Medical Education Credentials
       Committee.

      47.       On November 28, 2018, Dr. Tulp appeared before the Medical Education

Credentials Committee. See JA0144 (Tr. of Medical Education Credentials Committee Hr'g
                                                                                  Hr’g

Regarding Dr. Orien L. Tulp (hereinafter "MECC
                                         “MECC Hr'g
                                               Hr’g Tr.”)
                                                    Tr.") 6:18-22); JA0521-JA0522 (Tulp Dep.

94:17-95:20).    He was accompanied by his attorneys, Mr. Swate and Mr. Reil.            JA0135

(ECFMG00000506).

      48.       Dr. Tulp and his counsel were again provided with a copy of the materials that

would be considered by the Medical Education Credentials Committee. See JA0145-JA0148

      Hr’g Tr. 7:13-8:15, 8:19-24, 9:24-10:4); see also JA0361-JA0362, JA0365-JA0363
(MECC Hr'g

(Pinsky Dep. 51:24-52:3, 55:17-56:8 ("[T]he
                                    (“[T]he board received the same documents that had been

sent to Dr. Tulp and his attorneys. The board had that material and they reviewed that prior to

                        meeting.”)); JA0134 (Nov. 16, 2018 email from T. Swate confirming
coming to the committee meeting."));

receipt of documents from ECFMG).

      49.       At the outset of the hearing, the members of the Medical Education Credentials

              ECFMG’s representatives introduced themselves to Dr. Tulp and his counsel.
Committee and ECFMG's

JA0142-JA0143 (MECC Tr. 4:6-5:23).

      50.       Ms. Corrado then summarized the allegations of irregular behavior for the

Committee as follows: "The
                      “The allegation is that Dr. Orien Tulp, professor and president of USAT

engaged in irregular behavior in connection with providing false information to ECFMG,

specifically that Dr. Tulp provided false information to ECFMG regarding USTAT's
                                                                         USTAT’s [sic] United

States branch campuses and certifying to the attendance dates of several USTAT [sic] students and

graduates when ECFMG has information that these students were not attending USTAT [sic]."
                                                                                  [sic].”

JA0144 (MECC Tr. 6:1-22).


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     51.      Mr. Swate then made an opening statement on behalf of Dr. Tulp. He began by

         “I’ve asked and I've
stating, "I've           I’ve asked and I've
                                        I’ve asked for the packet that was presented to the

committee members. I would like a copy of the packet, the information that was submitted to the

committee members so that I will know what was considered by the committee before we came

                   you’re considering information that I may or may not know about."
here today because you're                                                    about.” JA0145-

JA0146 (MECC Tr. 7:14-8:1).

     52.      Counsel for ECFMG directed Mr. Swate to the copy of the materials printed for

him and reminded Mr. Swate that the materials had been provided to him "on
                                                                       “on more than one

                                                                                asking.” JA0146
occasion prior to this proceeding, which is our usual practice even without you asking."

(MECC Tr. 8:10-14); see JA0147-JA0148 (MECC Tr. 9:24-10:4 (explaining that the materials

were sent by email on November 14 and by Federal Express)).

     53.      Mr. Swate then presented a series of arguments on behalf of Dr. Tulp, including

that (a) ECFMG lacked jurisdiction over Dr. Tulp, (b) ECFMG had no written contract with Dr.

Tulp, (c) ECFMG should have the "sole
                                “sole and exclusive burden of proof,"
                                                              proof,” and (d) ECFMG appeared

      “co-mingling . . . the prosecutorial and jury functions.”
to be "co-mingling                                  functions." JA0149-JA0155 (MECC Tr. 11:17-

17:2).

     54.      Mr. Swate concluded, "That
                                   “That is our opening statement. If you have any questions,

you can address them to me. Dr. Tulp will not be answering any questions."
                                                               questions.” JA0154-JA0155

(MECC Tr. 16:22-17:2) (emphasis added).

     55.      Counsel for ECFMG repeatedly invited Dr. Tulp and his counsel to present a

substantive response or statement regarding the charges of irregular behavior against Dr. Tulp.

See, e.g., JA0155-JA0158, JA0162-JA0163 (MECC Tr. 17:3-7; 18:5-8, 17-21; 19:9-14; 19:23-

20:2; 20:18-21; 24:9-25:1; 25:11-16).



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     56.       At one point during the proceeding, counsel for ECFMG asked whether "USTAT
                                                                                   “USTAT

[sic] provide[d] any student with any medical school basic science education in the United States.”
                                                                                           States."

JA0157-JA0158 (MECC Tr. 19:23-20:2). Mr. Swate responded, "Well,
                                                          “Well, yes, it did,”
                                                                         did," but counsel

for ECFMG noted for the record that Dr. Tulp was "shaking
                                                 “shaking his head, no, and you [Mr. Swate]

just said, yes. So maybe you should let your client speak to respond.”
                                                             respond." JA0158 (MECC Tr. 20:3-

8). In response, Mr. Swate stated, "Dr.
                                   “Dr. Tulp is not going to be talking today. The next time you
                                                                                             you

                 going to be in federal
hear him talk is going          federal court.”
                                        court." JA0158 (MECC Tr. 20:9-12).

     57.       Counsel for ECFMG specifically asked for clarification of what Dr. Tulp meant

                      “campus” in his email to ECFMG, but Dr. Tulp and his counsel refused to
when he used the word "campus"

provide any clarification. JA0162-JA0164 (MECC Tr. 24:16-26:11).

     58.       Indeed, Dr. Tulp's
                           Tulp’s counsel also refused to answer questions, stating, "I'm
                                                                                     “I’m not a

witness. So you don't
                don’t get to cross-examine me."
                                           me.” JA0160 (MECC Tr. 22:12-14).

     59.       Mr. Swate repeatedly stated that he was "prepared
                                                       “prepared to go through every page"
                                                                                     page” of the

evidence presented to the Medical Education Credentials Committee. JA0161 (MECC Tr. 23:17-

18); see JA0162 (MECC Tr. 24:6-7); JA0169 (MECC Tr. 31:10-11). But when asked by counsel

for ECFMG to explain how the materials showed that Dr. Tulp did not provide false information

to ECFMG, Mr. Swate responded repeatedly that he did not bear the burden of proof. See, e.g.,

JA0157 (MECC Tr. 19:7-17); JA0161-JA0162 (MECC Tr. 23:19-24:1).

     60.       Toward the end of the hearing, in response to Mr. Swate again referencing his

“ability to go through"
"ability       through” the materials, counsel for ECFMG again asked Mr. Swate whether "there
                                                                                       “there

[was] anything in particular you [Mr. Swate] want to go through."
                                                        through.” JA0164 (MECC Tr. 26:20-22).

     61.       When counsel for ECFMG finally attempted to terminate the hearing, Mr. Swate

      “ECFMG is terminating this prior to us presenting our evidence.”
said, "ECFMG                                                evidence." JA0169 (MECC Tr. 31:2-



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4). In response, counsel for ECFMG stated, "We
                                           “We asked you to present evidence, and all you did

was present legal argument. What's
                            What’s your offer of proof? What would you like to provide?"
                                                                               provide?”

JA0169 (MECC Tr. 31:5-9). Mr. Swate responded, "We'll
                                               “We’ll go through every page of this."
                                                                               this.” JA0169

(MECC Tr. 31:10-11). But when counsel for ECFMG asked Mr. Swate to identify specifically the

evidence he wanted to address, Mr. Swate responded, "I'm
                                                    “I’m asking your evidence. You're
                                                                               You’re the one

presenting the evidence and I’m                is?” JA0169-JA0170 (MECC Tr. 31:23-32:2).
                            I'm asking what it is?"

     62.      Counsel for ECFMG then adjourned the hearing. Dr. Tulp refused to testify or

present any evidence explaining or clarifying why the evidence previously gathered by ECFMG

and disclosed to Dr. Tulp did not warrant a finding of irregular behavior. JA0170 (MECC Tr.

32:3-10).




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VII.    ECFMG Determines that Dr. Tuip
                                  Tulp Engaged in Irregular Behavior.

       63.        December 14, 2018, ECFMG
               On December           ECFMG notified Dr. Tulp that the Medical Education
                                                    Dr. Tu1p

                                                                   Dr. Tulp had engaged in
Credentials Committee had completed its review and determined that Dr.

irregular behavior, writing:

 Dear Dr. Tulp.

          I am writing to inform you that the ECFMG Medical Education Credentials Committee
 ("ECFMG Committee") has completed its review of the allegation that you, individually and in
 your capacity as an official of University of Science, Arks & Technology (USAT) Faculty of
 Medicine, Montserrat, engaged in irregular behavior in connection with providing false
 information to ECFMG. Specifically, you provided false information to ECFMG when you (1)
 notified ECFMG that USAT does not operate a branch campus in Miami, FL and (2) certified to
 the attendance dates of several USAT students and graduates when ECFMG has information
 that these students were not attending USAT during some of the time periods to which you
 certified.

         In advance of the review, the members of the ECFMG Committee were provided with
 the documents listed in ECFMG's October 18, 2018 letter and ECFMG's November 14, 2018
 emails. A hardcopy of the complete file was also sent to your attorney, Mr, Tommy Swate, on
 November 16, 2018 via Federal Express. On November 16, 2018, Mr. Swate acknowledged
 receipt of this complete file. You made a personal appearance before the ECFMG Committee
 accompanied by your legal counsel, Mr. Swate. A copy of the transcript of*the proceedings will
 be sent to you as soon as it is available.

         The ECFMG Committee considered the documentation presented to it and Mr. Swate's
 statements. Following careful review, the ECFMG Committee determined that you engaged in
 irregular behavior in connection with providing false information to ECFMG.

     The ECFMG Committee has determined that ECFMG will not accept any documents signed
I certified by you for ECFMG on behalf of USAT, or any other medical school, for a minimum of
five years from today; thereafter, the prohibition shall end only upon a petition to ECFMG
conclusively demonstrating to the satisfaction of the ECFMG Committee a familiarity with, and
willingness to adhere to, ECFMG polices. Your ECFMG Medical School Web Portal (EMSWP)
account will remain deactivated.

        In light of the ECFMG Committee's findings, the ECFMG Sponsor Note for USAT in the
 World Directory of Medical Schools (World Directory) will be updated as follows:




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            In 2018, ECFMG determined that a certain official of the University of Science
            Arts & Technology engaged in irregular behavior la connection with provkling
            false information to ECFMG.

 This note will remain in USAT's ECFMG Sponsor Note in the World Directory for five years,
 regardless of whether USAT changes its name, ownership, and/or location.

         Additionally, in accordance with the ECFMG Policies and Procedures Regarding
 irregular Behavior, a permanent annotation that you engaged in irregular behavior will be
 included in your ECFMG record. ECFMG may report the ECFMG Committee's determination of
 irregular behavior to the Federation of State Medical Boards of the United States, U.S. state and
 international medical licensing authorities, directors of graduate medical education programs,
 and to any other organization or Individual who, in the judgment of ECFMG, has a legitimate
 interest in such information.

        As noted in the enclosed ECFMG Rules of Appellate Procedure, decisions of the
 ECFMG Medical Education Credentials Committee may be appealed within the 30-day time
 period specified.


JA0172-JA0173.

     64.       The action taken regarding Dr. Tulp in connection with the finding of irregular

                            Tulp’s role as an authorized signatory on behalf of USAT. See JA0214
behavior was limited to Dr. Tulp's

(Injunction Hr'g
            Hr’g Tr. at 39:7-14).

     65.       The action does not disqualify USAT from having an authorized signatory. See

JA0214-JA0215 (Injunction Hr'g
                          Hr’g Tr. at 39:24-40:1); see also JA0475-JA0476 (Tulp Dep. 48:24-

49:11). Excluding Dr. Tuip,
                      Tulp, USAT has two authorized signatories who can sign documents

                                             (Tulp Dep. 48:24-49:11).
submitted to ECFMG on behalf of USAT. JA0476 (Tuip

     66.       Dr. Tuip
                   Tulp testified that he is involved in opening a new medical school in the British

                                                  Hr’g Tr. 96:15-97:4, 99:3-12); JA0455 (Tulp
Virgin Islands. JA0271-JA0272, JA0274 (Injunction Hr'g

Dep. 28:21-24).

     67.       Dr. Tuip
                   Tulp never appealed from the decision of the Medical Education Credentials

                          ECFMG’s Policies and Procedures Regarding Irregular Behavior.
Committee as permitted by ECFMG's

JA0549 (May 2, 2019 Declaration of K. Corrado ¶
                                              ¶ 3).


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     68.        Dr. Tulp never petitioned for reconsideration of the Medical Education Credentials

Committee’s decision as permitted by ECFMG’s
Committee's                          ECFMG's Policies and Procedures Regarding Irregular

Behavior. JA0549-JA0550 (May 2, 2019 Declaration of K. Corrado ¶
                                                               ¶ 4).

VIII. The ECFMG Sponsor Note for USAT in the World Directory of Medical Schools

     69.        The World Directory of Medical Schools is a listing of the world's
                                                                           world’s medical schools.

ECFMG uses "a
           “a sponsor note in the World Directory on a medical school to indicate to the public

and to the students and graduates of that school whether or not those students and graduates are

eligible to apply to ECFMG for certification. So it's
                                                 it’s the way in which [ECFMG] communicate[s]

                                              school’s graduates to start the process of ECFMG
publicly the eligibility, if you will, of the school's

certification.” JA0220-JA0221 (Injunction Hr'g
certification."                           Hr’g Tr. 45:17-46:6).

     70.        On or around September 24, 2018, ECFMG updated its Sponsor Note for USAT to

include the following language:

       Currently students and graduates of USAT are subject to enhanced procedures that
       must be met in order to be eligible for ECFMG Certification related services,
       including but not limited to: ECFMG Certification, USMLE examinations that lead
       to ECFMG certification, and Electronic Residency Application Service (ERAS)
       Support Services. ECFMG will provide information and instructions to applicants
       upon receipt of application.

JA0103-JA0107 (ECFMG00000498-ECFMG00000502); JA0550 (May 2, 2019 Declaration of K.

        ¶ 5).
Corrado ¶

     71.                                     “enhanced procedures"
                USAT was given notice of the "enhanced procedures” described in the Sponsor

Note via letter from Ms. Corrado dated September 14, 2018. JA0550 (May 2, 2019 Declaration

              ¶ 6); see JA0102 (Sept. 14, 2018 letter from K. Corrado to Dr. 0.
of K. Corrado ¶                                                              O. Tulp).

     72.        On or around October 18, 2018, ECFMG updated its Sponsor Note for USAT again,

to include the following language:




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      Note: As of January 1, 2019, students and graduates of this medical school with a
      graduation year of 2019 and later are not eligible to apply to ECFMG for ECFMG
      Certification, which also renders them ineligible to apply to ECFMG for the United
      States medical Licensing Examinations (USMLE) as a step towards ECFMG
      Certification.

JA0550 (May 2, 2019 Declaration of K. Corrado ¶
                                              ¶ 7); see JA0122-JA0123 (Oct. 18, 2018 email

from C. Bede to S. Mealey and K. Corrado).

      73.      USAT was given notice of the change to the Sponsor Note via letter from Ms.

Corrado dated October 18, 2018. JA0550 (May 2, 2019 Declaration of K. Corrado ¶
                                                                              ¶ 8); see

JA0113-JA0114 (Oct. 18, 2018 letter from K. Corrado to Dr. 0.
                                                           O. Tulp).

      74.      ECFMG’s
               ECFMG's Sponsor Note currently has both the language added in September 2018

and the language added in October 2018. See JA0548.

      75.      ECFMG did not update its Sponsor Note for USAT to reflect the finding of irregular

behavior against Dr. Tulp. JA0550 (May 2, 2019 Declaration of K. Corrado ¶
                                                                         ¶ 9); see JA0548;

JA0390-JA0391 (Pinsky Dep. 80:17-81:4).

IX.     Procedural History

      76.      At the injunction hearing on January 24, 2019, the Court asked Dr. Tulp’s
                                                                                  Tulp's counsel

           “exactly what causes of action are being asserted."
to confirm "exactly                                 asserted.” JA0180 (Injunction Hr'g
                                                                                  Hr’g Tr. 5:3-

7).

      77.      The Court twice described Dr. Tulp’s                      “a § 1983 claim"
                                             Tulp's due process claim as "a        claim”

alleging that ECFMG violated Dr. Tulp’s “procedural due process"
                                 Tulp's "procedural     process” or "procedural
                                                                    “procedural and substantive

    process” rights "as
due process"        “as protected by the 14th Amendment,"
                                              Amendment,” and Dr. Tulp's
                                                                  Tulp’s counsel twice

           “Yes, Your Honor."
responded, "Yes,      Honor.” JA0180 (Injunction Hr'g
                                                 Hr’g Tr. 5:18-22); JA0181 (Injunction Hr'g
                                                                                       Hr’g

Tr. 6:5-11).




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     78.       The Court denied Dr. Tulp's
                                    Tulp’s Motion for a Preliminary and/or Permanent Injunction

at the conclusion of the January 24, 2019 hearing. In explaining its decision, the Court specifically

           “[i]n this case, there was notice and an opportunity to be heard."
noted that "[i]n                                                      heard.” JA0306 (Injunction

Hr’g Tr. 131:5-11).
Hr'g

     79.       ECFMG served discovery requests on Dr. Tulp asking him to describe in detail his

alleged damages and produce any and all documents he would use to support a damages award,

but Dr. Tulp provided no such description or documents.            JA0413 (ECFMG Request for

                          “[a]ll documents and communications relating to the remedies you
Production No. 37 seeking "[a]ll

seek, including each element of damages or other relief to which you allegedly are entitled");
                                                                                   entitled”);

JA0409 (ECFMG Interrogatory No. 10 asking Dr. Tulp to "[d]escribe
                                                      “[d]escribe in detail any and all remedies

that you seek in connection with this lawsuit");
                                      lawsuit”); JA0416-JA0427 (Dr. Tulp's
                                                                    Tulp’s discovery responses).




 Dated: May 3, 2019                                Respectfully submitted,

                                                   /s/ Elisa P. McEnroe
                                                   /s/Elisa
                                                   Elisa P. McEnroe, PA Bar No. 206143
                                                   Matthew D. Klayman, PA Bar No. 319105
                                                   MORGAN, LEWIS & BOCKIUS, LLP
                                                   1701 Market Street
                                                   Philadelphia, PA 19103-2921
                                                   Telephone: +1.215.963.5917
                                                   Facsimile:     +1.215.963.5001
                                                   elisa.mcenroe@morganlewis.com
                                                   matthew.klayman@morganlewis.com

                                                            for the Educational Commission for
                                                   Attorneysfor                             for
                                                   Foreign Medical Graduates




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



DR. ORIEN L. TULP,
                                                  )
                                                  )
                                                  )     Case No. 2:18-cv-05540-WB
                        Plaintiff,
                                                  )
                                                  )     Hon. Wendy Beetlestone
v.
                                                  )
EDUCATIONAL COMMISSION FOR
                                                  )
FOREIGN MEDICAL GRADUATES and
                                                  )
                                                  )
DR. WILLIAM W. PINSKY,
                                                  )
                                                  )
                        Defendants.
                                                  )


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  About ECFMG
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 Statement of Values, Mission, and Purposes
Values

The values of ECFMG are expressed in its vision statement:

"Improving world health through excellence in medical education in the context of ECFMG's core values of
collaboration, professionalism and accountability."
                                   accountability?'

Mission

The charge of ECFMG is expressed in its mission statement:

"The ECFMG promotes quality health care for the public by certifying international medical graduates for entry
U.S. graduate medical education, and by participating in the evaluation and certification of other physicians and
care professionals nationally and internationally. In conjunction with its Foundation for Advancement of IInterna
                                                                                                            nterna
Medical Education and Research (FAIMER), and other partners, it actively seeks opportunities to promote medic
education through programmatic and research activities."

Purposes

The purposes (goals) that actuate and accomplish ECFMG's mission are to:

  • Certify the readiness of international medical graduates for entry into graduate medical education and healt
    systems in the United States through an evaluation of their qualifications.
  • Provide complete, timely, and accessible information to international medical graduates regarding entry intc
    graduate medical education in the United States.
  • Assess the readiness of international medical graduates to recognize the diverse social, economic and cultur
    needs of U.S. patients upon entry into graduate medical education.
  • Identify the needs of international medical graduates to become acculturated into U.S. health care.
  • Verify credentials and provide other services to health care professionals worldwide.
  • Provide international access to testing and evaluation programs.
  • Expand knowledge about international medical education programs and their graduates by gathering data,
    conducting research, and disseminating the findings.
  • Improve international medical education through consultation and cooperation with medical schools and (Al  otl
    institutions relative to program development, standard setting, and evaluation.
  • Improve assessment through collaboration with other entities in the United States and abroad.
  • Improve the quality of health care by providing research and consultation services to institutions that evalue
                                                                                                            evalua
    international medical graduates for entry into their country.
  • Enhance effectiveness by delegating appropriate activities in international medical education to FAI MER.

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                              EDUCATIONAL COMMISSION FOR
                                                     FOR                               3624  Market Street
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ECFMG                         FOREIGN MEDICAL
                              FOREIGN MEDICAL GRADUATES
                                              GRADUATES                                                 19104-2685 USA
                                                                                       Philadelphia PA 19104-2685
                                                                                       215-386-5900 | 215-966-3124
                                                                                       215-386-5900
                                                                                                                   USA
                                                                                                        215-966-3124 Fax
                                                                                       www.ecfmg.org
                                                                                       www.ecfmg.org


                                     ECFMG MEDICAL SCHOOL POLICY

                                   International Medical School Definition

   An "International Medical School" is an educational facility located in a country outside of the United States
and Canada with its primary campuses and main operations located in that country.

 Additional Criteria for a Medical School's Students and Graduates to Be Eligible to Apply to ECFMG
                                       for ECFMG Certification

In addition to meeting ECFMG's current eligibility requirements for ECFMG Certification, in order for students
and graduates of a medical school to be eligible to apply to ECFMG for ECFMG Certification, the following
criteria must be met:

(1) ECFMG must have, among other things, confirmation from the appropriate government authority of the
    medical school country that:

       (a.) the medical school is recognized as a medical school and permitted to operate by the
       (a.)the
                         and
            government; and

       (b.) the medical school meets governmental accreditation requirements if they apply; and
       (b.)the                                                                              and

       (c.) the degree awarded to graduates of that medical school meet the medical education
            eligibility requirements for licensure to practice medicine in the medical school country; and
                                                                                                       and

       (d.) the medical school is an educational facility located in that country with its primary
       (d.)the
            campuses and main operations located in that country.

(2) If the medical school has a branch campus in another country, ECFMG may require confirmation from the
    appropriate government authority in the branch campus country that:

       (a.)the
       (a.) the branch campus is authorized to operate as a medical school in the branch campus
            country;

       (b.)the
       (b.) the medical school awards degrees that meet the medical education eligibility
            requirements for licensure to practice medicine in the branch campus country.

(3) The medical school must, upon request, be able to demonstrate that it has the staff, policies /
    procedures, and
                 an facilities necessary for the school's students and graduates to fulfill ECFMG's
    requirements to become ECFMG Certified. This includes, but is not limited to, having an authorized
    signatory in place to accurately primary source verify diplomas, or be otherwise acceptable to
    ECFMG.

ECFMG, in its reasonable discretion, may apply the following additional criterion to medical
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                                                                   Standard ECFMG
                                                                            ECFMG Certificate
                                                                                  Certi cate

About ECFMG
About ECFMG Certification
            Certi cation

The Educational
The  Educational Commission
                  Commission for
                               for Foreign
                                   Foreign Medical
                                           Medical Graduates
                                                    Graduates (ECFMG),
                                                               (ECFMG), through    its
                                                                         through its
program  of certification,
program of  certi cation, assesses  whether international
                           assesses whether  international medical
                                                           medical graduates
                                                                   graduates are
                                                                              are ready
                                                                                  ready toto
enter residency
enter residency or
                 or fellowship
                    fellowship programs  in the
                                programs in     United States
                                            the United States that
                                                              that are accredited by
                                                                   are accredited  by the
                                                                                       the
Accreditation Council
Accreditation Council for
                        for Graduate
                            Graduate Medical   Education (ACGME).
                                      Medical Education  (ACGME). ACGME
                                                                    ACGME requires
                                                                             requires
international medical
international medical graduates
                        graduates who  enter ACGME-accredited
                                   who enter ACGME-accredited programs
                                                                 programs toto be certi ed
                                                                               be certified
by ECFMG.
by ECFMG.

ECFMG Certification
ECFMG    Certi cation assures
                      assures directors
                               directors ofof ACGME-accredited
                                              ACGME-accredited residency
                                                                   residency and
                                                                              and fellowship
                                                                                  fellowship
programs, and the
programs, and      people of
               the people of the  United States,
                             the United    States, that international medical
                                                   that international  medical graduates
                                                                               graduates have
                                                                                          have
met minimum
met  minimum standards
              standards of
                         of eligibility
                            eligibility to enter such
                                        to enter such programs.
                                                       programs. ECFMG
                                                                  ECFMG Certification
                                                                            Certi cation does
                                                                                         does
not, however,
not, however, guarantee
              guarantee that
                         that these   graduates will
                              these graduates    will be
                                                      be accepted   into programs;
                                                          accepted into  programs; the
                                                                                   the
number of
number  of applicants
           applicants each year exceeds
                      each year  exceeds thethe number
                                                number ofof available
                                                            available positions.
                                                                      positions.

ECFMG Certification
ECFMG   Certi cation is is also
                           also one
                                 one of
                                     of the
                                        the eligibility
                                            eligibility requirements
                                                        requirements for
                                                                      for international
                                                                          international medical
                                                                                         medical
graduates to
graduates     take Step
           to take Step 3   of the
                          3 of     three-step United
                               the three-step   United States
                                                         States Medical
                                                                Medical Licensing
                                                                        Licensing Examination
                                                                                    Examination
(USMLE). Medical
.(USMLE). Medical licensing     authorities in
                    licensing authorities   in the  United States
                                               the United   States require
                                                                   require that
                                                                            that international
                                                                                 international
medical graduates
medical graduates be be certi   ed by
                        certified     ECFMG, among
                                   by ECFMG,    among other
                                                         other requirements,
                                                               requirements, toto obtain
                                                                                  obtain an
                                                                                         an
unrestricted license
unrestricted  license to
                       to practice  medicine.
                          practice medicine.

ECFMG defines
ECFMG    de nes an
                 an international
                    international medical
                                   medical graduate
                                           graduate as
                                                     as aa physician
                                                           physician who
                                                                     who received
                                                                         received his/her
                                                                                   his/her
basic medical degree
basic medical  degree or
                      or qualification
                         quali cation from
                                       from aa medical
                                               medical school
                                                       school located  outside the
                                                               located outside     United
                                                                               the United
States and
States and Canada*.
            Canada*. Citizens
                     Citizens of
                              of the
                                  the United
                                      United States
                                             States who
                                                    who have
                                                          have completed
                                                               completed their  medical
                                                                          their medical
education in
education  in schools
              schools outside
                      outside the  United States
                              the United  States and
                                                 and Canada
                                                     Canada areare considered international
                                                                   considered international
medical graduates;
medical  graduates; non-U.S.
                    non-U.S. citizens  who have
                              citizens who have graduated
                                                 graduated from
                                                             from medical
                                                                   medical schools
                                                                           schools in
                                                                                   in the
                                                                                      the
United States
United  States and Canada are
               and Canada       not considered
                            are not             international medical
                                     considered international  medical graduates.
                                                                       graduates.



** The
   The United
       United States
              States and Canada refer
                     and Canada refer to
                                      to the geographic locations
                                         the geographic            where citizens
                                                         locations where citizens are
                                                                                  are
 issued passports
issued  passports by
                  by the governments of
                     the governments  of either
                                         either the United States
                                                the United States or
                                                                  or Canada.
                                                                     Canada.


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                       13, 2018.
                           2018.
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                                                                                                  reserved.



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                                                                                  Certi cate

Requirements for
Requirements for ECFMG
                 ECFMG Certification
                       Certi cation

To be
To     eligible for
    be eligible for certi  cation by
                    certification    ECFMG, international
                                  by ECFMG, international medical
                                                          medical graduates
                                                                  graduates must
                                                                            must meet
                                                                                 meet the
                                                                                      the
following requirements.
following   requirements.

Medical School
Medical School Requirements
               Requirements

The physician's
The  physician’s medical
                   medical school
                            school must
                                    must meet
                                           meet requirements
                                                  requirements established
                                                                     established by   ECFMG. Schools
                                                                                   by ECFMG.      Schools
that meet all
that meet       requirements will
            all requirements    will be
                                     be listed     the World
                                                in the
                                        listed in               Directory of
                                                        WorldDirectory          Medical Schools
                                                                             ofMedical     Schools asas
meeting eligibility
meeting   eligibility requirements
                      requirements forfor their
                                           their students
                                                 students andand graduates
                                                                   graduates to   apply to
                                                                               to apply   to ECFMG
                                                                                             ECFMG for  for
ECFMG Certification
ECFMG     Certi cation andand examination.
                              examination. To  To con
                                                  confirmrm that   your medical
                                                             that your   medical school
                                                                                   school meets
                                                                                            meets
ECFMG’s requirements,
ECFMG's     requirements, access     the World
                             access the            Directory at www.wdoms.org.
                                           WorldDirectoryat         www.wdoms.org. Medical         schools
                                                                                        Medical schools
that meet ECFMG's
that meet   ECFMG’s requirements
                         requirements will
                                        will have
                                              have an   ECFMG note
                                                     an ECFMG      note stating
                                                                         stating this  in the
                                                                                  this in      schools’
                                                                                          the schools'
World  Directory listing. The
WorldDirectorylisting.       The ECFMG
                                 ECFMG note note also
                                                  also will
                                                        will include
                                                             include the   graduation years
                                                                       the graduation    years for
                                                                                                 for which
                                                                                                     which
the school meets
the school   meets these    requirements. Since
                     these requirements.     Since ECFMG
                                                     ECFMG is  is aa sponsor
                                                                     sponsor of  the World
                                                                              of the           Directory,
                                                                                      WorldDirectory,
the ECFMG note
the ECFMG     note isis located
                        located on
                                on the  “Sponsor Notes"
                                   the "Sponsor      Notes” tab
                                                              tab of
                                                                   of the
                                                                      the medical
                                                                          medical school
                                                                                    school listing.   If
                                                                                             listing. If
there is no
there is no ECFMG
             ECFMG note note on
                             on the  Sponsor Notes
                                the Sponsor     Notes tab    of your
                                                        tab of  your medical
                                                                       medical school's
                                                                                school’s listing,
                                                                                           listing, you
                                                                                                    you
are not
are not eligible
         eligible to  apply to
                  to apply     ECFMG for
                            to ECFMG      for ECFMG
                                              ECFMG Certification
                                                        Certi cation and and examination.
                                                                              examination. For For tips,
                                                                                                   tips,
see the
see the quick
         quick guide
                 guide on
                        on how
                           how to
                                to con   rm that
                                   confirm    that aa medical
                                                      medical school
                                                                school meets
                                                                         meets eligibility
                                                                                eligibility
requirements.
requirements.

    Important Note:
    Important   Note: Beginning
                        Beginning inin 2023,
                                       2023, to
                                              to be eligible for
                                                 be eligible for ECFMG
                                                                 ECFMG Certification,
                                                                           Certi cation, ECFMG
                                                                                           ECFMG will will
    require that
    require       applicants graduate
            that applicants    graduate from
                                         from a   medical school
                                                a medical  school that   has been
                                                                   that has   been appropriately
                                                                                    appropriately
    accredited. To
    accredited.  To satisfy
                     satisfy this
                             this requirement,
                                  requirement, medical
                                                 medical schools
                                                          schools must
                                                                    must be
                                                                          be accredited
                                                                               accredited by  an agency
                                                                                           by an  agency
    that has
    that has been   recognized by
             been recognized      by the World Federation
                                     the World   Federation for
                                                              for Medical   Education through
                                                                  Medical Education     through itsits
    Programme for
    Programme     for Recognition
                      Recognition of    Accrediting Agencies.
                                     ofAccrediting   Agencies. ECFMG
                                                                 ECFMG is  is in
                                                                              in the
                                                                                 the process  of
                                                                                     process of
    establishing policies
    establishing            and procedures
                  policies and                for implementing
                                 procedures for   implementing this    requirement and
                                                                  this requirement     and will
                                                                                            will publish
                                                                                                 publish
    updates, as
    updates,     they become
              as they            available, on
                       become available,    on the
                                                the ECFMG
                                                    ECFMG website.
                                                              website. International
                                                                        International medical
                                                                                        medical
    students and
    students       graduates interested
              and graduates     interested in
                                            in ECFMG
                                               ECFMG Certification
                                                        Certi cation should
                                                                       should monitor
                                                                                 monitor the  ECFMG
                                                                                          the ECFMG
    website for
    website  for the
                 the latest  information.
                      latest information.

Application for
Application for ECFMG
                ECFMG Certification
                      Certi cation

International medical
International  medical students/graduates
                       students/graduates who
                                            who wish
                                                 wish to  pursue ECFMG
                                                       to pursue  ECFMG Certification
                                                                           Certi cation must
                                                                                        must
submit an
submit an Application
           Application for
                        for ECFMG
                            ECFMG Certification.
                                    Certi cation. The
                                                  The Application
                                                        Application for
                                                                     for ECFMG
                                                                         ECFMG Certification
                                                                                Certi cation
consists of an
consists of an on-line
               on-line application
                       application and the Certification
                                   and the Certi cation ofof Identification
                                                             Identi cation Form
                                                                            Form (Form
                                                                                 (Form 186)
                                                                                       186)

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available through
available through ECFMG's
                  ECFMG's Interactive
                              Interactive Web
                                            Web Applications
                                                  Applications (IWA).
                                                                (IWA). TheThe Application
                                                                              Application for
                                                                                           for
ECFMG Certification
ECFMG    Certi cation requires
                       requires applicants
                                 applicants toto con   rm their
                                                 confirm        identity, contact
                                                          their identity,  contact information,
                                                                                    information,
and graduation
and graduation from
                from or
                      or enrollment
                         enrollment inin aa medical
                                            medical school
                                                     school that
                                                            that is
                                                                  is listed    the World
                                                                            in the
                                                                     listed in     World
Directory as meeting
Directoryas   meeting ECFMG
                      ECFMG eligibility     requirements. See
                                eligibility requirements.        Medical School
                                                            See Medical     School Requirements
                                                                                    Requirements..
As part
As      of the
   part of the application, international medical
               application, international   medical students/graduates
                                                      students/graduates mustmust also  con rm
                                                                                   also confirm
their understanding of
their understanding  of the  purpose of
                        the purpose   of ECFMG
                                          ECFMG Certification
                                                    Certi cation and
                                                                   and release
                                                                         release certain
                                                                                 certain legal
                                                                                         legal
claims.     Application for
        See Application
claims. See                  ECFMG Certi
                         for ECFMG             cation.
                                      Certification.

Examination Requirements
Examination Requirements

The examination
The  examination requirements
                 requirements for
                              for ECFMG
                                  ECFMG Certification
                                         Certi cation include
                                                         include passing
                                                                 passing Step
                                                                         Step 1
                                                                              1 and
                                                                                and Step
                                                                                    Step
2 of the
2 of     USMLE. The
     the USMLE. The Step
                    Step 2
                         2 exam
                           exam has
                                has two separately administered
                                    two separately  administered components,
                                                                   components, the
                                                                                 the
Clinical Knowledge
Clinical           (CK) component
         Knowledge (CK) component and
                                   and the Clinical Skills
                                       the Clinical Skills (CS)
                                                           (CS) component.
                                                                component.

To meet
To meet the examination requirements
        the examination requirements for
                                     for ECFMG
                                         ECFMG Certification,
                                               Certi cation, applicants
                                                              applicants must:
                                                                         must:

    1. Satisfy
    1. Satisfy the medical science
               the medical science examination
                                   examination requirement.
                                               requirement.
    Step 1
    Step  1 and
            and Step
                Step 2 CK of
                     2 CK of the USMLE are
                             the USMLE are the exams currently
                                           the exams           administered that
                                                     currently administered      satisfy
                                                                            that satisfy
    this requirement.
    this requirement.

    2. Satisfy
    2. Satisfy the clinical skills
               the clinical skills requirement.
                                   requirement.
    Step 2
    Step 2 CS
            CS of
               of the
                  the USMLE
                      USMLE is is the
                                  the exam
                                      exam currently administered that
                                           currently administered that satisfies
                                                                       satis es this
                                                                                 this
    requirement.
    requirement.

ECFMG has
ECFMG    has established
             established time
                         time limits for completing
                              limits for completing the examinations required
                                                    the examinations required for
                                                                              for ECFMG
                                                                                  ECFMG
Certi cation.
Certification.

For detailed
For detailed information,
             information, including
                          including information
                                    information on
                                                 on time
                                                    time limits and using
                                                         limits and  using aa passing
                                                                              passing
performance
performance onon former
                 former exams  to satisfy
                        exams to  satisfy these
                                          these requirements,
                                                requirements, see   Examinations for
                                                                see Examinations    for
ECFMG Certi
ECFMG           cation.
        Certification.

Medical Education
Medical Education Credential
                  Credential Requirements
                             Requirements

The physician's
The physician’s graduation
                graduation year year must
                                      must be included in
                                           be included  in the  ECFMG note
                                                            the ECFMG      note inin the medical
                                                                                     the medical
school's World
school's        Directory listing.
                Directorylisting.
          WorldDirectory      listing. See Medical School
                                       See Medical  School Requirements
                                                             Requirements.. International
                                                                                International
medical graduates
medical  graduates must
                     must have
                            have been
                                   been awarded    credit for
                                         awarded credit    for at
                                                               at least  four credit
                                                                  least four           years (academic
                                                                              credit years    (academic
years for
years for which
          which credit    has been
                 credit has          given toward
                               been given  toward completion
                                                    completion of  of the
                                                                      the medical
                                                                           medical curriculum)
                                                                                     curriculum) byby aa
medical school
medical  school that  is listed
                that is  listed in  the World
                                 in the        Directory as meeting
                                        WorldDirectoryas      meeting ECFMG
                                                                          ECFMG eligibility
                                                                                    eligibility
requirements. There
requirements.  There are     restrictions on
                        are restrictions   on credits
                                              credits transferred
                                                      transferred to  to the medical school
                                                                         the medical    school that
                                                                                                that
awards an
awards  an applicant's
           applicant’s medical
                         medical degree     that can
                                    degree that  can be used to
                                                     be used       meet this
                                                               to meet    this requirement.
                                                                               requirement. See See
Transfer
Transfer Credits     Medical Education
                  in Medical
          Credits in             Education Credentials
                                             Credentials..
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Applicants must
Applicants  must document
                 document the the completion  of all
                                  completion of  all requirements
                                                     requirements for,
                                                                    for, and
                                                                         and receipt
                                                                             receipt of,
                                                                                      of, the
                                                                                          the
  nal medical
final medical diploma.
              diploma. ECFMG
                         ECFMG verifies
                                  veri es every  applicant’s medical
                                          every applicant's  medical school
                                                                       school diploma
                                                                               diploma with
                                                                                         with the
                                                                                              the
appropriate officials
appropriate  of cials of
                       of the medical school
                          the medical school that  issued the
                                             that issued      diploma and
                                                          the diploma        requests that
                                                                         and requests  that the
                                                                                             the
medical school
medical  school provide
                provide the     nal medical
                          the final medical school
                                            school transcript.   Veri cation by
                                                     transcript. Verification     ECFMG with
                                                                              by ECFMG      with
the issuing school
the issuing school may
                   may also
                         also be required for
                              be required for transcripts
                                              transcripts that   are submitted
                                                           that are  submitted toto document
                                                                                    document
transferred
transferred credits.  See Medical
             credits. See           Education Credentials
                           MedicalEducation    Credentials..

   Important Note:
   Important  Note: Submitting
                     Submitting falsified
                                falsi ed or
                                          or altered
                                             altered documents
                                                     documents maymay result
                                                                       result in
                                                                              in aa finding
                                                                                      nding of
                                                                                            of
   irregular behavior
   irregular          and permanent
             behavior and permanent annotation     of your
                                       annotation of  your ECFMG
                                                             ECFMG record.
                                                                     record. For
                                                                             For more
                                                                                   more
   information and
   information      potential consequences,
                and potential consequences, seesee Policies
                                                     ?licies and
                                                   Policies  andProcedures
                                                                 Procedures Regarding
                                                                             Regarding
   Irregular Behavior.
   Irregular Behavior.


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                                                                                                  reserved.




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Standard ECFMG
Standard ECFMG Certificate
               Certi cate

The Accreditation
The  Accreditation Council
                   Council for
                           for Graduate
                               Graduate Medical   Education (ACGME)
                                         Medical Education   (ACGME) requires
                                                                      requires
international medical
international medical graduates
                       graduates who  enter ACGME-accredited
                                 who enter  ACGME-accredited programs    of graduate
                                                                programs of graduate
medical education
medical education in
                   in the United States
                      the United States to
                                        to be
                                           be certi  ed by
                                              certified    ECFMG.
                                                        by ECFMG.

ECFMG issues
ECFMG      issues the   Standard ECFMG
                    the Standard   ECFMG Certificate
                                             Certi cate toto applicants
                                                             applicants who
                                                                        who meet
                                                                              meet all
                                                                                    all of
                                                                                        of the
                                                                                           the
requirements for
requirements       for certi  cation. International
                       certification. International medical
                                                     medical graduates
                                                               graduates must
                                                                          must also  pay any
                                                                                also pay   any
outstanding charges
outstanding               on their
                 charges on         ECFMG financial
                              their ECFMG      nancial accounts
                                                        accounts before
                                                                   before their
                                                                          their certi   cates are
                                                                                certificates  are
issued. Standard
issued. Standard ECFMGECFMG Certificates
                                Certi cates are
                                              are issued
                                                  issued to
                                                          to applicants
                                                             applicants approximately
                                                                        approximately two two weeks
                                                                                               weeks
after all
after     of these
      all of          requirements have
              these requirements      have been   met. The
                                            been met.   The date
                                                             date that
                                                                  that the Standard ECFMG
                                                                       the Standard   ECFMG
Certi cate is
Certificate    is issued
                  issued is
                         is the date an
                            the date  an international
                                         international medical
                                                         medical graduate
                                                                  graduate is
                                                                            is considered
                                                                               considered certi     ed
                                                                                             certified
by ECFMG. Currently,
by ECFMG.       Currently, ECFMG
                             ECFMG sends
                                      sends the  Standard ECFMG
                                             the Standard    ECFMG Certificate
                                                                      Certi cate to
                                                                                  to the
                                                                                     the applicant’s
                                                                                          applicant's
address of
address   of record
              record by   Federal Express.
                       by Federal  Express. For
                                              For tips, see the
                                                  tips, see     quick guide
                                                            the quick  guide on
                                                                             on how
                                                                                 how to   ensure you
                                                                                      to ensure   you
receive your
receive   your ECFMG
                 ECFMG Certificate
                           Certi cate asas soon
                                           soon as
                                                 as possible.
                                                    possible.

The Standard
The Standard ECFMG
             ECFMG Certificate
                   Certi cate includes:
                               includes:

      The name
    • The name of
               of the applicant;
                  the applicant;
      The certi
    • The        cate number;
          certificate number;
      The dates
    • The dates that
                that the
                     the examination requirements were
                         examination requirements      met; and
                                                  were met; and
      The date
    • The date that
               that the certi cate was
                    the certificate     issued.
                                    was issued.

Con rming ECFMG
Confirming ECFMG Certification
                 Certi cation to  Third Parties
                               to Third Parties

ECFMG offers
ECFMG      offers the  Certi cation Verification
                  the Certification    Veri cation Service
                                                      Service (CVS)
                                                               (CVS) to
                                                                      to provide
                                                                         provide primary-source
                                                                                   primary-source
con   rmation of
confirmation     of the ECFMG certi
                    the ECFMG             cation status
                                   certification  status of
                                                         of international
                                                             international medical
                                                                             medical graduates.
                                                                                      graduates.
ECFMG will
ECFMG      will con   rm your
                confirm  your certi    cation status
                                certification  status when
                                                       when aa request
                                                                request is
                                                                         is received
                                                                            received from
                                                                                      from a  U.S.
                                                                                            a U.S.
medical licensing
medical               authority, residency
          licensing authority,    residency program
                                              program director,
                                                         director, hospital,
                                                                   hospital, oror other
                                                                                  other organization
                                                                                        organization
that, in the
that, in      judgment of
         the judgment     of ECFMG,
                             ECFMG, has has aa legitimate  interest in
                                               legitimate interest  in such
                                                                       such information.
                                                                              information. For
                                                                                            For status
                                                                                                status
reports sent
reports   sent to
                to medical
                   medical licensing    authorities, the
                             licensing authorities,        request can
                                                       the request  can also
                                                                         also be   made by
                                                                               be made      you. For
                                                                                         by you. For
more information,
more   information, seesee Con    rming ECFMG
                           Confirming     ECFMG Certi       cation to
                                                     Certification to Third
                                                                       ThirdParties   in Related
                                                                              Parties in Related
ECFMG Services.
ECFMG      Services.




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Your ECFMG
Your ECFMG Record
           Record
USMLE/ECFMG Identification
USMLE/ECFMG Identi cation Number
                           Number I| Your
                                     Your Name
                                          Name |I Changing
                                                  Changing Your
                                                           Your Name
                                                                Name |I Contact
                                                                        Contact Information
                                                                                Information

USMLE/ECFMG Identification
USMLE/ECFMG Identi cation Number
                           Number

Before you
Before you can  submit an
            can submit an Application
                           Application for
                                       for ECFMG
                                           ECFMG Certification
                                                    Certi cation or
                                                                 or apply
                                                                    apply to
                                                                          to ECFMG
                                                                             ECFMG for
                                                                                     for an
                                                                                         an
exam, you
exam, you must
           must obtain
                obtain aa USMLE/ECFMG
                          USMLE/ECFMG Identification
                                           Identi cation Number.
                                                          Number. You
                                                                   You can  obtain a
                                                                        can obtain a
USMLE/ECFMG Identification
USMLE/ECFMG      Identi cation Number
                                Number by   accessing Interactive
                                         by accessing  Interactive Web
                                                                   Web Applications
                                                                        Applications (IWA).
                                                                                     (IWA).
Please
Please allow approximately five
       allow approximately   ve business   days to
                                 business days     receive your
                                                to receive your Identification
                                                                Identi cation Number.
                                                                               Number.

The information
The  information youyou provide   during the
                         provide during   the process
                                              process ofof obtaining
                                                           obtaining a    USMLE/ECFMG
                                                                       a USMLE/ECFMG
Identi cation Number
Identification   Number will
                           will become
                                become a   part of
                                         a part  of your
                                                    your permanent
                                                          permanent ECFMG
                                                                       ECFMG record.
                                                                                 record. If
                                                                                         If you
                                                                                            you fail
                                                                                                fail
to
to provide  your correct
   provide your   correct and
                           and current
                                current legal  name, you
                                         legal name,   you will
                                                           will be required to
                                                                be required      submit acceptable
                                                                              to submit acceptable
documentation, as
documentation,     as described  in Changing
                      described in  ChangingYourYour Name   in Your
                                                      Name in         ECFMG Record
                                                                Your ECFMG     Record,, to
                                                                                        to change
                                                                                            change
the name in
the name  in your
              your ECFMG
                    ECFMG record.
                             record. If
                                     If ECFMG
                                        ECFMG determines
                                                   determines that
                                                                that the
                                                                     the biographic  information
                                                                          biographic information
you submit
you submit isis inaccurate,
                inaccurate, not
                            not complete,   or insufficient
                                 complete, or   insuf cient to   assign aa USMLE/ECFMG
                                                             to assign     USMLE/ECFMG
Identi cation Number
Identification   Number to   you, your
                          to you, your request
                                        request for
                                                  for the USMLE/ECFMG Identification
                                                      the USMLE/ECFMG        Identi cation
Number will
Number   will not
               not be
                   be processed.
                       processed.

Once ECFMG
Once  ECFMG informs
               informs you
                         you of
                             of your
                                your number,
                                     number, you
                                             you must
                                                  must include
                                                        include it
                                                                it on
                                                                   on all
                                                                      all communications,
                                                                          communications,
applications, medical
applications, medical education
                        education credentials, request forms,
                                  credentials, request forms, and   payments that
                                                              and payments         you send
                                                                              that you send
to ECFMG. You
to ECFMG.  You will
                 will also
                      also need
                           need your
                                your USMLE/ECFMG
                                     USMLE/ECFMG Identification
                                                      Identi cation Number
                                                                      Number toto use
                                                                                  use
ECFMG’s on-line
ECFMG's   on-line services.
                  services.

Your USMLE/ECFMG
Your USMLE/ECFMG Identification
                     Identi cation Number
                                    Number cannot
                                            cannot bebe changed.
                                                         changed. IfIf you
                                                                       you forget
                                                                           forget or
                                                                                  or lose
                                                                                     lose
your USMLE/ECFMG
your USMLE/ECFMG Identification
                     Identi cation Number,
                                    Number, you
                                            you can   obtain it
                                                  can obtain  it by
                                                                 by accessing  IWA or
                                                                    accessing IWA    or by
                                                                                        by
contacting ECFMG. Use
contacting ECFMG.   Use the
                        the contact information for
                            contact information  for General
                                                     General Inquiries
                                                               Inquiries on
                                                                          on the
                                                                             the Contact
                                                                                 Contact
ECFMG page
ECFMG        of the
        page of     ECFMG website.
                the ECFMG   website. To
                                     To protect
                                        protect the
                                                the privacy  of applicants,
                                                     privacy of  applicants, ECFMG
                                                                              ECFMG will
                                                                                       will
not provide
not provide USMLE/ECFMG
            USMLE/ECFMG Identification
                             Identi cation Numbers
                                           Numbers by by telephone.
                                                         telephone.

    Important Note:
    Important    Note: AsAs part
                             part of
                                  of the
                                     the process  of obtaining
                                         process of  obtaining anan Identification
                                                                     Identi cation Number,
                                                                                    Number, youyou will
                                                                                                    will
    be asked if
    be asked  if you
                 you previously     submitted an
                      previously submitted     an application
                                                   application to  ECFMG for
                                                                to ECFMG     for examination.
                                                                                 examination. You
                                                                                                You also
                                                                                                     also
    will be
    will    asked if
         be asked  if you
                      you were
                            were previously   assigned aa USMLE
                                  previously assigned      USMLE Identification
                                                                    Identi cation Number.
                                                                                   Number. If If you
                                                                                                 you
    were previously
    were  previously assigned
                        assigned aa USMLE
                                     USMLE Identification
                                             Identi cation Number
                                                              Number or or have
                                                                           have submitted
                                                                                 submitted aa prior
                                                                                               prior
    exam application
    exam   application to    ECFMG, you
                         to ECFMG,     you must
                                           must answer
                                                 answer "Yes"
                                                           “Yes” to the applicable
                                                                 to the  applicable question(s),
                                                                                     question(s), even
                                                                                                   even if
                                                                                                         if
    you submitted
    you  submitted thethe prior
                           prior application
                                 application under
                                              under a   different name
                                                      a different name or or did
                                                                             did not
                                                                                 not take
                                                                                     take the  exam for
                                                                                          the exam    for
    which you
    which  you applied.
                applied. You
                           You must
                                must answer    “Yes” regardless
                                      answer "Yes"    regardless of
                                                                  of whether
                                                                      whether you
                                                                                you submitted
                                                                                    submitted an an on-
                                                                                                    on-
    line application
    line application oror aa paper
                             paper application.
                                    application. If
                                                 If you
                                                    you were
                                                         were previously
                                                               previously assigned
                                                                            assigned aa USMLE
                                                                                        USMLE
    Identi cation Number
    Identification  Number or  or have
                                   have submitted
                                        submitted an an application
                                                        application toto ECFMG
                                                                         ECFMG but     indicate that
                                                                                  but indicate        you
                                                                                                 that you

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    were not
   were   not previously
              previously assigned
                           assigned aa number
                                       number or
                                               or have
                                                  have not
                                                       not applied
                                                           applied previously, this may
                                                                   previously, this may result
                                                                                        result in
                                                                                               in
   aa finding
        nding of
              of irregular
                 irregular behavior
                           behavior and   permanent annotation
                                      and permanent   annotation of
                                                                 of your
                                                                    your ECFMG
                                                                         ECFMG record.
                                                                                  record. See
                                                                                          See
    Policies and
   Policies  andProcedures
                  Procedures Regarding     Irregular Behavior.
                               RegardingIrregular    Behavior.


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Your ECFMG
Your ECFMG Record
           Record
USMLE/ECFMG Identification
USMLE/ECFMG Identi cation Number
                           Number I| Your
                                     Your Name
                                          Name |I Changing
                                                  Changing Your
                                                           Your Name
                                                                Name |I Contact
                                                                        Contact Information
                                                                                Information

Your Name
Your Name

You must
You must ensure
          ensure that   the name
                  that the  name inin your
                                      your ECFMG
                                           ECFMG record
                                                    record is
                                                            is your
                                                               your correct  and current
                                                                     correct and  current legal
                                                                                          legal
name. This
name.  This name
            name will
                  will appear
                       appear onon your
                                   your Standard
                                        Standard ECFMG
                                                   ECFMG Certificate
                                                             Certi cate once
                                                                         once you
                                                                               you have
                                                                                   have met
                                                                                         met all
                                                                                              all
requirements for
requirements   for certi  cation. You
                   certification. You must
                                       must use
                                            use this
                                                this name
                                                      name consistently   in all
                                                            consistently in  all communications
                                                                                 communications
you send
you send to  ECFMG, including
         to ECFMG,     including applications
                                  applications and  requests for
                                               and requests    for other
                                                                   other services.
                                                                         services. Failure
                                                                                   Failure to use
                                                                                           to use
the name in
the name  in your
             your ECFMG
                  ECFMG record
                             record consistently
                                     consistently in
                                                  in all
                                                     all communications
                                                         communications with     ECFMG may
                                                                           with ECFMG    may
delay exam
delay exam registration.
            registration. It
                           It may
                              may also
                                  also prevent  you from
                                       prevent you   from taking
                                                           taking an
                                                                   an exam
                                                                      exam for
                                                                            for which
                                                                                 which you
                                                                                       you are
                                                                                            are
registered and
registered and scheduled.
                scheduled.

You can
You can check   the name
        check the   name in
                          in your
                             your ECFMG
                                  ECFMG record
                                          record on-line
                                                 on-line using
                                                         using OASIS
                                                               OASIS or
                                                                     or the MyECFMG
                                                                        the MyECFMG
mobile app.
mobile      If you
       app. If you legally
                   legally change  your name,
                           change your  name, you
                                              you must
                                                  must submit
                                                        submit acceptable
                                                               acceptable documentation
                                                                          documentation
to ECFMG to
to ECFMG  to change
               change the  name in
                      the name   in your
                                    your ECFMG
                                         ECFMG record.   See Changing
                                                record. See  ChangingYour
                                                                      Your Name  in Your
                                                                            Name in Your
ECFMG Record.
ECFMG   Record.

      The name
    • The name you
                 you submit
                      submit onon your
                                   your exam
                                        exam application   will appear
                                              application will  appear on
                                                                        on your
                                                                           your exam  scheduling
                                                                                exam scheduling
      permit.  Your name,
      permit. Your  name, as   it appears
                            as it appears on
                                          on your
                                              your scheduling
                                                   scheduling permit,   must exactly
                                                                permit, must  exactly match
                                                                                      match the  name
                                                                                             the name
      on the
      on      form(s) of
         the fornn(s) of identification
                         identi cation you
                                         you present
                                              present at
                                                      at the
                                                         the test
                                                             test center.
                                                                   center. Please review your
                                                                           Please review  your
      scheduling permit
      scheduling  permit for
                           for details
                               details and
                                       and limited
                                           limited exceptions.   See information
                                                   exceptions. See   information on
                                                                                  on required
                                                                                     required
                     under Taking
      identi cation under
      identification         Takingthe   Examination in
                                     the Examination  in The
                                                          The United   States Medical
                                                              UnitedStates    Medical Licensing
                                                                                       Licensing
      Examination (USMLE)
      Examination   (USMLE)..
      If the
      If the name
             name onon your
                       your scheduling
                            scheduling permit
                                        permit has
                                               has been  misspelled, contact
                                                   been misspelled,  contact ECFMG
                                                                             ECFMG immediately
                                                                                      immediately
      by  e-mail, telephone,
      by e-mail,             or fax.
                  telephone, or fax. Use
                                     Use the
                                         the contact information for
                                             contact information for General  Inquiries on
                                                                     General Inquiries  on the
                                                                                           the
      Contact ECFMG
      Contact  ECFMG page     of the
                         page of the ECFMG
                                     ECFMG website.
                                              website.
      If you
      If you change
             change the  name in
                     the name  in your
                                  your ECFMG
                                        ECFMG record
                                                  record while  you are
                                                          while you       registered for
                                                                      are registered for an
                                                                                         an exam,
                                                                                             exam, aa
      revised scheduling
      revised  scheduling permit
                          permit reflecting
                                   re ecting this
                                              this change  will be
                                                   change will  be issued.  ECFMG will
                                                                    issued. ECFMG         send you
                                                                                     will send you an
                                                                                                    an e-
                                                                                                       e-
      mail notification
      mail noti cation when
                        when your
                             your revised
                                     revised scheduling
                                             scheduling permit    is available.
                                                          permit is  available. You
                                                                                You must
                                                                                    must present    the
                                                                                           present the
      revised scheduling
      revised  scheduling permit
                          permit atat the test center
                                      the test         on your
                                               center on  your exam    date. Name
                                                                exam date.   Name changes     must be
                                                                                   changes must     be
      received and
      received  and processed
                     processed by   ECFMG no
                                 by ECFMG    no later
                                                 later than seven business
                                                       than seven   business days
                                                                              days before   your testing
                                                                                   before your   testing
      appointment,
      appointment, oror you
                        you will
                            will not
                                 not be  able to
                                      be able to test.
                                                 test.
      If you
      If you have    valid Certi
             have aa valid        cation of
                           Certification    Identi cation Form
                                         ofIdentification  Form (Form
                                                                 (Form 186)
                                                                         186) on
                                                                              on file
                                                                                   le with ECFMG, it
                                                                                      with ECFMG,   it
      will be
      will    invalidated when
           be invalidated  when the   name in
                                  the name   in your
                                                your ECFMG
                                                     ECFMG record
                                                              record is
                                                                     is changed,  and you
                                                                        changed, and   you will
                                                                                           will be
                                                                                                be
      required to
      required  to complete     new Certi
                   complete aa new           cation of
                                     Certification     Identi cation Form
                                                    ofIdentification Form (Form
                                                                           (Form 186)
                                                                                   186) the  next time
                                                                                         the next time
      you apply
      you  apply for
                 for examination.
                      examination.


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     If the
   • If     name on
        the name  on your
                     your medical
                           medical diploma,
                                   diploma, transcript,    or other
                                               transcript, or  other credential
                                                                     credential does
                                                                                 does not
                                                                                       not match
                                                                                           match
     exactly the
     exactly  the name
                  name in
                        in your
                           your ECFMG
                                ECFMG record,
                                         record, you
                                                   you must
                                                       must submit
                                                              submit documentation,
                                                                      documentation, as    described in
                                                                                        as described in
     Verifying
     VerifyingYour   Name in
                Your Name      Medical Education
                            in Medical Education Credentials
                                                    Credentials that   veri es the
                                                                  that verifies     name on
                                                                                the name   on your
                                                                                              your
     medical diploma,
     medical  diploma, transcript,
                       transcript, or
                                   or other
                                      other credential   is (or
                                              credential is (or was) your name.
                                                                was) your         See Name
                                                                          name. See    Name on
                                                                                             on
     Medical   Diploma and
     MedicalDiploma    andTranscript(s)
                             Transcript(s) in Medical Education
                                           in Medical  Education Credentials     for examples
                                                                    Credentials for  examples of
                                                                                               of
     common    name discrepancies
     common name     discrepancies that  require name
                                    that require   name verification.
                                                          veri cation.


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Your ECFMG
Your ECFMG Record
           Record
USMLE/ECFMG Identification
USMLE/ECFMG Identi cation Number
                           Number I| Your
                                     Your Name
                                          Name |I Changing
                                                  Changing Your
                                                           Your Name
                                                                Name I| Contact
                                                                        Contact Information
                                                                                Information

Changing Your
Changing Your Name
              Name

If you
If you have
       have legally
             legally changed   your name
                     changed your    name and    want to
                                            and want         request a
                                                         to request     change of
                                                                      a change    of name
                                                                                     name inin your
                                                                                               your
ECFMG record,
ECFMG    record, send
                   send aa completed    Request to
                           completed Request      to Change     Applicant Biographic
                                                      Change Applicant                    Information
                                                                            Biographic Information
(Form 182)
(Form  182) to   ECFMG. Form
              to ECFMG.    Form 182
                                  182 is
                                       is available
                                          available in
                                                     in the   Resources section
                                                        the Resources     section of
                                                                                   of the  ECFMG
                                                                                      the ECFMG
website and
website        from ECFMG,
         and from    ECFMG, upon
                               upon request.
                                      request. Form
                                                Form 182182 requires
                                                              requires you
                                                                        you to
                                                                             to provide
                                                                                provide aa reason
                                                                                            reason for
                                                                                                    for
the  name change
the name   change and
                    and must
                         must be
                               be accompanied
                                   accompanied by   by aa copy  of the
                                                          copy of  the appropriate
                                                                       appropriate document(s),
                                                                                       document(s), asas
de ned on
defined  on Form
            Form 182.
                    182. ECFMG
                         ECFMG mustmust be   able to
                                          be able      determine from
                                                   to determine     from the   document(s) you
                                                                          the documents)       you
submit that
submit  that your
              your name
                    name has
                           has legally
                               legally changed    from the
                                        changed from           name currently
                                                          the name   currently inin your
                                                                                    your ECFMG
                                                                                          ECFMG
record to
record     the name
        to the  name you
                       you are
                            are requesting
                                requesting toto appear
                                                appear in  in your
                                                              your record
                                                                   record and    that you
                                                                            and that   you are
                                                                                           are using
                                                                                                using
this new name
this new  name consistently.     This means
                  consistently. This  means that
                                              that it
                                                    it may
                                                       may be   necessary for
                                                             be necessary    for you
                                                                                 you to  submit more
                                                                                      to submit  more
than  one document
than one  document to     support your
                       to support   your name
                                          name change       request. For
                                                 change request.      For the
                                                                          the purpose
                                                                               purpose ofof changing
                                                                                             changing
your name,
your  name, the   document(s) you
             the documents)      you provide
                                      provide must
                                                must be     unexpired (if
                                                       be unexpired    (if applicable).  These
                                                                           applicable). These
documents may
documents     may include:
                   include:

    • Passport (including the
      Passport (including the pages with your
                              pages with your photograph and the
                                              photograph and the expiration
                                                                 expiration date)
                                                                            date)
      Birth certi
    • Birth        cate
            certificate
    • Marriage
      Marriage certi  cate
               certificate
    • Of  cial court
      Official       order
               court order
    • U.S. Resident Alien
      U.S. Resident Alien Card
                          Card
    • U.S. Naturalization Certificate
      U.S. Naturalization Certi cate
    • U.S. Passport Card
      U.S. Passport Card (a
                         (a one-page
                            one-page document
                                     document that
                                              that includes
                                                   includes your
                                                            your photograph
                                                                 photograph and the
                                                                            and the
      expiration
      expiration date)
                 date)

See additional
See additional information
               information on
                           on documents
                              documents in
                                        in Important
                                           Important Notes
                                                     Notes below.
                                                           below.

    Important Notes:
    Important   Notes: If
                        If you
                           you change
                               change the   name in
                                        the name  in your
                                                     your ECFMG
                                                          ECFMG record
                                                                   record while
                                                                            while you
                                                                                  you are
                                                                                       are
    registered for
    registered  for an exam, a
                    an exam,    revised scheduling
                              a revised  scheduling permit  re ecting this
                                                     permit reflecting       change will
                                                                       this change   will be  issued.
                                                                                          be issued.
    ECFMG will
    ECFMG    will send
                  send you
                       you an
                            an e-mail  noti cation when
                               e-mail notification        your revised
                                                    when your   revised scheduling
                                                                        scheduling permit
                                                                                     permit is is
    available. You
    available. You must
                    must present   the revised
                          present the  revised scheduling
                                                scheduling permit  at the
                                                           permit at  the test
                                                                           test center  on your
                                                                                center on  your
    exam date.
    exam  date. Name
                 Name changes    must be
                       changes must        received and
                                       be received   and processed
                                                         processed by   ECFMG no
                                                                     by ECFMG     no later
                                                                                     later than
                                                                                           than
    seven business
    seven business days
                     days before  your testing
                           before your   testing appointment,  or you
                                                 appointment, or  you will
                                                                       will not
                                                                            not be able to
                                                                                be able  to test.
                                                                                            test.

    If you
    If you have
           have a  valid Certi
                a valid         cation of
                         Certification    Identi cation Form
                                       ofIdentification Form (Form
                                                             (Form 186)
                                                                     186) on
                                                                          on file
                                                                               le with
                                                                                  with ECFMG,
                                                                                       ECFMG, it
                                                                                               it
    will be
    will    invalidated when
         be invalidated  when the   name in
                                the name   in your
                                              your ECFMG
                                                   ECFMG record
                                                          record is
                                                                 is changed,  and you
                                                                    changed, and   you will
                                                                                       will be
                                                                                            be
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   required to
   required to complete    new Certi
               complete aa new        cation of
                               Certification    Identi cation Form
                                             ofIdentification Form (Form
                                                                   (Form 186)
                                                                         186) the
                                                                              the next
                                                                                  next time
                                                                                       time
   you apply
   you apply for
             for examination.
                 examination.


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Your ECFMG
Your ECFMG Record
           Record
USMLE/ECFMG Identification
USMLE/ECFMG Identi cation Number
                           Number I| Your
                                     Your Name
                                          Name |I Changing
                                                  Changing Your
                                                           Your Name
                                                                Name |I Contact
                                                                        Contact Information
                                                                                Information

Contact Information
Contact Information

The contact
The contact information
              information inin your
                               your ECFMG
                                     ECFMG record
                                              record consists  of your
                                                      consists of your e-mail
                                                                       e-mail address,    your
                                                                                address, your
address of
address  of residence,
            residence, your
                        your telephone
                               telephone number,
                                          number, and    your fax
                                                    and your  fax number
                                                                  number (if
                                                                           (if applicable).
                                                                               applicable).
ECFMG will
ECFMG    will send
              send information
                   information on  on the status of
                                      the status of your
                                                    your applications
                                                          applications by e-mail. You
                                                                       by e-mail.  You will
                                                                                        will also
                                                                                             also
need an
need  an e-mail  address to
         e-mail address       use ECFMG's
                          to use  ECFMG’s on-line
                                             on-line services.
                                                     services. Be  sure to
                                                               Be sure     include a
                                                                        to include    full and
                                                                                    a full and
complete
complete address    for your
          address for   your residence.
                               residence. ECFMG
                                           ECFMG will
                                                    will use
                                                         use your
                                                             your address
                                                                  address of
                                                                           of residence
                                                                               residence asas your
                                                                                              your
mailing address.
mailing address. Certain
                  Certain ECFMG
                            ECFMG correspondence,
                                      correspondence, including
                                                         including your
                                                                   your Standard
                                                                         Standard ECFMG
                                                                                    ECFMG
Certi cate, requires
Certificate, requires aa full
                         full mailing
                              mailing address.
                                       address.

You should
You should ensure
            ensure that
                    that the
                         the contact information in
                             contact information  in your
                                                     your ECFMG
                                                          ECFMG record
                                                                  record is
                                                                          is current. You
                                                                             current. You
can
can check
    check and   update your
          and update   your contact  information on-line
                             contact information  on-line using
                                                          using OASIS  or the
                                                                OASIS or  the MyECFMG
                                                                              MyECFMG
mobile app.
mobile       You cannot
       app. You          submit changes
                  cannot submit changes to   your contact
                                          to your         information to
                                                  contact information     ECFMG by
                                                                       to ECFMG    by e-mail.
                                                                                      e-mail.
ECFMG will
ECFMG    will not
              not process
                  process changes to contact
                          changes to  contact information
                                              information received
                                                           received from
                                                                    from any
                                                                          any person   other
                                                                               person other
than
than the applicant.
     the applicant.

Changing your
Changing  your e-mail address using
               e-mail address using OASIS  or MyECFMG
                                    OASIS or   MyECFMG doesdoes not
                                                                 not update
                                                                     update your
                                                                            your e-mail
                                                                                 e-mail
address in
address in your
           your e-newsletter subscription(s). If
                e-newsletter subscription(s). If you
                                                 you are
                                                     are subscribed
                                                         subscribed to one or
                                                                    to one or more
                                                                              more of
                                                                                   of
ECFMG’s e-mail
ECFMG's           newsletters, such
           e-mail newsletters,       as The
                               such as      ECFMG4® Reporteror
                                            ECFMG
                                        The ECFM&     Reporter or ECHO
                                                                    ECHO News
                                                                            News,, and your e-
                                                                                   and your e-
mail address
mail address changes,  you must
              changes, you must update
                                  update your
                                          your e-mail
                                               e-mail address  for each
                                                      address for  each e-newsletter.
                                                                         e-newsletter. To
                                                                                       To
update your
update   your e-mail
              e-mail address in your
                     address in your e-newsletter
                                     e-newsletter subscription(s),
                                                   subscription(s), visit
                                                                    visit the E-Newsletters
                                                                          the E-Newsletters
page  in the
page in      Resources section
         the Resources section of
                                of the ECFMG website,
                                   the ECFMG   website, click
                                                        click on
                                                              on the
                                                                 the newsletter(s)
                                                                      newsletter(s) you
                                                                                     you
receive, unsubscribe
receive,  unsubscribe your
                      your old
                           old e-mail
                                e-mail address,
                                       address, and
                                                and subscribe
                                                    subscribe your
                                                               your new
                                                                     new e-mail
                                                                           e-mail address.
                                                                                  address.

To protect
To          the privacy
   protect the  privacy of
                         of applicants,
                            applicants, ECFMG
                                        ECFMG will
                                                 will e-mail
                                                      e-mail applicant-specific
                                                             applicant-speci c information
                                                                                information
only to
only    the e-mail
     to the  e-mail address
                    address in
                             in the
                                the applicant's
                                    applicant’s ECFMG
                                                ECFMG record.
                                                         record. If
                                                                 If your
                                                                    your e-mail inquiry
                                                                         e-mail inquiry
requires aa specific
requires    speci c response,
                     response, you
                                you must
                                    must send
                                          send your
                                                your inquiry
                                                      inquiry from
                                                              from the
                                                                    the e-mail
                                                                        e-mail address
                                                                               address in
                                                                                       in your
                                                                                          your
ECFMG record.
ECFMG    record.

All correspondence
All                with ECFMG,
    correspondence with ECFMG, including
                               including e-mails, will become
                                         e-mails, will become aa part of your
                                                                 part of your
permanent ECFMG
permanent   ECFMG record.
                   record.

For further
For further information
             information regarding
                          regarding ECFMG's
                                    ECFMG’s data
                                            data collection
                                                 collection and privacy practices,
                                                            and privacy practices, please
                                                                                   please
refer to
refer to our
         our Privacy
              Privacy Notice.
                      Notice.




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Your ECFMG
Your ECFMG Financial
           Financial Account
                     Account
Fees I| Payment
Fees    Payment I| Methods
                   Methods of
                           of Payment
                              Payment I| Refunds
                                         Refunds I| Forfeiture
                                                    Forfeiture of
                                                               of Funds
                                                                  Funds

Fees
Fees

For a
For    list of
     a list of fees
               fees for
                    for ECFMG
                        ECFMG services
                                 services that
                                          that applicants
                                               applicants encounter
                                                           encounter most
                                                                     most frequently
                                                                          frequently while
                                                                                       while
pursuing    ECFMG Certification
pursuing ECFMG        Certi cation and
                                    and entry
                                        entry into
                                               into U.S. programs of
                                                    U.S. programs of graduate
                                                                     graduate medical
                                                                              medical
education, see
education,    see the
                  the Fees page
                            page on
                                  on the ECFMG website.
                                     the ECFMG    website. Other  fees may
                                                            Other fees may apply.
                                                                           apply. All
                                                                                  All fees
                                                                                      fees are
                                                                                           are in
                                                                                               in
U.S. dollars and
U.S. dollars   and are
                    are subject
                        subject to
                                to change
                                   change without   notice.
                                           without notice.


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Your ECFMG
Your ECFMG Financial
           Financial Account
                     Account
Fees I| Payment
Fees    Payment I| Methods
                   Methods of
                           of Payment
                              Payment I| Refunds
                                         Refunds I| Forfeiture
                                                    Forfeiture of
                                                               of Funds
                                                                  Funds

Payment
Payment

Full payment
Full          is due
     payment is  due at
                     at the
                        the time you submit
                            time you  submit an
                                             an application
                                                application or
                                                            or request
                                                               request aa service.
                                                                          service. If
                                                                                   If your
                                                                                      your
application/request is
application/request     rejected, any
                     is rejected,     payment received
                                  any payment  received with
                                                         with that
                                                              that application/request
                                                                   application/request will
                                                                                         will
be
be credited
   credited to your ECFMG
            to your  ECFMG financial
                               nancial account.
                                        account.

Funds in
Funds  in an
          an applicant’s ECFMG financial
             applicant's ECFMG     nancial account
                                           account will
                                                    will be available for
                                                         be available for aa period of two
                                                                             period of two
years to
years    pay for
      to pay  for applications/requests.
                  applications/requests. Any
                                         Any funds
                                              funds not
                                                    not used
                                                         used during
                                                               during aa two-year
                                                                         two-year period  will
                                                                                   period will
be forfeited to
be forfeited    ECFMG; this
             to ECFMG;         means that
                          this means that the  applicant will
                                           the applicant  will lose
                                                               lose those  funds. See
                                                                    those funds.  See
Forfeiture of
Forfeiture     Funds in
            ofFunds  in Your  ECFMG Financial
                        Your ECFMG    Financial Account.
                                                Account.

If you
If you owe
       owe money
           money to to ECFMG
                       ECFMG at  at the   time that
                                     the time        your application/request
                                               that your   application/request isis processed,
                                                                                    processed,
ECFMG will
ECFMG    will apply
              apply the
                    the payment
                        payment included
                                    included with
                                              with your
                                                     your application/request
                                                           application/request toto the
                                                                                    the amount
                                                                                        amount
that you owe.
that you owe. Any
               Any money
                    money that    is left
                            that is  left after
                                          after this will be
                                                this will    used to
                                                          be used to pay for the
                                                                     pay for the
application/request. If
application/request.  If there is not
                         there is not enough
                                       enough money
                                                 money remaining
                                                          remaining to  pay for
                                                                     to pay for the
                                                                                the
application/request, your
application/request,  your application/request
                            application/request will will be rejected.
                                                          be rejected.

If you
If you submit
       submit a   paper request
                a paper  request and
                                   and do
                                        do not
                                            not include
                                                include payment,
                                                        payment, oror if
                                                                      if the payment you
                                                                         the payment   you include
                                                                                             include
is not
is not sufficient
       suf cient toto cover  all fees,
                      cover all  fees, we
                                       we will
                                          will use
                                               use the
                                                   the money
                                                       money inin your
                                                                  your ECFMG
                                                                        ECFMG financial
                                                                                   nancial account
                                                                                            account
to
to pay  for the
    pay for the request.
                request. If
                          If the
                             the money
                                  money inin your
                                             your account
                                                  account is
                                                           is not
                                                              not sufficient
                                                                  suf cient toto cover all fees,
                                                                                 cover all fees, your
                                                                                                 your
request will
request   will be rejected.
               be rejected.

You can
You can check the status
        check the status of
                         of your
                            your ECFMG
                                 ECFMG financial
                                          nancial account
                                                  account and
                                                           and make
                                                               make on-line
                                                                    on-line payments
                                                                            payments
using OASIS
using       or the
      OASIS or the MyECFMG     mobile app.
                   MyECFMG mobile          ECFMG’s on-line
                                      app. ECFMG's   on-line payment is secured
                                                             payment is secured using
                                                                                using
industry-standard encryption
industry-standard encryption technology.
                              technology.


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Your ECFMG
Your ECFMG Financial
           Financial Account
                     Account
Fees I| Payment
Fees    Payment I| Methods
                   Methods of
                           of Payment
                              Payment I| Refunds
                                         Refunds I| Forfeiture
                                                    Forfeiture of
                                                               of Funds
                                                                  Funds

Methods of
Methods of Payment
           Payment

If you
If you submit
       submit an
               an application
                  application or
                              or request
                                 request a service on-line,
                                         a service on-line, you
                                                            you can
                                                                can pay on-line at
                                                                    pay on-line at the
                                                                                   the time
                                                                                       time
of application/request
of  application/request by:
                        by:

      Credit card
    • Credit card – To use
                  - To use this  option, you
                            this option, you must
                                             must have
                                                  have aa Visa,
                                                          Visa, MasterCard, Discover, or
                                                                MasterCard, Discover, or American
                                                                                         American
      Express card
      Express      with aa security
              card with    security code.
                                     code.
      Electronic check
    • Electronic   check –  To use
                          - To use this option, you
                                   this option,  you must
                                                     must have
                                                           have aa checking  account at
                                                                    checking account at a U.S. bank
                                                                                        a U.S. bank and
                                                                                                    and
      either
      either aa U.S. Social Security
                U.S. Social Security Number
                                     Number or or U.S. driver’s license.
                                                  U.S. driver's          Checks returned
                                                                license. Checks returned for
                                                                                          for
      insuf cient funds
      insufficient  funds will
                          will be subject to
                               be subject to aa $10
                                                $10 processing
                                                    processing fee.
                                                                  fee.

You can
You can also pay in
        also pay in advance
                    advance using
                            using one
                                  one of
                                      of the
                                         the payment  methods described
                                             payment methods  described above
                                                                        above by
                                                                              by
accessing OASIS
accessing        on the
          OASIS on   the ECFMG
                         ECFMG website
                                website or
                                         or using
                                            using the MyECFMG mobile
                                                  the MyECFMG   mobile app.
                                                                       app.

You can
You can also send payment
        also send payment inin advance
                               advance to
                                        to ECFMG   using Payment
                                           ECFMG using   Payment for   Service(s)
                                                                   for Service(s)
Requested (Form
Requested  (Form 900),
                  900), available in the
                        available in     Resources section
                                     the Resources section of
                                                           of the ECFMG website.
                                                              the ECFMG    website. If
                                                                                    If you
                                                                                       you
submit payment
submit payment using
                using Form
                      Form 900,    you can
                             900, you  can pay
                                           pay by:
                                               by:

      Credit card
    • Credit card – Visa, MasterCard,
                  - Visa, MasterCard, Discover,
                                      Discover, or
                                                or American
                                                   American Express.
                                                            Express.
      Check, bank
    • Check,   bank draft,
                     draft, or
                            or money
                               money order
                                       order made
                                             made payable  to the
                                                   payable to     Educational Commission
                                                              the Educational Commission forfor
      Foreign Medical
      Foreign           Graduates (or
                Medical Graduates    (or ECFMG).
                                         ECFMG). All
                                                  All payments
                                                      payments must
                                                                must be made in
                                                                     be made  in U.S.
                                                                                 U.S. funds
                                                                                      funds through
                                                                                            through
      aa U.S.
         U.S. bank. You must
              bank. You must write   your full
                               write your full name
                                               name and  USMLE/ECFMG Identification
                                                    and USMLE/ECFMG      Identi cation Number,
                                                                                         Number, if
                                                                                                  if
      one has
      one   has been
                been assigned
                      assigned to  you, on
                                to you, on your
                                           your payment.
                                                 payment.

If you
If you pay in advance,
       pay in           you should
              advance, you  should verify
                                   verify that
                                          that the
                                               the payment  has been
                                                   payment has        received and
                                                                been received  and credited
                                                                                   credited
to  your ECFMG
to your  ECFMG financial
                   nancial account
                           account before  you begin
                                    before you  begin the application or
                                                      the application or request
                                                                         request process.
                                                                                 process.
You can
You      verify the
     can verify     status of
                the status of your
                              your ECFMG
                                   ECFMG financial
                                             nancial account on-line using
                                                     account on-line        OASIS or
                                                                      using OASIS or the
                                                                                     the
MyECFMG mobile
MyECFMG      mobile app.
                     app.

    Important Note:
    Important  Note: If
                     If you
                        you need
                            need to make multiple
                                 to make multiple credit
                                                  credit card transactions to
                                                         card transactions    pay for
                                                                           to pay for an
                                                                                      an
    application/request, you
    application/request, you must
                             must make
                                   make these payments to
                                        these payments      your ECFMG
                                                         to your ECFMG financial
                                                                           nancial account
                                                                                   account in
                                                                                           in
    advance using
    advance  using OASIS,
                   OASIS, the
                          the MyECFMG     mobile app,
                              MyECFMG mobile     app, or
                                                      or by submitting multiple
                                                         by submitting multiple copies  of
                                                                                copies of
    Form 900.
    Form  900.

Do not
Do not send
       send payments
            payments in
                     in cash.
                        cash.



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Your ECFMG
Your ECFMG Financial
           Financial Account
                     Account
Fees I| Payment
Fees    Payment I| Methods
                   Methods of
                           of Payment
                              Payment I| Refunds
                                         Refunds I| Forfeiture
                                                    Forfeiture of
                                                               of Funds
                                                                  Funds

Refunds
If you
If you have
       have money
            money in in your
                        your ECFMG
                              ECFMG financial
                                          nancial account,
                                                  account, you
                                                             you may
                                                                  may request
                                                                        request a    refund. Refund
                                                                                   a refund.  Refund
requests must
requests  must be   made in
                be made    in writing
                              writing and
                                        and should
                                            should be  sent via
                                                    be sent  via e-mail
                                                                 e-mail to     nance@ecfmg.org. If
                                                                          to finance@ecfmg.org.      If
the  money in
the money   in your
               your account
                     account was
                               was aa payment    for an
                                       payment for   an exam
                                                        exam application
                                                                application that
                                                                              that was   rejected
                                                                                     was rejected
(because you
(because  you were
               were not
                      not eligible
                          eligible or
                                    or the application was
                                       the application   was incomplete
                                                              incomplete or or otherwise
                                                                                otherwise deficient),
                                                                                             de cient),
your refund
your  refund will
              will be subject to
                   be subject  to aa $100
                                     $100 processing    fee. Approved
                                           processing fee.   Approved refunds
                                                                          refunds typically    will be
                                                                                     typically will be
issued using
issued  using the
              the same
                   same method
                         method as  as the original payment.
                                       the original payment. ForFor example,
                                                                     example, if if an
                                                                                    an applicant
                                                                                       applicant
submits aa payment
submits               using a
           payment using     a credit
                               credit card,
                                       card, then the refund
                                             then the refund will
                                                                will be made to
                                                                     be made    to the  same card.
                                                                                    the same   card.

    Important Note:
    Important    Note: YouYou should
                              should consider   carefully the
                                      consider carefully   the timing of your
                                                               timing of your exam   application,
                                                                               exam application,
    eligibility period,
    eligibility          and test
                period, and        date. Once
                              test date. Once registered,
                                               registered, you
                                                            you cannot
                                                                 cannot cancel   or postpone
                                                                         cancel or             your
                                                                                    postpone your
    registration. If
    registration.  If you
                      you do
                           do not
                               not schedule
                                   schedule and    take the
                                             and take   the exam,  you will
                                                            exam, you  will not
                                                                            not receive
                                                                                receive aa refund
                                                                                           refund or
                                                                                                  or
    credit of
    credit  of your
               your exam    fee(s), and
                     exam fee(s),       you will
                                    and you  will be required to
                                                  be required     reapply, including
                                                               to reapply, including payment
                                                                                     payment of of all
                                                                                                   all
    applicable fees,
    applicable   fees, if
                       if you
                          you wish
                               wish to
                                    to take
                                       take the  exam.
                                            the exam.

     Although you
    Although    you cannot
                     cannot cancel
                              cancel or
                                      or postpone
                                         postpone your
                                                    your registration,
                                                           registration, there    are options
                                                                           there are   options that
                                                                                                 that
     provide registered
    provide   registered applicants
                            applicants with
                                       with flexibility.
                                               exibility. All
                                                          All registered
                                                              registered applicants     may change
                                                                            applicants may    change their
                                                                                                        their
     scheduled test
    scheduled         date and/or
                 test date   and/or center,  subject to
                                     center, subject  to availability.   Applicants registered
                                                          availability. Applicants    registered forfor
     Step 1/Step
    Step  1/Step 2   CK may
                   2 CK   may request
                               request extension
                                        extension ofof their
                                                        their eligibility
                                                               eligibility periods.  Applicants registered
                                                                           periods. Applicants     registered
     for Step
    for  Step 1/Step
              1/Step 2 2 CK
                         CK also   may request
                              also may  request to
                                                 to change     their testing
                                                    change their     testing region.
                                                                               region. See
                                                                                       See information
                                                                                            information on  on
     rescheduling under
    rescheduling             Scheduling the
                     under Scheduling         Examination in
                                          the Examination     in The
                                                                  The United    States Medical
                                                                      UnitedStates     Medical Licensing
                                                                                                  Licensing
     Examination (USMLE)
    Examination     (USMLE).. Applicants
                                Applicants registered
                                             registered for
                                                          for Step
                                                              Step 2   CS who
                                                                     2 CS  who are   unable to
                                                                                 are unable   to obtain
                                                                                                  obtain the
                                                                                                          the
     appropriate visa
    appropriate    visa to
                        to enter
                            enter the
                                   the United
                                       United States
                                               States toto take
                                                           take the
                                                                 the exam
                                                                      exam maymay request
                                                                                   request a   full refund
                                                                                            a full  refund of
                                                                                                            of
     the exam
    the  exam fee.
               fee. Other
                     Other requests
                             requests for
                                       for exceptions
                                            exceptions from
                                                         from Step
                                                                Step 22 CS
                                                                         CS applicants
                                                                             applicants are  considered on
                                                                                         are considered     on
    aa case-by-case
       case-by-case basis.    ECFMG will
                      basis. ECFMG     will consider   requests for
                                            consider requests      for exceptions
                                                                       exceptions only
                                                                                     only after
                                                                                          after the
                                                                                                 the
     applicant’s eligibility
    applicant's   eligibility period
                              period has
                                      has expired.
                                           expired.


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                       13, 2018.
                           2018.
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Your ECFMG
Your ECFMG Financial
           Financial Account
                     Account
Fees I| Payment
Fees    Payment I| Methods
                   Methods of
                           of Payment
                              Payment I| Refunds
                                         Refunds I| Forfeiture
                                                    Forfeiture of
                                                               of Funds
                                                                  Funds

Forfeiture of
Forfeiture of Funds
              Funds

Funds in
Funds   in an
           an applicant’s  ECFMG financial
              applicant's ECFMG      nancial account
                                              account will
                                                       will be available for
                                                            be available for aa period of two
                                                                                period of two
years to
years     pay for
       to pay  for applications
                   applications submitted
                                 submitted oror services
                                                services requested.
                                                         requested. Any
                                                                     Any funds
                                                                          funds not
                                                                                  not used
                                                                                      used during
                                                                                            during
a two-year period
a two-year           will be
             period will     forfeited to
                          be forfeited to ECFMG;
                                          ECFMG; this    means that
                                                    this means   that the
                                                                      the applicant   will lose
                                                                          applicant will   lose
those  funds. The
those funds.   The two-year
                    two-year period
                               period is
                                      is calculated  from the
                                         calculated from       date of
                                                           the date of last transactional activity
                                                                       last transactional   activity
in the
in     account.
   the account.

It is
It    your responsibility
   is your  responsibility to  monitor the
                           to monitor   the status
                                            status of
                                                   of your
                                                      your ECFMG
                                                           ECFMG financial
                                                                      nancial account.
                                                                              account. You
                                                                                       You can
                                                                                           can
check
check the    status of
        the status  of your
                       your account,
                             account, including
                                      including dates
                                                 dates on
                                                       on which
                                                           which payments
                                                                 payments were    made to
                                                                            were made      your
                                                                                        to your
account, using
account,   using OASIS   or the
                  OASIS or   the MyECFMG      mobile app.
                                 MyECFMG mobile       app. A
                                                           A refund
                                                             refund request
                                                                    request should
                                                                             should be  made to
                                                                                    be made  to
claim  any funds
claim any    funds that
                   that will
                        will not
                             not be
                                 be used  prior to
                                    used prior  to the expiration of
                                                   the expiration of the two-year period.
                                                                     the two-year         See
                                                                                  period. See
Refunds
Refunds in in Your  ECFMG Financial
               Your ECFMG     Financial Account.
                                        Account.


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                       13, 2018.
                           2018.
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                                                                                                  reserved.




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Irregular Behavior
Irregular Behavior

Policies and
Policies and Procedures
             Procedures Regarding
                        Regarding Irregular
                                  Irregular Behavior
                                            Behavior

A. Policies
A. Policies Regarding
            Regarding Irregular
                      Irregular Behavior
                                Behavior

1. Irregular behavior
1. Irregular    behavior  includes all
                          includes
                behaviorincludes    all actions
                                        actions or
                                                 or attempted
                                                    attempted actions
                                                                  actions onon the
                                                                                the part
                                                                                    part ofof applicants,
                                                                                              applicants,
examinees, potential
examinees,      potential applicants,   others when
                          applicants, others    when solicited
                                                       solicited by    an applicant
                                                                   by an   applicant and/or
                                                                                      and/or examinee,
                                                                                                examinee,
or any
or  any other
        other person
                 person that   would or
                         that would   or could   subvert the
                                          could subvert   the examination,
                                                                examination, certi      cation or
                                                                                 certification   or other
                                                                                                    other
processes,     programs, or
processes, programs,       or services
                              services of
                                        of ECFMG,
                                            ECFMG, including,
                                                      including, but    not limited
                                                                   but not   limited to,
                                                                                     to, the   ECFMG
                                                                                          the ECFMG
Exchange Visitor
Exchange      Visitor Sponsorship
                      Sponsorship Program,      ECFMG International
                                    Program, ECFMG        International Credentials
                                                                             Credentials Services
                                                                                            Services
(EICS), the
(EICS),        Electronic Portfolio
         the Electronic    Portfolio of
                                      of International
                                         International Credentials
                                                         Credentials (EPIC),
                                                                          (EPIC), and
                                                                                  and Electronic
                                                                                        Electronic
Residency      Application Service
Residency Application       Service (ERAS)
                                     (ERAS) Support
                                               Support Services
                                                        Services at  at ECFMG.
                                                                        ECFMG. Such
                                                                                  Such actions
                                                                                         actions oror
attempted actions
attempted      actions are
                        are considered    irregular behavior,
                            considered irregular                 regardless of
                                                     behavior, regardless      of when
                                                                                  when the
                                                                                         the irregular
                                                                                               irregular
behavior     occurs, and
behavior occurs,      and regardless
                          regardless ofof whether
                                           whether the
                                                     the individual
                                                         individual is is certi  ed by
                                                                          certified     ECFMG.
                                                                                    by ECFMG.
Examples of
Examples      of irregular
                 irregular behavior   include, but
                           behavior include,         are not
                                                but are  not limited    to, submission
                                                              limited to,   submission of  of any  falsi ed
                                                                                              any falsified
or altered
or  altered document
              document to    ECFMG, whether
                          to ECFMG,     whether submitted
                                                   submitted by by the   individual or
                                                                    the individual   or by
                                                                                         by aa third
                                                                                               third party,
                                                                                                     party,
such as
such   as aa medical
             medical school,
                       school, on
                               on behalf
                                  behalf ofof the individual; failing
                                              the individual;   failing to
                                                                        to comply   with United
                                                                            comply with     United States
                                                                                                     States
Medical Licensing
Medical              Examination® (USMLE®)
          Licensing Examination®     (USMLE®) or or ECFMG
                                                    ECFMG policies,
                                                             policies, procedures,   and/or rules;
                                                                       procedures, and/or     rules;
falsi cation of
falsification of information
                 information on
                              on applications,
                                 applications, submissions,
                                                submissions, or
                                                              or other
                                                                 other materials
                                                                        materials to   ECFMG;
                                                                                    to ECFMG;
taking
taking an
        an examination    when not
           examination when     not eligible to do
                                    eligible to do so,
                                                   so, or
                                                       or submission
                                                          submission of
                                                                      of any falsi ed or
                                                                         any falsified  or altered
                                                                                           altered
ECFMG document
ECFMG     document to to other
                         other entities
                               entities or
                                        or individuals.
                                           individuals.

2. The Medical
2. The            Education Credentials
        Medical Education    Credentials Committee's
                                            Committee’s determination
                                                           determination of   of irregular
                                                                                 irregular behavior    is
                                                                                             behavior is
suf cient cause
sufficient         for ECFMG
           cause for    ECFMG toto bar  an individual
                                   bar an  individual from
                                                      from future
                                                              future examinations,
                                                                      examinations, to   to bar an
                                                                                            bar an
individual from
individual  from other
                   other ECFMG
                          ECFMG programs
                                   programs andand services,
                                                   services, to   withhold and/or
                                                               to withhold   and/or invalidate
                                                                                       invalidate the
                                                                                                   the
results of
results of an
           an examination,
               examination, to   withhold an
                              to withhold   an ECFMG
                                                ECFMG Certificate,
                                                         Certi cate, toto revoke
                                                                           revoke an     ECFMG
                                                                                     an ECFMG
Certi cate, or
Certificate,  or to take other
                 to take  other appropriate    actions for
                                appropriate actions    for aa specified
                                                              speci ed period
                                                                        period of  of time
                                                                                      time or
                                                                                            or
permanently.    ECFMG may
permanently. ECFMG        may report
                               report the
                                       the Medical
                                            Medical Education
                                                     Education Credentials
                                                                  Credentials Committee's
                                                                                  Committee’s
determination of
determination     of irregular
                     irregular behavior
                               behavior to   the USMLE
                                         to the  USMLE Committee
                                                          Committee for for Individualized
                                                                             Individualized Review,
                                                                                                Review,
Federation of
Federation   of State
                State Medical
                        Medical Boards
                                Boards ofof the
                                            the United
                                                 United States,
                                                         States, U.S.  state and
                                                                  U.S. state        international
                                                                              and international
medical licensing
medical  licensing authorities,   graduate medical
                     authorities, graduate   medical education
                                                      education programs,
                                                                   programs, and and to   any other
                                                                                       to any other
organization or
organization   or individual
                   individual who,
                              who, in
                                    in the judgment of
                                       the judgment   of ECFMG,
                                                         ECFMG, has  has aa legitimate    interest in
                                                                            legitimate interest     in
such information.
such  information.

3. If the
3. If the Medical  Education Credentials
          Medical Education  Credentials Committee
                                           Committee determines
                                                       determines that    an individual
                                                                     that an individual
engaged in
engaged   in irregular
             irregular behavior,
                       behavior, aa permanent
                                    permanent annotation
                                               annotation toto that
                                                               that effect will be
                                                                    effect will     included in
                                                                                be included   in
the  individual’s ECFMG
the individual's  ECFMG record.
                          record. This
                                    This annotation
                                         annotation will
                                                    will appear
                                                         appear on
                                                                 on the ECFMG Certification
                                                                    the ECFMG       Certi cation
Veri cation Service
Verification  Service (CVS)
                      (CVS) and
                            and ECFMG
                                  ECFMG Status
                                           Status Reports
                                                  Reports for
                                                           for the individual. If
                                                               the individual.  If the
                                                                                   the individual
                                                                                       individual
                                                       Page 24
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has an
has  an EPIC
        EPIC Portfolio,
              Portfolio, aa permanent    annotation will
                            permanent annotation       will be included on
                                                            be included   on all
                                                                             all EPIC
                                                                                 EPIC Reports   with
                                                                                        Reports with
respect to
respect  to that  individual. Additional
            that individual.   Additional information
                                            information explaining
                                                          explaining the
                                                                      the basis   for the
                                                                           basis for  the
determination of
determination    of irregular
                    irregular behavior
                               behavior and    the resulting
                                           and the  resulting action(s)
                                                               action(s) will
                                                                         will accompany
                                                                              accompany every
                                                                                           every
ECFMG Status
ECFMG     Status Report,
                  Report, CVS
                           CVS Report,     and EPIC
                                 Report, and    EPIC Report,
                                                      Report, and
                                                               and may
                                                                    may also
                                                                         also be   provided to
                                                                               be provided  to
legitimately-interested     entities; this
legitimately-interested entities;          additional information
                                      this additional  information may
                                                                     may bebe provided,   regardless
                                                                              provided, regardless
of the
of     date of
   the date  of the
                the conduct
                    conduct or or activity
                                  activity that
                                            that comprises
                                                 comprises the   irregular behavior.
                                                             the irregular              Notice of
                                                                            behavior. Notice   of the
                                                                                                  the
Medical Education
Medical   Education Credentials
                       Credentials Committee's
                                    Committee’s determination
                                                     determination ofof irregular
                                                                        irregular behavior   is
                                                                                    behavior is
periodically  reported to
periodically reported    to the  ECFMG Board
                             the ECFMG     Board ofof Trustees.
                                                      Trustees.

B. Procedures
B. Procedures Regarding
              Regarding Irregular
                        Irregular Behavior
                                  Behavior

1. After
1. After receipt
         receipt of
                 of aa report
                       report or
                               or other
                                  other information
                                          information suggesting
                                                       suggesting irregular
                                                                  irregular behavior   on the
                                                                             behavior on   the part
                                                                                               part
of an
of an individual,
      individual, ECFMG
                  ECFMG staffstaff will
                                   will review
                                        review the information and
                                               the information  and will
                                                                     will assess whether there
                                                                          assess whether          is
                                                                                            there is
suf cient evidence
sufficient evidence ofof irregular
                         irregular behavior.   When indicated
                                    behavior. When    indicated and
                                                                and feasible,
                                                                     feasible, staff
                                                                               staff will
                                                                                     will conduct
                                                                                          conduct aa
follow-up investigation
follow-up  investigation to    gather additional
                            to gather  additional information.
                                                  information.

2. If the
2. If     individual is
      the individual  is an
                         an examinee   and the
                            examinee and       review referenced
                                           the review referenced above
                                                                   above will
                                                                         will not
                                                                              not be concluded
                                                                                  be concluded
until after
until  after the
             the typical
                 typical period  for the
                          period for     reporting of
                                     the reporting of exam scores, the
                                                      exam scores,      examinee will
                                                                    the examinee   will be
                                                                                        be
noti ed that
notified   that the reporting of
                the reporting  of the
                                  the exam  scores in
                                      exam scores  in question
                                                      question is
                                                               is being delayed.
                                                                  being delayed.

3. If ECFMG
3. If ECFMG staff
                staff finds
                        nds that   there exists
                              that there  exists aa reasonable
                                                    reasonable basis   to conclude
                                                                basis to            that an
                                                                          conclude that   an individual
                                                                                              individual
may have
may    have engaged
            engaged in  in irregular
                           irregular behavior,
                                      behavior, the   matter will
                                                  the matter  will be  referred to
                                                                   be referred  to the
                                                                                   the Medical
                                                                                        Medical
Education Credentials
Education     Credentials Committee.
                             Committee. ECFMG
                                           ECFMG may  may withhold
                                                          withhold services
                                                                     services from
                                                                               from the   individual
                                                                                      the individual
pending
pending aa determination
             determination from from the
                                      the Medical    Education Credentials
                                           Medical Education    Credentials Committee.
                                                                              Committee. If  If the
                                                                                                the
individual is
individual   is an
                an examinee,
                   examinee, the     examinee’s exam
                                 the examinee's          scores will
                                                   exam scores   will be  withheld, if
                                                                      be withheld,  if not
                                                                                       not already
                                                                                           already
released, and
released,   and the
                 the examinee
                      examinee may may not
                                        not be  permitted to
                                            be permitted       sit for
                                                            to sit for subsequent
                                                                       subsequent examinations,
                                                                                    examinations, nornor
will applications
will  applications for
                    for examination
                         examination be  be processed.
                                            processed.

4. Using
4. Using the
          the individual's
               individual’s last
                               last known   address, the
                                    known address,       individual will
                                                     the individual   will be   advised in
                                                                           be advised     in writing
                                                                                             writing ofof
the nature of
the nature    of the
                 the alleged
                      alleged irregular
                                irregular behavior  and will
                                          behavior and   will be
                                                              be provided
                                                                 provided withwith aa copy
                                                                                      copy ofof the
                                                                                                 the
Policies
Policies and    Procedures Regarding
          andProcedures                    Irregular Behavior.
                                RegardingIrregular    Behavior. If
                                                                 If the
                                                                    the alleged
                                                                        alleged irregular
                                                                                   irregular behavior
                                                                                               behavior isis
related to
related  to aa shared
               shared ECFMG
                        ECFMG and  and USMLE
                                       USMLE policy,    the USMLE
                                                policy, the USMLE Program
                                                                      Program will will also
                                                                                        also be   advised
                                                                                              be advised
of the
of the allegation.
       allegation. TheThe individual
                            individual will
                                       will be given an
                                            be given  an opportunity
                                                         opportunity to to provide    written
                                                                            provide written
explanation and
explanation    and toto present    other relevant
                        present other    relevant information.
                                                  information. AnyAny such
                                                                       such written
                                                                               written explanation
                                                                                         explanation or or
other relevant
other  relevant information
                   information mustmust be  received by
                                        be received      ECFMG by
                                                      by ECFMG     by the
                                                                      the deadline
                                                                            deadline setset forth
                                                                                            forth inin
ECFMG’s writing
ECFMG's     writing toto the   individual. Submissions
                          the individual.  Submissions received
                                                         received after
                                                                    after the    deadline will
                                                                           the deadline     will be
                                                                                                  be
considered
considered by  by the
                  the Medical     Education Credentials
                       Medical Education      Credentials Committee
                                                           Committee at  at its
                                                                              its discretion.
                                                                                  discretion. The
                                                                                                The
individual may
individual   may also    request the
                   also request    the opportunity
                                       opportunity toto appear  personally before
                                                        appear personally       before the
                                                                                        the Medical
                                                                                             Medical
Education Credentials
Education    Credentials Committee,
                              Committee, and    may be
                                           and may      represented by
                                                     be represented    by legal
                                                                            legal counsel,
                                                                                   counsel, ifif the
                                                                                                 the
individual so
individual   so wishes.
                wishes. In In instances
                              instances in
                                         in which
                                            which the  individual appears
                                                  the individual               personally before
                                                                   appears personally                 the
                                                                                             before the
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Medical Education
Medical  Education Credentials
                    Credentials Committee,
                                  Committee, a    stenographic or
                                                a stenographic   or audio
                                                                    audio recording
                                                                          recording will
                                                                                     will be
                                                                                          be
made of
made  of that portion of
         that portion  of the
                          the proceedings   during which
                              proceedings during    which the  individual is
                                                           the individual is in
                                                                             in attendance.
                                                                                attendance. Any
                                                                                             Any
statements made
statements  made byby the  individual during
                      the individual  during aa personal
                                                personal appearance
                                                         appearance before
                                                                       before the   Medical
                                                                                the Medical
Education Credentials
Education  Credentials Committee
                         Committee will
                                      will be under oath.
                                           be under  oath.

5.
5. Individuals   who have
   Individuals who    have been
                            been charged
                                   charged with with irregular
                                                       irregular behavior
                                                                  behavior whowho wish
                                                                                   wish to  request aa
                                                                                         to request
deferral of
deferral  of the
             the ECFMG
                  ECFMG Committee's
                            Committee’s review review of of the
                                                            the allegation   must (1)
                                                                allegation must    (1) submit
                                                                                       submit the   request
                                                                                               the request
in writing
in         and (2)
   writing and   (2) provide
                     provide the   reason for
                              the reason       for the   request. If
                                                    the request.   If ECFMG
                                                                      ECFMG staff
                                                                                staff determine
                                                                                      determine that
                                                                                                 that the
                                                                                                       the
granting of
granting  of the  request could
              the request          have a
                            could have        material impact
                                           a material      impact on
                                                                   on the
                                                                       the individual's
                                                                           individual’s opportunity
                                                                                         opportunity toto
refute the
refute      allegation then
        the allegation   then staff,
                               staff, at
                                      at its
                                          its discretion,
                                               discretion, can    grant the
                                                              can grant  the request
                                                                              request and
                                                                                       and defer
                                                                                            defer an
                                                                                                  an
ECFMG action
ECFMG     action for
                  for up
                      up to  six (6)
                          to six (6) months.
                                     months. Unless
                                                  Unless thethe individual
                                                                individual can    demonstrate compelling
                                                                             can demonstrate    compelling
circumstances,    ECFMG staff
circumstances, ECFMG        staff should
                                   should not not grant
                                                    grant more
                                                            more than
                                                                  than two   deferral requests.
                                                                        two deferral   requests.
Notwithstanding the
Notwithstanding          foregoing, if
                     the foregoing,    if the   individual charged
                                          the individual                with irregular
                                                              charged with    irregular behavior
                                                                                        behavior isis
ECFMG Certified,
ECFMG     Certi ed, aa candidate
                        candidate forfor residency,
                                          residency, or   or practicing  medicine, ECFMG
                                                             practicing medicine,    ECFMG staff
                                                                                              staff will
                                                                                                     will
only grant
only grant the   request for
            the request    for deferral
                               deferral if,if, in
                                               in its
                                                  its sole
                                                      sole discretion,
                                                            discretion, ECFMG
                                                                         ECFMG believes
                                                                                   believes that  public
                                                                                             that public
health and
health  and safety
             safety is
                     is not
                        not at
                            at risk.
                               risk. If
                                     If the
                                        the deferral
                                              deferral request
                                                          request isis granted,
                                                                       granted, ECFMG
                                                                                 ECFMG will
                                                                                          will notify
                                                                                               notify
appropriate institutions
appropriate    institutions and
                             and authorities
                                  authorities of    of the  individual’s pending
                                                       the individual's             irregular behavior
                                                                          pending irregular   behavior
charge.
charge.

6. All
6. All pertinent
       pertinent information
                  information regarding
                                    regarding the    irregular behavior,
                                                 the irregular             including any
                                                                behavior, including    any explanation
                                                                                            explanation or
                                                                                                         or
other information
other  information thatthat the   individual may
                             the individual      may provide,  will be
                                                     provide, will  be provided
                                                                       provided toto the
                                                                                     the Medical
                                                                                           Medical
Education Credentials
Education   Credentials Committee.
                             Committee. The  The Medical   Education Credentials
                                                   Medical Education    Credentials Committee,
                                                                                       Committee, based
                                                                                                      based
on the
on      information available
   the information      available to    it, will
                                     to it, will determine
                                                 determine whether
                                                            whether the     preponderance of
                                                                       the preponderance       of the
                                                                                                  the
evidence indicates
evidence   indicates that
                        that the   individual engaged
                              the individual              in irregular
                                                 engaged in  irregular behavior.   If the
                                                                        behavior. If  the Medical
                                                                                           Medical
Education Credentials
Education   Credentials Committee
                             Committee determines
                                             determines that    the individual
                                                          that the  individual engaged
                                                                                engaged in in irregular
                                                                                              irregular
behavior,
behavior, the   Medical Education
           the Medical      Education Credentials
                                          Credentials Committee
                                                         Committee will
                                                                      will determine
                                                                           determine what
                                                                                        what action(s)
                                                                                               action(s)
will be
will be taken
        taken asas aa result
                      result of
                              of the  irregular behavior.
                                 the irregular               ECFMG will
                                                  behavior. ECFMG      will notify
                                                                            notify the  individual
                                                                                   the individual
whether the
whether        Medical Education
          the Medical      Education Credentials
                                         Credentials Committee
                                                        Committee determined
                                                                     determined the      individual
                                                                                    the individual
engaged in
engaged   in irregular
             irregular behavior
                          behavior andand ofof any
                                               any action(s)
                                                    action(s) taken  pursuant thereto.
                                                              taken pursuant    thereto.

7. The
7. The Medical  Education Credentials
       Medical Education    Credentials Committee's
                                           Committee’s determination
                                                         determination of of irregular
                                                                             irregular behavior
                                                                                       behavior
and any
and      action(s) taken
     any action(s)        pursuant thereto
                   taken pursuant    thereto (a
                                              (a "decision"
                                                 “decision” of
                                                            of the
                                                               the Medical   Education
                                                                    Medical Education
Credentials Committee)
Credentials   Committee) may
                           may bebe appealed
                                    appealed toto the
                                                  the Review   Committee for
                                                      Review Committee      for Appeals
                                                                                 Appeals if
                                                                                         if the
                                                                                            the
individual has
individual has a reasonable basis
               a reasonable    basis to
                                     to believe
                                        believe the  Medical Education
                                                 the Medical  Education Credentials
                                                                          Credentials
Committee did
Committee    did not
                 not act
                     act in
                         in compliance    with the
                            compliance with         Medical Education
                                               the Medical   Education Credentials
                                                                         Credentials Committee
                                                                                      Committee
Policies
Policies and  Procedures or
         and Procedures    or that
                              that the
                                   the Medical    Education Credentials
                                        Medical Education    Credentials Committee's
                                                                           Committee’s decision
                                                                                          decision
was clearly
was          contrary to
     clearly contrary to the  weight of
                          the weight   of the evidence before
                                          the evidence          it. The
                                                        before it.  The notice
                                                                        notice of
                                                                                of appeal
                                                                                   appeal must
                                                                                          must bebe
received by
received     ECFMG within
          by ECFMG    within thirty   (30) days
                              thirty (30)  days of
                                                of the
                                                   the date
                                                       date on
                                                             on which   the notification
                                                                which the   noti cation advising
                                                                                         advising
the individual of
the individual of the Medical Education
                  the Medical   Education Credentials
                                            Credentials Committee's
                                                         Committee’s decision
                                                                         decision was
                                                                                   was mailed
                                                                                       mailed toto

                                                       Page 26
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the individual. The
the individual. The appeal
                    appeal of
                           of a decision of
                              a decision of the Medical Education
                                            the Medical Education Credentials
                                                                  Credentials Committee
                                                                              Committee
is governed
is governed by
            by the
                the Rules of Appellate
                    Rules of Appellate Procedure.
                                       Procedure.

8. Petitions
8.            for reconsideration
   Petitions for  reconsideration of   of aa decision
                                             decision of
                                                      of the
                                                         the Medical
                                                             Medical Education
                                                                      Education Credentials
                                                                                  Credentials
Committee will
Committee     will be  reviewed by
                   be reviewed         the Medical
                                    by the  Medical Education
                                                     Education Credentials
                                                                 Credentials Committee
                                                                               Committee only
                                                                                           only in
                                                                                                 in
extraordinary cases.
extraordinary            Any such
                 cases. Any   such petition     must first
                                      petition must    rst be
                                                           be considered
                                                              considered by   ECFMG staff,
                                                                           by ECFMG    staff, who,
                                                                                              who,
after discussion
after              with the
      discussion with     the Medical
                              Medical Education
                                         Education Credentials
                                                     Credentials Committee
                                                                  Committee Chair,
                                                                                Chair, may
                                                                                       may deny
                                                                                            deny the
                                                                                                   the
request or
request   or place
             place it
                    it on
                       on the
                          the agenda
                              agenda for for consideration
                                              consideration by
                                                             by the full Medical
                                                                the full          Education
                                                                         Medical Education
Credentials Committee
Credentials   Committee at   at aa regularly
                                   regularly scheduled
                                               scheduled meeting.
                                                           meeting. Absent
                                                                    Absent the   submission of
                                                                             the submission   of
newly discovered
newly                 material evidence
       discovered material       evidence notnot previously  available to
                                                 previously available      the petitioner
                                                                        to the petitioner and,
                                                                                          and,
therefore,  not available
therefore, not   available to
                            to the
                                 the Medical    Education Credentials
                                      Medical Education     Credentials Committee,
                                                                         Committee, petitions    for
                                                                                      petitions for
reconsideration typically
reconsideration    typically will
                              will bebe denied.
                                        denied.

C. Representative
C. Representative Examples
                  Examples of
                           of Irregular
                              Irregular Behavior
                                        Behavior

Representative examples of
Representative examples of allegations
                           allegations of
                                       of irregular
                                          irregular behavior  and actions
                                                    behavior and  actions taken
                                                                           taken by
                                                                                 by the
                                                                                     the
ECFMG Medical
ECFMG   Medical Education
                Education Credentials
                          Credentials Committee
                                       Committee include,
                                                    include, but are not
                                                             but are not limited
                                                                         limited to,
                                                                                 to, the
                                                                                     the
following:
following:

      Providing false
    • Providing false information
                      information on
                                  on an
                                     an application
                                        application submitted
                                                    submitted to
                                                              to ECFMG
                                                                 ECFMG
      The ECFMG
      The  ECFMG Medical      Education Credentials
                   Medical Education      Credentials Committee
                                                        Committee reviewed
                                                                     reviewed an
                                                                               an allegation  of
                                                                                  allegation of
      irregular behavior
      irregular           in connection
                behavior in                with an
                             connection with        individual who
                                                an individual  who provided   false information
                                                                    provided false  information onon an
                                                                                                     an
      application submitted to
      application submitted    to ECFMG
                                  ECFMG as  as part of the
                                               part of     certi cation process.
                                                       the certification process. In
                                                                                  In that
                                                                                     that application,
                                                                                          application,
      the individual certi
      the individual        ed he
                     certified  he was
                                   was aa student
                                          student enrolled
                                                   enrolled in
                                                             in medical
                                                                medical school
                                                                         school when,
                                                                                when, in
                                                                                       in fact,
                                                                                          fact, he
                                                                                                he
      previously had been
      previously had         dismissed from
                      been dismissed    from medical
                                               medical school
                                                        school and,
                                                                and, therefore, was no
                                                                     therefore, was  no longer
                                                                                        longer aa
      student.
      student.
      Following review,
      Following  review, the
                         the ECFMG
                             ECFMG Medical
                                       Medical Education
                                               Education Credentials
                                                          Credentials Committee
                                                                       Committee determined
                                                                                   determined the
                                                                                                the
      individual had
      individual had engaged
                     engaged inin irregular
                                  irregular behavior and took
                                            behavior and took action
                                                              action to
                                                                      to bar
                                                                         bar the individual from
                                                                             the individual from
      ECFMG Certification,
      ECFMG    Certi cation, thereby
                              thereby rendering
                                       rendering the  individual ineligible
                                                  the individual ineligible to apply for
                                                                            to apply for USMLE
                                                                                         USMLE
      examinations leading
      examinations   leading to  ECFMG Certification.
                             to ECFMG     Certi cation. A
                                                        A permanent    annotation was
                                                          permanent annotation     was added   to
                                                                                        added to
      the individual’s ECFMG
      the individual's ECFMG record.
                                record.
      Providing false
    • Providing false information
                      information to  ECFMG as
                                   to ECFMG      part of
                                              as part of the
                                                         the ECFMG
                                                             ECFMG On-line
                                                                     On-line Authentication
                                                                             Authentication
      Process, which
      Process, which is
                      is a
                         a prerequisite
                           prerequisite to submitting an
                                        to submitting an application
                                                         application for
                                                                     for examination
                                                                         examination
      The ECFMG
      The  ECFMG Medical     Education Credentials
                   Medical Education    Credentials Committee
                                                     Committee reviewed
                                                                 reviewed an an allegation  of
                                                                                allegation of
      irregular behavior
      irregular           in connection
                behavior in              with an
                             connection with     individual who
                                              an individual  who provided   false information
                                                                 provided false   information toto
      ECFMG as
      ECFMG       part of
               as part of the ECFMG On-line
                          the ECFMG            Authentication Process,
                                      On-line Authentication              which is
                                                                Process, which   is used
                                                                                    used to  obtain aa
                                                                                         to obtain
      USMLE/ECFMG       Identi cation Number
      USMLE/ECFMG Identification      Number and    is aa prerequisite
                                                and is    prerequisite to submitting an
                                                                       to submitting  an application
                                                                                         application
      for examination.
      for examination. During
                        During the  on-line authentication
                                the on-line authentication process,
                                                             process, the
                                                                      the individual
                                                                          individual certi   ed he
                                                                                      certified he had
                                                                                                   had

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      not previously
      not            submitted an
          previously submitted  an application
                                    application for
                                                for examination
                                                    examination to ECFMG when
                                                                to ECFMG when he
                                                                              he had
                                                                                 had not
                                                                                     not only
                                                                                         only
      previously applied for,
      previously applied for, but had taken
                              but had taken examinations.
                                            examinations.
      Following review,
      Following  review, the
                         the ECFMG
                             ECFMG Medical
                                       Medical Education
                                               Education Credentials
                                                          Credentials Committee
                                                                       Committee determined
                                                                                   determined the
                                                                                                the
      individual had
      individual had engaged
                     engaged inin irregular
                                  irregular behavior and took
                                            behavior and took action
                                                              action to
                                                                      to bar
                                                                         bar the individual from
                                                                             the individual from
      ECFMG Certification,
      ECFMG    Certi cation, thereby
                              thereby rendering
                                       rendering the  individual ineligible
                                                  the individual ineligible to apply for
                                                                            to apply for USMLE
                                                                                         USMLE
      examinations leading
      examinations   leading to  ECFMG Certification.
                             to ECFMG     Certi cation. A
                                                        A permanent    annotation was
                                                          permanent annotation     was added   to
                                                                                        added to
      the individual’s ECFMG
      the individual's ECFMG record.
                                record.
     Submitting a
   • Submitting    fraudulent medical
                 a fraudulent medical diploma
                                      diploma and
                                              and providing false information
                                                  providing false information on
                                                                              on an
                                                                                 an
     application submitted to
     application submitted     ECFMG
                            to ECFMG
      The ECFMG
      The  ECFMG Medical    Education Credentials
                   Medical Education    Credentials Committee
                                                    Committee reviewed
                                                                reviewed an
                                                                          an allegation  of
                                                                              allegation of
      irregular behavior
      irregular          in connection
                behavior in             with an
                            connection with     individual who
                                             an individual      submitted aa fraudulent
                                                           who submitted     fraudulent medical
                                                                                         medical
      diploma
      diploma and  provided false
               and provided  false information
                                   information on
                                               on an
                                                  an application  submitted to
                                                      application submitted  to ECFMG.
                                                                                ECFMG.
      Following review,
      Following  review, the
                         the ECFMG
                             ECFMG Medical
                                       Medical Education
                                               Education Credentials
                                                          Credentials Committee
                                                                       Committee determined
                                                                                   determined the
                                                                                                the
      individual had
      individual had engaged
                     engaged inin irregular
                                  irregular behavior and took
                                            behavior and took action
                                                              action to
                                                                      to bar
                                                                         bar the individual from
                                                                             the individual from
      ECFMG Certification,
      ECFMG    Certi cation, thereby
                              thereby rendering
                                       rendering the  individual ineligible
                                                  the individual ineligible to apply for
                                                                            to apply for USMLE
                                                                                         USMLE
      examinations leading
      examinations   leading to  ECFMG Certification.
                             to ECFMG     Certi cation. A
                                                        A permanent    annotation was
                                                          permanent annotation     was added   to
                                                                                        added to
      the individual’s ECFMG
      the individual's ECFMG record.
                                record.


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Last updated September
             September 13,
                       13, 2018.
                           2018.
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                                    Commission for
                                               for Foreign
                                                   Foreign Medical
                                                           Medical Graduates
                                                                   Graduates (ECFMG®).
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                                                                                       All rights
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                                                                                                  reserved.




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Application for
Application for ECFMG
                ECFMG Certification
                      Certi cation


To be
To be eligible for ECFMG
      eligible for ECFMG Certification,
                           Certi cation, you
                                           you must
                                               must complete   an Application
                                                     complete an  Application for
                                                                                for ECFMG
                                                                                    ECFMG
Certi cation. The
Certification. The Application
                    Application for
                                 for ECFMG
                                     ECFMG Certification
                                              Certi cation consists of an
                                                           consists of  an on-line
                                                                           on-line application
                                                                                   application
available through
available through ECFMG's
                    ECFMG's Interactive
                              Interactive Web
                                           Web Applications
                                                Applications (IWA)
                                                              (IWA) and
                                                                     and the  Certi cation of
                                                                          the Certification  of
Identi cation Form
Identification  Form (Form
                     (Form 186)
                            186) that
                                  that must
                                       must be
                                             be completed  and notarized
                                                completed and   notarized using   NotaryCam.
                                                                            using NotaryCam.
Instructions on
Instructions  on how
                  how to
                      to complete   Form 186
                         complete Form    186 using
                                               using NotaryCam
                                                     NotaryCam areare included
                                                                      included with
                                                                                 with the
                                                                                      the form.
                                                                                          form.
You must
You  must have   your USMLE/ECFMG
           have your                    Identi cation Number
                      USMLE/ECFMGIdentification        Number before     you can
                                                                before you   can begin  the
                                                                                  begin the
Application for
Application  for ECFMG
                 ECFMG Certification.
                          Certi cation. For
                                         For the current fee
                                             the current fee for
                                                             for submitting
                                                                 submitting anan Application
                                                                                 Application
for ECFMG
for ECFMG Certification,
             Certi cation, see
                           see the   Fees page
                                the Fees       of the
                                          page of     ECFMG website.
                                                  the ECFMG    website.

As part
As      of the
   part of     Application for
           the Application  for ECFMG
                                ECFMG Certification,
                                          Certi cation, you
                                                         you will
                                                             will be  asked to
                                                                  be asked   to con   rm the
                                                                                confirm   the
name, date
name,  date of
            of birth,
               birth, and gender in
                      and gender  in your
                                     your ECFMG
                                           ECFMG record.
                                                    record. If
                                                            If this
                                                               this information
                                                                    information isis incorrect,
                                                                                     incorrect,
you must
you must have
          have the
                the information
                    information in
                                 in your
                                    your ECFMG
                                          ECFMG record
                                                   record changed
                                                           changed to to reflect
                                                                         re ect your
                                                                                 your correct
                                                                                       correct
name, date
name,  date of
            of birth, and/or gender
               birth, and/or gender before   you can
                                      before you  can complete
                                                       complete the    Application for
                                                                  the Application    for ECFMG
                                                                                         ECFMG
Certi cation. Instructions
Certification. Instructions for
                            for how
                                how toto correct
                                         correct this information will
                                                 this information   will be
                                                                         be provided
                                                                            provided atat the  time
                                                                                           the time
of application.
of application.

If you
If you are
       are aa medical
               medical school
                          school student,
                                 student, you
                                           you will
                                                 will be  asked to
                                                      be asked    to con    rm that
                                                                      confirm         you are
                                                                                that you  are officially
                                                                                               of cially
enrolled in
enrolled   in aa medical
                 medical school
                           school located   outside the
                                    located outside        United States
                                                      the United     States and    Canada that
                                                                              and Canada         is listed
                                                                                            that is listed in
                                                                                                           in
the World
the           Directory of
     WorldDirectory        ofMedical    Schools (World Directory)
                              MedicalSchools(World         Directory) as  as meeting
                                                                             meeting ECFMG
                                                                                        ECFMG eligibility
                                                                                                 eligibility
requirements, and
requirements,      and that
                         that the “Graduation Years"
                              the "Graduation    Years” inin the  ECFMG note
                                                             the ECFMG       note inin your
                                                                                       your medical
                                                                                            medical
school's World
school's            Directory listing are
           WorldDirectorylisting            listed as
                                        are listed     “Current.” If
                                                   as "Current."     If you
                                                                        you are
                                                                             are aa medical
                                                                                    medical school
                                                                                             school
graduate, you
graduate,    you will
                   will be  asked to
                        be asked      con rm that
                                   to confirm        you are
                                               that you    are aa graduate
                                                                  graduate of of a  medical school
                                                                                 a medical  school located
                                                                                                     located
outside the
outside         United States
          the United     States and
                                and Canada
                                      Canada that
                                               that is
                                                    is listed
                                                       listed in   the World
                                                               in the           Directory as meeting
                                                                        WorldDirectoryas       meeting
ECFMG eligibility
ECFMG      eligibility requirements,
                        requirements, andand that
                                              that your
                                                   your graduation
                                                          graduation yearyear is
                                                                               is included
                                                                                  included in
                                                                                            in the
                                                                                               the ECFMG
                                                                                                   ECFMG
note in
note  in your    school’s World
         your school's             Directory listing. See
                            WorldDirectorylisting.           Medical School
                                                        See Medical      School Requirements.
                                                                                  Requirements.

The Application
The Application for
                for ECFMG
                    ECFMG Certification
                           Certi cation also
                                        also will
                                             will require
                                                  require you
                                                          you to  con rm your
                                                               to confirm  your
understanding of
understanding of the
                 the purpose of ECFMG
                     purpose of ECFMG Certification
                                        Certi cation and   release certain
                                                      and release   certain legal
                                                                            legal claims.
                                                                                  claims.

The information
The information submitted
                 submitted in
                           in your
                              your Application
                                   Application for
                                               for ECFMG
                                                   ECFMG Certification
                                                         Certi cation will
                                                                       will become
                                                                            become a
                                                                                   a
part of
part of your
        your permanent
             permanent ECFMG
                       ECFMG record.
                                record.

An Application
An Application for
                for ECFMG
                    ECFMG Certification
                            Certi cation will
                                            will not
                                                 not be
                                                     be considered
                                                         considered complete    until ECFMG
                                                                     complete until   ECFMG
receives and
receives and processes
              processes both
                        both the  on-line part
                              the on-line        of the
                                           part of  the application
                                                        application and
                                                                     and the notarized Form
                                                                         the notarized  Form
186 from
186 from NotaryCam.
           NotaryCam. AA notification
                          noti cation will
                                       will be sent to
                                            be sent     the e-mail
                                                     to the e-mail address
                                                                   address in
                                                                            in your
                                                                               your ECFMG
                                                                                     ECFMG
record con
record       rming receipt
        confirming receipt of
                           of the on-line part
                              the on-line part ofof your
                                                    your Application
                                                          Application for
                                                                      for ECFMG
                                                                          ECFMG
Certi cation. Once
Certification. Once your
                     your Application
                          Application for
                                       for ECFMG
                                           ECFMG Certification,
                                                      Certi cation, including
                                                                    including Form
                                                                               Form 186,
                                                                                      186, has
                                                                                           has
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                                                       SAppx0262
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been
been accepted
      accepted by    ECFMG, it
                  by ECFMG,    it typically
                                  typically remains
                                            remains valid
                                                      valid throughout  the certi
                                                            throughout the         cation process.
                                                                            certification process.
If you
If you are
       are aa student
              student when
                       when you
                              you submit
                                   submit your
                                           your Application
                                                Application forfor ECFMG
                                                                   ECFMG Certification,
                                                                           Certi cation, you
                                                                                          you do
                                                                                              do
not need
not  need to  submit another
          to submit   another one
                                one when
                                     when you
                                            you graduate.
                                                graduate. YouYou can use OASIS
                                                                 can use OASIS or
                                                                                or the
                                                                                    the
MyECFMG mobile
MyECFMG       mobile app
                      app to
                           to con   rm that
                              confirm        you have
                                       that you  have submitted
                                                        submitted anan Application
                                                                       Application for
                                                                                   for ECFMG
                                                                                       ECFMG
Certi cation and
Certification   and have
                    have aa valid
                            valid Form
                                   Form 186
                                         186 on
                                              on file.
                                                   le.


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Examinations for
Examinations for ECFMG
                 ECFMG Certification
                       Certi cation
Examination Requirements
Examination                 Time Limit
            Requirements I| Time Limit for
                                       for Completing
                                           Completing Examination
                                                      Examination Requirements
                                                                  Requirements

Examination Requirements
Examination Requirements

To be
To     eligible for
   be eligible  for ECFMG
                    ECFMG Certification,
                              Certi cation, youyou must
                                                   must satisfy
                                                         satisfy both
                                                                 both the   medical science
                                                                       the medical    science
examination and
examination    and clinical  skills requirements.
                    clinical skills requirements. ToTo satisfy
                                                       satisfy these  requirements, you
                                                               these requirements,      you must
                                                                                            must
pass  Step 1
pass Step   1 and
              and Step
                   Step 2  of the
                         2 of      United States
                              the United   States Medical
                                                   Medical Licensing
                                                            Licensing Examination
                                                                        Examination (USMLE).
                                                                                       (USMLE). Step
                                                                                                  Step
2 of the
2 of      USMLE has
     the USMLE     has two   separately administered
                        two separately    administered components,
                                                         components, the      Clinical Knowledge
                                                                         the Clinical  Knowledge
(CK) component
(CK)  component and and the   Clinical Skills
                         the Clinical  Skills (CS)
                                              (CS) component.
                                                   component. Refer
                                                                Refer toto the
                                                                           the USMLE     Bulletin of
                                                                               USMLE Bulletin     of
Information for
Information    for more
                   more information.
                          information. ECFMG
                                         ECFMG has has established
                                                       established time
                                                                    time limits   for completing
                                                                           limits for              the
                                                                                      completing the
examination requirements
examination    requirements for for ECFMG
                                     ECFMG Certification.    See Time
                                               Certi cation. See         Limit for
                                                                  Time Limit   for Completing
                                                                                    Completing
Examination Requirements
Examination     Requirements in     Examinations for
                                 in Examinations        ECFMG Certi
                                                    for ECFMG            cation.
                                                                 Certification.

Passing performance on
Passing performance on certain formerly administered
                       certain formerly administered examinations
                                                     examinations can
                                                                  can be used to
                                                                      be used to meet
                                                                                 meet
these requirements as
these requirements    described below.
                   as described below.

Medical Science
Medical Science Examination
                Examination Requirement
                            Requirement

Step 1
Step 1 and
       and Step
           Step 2  CK of
                 2 CK of the
                         the USMLE
                             USMLE are   the exams
                                     are the exams currently
                                                     currently administered
                                                               administered that  satisfy the
                                                                             that satisfy the
medical science
medical science examination   requirement. There
                 examination requirement.   There are
                                                   are time
                                                        time limits for completing
                                                             limits for completing these
                                                                                   these
examinations for
examinations  for ECFMG
                  ECFMG Certification.   See Time
                           Certi cation. See       Limit for
                                              Time Limit  for Completing  Examination
                                                              CompletingExamination
Requirements in
Requirements      Examinations for
               in Examinations      ECFMG Certi
                                for ECFMG           cation.
                                             Certification.

ECFMG also
ECFMG     also accepts
               accepts aa passing performance on
                          passing performance  on the
                                                  the following
                                                        following former
                                                                    former examinations to
                                                                           examinations to
satisfy the
satisfy the medical
             medical science
                     science examination   requirement for
                              examination requirement     for ECFMG
                                                              ECFMG Certification:
                                                                        Certi cation: ECFMG
                                                                                      ECFMG
Examination, Visa
Examination,   Visa Qualifying  Examination (VQE),
                    Qualifying Examination   (VQE), Foreign
                                                      Foreign Medical    Graduate Examination
                                                               Medical Graduate    Examination
in the
in     Medical Sciences
   the Medical  Sciences (FMGEMS),
                           (FMGEMS), and   the Part
                                       and the Part II and  Part II
                                                       and Part  II Examinations
                                                                    Examinations of
                                                                                 of the
                                                                                    the
National Board
National   Board of
                 of Medical   Examiners (NBME).
                    Medical Examiners    (NBME).

Combinations of
Combinations    of exams
                   exams are  also acceptable.
                          are also acceptable. Specifically,
                                                Speci cally, ifif you
                                                                  you have
                                                                      have passed  only part
                                                                           passed only   part of
                                                                                              of
the former VQE,
the former  VQE, FMGEMS,
                   FMGEMS, or or the
                                 the NBME
                                     NBME Part
                                             Part II or
                                                     or Part II, you
                                                        Part II, you may
                                                                     may combine
                                                                          combine aa passing
                                                                                     passing
performance
performance on on the
                  the basic medical science
                      basic medical  science component
                                              component of  of one
                                                                one of
                                                                    of these exams or
                                                                       these exams  or USMLE
                                                                                        USMLE
Step 1
Step 1 with
       with aa passing performance on
               passing performance    on the
                                         the clinical  science component
                                             clinical science    component ofof one
                                                                                one of
                                                                                    of the other
                                                                                       the other
exams or
exams  or USMLE
          USMLE Step
                   Step 2 CK, provided
                        2 CK,  provided that
                                         that the  components are
                                              the components       are passed within the
                                                                       passed within  the period
                                                                                          period
speci ed for
specified for the
              the exam
                  exam program.
                        program.

Additionally, ECFMG
Additionally, ECFMG accepts
                        accepts a score of
                                a score of 75
                                           75 or
                                               or higher
                                                  higher on
                                                         on each
                                                            each of
                                                                 of the
                                                                    the three  days of
                                                                        three days  of aa single
                                                                                          single
administration of
administration  of the  former Federation
                   the former  Federation Licensing
                                            Licensing Examination
                                                      Examination (FLEX),
                                                                    (FLEX), if
                                                                            if taken prior to
                                                                               taken prior   to
June 1985, to
June 1985,     satisfy this
            to satisfy      requirement.
                       this requirement.
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                                                     Page 31
                                                    sKrgalta
                                                    SAppx0264
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Clinical Skills
Clinical Skills Requirement
                Requirement

Step 2
Step   CS of
     2 CS  of the
              the USMLE
                  USMLE is is the
                              the exam
                                  exam currently
                                        currently administered
                                                  administered that
                                                               that satisfies
                                                                    satis es the
                                                                              the clinical skills
                                                                                  clinical skills
requirement. There
requirement.   There are
                      are time  limits for
                          time limits  for completing
                                           completing this examination for
                                                      this examination for ECFMG
                                                                           ECFMG
               See Time
Certi cation. See
Certification.           Limit for
                    Time Limit  for Completing  Examination Requirements
                                    CompletingExamination     Requirements in   Examinations
                                                                             in Examinations
for ECFMG Certi
for ECFMG           cation.
             Certification.

International medical
International medical students/graduates
                      students/graduates who have both
                                         who have both passed the former
                                                       passed the former ECFMG
                                                                         ECFMG
Clinical Skills
Clinical Skills Assessment   (CSA®) and
                Assessment (CSA®)         achieved aa score
                                      and achieved    score acceptable
                                                             acceptable to    ECFMG on
                                                                           to ECFMG  on an
                                                                                        an
English language
English  language pro    ciency test
                    proficiency      (such as
                                test (such as the TOEFL exam
                                              the TOEFL          or the
                                                           exam or  the former
                                                                         former ECFMG
                                                                                 ECFMG English
                                                                                         English
Test) can
Test)      use these
      can use   these passing performances to
                      passing performances       satisfy the
                                              to satisfy the clinical skills requirement
                                                             clinical skills requirement for
                                                                                         for
ECFMG Certification.
ECFMG     Certi cation.


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Examinations for
Examinations for ECFMG
                 ECFMG Certification
                       Certi cation
Examination Requirements
Examination Requirements I| Time
                            Time Limit
                                 Limit for
                                       for Completing
                                           Completing Examination
                                                      Examination Requirements
                                                                  Requirements

Time Limit
Time Limit for
           for Completing
               Completing Examination
                          Examination Requirements
                                      Requirements

ECFMG policy
ECFMG    policy requires
                 requires that
                            that international
                                 international medical
                                                medical students/graduates
                                                         students/graduates pass
                                                                              pass the  USMLE
                                                                                    the USMLE
Steps and
Steps  and Step
           Step Components
                 Components required
                                 required for
                                           for ECFMG
                                               ECFMG Certification
                                                        Certi cation within
                                                                     within aa seven-year
                                                                               seven-year
period. This means
period. This means that     once you
                       that once  you pass
                                      pass aa Step
                                              Step or
                                                   or Step
                                                      Step Component,
                                                           Component, you
                                                                        you will
                                                                             will have
                                                                                  have seven
                                                                                       seven
years to
years to pass  all of
         pass all  of the other Step(s)
                      the other  Step(s) or
                                         or Step
                                            Step Components)
                                                 Component(s) required
                                                                required for
                                                                           for ECFMG
                                                                               ECFMG
Certi cation. This
Certification. This seven-year
                      seven-year period
                                   period begins  on the
                                          begins on  the exam
                                                         exam date
                                                               date of
                                                                    of the
                                                                       the first
                                                                             rst Step
                                                                                 Step or
                                                                                      or Step
                                                                                         Step
Component passed
Component    passed and and ends
                            ends exactly
                                  exactly seven
                                          seven years
                                                 years from
                                                        from that
                                                             that exam
                                                                  exam date.
                                                                         date.

If you
If you do
       do not
          not pass   all required
              pass all   required Steps
                                  Steps and  Step Components
                                        and Step  Components within
                                                                 within aa maximum
                                                                           maximum of  of seven
                                                                                          seven
years, your
years, your earliest
            earliest USMLE
                       USMLE passing
                                passing performance   will no
                                        performance will   no longer
                                                              longer be  valid for
                                                                      be valid  for ECFMG
                                                                                    ECFMG
Certi cation. It
Certification. It is
                  is your
                     your responsibility
                           responsibility to
                                          to track your progress
                                             track your  progress toward
                                                                   toward meeting
                                                                             meeting the   exam
                                                                                       the exam
requirements for
requirements    for ECFMG
                     ECFMG Certification.
                               Certi cation. ECFMG
                                             ECFMG will
                                                      will not
                                                           not notify
                                                                notify you
                                                                       you of
                                                                            of upcoming
                                                                               upcoming
deadlines to
deadlines     meet the
           to meet         seven-year requirement
                      the seven-year  requirement andand will
                                                          will not
                                                               not notify
                                                                   notify you
                                                                           you if
                                                                                if one
                                                                                   one (or
                                                                                       (or more)
                                                                                           more)
of your
of  your passing
         passing performances
                  performances becomes       invalid for
                                   becomes invalid   for ECFMG
                                                         ECFMG Certification
                                                                  Certi cation because      you
                                                                                   because you
failed to
failed    meet the
       to meet        seven-year requirement.
                the seven-year    requirement.

    Example: An
    Example:  An international
                 international medical
                                medical graduate
                                         graduate took  Step 1
                                                  took Step  1 on
                                                               on October   1, 2012
                                                                   October 1,  2012 and   passed.
                                                                                     and passed.
    He has
    He has through  October 1,
           through October    1, 2019
                                 2019 to
                                      to take
                                         take and pass Step
                                              and pass  Step 2
                                                             2 CK
                                                               CK and  Step 2
                                                                   and Step 2 CS,
                                                                               CS, satisfying
                                                                                   satisfying the
                                                                                              the
    remaining exam
    remaining        requirements for
              exam requirements     for ECFMG
                                        ECFMG Certification.
                                                Certi cation. If
                                                               If he
                                                                  he does
                                                                     does not
                                                                          not take
                                                                              take and
                                                                                   and pass
                                                                                        pass
    Step 2
    Step 2 CK
           CK and
              and Step
                   Step 2 CS on
                        2 CS  on or
                                 or before October 1,
                                    before October  1, 2019,
                                                       2019, his
                                                             his passing
                                                                  passing performance
                                                                          performance on on Step
                                                                                            Step
    1 would
    1       no longer
      would no longer be  valid for
                       be valid for ECFMG
                                    ECFMG Certification.
                                            Certi cation.

Under this
Under this policy, more than
           policy, more than one
                             one USMLE
                                 USMLE passing
                                       passing performance can become
                                               performance can        invalid for
                                                               become invalid for
ECFMG Certification.
ECFMG   Certi cation.

    Example: An
    Example:  An international
                 international medical
                                  medical graduate
                                            graduate passed      Step 1
                                                        passed Step    1 on
                                                                         on April
                                                                             April 1,
                                                                                    1, 2011,
                                                                                       2011, and
                                                                                               and passed
                                                                                                    passed
    Step 2
    Step 2 CK
           CK on
              on May
                 May 1,1, 2012.
                          2012. She
                                  She had
                                       had through     April 1,
                                            through April     1, 2018
                                                                 2018 (seven
                                                                       (seven years
                                                                                years from
                                                                                        from her
                                                                                              her Step
                                                                                                   Step 11
    passing performance)
    passing performance) to to pass   Step 2
                               pass Step    2 CS,
                                              CS, satisfying
                                                  satisfying the   remaining exam
                                                               the remaining            requirements for
                                                                                exam requirements        for
    ECFMG Certification.
    ECFMG   Certi cation. She
                            She did
                                 did not
                                      not pass   Step 2
                                           pass Step     CS by
                                                       2 CS      April 1,
                                                             by April  1, 2018,
                                                                          2018, soso her
                                                                                     her passing
                                                                                           passing
    performance on
    performance   on Step
                     Step 11 is
                             is no
                                no longer    valid for
                                    longer valid   for ECFMG
                                                       ECFMG Certification.
                                                                  Certi cation. HerHer earliest
                                                                                        earliest USMLE
                                                                                                   USMLE
    passing performance
    passing                that is
            performance that     is valid
                                    valid for
                                          for ECFMG
                                              ECFMG Certification
                                                         Certi cation is is now
                                                                            now the   Step 2
                                                                                 the Step    2 CK
                                                                                               CK passing
                                                                                                    passing
    performance on
    performance   on May
                     May 1,1, 2012.   She now
                              2012. She    now has
                                                 has through
                                                     through May May 1,
                                                                     1, 2019
                                                                         2019 (seven
                                                                                (seven years
                                                                                         years from
                                                                                                 from her
                                                                                                       her
    Step 2
    Step 2 CK
           CK passing
              passing performance)
                       performance) to      pass Step
                                         to pass  Step 11 and   Step 2
                                                           and Step  2 CS,
                                                                        CS, satisfying
                                                                             satisfying the   remaining
                                                                                          the remaining
    exam requirements
    exam  requirements for
                         for ECFMG
                             ECFMG Certification.
                                        Certi cation. If If she
                                                            she does  not pass
                                                                 does not        Step 1
                                                                            pass Step   1 and
                                                                                           and Step
                                                                                                Step 22 CS
                                                                                                        CS


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   by May 1,
   by May 1, 2019,
             2019, her
                   her passing performance on
                       passing performance on Step
                                              Step 2 CK will
                                                   2 CK will no
                                                             no longer
                                                                longer be valid for
                                                                       be valid for
   ECFMG Certification.
   ECFMG   Certi cation.

There are
There     exceptions to
      are exceptions to this
                        this policy:
                             policy:

      This seven-year
    • This  seven-year limit
                        limit does
                              does not
                                     not apply
                                         apply to
                                               to the former ECFMG
                                                  the former   ECFMG CSACSA because
                                                                             because the    CSA was
                                                                                       the CSA  was not
                                                                                                     not
      aa USMLE
         USMLE Step
                 Step or
                       or Step
                          Step Component.
                               Component. International
                                              International medical
                                                             medical students/graduates
                                                                      students/graduates who who
      satis ed the
      satisfied     clinical skills
                the clinical skills requirement
                                    requirement for
                                                  for ECFMG
                                                      ECFMG Certification
                                                               Certi cation by
                                                                             by passing
                                                                                 passing the  CSA are
                                                                                          the CSA  are
      required to
      required  to pass  only Step
                   pass only  Step 1 1 and Step 2
                                       and Step 2 CK
                                                   CK within
                                                       within seven
                                                              seven years
                                                                    years of
                                                                           of each
                                                                              each other
                                                                                    other for
                                                                                           for ECFMG
                                                                                               ECFMG
      Certi cation. For
      Certification. For these
                          these individuals,
                                 individuals, the
                                              the seven-year
                                                   seven-year period
                                                               period begins  on the
                                                                       begins on  the exam   date of
                                                                                      exam date   of the
                                                                                                     the
        rst USMLE
      first USMLE Step
                    Step or
                          or Step
                             Step Component
                                    Component passed,    regardless of
                                                 passed, regardless  of when
                                                                        when the
                                                                               the CSA   was passed.
                                                                                   CSA was   passed.
      If your
    • If your earliest USMLE passing
              earliest USMLE   passing performance  that is
                                       performance that  is valid
                                                            valid for
                                                                  for ECFMG
                                                                      ECFMG Certification
                                                                              Certi cation took
                                                                                           took
      place
      place before
             before June  14, 2004,
                     June 14, 2004, you
                                    you are required to
                                        are required to pass  only Step
                                                        pass only  Step 1
                                                                        1 and
                                                                          and Step
                                                                              Step 2 CK within
                                                                                   2 CK within
      seven years
      seven  years of
                    of each other for
                       each other for ECFMG
                                      ECFMG Certification;
                                              Certi cation; if
                                                            if required
                                                               required for
                                                                        for ECFMG
                                                                            ECFMG Certification,
                                                                                    Certi cation,
      Step 2
      Step  2 CS
              CS can
                 can be  passed outside
                      be passed outside the seven-year period.
                                        the seven-year  period.

If you
If you have
       have passed
            passed a  Step or
                    a Step  or Step
                               Step Component
                                    Component butbut this
                                                     this passing
                                                          passing performance
                                                                  performance is is no
                                                                                    no longer
                                                                                       longer
valid for
valid for ECFMG
          ECFMG Certification,
                  Certi cation, you
                                  you may
                                       may request
                                            request an
                                                    an exception
                                                       exception to  retake the
                                                                  to retake  the previously
                                                                                 previously
passed
passed exam
        exam that
              that is no longer
                   is no         valid. The
                         longer valid.  The USMLE
                                            USMLE program    limits to
                                                    program limits  to six
                                                                       six the
                                                                           the total number of
                                                                               total number  of
times
times an
       an examinee
          examinee can
                     can take
                         take the  same Step
                               the same  Step or
                                              or Step
                                                 Step Component.
                                                      Component. SeeSee Reexamination
                                                                         Reexamination andand
Reapplication in
Reapplication  in The
                  The United    States Medical
                       UnitedStates    Medical Licensing
                                               Licensing Examination
                                                          Examination (USMLE)
                                                                        (USMLE)..

   Important Notes:
   Important  Notes: Time
                       Time limits
                             limits to
                                    to complete
                                       complete the   USMLE for
                                                 the USMLE    for the
                                                                   the purpose
                                                                       purpose ofof U.S. medical
                                                                                    U.S. medical
   licensure are
   licensure     established by
             are established      state medical
                               by state medical licensing   authorities and
                                                 licensing authorities       may require
                                                                         and may   require
   completion of
   completion  of all
                  all Steps
                      Steps or
                            or Step
                               Step Components
                                     Components (including
                                                    (including Step
                                                               Step 3,  which is
                                                                     3, which is not
                                                                                 not required
                                                                                      required for
                                                                                               for
   ECFMG Certification)
   ECFMG    Certi cation) within
                           within a  certain number
                                   a certain number of of years.
                                                          years. Information
                                                                 Information regarding
                                                                              regarding specific
                                                                                          speci c
   state requirements
   state requirements can
                        can be  obtained on
                            be obtained   on the
                                              the Federation
                                                   Federation of
                                                               of State
                                                                  State Medical   Boards website.
                                                                        Medical Boards    website.

   Applicants who
   Applicants  who retake
                     retake a previously passed
                            a previously        Step or
                                         passed Step  or Step
                                                         Step Component
                                                               Component toto comply  with aa
                                                                              comply with
   time limit
   time       should understand
        limit should   understand the implications of
                                  the implications of a failing retake
                                                      a failing retake performance
                                                                       performance on
                                                                                    on their
                                                                                        their
   Step 3
   Step   eligibility. See
        3 eligibility.     Retaking Previously
                       See Retaking Previously Passed  Steps in
                                               PassedSteps    in the USMLE
                                                                 the USM    Bulletin of
                                                                         LE Bulletin
                                                                     USMLE           of
   Information.
   Information.

   A passing
   A         performance that
     passing performance        is no
                           that is no longer
                                      longer valid
                                             valid for
                                                   for ECFMG
                                                       ECFMG Certification
                                                             Certi cation will
                                                                           will still
                                                                                still appear
                                                                                      appear
   on a
   on   USMLE transcript.
      a USMLE  transcript.


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Eligibility for
Eligibility for Examination
                Examination
Medical School
Medical School Students
               Students I| Medical
                           Medical School
                                   School Graduates
                                          Graduates |I Reverification
                                                       Reveri cation of
                                                                      of Eligibility
                                                                         Eligibility


The eligibility
The eligibility requirements
                requirements for
                              for examination differ depending
                                  examination differ depending on
                                                               on whether
                                                                  whether you
                                                                          you are
                                                                              are a
                                                                                  a
medical school
medical  school student
                 student or
                         or a medical school
                            a medical school graduate.
                                             graduate.

Medical School
Medical School Students
               Students

To be
To     eligible for
    be eligible for Step
                     Step 1,
                           1, Step
                              Step 2  CK, and
                                    2 CK,  and Step
                                                Step 2 2 CS,
                                                         CS, you
                                                             you must
                                                                 must be   of cially enrolled
                                                                        be officially  enrolled inin aa
medical school
medical   school located    outside the
                  located outside         United States
                                     the United     States and
                                                           and Canada
                                                                Canada that   is listed
                                                                         that is listed in  the World
                                                                                         in the  World
Directory as meeting
Directoryas    meeting ECFMG
                          ECFMG eligibility     requirements, both
                                    eligibility requirements,          at the
                                                                 both at  the time
                                                                              time that    you apply
                                                                                     that you           for
                                                                                                apply for
examination and
examination    and on
                    on your
                        your test
                              test day.  In addition,
                                    day. In addition, the   “Graduation Years"
                                                        the "Graduation   Years” inin the
                                                                                      the ECFMG
                                                                                          ECFMG note  note
in your
in your medical    school's World
         medical school's            Directory listing
                              WorldDirectory              must be
                                                  listing must
                                     Directorylisting              “Current” at
                                                                be "Current"   at the
                                                                                   the time   you apply
                                                                                       time you    apply
and on
and  on your
        your test   day. See
              test day.  See Medical    School Requirements.
                              Medical School     Requirements. An  An authorized
                                                                      authorized official
                                                                                     of cial of
                                                                                              of your
                                                                                                 your
medical school
medical   school must
                 must certify    your current
                         certify your            enrollment status;
                                       current enrollment      status; instructions
                                                                       instructions will
                                                                                       will be
                                                                                            be provided
                                                                                               provided
at the
at the time  of application
       time of  application forfor examination.
                                   examination.

As soon
As soon as
        as you
           you graduate
               graduate and
                         and receive
                             receive your
                                     your medical
                                          medical diploma,
                                                  diploma, you
                                                           you must
                                                               must submit
                                                                    submit aa copy of
                                                                              copy of
your medical
your medical diploma
             diploma to  ECFMG. See
                      to ECFMG.       Final Medical
                                 See Final  Medical Diploma
                                                    Diploma and
                                                            andTranscript     Medical
                                                                           in Medical
                                                                Transcript in
Education Credentials
Education  Credentials..

In addition
In addition toto being  currently enrolled
                  being currently    enrolled as
                                              as described  above, to
                                                 described above,         be eligible
                                                                       to be  eligible for
                                                                                        for Step
                                                                                            Step 1,
                                                                                                  1, Step
                                                                                                     Step
2 CK, and
2 CK,        Step 2
       and Step      CS, you
                   2 CS, you must
                               must have
                                     have completed
                                          completed atat least
                                                         least two    years of
                                                               two years     of medical
                                                                                medical school.
                                                                                          school. This
                                                                                                   This
eligibility requirement
eligibility requirement means
                            means that   you must
                                    that you  must have
                                                   have completed
                                                         completed the  the basic  medical science
                                                                             basic medical    science
component
component of   of the medical school
                  the medical   school curriculum
                                        curriculum by
                                                    by the
                                                       the beginning
                                                           beginning of   of your
                                                                             your eligibility
                                                                                   eligibility period.
                                                                                               period.
Although you
Although    you may
                 may apply    for and
                      apply for   and take the examinations
                                      take the examinations after
                                                               after completing
                                                                       completing the the basic  medical
                                                                                          basic medical
science component
science   component of  of your
                           your medical
                                 medical school
                                          school curriculum,   it is
                                                  curriculum, it  is recommended
                                                                     recommended that        you
                                                                                        that you
complete    your core
complete your           clinical clerkships,
                   core clinical             including actual
                                 clerkships, including  actual patient
                                                               patient contact,
                                                                          contact, before
                                                                                    before taking
                                                                                             taking
Step 2
Step    CK and
      2 CK   and Step
                  Step 2  CS.
                       2 CS.

If you
If you have
       have passed    the former
              passed the   former ECFMG
                                     ECFMG CSA,CSA, you
                                                    you are  not eligible
                                                         are not eligible to  take Step
                                                                          to take   Step 2   CS, except
                                                                                          2 CS,  except
under certain,
under            well-de ned circumstances.
        certain, well-defined                      Eligible circumstances
                                  circumstances. Eligible                    include: taking
                                                            circumstances include:              Step 2
                                                                                        taking Step  2
CS to
CS  to permanently     validate an
       permanently validate       an expired
                                      expired CSA
                                               CSA examination    date for
                                                    examination date   for the
                                                                           the purpose
                                                                                purpose of  of entering
                                                                                               entering
U.S. GME; taking
U.S. GME;           Step 2
             taking Step  2 CS
                             CS because     your most
                                 because your    most recent
                                                       recent performance
                                                               performance on  on aa clinical skills
                                                                                     clinical skills
exam (CSA
exam   (CSA oror Step
                 Step 2  CS) is
                      2 CS)  is aa failing
                                   failing performance   (See Retaking
                                           performance (See              Previously Passed
                                                               RetakingPreviously       Passed Steps
                                                                                                 Steps
in the
in the USMLE     Bulletin of
       USMLE Bulletin         Information); and
                           ofInformation);     and retaking
                                                   retaking Step
                                                             Step 2 CS to
                                                                  2 CS  to meet
                                                                           meet a    time limit
                                                                                   a time        (See
                                                                                           limit (See
Reexamination
Reexamination and  andReapplication
                        Reapplication in  in The
                                             The United  States Medical
                                                 UnitedStates   Medical Licensing
                                                                          Licensing Examination
                                                                                       Examination
(USMLE)
(USMLE)). ).

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   Important Notes:
   Important    Notes: If
                       If your
                          your eligibility  for an
                               eligibility for   an exam
                                                    exam changes     after you
                                                          changes after    you apply
                                                                                apply but
                                                                                      but before   you
                                                                                          before you
   take the
   take      exam, you
         the exam,  you are
                        are required
                             required to   inform ECFMG
                                       to inform    ECFMG immediately
                                                               immediately inin writing
                                                                                writing of
                                                                                        of this
                                                                                           this change
                                                                                                change
   in your
   in your status.
            status. Such
                    Such notification
                          noti cation must
                                       must be     sent to
                                              be sent      ECFMG’s Applicant
                                                        to ECFMG's     Applicant Information
                                                                                  Information
   Services. Use
   Services.  Use the contact information
                  the contact   information for for General
                                                    General Inquiries
                                                              Inquiries on
                                                                         on the  Contact ECFMG
                                                                            the Contact  ECFMG page page
   of the
   of the ECFMG
           ECFMG website.
                    website. Such
                              Such changes
                                    changes in in your
                                                  your eligibility
                                                        eligibility status
                                                                    status include,
                                                                           include, but
                                                                                    but are  not limited
                                                                                        are not  limited
   to, the
   to, the following:
           following:

         Medical school
       • Medical   school students
                          students who
                                   who transfer to another
                                       transfer to another medical
                                                           medical school
                                                                   school after
                                                                          after submitting
                                                                                submitting an
                                                                                           an
         application for
         application  for examination
                          examination must
                                      must inform
                                           inform ECFMG
                                                   ECFMG immediately
                                                           immediately in
                                                                       in writing
                                                                          writing of
                                                                                  of this
                                                                                     this
         transfer.
         transfer.
         Medical school
       • Medical  school students
                          students who
                                    who have
                                         have been   dismissed or
                                                been dismissed or withdraw(n)
                                                                   withdraw(n) from
                                                                                from medical
                                                                                      medical school
                                                                                               school
         are not
         are not eligible
                 eligible for
                          for USMLE,
                              USMLE, even
                                       even if
                                            if they are appealing
                                               they are appealing the  school's decision
                                                                   the school's decision to dismiss
                                                                                         to dismiss
         them  or are
         them or  are otherwise
                      otherwise contesting
                                 contesting their   status. Medical
                                              their status.          school students
                                                            Medical school  students who
                                                                                     who have
                                                                                          have been
                                                                                                 been
         dismissed or
         dismissed  or withdraw(n)   from medical
                       withdraw(n) from   medical school
                                                    school must
                                                            must inform
                                                                 inform ECFMG
                                                                         ECFMG immediately
                                                                                  immediately inin
         writing of
         writing of their
                    their dismissal
                          dismissal or
                                    or withdrawal.
                                       withdrawal.
         Medical school
       • Medical  school students
                         students who
                                    who take
                                         take aa leave  of absence
                                                 leave of            should consult
                                                           absence should            with their
                                                                            consult with         medical
                                                                                          their medical
         schools about
         schools  about whether
                        whether they    will be
                                  they will  be considered    of cially enrolled
                                                considered officially            in medical
                                                                        enrolled in medical school
                                                                                             school
         during leave.
         during        Your medical
                leave. Your  medical school
                                      school may
                                               may consider
                                                    consider aa student
                                                                 student on
                                                                         on leave  of absence
                                                                            leave of  absence toto be
                                                                                                   be
         withdrawn from
         withdrawn   from medical
                          medical school.
                                    school. Medical    school students
                                             Medical school     students who
                                                                         who are
                                                                              are not
                                                                                  not officially
                                                                                       of cially enrolled
                                                                                                 enrolled
         in medical
         in medical school
                    school are
                            are not
                                not eligible
                                    eligible to
                                              to apply
                                                 apply for
                                                        for or
                                                            or take  USMLE. Applicants
                                                               take USMLE.   Applicants who
                                                                                         who take
                                                                                               take aa
         leave of absence
         leave of absence after
                           after submitting
                                 submitting an an application
                                                  application for
                                                                for examination
                                                                    examination to  ECFMG must
                                                                                 to ECFMG    must
         inform ECFMG
         inform ECFMG immediately
                         immediately in in writing  of this
                                           writing of  this leave.
                                                            leave.

   Failure to
   Failure    inform ECFMG
           to inform   ECFMG that    you may
                                that you may no
                                             no longer
                                                longer be  eligible to
                                                        be eligible to take
                                                                       take the examination
                                                                            the examination
   may result
   may  result in
               in a   nding of
                  a finding of irregular
                               irregular behavior
                                         behavior and permanent annotation
                                                  and permanent                 of your
                                                                    annotation of  your ECFMG
                                                                                        ECFMG
   record. See
   record. See Policies
                Policies and  Procedures Regarding
                         andProcedures     Regarding Irregular
                                                     Irregular Behavior.
                                                                Behavior.

   If you
   If you take
          take aa Step
                  Step or
                       or Step
                          Step Component
                                 Component forfor which
                                                  which you
                                                        you are
                                                            are not
                                                                not eligible,
                                                                    eligible, results
                                                                              results for
                                                                                      for that
                                                                                          that exam
                                                                                               exam
   may not
   may  not be  reported or,
            be reported    or, if
                               if previously
                                  previously reported,
                                             reported, may
                                                       may be
                                                            be canceled.
                                                               canceled.


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Eligibility for
Eligibility for Examination
                Examination
Medical School
Medical School Students
               Students I| Medical
                           Medical School
                                   School Graduates
                                          Graduates |I Reverification
                                                       Reveri cation of
                                                                      of Eligibility
                                                                         Eligibility


The eligibility
The eligibility requirements
                requirements for
                              for examination differ depending
                                  examination differ depending on
                                                               on whether
                                                                  whether you
                                                                          you are
                                                                              are a
                                                                                  a
medical school
medical  school student
                 student or
                         or a medical school
                            a medical school graduate.
                                             graduate.

Medical School Graduates
To be
To     eligible for
    be eligible for Step
                    Step 1, 1, Step
                               Step 2  CK, and
                                     2 CK,  and Step
                                                Step 2 2 CS,
                                                         CS, you
                                                              you must
                                                                    must bebe aa graduate
                                                                                 graduate of of a  medical
                                                                                                a medical
school located
school           outside the
         located outside         United States
                            the United    States and
                                                 and Canada
                                                       Canada that     is listed
                                                                  that is listed in  the World
                                                                                  in the           Directory
                                                                                          WorldDirectory
as meeting
as  meeting ECFMG
             ECFMG eligibility
                        eligibility requirements.
                                     requirements. Your
                                                     Your graduation
                                                            graduation year year must
                                                                                  must be   included in
                                                                                         be included    in the
                                                                                                           the
"Graduation    Years" listed
"Graduation Years"              in the
                        listed in  the ECFMG
                                       ECFMG notenote in
                                                       in your
                                                          your medical      school’s World
                                                                 medical school's              Directory
                                                                                       WorldDirectory
listing.
listing. See Medical School
         See Medical    School Requirements.
                                 Requirements. You You must
                                                        must have
                                                                have been     awarded credit
                                                                      been awarded                for at
                                                                                         credit for   at least
                                                                                                         least
four credit
four         years (academic
      credit years  (academic yearsyears for
                                         for which
                                             which credit    has been
                                                    credit has           given toward
                                                                   been given    toward completion
                                                                                          completion of   of
the  medical curriculum)
the medical   curriculum) by  by aa medical
                                    medical school
                                             school that
                                                     that is
                                                           is listed     the World
                                                                     in the
                                                              listed in                Directory as
                                                                              WorldDirectoryas
meeting ECFMG
meeting    ECFMG eligibility     requirements. An
                    eligibility requirements.     An authorized
                                                      authorized official
                                                                     of cial ofof your
                                                                                  your medical
                                                                                        medical school
                                                                                                   school
must certify
must           your status
       certify your  status asas aa graduate
                                    graduate of
                                              of the  school; instructions
                                                 the school;    instructions will
                                                                                will be
                                                                                      be provided
                                                                                         provided at at the
                                                                                                        the
time  of application
time of                for examination.
          application for   examination.

You must
You  must submit
           submit aa copy  of your
                     copy of  your medical
                                    medical diploma
                                             diploma atat the
                                                          the time
                                                              time ofof exam
                                                                        exam application   if your
                                                                               application if your
diploma has
diploma   has not
              not been   sent to
                  been sent   to ECFMG
                                 ECFMG previously.
                                           previously. See
                                                       See the   Reference Guide
                                                            the Reference     Guide for   Medical
                                                                                      for Medical
Education Credentials
Education   Credentialson
            Credentials onon the  ECFMG website
                             the ECFMG     website for
                                                    for the
                                                        the exact
                                                             exact title  of the
                                                                    title of       nal medical
                                                                             the final medical
diploma you
diploma   you must
              must provide.
                    provide. If
                              If you
                                 you have
                                      have graduated
                                           graduated and
                                                       and met
                                                            met all   requirements for
                                                                  all requirements    for your
                                                                                          your
medical diploma
medical  diploma but   your medical
                  but your   medical diploma
                                       diploma has
                                                has not
                                                    not yet
                                                         yet been   issued, aa letter
                                                             been issued,      letter signed
                                                                                      signed by  an
                                                                                              by an
authorized official
authorized   of cial of
                     of your
                        your medical
                              medical school
                                       school must
                                               must be  submitted with
                                                     be submitted     with your
                                                                           your exam
                                                                                  exam application.
                                                                                        application.
The letter
The  letter you
            you submit
                submit must
                         must be
                               be the  original document
                                   the original document andand must
                                                                 must bebe written  on your
                                                                           written on   your
medical school's
medical  school’s letterhead.
                  letterhead. The
                                The letter  must include
                                     letter must  include the   following statement:
                                                           the following   statement:

    This is
    This is to
            to confirm
               con rm that  [applicant name]
                       that [applicant  name] has
                                              has graduated
                                                  graduated and completed all
                                                            and completed   all requirements
                                                                                requirements
    to receive
    to receive the  [degree title]
                the [degree        degree from
                            title] degree from [medical
                                               [medical school/university
                                                        school/university name].
                                                                          name]. The
                                                                                  The degree
                                                                                      degree
    will be
    will be issued
            issued [month
                   [month and    year].
                           and year].

You must
You   must then submit aa copy
           then submit         of your
                          copy of your medical
                                       medical diploma
                                                 diploma to
                                                         to ECFMG
                                                            ECFMG as
                                                                  as soon
                                                                     soon as your diploma
                                                                          as your diploma
is issued.
is issued. See Medical Education
           See Medical Education Credentials
                                   Credentials..

All documents
All documents that  are not
               that are not in
                            in English
                               English must
                                       must be  accompanied by
                                            be accompanied   by an of cial English
                                                                an official English
translation
translation that meets ECFMG's
            that meets ECFMG’s translation
                                  translation requirements.
                                              requirements. See  English Translations
                                                            See English                in
                                                                          Translations in
Medical Education
Medical  Education Credentials
                    Credentials..


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If you
If you have
       have passed
              passed the   former ECFMG
                      the former    ECFMG CSA,CSA, you
                                                   you are
                                                        are not
                                                            not eligible
                                                                eligible to
                                                                         to take  Step 2
                                                                             take Step    CS, except
                                                                                        2 CS, except
under certain,
under            well-de ned circumstances.
        certain, well-defined                     Eligible circumstances
                                 circumstances. Eligible                    include: taking
                                                           circumstances include:             Step 2
                                                                                      taking Step  2
CS to
CS  to permanently     validate an
       permanently validate      an expired
                                     expired CSA
                                              CSA examination
                                                   examination date
                                                                 date for
                                                                      for the   purpose of
                                                                          the purpose     of entering
                                                                                             entering
U.S. GME; taking
U.S. GME;           Step 2
             taking Step     CS because
                          2 CS             your most
                                 because your   most recent
                                                      recent performance
                                                              performance on  on a
                                                                                 a clinical skills
                                                                                   clinical skills
exam (CSA
exam   (CSA oror Step
                 Step 2  CS) is
                      2 CS)  is a failing performance
                                a failing performance (See    Retaking Previously
                                                        (See Retaking   Previously Passed     Steps
                                                                                      PassedSteps
in the
in the USMLE     Bulletin of
       USMLE Bulletin         Information); and
                           ofInformation);    and retaking
                                                  retaking Step
                                                            Step 2
                                                                 2 CS
                                                                   CS to  meet aa time
                                                                       to meet           limit (See
                                                                                   time limit  (See
Reexamination
Reexamination and  andReapplication
                        Reapplication in in The
                                            The United  States Medical
                                                UnitedStates   Medical Licensing
                                                                         Licensing Examination
                                                                                     Examination
(USMLE)
(USMLE)). ).

    Important Notes:
    Important   Notes: If
                        If your
                           your eligibility
                                eligibility for
                                             for an
                                                  an exam
                                                     exam changes    after you
                                                           changes after   you apply
                                                                               apply but
                                                                                      but before  you
                                                                                          before you
    take the
    take the exam,  you are
             exam, you   are required
                             required to    inform ECFMG
                                        to inform    ECFMG immediately
                                                                immediately in
                                                                             in writing
                                                                                writing of
                                                                                        of this
                                                                                           this change
                                                                                                change
    in your
    in your status.
            status. Such
                    Such notification
                          noti cation must
                                        must be     sent to
                                                be sent     ECFMG’s Applicant
                                                         to ECFMG's    Applicant Information
                                                                                  Information
    Services. Use
    Services. Use the
                   the contact  information for
                       contact information       for General
                                                     General Inquiries   on the
                                                               Inquiries on     Contact ECFMG
                                                                            the Contact  ECFMG pagepage
    of the
    of the ECFMG
           ECFMG website.
                    website. Failure
                              Failure to   inform ECFMG
                                       to inform     ECFMG that     you may
                                                               that you may nono longer
                                                                                 longer be  eligible to
                                                                                        be eligible  to
    take the
    take the examination
              examination maymay result
                                  result in
                                          in aa finding
                                                  nding of
                                                         of irregular
                                                            irregular behavior   and permanent
                                                                       behavior and   permanent
    annotation of
    annotation   of your
                    your ECFMG
                          ECFMG record.
                                   record. See     Policies and
                                              See Policies        Procedures Regarding
                                                             andProcedures     Regarding Irregular
                                                                                           Irregular
    Behavior.
    Behavior.

    If you
    If you take
           take aa Step
                   Step or
                        or Step
                           Step Component
                                  Component forfor which
                                                   which you
                                                         you are
                                                             are not
                                                                 not eligible,
                                                                     eligible, results
                                                                               results for
                                                                                       for that exam
                                                                                           that exam
    may not
    may  not be  reported or,
             be reported    or, if
                                if previously
                                   previously reported,
                                              reported, may
                                                        may be
                                                             be canceled.
                                                                canceled.

    If you
    If you have
           have already
                already been    granted aa physician
                          been granted     physician license
                                                     license by
                                                              by aa U.S. medical licensing
                                                                    U.S. medical           authority
                                                                                 licensing authority
    based  on other
    based on  other licensure   examinations, such
                    licensure examinations,    such as
                                                     as the  Federation Licensing
                                                         the Federation   Licensing Examination
                                                                                     Examination
    (FLEX), the
    (FLEX), the NBME
                NBME certifying
                         certifying examinations,  or the
                                    examinations, or   the National
                                                           National Board    of Osteopathic
                                                                      Board of  Osteopathic
    Medical Examiners
    Medical  Examiners COMLEX-USA,
                          COMLEX-USA, you  you may
                                               may not
                                                    not be   eligible to
                                                          be eligible to take the USMLE.
                                                                         take the  USMLE. Please
                                                                                           Please
    contact ECFMG
    contact  ECFMG if if you
                         you have
                             have questions
                                   questions about
                                              about your
                                                     your eligibility.
                                                           eligibility.

The American
The  American Medical
                Medical Association's
                         Association’s Council
                                        Council on
                                                 on Medical    Education no
                                                     Medical Education    no longer  supports
                                                                              longer supports
the Fifth Pathway
the Fifth Pathway as
                   as a mechanism for
                      a mechanism   for eligibility
                                         eligibility to enter ACGME-accredited
                                                     to enter  ACGME-accredited graduate
                                                                                    graduate
medical education
medical  education programs.
                    programs. Additionally,
                               Additionally, the
                                              the USMLE
                                                   USMLE Program
                                                            Program nono longer  accepts Fifth
                                                                         longer accepts   Fifth
Pathway   Certi cates to
Pathway Certificates      meet eligibility
                       to meet             requirements to
                               eligibility requirements        take Step
                                                           to take  Step 3. Individuals who
                                                                         3. Individuals who hold
                                                                                             hold
Fifth Pathway
Fifth           Certi cates and
      Pathway Certificates      wish to
                            and wish      apply to
                                       to apply     ECFMG for
                                                 to ECFMG     for examination
                                                                  examination must
                                                                                must apply
                                                                                      apply for
                                                                                            for
ECFMG Certification
ECFMG    Certi cation and
                       and meet
                           meet the  requirements for
                                 the requirements      for ECFMG
                                                           ECFMG Certification
                                                                    Certi cation established
                                                                                   established
for all
for all medical
        medical school
                school graduates.
                       graduates.


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Eligibility for
Eligibility for Examination
                Examination
Medical School
Medical School Students
               Students I| Medical
                           Medical School
                                   School Graduates
                                          Graduates |I Reveri  cation of
                                                       Reverification of Eligibility
                                                                         Eligibility

Reveri cation of
Reverification of Eligibility
                  Eligibility

ECFMG reserves
ECFMG    reserves the   right to
                   the right     reverify your
                              to reverify your eligibility
                                                 eligibility for
                                                             for examination
                                                                  examination atat any
                                                                                   any time
                                                                                        time during
                                                                                             during
the application and
the application  and registration
                     registration process.
                                    process. If
                                              If your
                                                 your medical
                                                       medical school
                                                                  school informs
                                                                         informs ECFMG
                                                                                   ECFMG that    your
                                                                                            that your
status has
status has changed,
           changed, and    ECFMG determines
                      and ECFMG      determines youyou are
                                                         are no
                                                             no longer  eligible for
                                                                 longer eligible for examination,
                                                                                      examination,
your registration
your registration will
                   will be
                        be canceled.  If you
                           canceled. If  you have
                                              have failed
                                                     failed to inform ECFMG
                                                            to inform  ECFMG of   of this change in
                                                                                     this change  in
your status,
your status, it
             it may
                may result
                     result in
                            in a   nding of
                               a finding  of irregular
                                             irregular behavior      and permanent
                                                          behavior and    permanent annotation
                                                                                       annotation
of your
of your ECFMG
        ECFMG record.
                  record. See   Policies and
                           See Policies        Procedures Regarding
                                         andProcedures        Regarding Irregular
                                                                           Irregular Behavior.
                                                                                      Behavior.

For medical
For medical school
              school students,
                     students, ECFMG
                                ECFMG maymay reverify
                                              reverify your
                                                       your status
                                                             status as
                                                                    as aa student
                                                                          student officially
                                                                                   of cially
enrolled in
enrolled  in medical
             medical school.
                      school. When
                              When a  medical school
                                    a medical  school does
                                                       does not
                                                              not participate
                                                                  participate in
                                                                               in ECFMG
                                                                                  ECFMG
Medical School
Medical  School Web
                  Web Portal  (EMSWP) Status
                       Portal (EMSWP)     Status Verification,
                                                 Veri cation, ECFMG's
                                                               ECFMG’s reverification
                                                                            reveri cation of
                                                                                           of the
                                                                                              the
status of
status of the  school’s students
           the school's students may
                                  may include
                                      include ECFMG
                                               ECFMG sending
                                                         sending a  written request
                                                                  a written   request for
                                                                                      for
reveri cation by
reverification  by postal mail to
                   postal mail to the medical school.
                                  the medical  school. If
                                                       If reverification
                                                          reveri cation isis requested
                                                                             requested by
                                                                                        by
ECFMG, ECFMG
ECFMG,    ECFMG maymay cancel   your registration
                         cancel your registration or
                                                  or withhold    your score
                                                     withhold your    score report
                                                                              report until
                                                                                     until
ECFMG has
ECFMG    has received
              received reverification
                        reveri cation of
                                       of your
                                          your status
                                               status directly
                                                      directly from
                                                                from the
                                                                      the medical
                                                                           medical school.
                                                                                    school. If
                                                                                            If
your registration
your registration is
                   is canceled, you may
                      canceled, you may be   required to
                                          be required      reapply.
                                                       to reapply.

For medical
For medical school
             school graduates,
                     graduates, ECFMG
                                  ECFMG may may reverify
                                                  reverify your
                                                            your medical
                                                                  medical education
                                                                           education credentials
                                                                                       credentials
with the
with the issuing
         issuing medical
                  medical school.
                            school. If
                                    If such
                                       such reverification
                                             reveri cation isis requested
                                                                requested by   ECFMG, you
                                                                            by ECFMG,    you will
                                                                                             will be
                                                                                                  be
registered for
registered  for examination
                examination only
                               only after
                                    after ECFMG
                                           ECFMG has  has received
                                                          received reverification
                                                                    reveri cation of
                                                                                   of your
                                                                                       your
credentials  directly from
credentials directly  from the
                             the medical
                                 medical school.
                                           school. If
                                                    If reverification
                                                       reveri cation is
                                                                      is requested
                                                                         requested by   ECFMG
                                                                                    by ECFMG
after you
after you have
          have been    registered for
                been registered    for examination,
                                        examination, ECFMG
                                                        ECFMG may may cancel  your registration
                                                                       cancel your registration or
                                                                                                 or
withhold your
withhold  your score
                score report
                       report until
                               until ECFMG
                                     ECFMG has  has received
                                                    received reverification
                                                               reveri cation of
                                                                              of your
                                                                                 your medical
                                                                                       medical
education credentials
education  credentials directly
                         directly from
                                  from the    issuing school.
                                         the issuing   school. If
                                                               If your
                                                                  your registration
                                                                       registration is
                                                                                    is canceled,
                                                                                       canceled,
you may
you may be   required to
         be required       reapply.
                        to reapply.


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The United
The United States
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                                                (USMLE)
About USMLE
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                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

About USMLE
About USMLE

The USMLE
The  USMLE isis aa three-step
                   three-step examination    for medical
                               examination for   medical licensure  in the
                                                          licensure in the United
                                                                            United States.
                                                                                    States. The
                                                                                            The
USMLE provides
USMLE   provides aa common      system to
                      common system     to evaluate
                                           evaluate applicants
                                                     applicants for
                                                                for medical
                                                                     medical licensure.   The
                                                                              licensure. The
USMLE is
USMLE   is sponsored
           sponsored by  by the Federation of
                            the Federation  of State
                                               State Medical
                                                     Medical Boards    (FSMB) and
                                                               Boards (FSMB)
                                                                       (FSMB),   and the National
                                                                                     the National
Board of
Board  of Medical    Examiners (NBME).
          Medical Examiners      (NBME). The
                                          The USMLE
                                               USMLE is is governed
                                                           governed by
                                                                     by aa committee
                                                                           committee consisting
                                                                                        consisting
of representatives
of representatives of of FSMB,
                         FSMB, NBME,     ECFMG, and
                                 NBME, ECFMG,          the American
                                                  and the   American public.
                                                                       public. If
                                                                               If you
                                                                                  you apply  for
                                                                                      apply for
examination, you
examination,  you areare required to
                                   to read
                                      read the          Bulletin of
                                               USMLE Bulletin
                                           the USMLE                Information for
                                                                 ofInformation     for detailed
                                                                                       detailed
information on
information  on the    USMLE.
                  the USMLE.


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About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior |I Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Registration and
Registration and Test
                 Test Delivery
                      Delivery Entities
                               Entities

Step 1
Step 1 and
       and Step
           Step 2
                2

ECFMG is
ECFMG   is the
           the organization
               organization that
                              that registers
                                   registers international
                                              international medical
                                                             medical students/graduates
                                                                      students/graduates for
                                                                                           for
Step 1
Step 1 and
       and Step
            Step 2 (CK and
                 2 (CK  and CS).  This means
                             CS). This means that    ECFMG processes
                                               that ECFMG                your exam
                                                              processes your         application
                                                                              exam application
and payment,
and            veri es your
    payment, verifies   your eligibility,
                             eligibility, and noti es you
                                          and notifies you of
                                                           of the outcome of
                                                              the outcome   of your
                                                                               your application.
                                                                                    application.
The NBME
The NBME serves
            serves as  the registration
                    as the registration entity
                                          entity for
                                                 for students/graduates
                                                     students/graduates ofof U.S.
                                                                             U.S. and Canadian
                                                                                  and Canadian
medical school
medical school programs     accredited by
                programs accredited      by the
                                            the Liaison  Committee on
                                                Liaison Committee    on Medical   Education
                                                                        Medical Education
(LCME) and
.(LCME) and U.S.  medical schools
             U.S. medical  schools accredited
                                    accredited byby the  American Osteopathic
                                                     the American                 Association
                                                                   Osteopathic Association
(AOA).
.(A0A).

For eligible
For          international medical
    eligible international medical students/graduates
                                    students/graduates applying
                                                          applying for
                                                                   for Step
                                                                        Step 1/Step
                                                                             1/Step 2  CK,
                                                                                     2 CK,
ECFMG forwards
ECFMG    forwards registration
                   registration information
                                information toto NBME,   and NBME
                                                 NBME, and    NBME issues
                                                                      issues the
                                                                             the exam
                                                                                 exam
scheduling permits.
scheduling            ECFMG sends
             permits. ECFMG   sends an
                                     an e-mail  noti cation to
                                        e-mail notification     these applicants
                                                             to these  applicants when
                                                                                  when their
                                                                                          their
scheduling permits
scheduling           are available.
             permits are available. Scheduling
                                    Scheduling and
                                                and test
                                                    test centers  for USMLE
                                                         centers for  USMLE Step
                                                                               Step 11 and  Step
                                                                                       and Step
2 CK are
2 CK are provided
          provided by  Prometric. Prometric
                    by Prometric.  Prometric serves
                                               serves as
                                                      as the
                                                         the test delivery entity
                                                             test delivery  entity for
                                                                                   for all
                                                                                       all
examinees taking
examinees          Step 1/Step
            taking Step  1/Step 2 CK. Step
                                2 CK.  Step 1
                                            1 and
                                              and Step
                                                  Step 2  CK are
                                                        2 CK  are delivered
                                                                  delivered at
                                                                             at Prometric
                                                                                Prometric test
                                                                                            test
centers  worldwide.
centers worldwide.

For eligible
For          international medical
    eligible international medical students/graduates
                                     students/graduates applying
                                                             applying for
                                                                       for Step
                                                                           Step 22 CS, ECFMG
                                                                                   CS, ECFMG
issues the
issues the exam   scheduling permits
            exam scheduling             and sends
                               permits and   sends an
                                                    an e-mail   noti cation to
                                                        e-mail notification  to applicants when
                                                                                applicants when
the scheduling permits
the scheduling   permits are
                         are available.   The Clinical
                               available. The  Clinical Skills
                                                        Skills Evaluation
                                                               Evaluation Collaboration
                                                                           Collaboration (CSEC),
                                                                                          (CSEC),
a collaboration of
a collaboration  of ECFMG
                    ECFMG andand NBME,
                                  NBME, is    responsible for
                                           is responsible  for delivery
                                                                delivery of
                                                                         of the
                                                                            the Step
                                                                                Step 2  CS exam.
                                                                                      2 CS exam.
Step 2
Step    CS is
      2 CS is delivered
              delivered to
                        to all
                           all examinees
                               examinees at at regional
                                               regional CSEC
                                                         CSEC Centers
                                                                Centers in
                                                                         in the United States.
                                                                            the United  States.

For all
For  all applicants,
         applicants, NBME  is responsible
                     NBME is  responsible for
                                          for determining
                                              determining the    results of
                                                            the results  of USMLE
                                                                            USMLE exams   and
                                                                                    exams and
for issuing
for issuing the  score reports.
             the score reports. ECFMG
                                ECFMG sends
                                        sends an
                                               an e-mail  noti cation to
                                                   e-mail notification    international
                                                                       to international
medical students/graduates
medical   students/graduates when
                               when their
                                    their Step
                                           Step 1,
                                                1, Step
                                                   Step 2
                                                        2 CK,
                                                          CK, and
                                                               and Step
                                                                    Step 2
                                                                         2 CS  score reports
                                                                            CS score reports
are available.
are  available.

Step 3
Step 3

The FSMB
The  FSMB is
           is the organization that
              the organization      registers all
                               that registers all Step
                                                  Step 3
                                                       3 applicants.
                                                         applicants. To
                                                                     To be
                                                                        be eligible for Step
                                                                           eligible for Step 3,
                                                                                             3,
international medical
international  medical graduates
                       graduates must
                                 must have
                                       have passed   Step 1
                                             passed Step   1 and Step 2
                                                             and Step 2 (CK
                                                                         (CK and  CS) and
                                                                             and CS)  and

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                                                            Page 41
                                                           sKigKoS4
                                                           SAppx0274
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must be
must  be certi  ed by
         certified     ECFMG, among
                   by ECFMG,     among other
                                         other requirements.
                                                 requirements. See      Eligibility for
                                                                  See Eligibility    for the
                                                                                         the USMLE
                                                                                             USMLEinin
the
the USMLE   Bulletin of
    USMLE Bulletin        Information. If
                       ofInformation.   If you
                                           you have
                                                have not
                                                      not met
                                                          met all
                                                                all eligibility
                                                                    eligibility requirements,
                                                                                requirements, your
                                                                                                 your
application for
application for Step
                 Step 3
                      3 will
                        will not
                             not be  accepted. For
                                 be accepted.    For detailed
                                                     detailed information
                                                                information and and application
                                                                                      application
procedures   for Step
procedures for   Step 3,
                       3, contact  the FSMB.
                          contact the  FSMB. Scheduling
                                                Scheduling and
                                                             and test
                                                                  test centers
                                                                        centers forfor Step
                                                                                       Step 3  are
                                                                                             3 are
provided
provided by   Prometric, which
          by Prometric,    which serves
                                  serves as
                                          as the  test delivery
                                             the test            entity for
                                                       delivery entity   for all
                                                                              all Step
                                                                                  Step 33 examinees.
                                                                                          examinees.
USMLE Step
USMLE   Step 3  is delivered
              3 is delivered at
                              at Prometric
                                 Prometric test
                                              test centers  in the
                                                   centers in  the United
                                                                    United States.
                                                                              States.

For all
For  all applicants,
         applicants, NBME  is responsible
                     NBME is  responsible for
                                          for determining
                                              determining the
                                                          the results
                                                              results of
                                                                      of USMLE
                                                                         USMLE exams   and
                                                                                 exams and
for issuing
for issuing the  score reports.
             the score reports. FSMB
                                FSMB notifies
                                      noti es examinees  when their
                                               examinees when         Step 3
                                                                their Step 3 score
                                                                             score reports
                                                                                   reports
are available.
are  available.


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                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Applying for
Applying for Examination
             Examination

Before applying
Before applying to
                to ECFMG
                   ECFMG for
                         for examination:
                             examination:

      International medical
    • International  medical students/graduates
                             students/graduates must
                                                   must complete   an Application
                                                         complete an   Application for
                                                                                   for ECFMG
                                                                                       ECFMG
      Certi cation, including
      Certification, including the notarized Certification
                               the notarized   Certi cation of
                                                            of Identification
                                                               Identi cation Form
                                                                              Form (Form
                                                                                    (Form 186).
                                                                                          186). See
                                                                                                See
      Application for
      Application      ECFMG Certi
                   for ECFMG           cation.
                                Certification.
      ECFMG must
    • ECFMG  must accept
                  accept the Application for
                         the Application for ECFMG
                                             ECFMG Certification,
                                                   Certi cation, including
                                                                  including the notarized
                                                                            the notarized
      Form 186.
      Form 186.
      International medical
    • International medical students/graduates
                            students/graduates must
                                               must read
                                                    read the applicable editions
                                                         the applicable editions of
                                                                                 of the
                                                                                    the
               Information Bookletand
      ECFMG Information
      ECFMG                Booklet and the       Bulletin of
                                           USMLE Bulletin
                                       the USMLE             Information.
                                                          ofInformation.

To apply
To apply for
         for USMLE
             USMLE Step
                      Step 1,
                            1, Step
                               Step 2
                                    2 CK,
                                      CK, and/or
                                          and/or Step
                                                  Step 2  CS, use
                                                        2 CS, use ECFMG's
                                                                    ECFMG's Interactive
                                                                               Interactive Web
                                                                                            Web
Applications (IWA).
Applications  (IWA). A
                     A complete
                        complete application
                                   application consists  of the
                                               consists of       on-line part,
                                                            the on-line         which you
                                                                          part, which   you
complete  using IWA;
complete using   IWA; verification
                       veri cation of
                                    of your
                                       your student
                                            student oror graduate
                                                         graduate status
                                                                     status by  your medical
                                                                            by your   medical
school; and
school; and any
            any other
                 other required
                        required documents.
                                  documents. You
                                              You should
                                                    should read
                                                            read the    detailed overview
                                                                   the detailed   overview and
                                                                                            and
instructions that
instructions      accompany the
             that accompany     the application
                                    application for
                                                 for examination
                                                     examination in in IWA
                                                                       IWA before    you begin
                                                                             before you   begin
working on
working  on the
            the application;
                application; these   resources will
                               these resources  will help
                                                     help you
                                                          you plan
                                                                plan the
                                                                      the timing  of your
                                                                          timing of  your
application and
application and outline
                 outline any
                          any necessary
                               necessary items
                                         items (such
                                                (such as  of cial signatures)
                                                       as official signatures) that   require
                                                                                 that require
advance planning.
advance  planning.

    Important Note:
    Important      Note: You
                         You should
                               should also
                                       also consider  deadlines imposed
                                            consider deadlines   imposed by    the National
                                                                            by the  National Resident
                                                                                                 Resident
    Matching Program
    Matching                (NRMP) and
                Program (NRMP)             graduate medical
                                     and graduate    medical education    (GME) programs.
                                                              education (GME)      programs. It  It is
                                                                                                    is solely
                                                                                                        solely
    the responsibility
    the responsibility of of the
                              the applicant
                                  applicant to
                                             to complete   the required
                                                complete the   required exams
                                                                         exams in in time
                                                                                     time to   meet
                                                                                           to meet
    deadlines imposed
    deadlines    imposed by by the  NRMP and/or
                                the NRMP    and/or GME
                                                   GME programs.     Since the
                                                         programs. Since     the number
                                                                                 number of  of applicants
                                                                                                applicants
    seeking to
    seeking   to complete     these exams
                  complete these    exams may
                                            may exceed
                                                 exceed the   spaces available
                                                         the spaces   available in
                                                                                 in time
                                                                                    time to    meet those
                                                                                           to meet     those
    deadlines, there
    deadlines,          is no
                  there is no guarantee
                               guarantee that
                                           that sufficient
                                                suf cient spaces
                                                           spaces will
                                                                   will be
                                                                        be available   for all
                                                                           available for    all applicants
                                                                                                applicants
    to meet
    to meet deadlines
              deadlines imposed
                           imposed byby the  NRMP and/or
                                         the NRMP            GME programs.
                                                     and/or GME                ECFMG assumes
                                                                   programs. ECFMG         assumes no   no
    liability of
    liability of any
                  any kind  if an
                      kind if  an applicant
                                  applicant does
                                             does not
                                                  not complete
                                                       complete the
                                                                  the exams
                                                                      exams inin time
                                                                                 time toto have
                                                                                           have results
                                                                                                  results
    available to
    available       meet NRMP
               to meet    NRMP and/or
                                   and/or GME
                                           GME program
                                                 program deadlines.        Examination Results
                                                                       See Examination
                                                           deadlines. See                    Results forfor
    information on
    information     on scoring
                       scoring turnaround
                                 turnaround times.
                                              times.

Exam Fees
Exam Fees


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For all
For all exams,
        exams, there is an
               there is an examination
                           examination fee.
                                          fee. For
                                               For Step
                                                   Step 11 or
                                                           or Step
                                                              Step 2
                                                                   2 CK,
                                                                     CK, there  is an
                                                                         there is  an additional
                                                                                      additional
international test
international      delivery surcharge,
              test delivery  surcharge, if
                                         if you
                                            you choose
                                                 choose aa testing region other
                                                           testing region other than
                                                                                  than the United
                                                                                       the United
States/Canada. You
States/Canada.   You must
                     must pay   all applicable
                            pay all applicable fees
                                                fees at
                                                     at the
                                                        the time  you apply
                                                            time you        for examination.
                                                                      apply for  examination.
For the
For      current exam
    the current        fees and
                 exam fees   and international
                                 international test   delivery surcharges,
                                                 test delivery  surcharges, see
                                                                            see the  Fees page
                                                                                 the Fees  page
on the
on      ECFMG website.
   the ECFMG    website.

Eligibility Periods
Eligibility Periods

When you
When   you apply
            apply for
                  for Step
                      Step 1
                           1 or
                             or Step
                                Step 2
                                     2 CK,
                                        CK, you
                                            you must
                                                must select
                                                      select aa three-month     eligibility period,
                                                                three-month eligibility     period,
such as
such as January-February-March,      February-March-April, etc.,
        January-February-March, February-March-April,                during which
                                                               etc., during  which you
                                                                                     you would
                                                                                          would
prefer to
prefer    take the
       to take     exam. The
               the exam.  The eligibility
                              eligibility period you are
                                          period you are assigned    will be
                                                         assigned will       listed on
                                                                          be listed  on your
                                                                                        your
scheduling permit.
scheduling          You must
            permit. You  must take
                               take the
                                    the exam   during the
                                         exam during      eligibility period
                                                      the eligibility period assigned
                                                                               assigned to   you.
                                                                                          to you.

If you
If you are
       are unable  to take
           unable to       Step 1/Step
                      take Step 1/Step 2   CK during
                                         2 CK during the
                                                     the three-month
                                                         three-month eligibility
                                                                         eligibility period
                                                                                     period
assigned to
assigned     you, you
          to you, you may
                       may request
                            request aa one-time,
                                       one-time, contiguous
                                                 contiguous eligibility
                                                             eligibility period   extension
                                                                         period extension
(EPEx) using
(EPEx)  using ECFMG's
              ECFMG’s IWA.
                         IWA. Refer
                               Refer to  the EPEx
                                      to the EPEx Overview
                                                  Overview inin IWA
                                                                IWA for
                                                                      for more
                                                                          more information
                                                                                 information
and instructions.
and  instructions.

If you
If you do
        do not
           not take  Step 1/Step
                take Step  1/Step 2 2 CK
                                      CK during
                                         during your
                                                  your original
                                                        original or
                                                                 or extended
                                                                    extended eligibility
                                                                             eligibility period
                                                                                         period
or if
or  if you
       you are
           are unable
               unable to  extend your
                       to extend    your eligibility
                                         eligibility period,
                                                     period, you
                                                             you must
                                                                  must reapply
                                                                       reapply by
                                                                               by submitting
                                                                                  submitting a a
new application
new    application and  fee(s), if
                   and fee(s),  if you
                                   you wish
                                       wish to
                                             to take
                                                take the  exam.
                                                      the exam.

When you
When    you apply
             apply for
                   for Step
                       Step 2
                            2 CS,
                              CS, you
                                  you are
                                       are assigned
                                           assigned aa 12-month
                                                       12-month eligibility
                                                                 eligibility period
                                                                             period that
                                                                                      that begins
                                                                                           begins
on the
on      date that
   the date   that the
                   the processing  of your
                       processing of  your application
                                           application is
                                                        is completed. Your eligibility
                                                           completed. Your   eligibility period
                                                                                         period
will be
will be listed on your
        listed on your scheduling
                        scheduling permit.
                                    permit.

Once your
Once  your Step
           Step 2  CS eligibility
                 2 CS  eligibility period
                                   period has
                                           has been
                                               been assigned, it cannot
                                                    assigned, it cannot be
                                                                         be changed
                                                                            changed oror
extended. You
extended. You can    schedule aa testing
               can schedule               appointment for
                                  testing appointment  for any  available date
                                                           any available   date in
                                                                                in your
                                                                                   your eligibility
                                                                                        eligibility
period, and
period,     reschedule aa testing
        and reschedule               appointment within
                            testing appointment   within your
                                                          your eligibility
                                                               eligibility period. See
                                                                           period. See
Scheduling the
Scheduling      Examination for
            the Examination     for more
                                    more information.
                                          information. If
                                                       If you
                                                          you do
                                                              do not
                                                                  not take
                                                                      take Step
                                                                            Step 2  CS during
                                                                                  2 CS during
your assigned
your assigned eligibility
               eligibility period,   you must
                           period, you   must reapply
                                               reapply by
                                                       by submitting
                                                           submitting a   new application
                                                                        a new  application and
                                                                                            and
examination fee,
examination   fee, if
                   if you
                      you wish
                          wish toto take
                                    take the exam.
                                         the exam.

Testing Locations
Testing Locations

Step 1
Step 1 and
       and Step
           Step 2 CK are
                2 CK are delivered
                         delivered at
                                   at Prometric
                                      Prometric test
                                                test centers worldwide. Prometric's
                                                     centers worldwide. Prometric's test
                                                                                    test
centers are grouped
centers are grouped into
                    into de   ned testing
                         defined   testing regions.
                                           regions. When
                                                    When you
                                                         you apply
                                                              apply for
                                                                    for Step
                                                                        Step 1
                                                                             1 or
                                                                                or Step
                                                                                   Step 2
                                                                                        2
CK, you
CK, you must
        must choose
              choose the testing region
                     the testing  region where
                                         where you
                                                 you want
                                                     want to
                                                          to take
                                                             take the
                                                                  the exam. A list
                                                                      exam. A  list of
                                                                                    of
Prometric testing
Prometric         regions is
          testing regions is available
                             available on
                                       on the  ECFMG website.
                                           the ECFMG  website.



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                                                  sKigKo*7
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You can
You can take
         take the
               the exam  at any
                   exam at   any test
                                 test center in your
                                      center in your testing region that
                                                     testing region  that offers
                                                                          offers USMLE,
                                                                                 USMLE,
provided
provided there   is space
           there is space available
                          available on
                                     on the
                                        the date
                                            date you
                                                  you choose.  The test
                                                      choose. The   test centers
                                                                         centers available
                                                                                  available for
                                                                                            for
USMLE Step
USMLE    Step 11 and  Step 2
                 and Step     CK are
                           2 CK   are subject
                                      subject to
                                              to change.
                                                 change. To
                                                          To obtain
                                                             obtain current  information on
                                                                     current information  on
speci c test
specific test centers, visit the
              centers, visit the Prometric  website or
                                 Prometric website   or follow
                                                        follow instructions
                                                                instructions on
                                                                             on the  scheduling
                                                                                 the scheduling
permit for
permit  for contacting  Prometric.
            contacting Prometric.

If you
If you are
       are unable
           unable to
                   to keep   your Step
                       keep your  Step 1 1 or
                                           or Step
                                              Step 2  CK testing
                                                   2 CK   testing appointment  at the
                                                                  appointment at  the test
                                                                                      test center
                                                                                           center
you select,
you  select, you
             you can  reschedule for
                 can reschedule    for aa different
                                          different test
                                                    test center
                                                         center within  your testing
                                                                 within your         region,
                                                                             testing region,
subject to
subject     availability. To
         to availability. To avoid
                             avoid aa rescheduling
                                      rescheduling fee,
                                                     fee, you
                                                          you must
                                                              must reschedule
                                                                    reschedule more
                                                                                more than  30
                                                                                      than 30
calendar  days before
calendar days           your scheduled
                before your   scheduled testing    appointment. Refer
                                           testing appointment.          to your
                                                                   Refer to your scheduling
                                                                                 scheduling
permit for
permit  for details.
            details.

If you
If you are
       are unable
           unable to
                  to take Step 1
                     take Step  1 or
                                  or Step
                                     Step 2 CK in
                                          2 CK in the testing region
                                                  the testing region you
                                                                     you selected,
                                                                         selected, you
                                                                                   you may
                                                                                       may
request a
request  a change
           change to  your testing
                   to your testing region.
                                   region. For
                                           For more
                                               more information,
                                                     information, see
                                                                   see the Request to
                                                                       the Request  to
Change
Change USMLE
        USMLE
        USMLE±  ® Step
                  Step 1/Step 2 CK
                       1/Step 2 CKTesting
                                    TestingRegion (Form 312),
                                           Region (Form
                                                  (Fornn 312), available in the
                                                               available in     Resources
                                                                            the Resources
section of
section of the ECFMG website
           the ECFMG   website and
                               and from
                                   from ECFMG,
                                         ECFMG, upon
                                                 upon request.
                                                       request.

Step 2
Step    CS is
      2 CS  is administered
               administered atat six
                                 six test
                                     test centers
                                          centers inin five
                                                         ve cities in the
                                                            cities in     United States.
                                                                      the United  States. Once
                                                                                          Once you
                                                                                               you
are registered
are registered for
                 for the
                     the exam,   you will
                          exam, you        select aa test
                                      will select    test center,  subject to
                                                          center, subject  to availability, when you
                                                                              availability, when you
schedule your
schedule   your testing   appointment. If
                 testing appointment.     If you
                                             you are  unable to
                                                 are unable    to keep  your testing
                                                                  keep your  testing appointment   at
                                                                                      appointment at
the
the test
    test center   you select,
         center you    select, you
                               you can
                                   can reschedule
                                        reschedule for for a different center,
                                                           a different          subject to
                                                                        center, subject to
availability. To
availability. To avoid
                 avoid aa rescheduling
                          rescheduling fee,
                                         fee, you
                                               you must
                                                    must cancel
                                                           cancel or
                                                                   or reschedule
                                                                      reschedule more
                                                                                   more than  14
                                                                                         than 14
calendar  days before
calendar days            your scheduled
                 before your   scheduled testing
                                            testing appointment.      Access Step
                                                     appointment. Access     Step 2  CS Calendar
                                                                                   2 CS  Calendar
and Scheduling
and  Scheduling onon the   ECFMG website
                      the ECFMG     website for
                                              for more
                                                   more information.
                                                          information.

Examinees with
Examinees with Disabilities
               Disabilities Requesting
                            Requesting Test
                                       Test Accommodations
                                            Accommodations

The USMLE
The  USMLE program
              program provides   reasonable accommodations
                        provides reasonable   accommodations for for examinees
                                                                      examinees with
                                                                                  with
disabilities under
disabilities under the  Americans with
                    the Americans   with Disabilities
                                         Disabilities Act
                                                      Act (ADA).
                                                          (ADA). If
                                                                  If you
                                                                     you are
                                                                         are an
                                                                             an individual
                                                                                individual with
                                                                                           with
such aa disability
such    disability and require test
                   and require      accommodations, visit
                               test accommodations,    visit the
                                                             the USMLE
                                                                 USMLE website
                                                                          website before  you
                                                                                   before you
apply for
apply  for each  Step or
           each Step  or Step
                         Step Component
                              Component forfor information
                                               information regarding
                                                             regarding test
                                                                        test accommodations,
                                                                             accommodations,
including procedures
including  procedures and
                        and documentation
                            documentation requirements.
                                             requirements.

Examinees Who
Examinees Who Require
              Require Additional
                      Additional Break
                                 Break Time
                                       Time

Examinees with
Examinees  with physical  or health
                 physical or health conditions, such as
                                    conditions, such as lactation (to express
                                                        lactation (to express breast milk)
                                                                              breast milk)
and diabetes
and diabetes (to
             (to monitor/treat
                 monitor/treat blood   glucose), may
                                blood glucose),  may apply
                                                     apply for
                                                            for additional
                                                                additional break time. See
                                                                           break time. See
the
the USMLE  Bulletin of
    USMLE Bulletin     Information for
                    ofInformation    for more
                                         more information.
                                              information.

Personal Item
Personal Item Exceptions
              Exceptions (PIE)
                         (PIE)

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Unauthorized possession
Unauthorized               of personal
               possession of           items while
                              personal items   while you
                                                     you are
                                                         are in
                                                             in the secure areas
                                                                the secure         of the
                                                                            areas of  the
testing
testing center is prohibited.
        center is             Exceptions to
                  prohibited. Exceptions     this policy
                                          to this        may be
                                                  policy may     made in
                                                             be made   in certain limited
                                                                          certain limited
circumstances.  See the
circumstances. See   the USMLE   Bulletin of
                         USMLE Bulletin      Information for
                                          ofInformation   for more
                                                              more information.
                                                                    information.

   Important Note:
   Important  Note: Please  note that
                     Please note       ECFMG will
                                  that ECFMG    will not
                                                     not provide
                                                         provide services
                                                                   services of
                                                                            of any
                                                                               any kind  if doing
                                                                                    kind if doing
   so would
   so would be
             be considered  violative of
                considered violative  of any applicable federal,
                                         any applicable  federal, state,
                                                                  state, or
                                                                         or local
                                                                            local laws or
                                                                                  laws or
   regulations. Additionally,
   regulations. Additionally, ECFMG
                              ECFMG maymay delay
                                            delay provision
                                                  provision ofof services
                                                                 services while
                                                                           while investigating
                                                                                 investigating
   whether the
   whether      services or
            the services or surrounding
                            surrounding circumstances      violate such
                                          circumstances violate     such laws, regulations, or
                                                                         laws, regulations,  or
   ECFMG's policies
   ECFMG's            and procedures.
             policies and procedures.


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             September 13,
                       13, 2018.
                           2018.
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                 by the Educational Commission
                                    Commission for
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                                                                                                  reserved.




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The United
The United States
           States Medical
                  Medical Licensing
                          Licensing Examination
                                    Examination (USMLE)
                                                (USMLE)
About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Scheduling the
Scheduling     Examination
           the Examination

Once ECFMG
Once ECFMG verifies
                veri es that  you are
                         that you  are eligible  and your
                                        eligible and your registration
                                                           registration is
                                                                        is complete,   your
                                                                           complete, your
scheduling permit
scheduling          will be
            permit will     issued. If
                         be issued.  If you
                                        you apply
                                             apply for
                                                   for more
                                                       more than
                                                             than one
                                                                   one exam
                                                                       exam atat the  same time,
                                                                                 the same    time,
you will
you will be issued separate
         be issued separate scheduling
                              scheduling permits     for each
                                            permits for       exam. Once
                                                         each exam.         your scheduling
                                                                     Once your     scheduling
permit is
permit is available, ECFMG will
          available, ECFMG          send aa notification
                               will send    noti cation to
                                                         to the
                                                            the e-mail address in
                                                                e-mail address    in your
                                                                                     your ECFMG
                                                                                          ECFMG
record. You
record. You will
             will not
                  not receive
                      receive the   scheduling permit
                               the scheduling             or notification
                                                  permit or  noti cation by   postal mail.
                                                                           by postal   mail.

    Important Note:
    Important   Note: For
                       For Step
                           Step 1
                                1 and
                                  and Step
                                       Step 2  CK, if
                                             2 CK,  if the
                                                       the beginning of your
                                                           beginning of your assigned
                                                                              assigned eligibility
                                                                                        eligibility
    period is
    period    more than
           is more       six months
                    than six months inin the future, your
                                         the future,  your scheduling
                                                            scheduling permit  will not
                                                                       permit will  not be  available
                                                                                        be available
    and the
    and     noti cation e-mail
        the notification e-mail will
                                 will not
                                      not be  sent until
                                           be sent until approximately
                                                         approximately six
                                                                         six months
                                                                             months before
                                                                                     before the
                                                                                              the
    beginning  of the
    beginning of  the assigned
                      assigned eligibility
                                eligibility period.
                                            period.

The scheduling
The scheduling permit
                  permit isis a very important
                              a very  important document;
                                                   document; it   it includes
                                                                     includes your
                                                                              your assigned
                                                                                     assigned eligibility
                                                                                               eligibility
period,
period, aa description
           description ofof the
                            the fornn(s)
                                form(s) of
                                         of identification
                                            identi cation you you must
                                                                    must bring  to the
                                                                          bring to  the test
                                                                                        test center
                                                                                             center onon
your exam
your         date, and
     exam date,    and instructions
                        instructions for
                                       for scheduling
                                           scheduling your
                                                        your testing     appointment. You
                                                                testing appointment.      You must
                                                                                              must
bring your scheduling
bring your   scheduling permit
                          permit toto the test center
                                      the test         on your
                                               center on    your exam     date. Your
                                                                   exam date.   Your name,
                                                                                       name, as  it
                                                                                              as it
appears on
appears   on your
              your scheduling
                   scheduling permit,     must exactly
                                 permit, must   exactly match
                                                          match the     name on
                                                                    the name  on your
                                                                                   your fornn(s)
                                                                                         form(s) of
                                                                                                 of
identi cation. Please
identification.          review your
                 Please review    your scheduling
                                        scheduling permit
                                                     permit forfor details
                                                                    details and
                                                                            and limited   exceptions. If
                                                                                 limited exceptions.    If
you do
you do not
        not bring
             bring a  copy of
                    a copy   of your
                                your scheduling
                                      scheduling permit
                                                   permit (electronic
                                                             (electronic oror paper)   and required
                                                                              paper) and    required
identi cation on
identification   on each
                    each day
                           day of
                                of your
                                   your exam,
                                         exam, you
                                                you will
                                                     will not
                                                           not bebe allowed
                                                                     allowed to   take the
                                                                              to take   the exam.
                                                                                            exam. IfIf you
                                                                                                       you
are not
are not allowed
         allowed to
                  to take   the exam,
                      take the  exam, you
                                        you must
                                            must pay
                                                   pay aa fee
                                                          fee to
                                                               to reschedule
                                                                   reschedule your
                                                                                your exam.
                                                                                       exam. Your
                                                                                              Your
rescheduled testing
rescheduled             appointment must
               testing appointment      must fall
                                              fall within
                                                   within your
                                                           your assigned
                                                                   assigned eligibility
                                                                             eligibility period.
                                                                                         period.

If the
If     name listed
   the name          on your
              listed on your scheduling
                             scheduling permit
                                         permit is
                                                is not
                                                   not correct,
                                                       correct, contact ECFMG immediately
                                                                contact ECFMG   immediately
by
by e-mail,
    e-mail, telephone,  or fax.
            telephone, or  fax. Use
                                Use the
                                    the contact information for
                                        contact information  for General
                                                                 General Inquiries
                                                                         Inquiries on
                                                                                   on the
                                                                                      the
Contact ECFMG
Contact  ECFMG page      of the
                    page of     ECFMG website.
                            the ECFMG    website.

If the
If     name in
   the name   in your
                 your ECFMG
                      ECFMG record
                                 record is
                                         is changed
                                            changed while    you are
                                                      while you   are registered
                                                                      registered forfor an
                                                                                        an exam,
                                                                                            exam, aa
revised scheduling
revised  scheduling permit
                      permit reflecting
                               re ecting this
                                           this change   will be
                                                change will      issued. ECFMG
                                                              be issued. ECFMG will  will send
                                                                                          send you
                                                                                                you anan
e-mail notification
e-mail  noti cation when
                      when your
                             your revised
                                   revised scheduling
                                             scheduling permit
                                                         permit isis available.
                                                                     available. You
                                                                                You must
                                                                                      must bring
                                                                                              bring the
                                                                                                    the
revised scheduling
revised  scheduling permit
                      permit toto the test center.
                                  the test           Name changes
                                            center. Name              must be
                                                           changes must         received and
                                                                            be received      and
processed
processed by    ECFMG no
             by ECFMG     no later
                              later than  seven business
                                    than seven   business days
                                                            days before   your testing
                                                                  before your    testing
appointment, or
appointment,     or you
                    you will
                        will not
                             not be
                                  be able  to test.
                                     able to  test. For
                                                    For Step
                                                        Step 11 or
                                                                or Step
                                                                   Step 2  CK, if
                                                                         2 CK,  if your
                                                                                   your eligibility
                                                                                          eligibility
period is
period  is extended
           extended oror your
                         your testing   region is
                                testing region  is changed    while you
                                                   changed while     you are
                                                                         are registered,
                                                                             registered, aa revised
                                                                                               revised
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scheduling permit
scheduling permit reflecting
                  re ecting this
                             this change will be
                                  change will be issued. You must
                                                 issued. You must bring
                                                                  bring the revised
                                                                        the revised
scheduling permit
scheduling permit to
                  to the test center.
                     the test center.

If you
If you lose your scheduling
       lose your scheduling permit,
                            permit, you
                                    you can access it
                                        can access it through IWA.
                                                      through IWA.

Scheduling
Scheduling

You can
You     schedule your
    can schedule    your testing  appointment as
                          testing appointment       soon as
                                                 as soon     you obtain
                                                          as you  obtain your
                                                                         your exam  scheduling
                                                                               exam scheduling
permit. Please
permit.        refer to
        Please refer   to your
                          your scheduling
                                scheduling permit
                                            permit for
                                                    for instructions
                                                        instructions on
                                                                      on reviewing
                                                                         reviewing available
                                                                                    available test
                                                                                              test
dates and
dates and centers
          centers andand scheduling
                         scheduling a   testing appointment.
                                      a testing appointment. IfIf you
                                                                  you do
                                                                      do not
                                                                          not schedule
                                                                              schedule and
                                                                                       and take
                                                                                            take
the
the exam  within your
    exam within   your eligibility
                        eligibility period,
                                    period, you
                                            you must
                                                must reapply
                                                      reapply by   submitting aa new
                                                               by submitting     new application
                                                                                     application
and exam
and       fee(s), if
    exam fee(s),  if you
                     you wish
                         wish to
                               to take  the exam.
                                  take the  exam.

Please refer to
Please refer     the schedule
              to the schedule for
                              for reporting
                                  reporting Step
                                            Step 2  CS results,
                                                  2 CS results, available
                                                                available on
                                                                          on the ECFMG and
                                                                             the ECFMG    and
USMLE websites,
USMLE   websites, before   scheduling aa testing
                    before scheduling    testing appointment
                                                 appointment if if you
                                                                   you need
                                                                       need your
                                                                            your Step
                                                                                  Step 2
                                                                                       2 CS
                                                                                         CS
results by
results by aa specific
              speci c deadline.
                       deadline.

Rescheduling
Rescheduling

If you
If you are unable to
       are unable   to keep your Step
                       keep your  Step 1
                                       1 or
                                         or Step
                                            Step 2 CK testing
                                                 2 CK  testing appointment,
                                                                appointment, youyou are
                                                                                    are
permitted to
permitted       reschedule your
            to reschedule   your appointment    within your
                                 appointment within    your eligibility
                                                             eligibility period. A
                                                                         period. A fee is
                                                                                   fee
                                                                                 Afee  is charged
                                                                                          charged
if a
if a change  is made
     change is  made during
                      during the
                             the 30
                                 30 calendar   days before
                                     calendar days          your scheduled
                                                    before your   scheduled testing
                                                                              testing
appointment. A
appointment.     A fee
                   fee schedule
                 Afee  schedule is
                                is posted on the
                                   posted on  the USMLE
                                                  USMLE website.
                                                          website. Refer
                                                                      Refer to your scheduling
                                                                            to your  scheduling
permit for
permit  for details
            details on
                     on contacting  Prometric to
                        contacting Prometric      change your
                                               to change  your appointment.
                                                                appointment.

If you
If you cannot
       cannot take
              take the  Step 1
                    the Step 1 or
                               or Step
                                  Step 2 CK exam
                                       2 CK exam during
                                                   during your
                                                           your assigned
                                                                assigned eligibility
                                                                         eligibility period,
                                                                                     period,
you may
you  may request
          request aa one-time,
                     one-time, contiguous
                               contiguous eligibility
                                          eligibility period extension (EPEx)
                                                      period extension (EPEx) using
                                                                               using
ECFMG's IWA.
ECFMG's         Refer to
           IWA. Refer  to the EPEx Overview
                          the EPEx  Overview in
                                              in IWA
                                                 IWA for
                                                       for more
                                                           more information
                                                                information and
                                                                             and
instructions.
instructions.

If you
If you cannot
       cannot take
              take the Step 1
                   the Step 1 or
                              or Step
                                 Step 2 CK exam
                                      2 CK exam in
                                                in the
                                                   the testing region you
                                                       testing region you selected,
                                                                          selected, you
                                                                                    you
may request
may request to
             to change  your testing
                change your          region. Refer
                             testing region. Refer to
                                                   to the  Request to
                                                      the Request   to Change   USMLE1®
                                                                       Change USMLE
                                                                                USMLEL
Step 1/Step
Step        2 CK
     1/Step 2 CKTesting   Region (Form
                  TestingRegion   (Form 312)  for details.
                                         312) for details. This
                                                           This form
                                                                form is
                                                                     is available
                                                                        available in
                                                                                  in the
                                                                                     the
Resources section of
Resources section  of the
                      the ECFMG
                          ECFMG website
                                   website and
                                           and from
                                                from ECFMG,
                                                      ECFMG, upon
                                                                upon request.
                                                                      request.

If you
If you are
       are unable
           unable to
                  to keep your Step
                     keep your Step 2  CS testing
                                     2 CS         appointment, you
                                          testing appointment,    you are
                                                                       are permitted
                                                                           permitted to  to
reschedule your
reschedule   your appointment
                  appointment within
                               within your
                                       your eligibility
                                            eligibility period. A fee
                                                        period. A fee is
                                                                      is charged  if aa change
                                                                         charged if             is
                                                                                        change is
made during
made   during the 14 calendar
              the 14          days before
                     calendar days         your scheduled
                                    before your  scheduled appointment.
                                                             appointment. ForFor instructions
                                                                                 instructions
on canceling
on  canceling and rescheduling aa Step
              and rescheduling    Step 2
                                       2 CS
                                         CS testing  appointment, rescheduling
                                            testing appointment,    rescheduling fees,
                                                                                    fees, and
                                                                                           and to
                                                                                                to
cancel  or reschedule
cancel or  reschedule your
                      your appointment,
                           appointment, access
                                          access Step
                                                  Step 22 CS Calendar and
                                                          CS Calendar    and Scheduling
                                                                             Scheduling on  on the
                                                                                               the
ECFMG website.
ECFMG    website.
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                                                  Page 48
                                                 sKigKoSi
                                                 SAppx0281
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Step 2
Step    CS eligibility
      2 CS  eligibility periods
                        periods cannot
                                cannot be extended. If
                                       be extended. If you
                                                       you do
                                                           do not
                                                              not take the exam
                                                                  take the exam within
                                                                                within your
                                                                                       your
eligibility period,
eligibility period, you
                     you must
                         must reapply
                               reapply by submitting a
                                       by submitting   new application
                                                     a new  application and
                                                                        and examination
                                                                            examination fee,
                                                                                        fee,
if you
if you wish
       wish to  take the
             to take      exam.
                      the exam.


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                       13, 2018.
                           2018.
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                                                      KigKS
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The United
The United States
           States Medical
                  Medical Licensing
                          Licensing Examination
                                    Examination (USMLE)
                                                (USMLE)
About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for
Preparing for Examination
              Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Preparing for
Preparing for Examination
              Examination

For detailed
For detailed information
             information on
                          on test
                              test lengths and formats
                                   lengths and          see The
                                               formats see  The USMLE:
                                                                USMLE.• Purpose,
                                                                        Purpose, Test
                                                                                 Test
Format, and
Format, andTest
              Test Lengths in the
                   Lengths in the USMLE   Bulletin of
                                  USMLE Bulletin      Information.
                                                   ofInformation.

Practice materials for
Practice materials for all
                       all Steps
                           Steps and Step Components
                                 and Step Components are available in
                                                     are available in the
                                                                      the Practice
                                                                          Practice
Materials section
Materials section of
                  of the  USMLE website.
                     the USMLE    website.

The NBME
The NBME offers
           offers web-based
                  web-based self-assessments
                              self-assessments to
                                                to help
                                                   help medical
                                                        medical students
                                                                students and graduates
                                                                         and graduates
evaluate their
evaluate       readiness for
         their readiness for computer-based
                             computer-based Steps
                                              Steps and
                                                    and Step
                                                         Step Components
                                                              Components (Step
                                                                           (Step 1,
                                                                                 1, Step
                                                                                    Step 2
                                                                                         2
CK, and
CK, and Step
        Step 3). For complete
             3). For           information, see
                     complete information,  see NBME    Self-Assessment Services
                                                NBME Self-Assessment    Services on
                                                                                 on the
                                                                                     the
NBME website.
NBME   website.

Practice Sessions for
Practice Sessions for USMLE
                      USMLE Step
                              Step 1,
                                   1, Step
                                      Step 2 CK, and
                                           2 CK,      Step 3
                                                 and Step    are available
                                                           3 are available at
                                                                           at Prometric test
                                                                              Prometric test
centers to registered
centers to registered applicants.
                      applicants. These
                                  These sessions
                                         sessions are
                                                  are provided
                                                      provided primarily  to give
                                                                primarily to give examinees
                                                                                  examinees
the opportunity to
the opportunity  to become  familiar with
                    become familiar  with the Prometric test
                                          the Prometric  test center environment. For
                                                              center environment.   For
more information,
more  information, see
                   see USMLE
                       USMLE Computer-based
                               Computer-based Testing
                                                  Testing Practice
                                                          Practice Session
                                                                   Session on
                                                                            on the
                                                                               the USMLE
                                                                                   USMLE
website.
website.

    Important Note:
    Important    Note: Test
                        Test preparation
                              preparation courses
                                             courses and    materials are
                                                       and materials     are available
                                                                             available from
                                                                                        from individuals
                                                                                             individuals
    and companies
    and  companies notnot associated
                           associated with
                                        with the
                                               the USMLE.
                                                    USMLE. ItIt is
                                                                is unlawful
                                                                   unlawful for
                                                                              for any
                                                                                  any test preparation
                                                                                      test preparation
    service or
    service  or program
                program to to use, disclose, distribute,
                              use, disclose,   distribute, or
                                                           or solicit
                                                               solicit content   from recent
                                                                       content from    recent test
                                                                                              test takers,
                                                                                                    takers,
    or to
    or    otherwise provide
       to otherwise   provide access
                                access toto questions
                                            questions or or answers
                                                            answers from
                                                                       from actual
                                                                             actual USMLE
                                                                                     USMLE exams.
                                                                                             exams. If If
    there is
    there  is evidence  that you
              evidence that   you enrolled
                                   enrolled in,
                                              in, participated
                                                  participated in,
                                                                 in, or
                                                                     or used
                                                                        used any
                                                                               any test preparation
                                                                                   test preparation
    program or
    program    or service
                  service that
                           that distributes,
                                distributes, provides     access to,
                                                provides access    to, or
                                                                       or uses
                                                                          uses USMLE
                                                                                USMLE content
                                                                                         content
    (questions or
    (questions   or answers),  or provides
                    answers), or   provides aa forum
                                                 forum for
                                                        for others
                                                             others toto share
                                                                         share such
                                                                                such information,
                                                                                     information, your
                                                                                                     your
    registration and/or
    registration   and/or testing   may be
                           testing may    be canceled,   your scores
                                             canceled, your     scores on
                                                                        on the
                                                                            the USMLE
                                                                                USMLE may may be
                                                                                              be withheld
                                                                                                  withheld
    or canceled,
    or             and you
       canceled, and   you may
                             may be  subject to
                                  be subject       further sanctions.
                                                to further  sanctions. See    Irregular Behavior
                                                                         See Irregular   Behavior in
                                                                                                   in the
                                                                                                      the
    USMLE     Bulletin of
    USMLE Bulletin        Information. ECFMG
                       ofInformation.     ECFMG also also regularly
                                                          regularly reviews
                                                                      reviews allegations   of irregular
                                                                                allegations of irregular
    behavior
    behavior inin conjunction   with its
                  conjunction with    its programs
                                          programs and                 See Policies
                                                           services. See
                                                       and services.        Policies and  Procedures
                                                                                     andProcedures
    Regarding Irregular
    Regarding    Irregular Behavior
                            Behavior,, which
                                        which maymay apply.
                                                      apply.


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The United
The United States
           States Medical
                  Medical Licensing
                          Licensing Examination
                                    Examination (USMLE)
                                                (USMLE)
About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Taking the
Taking     Examination
       the Examination

For detailed
For detailed information
             information onon arrival
                              arrival times,
                                      times, and procedures upon
                                             and procedures   upon arrival
                                                                   arrival and  throughout
                                                                           and throughout
the
the testing day, see
    testing day,     Examination Day
                 see Examination   Day and
                                        andTesting  in the
                                             Testingin             Bulletin of
                                                            USMLE Bulletin
                                                        the USMLE              Information.
                                                                            ofInformation.
You should
You  should also refer to
            also refer    your scheduling
                       to your scheduling permit   for important
                                           permit for  important information.
                                                                 information.

    Important Note:
    Important  Note: After
                     After you
                            you start
                                 start taking
                                       taking an
                                              an examination, you cannot
                                                 examination, you cannot cancel   or reschedule
                                                                          cancel or  reschedule
    that examination.
    that examination. If
                      If you
                         you start
                             start the
                                   the examination
                                        examination but  do not
                                                    but do  not complete
                                                                complete it,
                                                                         it, the attempt may
                                                                             the attempt  may
    appear as
    appear as "incomplete"  on your
              "incomplete" on   your USMLE
                                      USMLE transcript.
                                              transcript.

When you
When   you arrive
            arrive at
                   at the
                      the test
                          test center,  you must
                               center, you  must present
                                                 present your
                                                          your scheduling
                                                               scheduling permit
                                                                            permit and
                                                                                    and the
                                                                                        the
required identification
required  identi cation as   described on
                          as described   on your
                                            your scheduling
                                                 scheduling permit.  If you
                                                             permit. If you do
                                                                            do not
                                                                                not bring
                                                                                    bring a
                                                                                          a
copy of
copy  of your
         your scheduling
              scheduling permit     (electronic or
                           permit (electronic   or paper) and required
                                                   paper) and required identification
                                                                         identi cation on
                                                                                        on
each day
each      of your
      day of your exam,
                   exam, you
                          you will
                               will not
                                    not be  admitted to
                                         be admitted to the
                                                        the test and will
                                                            test and  will be required to
                                                                           be required to pay
                                                                                          pay aa
fee to
fee to reschedule
       reschedule your
                    your test.
                         test.

Your name,
Your  name, asas it
                 it appears  on your
                    appears on  your scheduling
                                      scheduling permit,
                                                 permit, must
                                                         must match
                                                               match the
                                                                      the name
                                                                          name on
                                                                                on your
                                                                                   your
form(s) of
fornn(s) of identification
            identi cation exactly.
                            exactly. Please review your
                                     Please review your scheduling
                                                         scheduling permit  for details
                                                                    permit for  details and
                                                                                        and
limited
limited exceptions.   If the
         exceptions. If      name listed
                         the name         on your
                                   listed on your scheduling
                                                  scheduling permit
                                                             permit is
                                                                     is not
                                                                        not correct,
                                                                            correct, contact
                                                                                     contact
ECFMG immediately
ECFMG     immediately by by e-mail,
                            e-mail, telephone, or fax.
                                    telephone, or fax. Use
                                                       Use the
                                                           the contact  information for
                                                               contact information   for
General Inquiries
General   Inquiries on
                     on the
                        the Contact
                             Contact ECFMG
                                      ECFMG page    of the
                                              page of      ECFMG website.
                                                       the ECFMG   website.

If the
If     name in
   the name   in your
                 your ECFMG
                       ECFMG record
                                  record isis changed
                                              changed while     you are
                                                        while you    are registered
                                                                         registered forfor an
                                                                                           an exam,
                                                                                               exam, aa
revised scheduling
revised  scheduling permit
                       permit reflecting
                                re ecting this
                                             this change    will be
                                                  change will       issued. ECFMG
                                                                 be issued. ECFMG will  will send
                                                                                             send you
                                                                                                    you an
                                                                                                         an
e-mail notification
e-mail  noti cation when
                      when your
                              your revised
                                     revised scheduling
                                               scheduling permit
                                                            permit isis available.
                                                                        available. You
                                                                                   You must
                                                                                         must bring
                                                                                                 bring this
                                                                                                       this
revised scheduling
revised  scheduling permit
                       permit toto the  test center.
                                   the test            Name changes
                                              center. Name               must be
                                                              changes must         received and
                                                                               be received      and
processed
processed by    ECFMG no
             by ECFMG      no later
                               later than   seven business
                                      than seven               days before
                                                   business days             your testing
                                                                     before your    testing
appointment, or
appointment,     or you
                    you will
                         will not
                              not be
                                   be able   to test.
                                       able to  test. For
                                                      For Step
                                                           Step 11 or
                                                                   or Step
                                                                      Step 2  CK, if
                                                                            2 CK,  if your
                                                                                      your eligibility
                                                                                             eligibility
period  is extended
period is  extended or or your
                          your testing    region is
                                 testing region   is changed     while you
                                                     changed while      you are
                                                                            are registered,
                                                                                registered, a     revised
                                                                                                a revised
scheduling permit
scheduling            re ecting this
             permit reflecting     this change    will be
                                        change will       issued. You
                                                       be issued.  You must
                                                                         must bring
                                                                              bring the    revised
                                                                                      the revised
scheduling permit
scheduling   permit toto the
                         the test
                              test center.
                                    center.

Required Identification
Required Identi cation

Your name,
Your name, as
            as it
               it appears  on your
                  appears on  your scheduling
                                    scheduling permit,
                                               permit, must
                                                       must exactly match the
                                                            exactly match the name
                                                                              name onon
your fornn(s)
your form(s) of
              of identification.
                 identi cation. Please  review your
                                 Please review your scheduling
                                                    scheduling permit for details
                                                               permit for details and
                                                                                  and
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                                                            Page 51
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limited
limited exceptions.   Since your
        exceptions. Since     your name
                                    name onon the
                                              the scheduling
                                                  scheduling permit
                                                              permit appears   in the
                                                                      appears in      Latin
                                                                                  the Latin
alphabet (in
alphabet   (in "English
               "English language
                        language letters"),
                                    letters"), the name on
                                               the name  on your
                                                            your identification
                                                                  identi cation must
                                                                                 must also  appear
                                                                                       also appear
in the
in     Latin alphabet.
   the Latin  alphabet. The
                         The spelling
                               spelling of
                                        of the  name on
                                           the name  on your
                                                         your scheduling
                                                              scheduling permit    must match
                                                                           permit must  match
exactly the
exactly       spelling of
         the spelling  of the  name on
                           the name   on the  form(s) of
                                         the fornn(s) of identification
                                                         identi cation you
                                                                        you present
                                                                            present at
                                                                                     at the
                                                                                        the test
                                                                                            test
center. If the
center. If the names
                names do
                       do not
                            not match
                                match asas described
                                           described above,
                                                      above, you
                                                             you will
                                                                  will not
                                                                       not be allowed to
                                                                           be allowed     take the
                                                                                       to take the
       See Your
exam. See
exam.             Name in
             Your Name    in Your  ECFMG Record.
                             Your ECFMG      Record.

The form
The form of
          of identification
             identi cation you
                            you present
                                present must
                                          must be  one of
                                               be one  of the  forms of
                                                           the forms  of unexpired,
                                                                         unexpired,
government-issued identification
government-issued     identi cation listed
                                    listed below  that contains
                                           below that             your name
                                                       contains your   name in
                                                                             in the Latin
                                                                                the Latin
alphabet, your
alphabet,  your signature,
                signature, and  your recent
                            and your  recent photograph.
                                              photograph. TheThe following
                                                                 following forms
                                                                           forms of
                                                                                  of
identi cation are
identification are acceptable, only if
                   acceptable, only  if they meet all
                                        they meet all of
                                                      of these
                                                         these requirements:
                                                                requirements:

    • Passport
      Passport
      Driver's license
    • Driver's license with
                       with photograph
                            photograph
    • National identity card
      National identity card
    • Other form of
      Other form of unexpired,
                    unexpired, government-issued
                               government-issued identification
                                                 identi cation

Travel Status
Travel Status

Applicants traveling
Applicants   traveling to the United
                       to the  United States
                                       States to  take an
                                               to take  an exam   are responsible
                                                           exam are    responsible for
                                                                                     for making
                                                                                         making thethe
necessary travel
necessary   travel and  accommodation arrangements.
                   and accommodation       arrangements. If  If you
                                                                you are
                                                                     are neither
                                                                         neither aa U.S.
                                                                                    U.S. citizen  nor aa
                                                                                         citizen nor
U.S.
U.S. lawful  permanent resident,
     lawful permanent    resident, you
                                     you are
                                         are responsible
                                              responsible for
                                                            for obtaining
                                                                 obtaining required
                                                                           required travel
                                                                                      travel
documents. These
documents.    These documents
                     documents may may include
                                        include aa visa
                                                   visa to
                                                        to enter
                                                           enter the   United States.
                                                                   the United  States. The
                                                                                        The
requirements of
requirements    of the
                   the U.S.
                       U.S. Department
                            Department of  of Homeland
                                              Homeland Security
                                                           Security (DHS)
                                                                      (DHS) and
                                                                             and U.S.  embassies
                                                                                  U.S. embassies
and consulates
and              regarding issuance
     consulates regarding    issuance ofof visas
                                           visas and
                                                 and travel   to and
                                                      travel to  and from
                                                                      from the United States
                                                                           the United    States are
                                                                                                  are
subject to
subject to change.   You should
           change. You    should review
                                   review current   requirements before
                                           current requirements       before applying   for aa visa.
                                                                             applying for      visa. For
                                                                                                     For
additional information,
additional  information, visit
                           visit the
                                 the DHS
                                     DHS website
                                           website and
                                                    and the   U.S. Department
                                                         the U.S.   Department of of State
                                                                                     State website.
                                                                                             website.

Step 2
Step    CS is
     2 CS   is administered
               administered onlyonly in
                                      in the
                                         the United
                                              United States.
                                                       States. Upon
                                                                Upon request,
                                                                        request, ECFMG
                                                                                  ECFMG provides
                                                                                             provides Step
                                                                                                        Step
2 CS
2 CS applicants
     applicants withwith aa letter
                            letter that  may assist
                                   that may    assist during
                                                       during the
                                                               the process
                                                                    process ofof applying
                                                                                 applying for
                                                                                            for a  visa. The
                                                                                                 a visa. The
letter indicates
letter indicates that
                   that the
                        the applicant
                              applicant isis registered
                                             registered for
                                                          for Step
                                                              Step 2   CS, one
                                                                     2 CS,  one of
                                                                                of the   exams required
                                                                                    the exams     required
for ECFMG
for ECFMG Certification.
               Certi cation. TheThe letter
                                     letter also
                                             also indicates
                                                   indicates that
                                                              that the   applicant is
                                                                    the applicant    is required
                                                                                        required toto travel
                                                                                                      travel
to
to the  United States
   the United    States to
                         to take  the exam
                             take the  exam and     provides the
                                               and provides    the date
                                                                    date by   which the
                                                                           by which        applicant must
                                                                                      the applicant    must
complete
complete the     exam. You
            the exam.   You can    request this
                              can request          letter when
                                              this letter when youyou apply
                                                                       apply for
                                                                              for Step
                                                                                  Step 2 2 CS.
                                                                                           CS. After
                                                                                                After
completion
completion of  of the
                  the registration
                      registration process,      ECFMG will
                                      process, ECFMG       will issue  the letter,
                                                                issue the   letter, and
                                                                                    and it
                                                                                         it will
                                                                                            will be
                                                                                                 be
available to
available      you through
           to you              IWA. If
                    through IWA.     If you
                                        you are
                                              are unable
                                                  unable to   obtain the
                                                           to obtain   the appropriate
                                                                            appropriate visa
                                                                                           visa to
                                                                                                 to enter
                                                                                                    enter
the United States
the United    States to
                      to take   Step 2
                         take Step    2 CS,  you may
                                        CS, you   may request
                                                        request a   full refund
                                                                  a full refund of
                                                                                 of the
                                                                                     the exam    fee. See
                                                                                          exam fee.   See
Refunds
Refunds inin Your   ECFMG Financial
              Your ECFMG       Financial Account
                                           Account.
                                           Account.


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If you
If you are traveling from
       are traveling from a distant location,
                          a distant           you should
                                    location, you should consider arriving a
                                                         consider arriving   day or
                                                                           a day or two
                                                                                    two
before
before the
        the examination  in order
             examination in order to
                                  to be  rested.
                                      be rested.


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The United
The United States
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About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and   Irregular Behavior
                                                                                         Behavior I| Examination
                                                                                                     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

USMLE Program
USMLE Program and
              and Irregular
                  Irregular Behavior
                            Behavior

The USMLE
The  USMLE program
              program de     nes irregular
                         defines  irregular behavior
                                            behavior as   including, "any
                                                       as including,        action by
                                                                      "any action         applicants,
                                                                                     by applicants,
examinees, potential
examinees,               applicants, or
             potential applicants,    or others
                                         others that
                                                that could   compromise the
                                                      could compromise           validity, integrity,
                                                                             the validity,   integrity,
or security
or security of
             of the   USMLE process.
                the USMLE     process."" Test
                                         Test center  staff monitor,
                                              center staff  monitor, in
                                                                      in person
                                                                         person and
                                                                                  and viavia
video/audio recording,
video/audio   recording, administration
                           administration ofof the  USMLE Steps
                                               the USMLE     Steps and
                                                                    and are
                                                                         are required
                                                                              required to     report any
                                                                                           to report  any
violations of
violations of the
               the USMLE
                    USMLE or or test
                                test center rules. You
                                     center rules.  You must
                                                        must follow
                                                               follow instructions
                                                                       instructions fromfrom test
                                                                                               test
center  staff throughout
center staff  throughout thethe examinations;    failure to
                                 examinations; failure   to do
                                                            do so
                                                                so may
                                                                   may result
                                                                        result in
                                                                                in aa finding
                                                                                        nding that
                                                                                                that you
                                                                                                     you
have engaged
have  engaged in in irregular
                    irregular behavior   and permanent
                              behavior and                 annotation of
                                              permanent annotation       of your
                                                                            your USMLE        transcript.
                                                                                  USMLE transcript.
See Testing
See          Regulations and
     TestingRegulations     andRules
                                 Rules of
                                        ofConduct
                                           Conduct
                                           Conductandand  Irregular Behavior
                                                     and Irregular   Behaviorin
                                                                     Behavior in in the   USMLE
                                                                                    the USMLE
Bulletin of
Bulletin    Information. See
         ofInformation.          ECFMG’s Policies
                            See ECFMG's     Policies and  Procedures Regarding
                                                      andProcedures      Regarding Irregular
                                                                                       Irregular
Behavior, which
Behavior,  which also
                    also may
                         may apply.
                              apply.

    Important Notes:
    Important Notes: Seeking,
                      Seeking, providing,
                               providing, and/or     obtaining information
                                             and/or obtaining   information relating
                                                                             relating to
                                                                                      to
    examination content
    examination content that  may give
                         that may give or or attempt
                                             attempt to   give unfair
                                                      to give  unfair advantage
                                                                      advantage to  anyone who
                                                                                 to anyone who
    may be
    may be taking
           taking the examination, which
                  the examination,  which includes
                                             includes postings   regarding examination
                                                       postings regarding  examination content
                                                                                         content
    and/or answers
    and/or answers on
                    on the Internet, is
                       the Internet, is aa violation
                                           violation of
                                                     of the  USMLE Rules
                                                        the USMLE          of Conduct.
                                                                     Rules of Conduct.

    Evidence of
    Evidence of violation
                 violation of
                           of any
                              any test
                                  test administration
                                        administration rule,
                                                        rule, including
                                                              including the  USMLE Rules
                                                                        the USMLE          of
                                                                                     Rules of
    Conduct, will
    Conduct, will result
                  result in
                         in actions
                            actions being          under USMLE
                                            taken under
                                     being taken                  Policies and
                                                          USMLEPolicies    andProcedures
                                                                                Procedures
    Regarding Irregular
    Regarding  Irregular Behavior
                          Behavior.. If
                                     If you
                                        you are
                                            are found
                                                 found to have engaged
                                                       to have           in irregular
                                                                engaged in  irregular behavior,
                                                                                      behavior,
    your score
    your score report
               report and   transcripts will
                       and transcripts   will include
                                              include this   nding, you
                                                      this finding, you may
                                                                        may be
                                                                             be barred from taking
                                                                                barred from  taking
    the USMLE
    the USMLE inin the future, and
                   the future,      your score
                               and your   score may
                                                  may be
                                                      be canceled.
                                                         canceled.

    Anomalous performance
    Anomalous      performance and/or      unusual testing
                                  and/or unusual             history may
                                                    testing history  may impact
                                                                          impact your
                                                                                   your access
                                                                                         access toto the
                                                                                                      the
    USMLE. If
    USMLE.    If your
                 your performance      raises concerns
                       performance raises     concerns about    your readiness
                                                         about your   readiness to   test or
                                                                                  to test or your
                                                                                             your
    motivation to
    motivation    to pass,
                     pass, the
                           the USMLE
                               USMLE program       reserves the
                                         program reserves         right to
                                                              the right    restrict your
                                                                        to restrict  your future
                                                                                           future access
                                                                                                    access
    to its
    to its examinations
           examinations and/or
                           and/or toto impose
                                       impose conditions    upon future
                                               conditions upon     future access.
                                                                          access. Do
                                                                                   Do not
                                                                                       not test  if you
                                                                                            test if you
    are not
    are  not able  or not
             able or  not ready
                          ready onon your
                                      your scheduled
                                            scheduled test   date. Taking
                                                        test date. Taking a  Step examination
                                                                           a Step  examination to  to
    familiarize yourself
    familiarize   yourself with
                           with the
                                 the examination     format, or
                                      examination format,     or for
                                                                 for any
                                                                     any reason
                                                                         reason other
                                                                                  other than
                                                                                         than to
                                                                                               to pass,  is
                                                                                                   pass, is
    prohibited and
    prohibited        may result
                  and may   result in
                                   in restrictions
                                      restrictions on
                                                   on your
                                                       your future
                                                             future access
                                                                     access to  the USMLE.
                                                                             to the  USMLE.

The above-described
The above-described conduct  may also
                     conduct may also be
                                      be considered  irregular behavior
                                         considered irregular           under ECFMG's
                                                               behavior under ECFMG’s
Policies
Policies and Procedures Regarding
         andProcedures  Regarding Irregular
                                  Irregular Behavior
                                            Behavior..


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                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination  and Reapplication
Reexamination and  Reapplication

Examination Results
Examination Results

The USMLE
The USMLE program
           program provides
                     provides aa recommended
                                 recommended pass    or fail
                                                pass or fail outcome
                                                             outcome onon all
                                                                          all Step
                                                                              Step
examinations. For
examinations. For ECFMG
                  ECFMG Certification,
                          Certi cation, you
                                         you must
                                             must obtain
                                                   obtain at
                                                           at least
                                                              least the USMLE-
                                                                    the USMLE-
recommended pass
recommended         outcome for
               pass outcome  for each
                                  each required
                                       required Step
                                                Step or
                                                     or Step
                                                        Step Component.
                                                              Component. SeeSee
Examination Requirements
Examination Requirements in   Examinations for
                           in Examinations       ECFMG Certi
                                             for ECFMG           cation.
                                                          Certification.

Score Reporting
Score Reporting

Results for Step
Results for Step 11 and 2 CK
                    and 2 CK are   typically available
                              are typically  available three
                                                       three to  four weeks
                                                              to four  weeks after
                                                                              after your
                                                                                    your test
                                                                                         test
date. However,
date. However, aa number
                   number ofof factors
                               factors may
                                       may delay
                                             delay score
                                                    score reporting.
                                                          reporting. When
                                                                      When selecting
                                                                             selecting your
                                                                                       your test
                                                                                             test
date and
date  and inquiring
          inquiring about
                    about results,
                           results, you
                                    you should
                                          should allow
                                                 allow at
                                                        at least eight weeks
                                                           least eight weeks to
                                                                              to receive
                                                                                 receive
noti cation that
notification that your
                  your score
                       score report
                              report is
                                      is available.
                                         available. Results  for Step
                                                     Results for Step 22 CS
                                                                         CS are available
                                                                            are available
according to
according     the Step
           to the Step 2 CS Schedule
                       2 CS  Schedule forfor Reporting  Results, available
                                             Reporting Results,             on the
                                                                  available on     USMLE and
                                                                               the USMLE    and
ECFMG websites.
ECFMG    websites. For
                    For more
                        more specific
                               speci c information
                                        information about
                                                      about potential
                                                             potential scoring
                                                                        scoring delays,
                                                                                delays, visit
                                                                                        visit the
                                                                                              the
Announcements section
Announcements     section on
                          on the   home page
                               the home         of the
                                           page of     USMLE website.
                                                   the USMLE    website.

ECFMG reserves
ECFMG     reserves the  right to
                    the right    reverify with
                              to reverify with the
                                               the medical
                                                   medical school
                                                            school the
                                                                   the eligibility of medical
                                                                       eligibility of medical
school students
school  students and
                   and graduates
                       graduates who    are registered
                                   who are  registered for
                                                       for examination.
                                                           examination. If
                                                                         If ECFMG
                                                                            ECFMG requests
                                                                                      requests
reveri cation of
reverification  of your
                   your student/graduate
                        student/graduate status
                                            status with
                                                   with your
                                                        your medical
                                                              medical school,
                                                                      school, your
                                                                               your score
                                                                                     score
report will
report  will be issued only
             be issued only after
                            after reverification
                                   reveri cation of
                                                  of your
                                                     your status
                                                          status has
                                                                 has been  received by
                                                                     been received       ECFMG.
                                                                                      by ECFMG.

Score reports
Score reports are
              are issued  in electronic
                   issued in electronic format
                                         format only
                                                  only and
                                                       and can
                                                           can be  accessed using
                                                               be accessed  using ECFMG's
                                                                                  ECFMG's
OASIS;  you will
OASIS; you  will not
                 not receive
                     receive a  paper score
                              a paper   score report
                                               report by
                                                      by postal
                                                          postal mail.
                                                                 mail. Once
                                                                       Once your
                                                                            your score
                                                                                 score report
                                                                                       report
has been
has      issued, ECFMG
    been issued,  ECFMG will
                           will send
                                send aa notification
                                        noti cation to
                                                     to the
                                                        the e-mail
                                                            e-mail address in your
                                                                   address in your ECFMG
                                                                                   ECFMG
record.
record.

Score reports
Score  reports are
                are available
                    available forfor approximately
                                     approximately 120 120 days
                                                           days from
                                                                  from the date of
                                                                       the date   of e-mail
                                                                                     e-mail
noti cation. Once
notification. Once the    score report
                     the score    report isis removed
                                              removed from
                                                        from OASIS,
                                                             OASIS, your
                                                                      your results
                                                                            results will
                                                                                     will be provided
                                                                                          be provided
to you only
to you  only in
             in the form of
                the form   of an
                              an official
                                   of cial USMLE
                                            USMLE transcript.
                                                     transcript. To
                                                                 To obtain
                                                                    obtain aa transcript,
                                                                              transcript, you
                                                                                           you will
                                                                                               will be
                                                                                                    be
required to
required     submit a
          to submit     request and
                      a request    and pay
                                        pay aa fee
                                                fee through the organization
                                                    through the  organization that    registered you
                                                                                that registered  you
for the
for the examination.
        examination. Therefore,
                        Therefore, it it is
                                         is strongly
                                            strongly recommended
                                                      recommended that     you print
                                                                      that you   print and/or
                                                                                       and/or save
                                                                                               save
your score
your  score report
            report while
                     while it
                            it is
                               is available.
                                  available.

    Important Note:
    Important Note: ECFMG
                    ECFMG may
                            may provide your medical
                                provide your medical school
                                                     school with
                                                            with data
                                                                 data on
                                                                      on your
                                                                         your
    performance on
    performance on administrations
                   administrations of
                                   of USMLE Step 1,
                                      USMLE Step 1, USMLE
                                                    USMLE Step
                                                            Step 2 CK, and
                                                                 2 CK, and USMLE
                                                                           USMLE Step
                                                                                 Step 2
                                                                                      2
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                                                           sKORM9
                                                           SAppx0289
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                                                                             554
    CS. Data
    CS. Data provided   include whether
              provided include   whether you
                                          you passed or failed
                                              passed or failed the
                                                               the exam  administration, and,
                                                                   exam administration,  and,
    for Step
    for Step 1
             1 and  Step 2
               and Step     CK, your
                          2 CK, your numerical
                                     numerical score.
                                               score. You
                                                      You have
                                                          have the  option to
                                                                the option    withhold your
                                                                           to withhold your
    exam results
    exam  results from
                  from your
                        your medical
                             medical school.
                                      school. See
                                              See ECFMG's
                                                  ECFMG's Provision
                                                             Provision of
                                                                       of Performance
                                                                          Performance Data
                                                                                       Data to
                                                                                            to
    Medical Schools
    Medical  Schools in
                      in IWA
                         IWA for
                              for more
                                  more information.
                                       information.

See Score Reporting
See Score Reporting in
                    in the
                       the USMLE   Bulletin of
                           USMLE Bulletin      Information for
                                             ofInformation for additional
                                                                additional information.
                                                                           information. For
                                                                                        For
up-to-date information
up-to-date information on
                        on minimum
                           minimum passing
                                    passing scores,
                                              scores, examination
                                                      examination performance    data, and
                                                                   performance data,   and
general scoring
general scoring methodology,
                methodology, please  visit the
                              please visit the USMLE
                                               USMLE website.
                                                       website.

Score Validity
Score Validity

The USM
The USMLE
    USMLE      program reserves
           LE program    reserves the
                                  the right
                                       right to
                                             to cancel  scores that
                                                cancel scores        are at
                                                                that are at or
                                                                            or above
                                                                               above the
                                                                                      the passing
                                                                                          passing
level if the
level if the USMLE
             USMLE program     has a
                      program has     good faith
                                    a good  faith basis  for questioning
                                                   basis for questioning whether
                                                                          whether they
                                                                                    they
represent a
represent      valid measure
             a valid measure of
                              of knowledge
                                 knowledge or or competence
                                                  competence as as sampled
                                                                   sampled by   the examination.
                                                                            by the  examination. If
                                                                                                  If
there  are questions
there are   questions related
                       related to
                               to the
                                  the validity
                                       validity of
                                                of your
                                                   your score,
                                                         score, your
                                                                your score
                                                                     score report
                                                                            report may
                                                                                    may be
                                                                                        be
delayed or
delayed   or withheld
              withheld pending   completion of
                        pending completion     of further
                                                  further review
                                                           review and/or
                                                                  and/or investigation.
                                                                          investigation. See
                                                                                         See
Score Validity
Score            in the
        Validityin  the USMLE   Bulletin of
                        USMLE Bulletin       Information.
                                          ofInformation.

USMLE
USM   Transcripts
   LE Transcripts
USMLE

To request
To request anan official
                 of cial USMLE
                          USMLE transcript,   you must
                                  transcript, you must contact
                                                         contact the  organization that
                                                                  the organization  that
registered you
registered   you for
                  for the
                       the examination.
                           examination. You
                                         You must
                                              must contact
                                                   contact the   Federation of
                                                             the Federation  of State
                                                                                State Medical
                                                                                      Medical
Boards if
Boards  if you
           you are
                 are registered
                     registered for
                                 for or
                                     or have
                                        have taken Step 3
                                             taken Step   3 and/or  you want
                                                            and/or you  want to  send your
                                                                             to send  your
transcript
transcript to
            to aa U.S. medical licensing
                  U.S. medical licensing authority.
                                          authority. In
                                                     In all other cases,
                                                        all other        submit your
                                                                  cases, submit your transcript
                                                                                      transcript
request to
request     ECFMG by
        to ECFMG        sending a
                     by sending a completed
                                  completed Request
                                             Request for
                                                     for Of       USMLE1® Transcript
                                                             cial USMLE
                                                         Official           Transcript
(Form 172)
(Form
,(Form 172) and  the appropriate
             and the appropriate fee
                                  fee to ECFMG. Form
                                      to ECFMG. Form 172
                                                      172 and
                                                          and additional   information are
                                                                additional information are
available in
available in the
             the Resources  section of
                 Resources section  of the
                                       the ECFMG
                                           ECFMG website
                                                  website and  from ECFMG,
                                                          and from   ECFMG, upon
                                                                               upon
request. You
request. You can  use OASIS
              can use OASIS to
                             to check  whether your
                                check whether  your USMLE
                                                    USMLE transcript   has been
                                                            transcript has       sent.
                                                                            been sent.

If you
If you apply
       apply to residency programs
             to residency             through the
                            programs through        Electronic Residency
                                                the Electronic             Application Service
                                                                Residency Application    Service
(ERAS), you
(ERAS),
.(ERAS), you may
              may request
                   request electronic
                            electronic transmittal  of your
                                       transmittal of  your USMLE
                                                             USMLE transcript
                                                                     transcript to
                                                                                to these
                                                                                   these
programs.  For additional
programs. For               information, refer
                additional information,   refer to
                                                to the ERAS applicant
                                                   the ERAS   applicant information
                                                                        information available
                                                                                      available
in the
in     ERAS Support
   the ERAS   Support Services
                        Services section
                                 section of
                                         of the
                                            the ECFMG
                                                ECFMG website.
                                                          website. Information
                                                                   Information onon the  status
                                                                                    the status
of requests
of  requests for
             for electronic
                 electronic transmittal  of USMLE
                             transmittal of USMLE transcripts    via ERAS
                                                     transcripts via ERAS is
                                                                           is not
                                                                              not available
                                                                                  available
through
through OASIS.    If the
          OASIS. If  the program  does not
                         program does   not participate  in ERAS,
                                            participate in  ERAS, you
                                                                  you must
                                                                       must submit
                                                                             submit aa transcript
                                                                                       transcript
request using
request  using Form
               Form 172172 and
                           and pay  the required
                                pay the required fee.
                                                  fee.

    Important Note:
    Important  Note: If
                      If you
                         you took
                             took the former ECFMG
                                  the former ECFMG CSA,
                                                      CSA, your
                                                            your USM
                                                                   USMLE
                                                                   USMLELE transcript will
                                                                           transcript will
    indicate only
    indicate only that you have
                  that you have CSA
                                CSA examination   history. It
                                      examination history. It will
                                                              will not
                                                                   not provide
                                                                       provide any  additional
                                                                                any additional
    information on
    information  on your
                    your attempts)
                          attempt(s) on
                                     on the CSA. To
                                        the CSA. To request
                                                    request official
                                                              of cial copies  of your
                                                                      copies of  your CSA
                                                                                      CSA
                                                   Page 57
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                                                  SAppx0290
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    performance history,
    performance    history, you
                            you must
                                must complete
                                      complete aa Request
                                                    Request for
                                                             for an
                                                                 an Of       ECFMG® CSA
                                                                        cial ECFMG
                                                                    Official ECFM       CSA-®

    History Chart
    History         (Form 297)
            Chart (Fornn   297) and
                                and submit
                                     submit it
                                             it to
                                                to ECFMG
                                                   ECFMG with
                                                            with the
                                                                  the appropriate
                                                                      appropriate fee.
                                                                                   fee. Form
                                                                                        Form 297  is
                                                                                              297 is
    available in
    available in the
                 the Resources  section of
                     Resources section   of the   ECFMG website
                                            the ECFMG               and from
                                                          website and   from ECFMG,
                                                                               ECFMG, upon
                                                                                        upon
    request. For
    request. For each
                  each attempt
                        attempt on
                                on the  ECFMG CSA,
                                    the ECFMG      CSA, the Of cial ECFMG
                                                        the Official ECFMG CSA CSA History
                                                                                    History Chart
                                                                                            Chart
    includes the
    includes      month and
             the month        year of
                          and year of the administration and
                                      the administration        the result
                                                           and the   result of
                                                                            of your
                                                                               your performance.
                                                                                    performance.
    For additional
    For additional information,
                    information, refer
                                 refer to
                                        to the  instructions that
                                           the instructions  that accompany     Form 297.
                                                                   accompany Form     297.

Score Rechecks
Score Rechecks

For all
For all Steps
        Steps and
               and Step
                   Step Components,
                         Components, aa rigorous
                                          rigorous process
                                                    process isis used
                                                                 used to ensure the
                                                                      to ensure   the accuracy
                                                                                      accuracy of of
scores, including
scores,  including a double scoring
                   a double  scoring method
                                      method involving
                                                involving independent
                                                          independent scoring
                                                                          scoring systems.
                                                                                   systems.
Therefore, a
Therefore,     change in
             a change  in your
                          your score
                               score or
                                      or in
                                         in your
                                            your pass/fail
                                                  pass/fail outcome
                                                            outcome based
                                                                      based onon a recheck is
                                                                                 a recheck   is an
                                                                                                an
extremely remote
extremely   remote possibility.
                     possibility. To
                                  To date,
                                     date, the
                                           the score
                                               score recheck
                                                     recheck process     has not
                                                                process has   not resulted
                                                                                  resulted in
                                                                                            in aa
score change.
score  change. However,
                However, aa recheck
                            recheck will
                                      will be
                                            be performed
                                               performed ifif you
                                                              you submit
                                                                   submit a  Request for
                                                                           a Request   for Recheck
                                                                                           Recheck
of
ofUSMLE
   USMLE±  ® Step
             Step 1, Step 2
                  1, Step 2 CK,
                            CK, or  Step 2
                                or Step   2 CS Score (Form
                                            CSScore  (Fornn 265)
                                                            265) and   the fee
                                                                  and the  fee for
                                                                               for this service
                                                                                   this service
to ECFMG. Form
to ECFMG.   Form 265   is available
                  265 is  available in
                                    in the
                                       the Resources   section of
                                           Resources section   of the
                                                                  the ECFMG
                                                                      ECFMG website
                                                                                website and
                                                                                         and
from ECFMG,
from ECFMG, upon
               upon request.
                     request. Your
                               Your request
                                     request must
                                              must be  received by
                                                    be received     ECFMG no
                                                                by ECFMG     no later
                                                                                 later than
                                                                                       than 90
                                                                                            90
days after
days after your
           your result
                result was
                       was released
                            released to   you. See
                                       to you.     Score Rechecks
                                               See Score Rechecks inin the
                                                                       the USMLE    Bulletin of
                                                                           USMLE Bulletin     of
Information for
Information  for more
                 more information.
                       information.


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             September 13,
                       13, 2018.
                           2018.
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                                    Commission for
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                                                                                       All rights
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                                                                                                  reserved.




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The United
The United States
           States Medical
                  Medical Licensing
                          Licensing Examination
                                    Examination (USMLE)
                                                (USMLE)
About USMLE
About USMLE I| Registration
                Registration and
                              and Test
                                  Test Delivery
                                       Delivery Entities
                                                Entities I| Applying
                                                            Applying for
                                                                     for Examination
                                                                         Examination I| Scheduling
                                                                                        Scheduling the
                                                                                                     the Examination
                                                                                                         Examination |I
Preparing for Examination
Preparing for Examination I| Taking
                             Taking the
                                    the Examination
                                        Examination I| USMLE
                                                       USMLE Program      and Irregular
                                                                Program and              Behavior I| Examination
                                                                              Irregular Behavior     Examination Results
                                                                                                                 Results |I
Reexamination and
Reexamination  and Reapplication
                   Reapplication

Reexamination and
Reexamination     Reapplication
              and Reapplication

USMLE policy
USMLE           generally does
         policy generally does not
                               not allow
                                   allow applicants
                                         applicants to
                                                     to retake
                                                        retake aa Step
                                                                  Step or
                                                                       or Step
                                                                          Step Component
                                                                                Component if if
they  have already
they have  already passed  that Step
                   passed that  Step or
                                     or Step
                                        Step Component.
                                             Component. However,
                                                           However, there    are exceptions
                                                                       there are  exceptions
for the
for the purpose
        purpose of
                 of complying  with a
                    complying with    time limit
                                    a time        imposed by
                                           limit imposed  by aa U.S.
                                                                U.S. physician
                                                                     physician licensing
                                                                               licensing
authority or
authority or another
              another authority  recognized by
                      authority recognized   by the
                                                 the USMLE   program. See
                                                     USMLE program.     See 'Time  Limit for
                                                                            'Time Limit  for
Completing Examination
Completing   Examination Requirements'
                           Requirements' below.
                                           below.

If you
If you fail
       fail aa Step
               Step or
                    or Step
                        Step Component,
                              Component, you you must
                                                  must reapply,
                                                        reapply, including
                                                                  including payment
                                                                            payment of of the
                                                                                          the
appropriate fee(s),
appropriate     fee(s), to
                        to retake
                           retake the
                                   the exam.
                                       exam. IfIf you
                                                  you do
                                                      do not
                                                         not take
                                                              take an
                                                                    an exam  during your
                                                                       exam during   your assigned
                                                                                           assigned
eligibility period,
eligibility  period, you
                     you must
                           must reapply,
                                 reapply, including
                                           including payment
                                                       payment ofof the appropriate fee(s),
                                                                    the appropriate   fee(s), if
                                                                                              if you
                                                                                                 you
wish to
wish      take the
      to take   the exam;
                    exam; inin this
                               this event,
                                    event, you
                                            you may
                                                  may reapply
                                                       reapply at
                                                                at any
                                                                   any time,  however, ECFMG
                                                                        time, however,   ECFMG
cannot begin
cannot   begin toto process
                    process aa subsequent
                                subsequent application
                                               application for
                                                            for this  exam until
                                                                 this exam  until at
                                                                                  at least
                                                                                     least four
                                                                                            four
weeks after
weeks    after the  end of
                the end   of the eligibility period
                             the eligibility          for the
                                             period for       exam you
                                                          the exam   you did
                                                                          did not
                                                                              not take.
                                                                                  take.

Number of
Number of Attempts
          Attempts Allowed
                   Allowed

The USMLE
The  USMLE program
             program limits
                        limits to six the
                               to six the total
                                           total number
                                                 number of of times
                                                               times an
                                                                     an examinee
                                                                        examinee can
                                                                                   can take
                                                                                        take the
                                                                                             the
same Step
same  Step or
           or Step
               Step Component.
                     Component. An  An examinee
                                        examinee is    ineligible to
                                                   is ineligible  to take
                                                                     take aa Step
                                                                             Step or
                                                                                  or Step
                                                                                     Step
Component after
Component           six or
              after six or more
                           more prior
                                  prior attempts
                                         attempts toto pass
                                                        pass that  Step or
                                                              that Step or Step
                                                                            Step Component,
                                                                                 Component,
including incomplete
including incomplete attempts.
                        attempts. All
                                    All attempts
                                        attempts atat aa Step
                                                         Step or
                                                               or Step
                                                                  Step Component
                                                                       Component are are counted
                                                                                         counted
toward
toward the
        the limit, regardless of
            limit, regardless   of when
                                   when the
                                          the exams
                                              exams werewere taken.
                                                              taken.

For the
For the purpose  of U.S.
        purpose of  U.S. medical
                         medical licensure, state medical
                                 licensure, state medical licensing authorities may
                                                          licensing authorities may limit
                                                                                     limit
the number of
the number  of attempts
               attempts allowed    to pass
                          allowed to       each Step
                                      pass each Step or
                                                     or Step
                                                        Step Component.
                                                              Component. Information
                                                                          Information
regarding specific
regarding speci c state
                   state requirements
                         requirements can
                                        can be  obtained on
                                             be obtained on the
                                                             the Federation
                                                                 Federation of
                                                                            of State
                                                                               State Medical
                                                                                     Medical
Boards website.
Boards  website.

Time Between
Time Between Examination
             Examination Attempts
                         Attempts

The USMLE
The USMLE program
             program hashas established  rules on
                            established rules  on how
                                                  how quickly
                                                      quickly you
                                                                you can retake the
                                                                    can retake       same Step
                                                                                the same   Step
or Step
or Step Component.
         Component. YouYou may
                            may not
                                not take  the same
                                     take the same examination
                                                    examination more
                                                                  more than   three times
                                                                        than three   times
within aa 12-month
within    12-month period.
                     period. Your
                              Your fourth
                                   fourth and  subsequent attempts
                                           and subsequent   attempts must
                                                                      must be   at least
                                                                            be at  least 12
                                                                                         12
months after
months   after your
               your first
                      rst attempt
                          attempt at
                                   at that
                                      that exam  and at
                                           exam and  at least six months
                                                        least six months after
                                                                          after your
                                                                                your most
                                                                                      most
recent attempt
recent  attempt at
                 at that
                    that exam.
                          exam. This
                                This includes
                                     includes incomplete
                                               incomplete attempts.
                                                           attempts.

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                                                                 O59 2
                                                           SSAppx0292
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    Example: An
    Example: An examinee
                examinee took
                          took and failed her
                               and failed her first
                                                rst attempt
                                                    attempt at
                                                             at Step
                                                                Step 1
                                                                     1 on
                                                                       on January  15, 2017,
                                                                          January 15,  2017,
    her second
    her  second attempt
                 attempt atat Step
                                Step 11 on
                                        on April
                                           April 15,
                                                 15, 2017,
                                                     2017, and   her third
                                                             and her third attempt
                                                                             attempt at at Step
                                                                                           Step 1
                                                                                                1 on
                                                                                                  on
    September 15,
    September     15, 2017.
                      2017. InIn January
                                  January 2018,
                                           2018, the
                                                  the examinee    applied for
                                                      examinee applied      for aa fourth
                                                                                   fourth attempt
                                                                                           attempt at
                                                                                                    at Step
                                                                                                       Step
    1, and
    1, and wanted
            wanted the
                     the March-April-May       eligibility period.
                         March-April-May eligibility               The earliest
                                                           period. The  earliest date
                                                                                    date that was both
                                                                                         that was       12
                                                                                                   both 12
    months after
    months    after her
                    her first
                          rst attempt
                               attempt onon January   15, 2017
                                            January 15,   2017 and
                                                                and six
                                                                     six months
                                                                         months afterafter her
                                                                                           her most
                                                                                               most recent
                                                                                                     recent
    attempt on
    attempt   on September
                  September 15,  15, 2017  was March
                                     2017 was   March 15,15, 2018. Since the
                                                             2018. Since        March-April-May
                                                                           the March-April-May
    eligibility period
    eligibility period began
                       began before
                                 before this  date, the
                                         this date, the earliest
                                                        earliest eligibility
                                                                 eligibility period
                                                                             period that
                                                                                       that the
                                                                                            the applicant
                                                                                                applicant
    could  request was
    could request    was April-May-June.
                          April-May-June.

When you
When   you reapply,
           reapply, your
                    your eligibility
                         eligibility period will be
                                     period will    adjusted, if
                                                 be adjusted,  if necessary,
                                                                  necessary, to
                                                                             to comply with
                                                                                comply with
these rules. You
these rules. You must
                 must read
                       read the editions of
                            the editions  of the
                                             the ECFMG    Information Book/etand
                                                 ECFMG Information       Booklet and the
                                                                                     the
USMLE   Bulletin of
USMLE Bulletin      Information that
                 ofInformation    that pertain to the
                                       pertain to     eligibility period
                                                  the eligibility        in which
                                                                  period in which you
                                                                                  you take
                                                                                      take the
                                                                                           the
exam.
exam.

Time Limit
Time Limit for
           for Completing
               Completing Examination
                          Examination Requirements
                                      Requirements

For the
For      purpose of
    the purpose   of ECFMG
                     ECFMG Certification,
                              Certi cation, you
                                            you must
                                                must pass
                                                     pass the  USMLE Steps
                                                           the USMLE    Steps and
                                                                              and Step
                                                                                   Step
Components required
Components     required for
                        for ECFMG
                            ECFMG Certification
                                     Certi cation within
                                                  within aa seven-year
                                                            seven-year period.  If you
                                                                        period. If you do
                                                                                       do not
                                                                                          not
pass all Steps
pass all Steps and
               and Step
                    Step Components
                         Components required
                                       required for
                                                for ECFMG
                                                    ECFMG Certification
                                                             Certi cation within
                                                                           within a  maximum
                                                                                   a maximum
of seven
of seven years,
          years, your
                 your earliest
                      earliest USMLE
                               USMLE passing   performance will
                                       passing performance        no longer
                                                             will no longer be valid for
                                                                            be valid for
ECFMG Certification.
ECFMG     Certi cation. See
                        See Time  Limit for
                             Time Limit for Completing Examination Requirements
                                            CompletingExamination      Requirements inin
Examinations for
Examinations        ECFMG Certi
                for ECFMG          cation.
                            Certification.

If you
If you have
       have passed
            passed aa Step
                      Step or
                           or Step
                              Step Component
                                    Component but
                                               but this passing performance
                                                   this passing              is no
                                                                performance is  no longer
                                                                                   longer
valid for
valid for ECFMG
          ECFMG Certification,
                  Certi cation, you
                                 you may
                                      may request
                                          request an
                                                  an exception
                                                     exception to
                                                               to retake
                                                                  retake the
                                                                         the previously
                                                                             previously
passed
passed exam
        exam that  is no
              that is no longer valid.
                         longer valid.

For the
For the purpose
         purpose ofof U.S.
                      U.S. medical
                           medical licensure,
                                    licensure, time   limits to
                                                time limits   to complete
                                                                 complete the   USMLE are
                                                                            the USMLE     are
established by
established      state medical
              by state medical licensing
                                 licensing authorities   and may
                                            authorities and    may require
                                                                    require completion
                                                                             completion of of all
                                                                                              all Steps
                                                                                                  Steps
or Step
or Step Components
         Components (including
                        (including Step
                                    Step 3,  which is
                                          3, which  is not
                                                       not required
                                                            required for
                                                                      for ECFMG
                                                                          ECFMG Certification)
                                                                                    Certi cation)
within aa certain
within            number of
          certain number    of years
                               years from
                                      from the   date the
                                            the date         rst Step
                                                       the first Step is
                                                                      is passed.
                                                                         passed. Information
                                                                                  Information
regarding specific
regarding   speci c state
                     state requirements
                           requirements can can be  obtained on
                                                 be obtained    on the
                                                                   the FSMB
                                                                        FSMB website.
                                                                              website. You
                                                                                         You may
                                                                                              may
request an
request   an exception
             exception to  retake a
                        to retake     previously passed
                                    a previously  passed exam
                                                           exam toto comply   with the
                                                                     comply with    the time  limit of
                                                                                        time limit  of
a U.S. physician
a U.S. physician licensing   authority. Visit
                  licensing authority.   Visit the
                                               the USMLE     website for
                                                   USMLE website       for more
                                                                           more information.
                                                                                 information.

    Important Notes:
    Important  Notes: You
                      You may
                           may only
                               only request
                                    request anan exception at the
                                                 exception at the time
                                                                  time that you apply
                                                                       that you  apply for
                                                                                       for the
                                                                                           the
    previously passed
    previously passed exam.  Complete requirements
                      exam. Complete   requirements and
                                                      and instructions
                                                           instructions will
                                                                        will be
                                                                             be provided  at the
                                                                                provided at  the
    time of
    time of exam application. Exceptions
            exam application. Exceptions to
                                          to the
                                             the reexamination
                                                 reexamination policy
                                                                policy are not approved
                                                                       are not  approved prior
                                                                                           prior
    to your
    to your submitting
            submitting the
                       the exam
                           exam application.
                                 application.


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   Applicants who
   Applicants  who retake
                     retake aa previously
                               previously passed Step or
                                          passed Step  or Step
                                                           Step Component
                                                                 Component toto comply  with aa
                                                                                comply with
   time limit
   time       should understand
        limit should   understand the  implications of
                                   the implications of aa failing
                                                          failing retake
                                                                  retake performance
                                                                         performance on
                                                                                      on their
                                                                                          their
   Step 3
   Step 3 eligibility. See Retaking
          eligibility. See           Previously Passed
                           RetakingPreviously            Steps in
                                                PassedSteps     in the        Bulletin of
                                                                       USMLE Bulletin
                                                                   the USMLE           of
   Information.
   Information.

   If an
   If an applicant's
         applicant’s earliest
                       earliest USMLE
                                USMLE passing      performance that
                                          passing performance           is valid
                                                                   that is valid for
                                                                                  for ECFMG
                                                                                      ECFMG
   Certi cation took
   Certification          place before
                  took place    before June    14, 2004,
                                         June 14,         the applicant
                                                   2004, the   applicant isis required
                                                                              required to
                                                                                        to pass  only Step
                                                                                           pass only  Step
   1 and
   1      Step 2
      and Step    CK within
                2 CK    within seven
                               seven years
                                       years of
                                              of each  other for
                                                 each other   for ECFMG
                                                                  ECFMG Certification;
                                                                             Certi cation; if
                                                                                            if required
                                                                                               required
   for ECFMG
   for  ECFMG Certification,
                 Certi cation, StepStep 2
                                        2 CS
                                           CS can
                                              can be
                                                   be passed   outside the
                                                      passed outside          seven-year period.
                                                                        the seven-year     period. See
                                                                                                   See
   Time
    Time  Limit for
       ne Limit for Completing
                    Completing      Examination Requirements
                    Complete gExamination          Requirements in     Examinations for
                                                                    in Examinations         ECFMG
                                                                                        for ECFMG
   Certi   cation. If
   Certification.  If this  applicant passes
                      this applicant            Step 1
                                       passes Step   1 and  Step 2
                                                       and Step   2 CK
                                                                    CK within
                                                                        within aa seven-year
                                                                                   seven-year period,
                                                                                                 period,
   these passing
   these  passing performances
                   performances will  will remain
                                           remain valid
                                                   valid for
                                                         for ECFMG
                                                              ECFMG Certification,
                                                                       Certi cation, regardless
                                                                                        regardless ofof
   when Step
   when   Step 22 CS
                  CS isis taken  and passed.
                          taken and            This applicant
                                      passed. This  applicant will
                                                                will not
                                                                     not be   eligible to
                                                                          be eligible     retake Step
                                                                                       to retake  Step 11
   or Step
   or  Step 2 CK for
            2 CK  for the
                        the purpose
                             purpose ofof meeting
                                          meeting aa time
                                                      time limit
                                                            limit imposed
                                                                  imposed by  by a U.S. physician
                                                                                 a U.S. physician
   licensing authority
   licensing  authority until
                            until after
                                  after he
                                        he or
                                            or she
                                               she is
                                                   is certified
                                                      certi ed by   ECFMG.
                                                                by ECFMG.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits I| Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation I| Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Medical Education
Medical Education Credential
                  Credential Requirements
                             Requirements

To be
To    eligible for
   be eligible  for ECFMG
                    ECFMG Certification,
                             Certi cation, you
                                            you must
                                                must have
                                                       have been
                                                              been awarded      credit for
                                                                     awarded credit    for at
                                                                                           at least
                                                                                              least
four credit
four         years (academic
     credit years   (academic years
                                years for
                                      for which
                                          which credit  has been
                                                credit has          given toward
                                                             been given     toward completion
                                                                                    completion of of
the medical curriculum)
the medical   curriculum) by
                           by aa medical
                                 medical school
                                          school that
                                                 that is
                                                      is listed     the World
                                                                 in the
                                                         listed in               Directory of
                                                                         WorldDirectory     of
Medical Schools(World
Medical  Schools (World
         Schools   (World Directory)
                           Directory) as   meeting ECFMG
                                        as meeting  ECFMG eligibility
                                                               eligibility requirements.
                                                                           requirements. Your
                                                                                            Your
graduation year
graduation   year must
                   must be  included in
                         be included  in the
                                         the ECFMG
                                             ECFMG note
                                                      note inin your
                                                                your medical     school’s World
                                                                      medical school's    World
Directory listing.
Directory           See Medical
           listing. See           School Requirements
                        MedicalSchool     Requirements.. There
                                                            There are
                                                                    are restrictions
                                                                        restrictions on
                                                                                      on credits
                                                                                          credits
transferred
transferred toto the  medical school
                 the medical  school that  awards your
                                      that awards  your medical
                                                          medical degree
                                                                     degree that
                                                                              that can
                                                                                   can be
                                                                                        be used  to
                                                                                           used to
meet ECFMG's
meet  ECFMG’s medical
                  medical education
                           education credential   requirements.
                                       credential requirements.

    Important Notes:
    Important   Notes: Graduates   not eligible
                       Graduates not   eligible for
                                                 for admission to the
                                                     admission to the exams  or for
                                                                      exams or  for ECFMG
                                                                                    ECFMG
    Certi cation include,
    Certification include, but
                           but are not limited
                               are not limited to:  Graduates with
                                                to: Graduates  with degrees
                                                                    degrees only
                                                                             only in
                                                                                  in stomatology,
                                                                                     stomatology,
    ayurvedic or
    ayurvedic  or homeopathic
                  homeopathic medicine,
                                medicine, or
                                           or those
                                              those awarded
                                                      awarded only
                                                               only the diploma of
                                                                    the diploma  of Physician-
                                                                                    Physician-
    Epidemiologist-Hygienist, Physician-Biochemist,
    Epidemiologist-Hygienist,   Physician-Biochemist, Physician-    Cyberneticist, Physician-
                                                         Physician- Cyberneticist,  Physician-
    Biophysicist, Licensed
    Biophysicist,           Medical Practitioner,
                  Licensed Medical  Practitioner, oror Assistant
                                                       Assistant Medical  Practitioner.
                                                                 Medical Practitioner.

    Beginning in
    Beginning   in 2023,
                    2023, to
                          to be
                              be eligible for ECFMG
                                 eligible for ECFMG Certification,
                                                       Certi cation, ECFMG
                                                                      ECFMG will will require
                                                                                      require that
                                                                                               that
    applicants graduate
    applicants  graduate from
                            from a  medical school
                                  a medical   school that
                                                     that has
                                                          has been
                                                               been appropriately     accredited. To
                                                                     appropriately accredited.      To
    satisfy this
    satisfy       requirement, medical
            this requirement,    medical schools
                                           schools must
                                                    must be  accredited by
                                                         be accredited        an agency
                                                                           by an agency that    has been
                                                                                          that has  been
    recognized by
    recognized       the World
                  by the World Federation
                                 Federation forfor Medical
                                                   Medical Education
                                                            Education through     its Programme
                                                                         through its  Programme for  for
    Recognition of
    Recognition       Accrediting Agencies.
                   ofAccrediting    Agencies. ECFMG
                                                ECFMG isis in
                                                           in the
                                                              the process
                                                                  process ofof establishing
                                                                               establishing policies
                                                                                              policies
    and procedures
    and  procedures forfor implementing
                           implementing this     requirement and
                                            this requirement    and will
                                                                    will publish  updates, as
                                                                         publish updates,    as they
                                                                                                they
    become
    become available,    on the
              available, on      ECFMG website.
                             the ECFMG     website. International
                                                     International medical
                                                                    medical students
                                                                               students and
                                                                                         and graduates
                                                                                               graduates
    interested in
    interested   in ECFMG
                    ECFMG Certification
                              Certi cation should
                                             should monitor
                                                     monitor the
                                                               the ECFMG
                                                                   ECFMG website
                                                                             website for
                                                                                       for the
                                                                                           the latest
                                                                                                latest
    information.
    information.

International medical
International   medical graduates
                         graduates must
                                    must document
                                           document the   completion of
                                                      the completion     of all requirements for,
                                                                            all requirements   for,
and receipt
and receipt of,
             of, the   nal medical
                 the final medical diploma.
                                    diploma. ECFMG
                                              ECFMG verifies
                                                        veri es every   international medical
                                                                 every international    medical
graduate’s final
graduate's   nal medical
                  medical diploma
                           diploma with
                                    with the  appropriate officials
                                          the appropriate   of cials of
                                                                      of the  medical school
                                                                         the medical   school that
                                                                                               that
issued the
issued      diploma. When
       the diploma.    When ECFMG
                             ECFMG requests
                                        requests verification
                                                 veri cation ofof your
                                                                  your medical
                                                                        medical diploma
                                                                                  diploma from
                                                                                           from
your medical
your medical school,
               school, ECFMG
                        ECFMG will
                                 will request
                                      request the
                                              the medical
                                                  medical school
                                                            school toto provide   your final
                                                                        provide your     nal
medical school
medical  school transcript.   Veri cation by
                  transcript. Verification     ECFMG with
                                            by ECFMG     with the  issuing school
                                                              the issuing   school may
                                                                                    may also
                                                                                         also be
                                                                                              be
required for
required  for transcripts
              transcripts that
                           that are
                                are submitted
                                    submitted toto document
                                                   document transferred
                                                               transferred credits.    An
                                                                              credits. An
international medical
international  medical graduate's
                         graduate’s credentials
                                     credentials are
                                                 are not
                                                     not considered
                                                          considered complete       until ECFMG
                                                                        complete until    ECFMG
                                                             Page 62
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receives and
receives and accepts   veri cation of
              accepts verification  of the   nal medical
                                       the final medical diploma,
                                                         diploma, final
                                                                     nal medical
                                                                         medical school
                                                                                 school
transcript, and, if
transcript, and, if required,
                    required, transfer
                              transfer credit
                                       credit transcript(s) directly from
                                              transcript(s) directly from the
                                                                          the issuing
                                                                              issuing school(s).
                                                                                      school(s).

Please
Please do  not send
       do not  send original
                     original documents;
                              documents; copies    of documents
                                           copies of  documents are are sufficient.
                                                                        suf cient. All
                                                                                    All documents
                                                                                        documents
submitted to
submitted      ECFMG as
            to ECFMG       part of
                        as part of the
                                   the certi  cation process,
                                       certification           including translations,
                                                     process, including                  will
                                                                          translations, will
become   part of
become part   of your
                 your permanent     ECFMG record
                      permanent ECFMG        record and
                                                     and will
                                                         will not
                                                              not be   returned to
                                                                   be returned   to you.
                                                                                    you. Please
                                                                                         Please
do not
do not send
       send any
             any credentials  not required
                  credentials not  required by  ECFMG (such
                                             by ECFMG    (such asas licenses,
                                                                    licenses, certi  cates of
                                                                              certificates of full
                                                                                              full
registration, high
registration, high school
                   school diplomas,
                           diplomas, academic
                                      academic awards,
                                                 awards, etc.).  Submission of
                                                          etc.). Submission   of unnecessary
                                                                                 unnecessary
documents can
documents        delay the
             can delay the processing   of your
                            processing of  your exam
                                                 exam application.
                                                       application.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Transfer Credits
Transfer Credits

Transfer credits
Transfer          are credits
          credits are         earned for
                      credits earned    for aa course
                                               course taken  at one
                                                       taken at one institution
                                                                    institution (such
                                                                                 (such as
                                                                                       as aa medical
                                                                                             medical
school) that
school) that are accepted by
             are accepted   by aa medical
                                  medical school
                                            school toward
                                                     toward meeting
                                                             meeting its
                                                                      its degree
                                                                          degree requirements.
                                                                                  requirements.
For example,
For example, aa student
                student attends
                         attends aa medical
                                     medical school
                                                school for
                                                        for one
                                                            one year
                                                                year and
                                                                     and earns  credits for
                                                                          earns credits for 12
                                                                                             12
courses. The student
courses. The  student transfers
                       transfers to   another medical
                                  to another     medical school,
                                                          school, which
                                                                  which accepts
                                                                         accepts the
                                                                                  the credits  for
                                                                                      credits for
those 12 courses
those 12  courses toward   meeting its
                   toward meeting     its degree
                                          degree requirements.
                                                   requirements. The
                                                                   The credits  for those
                                                                        credits for those 1212
courses  are then
courses are        referred to
             then referred  to as
                                as transfer
                                   transfer credits.
                                               credits.

If you
If you transferred
       transferred credits
                     credits to
                             to the medical school
                                the medical school that   awarded or
                                                     that awarded   or will
                                                                       will award   your medical
                                                                            award your   medical
degree, you
degree,  you must
              must disclose
                    disclose and
                              and document
                                  document these
                                             these credits   when you
                                                    credits when   you apply
                                                                        apply to   ECFMG for
                                                                                to ECFMG   for
examination, regardless
examination,   regardless ofof when
                               when the
                                     the credits
                                         credits were
                                                 were earned.    See Credentials
                                                        earned. See   Credentials for   ECFMG
                                                                                    for ECFMG
Certi   cation in
Certification     Medical Education
               in Medical  Education Credentials
                                       Credentials.. Failure
                                                     Failure to
                                                             to disclose
                                                                disclose and
                                                                         and document
                                                                               document these
                                                                                          these
credits  may have
credits may   have aa number
                      number ofof negative
                                  negative consequences,    including delaying
                                           consequences, including     delaying exam
                                                                                  exam
registration and
registration  and certi   cation by
                   certification    ECFMG, and
                                 by ECFMG,   and may
                                                 may result
                                                       result in
                                                              in a   nding of
                                                                 a finding  of irregular
                                                                               irregular behavior
                                                                                         behavior
and permanent
and               annotation of
     permanent annotation      of your
                                  your ECFMG
                                       ECFMG record.     See Policies
                                               record. See   Policies and   Procedures
                                                                      andProcedures
Regarding Irregular
Regarding   Irregular Behavior.
                       Behavior.

Additionally, for
Additionally, for the
                  the purpose
                      purpose of
                               of ECFMG
                                  ECFMG Certification,
                                            Certi cation, credits
                                                           credits earned on or
                                                                   earned on  or after
                                                                                 after January
                                                                                       January
1, 2008
1, 2008 that are transferred
        that are  transferred to
                              to the medical school
                                 the medical  school that   awarded or
                                                       that awarded  or will
                                                                        will award  your
                                                                             award your
medical degree
medical degree must
                 must meet
                       meet all
                            all of
                                of the
                                   the following
                                       following criteria:
                                                  criteria:

       If credits
     • If         for more
          credits for more than  eight courses
                            than eight         were transferred,
                                       courses were                all credits
                                                      transferred, all         must have
                                                                       credits must have been
                                                                                         been
       transferred   from a
       transferred from      medical school
                          a medical  school that is either:
                                            that is either:

         o located in the
           located in     United States
                      the United States or
                                        or Canada
                                           Canada and listed in
                                                  and listed    the World
                                                             in the       Directory, or
                                                                    WorldDirectory,  or
         o listed
           listed in the World
                  in the       Directory as meeting
                         WorldDirectoryas   meeting ECFMG
                                                    ECFMG eligibility requirements.
                                                          eligibility requirements.

       Credits must
     • Credits must be for courses
                    be for courses that were passed
                                   that were        at the
                                             passed at     medical school
                                                       the medical school at which the
                                                                          at which     course
                                                                                   the course
       was
       was taken.
           taken.

If your
If your transferred
         transferred credits
                     credits do
                             do not
                                 not comply  with all
                                     comply with  all the criteria listed
                                                      the criteria        above, you
                                                                   listed above, you will
                                                                                      will not
                                                                                            not
meet the
meet        requirements to
       the requirements  to be   registered by
                             be registered     ECFMG for
                                            by ECFMG    for examination
                                                            examination or or the requirements
                                                                              the requirements
to
to be
    be certi  ed by
       certified    ECFMG. If
                 by ECFMG.   If your
                                your transferred
                                     transferred credits  do not
                                                 credits do   not meet
                                                                  meet all
                                                                        all the
                                                                            the criteria
                                                                                criteria listed
                                                                                         listed


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above, you
above, you may
           may request
               request an exception from
                       an exception from the
                                         the ECFMG
                                             ECFMG Medical
                                                   Medical Education
                                                           Education Credentials
                                                                     Credentials
Committee.
Committee.

   Important Note:
   Important    Note: The
                        The requirement
                              requirement that      credits must
                                              that credits   must be
                                                                   be transferred   from a
                                                                      transferred from     medical
                                                                                         a medical
   school that
   school        meets the
            that meets         criteria above
                         the criteria           does not
                                        above does    not apply
                                                           apply to
                                                                  to credits
                                                                     credits transferred  only to
                                                                             transferred only   to the
                                                                                                    the
   pre-medical portion
   pre-medical     portion of
                            of the
                                the curriculum
                                      curriculum ofof the  medical school
                                                      the medical    school that  awarded or
                                                                            that awarded    or will
                                                                                               will award
                                                                                                    award
   the medical
   the medical degree.
                  degree. If
                           If you
                              you transferred     credits to
                                    transferred credits    to the
                                                               the pre-medical   portion of
                                                                   pre-medical portion   of the
                                                                                            the
   curriculum at
   curriculum    at the
                    the medical
                        medical school
                                   school that
                                            that awarded
                                                  awarded or or will
                                                                will award  your medical
                                                                     award your   medical degree
                                                                                          degree from
                                                                                                    from
   an institution
   an institution that    does not
                    that does    not meet
                                      meet the
                                            the criteria
                                                 criteria listed
                                                          listed above,   you must
                                                                 above, you   must provide
                                                                                    provide ECFMG
                                                                                             ECFMG
   with aa letter
   with           from the
           letter from        medical school
                         the medical    school that
                                                 that awarded
                                                      awarded or  or will
                                                                     will award
                                                                          award your
                                                                                 your medical
                                                                                      medical degree
                                                                                               degree
   con rming that
   confirming   that the
                      the credits    were transferred
                           credits were    transferred to    the pre-medical
                                                          to the  pre-medical portion
                                                                                portion of
                                                                                        of the
                                                                                           the
   curriculum only.
   curriculum    only. This
                       This letter    must be
                             letter must       on the
                                           be on   the letterhead
                                                       letterhead of of the medical school
                                                                        the medical  school and
                                                                                            and be
                                                                                                 be
   signed by
   signed   by an
               an authorized     of cial of
                   authorized official    of your
                                             your medical
                                                   medical school.
                                                             school. This
                                                                      This letter
                                                                           letter must
                                                                                  must be  submitted in
                                                                                        be submitted    in
   conjunction    with the
   conjunction with     the application
                            application forfor examination.     Applications received
                                                examination. Applications      received without
                                                                                        without this
                                                                                                  this
   letter may
   letter may be    rejected. This
                be rejected.    This letter
                                      letter is
                                             is in
                                                in addition
                                                   addition toto disclosing
                                                                 disclosing and
                                                                             and documenting
                                                                                  documenting allall
   transferred credits
   transferred    credits as   described above.
                           as described     above.


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                       13, 2018.
                           2018.
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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Credentials for
Credentials for ECFMG
                ECFMG Certification
                      Certi cation

The credentials
The credentials required
                required for
                         for ECFMG
                             ECFMG Certification
                                   Certi cation are:
                                                 are:

       Final Medical
     • Final Medical Diploma
                     Diploma and
                             andTranscript
                                 Transcript
     • Transcript(s)
       Transcript(s) to Document Transferred
                     to Document TransferredCredits
                                             Credits,, if
                                                       if applicable
                                                          applicable

All documents
All documents that    are not
                 that are not in
                              in English
                                 English must
                                         must be  accompanied by
                                              be accompanied   by an of cial English
                                                                  an official English
translation
translation that   meets ECFMG's
            that meets   ECFMG’s translation
                                    translation requirements.
                                                requirements. See  Final Medical
                                                              See Final  Medical Diploma
                                                                                  Diploma
and
andTranscript
     Transcript,, Transcript(s)
                  Transcript(s) to Document Transferred
                                to Document   TransferredCredits
                                                         Credits,, and English Translations
                                                                   and English  Translations
for complete
for complete information
              information onon required
                                required items.
                                         items.

    Important Note:
    Important Note: You
                    You must
                        must include
                               include your
                                       your full
                                            full name
                                                 name and
                                                      and USMLE/ECFMG
                                                           USMLE/ECFMG Identification
                                                                          Identi cation
    Number on
    Number on the front of
              the front of all
                           all credentials
                               credentials before  sending them
                                           before sending  them to ECFMG.
                                                                to ECFMG.

If you
If you are
        are a   medical school
             a medical     school graduate
                                    graduate when
                                              when youyou submit
                                                            submit your
                                                                    your first
                                                                            rst exam   application, your
                                                                                exam application,   your
diploma and
diploma    and transcript(s)
                 transcript(s) to    document transferred
                                 to document     transferred credits
                                                                credits (if
                                                                        (if applicable)
                                                                            applicable) must
                                                                                         must be
                                                                                               be
submitted with
submitted     with this   initial exam
                     this initial exam application.
                                         application. If
                                                       If you
                                                          you have
                                                               have graduated
                                                                     graduated and     met all
                                                                                  and met  all
requirements for
requirements       for your
                        your medical
                              medical diploma
                                        diploma but   your medical
                                                  but your   medical diploma
                                                                       diploma has
                                                                                 has not
                                                                                      not yet
                                                                                          yet been  issued,
                                                                                              been issued,
a letter completed
a letter  completed and       signed by
                         and signed       an authorized
                                       by an authorized official
                                                            of cial of
                                                                    of your
                                                                       your medical
                                                                             medical school
                                                                                       school must
                                                                                               must be
                                                                                                     be
submitted with
submitted     with your
                     your exam     application. Each
                            exam application.   Each medical
                                                       medical school
                                                                  school has
                                                                          has been   requested to
                                                                              been requested     to
provide   ECFMG with
provide ECFMG         with aa list of authorized
                              list of authorized officials.
                                                   of cials. The
                                                              The letter
                                                                   letter you
                                                                           you submit
                                                                                submit must
                                                                                        must be
                                                                                              be
completed
completed and  and signed
                    signed by    an official
                             by an   of cial on
                                             on this
                                                this list. The official
                                                     list. The  of cial must
                                                                        must provide    his/her name,
                                                                               provide his/her   name,
of cial title,
official        and the
         title, and        institution name.
                      the institution   name. The
                                               The official
                                                    of cial must
                                                              must affix
                                                                    af x the
                                                                          the institution's
                                                                               institution's seal
                                                                                             seal to
                                                                                                  to the
                                                                                                     the
letter. The letter
letter. The   letter also
                       also must
                            must include
                                   include the
                                            the following
                                                following statement:
                                                             statement:

    This is
    This is to
            to confirm
               con rm that  [applicant name]
                       that [applicant  name] has
                                              has graduated
                                                  graduated and completed all
                                                            and completed   all requirements
                                                                                requirements
    to receive
    to receive the  [degree title]
                the [degree        degree from
                            title] degree from [medical
                                               [medical school/university
                                                        school/university name].
                                                                          name]. The
                                                                                  The degree
                                                                                      degree
    will be
    will be issued
            issued [month
                   [month and    year].
                           and year].

You must
You must then submit aa copy
         then submit         of your
                        copy of your diploma
                                     diploma to
                                             to ECFMG
                                                ECFMG as
                                                      as soon
                                                         soon as the diploma
                                                              as the diploma is
                                                                             is issued.
                                                                                issued.

If you
If you graduated
        graduated from
                   from medical
                        medical school
                                 school and  do not
                                         and do not submit
                                                    submit aa copy
                                                              copy of
                                                                   of your
                                                                      your medical
                                                                            medical diploma
                                                                                    diploma
or aa letter
or    letter from
             from your
                  your medical
                       medical school,
                                school, as
                                        as described
                                           described above,
                                                     above, and
                                                            and these   documents have
                                                                 these documents   have not
                                                                                         not
been   received previously
been received    previously by ECFMG, your
                            by ECFMG,    your exam
                                              exam application
                                                   application will
                                                                will be rejected.
                                                                     be rejected.

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If you
If you are
       are a  medical school
            a medical school student
                             student when
                                     when you
                                          you submit
                                               submit your
                                                      your first
                                                             rst exam
                                                                 exam application,
                                                                      application, submit
                                                                                   submit
copies  of your
copies of  your medical
                medical education
                        education credentials
                                  credentials as soon as
                                              as soon    you graduate
                                                      as you graduate and
                                                                      and receive
                                                                          receive them.
                                                                                   them.

You may
You  may not
           not submit
               submit the
                       the credentials required for
                           credentials required  for ECFMG
                                                     ECFMG Certification
                                                             Certi cation to  ECFMG until
                                                                           to ECFMG     until
you apply
you  apply for
            for an
                an exam. If you
                   exam. If you send
                                send credentials
                                     credentials to  ECFMG before
                                                  to ECFMG           you apply
                                                              before you       for an
                                                                         apply for an exam,
                                                                                       exam,
they  will not
they will  not be
               be processed.  To submit
                  processed. To  submit your
                                         your credentials at the
                                              credentials at     time of
                                                             the time of application, follow
                                                                         application, follow
the instructions for
the instructions   for additional documents in
                       additional documents  in the  exam application
                                                the exam              in ECFMG's
                                                          application in ECFMG's IWA.
                                                                                   IWA.

After you
After you have
          have applied  for an
               applied for  an exam, if you
                               exam, if you need
                                            need to send credentials
                                                 to send credentials to ECFMG separately
                                                                     to ECFMG   separately
from an
from an exam
        exam application,
              application, you
                            you must
                                must submit
                                     submit the
                                             the credentials
                                                 credentials to ECFMG via
                                                             to ECFMG   via the MyECFMG
                                                                            the MyECFMG
mobile app
mobile     or via
       app or via mail
                  mail at
                       at the
                          the address
                              address below.
                                       below.

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Educational  Commission forfor Foreign
                               Foreign Medical
                                       Medical Graduates
                                               Graduates (ECFMG)
                                                         (ECFMG)
Attn: Certification
Attn: Certi cation Credentials
                    Credentials Services
                                 Services
3624  Market St.,
3624 Market   St., 4th
                   4th Floor
                       Floor
Philadelphia,
Philadelphia, PA  19104-2685
              PA 19104-2685
USA
USA

If your
If your credentials are complete,
        credentials are           you are
                        complete, you are generally
                                          generally not
                                                    not required
                                                        required to resend these
                                                                 to resend these
documents when
documents         you apply
            when you   apply for
                             for subsequent
                                 subsequent exams.
                                            exams.

ECFMG will
ECFMG will not
           not accept
               accept letters or other
                      letters or other deliveries
                                       deliveries that arrive with
                                                  that arrive with postage
                                                                   postage or
                                                                           or other
                                                                              other fees
                                                                                    fees
due.
due.

When your
When   your credentials
            credentials have
                        have been
                             been processed,    ECFMG will
                                    processed, ECFMG     will notify
                                                              notify you.
                                                                     you. You
                                                                          You can  also check
                                                                              can also   check
the status of
the status of your
              your credentials
                   credentials by accessing OASIS
                               by accessing         or the
                                             OASIS or      MyECFMG mobile
                                                       the MyECFMG      mobile app.   If you
                                                                                 app. If you
have questions
have questions or
                or concerns about your
                   concerns about   your credentials,
                                         credentials, you
                                                      you can
                                                          can contact   ECFMG using
                                                               contact ECFMG      using the
                                                                                         the
contact information for
contact information  for General
                         General Inquiries
                                  Inquiries on
                                            on the Contact ECFMG
                                               the Contact   ECFMG page     of the
                                                                      page of      ECFMG
                                                                               the ECFMG
website.
website.

Documents submitted
Documents    submitted to  ECFMG as
                        to ECFMG      part of
                                   as part  of the
                                               the exam
                                                   exam application
                                                        application and certi cation
                                                                    and certification
processes, including translations,
processes, including               will not
                     translations, will not be  returned.
                                            be returned.


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                       13, 2018.
                           2018.
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Medical Education
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                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Final Medical
Final Medical Diploma
              Diploma and
                      and Transcript
                          Transcript

Final Medical
Final Medical Diploma
              Diploma

ECFMG requires
ECFMG       requires all  medical school
                      all medical  school graduates
                                           graduates to   submit aa copy
                                                       to submit         of their
                                                                    copy of           nal medical
                                                                             their final  medical
diploma to
diploma     to ECFMG.
               ECFMG. Do  Do not
                              not send
                                  send an
                                        an original
                                           original diploma.
                                                    diploma. You
                                                              You must
                                                                   must submit
                                                                         submit thethe copy  of your
                                                                                        copy of your
diploma to
diploma     to ECFMG
               ECFMG via via the  MyECFMG mobile
                             the MyECFMG      mobile app   or via
                                                       app or via mail
                                                                  mail or
                                                                       or courier    service. The
                                                                          courier service.    The
exact degree
exact    degree title  of the
                 title of       nal medical
                          the final medical diploma
                                             diploma you
                                                       you must
                                                           must provide
                                                                 provide isis listed    the Reference
                                                                                     in the
                                                                              listed in     Reference
Guide
Guide for     Medical Education
          for Medical   Education Credentials    on the
                                    Credentials on       ECFMG website.
                                                     the ECFMG     website. The    Reference Guide
                                                                             The Reference     Guide
lists
lists these   medical credential
       these medical                quali cations by
                        credential qualifications   by country  of medical
                                                       country of  medical school.
                                                                             school. Although
                                                                                       Although this
                                                                                                 this
Reference
Reference Guide       is based
               Guide is         upon information
                         based upon   information that
                                                    that was
                                                          was current  at the
                                                              current at  the time    of publication,
                                                                                time of  publication,
this  information is
this information     is subject
                        subject to
                                 to change.
                                    change.

If you
If you are
       are mailing
           mailing aa copy  of your
                      copy of  your medical
                                    medical diploma,
                                              diploma, the
                                                       the photocopy  must be
                                                           photocopy must  be 216
                                                                               216 mm
                                                                                    mm x x 279
                                                                                           279
mm (8%
mm   (8½ in
         in x
            x 11
              11 in).
                 in). If
                      If the
                         the document
                             document isis larger
                                           larger than
                                                  than 216  mm x
                                                        216 mm  x 279 mm (8%
                                                                  279 mm  (8½ in
                                                                               in x
                                                                                  x 11
                                                                                    11 in),
                                                                                       in), you
                                                                                            you
must send
must  send aa reduced
              reduced photocopy
                         photocopy that
                                     that is
                                          is 216
                                             216 mm
                                                  mm x
                                                     x 279
                                                        279 mm
                                                            mm (8%
                                                                (8½ in
                                                                    in x
                                                                       x 11
                                                                         11 in).
                                                                            in).

You must
You  must submit
          submit the
                   the copy
                        copy ofof the
                                  the final
                                        nal medical
                                            medical diploma
                                                     diploma in in the original language,
                                                                   the original language, containing
                                                                                             containing
the issue date
the issue date and   all of
                and all  of the
                            the appropriate   signatures of
                                 appropriate signatures    of the
                                                               the medical
                                                                    medical school
                                                                             school and/or
                                                                                      and/or
university officials.
university of cials. Documents
                      Documents thatthat are
                                          are not
                                              not in
                                                  in English
                                                     English must
                                                               must bebe accompanied
                                                                         accompanied by      an official
                                                                                          by an  of cial
English translation.
English translation. ECFMG
                      ECFMG will will not
                                      not accept
                                          accept aa copy  of aa medical
                                                    copy of     medical diploma
                                                                         diploma that
                                                                                    that is
                                                                                         is not
                                                                                            not in
                                                                                                in
English without
English without an    of cial English
                  an official  English translation.
                                        translation. Likewise,    ECFMG will
                                                     Likewise, ECFMG       will not
                                                                                not accept
                                                                                     accept anan
English translation
English translation ofof aa diploma
                            diploma without
                                     without aa copy  of the
                                                copy of  the original
                                                               original language    document from
                                                                        language document        from
which the
which      English translation
       the English  translation waswas prepared.
                                        prepared. See   English Translations
                                                   See English    Translations in   Medical
                                                                                 in Medical
Education Credentials
Education  Credentials..

Do not
Do not submit
       submit professional   evaluations of
              professional evaluations    of your
                                             your final
                                                    nal medical
                                                        medical diploma.
                                                                diploma. ECFMG
                                                                         ECFMG does
                                                                               does not
                                                                                    not
accept such
accept such evaluations
            evaluations in
                        in lieu of your
                           lieu of your final
                                          nal medical
                                              medical diploma.
                                                       diploma.

If you
If you are
       are submitting
           submitting the
                       the copy  of your
                           copy of  your medical
                                         medical diploma
                                                 diploma with
                                                         with an
                                                              an exam  application, follow
                                                                 exam application,  follow
the  instructions for
the instructions  for additional
                      additional documents
                                 documents in
                                            in the
                                               the exam application in
                                                   exam application in ECFMG's
                                                                       ECFMG's IWA.
                                                                                 IWA.

The name
The  name on
           on your
              your medical
                   medical diploma
                            diploma must
                                      must match
                                            match exactly
                                                   exactly the  name in
                                                            the name   in your
                                                                          your ECFMG
                                                                               ECFMG record.
                                                                                       record.
If the
If     name on
   the name  on your
                your diploma
                     diploma does    not match
                               does not  match the
                                                the name
                                                    name in
                                                          in your
                                                             your ECFMG
                                                                  ECFMG record,
                                                                            record, you
                                                                                    you must
                                                                                        must
submit documentation
submit   documentation that   veri es the
                         that verifies     name on
                                       the name   on your
                                                     your diploma
                                                          diploma is
                                                                   is (or
                                                                      (or was)
                                                                          was) your
                                                                               your name.
                                                                                     name. See
                                                                                           See
Name on
Name       Medical Diploma
        on Medical Diploma and
                            andTranscript(s)       Medical Education
                                                in Medical
                                  Transcript(s) in         Education Credentials
                                                                        Credentials..
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                                                              3KoSt
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Final Medical
Final Medical School
              School Transcript
                     Transcript

When ECFMG
When ECFMG requests
               requests verification
                         veri cation of
                                      of your
                                         your medical
                                              medical diploma
                                                      diploma from
                                                                from your
                                                                      your medical
                                                                            medical school,
                                                                                    school,
ECFMG will
ECFMG   will request
             request the medical school
                     the medical  school to  provide your
                                          to provide your final
                                                            nal medical
                                                                medical school
                                                                         school transcript.
                                                                                transcript. If
                                                                                            If
ECFMG is
ECFMG   is unable
           unable to obtain your
                  to obtain your final
                                   nal medical
                                       medical school
                                                school transcript  directly from
                                                       transcript directly  from your
                                                                                 your
medical school,
medical school, ECFMG
                ECFMG will
                         will contact you and
                              contact you  and provide
                                               provide detailed
                                                       detailed instructions.
                                                                 instructions.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Transcript(s) to
Transcript(s)    Document Transferred
              to Document Transferred Credits
                                      Credits

If you
If you have
        have transferred
             transferred credits
                          credits to the medical
                                  to the medical school
                                                  school that  awarded or
                                                          that awarded  or will
                                                                           will award
                                                                                award your
                                                                                      your
medical degree,
medical   degree, you
                  you must
                       must document
                             document these
                                        these credits  when you
                                               credits when   you apply
                                                                  apply for
                                                                        for examination,
                                                                            examination,
regardless of
regardless   of when
                when the
                      the credits were earned.
                          credits were           You must
                                        earned. You   must send
                                                            send to ECFMG aa copy
                                                                 to ECFMG          of an
                                                                              copy of an
of cial transcript
official            issued by
         transcript issued by the  school or
                              the school  or institution
                                             institution at
                                                         at which
                                                            which the
                                                                  the course  was taken.
                                                                      course was         You
                                                                                  taken. You
must submit
must   submit the
               the copy of your
                   copy of your transcript
                                transcript to  ECFMG via
                                            to ECFMG    via the
                                                            the MyECFMG     mobile app
                                                                MyECFMG mobile     app or
                                                                                       or via
                                                                                          via
mail or
mail  or courier service.
         courier service.

If you
If you are
       are mailing
           mailing aa copy of the
                      copy of      transcript, the
                              the transcript,  the photocopy
                                                    photocopy must
                                                              must bebe 216  mm x
                                                                        216 mm   x 279
                                                                                    279 mm
                                                                                        mm (8%
                                                                                           (8½
in x
in x 11
     11 in).
        in). If
             If the document is
                the document   is larger
                                  larger than
                                          than 216  mm x
                                               216 mm   x 279 mm (8%
                                                          279 mm   (8½ in
                                                                       in x
                                                                          x 11
                                                                            11 in),
                                                                               in), you
                                                                                    you must
                                                                                        must
send a
send    reduced photocopy
      a reduced    photocopy that    is 216
                               that is      mm x
                                        216 mm   x 279 mm (8%
                                                   279 mm  (8½ in
                                                               in x
                                                                  x 11
                                                                    11 in).
                                                                       in).

You must
You  must submit
           submit the
                    the copy  of the
                         copy of the transcript   in the
                                      transcript in  the original
                                                          original language.   Documents that
                                                                   language. Documents      that are
                                                                                                 are
not in
not in English
       English must
               must be    accompanied by
                       be accompanied      by an of cial English
                                              an official English translation.
                                                                   translation. ECFMG
                                                                                 ECFMG will
                                                                                          will not
                                                                                               not
accept aa copy
accept         of aa transcript
          copy of    transcript that   is not
                                 that is  not in
                                              in English
                                                 English without
                                                          without anan official
                                                                       of cial English
                                                                                English translation.
                                                                                        translation.
Likewise, ECFMG
Likewise,  ECFMG willwill not
                          not accept
                              accept an    English translation
                                       an English               of aa transcript
                                                   translation of                 without aa copy
                                                                      transcript without           of
                                                                                             copy of
the original language
the original             document from
             language document       from which
                                            which the
                                                   the English
                                                        English translation
                                                                translation was
                                                                              was prepared.    See
                                                                                   prepared. See
English Translations
English  Translations in   Medical Education
                        in Medical  Education Credentials
                                                  Credentials..

Do not
Do not submit
       submit professional    evaluations of
                professional evaluations  of your
                                             your transcript. ECFMG does
                                                  transcript. ECFMG does not
                                                                         not accept such
                                                                             accept such
evaluations in
evaluations in lieu of your
               lieu of your transcript.
                            transcript.

To submit
To submit the
          the transcript
              transcript to ECFMG, follow
                         to ECFMG, follow the instructions for
                                          the instructions for additional
                                                               additional documents
                                                                          documents in
                                                                                    in
the
the exam application in
    exam application in ECFMG's
                        ECFMG's IWA.
                                IWA.

The name
The name onon your
               your transcript(s)
                    transcript(s) to
                                   to document
                                      document transferred
                                               transferred credits  must match
                                                           credits must  match exactly
                                                                                exactly the
                                                                                         the
name in
name  in your
         your ECFMG
               ECFMG record.
                        record. If
                                If the name on
                                   the name on your
                                               your transcript
                                                    transcript does
                                                               does not
                                                                     not match
                                                                         match the  name in
                                                                               the name    in
your ECFMG
your ECFMG record,
               record, you
                       you must
                           must submit
                                  submit documentation
                                          documentation that
                                                         that verifies
                                                              veri es the
                                                                       the name
                                                                           name on
                                                                                on your
                                                                                    your
transcript is (or
transcript is (or was) your name.
                  was) your         See Name
                            name. See   Name on
                                              on Medical Diploma and
                                                 MedicalDiploma    andTranscript(s)   in
                                                                        Transcript(s) in
Medical Education
Medical  Education Credentials
                     Credentials..


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                           2018.
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                                                                                                  reserved.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) |I
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Name on
Name on Medical
        Medical Diploma
                Diploma and
                        and Transcript(s)
                            Transcript(s)

Your name
Your name as
          as it
             it appears
                appears on
                        on all
                           all credentials sent to
                               credentials sent    ECFMG must
                                                to ECFMG must be
                                                              be consistent.
                                                                 consistent.

The name
The  name on
           on your
               your medical
                    medical diploma
                              diploma and  transcript(s) must
                                      and transcript(s)  must match
                                                              match exactly
                                                                     exactly the
                                                                             the name
                                                                                 name in
                                                                                       in
your ECFMG
your  ECFMG record.
               record. If
                       If the
                          the names
                              names do
                                     do not
                                        not match
                                             match exactly, you must
                                                   exactly, you must submit
                                                                      submit documentation
                                                                              documentation
that veri es the
that verifies the name
                  name onon your
                            your medical
                                  medical diploma/transcript(s)
                                          diploma/transcript(s) is
                                                                is (or
                                                                   (or was)
                                                                       was) your
                                                                            your name.
                                                                                 name. The
                                                                                        The
documentation must
documentation    must show
                       show your
                              your name
                                   name exactly
                                         exactly as
                                                 as it
                                                    it appears on your
                                                       appears on your medical
                                                                        medical
                        See Your
diploma/transcript(s). See
diplonna/transcript(s).       Your Name  in Your
                                   Name in       ECFMG Record
                                            Your ECFMG    Record and
                                                                  and Verifying
                                                          Recordand    VerifyingYour
                                                                                 Your Name
                                                                                      Name..

If the
If     name on
   the name  on your
                 your credentials
                      credentials does
                                  does not
                                       not match
                                           match the
                                                 the name
                                                     name in
                                                           in your
                                                              your ECFMG
                                                                    ECFMG record
                                                                             record and
                                                                                    and
you do
you  do not
        not submit
            submit acceptable
                     acceptable documentation
                                documentation that  veri es the
                                               that verifies     name on
                                                             the name   on your
                                                                           your
credentials is
credentials  is (or
                (or was)
                    was) your
                         your name,
                              name, your
                                    your exam
                                         exam application
                                              application will  be rejected.
                                                           will be rejected.

An example
An example ofof aa discrepancy
                   discrepancy that
                               that requires
                                    requires such
                                             such verification
                                                  veri cation would
                                                               would be if your
                                                                     be if your ECFMG
                                                                                  ECFMG
record lists
record       your married
       lists your  married name,
                           name, but  your medical
                                  but your medical diploma/transcript(s)
                                                   diploma/transcript(s) lists
                                                                           lists your
                                                                                 your maiden
                                                                                      maiden
name.
name.

Other examples
Other  examples ofof discrepancies
                     discrepancies that require such
                                   that require such verification
                                                     veri cation include,
                                                                  include, but are not
                                                                           but are not
limited
limited to,
        to, the following:
            the following:

     • Use  of initials
       Use of  initials for
                        for the   rst name
                            the first name or
                                           or last name (surname)
                                              last name (surname) onon the medical
                                                                       the medical
       diploma/transcript(s)
       diploma/transcript(s)
       Example: "Mary
       Example:    “Mary Smith"
                           Smith” in
                                   in your
                                      your ECFMG
                                           ECFMG record,
                                                    record, but “M. Smith"
                                                            but "M. Smith” or
                                                                           or "Mary
                                                                              “Mary S."
                                                                                    S.” on
                                                                                        on your
                                                                                           your
       medical diploma/transcript(s).
       medical   diploma/transcript(s).
       Difference in
     • Difference in the sequence of
                     the sequence  of names
                                      names
       Example: "Pravin
       Example: “Pravin Chandra
                         Chandra Patel"
                                  Patel” in
                                         in your
                                            your ECFMG
                                                 ECFMG record,
                                                        record, but “Pravin Patel
                                                                but "Pravin       Chandra” or
                                                                            Patel Chandra" or
       “Chandra Pravin
       "Chandra Pravin Patel"
                        Patel” on
                               on your
                                  your medical
                                       medical diploma/transcript(s).
                                               diploma/transcript(s).
       Hyphenations and
     • Hyphenations   and separations
                           separations in
                                        in names
                                           names
       Example: "Alice
       Example:  “Alice Al
                        Al Quigley” in your
                           Quigley" in your ECFMG
                                             ECFMG record,
                                                   record, but “Alice Al-Quigley"
                                                           but "Alice Al-Quigley” or
                                                                                  or "Alice
                                                                                     “Alice
       Alquigley” on
       Alquigley" on your
                     your medical
                           medical diploma/transcript(s).
                                   diploma/transcript(s).

Verifying Your
Verifying Your Name
               Name



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If the
If     name in
   the name    in your
                  your ECFMG
                        ECFMG record
                                 record is
                                         is correct
                                            correct but
                                                     but this name does
                                                         this name   does not
                                                                          not match
                                                                               match exactly
                                                                                      exactly your
                                                                                              your
name as
name    as listed  on your
           listed on   your medical
                            medical diploma,
                                     diploma, transcript,   or other
                                                transcript, or other credential,  you must
                                                                      credential, you must verify
                                                                                           verify
that
that the   name on
      the name     on these  documents is
                      these documents    is (or
                                            (or was)
                                                 was) your
                                                      your name.
                                                           name. ToTo verify
                                                                      verify your
                                                                             your name,
                                                                                   name, submit
                                                                                         submit to
                                                                                                 to
ECFMG a
ECFMG        copy of
           a copy   of one
                       one of
                           of the
                              the documents
                                  documents listed
                                                listed below
                                                       below that  veri es the
                                                              that verifies     name on
                                                                            the name  on your
                                                                                         your
medical diploma,
medical   diploma, transcript,
                      transcript, or
                                  or other
                                     other credential.   The name
                                            credential. The   name in
                                                                    in your
                                                                       your ECFMG
                                                                             ECFMG record
                                                                                     record will not
                                                                                            will not
be
be changed
    changed if if you
                  you are
                       are verifying
                           verifying your
                                     your name.
                                           name.

For the
For     purpose of
    the purpose of verifying
                   verifying your
                             your name,
                                  name, the
                                        the documents)
                                            document(s) you
                                                        you may
                                                            may submit
                                                                submit include:
                                                                       include:

    • Passport (including the
      Passport (including     pages with
                          the pages with your
                                         your photograph
                                              photograph and the expiration
                                                         and the expiration date)
                                                                            date)
      Birth certi
    • Birth        cate
            certificate
    • Marriage
      Marriage certi  cate
               certificate
    • Of  cial court
      Official       order
               court order
    • U.S. Resident Alien
      U.S. Resident Alien Card
                          Card
    • U.S. Naturalization Certificate
      U.S. Naturalization Certi cate
    • U.S. Passport Card
      U.S. Passport Card (a one-page document
                         (a one-page document that includes your
                                              that includes your photograph
                                                                 photograph and
                                                                            and the
                                                                                the
      expiration date)
      expiration date)

As an
As an alternative
       alternative to   one of
                     to one  of the  documents listed
                                 the documents               above, ECFMG
                                                    listed above,     ECFMG willwill accept
                                                                                     accept for
                                                                                             for purposes
                                                                                                  purposes
of verifying
of verifying your
             your name
                     name a   letter from
                            a letter from an
                                           an authorized
                                                authorized official
                                                               of cial ofof your
                                                                            your medical
                                                                                  medical school
                                                                                           school that
                                                                                                     that
veri es that
verifies that the   name on
              the name     on your
                               your medical
                                     medical diploma,
                                               diploma, transcript,
                                                            transcript, oror other
                                                                              other credential
                                                                                    credential isis (or
                                                                                                    (or was)
                                                                                                        was)
your name.
your  name. If
             If you
                you choose
                      choose toto submit
                                  submit aa letter    from your
                                             letter from     your medical
                                                                   medical school
                                                                              school to  verify the
                                                                                      to verify       name
                                                                                                the name
on your
on your medical
         medical diploma,
                    diploma, transcript,   or other
                               transcript, or   other credential,
                                                         credential, the
                                                                       the letter  must be
                                                                            letter must  be completed
                                                                                            completed
and signed
and  signed by   an authorized
             by an   authorized official
                                   of cial of
                                           of your
                                               your medical
                                                      medical school.
                                                                 school. Each
                                                                          Each medical
                                                                                 medical school
                                                                                          school has
                                                                                                   has been
                                                                                                        been
requested to
requested   to provide    ECFMG with
                provide ECFMG       with aa list of authorized
                                            list of  authorized officials.
                                                                    of cials. The
                                                                               The letter  you submit
                                                                                    letter you  submit
must be
must   be completed
          completed and      signed by
                        and signed      an official
                                     by an  of cial on on this  list. The
                                                           this list. The official
                                                                           of cial must
                                                                                    must provide    his/her
                                                                                          provide his/her
name, official
name,   of cial title,
                title, and
                       and the   institution name.
                            the institution   name. The The official
                                                             of cial must
                                                                       must affix
                                                                              af x the institution's seal
                                                                                   the institution's   seal to
                                                                                                            to
the
the letter. The letter
    letter. The  letter also   must include
                         also must   include the    following statement:
                                               the following      statement:

    This certifies
    This certi es that
                   that the names [name
                        the names [name on
                                        on document]
                                           document] and
                                                     and [name
                                                         [name in
                                                               in ECFMG
                                                                  ECFMG record]
                                                                        record] belong
                                                                                belong
    to one
    to one and
           and the   same person.
                the same  person.

The documents)
The document(s) you
                you send
                    send must
                         must show
                              show your
                                   your name
                                        name exactly
                                             exactly as
                                                     as it
                                                        it appears
                                                           appears on
                                                                   on your
                                                                      your medical
                                                                           medical
diploma/transcript.
diploma/transcript.

See additional
See additional important
               important information
                         information on
                                     on documents
                                        documents below.
                                                  below.

Important Information
Important Information on
                      on Documents
                         Documents for
                                   for Changing
                                       Changing or
                                                or Verifying
                                                   Verifying Your
                                                             Your Name
                                                                  Name

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     Attestations and
   • Attestations     af davits are
                  and affidavits are not
                                     not acceptable
                                         acceptable as documentation to
                                                    as documentation to change or verify
                                                                        change or verify your
                                                                                         your
     name.
     name.
   • Please do not
     Please do not submit
                   submit an
                          an original
                             original document;
                                      document; aa copy of the
                                                   copy of     document is
                                                           the document is sufficient.
                                                                           suf cient.
     All documents
   • All documents submitted
                   submitted toto change
                                  change oror verify
                                              verify your
                                                     your name
                                                          name that are not
                                                               that are not in
                                                                            in English
                                                                               English must
                                                                                       must be
                                                                                            be
     accompanied
     accompanied by  an official
                  by an of cial English
                                 English translation  that meets
                                         translation that  meets ECFMG's
                                                                 ECFMG's translation
                                                                           translation
     requirements. See
     requirements. See English
                       English Translations       Medical Education
                                               in Medical
                                 Translations in          Education Credentials
                                                                    Credentials..
     All documents
   • All documents submitted
                    submitted to
                               to change or verify
                                  change or verify your
                                                   your name,
                                                        name, including
                                                              including translations,  will
                                                                         translations, will
     become
     become aa part
               part of
                    of your
                       your permanent  ECFMG record
                            permanent ECFMG     record and  will not
                                                        and will not be returned to
                                                                     be returned     you.
                                                                                  to you.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

English Translations
English Translations

Any document
Any document submitted
               submitted to  ECFMG that
                          to ECFMG       is not
                                   that is  not in
                                                in English
                                                   English must
                                                           must be
                                                                be accompanied
                                                                   accompanied by
                                                                               by an
                                                                                  an
English translation
English translation that
                    that meets
                         meets ECFMG's
                               ECFMG's translation
                                       translation requirements.
                                                     requirements.

ECFMG strongly
ECFMG    strongly encourages
                   encourages you
                                you to  obtain translations
                                     to obtain              from its
                                               translations from  its recommended
                                                                      recommended
translation  service. Translations
translation service.  Translations from
                                    from this service meet
                                         this service meet ECFMG's
                                                           ECFMG's requirements
                                                                       requirements and
                                                                                      and will
                                                                                          will
not be
not    rejected due
    be rejected  due to
                      to translation
                         translation errors. See the
                                     errors. See     Translation Service
                                                 the Translation Service page  in the
                                                                          page in the
Resources   section of
Resources section   of the
                       the ECFMG
                            ECFMG website.
                                     website.

Translations from
Translations  from other
                   other services
                         services may
                                  may not
                                       not meet
                                           meet ECFMG's
                                                 ECFMG's requirements.
                                                         requirements. If
                                                                       If you
                                                                          you obtain
                                                                              obtain aa
translation from another
translation from  another service,
                          service, the translation must:
                                   the translation must:

     • be
       be aa word-for-word
             word-for-word translation of the
                           translation of     original language
                                          the original language document. An abstract
                                                                document. An          or
                                                                             abstract or
       summary translation
       summary               of the
                 translation of     document is
                                the document  is not
                                                 not acceptable.
                                                     acceptable.
     • be
       be prepared  from the
          prepared from         original document
                            the original document or
                                                  or aa photocopy
                                                        photocopy ofof the original document.
                                                                       the original document. ECFMG
                                                                                               ECFMG
       will not accept
       will not accept aa translation
                          translation prepared from a
                                      prepared from  a transcription  (transcribed version)
                                                        transcription (transcribed  version) of
                                                                                             of the
                                                                                                the
       document.
       document.
     • be
       be prepared
           prepared byby aa government
                            government official
                                       of cial (for
                                                (for example,
                                                     example, aa Consular
                                                                 Consular Of  cer), medical
                                                                          Officer), medical school
                                                                                             school
       of cial (for
       official (for example,
                     example, aa Dean
                                 Dean or
                                      or Registrar), or a
                                         Registrar), or   professional translation
                                                        a professional              service.
                                                                       translation service.
       include aa statement
     • include    statement from
                            from the  government or
                                 the government    or medical
                                                      medical school
                                                              school official
                                                                     of cial or
                                                                              or representative
                                                                                 representative of
                                                                                                of
       the translation service
       the translation service certifying
                               certifying that
                                          that the word-for-word translation
                                               the word-for-word  translation is
                                                                               is correct.
                                                                                  correct.
     • bear
       bear the  signature and
            the signature   and title of the
                                title of      government or
                                         the government     or medical
                                                               medical school
                                                                        school official
                                                                               of cial or
                                                                                        or representative
                                                                                           representative
       of the
       of     translation service
          the translation  service and,
                                    and, if
                                         if there is one,
                                            there is one, the seal of
                                                          the seal of the government official,
                                                                      the government    of cial, medical
                                                                                                 medical
       school, or
       school,  or translation
                   translation service.
                               service.
     • appear  on letterhead.
       appear on              If the
                  letterhead. If the translation  service is
                                      translation service is aa private
                                                                private company,
                                                                        company, the
                                                                                 the letterhead must
                                                                                     letterhead must
       identify the
       identify the company
                    company asas aa translation
                                    translation service.
                                                service.

An English
An English language
            language certi    cate issued
                       certificate  issued by
                                           by the  medical school
                                               the medical  school that
                                                                   that is
                                                                        is not
                                                                           not aa word-for-word
                                                                                  word-for-word
English language
English            version of
        language version    of the
                               the degree,
                                     degree, transcript, or other
                                             transcript, or other document
                                                                  document in in the
                                                                                 the original
                                                                                     original
language  is not
language is  not acceptable
                 acceptable asas aa translation. English translations
                                    translation. English translations that
                                                                      that do
                                                                            do not
                                                                                not meet
                                                                                    meet the
                                                                                          the
requirements above
requirements           will not
                above will  not be   accepted. Examples
                                be accepted.    Examples of
                                                          of unacceptable
                                                             unacceptable translations
                                                                            translations include,
                                                                                          include,
but
but are not limited
    are not          to:
             limited to:

                                                             Page 74
                                                             Page 74
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   • translations
     translations prepared
                  prepared by
                           by aa notary
                                 notary who
                                        who is
                                            is not
                                               not aa government
                                                      government or
                                                                 or medical
                                                                    medical school
                                                                            school official
                                                                                   of cial or
                                                                                            or
      representative of
      representative of aa professional translation service.
                           professional translation service.
   • aa translation
        translation that was not
                    that was not signed
                                 signed by the translator
                                        by the            or official
                                               translator or of cial or
                                                                      or representative
                                                                         representative of
                                                                                        of the
                                                                                           the
     translation  service, and
      translation service, and
   • aa translation
        translation that is not
                    that is not a word-for-word translation
                                a word-for-word             of the
                                                translation of     original language
                                                               the original          document.
                                                                            language document.

Additionally, applicants
Additionally, applicants are
                         are not
                             not permitted
                                 permitted to
                                           to translate
                                              translate their own documents.
                                                        their own documents.

Documents submitted
Documents    submitted to  ECFMG as
                        to ECFMG   as part  of the
                                      part of      exam application
                                               the exam application and
                                                                    and certi  cation
                                                                        certification
processes, including translations,
processes, including translations, will not be
                                   will not     returned.
                                            be returned.


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Medical Education
Medical Education Credentials
                  Credentials
Medical Education
Medical  Education Credential
                   Credential Requirements
                                 Requirements I| Transfer
                                                 Transfer Credits
                                                          Credits |I Credentials
                                                                     Credentials for
                                                                                  for ECFMG
                                                                                      ECFMG Certification
                                                                                             Certi cation |I Final
                                                                                                             Final Medical
                                                                                                                   Medical
Diploma and
Diploma  and Transcript
             Transcript I| Transcript(s)
                           Transcript(s) to
                                         to Document
                                            Document Transferred
                                                      Transferred Credits
                                                                     Credits I| Name
                                                                                Name on
                                                                                      on Medical
                                                                                         Medical Diploma
                                                                                                 Diploma and
                                                                                                         and Transcript(s)
                                                                                                               Transcript(s) I|
English Translations
English Translations I| Verification
                        Veri cation of
                                     of Credentials
                                        Credentials

Veri cation of
Verification of Credentials
                Credentials

ECFMG verifies
ECFMG    veri es every    international medical
                  every international     medical graduate's
                                                     graduate’s final
                                                                   nal medical
                                                                       medical diploma
                                                                               diploma with
                                                                                         with the
                                                                                              the
appropriate officials
appropriate  of cials ofof the
                           the medical
                               medical school
                                         school that   issued the
                                                  that issued the diploma
                                                                    diploma and
                                                                             and requests
                                                                                 requests the
                                                                                           the
medical school
medical  school to
                to provide
                     provide the    nal medical
                              the final medical school
                                                   school transcript.
                                                          transcript. Verification
                                                                        Veri cation by  ECFMG with
                                                                                    by ECFMG    with
the issuing school
the issuing school may
                     may also
                           also be required for
                                be required    for transcripts
                                                   transcripts that   are submitted
                                                               that are   submitted to  document
                                                                                     to document
transferred
transferred credits.   You will
             credits. You   will not
                                 not fulfill
                                     ful ll the  ECFMG medical
                                             the ECFMG    medical education
                                                                     education credential
                                                                                credential
requirements until
requirements   until verification
                      veri cation ofof your
                                       your final
                                                nal medical
                                                    medical diploma,
                                                            diploma, final
                                                                         nal medical
                                                                             medical school
                                                                                      school
transcript, and, if
transcript, and, if required,
                    required, transfer
                               transfer credit
                                         credit transcript(s)
                                                  transcript(s) is
                                                                is received
                                                                   received directly
                                                                             directly from
                                                                                      from the
                                                                                           the
issuing school(s)
issuing school(s) and
                   and accepted
                        accepted by    ECFMG.
                                   by ECFMG.

In some
In some instances,
          instances, the    veri cation process
                       the verification             can be
                                          process can        lengthy due
                                                        be lengthy    due to
                                                                           to the processing time
                                                                              the processing   time
required by
required   by the  institutions and,
               the institutions   and, for
                                       for verifications
                                           veri cations donedone by   mail, prevailing
                                                                  by mail,              postal
                                                                            prevailing postal
conditions.   ECFMG will
conditions. ECFMG       will notify
                              notify you
                                     you when
                                          when your
                                                  your diploma
                                                       diploma hashas been   sent to
                                                                       been sent      your medical
                                                                                   to your  medical
school for
school  for verification.
             veri cation. AsAs part
                                part of
                                     of the
                                        the verification
                                            veri cation process,
                                                            process, ECFMG
                                                                      ECFMG also      may provide
                                                                                also may   provide the
                                                                                                     the
medical school
medical   school with
                  with other
                         other documents,
                                documents, including
                                               including aa copy      your Certi
                                                                   of your
                                                             copy of                cation of
                                                                            Certification   of
Identi cation Form
Identification   Form (Form
                        (Form 186),
                                186), to  aid in
                                      to aid  in identification.
                                                 identi cation. IfIf ECFMG
                                                                     ECFMG doesdoes not
                                                                                      not receive
                                                                                          receive aa
response from
response    from your
                  your medical
                         medical school,
                                   school, ECFMG
                                           ECFMG will will follow
                                                           follow up
                                                                   up with
                                                                       with your
                                                                            your medical
                                                                                  medical school.
                                                                                            school.
ECFMG will
ECFMG     will notify
                notify you
                       you after
                             after receiving
                                   receiving and
                                              and evaluating
                                                    evaluating the    veri cation from
                                                                 the verification   from your
                                                                                          your medical
                                                                                               medical
school. You
school.  You can
              can check
                   check the    status of
                           the status  of your
                                          your medical
                                                 medical education
                                                           education credentials
                                                                        credentials on-line
                                                                                      on-line using
                                                                                              using
OASIS.
OASIS.

ECFMG reserves
ECFMG    reserves the    right to
                    the right     reverify with
                               to reverify  with the  medical school
                                                  the medical   school the
                                                                        the eligibility   of medical
                                                                              eligibility of medical
school graduates
school  graduates who
                    who apply
                          apply for
                                 for examination.
                                     examination. This
                                                    This may
                                                          may include
                                                               include reverification
                                                                         reveri cation of  of the
                                                                                              the
graduate’s medical
graduate's  medical education
                      education credentials     with the
                                   credentials with   the issuing
                                                          issuing medical
                                                                   medical school.
                                                                              school. If
                                                                                       If such
                                                                                          such
reveri cation is
reverification is requested
                  requested by     ECFMG, the
                               by ECFMG,         graduate will
                                             the graduate    will be registered for
                                                                  be registered    for examination
                                                                                       examination
only after
only       ECFMG has
     after ECFMG     has received
                          received reverification
                                     reveri cation ofof the  graduate’s credentials
                                                        the graduate's                   directly from
                                                                          credentials directly    from
the medical school.
the medical  school. If
                      If reverification
                         reveri cation isis requested
                                            requested by    ECFMG after
                                                        by ECFMG      after the   graduate has
                                                                             the graduate     has been
                                                                                                  been
registered for
registered  for examination,
                examination, ECFMG
                                ECFMG may may cancel
                                                cancel the  graduate’s registration
                                                       the graduate's    registration or or withhold
                                                                                             withhold
the graduate’s score
the graduate's  score report
                        report until
                                until ECFMG
                                      ECFMG has has received
                                                    received reverification
                                                               reveri cation of  of the  graduate’s
                                                                                    the graduate's
medical education
medical  education credentials
                     credentials directly
                                    directly from
                                             from the  issuing school.
                                                   the issuing  school. IfIf your
                                                                             your registration
                                                                                   registration is
                                                                                                 is
canceled,  you may
canceled, you  may be    required to
                     be required    to reapply.
                                       reapply.

    Important Notes:
    Important   Notes: Applicants
                        Applicants are
                                   are responsible
                                        responsible for
                                                     for any fees associated
                                                         any fees associated with
                                                                             with the
                                                                                   the
    veri cation of
    verification of the
                    the final
                          nal medical
                              medical diploma,
                                      diploma, final
                                                 nal medical
                                                     medical school
                                                              school transcript,
                                                                     transcript, and transcript(s)
                                                                                 and transcript(s)
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   to document
   to document transferred
                 transferred credits.
                             credits. If
                                      If your
                                         your medical
                                              medical school
                                                      school charges
                                                             charges aa fee
                                                                        fee for
                                                                            for the veri cation
                                                                                the verification
   of your
   of your diploma
           diploma and/or
                    and/or transcript, ECFMG will
                           transcript, ECFMG   will advise you to
                                                    advise you to contact  your medical
                                                                  contact your   medical school
                                                                                          school
   directly regarding
   directly regarding the fee and
                      the fee     the method
                              and the  method of
                                               of payment.
                                                  payment.

   If the
   If       nal medical
      the final medical school
                          school transcript
                                  transcript provided
                                              provided by   your medical
                                                         by your  medical school
                                                                           school is  not in
                                                                                   is not in English
                                                                                             English or
                                                                                                     or
   if an
   if an acceptable
         acceptable English
                       English translation  is not
                                translation is not provided
                                                    provided by   the medical
                                                               by the  medical school
                                                                               school atat the
                                                                                           the time of
                                                                                               time of
   veri cation, ECFMG
   verification,  ECFMG will     have the
                            will have the transcript
                                          transcript translated     into English
                                                       translated into   English by  an independent
                                                                                 by an  independent
   translation service,
   translation   service, will
                           will charge your ECFMG
                                charge your  ECFMG financial
                                                         nancial account
                                                                  account for
                                                                           for the
                                                                               the translation,  and
                                                                                   translation, and
   will notify
   will notify you
                you of
                     of the
                        the charge.  ECFMG will
                            charge. ECFMG      will not
                                                    not notify
                                                        notify you
                                                                you before  sending the
                                                                     before sending   the document
                                                                                           document for
                                                                                                      for
   translation. For
   translation.   For information
                      information on on the
                                        the translation   fee, see
                                            translation fee,   see the  Fees page
                                                                   the Fees  page in
                                                                                  in the  Resources
                                                                                      the Resources
   section of
   section   of the
                the ECFMG
                    ECFMG website.
                              website. See
                                        See Methods
                                             Methods of ofPayment
                                                           Payment in in Your ECFMG Financial
                                                                         Your ECFMG     Financial
   Account for
   Accountfor
   Account    for information
                  information on on how
                                    how to
                                         to make
                                            make aa payment
                                                     payment to    your ECFMG
                                                                to your  ECFMG financial
                                                                                    nancial account.
                                                                                             account.


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Related ECFMG
Related ECFMG Services
              Services
Con rming ECFMG
Confirming  ECFMG Certification
                    Certi cation to
                                 to Third
                                    Third Parties
                                          Parties I| Electronic
                                                     Electronic Residency Application Service
                                                                Residency Application Service (ERAS)
                                                                                              (ERAS) Support
                                                                                                     Support Services
                                                                                                             Services I|
J-1 Visa Sponsorship | ECFMG  Certi  cate Holders    Of
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Con rming ECFMG
Confirming ECFMG Certification
                 Certi cation to  Third Parties
                               to Third Parties

ECFMG’s Certification
ECFMG's    Certi cation Verification
                          Veri cation Service
                                        Service (CVS)
                                                (CVS) provides
                                                       provides primary-source
                                                                 primary-source con    rmation
                                                                                  confirmation
of the
of     ECFMG certi
   the ECFMG            cation status
                 certification status of
                                      of international
                                         international medical
                                                        medical graduates.
                                                                 graduates. The
                                                                             The Joint
                                                                                 Joint
Commission, the
Commission,        organization that
               the organization   that evaluates
                                       evaluates and
                                                  and accredits
                                                       accredits U.S.
                                                                 U.S. health
                                                                      health care organizations
                                                                             care organizations
and programs,
and              has determined
     programs, has   determined that    direct verification
                                   that direct veri cation with
                                                            with ECFMG
                                                                 ECFMG of of a physician’s
                                                                             a physician's
certi  cation status
certification status satisfies
                      satis es The
                               The Joint
                                    Joint Commission's
                                          Commission’s requirement
                                                          requirement for
                                                                        for primary-source
                                                                            primary-source
veri cation of
verification of medical
                medical school
                          school completion   for graduates
                                 completion for   graduates of
                                                             of international
                                                                international medical
                                                                               medical schools.
                                                                                       schools.

ECFMG will
ECFMG     will con  rm your
               confirm your certi   cation status
                            certification  status when
                                                  when aa request
                                                           request isis received
                                                                        received from
                                                                                  from a  U.S.
                                                                                        a U.S.
medical licensing
medical             authority, residency
         licensing authority,  residency program,
                                           program, hospital,
                                                     hospital, or
                                                                or other
                                                                   other organization
                                                                           organization that,
                                                                                         that, in
                                                                                               in
the judgment of
the judgment    of ECFMG,
                   ECFMG, has
                            has a  legitimate interest
                                 a legitimate interest in
                                                       in such
                                                          such information.
                                                                 information. For
                                                                                For status
                                                                                    status reports
                                                                                           reports
sent to
sent     medical licensing
      to medical  licensing authorities,
                            authorities, the
                                          the request
                                              request can   also be
                                                       can also      made by
                                                                  be made       you. Requesting
                                                                             by you. Requesting
organizations must
organizations    must normally
                      normally secure
                                secure and
                                         and retain
                                             retain your
                                                    your signed
                                                          signed authorization
                                                                   authorization to   obtain
                                                                                   to obtain
certi  cation information.
certification  information. Please   note that
                            Please note   that there  may be
                                               there may   be aa fee
                                                                 fee for
                                                                     for this  service.
                                                                          this service.

Requests  for con
Requests for         rmation must
              confirmation     must contain  your name,
                                    contain your  name, date  of birth,
                                                         date of        USMLE/ECFMG
                                                                 birth, USMLE/ECFMG
Identi cation Number,
Identification Number, and     name and
                           and name  and address
                                          address of
                                                  of the organization to
                                                     the organization   to which the
                                                                           which the
con   rmation should
confirmation  should be    sent. To
                        be sent. To obtain
                                    obtain the
                                           the appropriate  request form
                                               appropriate request   form or
                                                                           or to make an
                                                                              to make an on-
                                                                                         on-
line request, visit
line request, visit the  CVS section
                    the CVS   section of
                                      of the ECFMG website
                                         the ECFMG    website at
                                                              at www.ecfmg.org/cvs.
                                                                 www.ecfmg.org/cvs.
                                                                 www.ecfnng.org     is.
Con rmations are
Confirmations   are sent
                      sent to
                           to the
                              the requesting
                                  requesting organization
                                              organization within
                                                           within approximately
                                                                   approximately two    weeks.
                                                                                   two weeks.
Con rmations are
Confirmations   are not
                      not sent
                          sent to
                               to applicants directly.
                                  applicants directly.

If the
If     requesting organization
   the requesting organization requests
                                 requests to  receive aa paper
                                           to receive          report but
                                                         paper report     does not
                                                                      but does  not receive
                                                                                    receive the
                                                                                            the
report, ECFMG
report,  ECFMG will
                 will honor
                      honor requests
                            requests for
                                       for duplicate
                                           duplicate reports
                                                     reports at
                                                             at no
                                                                 no additional
                                                                    additional cost up to
                                                                               cost up to 90
                                                                                          90
days after
days  after the
            the date
                date that
                     that the original report
                          the original report was
                                               was processed.
                                                   processed.

If you
If you apply
        apply to residency programs
              to residency                through the
                              programs through        Electronic Residency
                                                  the Electronic               Application Service
                                                                    Residency Application  Service
(ERAS), ECFMG
(ERAS),   ECFMG will
                   will transmit
                        transmit an an electronic
                                       electronic ECFMG
                                                  ECFMG Status
                                                             Status Report
                                                                    Report automatically
                                                                            automatically to
                                                                                          to the
                                                                                             the
ERAS application,
ERAS    application, where
                     where it  it can
                                  can be
                                      be accessed
                                         accessed by all of
                                                  by all  of the
                                                             the programs
                                                                 programs to   which you
                                                                            to which you apply.
                                                                                         apply. If
                                                                                                If
your ECFMG
your   ECFMG certi     cation status
                certification    status changes during the
                                        changes during   the ERAS
                                                              ERAS application   season, ECFMG
                                                                     application season, ECFMG
will transmit
will           an updated
     transmit an  updated status
                              status report
                                      report automatically
                                             automatically to to the ERAS application,
                                                                 the ERAS  application, where
                                                                                        where it
                                                                                               it
can
can be   accessed by
     be accessed       all of
                   by all  of the
                              the programs
                                   programs to  which you
                                             to which you apply.
                                                             apply.




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Related ECFMG
Related ECFMG Services
              Services
Con rming ECFMG
Confirming  ECFMG Certification
                    Certi cation to
                                 to Third
                                    Third Parties
                                          Parties I| Electronic
                                                     Electronic Residency Application Service
                                                                Residency Application Service (ERAS)
                                                                                              (ERAS) Support
                                                                                                     Support Services
                                                                                                             Services I|
J-1 Visa Sponsorship | ECFMG  Certi  cate Holders    Of
J-1Visa Sponsorship I ECFMG Certificate Holders Office   ce


Electronic Residency
Electronic Residency Application
                     Application Service (ERAS®) Support
                                 Service (ERAS®) Support Services
                                                         Services

The Accreditation
The  Accreditation Council
                    Council for
                             for Graduate
                                 Graduate Medical    Education (ACGME)
                                           Medical Education     (ACGME) requires
                                                                           requires that
                                                                                     that
international medical
international   medical graduates
                        graduates who   wish to
                                   who wish     enter ACGME-accredited
                                             to enter  ACGME-accredited graduate
                                                                             graduate medical
                                                                                       medical
education programs
education    programs in
                      in the United States
                         the United  States be
                                            be certi  ed by
                                               certified    ECFMG. ECFMG
                                                         by ECFMG.    ECFMG Certification
                                                                                Certi cation
does not,
does   not, however,
            however, guarantee
                     guarantee that
                                that an
                                     an international
                                        international medical
                                                       medical graduate
                                                                 graduate will
                                                                           will be accepted
                                                                                be accepted
into aa graduate
into    graduate medical
                 medical education   program; the
                          education program;       number of
                                               the number    of applicants
                                                                applicants for
                                                                           for residency
                                                                                residency and
                                                                                          and
fellowship programs
fellowship             each year
             programs each  year exceeds
                                  exceeds the number of
                                          the number    of available
                                                           available positions.
                                                                     positions.

The Association
The Association of
                 of American
                     American Medical
                               Medical Colleges
                                         Colleges (AAMC)
                                                  (AAMC) established
                                                            established the  Electronic
                                                                        the Electronic
Residency  Application Service
Residency Application    Service (ERAS)
                                 (ERAS) to
                                         to allow
                                            allow medical
                                                  medical students
                                                           students and  graduates to
                                                                     and graduates  to apply
                                                                                        apply
electronically for
electronically for residency
                   residency positions  in accredited
                              positions in            U.S. programs
                                           accredited U.S. programs ofof graduate
                                                                         graduate medical
                                                                                   medical
education. Most
education. Most U.S.   graduate medical
                  U.S. graduate  medical education
                                          education programs
                                                    programs participate    in ERAS.
                                                                participate in ERAS. If
                                                                                     If you
                                                                                        you
apply to
apply to participating  programs, you
         participating programs,   you must
                                       must submit
                                             submit your
                                                    your residency
                                                          residency application
                                                                      application using
                                                                                  using ERAS.
                                                                                         ERAS.

Since ERAS
Since ERAS was
             was established,
                 established, ECFMG
                               ECFMG has has served
                                             served as the designated
                                                    as the designated Dean's
                                                                        Dean’s office
                                                                               of ce for
                                                                                      for
students and
students and graduates
              graduates of
                         of international
                            international medical
                                            medical schools,
                                                    schools, assisting
                                                             assisting these individuals with
                                                                       these individuals  with
the ERAS application
the ERAS   application process  for first-
                       process for    rst- and
                                           and second-year
                                               second-year (PGY-1
                                                            (PGY-1 and
                                                                    and PGY-2)  residency
                                                                         PGY-2) residency
positions.
positions.

International medical
International medical students
                      students and
                                 and graduates
                                     graduates who
                                                who apply
                                                     apply to
                                                            to programs   that participate
                                                               programs that   participate in
                                                                                           in
ERAS must
ERAS   must request
            request an
                    an ERAS
                       ERAS Token,
                              Token, a  unique identification
                                      a unique identi cation number,
                                                              number, from
                                                                        from ECFMG.
                                                                              ECFMG. The
                                                                                       The
Token allows
Token         applicants to
       allows applicants to access  AAMC’s MyERAS
                            access AAMC's              website, where
                                             MyERAS website,    where they
                                                                        they can
                                                                              can complete
                                                                                  complete
their residency application,
their residency application, select
                             select the
                                    the programs
                                        programs to  which they
                                                  to which  they will
                                                                  will apply,
                                                                       apply, and assign
                                                                              and assign
supporting documents
supporting             to these
            documents to   these programs.
                                 programs.

As the
As      designated Dean's
   the designated     Dean’s office,
                               of ce, ECFMG
                                      ECFMG receives
                                                receives supporting
                                                         supporting documents
                                                                     documents for for the
                                                                                       the ERAS
                                                                                           ERAS
application, such
application,  such asas medical
                        medical student
                                  student performance    evaluations (MSPEs),
                                           performance evaluations    (MSPEs), medical
                                                                                 medical school
                                                                                           school
transcripts, and photographs
transcripts, and   photographs fromfrom applicants
                                         applicants and
                                                    and their  medical schools.
                                                         their medical  schools. ECFMG
                                                                                  ECFMG thenthen
transmits
transmits these    documents to
           these documents       to the
                                    the ERAS
                                        ERAS application.
                                               application. ECFMG
                                                            ECFMG also
                                                                     also transmits
                                                                          transmits toto the
                                                                                         the ERAS
                                                                                              ERAS
application the
application  the applicant's
                  applicant’s ECFMG
                                ECFMG Status
                                          Status Report,  which includes
                                                 Report, which  includes the  applicant’s ECFMG
                                                                          the applicant's   ECFMG
certi  cation status
certification  status and,
                       and, if
                            if requested
                               requested byby the
                                              the applicant, his/her USMLE
                                                  applicant, his/her           transcript. Once
                                                                     USMLE transcript.     Once
supporting documents
supporting                have been
             documents have             received by
                                  been received   by the ERAS application,
                                                     the ERAS  application, they
                                                                             they can
                                                                                   can be  accessed
                                                                                        be accessed
by
by the  programs to
   the programs        which the
                    to which   the applicant  has applied.
                                    applicant has applied.


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For detailed,
For detailed, up-to-date
              up-to-date information
                         information on
                                     on ERAS
                                        ERAS Support
                                             Support Services
                                                     Services at
                                                              at ECFMG,
                                                                 ECFMG, visit
                                                                        visit the ERAS
                                                                              the ERAS
section of
section of the ECFMG website
           the ECFMG           at www.ecfmg.org/eras.
                       website at www.ecfnng.orger .
                                  www.ecfmg.org/eras.

   Important Note
   Important  Note About
                     About U.S.
                           U.S. State
                                State Medical
                                      Medical Licensure
                                              Licensure Requirements:
                                                         Requirements: InIn the United
                                                                            the United
   States, medical
   States, medical licensure requirements vary
                   licensure requirements  vary by individual state
                                                by individual state medical
                                                                    medical licensing
                                                                            licensing
   authorities. You
   authorities. You should
                    should be aware that:
                           be aware  that:

     A training
   • A          or restricted
       training or restricted license
                              license may
                                      may be  required to
                                           be required to participate
                                                          participate in
                                                                       in programs
                                                                          programs of
                                                                                    of graduate
                                                                                        graduate
     medical education.
     medical              Participants in
              education. Participants  in graduate
                                          graduate medical
                                                    medical education
                                                            education programs     may also
                                                                        programs may     also be
                                                                                              be
     required to
     required     obtain an
               to obtain an unrestricted
                            unrestricted medical
                                          medical license
                                                  license by
                                                          by aa certain point in
                                                                certain point in their
                                                                                 their training in
                                                                                       training in
     order to
     order  to progress in the
               progress in the program.
                               program.
     Some states
   • Some  states have
                  have established
                       established additional
                                      additional criteria
                                                    criteria with
                                                             with respect
                                                                  respect to international medical
                                                                          to international  medical
     schools for
     schools for the
                 the purpose
                     purpose ofof eligibility for licensure.
                                  eligibility for licensure. When
                                                              When you
                                                                     you plan
                                                                         plan to  apply to
                                                                               to apply    residency
                                                                                        to residency
     programs,  consult the
     programs, consult  the state's
                             state’s medical
                                     medical licensing
                                               licensing board
                                                           board to  determine if
                                                                  to determine  if graduates
                                                                                   graduates of
                                                                                             of your
                                                                                                your
     medical school
     medical school are  eligible for
                     are eligible for licensure
                                      licensure inin that
                                                      that state.
                                                           state.
     If you
   • If you are
            are certi  ed by
                certified    ECFMG based
                          by ECFMG   based onon former
                                                 former medical
                                                           medical science
                                                                    science exams
                                                                            exams (such
                                                                                  (such as
                                                                                        as the Visa
                                                                                           the Visa
     Qualifying  Examination [VQE]
     Qualifying Examination    [VQE] or
                                      or the
                                         the Foreign
                                              Foreign Medical
                                                         Medical Graduate   Examination in
                                                                   Graduate Examination  in the
                                                                                            the
     Medical  Sciences [FMGEMS]),
     Medical Sciences                 you should
                         [FMGEMS]), you    should be    aware that
                                                   be aware    that these
                                                                     these exams may not
                                                                           exams may not be
                                                                                          be
     acceptable  for the
     acceptable for   the purpose of eligibility
                          purpose of eligibility for
                                                 for aa training
                                                        training license.
                                                                 license.

   ECFMG does
   ECFMG     does not
                   not create
                       create or
                               or control
                                  control the
                                           the medical
                                               medical licensure
                                                        licensure requirements
                                                                     requirements for  for any
                                                                                           any
   jurisdiction and
   jurisdiction       does not
                 and does   not create
                                create or
                                        or control
                                           control the  eligibility requirements
                                                    the eligibility  requirements for  for any
                                                                                           any
   graduate medical
   graduate   medical education
                        education program.     Additionally, ERAS
                                    program. Additionally,     ERAS does
                                                                      does not
                                                                            not preclude     any
                                                                                  preclude any
   students or
   students   or graduates
                 graduates from
                             from participating
                                   participating in
                                                  in ERAS,
                                                     ERAS, based
                                                             based onon their  eligibility for
                                                                        their eligibility   for
   licensure. Before
   licensure.  Before applying   to residency
                       applying to  residency programs
                                               programs in in aa given
                                                                 given state,
                                                                       state, it
                                                                              it is
                                                                                 is your
                                                                                    your responsibility
                                                                                          responsibility
   to become
   to          familiar with
      become familiar    with that
                              that state's
                                   state’s licensure  requirements and
                                           licensure requirements      and to
                                                                           to ensure
                                                                               ensure that    you meet
                                                                                         that you  meet
   any licensure
   any            requirements to
        licensure requirements       enter and
                                  to enter       complete residency
                                            and complete    residency training
                                                                        training inin that  state. For
                                                                                      that state.  For a
                                                                                                       a
   directory of
   directory  of U.S. state medical
                 U.S. state medical licensing   authorities, visit
                                     licensing authorities,  visit the
                                                                    the Federation
                                                                        Federation of  of State
                                                                                          State Medical
                                                                                                Medical
   Boards website.
   Boards   website.


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Related ECFMG
Related ECFMG Services
              Services
Con rming ECFMG
Confirming  ECFMG Certification
                    Certi cation to
                                 to Third
                                    Third Parties
                                          Parties I| Electronic
                                                     Electronic Residency Application Service
                                                                Residency Application Service (ERAS)
                                                                                              (ERAS) Support
                                                                                                     Support Services
                                                                                                             Services I|
J-1 Visa Sponsorship | ECFMG  Certi  cate Holders    Of
J-1Visa Sponsorship I ECFMG Certificate Holders Office   ce

J-1 Visa
J-1 Visa Sponsorship
         Sponsorship

Foreign national
Foreign   national physicians
                    physicians who    seek entry
                                 who seek    entry into
                                                    into U.S.
                                                         U.S. programs
                                                              programs ofof graduate
                                                                            graduate medical
                                                                                        medical
education or
education    or training  must obtain
                training must   obtain an
                                        an appropriate
                                            appropriate visa
                                                          visa that
                                                               that permits   clinical training
                                                                    permits clinical   training
activities. One
activities.       visa commonly
            One visa   commonly usedused by   foreign national
                                          by foreign   national physicians
                                                                physicians isis the
                                                                                the J-1,
                                                                                    J-1, aa temporary
                                                                                            temporary
nonimmigrant visa
nonimmigrant      visa reserved
                       reserved for
                                  for participants
                                      participants inin the Exchange Visitor
                                                        the Exchange   Visitor Program.
                                                                                Program. As  As a public
                                                                                                a public
diplomacy initiative
diplomacy    initiative of
                        of the
                           the U.S. Department of
                               U.S. Department      of State,
                                                       State, the Exchange Visitor
                                                              the Exchange    Visitor Program
                                                                                      Program was  was
established to
established   to enhance    international educational
                  enhance international     educational andand cultural
                                                               cultural exchange
                                                                        exchange between
                                                                                    between the the
people
people ofof the
            the United
                 United States
                         States and   other nations.
                                 and other   nations. In
                                                       In keeping  with the
                                                          keeping with        program's goals
                                                                         the program's     goals for
                                                                                                  for
international education,
international    education, exchange     visitor (J-1)
                             exchange visitor    (J-1) physicians  are required
                                                       physicians are  required toto return
                                                                                     return home
                                                                                               home for
                                                                                                      for
at least
at       two years
   least two   years following
                      following their  training before
                                 their training  before being
                                                          being eligible for certain
                                                                eligible for certain U.S.    visas.
                                                                                      U.S. visas.

The U.S.
The   U.S. Department
           Department of  of State
                             State has
                                    has designated
                                         designated ECFMG
                                                       ECFMG as as the  visa sponsor
                                                                   the visa  sponsor for
                                                                                       for all
                                                                                           all exchange
                                                                                               exchange
visitor (J-1)
visitor (J-1) physicians
               physicians who
                            who participate    in clinical
                                  participate in           training programs.
                                                  clinical training              ECFMG sponsorship
                                                                    programs. ECFMG       sponsorship
is also
is also available
        available for
                    for physicians’  eligible dependents.
                        physicians' eligible  dependents. As  As the
                                                                 the visa
                                                                     visa sponsor,
                                                                           sponsor, ECFMG
                                                                                     ECFMG
processes    applications for
processes applications      for J-1 visa sponsorship
                                J-1visa   sponsorship and,
                                                         and, for
                                                              for eligible
                                                                  eligible applicants,
                                                                            applicants, issues
                                                                                        issues aa
document that
document           the applicant
              that the applicant can    use to
                                   can use  to apply   for the
                                                apply for  the J-1 visa. ECFMG
                                                               J-1visa.  ECFMG is is responsible
                                                                                     responsible for
                                                                                                   for
ensuring that
ensuring         exchange visitor
            that exchange    visitor (J-1)
                                     (J-1) physicians   and host
                                           physicians and    host institutions
                                                                  institutions meet
                                                                                meet the   federal
                                                                                       the federal
requirements for
requirements     for participation
                      participation throughout
                                      throughout thethe duration
                                                         duration of
                                                                   of sponsorship.
                                                                      sponsorship. ECFMG
                                                                                     ECFMG does does not
                                                                                                     not
sponsor physicians
sponsor    physicians for
                        for other
                            other U.S.  visa types.
                                   U.S. visa types.

All initial
All initial applicants
            applicants for
                        for ECFMG
                            ECFMG J-1   sponsorship are
                                     J-1sponsorship     advised that
                                                    are advised   that sponsorship
                                                                       sponsorship eligibility
                                                                                    eligibility
should not
should   not be  presumed and
             be presumed     and cannot
                                  cannot be determined until
                                         be determined until aa complete  review of
                                                                complete review  of an
                                                                                    an
individual’s U.S.
individual's       visa history
              U.S. visa  history has
                                 has been conducted.
                                     been conducted.

For detailed,
For detailed, up-to-date
              up-to-date information
                         information on
                                     on J-1
                                        J-1 visa
                                            visa sponsorship
                                                 sponsorship by   ECFMG, visit
                                                               by ECFMG, visit the
                                                                               the
Exchange Visitor
Exchange  Visitor Sponsorship
                  Sponsorship Program
                               Program (EVSP)
                                        (EVSP) section
                                                section of
                                                        of the ECFMG website
                                                           the ECFMG  website atat
www.ecfmg.org/evsp.
www.ecfmg.org/evsp.
www.ecfnng.org     tsp.

    Important Note:
    Important   Note: Foreign
                       Foreign national
                                national physicians who are
                                         physicians who  are international
                                                             international medical
                                                                           medical graduates
                                                                                    graduates
    and are
    and  are seeking
             seeking ECFMG
                      ECFMG J-1    visa sponsorship
                               J-1visa  sponsorship to
                                                    to enroll in graduate
                                                       enroll in graduate medical
                                                                          medical education
                                                                                   education
    programs must,
    programs   must, among
                      among other
                             other requirements,
                                    requirements, have
                                                   have passed   USMLE Step
                                                        passed USMLE    Step 1
                                                                             1 and  Step 2
                                                                               and Step  2 CK;
                                                                                           CK;
    or the
    or     former Visa
       the former   Visa Qualifying
                         Qualifying Examination
                                     Examination (VQE),
                                                  (VQE), National
                                                         National Board
                                                                   Board of
                                                                         of Medical  Examiners
                                                                            Medical Examiners
    (NBME) Part
    (NBME)    Part 1
                   1 and Part 2,
                     and Part 2, or
                                 or Foreign
                                    Foreign Medical
                                            Medical Graduate
                                                     Graduate Examination
                                                                Examination in
                                                                            in the Medical
                                                                               the Medical
    Sciences (FMGEMS)
    Sciences  (FMGEMS) examinations;
                          examinations; oror an
                                             an acceptable
                                                acceptable combination
                                                           combination thereof.   The former
                                                                         thereof. The former

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   one-day ECFMG
   one-day ECFMG Examination
                    Examination and
                                and three-day  Federation Licensing
                                    three-day Federation  Licensing Examination
                                                                    Examination (FLEX)
                                                                                (FLEX)
   do not
   do not meet
          meet the
               the requirements
                   requirements for
                                for J-1 visa sponsorship.
                                    J-1visa  sponsorship.


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Related ECFMG
Related ECFMG Services
              Services
Con rming ECFMG
Confirming  ECFMG Certification
                    Certi cation to
                                 to Third
                                    Third Parties
                                          Parties I| Electronic
                                                     Electronic Residency Application Service
                                                                Residency Application Service (ERAS)
                                                                                              (ERAS) Support
                                                                                                     Support Services
                                                                                                             Services I|
J-1 Visa Sponsorship | ECFMG  Certi  cate Holders    Of
J-1Visa Sponsorship I ECFMG Certificate Holders Office   ce

ECFMG Certificate
ECFMG Certi cate Holders
                  Holders Office
                          Of ce

The ECFMG
The ECFMG Certificate
             Certi cate Holders
                        Holders Of
                                Office (ECHOSM) provides
                                    ce (ECHOSM)  provides career
                                                          career planning resources for
                                                                 planning resources for
physicians
physicians pursuing ECFMG Certification
           pursuing ECFMG   Certi cation and
                                         and graduate
                                             graduate medical
                                                      medical education
                                                              education (GME)
                                                                        (GME) in
                                                                               in the
                                                                                  the
United States.
United States.

Be connected.
Be connected.

Use ECHO
Use ECHO to stay connected
         to stay           with ECFMG
                 connected with ECFMG and its expertise,
                                      and its expertise, programs, and services
                                                         programs, and services for
                                                                                for
international physicians.
international              ECHO also
               physicians. ECHO   also provides
                                       provides connections
                                                 connections to information from
                                                             to information   from other
                                                                                    other
organizations and
organizations       experts. Through
                and experts. Through ECHO's
                                      ECHO's IIMG    Advisors Network
                                                MG Advisors   Network (IAN),
                                                                         (IAN), you
                                                                                you also
                                                                                    also can
                                                                                         can
connect   with ECFMG-certified
connect with   ECFMG-certi ed physicians
                                 physicians to
                                             to ask questions about
                                                ask questions about U.S.
                                                                     U.S. GME
                                                                           GME and
                                                                                 and about
                                                                                     about
living and working
living and working in
                    in the United States.
                       the United States. Subscribe
                                          Subscribe to  ECHO News,
                                                     to ECHO   News, aa free
                                                                        free e-newsletter,
                                                                             e-newsletter, to
                                                                                            to
receive updates
receive  updates on
                  on resources,
                     resources, important
                                important deadlines,
                                           deadlines, and
                                                       and more.
                                                           more.

Be heard.
Be heard.

Your ideas
Your ideas are
           are important
               important toto us. Let us
                              us. Let us know  what you
                                         know what   you think about ECHO
                                                         think about ECHO —    what you
                                                                            — what  you like,
                                                                                        like,
what you
what  you don't
          don’t like, what you
                like, what you want
                               want toto see
                                         see more
                                             more of,
                                                  of, what
                                                      what we
                                                            we can do to
                                                               can do    make ECHO
                                                                      to make  ECHO aa
better resource for
better resource   for ECFMG-certified
                      ECFMG-certi ed physicians.     Contact ECHO
                                         physicians. Contact ECHO using
                                                                    using our
                                                                          our feedback
                                                                              feedback
form.
form.

Be informed.
Be informed.

Successfully navigating
Successfully navigating the
                         the application
                             application process
                                         process for
                                                  for U.S. GME can
                                                      U.S. GME   can be dif cult. You
                                                                     be difficult. You need
                                                                                       need to
                                                                                             to
interact with
interact with multiple
              multiple organizations,
                       organizations, each  with its
                                       each with its own
                                                     own roles,
                                                          roles, requirements,
                                                                 requirements, processes,
                                                                                 processes,
and deadlines.
and deadlines. ECHO
               ECHO provides     resources that
                       provides resources  that you
                                                you can  use when
                                                     can use  when applying
                                                                    applying to
                                                                              to U.S.
                                                                                 U.S. GME
                                                                                      GME
programs
programs as  well as
          as well as resources
                     resources that
                                that address
                                     address the
                                             the practical
                                                 practical challenges   of relocating
                                                            challenges of  relocating to
                                                                                       to the
                                                                                          the
United States
United States and  adjusting to
              and adjusting  to the
                                the U.S.
                                    U.S. GME  and health
                                         GME and   health care  systems.
                                                           care systems.

For more
For more information,
         information, visit
                      visit the
                            the ECHO
                                ECHO section
                                     section of
                                             of the ECFMG website
                                                the ECFMG website at
                                                                  at
www.ecfmg.org/echo.
www.ecfmg.org/echo.
               echo.


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               ECFMG   Medical
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                                                                                                   Appendix J



             University of Science, Arts & Technology (USAT), Montserrat
             Not Accredited


              June 2012 Determination: Not Accredited

              Following the submission of documents to the CAAM-HP — unsolicited — and a request for
              accreditation, a visit was carried out in October 2011. Team members were:

                 1. Professor Renn Holness
                 2. Dr. Rhonda Sealey-Thomas

             Decision:       The CAAM-HP at its meeting held June 22-23, 2012 received and considered the
                             report of reviewers Professor Renn Holness and Dr Rhonda Sealey-Thomas on
                             the site visit of October 7, 2011 to the campus of the University of Science, Arts
                             and Technology (USAT) in Montserrat.

                             Following discussions of the reviewers' report CAAM-HP    -HP determined that the
                             school had not provided sufficient evidence to indicate that teaching activities
                             were actually taking place in Montserrat. Furthermore, CAAM-HP'
                                                                                     CAAM-                  ments
                                                                                                   s requirements
                             for adequate resources had not been satisfied. Consequently, CAAM-HP
                             determined that there was not sufficient evidence to merit reversal of its initial
                             decision of May 2007 not to grant initial provisional accreditation to USAT.




              February 2007 Determination: Not Accredited
                                               Accredited
              Application for initial provisional accreditation was received from the University of Science,
              Arts and Technology (USAT) for the establishment of an offshore medical school on the island
              of Montserrat. In February 2007, a review was done by the following persons:

                 1.   Dr. David Hawkins
                 2.   Dr. George Mahy
                 3.   Professor Phyllis Pitt-Miller

             Decision:       The CAAM-HP after examination of the reports determined that it could not grant
                             provisional accreditation for the programme as presented.




                                                                          www.caam-hp.org/assessedprogrammes.html


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                                           of the ECFMG Medical Education Credentials Committee - C. USAT REVIEW                                JA0091
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                     2018 University of Science, Arts and Technology




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           Location =                                Miami,
                                                     Miami, FL Location == m
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                                                                                                            Dallas, TX Location
                                                                                                                       Location == dd
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                           Westshore                 Hilton Garden
                                                     Hilton Garden Miami
                                                                   Miami Airport
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 Tampa, FL
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                                                                                                            Grapevine, TX 76051
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 Reservations: 813-879-480
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     **The Tampa site
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                       in January
                          January will
                                  will be at the
                                       be at the Hilton
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                                                                   2225 N.
                                                                        N. Lois Ave (813)877-6688**
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      **There
      **There is
              is NO Anatomy Lab
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                                  in May**
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     **The Tampa site
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                  site in September will
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           Class times
           Class times are: Thursday 1300
                       are: Thursday 1300 -1800
                                          - 1800 // Friday
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                                                                                    Appendix 5


  From: REDACTED
  Sent: Wednesday, August 08, 2018 3:32 PM
  To: Info
  Subject: Medical Scool in Montserrat

  External Email. Please Proceed with Caution.


  Dear Sirs


  I have been in contact with USAT a medical university in Montserrat that is currently
  conducting classes in Miami. I have been told that USAT is approved to hold classes in
  Miami because of the volcano in Montserrat. I would like something in writing from the
  ECFMG that states my son will be eligible to take the USMLE exams if he attends
  USAT in Miami.

  Regards

  REDACTED




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                                                                                     01/16/2020
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                                                                                             5E0,0093
                                                                                             554

                                                                                                     Appendix 1


  From: Ostwalt, Cally [mailto:Cally.Ostwaltafldoe.orq]
                       [mailto:Cally.Ostwalt@fldoe.org]
  Sent: Tuesday, August 14, 2018 11:12 AM
  To: Mealey, Scott
  Cc: Collins, Sara <Sara.Collins@fldoe.org>
  Subject: RE: question about foreign medical schools having a US campus in FL

  External Email. Please Proceed with Caution.

  Hello Mr. Mealey,
  Hello Mr. Mealey,

  The matter
  The  matter has
               has been
                    been brought to CIE's
                         brought to CIE’s attention.
                                          attention. II am
                                                        am including
                                                            including Mrs.  Sara Collins
                                                                      Mrs. Sara  Collins on
                                                                                         on this
                                                                                            this e-mail
                                                                                                 e-mail as
                                                                                                        as Mrs.
                                                                                                           Mrs.
  Collins is the
  Collins is the primary contact regarding
                 primary contact            foreign medical
                                 regarding foreign  medical schools/clinical    clerkships in
                                                               schools/clinical clerkships in Florida.
                                                                                              Florida. She
                                                                                                       She is
                                                                                                           is
  aware of
  aware   of the
             the concern
                 concern and
                         and is
                             is continuing
                                continuing to
                                            to address
                                               address the
                                                         the matter.
                                                             matter. Please
                                                                     Please direct   any further
                                                                             direct any  further questions
                                                                                                 questions toto her
                                                                                                                her
  attention.
  attention.

  Regards,
  Regards,


  Cally
  CALLy Ostwalt
        0S4Wa1.4-
        0S4Watik
  Program Specialist
  Program   Specialist IV
                       IV
  Commission   for Independent
  Commission for   Independent Education
                               Education
  P: 850.245.3200
  P: 850.245.3200
  F:
  F: 850.245.3233
     850.245.3233
  E: cally.ostwalt@fldoe.org
  E: callv.ostwalt@fldoe.org

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          )1;tos.a.m.
                )UCATIO          .




  Please note that Florida has a very broad public records law. Most written communications to or from
  state officials are public records available to the public and media upon request.

  From: Mealey,
  From:  Mealey, Scott
                 Scott [mailto:SMealey@ECFMG.org]
                       [mailto:SMealev@ECFMG.org]
                       [mailto:SMealey@ECFMG.org]
  Sent: Tuesday,
  Sent: Tuesday, August
                 August 14,
                          14, 2018  8:00 AM
                              2018 8:00  AM
  To: Ostwalt,
  To: Ostwalt, Cally
               Cally <Cally.Ostwalt@fldoe.org>
                     <Cally.Ostwalt@fldoe.org>
  Subject: RE:
  Subject: RE: question about foreign
               question about   foreign medical schools having
                                        medical schools having aa US
                                                                  US campus
                                                                     campus in
                                                                            in FL
                                                                               FL

  Ms.  Ostwalt -—
  Ms. Ostwalt    – II am
                      am wondering
                         wondering ifif II should
                                           should forward
                                                   forward this
                                                           this matter
                                                                matter to
                                                                       to the
                                                                          the U.S.   Department of
                                                                               U.S. Department    of Education.
                                                                                                     Education. We
                                                                                                                We
  are still
  are still hearing   from parents
             hearing from           of USAT
                           parents of          students that
                                        USAT students    that the
                                                              the school
                                                                  school is
                                                                         is telling
                                                                            telling them
                                                                                    them USAT   is approved
                                                                                          USAT is  approved to
                                                                                                             to hold
                                                                                                                hold
  classes
  classes inin Miami
               Miami because   of the
                       because of the volcano
                                        volcano inin Montserrat
                                                     Montserrat many   years ago.
                                                                 many years   ago. II know of no
                                                                                      know of     such authorization.
                                                                                              no such  authorization.

  Please
  Please let me know
         let me      the status.
                know the status.

  Best
  Best regards,
       regards,

  D. Scott Mealey,
  D. Scott         CPMSM, CPCS
           Mealey, CPMSM,  CPCS
  Manager
  Manager
  Medical  Education Resources
  Medical Education  Resources &
                               & Operations Support
                                 Operations Support




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  Educational Commission
  Educational Commission for
                         for Foreign
                             Foreign Medical Graduates
                                     Medical Graduates
   Se• ECFMG
  3624 Market
  3624  Market Street
                Street
  Philadelphia, PA,
  Philadelphia, PA, USA 19104
                    USA 19104
  (T) 001-215-823-2285
  (T) 001-215-823-2285
  (F) 001-215-386-9767
  (F) 001-215-386-9767
  SMealey@ECFMG.org
  SMealev@ECFMG.orig
  SMealev@ECFMG.ong

  From: Cetwalt,
        Odralt, CaIly imaitgicalasiskiNcloesgsd
                      inEultgicalasktralL211§1onl
  Sent Monday, August 14, 2017 11:52 AM
              Scott
  To: Mealey, Sot
                                      medical schools having a US campus In FL
  Subject: RE: question about foreign mecical

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                  links.

  Mr. Meaky,
      Mealey,

                                                    CIE’s attention. This matter is being
  Thank you for bringing the operations of USAT to CIE's
  looked into by the Commission for any violation of Florida law.



  Cally
  Ca d Ostwalt
        0S4W19-fr
  Program Specialist IV
  Commission for Independent Education
  P: 850.245.3200
  F: 850.245.3233
  E: atlly.
  F: cally.ostwalt@fldoe.org
     cally.ostwaltifldoe.org
            ostwalt fldoe. or g

            FLORIDA DEPARTMENT 01

            EDUCATION
                   Maas




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                                     available to the pubic  and media upon
                                                      public axi       upon, request
                                                                              request.

  From: Mealey,
  From: Mealey, Scott
                 Scott [mailto:SMealey@ECFMG.org]
                       fmaittoSMealev@ECFMG.onal
                       fmaittoSMealey@ECFMG.onal
  Sent: Monday,
  Sem:
  Sent           August 14,
        Monday, August    14, 2017
                              2017 10;47
                                    10:47 AM
                                          AM
  To: Ostwalt,
  To: Ostwalt, Calty
               Cally <Calhr.OstwaftWIdoe.orso.
                     <Cally.Ostwalt@fldoe.org>
                     <Calhr.Ostwaft@ificloe.orscx
  Subject: RE:
  Subject:     question about
           RE: question about fore-
                                foreign medical schools
                                     on medical
                                foreign          schools having
                                                         having aa US campus in
                                                                   US campus in FL
                                                                                FL

  Hello Ms. Oswalt
  Hello Ms. Ostwalt —arty
            Ostwalt – any update?
                    —any  update?

  From: Cstwatt,
        Ostwatt, CIlyDealtgaCalyaal
                 Gilty [1na16o:Calv.Oslwaltfifldoe.on2]
  Sent Monday, July 31, 2017 10:12AM
                              10:12 AM
      Monkey, Scott
  To: Mealey, Sat
  Subject
  Subject: RE: question about foreign mecical                            ki FL
                                      medical schools having a US campus II




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      Case  19-2706 Document:
           2:18-cv-05540-WB               45-2 31-4
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                                                                  05/03/19
           aatrrqvAIW4fikliMedi;19ktfaiNte#6WIltiaEiigarQUM-RisRratteli9fii
            Meeting of the ECFMG Medical Education Credentials Committee
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                                                                         - C. USAT REVIEW     JA0095
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  clicking on any links.


  Mr. Mealey,

  I will need to discuss this with my supervisor. He is out of the office until next week.
  However, I will get back to you once I am able to speak with himhim.


  Cally
  CALLy Ostwalt
        OS4Watik
  Program Specialist IV
  Commission for Independent Education
  P: 850.245.3200
  F: 850.245.3233
  E: cally.ostwalt@fldoe.org

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            L DUCA! 10J:\.,1


  Please note that Florida has a very broad public records law. Most written communications to or from
  state officials are public records available to the public and media upon request.




  From: Mealey,
  From:  Mealey, Scott
                 Scott [mailto:SMealey@ECFMG.org]
                        [mailto:SMealey@ECFMG.org]
                        [mailto:SMealev@ECFMG.org]
  Sent: Thursday,
  Sent: Thursday, July
                   July 20,
                        20, 2017 9:36 AM
                            2017 9:36 AM
  To: Ostwalt,
  To: Ostwalt, Cally
               Cally <Cally.Ostwalt@fldoe.ore
                     <Cally.Ostwalt@fldoe.org>
                     <Callv.Ostwalt@fldoe.org>
  Subject: RE:
  Subject: RE: question  about foreign
               question about   foreign medical schools having
                                        medical schools having aa US
                                                                  US campus
                                                                     campus in
                                                                            in FL
                                                                               FL

  We  are not
  We are   not sure
               sure what the operations
                    what the  operations are;
                                           are; that
                                                that isis what
                                                          what we thought should
                                                               we thought  should be  investigated if
                                                                                   be investigated  if such
                                                                                                       such aa thing
                                                                                                               thing
  is not allowed.
  is not allowed. We  think USAT
                   We think  USAT isis exploiting
                                       exploiting aa loophole  and stating
                                                     loophole and  stating the
                                                                           the main
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                                                                                     campus isis in
                                                                                                 in Montserrat,
                                                                                                    Montserrat,
  when   the vast
  when the   vast majority
                  majority of
                           of their
                              their operations
                                     operations (classes,
                                                 (classes, graduations)
                                                            graduations) are
                                                                         are in
                                                                             in FL.
                                                                                FL.

  From: Ostwalt, Cally [mailto:Cally.Ostwalt@fldoe.org]
  Sent: Monday, July 17, 2017 8:54 AM
  To: Mealey, Scott
  Subject: RE: question about foreign medical schools having a US campus in FL

  This Email originated from an external sender. Please proceed with caution opening any attachments and
  clicking on any links.


  Mr. Mealey,

                      “satellite campuses”.
  Please elaborate on "satellite campuses". In order to answer any questions you may have, I
  need clarification on what the operations in Florida are/would be.




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  Cally
  CALLy Ostwalt
  Co-Wj OS4Watik
  Program Specialist IV
  Commission for Independent Education
  P: 850.245.3200
  F: 850.245.3233
  E: cally.ostwalt@fldoe.org

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            FLORID/Pk DEPARDAFIIT
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  Please note that Florida has a very broad public records law. Most written communications to or from
  state officials are public records available to the public and media upon request.




  From: Mealey,
  From: Mealey, Scott
                 Scott [mailto:SMealey@ECFMG.org]
                       [mailto:SMealey@ECFMG.ord
  Sent: Monday,
  Sent: Monday, July
                 July 17,
                      17, 2017  8:44 AM
                          2017 8:44  AM
  To: Ostwalt,
  To: Ostwalt, CaIly
               Cally <Callv.Ostwalt@fldoe.org>
                     <Cally.Ostwalt@fldoe.org>
  Subject: RE:
  Subject: RE: question about foreign
               question about  foreign medical schools having
                                       medical schools having aa US
                                                                 US campus
                                                                    campus in
                                                                           in FL
                                                                              FL

  Hi Ms. Ostwalt,
  Hi Ms. Ostwalt,

  The school
  The school in in question
                   question does  not list
                             does not      an actual
                                      list an actual address
                                                      address in
                                                              in FL on their
                                                                 FL on their website.
                                                                             website. II did
                                                                                         did however find aa
                                                                                             however find
  business
  business license    and address
             license and  address from
                                   from the
                                         the DOS
                                              DOS website.   The school's
                                                    website. The  school’s website
                                                                           website mentions    they have
                                                                                   mentions they    have US
                                                                                                          US
  satellite campuses, and
  satellite campuses,    and videos
                              videos posted
                                     posted onon their
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                                                                                   classes and
                                                                                             and graduation
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  ceremonies
  ceremonies at  at the
                    the Intercontinental
                        Intercontinental hotel   in Miami.
                                           hotel in Miami.

  The school
  The  school is
              is the
                 the University
                     University of
                                of Science,
                                   Science, Arts
                                            Arts &
                                                 & Technology
                                                   Technology (USAT)
                                                              (USAT) from
                                                                     from Montserrat.
                                                                          Montserrat. Thanks
                                                                                      Thanks for
                                                                                             for looking
                                                                                                 looking
  into this.
  into this.

  Scott
  Scott

  From: Ostwalt, Cally [mailto:Cally.Ostwalt@fldoe.org]
                       [mailto:Cally.Ostwalt@fldoe.orq]
  Sent: Monday, July 17, 2017 8:29 AM
  To: Mealey, Scott
  Subject: RE: question about foreign medical schools having a US campus in FL

  This Email originated from an external sender. Please proceed with caution opening any attachments and
  clicking on any links.


  Good Morning Mr. Mealey,

  This e-mail is in response to your inquiring regarding having a satellite campus in Florida.
  Where is the school currently located? Can you provide more information on the institution's
                                                                                    institution’s




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  proposed operations for Florida? Is the institution planning to enroll students from Florida?
  Will there be any classrooms, programs offered, administrative functions, etc. at this
  proposed location? Please elaborate.

  Thank you,

  Cally
  Calls& Ostwalt
         Ostwait
         OSPiWtthi"
  Program Specialist IV
                      IV
  Commission for Independent Education
  P: 850.245.3200
  F: 850.245.3233
  E: cally.ostwah@lidoe.org
     cally.ostwalt@fldoe.org
     cally.ostwaltirWldoe.org



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  Please note
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                      public recants
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                                     available to the pubic                  request.

  From: Mealey,
  From:  Mealey, Scott
                  Scott <SMealeygtECFMG
                        <SMealey@ECFMG.org> ors?
  Sent: Thursday,
  Sent:            July 13,
        Thursday, July  13, 20173:48:26
                            2017 3:48:26 PM
                                         PM
  To: Smith,
  To: Smith, Joey
             Joey
  Subject: question
  Subject: question about
                     about foreign
                            foreign medical
                                    medical schools
                                            schools having
                                                    having aa US
                                                              US campus
                                                                 campus in
                                                                        in FL
                                                                           FL

  Hello Mr. Smith,
  Hello Mr. Smith,

  We are
  We  are inquiring
          inquiring if
                    if it
                       it were
                          were possible  for aa foreign
                                possible for    foreign medical school to
                                                        medical school to have
                                                                          have aa US satellite
                                                                                  US sate Hite campus in FL? If
                                                                                                         FL? If
  so, would
  so, would they
            they need
                  need to to be licensed in
                             be licensed in some
                                            some manner?
                                                   manner? aid
                                                            and how
                                                                 how would  that work?
                                                                     would that   work?

  Thank you
  Thank you for
            for any
                any information
                    information you
                                you can
                                    can provide.
                                        provide.

  Best regards,
  Best regards,

  Scott
  Scott
  D. Scott Mealey,
  D. Scott Mealey, CPMSM,
                   CPMSM, CPC
                           CPCS
  Manager
  Manage r
  Medical  Education Resources
  Medical Education  Resources &
                               & Operations
                                 Operations Support
                                            Support
  Educational Commission
  Educational Commission for
                          for Foreign
                              Foreign Medical Graduates
                                      Medical Graduates
        ECFMG
  3624 Market
  3624  Market Street
                Street
  Philadelphia, PA,
  Philadelphia, PA, USA 19104
                    USA 19104
  (T) 001-215-823-2285
  (T) 001-215-823-2285
  (F) 031-215-386-9767
  (F) 001-215-386-9767
  SMealey@ECFMG.org
  SMealev@ECFMG.org




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                           EDUCATIONAL COMMISSION FOR                                 9624
                                                                                      5024 Market Street
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  ECFMG'                   FOREIGN MEDICAL GRADUATES                                  Philedelphle PA 10104-26155
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                                                                                                      113104-21365 USA
                                                                                      216-3130-6910 215400-9707
                                                                                                       215-980-9707 Fax
                                                                                      erinv.admo.orp
                                                                                      vrinv.ecfmg.org




  August 21,, 2018

                                                   VIA EMAIL: usateduCgrnal.   can
                                                                usat.edu@gmail.com
  Orien Tulp, President
  Orion
  University of Science, Ms                (USAT) Faculty of Medicine
                         Arts & Technology (USAT)            Mediche
  Mari
  Man
  Main Campus
  S. Mayfield Estate Drive
  Olveston, MONTSERRAT
  Olvestcn,

  Dear Dr. Ttlp,
           Tulp,
           Tulip,

  It has recently cane
                  come to the attention of the Educational Commission for Foreign Medical
  Graduates (ECFMG) that USAT it  Si Montserrat is operatflg
                                 in                operating a satelite
                                                   cperatig              (or brand')
                                                               satellite (or traixii) campus ri
                                                                             branch)         Si
                                                                                             in
  Miami, Flath3.
         Florida.

  In order for students and graduates of an international medical schcol,
                                                                    school, such as USAT, to have
  eligibility
  el giciity                                                            ccnFrmat  'co from the
                                                        policy requires confmhation
     gt3iity to apply for ECFMG Certification, ECFMG polio"             confirmation
                                    Si the branch campus carry
  appropriate government authority ri
                                    in                                        traix:h
                                                             country that the traixii
                                                                              branch campus is
                                      schcol
                                       school ri
                                              in such traixii
  authorized to operate as a medical schcolimuch      traix:h
                                                      branch campus carry.
                                                                       country.

  In light of this, ECFMG requests that USAT provide documentation ham   from the United States
  Department of Education andlcr
                             and/or the Florida Department of Education confirming
                                                                          confirmrig that USArs
                                                                                          USAT’s
  Miami branch campus is authorized to operate as a medical sdicol
                                                                school in the United States. This
                                                                suhcol
  documentation shadd
  docunerrtatizn                           time period that the USAT Miami traixii
                   should cover the whole tine                               branch campus has
  been nri
        in operation.

  Thank you ri                                        nqury. Please provide this documentation
             Si advance for your assistance with this inquiry.
             in                                       nquly.
  by September 3, 2018. Feel free to contact me at mgay@AftisEg
                                                      mgaylIgKftisEg
                                                      smealey@ecfmg.org should you have any
  questions.

  Best Regards,


      Sratii         tif   f
                               ,.
                       C.;
                       (.;
  D. Scott !Maley,
           Mealey, CPCS, CPMSM
  Manager, Medical Education Resarces
                             Resources & Opera ticns Support
                                               ticns
                                         Operations




        ECFMG• Is an organization committed to promoting excellence In International medical educator.
                                                                                             education.



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                                                                                              Appendix E



            From: Orien Tulp [mailto:o.tulp@usat.edu]
            Sent: Tuesday, August 21, 2018 11:01 AM
            To: Mealey, Scott; Carla Konyk - Director/Student Accounts
            Subject: Re: ECFMG notice regarding U.S. satellite campus

            External Email. Please Proceed with Caution.

            Dear Mr Mealey

            This is incorrect information. The Miami location is an information and testing site only, where
            a pre-usmle examination [an NBME] may administered, and an Orientation for new students is
            conducted prior to their traveling to the Caribbean.. It is NOT a campus. Our ONLY Campus is
            located in Olveston, Montserrat, British West Indies. .

            Actually, recall that Montserrat is a volcanic Island, and the license issued to USAT in
            September, 2003 DOES actually permit the establishment of off-campus lecture and
            administrative sites as needed. USAT has students on island on a year round basis since its
            origination.

            I hope this will clarify your concern.

            Kindest Regards,


            Orien L Tulp, PhD, MD, FACN, CNS
            Professor and President
            USAT Motserrat


            Orien L Tulp, PhD, MD, FACN, CNS
            Professor and President
            USAT Montserrat
            www.usat.edu
            Cell: 727-252-6210

            On Tue, Aug 21, 2018 at 6:13 AM, Mealey, Scott <SMealey@ecfmg.org> wrote:

            Dr. Tulp,

            Please see the attached letter regarding the USAT U.S. satellite campus.

            Best regards,

            D. Scott Mealey, CPMSM, CPCS
            Manager
            Medical Education Resources & Operations Support
            Educational Commission for Foreign Medical Graduates




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                  ECFMG
             3624 Market Street
             Philadelphia, PA, USA 19104
             (T) 001-215-823-2285
             (F) 001-215-386-9767
             SMealey@ECFMG.org

             Disclaimer
             The information
             The  information contained
                                contained in
                                           in this
                                              this communication
                                                   communication from         ECFMG® /
                                                                       from ECFMG®         Educational Commission
                                                                                         / Educational   Commission for for Foreign
                                                                                                                            Foreign
             Medical Graduates
             Medical    Graduates is is confidential.
                                        confidential. It
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             If you
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  From: REDACTED
  Sent: Wednesday, August 22, 2018 11:33 AM
  To: Mealey, Scott
  Subject: Re: RE: FW: REDACTED

  External Email. Please Proceed with Caution.


  Hello
  Hello Scott,
        Scott,
  Here
  Here is  the latest
        is the        release from
               latest release from the President of
                                   the President of USAT:
                                                    USAT:

  <carla.konyk@gmail.com>
  <carla. konyk@gmail.com>

  Please do
  Please     NOT use
          do NOT  use the phrase "CAMPUS'
                      the phrase   "CAMPUS' WHENWHEN REFERRING
                                                      REFERRING TO   TO THE
                                                                        THE
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                                                           the ECFMG   that
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                                 pre-USMLE proctored
                                               proctored examinations.
                                                          examinations.


  Orien
  Orien L  Tulp, PhD,
         L Tulp, PhD, MD,  FACN, CNS
                       MD, FACN, CNS
  Professor and
  Professor  and President
                  President
  USAT
  USAT Montserrat
         Montserrat
  www.usat.edu
  www.usat.edu
  Cell:
  Cell: 727-252-6210
        727-252-6210


  They refer
  They refer to  all the
              to all the sites
                         sites as
                               as campuses
                                  campuses (Tampa,
                                              (Tampa, Miami     and Dallas).
                                                          Miami and  Dallas). These
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  are called lecture
  are called lecture sites
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                            where students    attend from
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                                    EDUCATIONAL COMMISSION FOR                                    5624 Market Street
             ECFMG
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                                                                                                                 215-S813-9767 Fax
                                                                                                 inAtacfmg.org
                                                                                                 WilAtactrnp.ore


             VIA E-MAIL:
             VIA E-MAIL: usatedufteamal.com
                         usat.edu@gmail.com
                         useLOCIUgteamEll.COIn

             September 14, 2018

             Orien Lee Tulp, PhD, CNS
             President and Dean of Academic Affairs
             University of Science, Arts & Technology (USAT) Faculty of Medicine
             Rain
             Main Campus
             S. Mayfield Estate Drive
             Olveston
             MONTSERRAT


             Dear Dr. Tulp:

                                blow-up
                                follow-up to our August 21, 2018 letter in which ECFMG requested information
                      This is a blowup
             from you about the University of Science, Arts  Ads & Technology (USAT) Faculty of Medicine's
                                                                                                       Medicine’s
             satellite (or branch) campus in Mimi,
                                               Miami, FL. In response, you indicated, “The
                                                                                        The Miami bcation
                                                                                                    location is an
             information and testing site only, where a pre-usmle examination [an NENE]
                                                                                      NBMEI
                                                                                      NBME] may administered,
             and an Orientation for new students is  S conducted prior to then
                                                                           their traveling to the Caribbean. It is
                                                                           thee-
             NOT a campus. Our ONLY Campus is boated  located in °Weston,
                                                                 Olveston, Montserrat
                                                                            Montserrat, British West Indies.'
                                                                                                      Indies.” We
             thank you for your quick reply.

                     ECFMG has since received information that USAT is providing medical education
             lectures not only at its Miami site, but also at sites in Tampa, FL, and Dales,
             lacks-es                                                                 Dallas, TX.

                     It is critical that ECFMG ensue
                                               ensure that information regarding international medical schools
                   their students provided to ECFMG complies with ECFMG policies and requiements.
             and then
                   thee-                                                                         requirements.
             Therefore, ECFMG continues its review of this matter. This letter is to advise you that, as part of
             its review, ECFMG has reached out to students and graduates of USAT in cider      order to colect
                                                                                                         collect
             information from them regarding Dior
                                               their attendance at USAT.
                                               thee-

                     Effective today, USAT students and graduates seeking services related to ECFMG
             Certification, including registration for USMLE examinations, release of USMLE scores,
             issuance of an ECFMG Certificate, or issuance of ECFMG Certification Status Reports to
             residency programs, must complete and submit an affidavit attesting to the acasacy
                                                                                              accuracy of the
             medical school information provided to ECFMG. Services wi will not be provided to individuals who
             do not complete the affidavit
                                    affidavit. ECFMG has provided instructions about this process directly
                                                                                                     drectly to
             the students and graduates.

                            your students and graduates approach you with questions about this process,
                    Should you
             please advise them to contact ECFMG directly.

                                                                               Sincerely,



                                                                               Ms. Kara Corrado, J.D.
                                                                               Vice President for Operations

                   ECFMO' Is an organization committed to promoting excellence In International
                   EOFMC'                                                         international medical education.


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From:                             Mealey, Scott <SMealey@ECFMG.org>
Sent:                             Thursday, April 18, 2019 9:53 AM
To:                               Corrado, Kara
Subject:                          FW: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT


Email chain below

From: Mealey, Scott
Sent: Monday, September 24, 2018 8:24 AM
To: Bede, Carole
Subject: RE: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

Thanks!

From: Bede, Carole
Sent: Monday, September 24, 2018 8:23 AM
To: Mealey, Scott
Subject: RE: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

Fixed. I had put a period after the HTML code

Best Regards,
Carole
Carole Bede
       Bede


Ms. Carole Bede
Regional Coordinator, Medical Education Resources

*ECFMC
Educational Commission for Foreign Medical Graduates
3624 Market Street
Philadelphia, PA 19104
USA
Email: cbede@ecfmg.org



From: Mealey, Scott
Sent: Friday, September 21, 2018 5:52 PM
To: Bede, Carole
Subject: FW: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

I missed the extra black period at the very end.

From: Mealey, Scott
Sent: Friday, September 21, 2018 4:17 PM
To: Bede, Carole
Subject: RE: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT


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         Thanks!
Proceed. Than1(51

              Carole
From: Bede, Cade
              September 21, 2018 4:16 PM
Sent: Friday, September
To: Mealey, Scott
Tb:
Subject: RE:
          RE Privileged and Ccnfidential   Craft ECFMG Sponsor Note for
                            Confidential - Draft                    fcr USAT

Screen print for approval:



         Sponsor Notes


       The information below has been provided by the World Directory's sponsoring organizations.

      Educational Commission for Foreign Medical Graduates (ECFMG), United States of America
           Students and graduates of this medical school are eligible to apply to ECFMG for ECFMG Certifici
           examination. provided that
               o For medical school students officially enrolled in this school, the graduation years are listed
                 `current-
               O For graduates of this medical school. their graduation year is included in the graduation yea
                       Graduation Years'
                           2003 - Current
               o All other eligibility requirements are met Refer to the ECFMG Information Booklet for detail(

              Currently. students and graduates of USAT are subject to enhanced procedures that must t
              order to be eligible to apply for ECFMG Certification related services, including but not limit
              ECFMG Certification, USMLE examinations that lead to ECFMG Certification, and Electronic
              Application Service (ERAS,k)) Support Services. ECFMG will provide information and instru(
              applicants upon receipt of application.


     Regards,
Best Regards,
Carole
Carok Bede
       Bede


Ms. Carole Bede
                              Education Resources
Regional Coordinator, Medical Education Resources
     ECFMG
Educational Commission for Foreign Medical Graduates
3624 Market Street
              PA 19104
Philadelphia, PA
USA
        cbede@ecfmg.org
Email: cbedegecfmg.org




From: Mealey, Scott
Sent: Friday, September 21, 2018 4:10 PM
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  To: Bede, Carole
  Subject: FW: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

  Carole — can you add this in Red/bold to USAT's sponsor note?

  Currently, students and graduates of USAT are subject to enhanced procedures that must be met in
  order to be eligible to apply for ECFMG Certification related services, including but not limited to:
  ECFMG Certification, USMLE examinations that lead to ECFMG Certification, and Electronic Residency
  Application Service (ERAS®) Support Services. ECFMG will provide information and instructions to
  applicants upon receipt of application.


  From: Katz, Francine
  Sent: Friday, September 21, 2018 2:41 PM
  To: Corrado, Kara
  Cc: Cover, Lisa; Mealey, Scott
  Subject: RE: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

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  From: Corrado, Kara
  Sent: Friday, September 21, 2018 2:33 PM
  To: Katz, Francine
  Cc: Cover, Lisa; Mealey, Scott
  Subject: Privileged and Confidential - Draft ECFMG Sponsor Note for USAT

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    The information below has been provided by the World Directory's sponsoring organizations

    Educational Commission for Foreign
                                     Foreign Medical Graduates (ECFMG), United States of America
         Students and graduates of this medical school are eligible to apply to ECFMG for ECFMG Certification and for
         examination. provided that
             • For medical school students officially enrolled in this school the graduation years are listed below as
               'current-
             • For graduates of this medical school, their graduation year is included in the graduation years listed below
                     Graduation Years:
                         2003 - Current
             o All other eligibility requirements are met Refer to the ,z7--.P..1G !nforn! ion Booklel for detailed information

          Currently, students and graduates of USAT are subject to enhanced procedures that must be met in
          order to be eligible to apply for ECFMG Certification related services, including but not limited to:
          ECFMG Certification, USMLE examinations that lead to ECFMG Certification, and Electronic Residency
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          applicants upon receipt of application.




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                                                                                             Appendix M



                                                 Tommy Swate
                                                 Attorney at Law
                                                 403 Wild Plum
                                              Houston, Texas 77013
                                                  713-377-4860
                                               swateroci aol.com
             September 15, 2018
             Ms. Kara Corrado, J.D.
             Vice President of Operations
             Education Commission for Foreign Medical Graduates
             3624 Market Street
             Philadelphia, PA 19104-2685
             Re: Letter of September 14, 2018

             Dear Ms. Corrado:
             I will be representing the University of Science, Art and Technology College
             of Medicine (USAT) regarding your September 14, 2018 letter. The letter
             appeared to terminate USAT's recognition by ECFMG's as a medical school.
             The letter has caused confusion and great anxiety for USAT's because the
             administration does not know how to advise its past students, present
             students and future students regarding ECFMG's policy regarding reporting
             test results, allowing test applications and the effect of ECFMG's policy on
             licensure, past and present. Would you please clarify ECFMG's position
             regarding the recognition of USAT as a medical school? Particularly, please
             clarify the effect of your September 14, 2018 letter on six groups of previous,
             current and future students:
            1. Past students that have passed all three USMLE step examinations and
            are licensed by a United States Medical Board,
            2. Past students that have past all three examinations and are seeking
            residencies,
            3. Past students that have passed all three examinations and are currently
            in a residency program,
            4. Present students who have taken some but not all of the USMLE Step
            tests,



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             5. Present students who have not applied to take the USMLE Step tests, but
             anticipate applying to take the examinations,
             6. Potential students that may enrolled at USAT.
             The administration of USAT had a good faith belief that USAT was in full
             compliance with ECFMG's recognition requirements based on the following
             facts. The University of Science, Arts and Technology College of Medicine,
             is an institution granted full recognition by the Government of Montserrat, a
             British Overseas Territory, on September 26, 2003 to provide medical
             education and grant the M.D. degree. USAT is legally authorized under
             Montserrat law to provide a medical education program. As a result of this
             legal authorization, USAT is included in the International Medical Directory
             (the "IMED" list) in the USA, CAPER(Canada) and WDOMS. Accordingly,
             students and graduates of the University may apply for and sit for all
             components of the United States Licensing Examination (USMLE, Steps I,
             II, and III).
             IMED listing is required for ECFMG certification. IMED listing and recognition
             determination is not a part of the ECFMG's mandate. IMED requires in order
             to be listed and the school's students being eligible to take the USMLE
             examinations that USAT be recognized in the country where USAT is
             located. Accreditation is not required. USAT is recognized by the
             Montserrat's government, and graduates of USAT MD program have met the
             requirements for Montserrat medical registration.
             As a recognized school, USAT is granted authority by the Montserrat's
             government to deliver an educational program and grant allowed degrees.
             Recognition is different from accreditation in that accreditation is a process
             of quality assurance. The Caribbean Accreditation Authority for Education in
             Medicine and other Health Professions (CAAM-HP) accreditation will be
             mandatory beginning in 2023.
             Until 2023 USAT is only required to be recognized in order for its students to
             be allowed to take the USMLE Step I, Step II, and Step III
             examinations. USAT is Institutionally accredited in the United Kingdom by
             the Accreditation System for International Schools, Colleges and
             Universities [ASIC-UK] in their division of International Institutions.
             Montserrat is a dependent UK overseas territory.
             As part of the agreement between the Government of Montserrat and USAT,
             USAT agrees to maintain operations in Montserrat unless natural


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             disasters arise. If a natural disaster arises USAT is allowed to relocate to an
             area of convenience and safety. USAT's student safety is the prior concern
             of any school's administration. The right to relocate to a safe location does
             not affect recognition as granted to USAT by the Government of
             Montserrat. Montserrat government's licensing agreement Paragraph
             8.13 allows USAT to move classes off shore in the event of a natural
             disaster. A volcanic eruption is a natural disaster.
             Montserrat's Licensing Agreement Paragraph 8.13 was invoked when
             the Soufriere Hills Volcano on Montserrat started producing volcanic ash as
             a result of pyroclastic flows. The volcanic ash that results from pyroclastic
             flows produces a serious threat to human and animal health, and has cost
             numerous lives. American University of the Caribbean [AUC] was able to
             relocate due to volcanic activity in 1996, and to date has not returned to
             Montserrat. As a result of the volcanic hazard USAT has been forced to
             conduct classes outside of Montserrat, almost entirely due to a development
             of a state-of-the-art online option that protects students from harm's way.
             The ECFMG has allowed other Caribbean medical school to locate their
             classes away from the original accredited site without obtaining a license for
             the alternative site. Ross University School of Medicine was allowed to
             relocate to a cruise ship off the island of St. Kitts due to a natural
             disaster, and now to a campus in the state of Tennessee. The ECFMG
             allowed Ross to established a temporary campus off St. Kitts's shores and
             in the USA. The online option developed by USAT does not require a fixed
             US campus.
             The arbitrary withholding of USAT's students test scores or refusing
             permission for USAT's student to take the USMLE examinations is in effect
             allowing the ECFMG to act as an accrediting body. The ECFMG does not
             have authority to accredit medical schools. The only authority ECFMG has
             is to determine if a medical school is recognized.
             USAT meets the recognition requirement. Very few Caribbean medical
             schools have been accredited by CAAM-HP to date, the only body that
             accredits Caribbean medical schools. CAAM-HP Accreditation is not
             mandatory until 2023. Not all Caribbean jurisdictions have accepted the
             CAAM-HP as an accrediting body to date, and Montserrat only accepted the
             CAAM-HP in 2018.




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             USAT has established a record that is the envy of both offshore and United
             States Medical school in the percentage of USAT students passing the
             various examinations on the first attempt. Over ninety percent of USAT
             student have passed all examinations on the first attempt. USAT graduates
             have been very successful in obtaining residencies and completing
             residencies. USAT graduates have established successful medical practices
             servicing United States citizens. If the ECFMG testing procedure is valid,
             USAT teaching programs are valid as measured by USMLE tests. The
             USAT's student results are a measure of the quality of USAT's teaching
             programs.
             USAT test results provides assurances that USAT graduates exhibit general
             professional competencies that are appropriate for participating in United
             States post graduate medical programs. USAT student performance on both
             formal tests and residency programs demonstrate that USAT education
             program provides students with a solid foundation for proficient medical
             care. Indeed, some USAT graduates have become medical faculty
             members at United States Medical Schools.
             The only possible ECFMG complaint is not the quality of USAT's program,
             but appears to be the definition of "recognition". USAT students and
             graduates have no knowledge of the definition of "recognition". Fairness and
             justice are not served by punishing innocent parties when there is a
             legitimate dispute over interpretation of recognition status. Neither USAT
             medical students nor USAT's administration had a "reason to know" or
             "should have known" the ECFMG's position on "recognition", which appears
             to have not have changed over the past 15 years. USAT has been licensed
             and operating successfully for the past 15 years without a blemish.
             Prior to a right or property being taken from USAT there is a fundamental
             requirement of due process or in the alternative enforceable contract
             terms. Fundamental fairness requires either "due process" or "contract
             enforcement". Adequate notice and an opportunity to be heard before a fair
             and impartial hearing body is required before ECFMG can take USAT
             valuable recognition right or USAT students' rights to have ECFMG open the
             gateway to United States licensing and training. In order for the ECFMG to
             effectively deny USAT recognition, ECFMG's decision must be conducted by
             a fair decision-making body following defined rules. Fairness requires
             internal separation between advocate and decisions makers to preserve
             neutrality.


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             The essence of due process is a requirement that USAT be given the reason
             for the ECFMG's decision regarding recognition or non-recognition and an
             opportunity to defend its students, if necessary. Ex-parte communication by
             unknown USAT employees and unknown administrative procedures leads to
             property deprivation without a fair hearing. The ECFMG is asked not
             to utilize ex-parte evidence and unknown rules and procedures to take away
             valuable rights. USAT has a fundamental right to know what evidence is
             being used to deny it recognition as a medical school and what procedures
             are used to make the recognition determination.
             It is well settled United States law that a medical license is property that
             cannot be taken without due process. USAT's right to operate a medical
             school is a valuable property right, also. Operation as a medical school is a
             property right that is essentially being taken away without operation of law. if
             USAT students cannot be admitted to licensing examinations which entry is
             controlled by the ECFMG then the valuable right to operate as a medical
             school has been denied USAT.
             On behalf of USAT I request that the ECFMG reassure USAT students and
             graduates attending USAT prior to September 14, 2018, that they will not be
             penalized for attending USAT under a good faith belief that the school was
             recognized and allowed to conduct classes in locations other than
             Montserrat for 15 years without incident prior to the current issue. If the
             ECFMG has concerns about the location or format of classes, USAT is
             requesting the opportunity to address any concerns and remedy any agreed
             deficiencies. Plus, USAT requests the ECFMG to state its position on
             students enrolled after September 14, 2018? A response prior to October
             31, 2018 would be greatly appreciated so that USAT's students can be
             properly advised based on the ECFMG's position?




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                                                                                            Appendix 11
                         EDUCATIONAL COMMISSION FOR                                  3624 Market Street
  ECFMG*                 FOREIGN MEDICAL GRADUATES                                   Philadelphia, PA 19104-2685 USA
                                                                                     215-386-5900 215-386-9767 Fax
                                                                                     www.ecfmg.org




  October 18, 2018

                                               VIA EMAIL: usat.edu@gmail.com
  Orien Tulp, President
  University of Science, Arts & Technology (USAT) Faculty of Medicine
  Main Campus
  S. Mayfield Estate Drive
  Olveston, MONTSERRAT

  Dear Dr. Tulp,

          This is a follow-up to my August 21 and September 14, 2018 letters to you. As
  you know, it has recently come to the attention of the Educational Commission for
  Foreign Medical Graduates (ECFMG) that USAT in Montserrat is operating a satellite
  (or branch) campus in Miami, Florida. ECFMG also understands that USAT is operating
  satellite campuses in Texas and Puerto Rico.

          As I previously advised you, in order for students and graduates of an
  international medical school, such as USAT, to have eligibility to apply for ECFMG
  Certification, ECFMG policy requires confirmation from the appropriate government
  authority in the branch campus country that the branch campus is authorized to operate
  as a medical school in such branch campus country, among other requirements.

         In light of this policy, ECFMG requested that USAT provide documentation from
  the United States Department of Education and/or the Florida Department of Education
  confirming that USAT's
                    USAT’s Miami branch campus is authorized to operate as a medical
  school in the United States. This documentation should cover the entire time period
  during which the USAT Miami branch campus has been in operation. To date, ECFMG
  has no record of receipt of such documentation from you or USAT.

                                     ECFMG’s Sponsor Note in the World
         Therefore, effective today, ECFMG's                     World Directory of
                                                                                  of
  Medical Schools (World
  Medical           (World Directory) for USAT has been updated to reflect that 2019
  and later graduates of USAT are no longer eligible to apply for ECFMG
  Certification or USMLE examinations as a step toward ECFMG Certification.

          ECFMG is also writing to your current students to advise them that, if they
  graduate from USAT in 2019 or later, they will be ineligible for ECFMG Certification and
  ineligible to register for USMLE examinations as a step toward ECFMG Certification
  after December 31, 2018. We are also letting them know that in order to become eligible
  for ECFMG Certification (or to register for USMLE examinations as a step toward
  ECFMG Certification) on or after January 1, 2019, the United States Department of
  Education and/or the Departments of Education for Florida, Texas, and Puerto Rico


       ECFMG® is an organization committed to promoting excellence in international medical education.



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  Dr. Orlon
      Orien L. Tulp
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  October 18, 2018
  Page 2 of 2

  must provide ECFMG with documentation that USAT is authorized to operate as a
  medical school In        United States. Otherwise, the students must transfer to and/or be
                    in the Untied
  of
  officially enrolled in a medical school that is listed in the World
  offldally                                                            Directory as meeting
                                                                World Directory
  eligibility requirements for ECFMG Certification. In addition, the 'Graduation
                                                                      “Graduation Years"
                                                                                   Years” in
  the ECFMG note on the Sponsor Notes tab of the World       World Directory listing for the
  students
  student’s medical school must be listed as 'Current"
                                                “Current” at the time hefshe
                                                                      he/she applies and on
  his/her test day.

      USAT’s 2018 and earlier graduates will continue to remain eligible to apply to
      USATs
  ECFMG for ECFMG Certification.

        Should the United States Department of Education and/or the Departments of
  Education for Florida, Tess,
                         Texas, and Puerto Rico provide ECFMG with documentation that
  USAT is authorized to operate as a medical school in the United States, ECFMG will be
  happy to review USATs                                                World Directory.
                  USAT’s eligibility for an ECFMG Sponsor Note in the World


                                                                   Sincerely,


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                                                                   Mt
                                                                   Ms. Kara Corrado, JD
                                                                   Vice President for Operations




       ECFMG• Is an organization committed to promoting excellence In International medical education.



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                                                                                                       Appendix L
                                   EDUCATIONAL COMMISSION FOR                                  3624 Market Street
       *ECFMG*                     FOREIGN MEDICAL GRADUATES                                   Philadelphia PA 19104-2685 USA
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                                                                                               www.ecfmg.org

            PERSONAL AND CONFIDENTIAL
            VIA EMAIL: o.tulp@usat.edu

                                                                                             October 18, 2018


            Dr. Orien L. Tulp
            Professor and President
            University of Science, Arts & Technology (USAT) Faculty of Medicine
            Main Campus
            S. Mayfield Estate Drive
            Olveston
            MONTSERRAT

            Dear Dr. Tulp:

                   I am writing to advise you of the allegation that you, individually and in your
            capacity as an official of the University of Science, Arts & Technology (USAT) Faculty of
            Medicine, Montserrat, engaged in irregular behavior in connection with providing false
            information to ECFMG. Specifically, you provided false information to ECFMG when
            you (1) notified ECFMG that USAT does not operate a branch campus in Miami, Florida
            and (2) certified to the attendance dates of several USAT students and graduates when
            ECFMG has information that these students were not attending USAT during some of
            the time periods to which you certified. The details of ECFMG's
                                                                      ECFMG’s allegation are set forth
            below.

            Details of Allegation
            False Information
                    Information Regarding U.S. Branch Campuses
                     On August 21, 2018, ECFMG advised you that we had become aware that USAT
            was operating a "branch"
                                “branch” campus in Miami, Florida. We advised you that in order for
            students and graduates of an international medical school, such as USAT, to have
            eligibility to apply for ECFMG Certification, ECFMG policy requires confirmation from
            the appropriate government authority in the branch campus country that the branch
            campus is authorized to operate as a medical school in such branch campus country.
            Therefore, we requested that USAT provide documentation from the United States
            Department of Education and/or the Florida Department of Education confirming that
            USAT’s Miami branch campus is authorized to operate as a medical school in the
            USAT's
            United States. We indicated that this documentation should cover the whole time period
            that the USAT Miami branch campus has been in operation.

                   In response to ECFMG's
                                  ECFMG’s August 21, 2018 letter, you replied:

                   "This
                   “This is incorrect information. The Miami location is an information and testing
                   site only, where a pre-usmle examination [an NBME] may administered, and an
                   Orientation for new students is conducted prior to their traveling to the


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             Dr. Orien L. Tulp
             October 18, 2018
             Page 2 of 4

                    Caribbean.. It is NOT a campus. Our ONLY Campus is located in Olveston,
                    Montserrat, British West Indies.

                    Actually, recall that Montserrat is a volcanic Island, and the license issued to
                    USAT in September, 2003 DOES actually permit the establishment of off-campus
                    lecture and administrative sites as needed. USAT has students on island on a
                    year round basis since its origination."
                                               origination.” [emphasis in original]

                    After receiving your reply, ECFMG received information that USAT was also
             providing medical education lectures not only at its Miami site, but also at sites in
             Tampa, Florida, Dallas, Texas, and Puerto Rico. As a result and to ensure that
             information regarding international medical schools and their students provided to
             ECFMG complies with ECFMG policies and requirements, ECFMG notified you that
             ECFMG would require USAT students and graduates to complete an affidavit, attesting
             to the accuracy of the medical school information provided to ECFMG.

                    In response to ECFMG's
                                    ECFMG’s affidavit request, many USAT students and graduates
             have certified that they have not completed any courses on Montserrat, but instead
             completed courses on site in the United States at the direction of USAT officials due to
             volcanic and hurricane activity on Montserrat. ECFMG also received a copy of the "2018
                                                                                                “2018
             University of Science, Arts and Technology Lecture Conference Schedule”
                                                                             Schedule" which shows
             lectures occurring in Florida and Texas. We note that there are no lectures scheduled
             for Montserrat. We also note that graduation occurs in Miami, Florida.

                     This directly conflicts with the information that you provided, i.e. that "the
                                                                                               “the Miami
             location is an information and testing site only, where a pre-usmle examination [an
             NBME] may administered, and an Orientation for new students is conducted prior to
             their traveling to the Caribbean.. It is NOT a campus. Our ONLY Campus is located in
             Olveston, Montserrat, British West Indies."
                                                      Indies.” [emphasis in original]. Further, though
             USAT's
             USAT’s agreement with the Montserrat government indicates that USAT "agrees       “agrees to
             maintain operations in Monserrat with regard to its Medical and other programmes for
             the duration of the agreement unless unforeseen circumstances and/or natural disaster
             arise that the MCL-USAT may choose to relocate to an area of convenience for the
             MCL-USAT for a time period to be determined by MCL-USAT. This would not effect
             any permission granted to MCL-USAT by the government of Montserrat,"
                                                                              Montserrat,” ECFMG has
             no record of receipt of any official communication from you or any other USAT official
             indicating that USAT relocated due to volcanic activity, from 2003 until present.

                    In ECFMG's
                        ECFMG’s September 15, 2017 announcement "Relocation “Relocation of Caribbean
             Medical Schools Impacted by Hurricane Irma" Irma” ECFMG advised: "Schools
                                                                                   “Schools that have
             relocated or plan to relocate their operations to the United States or elsewhere as a
             result of Hurricane Irma should provide ECFMG with: a) a formal notice to ECFMG that
             includes the address of where the school is temporarily located and the expected date
             of when the school will return to its home country, b) copies of approvals from the home
             country governmental authorities, and c) copies of approvals from the accrediting




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             Dr. Orien L. Tulp
             October 18, 2018
             Page 3 of 4

             agency, if any. This information should be e-mailed to Medical Education Resources
             at medschoolreview@ecfmg.org, along with any questions or comments."
                                                                          comments.” ECFMG has
             no record of receipt of any correspondence from you or any other USAT official that
             USAT was relocating to the United States due to Hurricane Irma, or any other hurricane.

             Certification of
                           of False Information Regarding Students Attendance Dates
                    During the course of the investigation into USAT's
                                                                 USAT’s branch campuses, ECFMG
             has discovered information that indicates that you provided false information to ECFMG
             regarding the attendance dates of some of your students on some of their applications
             for United States Medical Licensing Examinations (USMLE). Specifically, you certified
             that students were attending USAT during time periods which they were not actually
             attending USAT.

                           ECFMG’s usual practice to consider any action or attempted actions by any
                     It is ECFMG's
             person that would or could subvert the processes, programs or services of ECFMG to
             be irregular
                 irregular behavior. See Section A.1. of the enclosed ECFMG MedicalMedical Education
             Credentials Committee Policies and and Procedures. Examples of irregular behavior include
             the provision of false information or falsified credentials to ECFMG. ECFMG
             investigates and considers allegations of irregular behavior in order to protect the
             integrity of its processes, programs, and services. The ECFMG Committee can impose
             serious sanctions if it finds irregular behavior has been committed.

                   The review into the matters described in this letter are ongoing. ECFMG
             reserves the right to amend or make additional allegations of irregular behavior, in
             accordance with its policies and procedures, should ECFMG obtain information that
             supports such amendment or additional allegations.

             ECFMG Medical Education Credentials Committee Review of this Allegation

                   This matter will be referred to the ECFMG Committee for review at its next
             scheduled meeting on November 28, 2018 in Philadelphia. The ECFMG Committee will
             consider the information presented and take action in accordance with the enclosed
                     Medical Education Credentials Committee Policies and
             ECFMG Medical                                            and Procedures.

                     You will have the opportunity to appear personally before the ECFMG
             Committee, accompanied by legal counsel, if you so wish. Please indicate in your
             response if you wish to appear personally before the ECFMG Committee in your
             individual and/or official capacities. If you do wish to make a personal appearance, I will
             notify you of the particular time and location of the meeting.

                 The following documents will be included in the Agenda for the ECFMG
             Committee's review:
             Committee’s

                  • ECFMG's
                    ECFMG’s August 21, 2018 letter to you and your August 21, 2018 e-mail reply;




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             Dr. Orien L. Tulp
             October 18, 2018
             Page 4 of 4

                  • ECFMG's
                     ECFMG’s September 14, 2018 letter to you, including a copy of the affidavit
                     sent to USAT students on September 14, 2018;
                  •• Copy of "2018
                               “2018 University of Science, Arts and Technology Lecture Conference
                     Schedule”
                     Schedule"
                                                                    “Relocation of Caribbean Medical
                  • September 15, 2017 ECFMG Announcement "Relocation
                     Schools Impacted by Hurricane Irma";
                                                      Irma”;
                  • Copy of "An“An Agreement Between the Government of Montserrat and Medical
                     College of London (MCL) University of Science, Arts, and Technology
                     (Montserrat) LTD. (USAT)"
                                        (USAT)”
                   • Affidavits completed by USAT students; and
                  • This letter.

                   Copies of these documents, with the exception of the completed affidavits by
             students, are enclosed.

                   Please provide a response to ECFMG by November 1, 2018. In your
             response, please note whether you wish to make a personal appearance before the
             ECFMG Committee. All documents should be submitted to Ms. Kara Corrado, Vice
             President for Operations, at the address above or via e-mail at kcorrado@ecfmg.org. If
             you have any questions, please do not hesitate to call me at (215) 883-7318.

                                                              Sincerely,


                                                                           ea/
                                                              Lisa L. Cover
                                                              Senior Vice President for Business
                                                              Development and Operations
             Encl: As noted.




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                                                                                            Appendix 9

   From:            MECCSu000rt
                    MECCS0000rt
   Subject:         IMPORTANT INFORMATION FROM ECFMG / ACTION REQUIRED
   Date:            Monday, October 15, 2018 2:46:38 PM
   Attachments:     2nd USAT Affidavit - FINAL.odf


   Dear Doctor:

   Our records indicate that you have listed University of Science, Arts & Technology (USAT) Faculty of
   Medicine in Montserrat as the medical school from which you will graduate or have already graduated
   and that you are participating in the 2019 Electronic Residency Application Service (ERAS).

   As you know, ECFMG is currently conducting a review of its records to ensure that information provided
   to ECFMG regarding international medical schools and their students/graduates complies with ECFMG
   policies and requirements. As part of this review, on September 18, 2018, we sent you an affidavit to
   be completed attesting to your medical school attendance information.

   In addition to the previous affidavit, we are also requiring you to submit the attached affidavit which
   provides additional information to ECFMG about your attendance at USAT.

   WHAT YOU NEED TO DO
   Effective immediately, as a USAT student or graduate seeking a service or services related to ECFMG
   Certification, including registration for the United States Medical Licensing Examination (USMLE),
   release of USMLE scores, issuance of an ECFMG Certificate, or issuance of ECFMG Certification
   Status Reports to residency programs, you must complete the attached affidavit, attesting to the
   education you received at USAT. Completion of the affidavit is required and will facilitate ECFMG's
                                                                                               ECFMG’s
   review.

   NOTE: FAILURE TO COMPLETE AND SUBMIT THIS AFFIDAVIT BY NOVEMBER 1, 2018 MAY
   RESULT IN YOU BEING UNABLE TO PARTICPATE IN THE NATIONAL RESIDENT MATCHING
   PROGRAM (NRMP) “THE
                  "THE MATCH."
                       MATCH.”

   The affidavit must also be notarized by NotaryCam, which provides secure on-line notarization of
   documents. To use NotaryCam, go to https://www.notarycam.com/ecfmg-affidavit/ and follow
   NotaryCam’s instructions. NotaryCam will e-mail your affidavit to ECFMG directly.
   NotaryCam's

   YOU MUST COMPLETE AND SUBMIT THIS AFFIDAVIT NO LATER THAN NOVEMBER 1, 2018.

   Please allow two to four weeks processing time after the above-described affidavit has been submitted
   to ECFMG. ECFMG will notify you in writing after your affidavit has been processed.

   ECFMG reserves the right to bring allegations of irregular behavior against you, in accordance with its
   policies and procedures, should ECFMG obtain information that indicates that you have engaged in
   irregular behavior with respect to any documentation submitted as part of this process.

                                             MECCsupport@ecfmg.org and you will be assigned a Case
                                             MECCsupport(Oecfma.ora
   If you have any questions, please contact MECCsupport©ecfmg.org
   Manager. If you prefer, you may call 215-386-5900 and ask to be transferred to a Case Manager for
   USAT.

   Sincerely,

   ECFMG




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                   AFFIDAVIT ATTESTING TO EDUCATION RECEIVED AT
 UNIVERSITY OF SCIENCE, ARTS & TECHNOLOGY (USAT) FACULTY OF MEDICNE, MONTSERRAT

  I,
                            ECFMG Applicant Name                                                                   Number
                                                                                                        ECFMG ID Number
                                                                                                                                  -El
hereby declare, under penalty of perjury under the laws of all applicable jurisdictions, including the United States of America, and
under penalty of a finding of irregular behavior under applicable ECFMG rules and regulations, that (initial all that apply):


                      “advanced standing"
(1) I did not receive "advanced  standing” at USAT or was otherwise exempted from taking courses at USAT for
    credits I earned at other educational institutions or their programs, including but not limited to other medical
    schools or allied health schools (nursing schools, chiropractic schools, physician assistant programs, etc.).                Initials
                                                                                                                                 Initials

                      “advanced standing"
(2) I did not receive "advanced  standing” at USAT or
                                                   or was otherwise exempted from taking courses at USAT for
    previous work or life experience (e.g. employment as a physician assistant, chiropractor, or nurse practitioner).            Initials
                                                                                                                                 Initials

          not exempted from taking courses required for graduation from USAT.
(3) I was not
                                                                                                                                 Initials
                                                                                                                                 Initials

(4)    All of the credits that I earned at USAT for my basic sciences courses (as listed on my USAT transcript)
       All
       were earned for completion of courses taken at USAT, administered by USAT faculty or staff.                               Initials
                                                                                                                                 Initials

    All of the credits that I earned at USAT for my clinical rotations (as listed on my USAT transcript)
(5) All
    were earned for completion of rotations that were facilitated by USAT for me.                                                Initials
                                                                                                                                 Initials


I cannot certify to statement 1 above because:
                    statement 1       because:



I cannot certify to statement 2 above because:



I cannot certify to statement
                    statement 3 above because:
                                      because:



II cannot
   cannot certify
          certify to
                  to statement 4 above
                     statement 4 above because:
                                       because:



I cannot certify to statement 5 above because:




I also declare that this information is comprehensive, complete, and accurate as of the date of my signature.



                                     Signature of Applicant
                                     Signature of Applicant                                                (day)
                                                                                                           (day)       (month)
                                                                                                                       (month)        (year)

                                                            Certification by Official
I certify that on the date set forth below that the individual named above did appear personally before me and that the statements in this
document are subscribed and sworn to before me by the individual on this                                   Ö¿²«¿®§
                                                                                      day, of the month of January in the year

                                                                                                       Official Seal

                                   Signature of Notary
                                   Signature of Notary Public
                                                       Public



                                    Printed Name of Offical




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                                                                       125 of SIA0
                                                                              554  1 22


From:                            Bede, Carole <CBede@ECFMG.org>
Sent:                            Thursday, October 18, 2018 8:24 AM
To:                              Corrado, Kara; Mealey, Scott
Subject:                         RE: text for USAT - 10:30am


I'm glad I mentioned it then. I will keep both notes.
I’m

Best Regards,
Carole
Carole Bede
       Bede


Ms. Carole Bede
Regional Coordinator, Medical Education Resources

*ECFMC
Educational Commission for Foreign Medical Graduates
3624 Market Street
Philadelphia, PA 19104
USA
Email: cbede@ecfmg.org



From: Corrado, Kara
Sent: Thursday, October 18, 2018 8:00 AM
To: Mealey, Scott; Bede, Carole
Subject: RE: text for USAT - 10:30am

Correct, both notes should appear with the 2019 Sponsor Note one being fist.

______________________________________________________
Ms. Kara Corrado, J.D.
Vice President for Operations
Educational Commission for Foreign Medical Graduates (ECFMG)
3624 Market Street
Philadelphia, PA 19104

TEL: +1.215.823.2273
kcorrado@ecfmg.org I www.ecfmg.org

From: Mealey, Scott
Sent: Thursday, October 18, 2018 7:58 AM
To: Bede, Carole
Cc: Corrado, Kara
Subject: RE: text for USAT - 10:30am

I think we want both notes to still appear
                                    appear—– Kara? With the new one on top.

The new note is below and the current note is


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Currently, students and graduates of USAT are subject to enhanced procedures that must be met in order
to be eligible to apply for ECFMG Certification related services, including but not limited to: ECFMG
Certification, USMLE examinations that lead to ECFMG Certification, and Electronic Residency Application
Service (ERAS®) Support Services. ECFMG will provide information and instructions to applicants upon
receipt of application.

From: Bede, Carole
Sent: Thursday, October 18, 2018 7:56 AM
To: Mealey, Scott
Subject: RE: text for USAT - 10:30am

    I’m ready with the HTML codes and text, I will just have to remove the old note and put this one in.
Ok, I'm

Best Regards,
Carole
Carole Bede
       Bede


Ms. Carole Bede
Regional Coordinator, Medical Education Resources
*ECFMG"
Educational Commission for Foreign Medical Graduates
3624 Market Street
Philadelphia, PA 19104
USA
Email: cbede@ecfmg.org



From: Mealey, Scott
Sent: Thursday, October 18, 2018 7:52 AM
To: Bede, Carole
Subject: text for USAT - 10:30am

Note: As of January 1, 2019, students and graduates of this medical school with a graduation year of 2019 and later
are not eligible to apply to ECFMG for ECFMG Certification, which also renders them ineligible to apply to ECFMG for
the United States Medical Licensing Examinations (USMLE) as a step toward ECFMG Certification.




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                                                                                           Appendix N



                                                Tommy Swate
                                               Attorney at Law
                                                403 Wild Plum
                                             Houston, Texas 77013
                                                713-377-4860
                                              swatemd@aol.com

             September 23, 2018

             Ms. Kara Corrado, J.D.
             Vice President of Operations
             Education Commission for Foreign Medical Graduates
             3624 Market Street
             Philadelphia, PA 19104-2685

             Re: Letter of October 18, 2018
             Dear Ms. Corrado:

             This letter is notice that USAT will be represented at the November 28,
             2018 hearing by Tommy Swate, Chris Blinn and a USAT representative. I
             have already given you notice that I am USAT'sUSAT counsel. Also, local
             counsel will all so attend the hearing. Chris Blinn is my paralegal. USAT
             has not made a decision as to what person will be representing the school.

             I assume ECFMG's October 18, 2018 letter to Dr. Tulp contains all the
             allegations that will be discussed at the November 28, 2018 meeting. If any
             further allegations are to be considered, please inform me of the allegations
             at least 10 days prior to the meeting. If any further evidence is to be
             presented at the meeting other than what is listed in your October 18 letter,
             please forward this information to me 10 days prior to the November 28th  28th
             meeting. At this time I am requesting the complete file regarding each
             allegation. What the ECFMG may consider evidence and what USAT may
             consider exculpatory evidence may certainly be disputed. Thus, in order to
             defend USAT, I am requesting the complete file be made available to
             USAT's counsel.

             It is my understanding that the ECFMG Medical Education Credentials
             Committee(MECC) is the entity tasked with making a decision regarding
             the ECFMG's October 18, 2018 allegations. The MECC is charged, I




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             believe, with making a decision based on a preponderance of the evidence
             standard. However, it has been brought to my attention that apparently a
             decision has already been made regarding October 18, 2018 allegations
             because the ECFMG has posted on various websites warning to USAT
             students that after January 1, 2018 USAT students will no longer be eligible
             to apply for the various Step tests. Of course, I appreciate the fact that
             ECFMG has given the students until January 1, 2019 the benefit of
             previous test scores and education. However, by ECFMG rules the only
             entity that is charged with making a decision regarding USAT is the MECC
             and only after hearing evidence. The administrative staff could not have
             based its decision to post the unfortunate statements on a preponderance
             of evidence standard because no evidence has been heard.

             The ECFMG actions in placing notation on various websites suggest that
             the ECFMG proceedings are not neutral. The posting suggest that the
             ECFMG administrative staff has made a decision and is just going through
             the motions to have the MECC ratify the administrative staffs' decision.
             Plus the administrative staff is have ex parte communication with the
             MECC that USAT is not privy to the communication. I am requesting all
             communication with the MECC members regarding these allegations be
             disclosed.

             Please remove the comments posted by the ECFMG administrative staff
             until after the November 28, 2018 hearing. I am requesting a copy of the
             rules governing the removal of a Caribbean medical school's physical
             location to another location based on a natural disaster? What rule or rules
             were applied to Ross University when it move its whole school to the
             United States after a natural disaster. What are the time frames allowed for
             the physical relocation? What time frame is allowed any school to correct
             any deficiency found by the ECFMG? When did the MECC meet and give
             permission for the UCFMG to send out its September 14, 2018 letter?
             Under what authority was the letter mailed? Did the MEEC authorized the
             unfortunate comments on the internet regarding USAT?

             On behalf of USAT, we look forward to the November 28, 2018 hearing to
             discuss these serious allegations. As requested above, USAT's counsel
             needs to know all the facts in order to advise the USAT administration on
             the proper action to take. USAT cannot crafted a solution without knowing
             the rules governing its actions and all the facts concerning the allegations .
             Fundamental fairness requires disclosure of rules and facts.




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             Please respond to my request no later than 10 days before the November
             28, 2018 hearing.

             Yours truly,

             Tommy Swate
             Counsel for USAT




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                                                                                                         Appendix 0
                                     EDUCATIONAL COMMISSION FOR                                  3624 Market Street
       *ECFMG*                       FOREIGN MEDICAL GRADUATES                                   Philadelphia PA 19104-2685 USA
                                                                                                 215-386-5900 215-386-9767 Fax
                                                                                                 www.ecfmg.org

             VIA EMAIL: swatemd@aol.com

                                                                 October 26, 2018


             Mr. Tommy Swate
             Attorney at Law
             403 Wild Plum
             Houston, Texas 77013

             Dear Mr. Swate:

                     I am writing in response to your letters dated September 15, 2018 and September 23,
             2018. These letters were received at ECFMG on October 16, 2018 and October 23, 2018
             respectively. We understand from your letters that you have been retained as counsel for
             University of Science, Arts & Technology (USAT) Faculty of Medicine, Montserrat. Your letters
             appear to conflate the issue that USAT is operating branch campuses in the United States
             without appropriate documentation with the allegations of irregular behavior for Dr. Tulp. We
             take this opportunity to clarify these issues for you.

             Allegations of of Irregular
                               Irregular Behavior for Dr. Orien Tulp
                                         Behavior for            Tulp
                      ECFMG has not alleged irregular behavior on the part of USAT (the institution). The
             allegations of irregular behavior are specific to Dr. Tulp, both individually and in his capacity as
             an official of USAT. Therefore, before providing you with any materials relating to allegations of
             irregular behavior concerning Dr. Tulp, we ask that you advise ECFMG whether you also
             represent Dr. Tulp individually, in addition to USAT. We will be happy to share the entire case
             file that will be reviewed by the ECFMG Medical Education Credentials Committee ("ECFMG    (“ECFMG
             Committee”)
             Committee") with you once you have officially advised that you are Dr. Tulp's
                                                                                       Tulp’s legal counsel.

                    Please note that only Dr. Tulp is entitled to request a personal appearance at the
             ECFMG Committee hearing, with his legal counsel, as outlined in ECFMG's     ECFMG’s Policies and
             Procedures for Irregular Behavior. ECFMG will not permit any other person or official, from
             USAT or otherwise, to appear instead of Dr. Tulp at his hearing. If you are Dr. Tulp's  Tulp’s legal
             counsel, Dr. Tulp has the right for you to appear with him at the hearing. There is no right or
                       “local counsel"
             need for "local  counsel” or "paralegals"
                                          “paralegals” to attend; therefore, they will not be permitted to attend
             Dr. Tulp's
                 Tulp’s hearing.

                     Further, in your September 23, 2018 letter, you indicate that "a“a decision has already
             been made regarding October 18, 2018 allegations because the ECFMG has posted on various
             websites warning to USAT students that after January 1, 2018 USAT students will no longer be
                                                        tests.” This is incorrect. No decision regarding the
             eligible to apply for the various Step tests."
             allegations against Dr. Tulp has been made as the ECFMG Committee has not yet reviewed
             these allegations. ECFMG carefully follows its policies and procedures, maintaining fairness and
             integrity throughout its processes. We trust this information disabuses you of the notion that
             ECFMG’s "proceedings
             ECFMG's     “proceedings are not neutral."
                                              neutral.”

             USAT's
             USAT’s Operation of of Branch Campuses in the United
                                                               United States
                   ECFMG’s update to USAT's
                   ECFMG's               USAT’s ECFMG Sponsor Note in the World Directory
                                                                                        Directory of  Medical
                                                                                                   of Medical
             Schools is a wholly separate matter from the allegations against Dr. Tulp. Our letters of August



                   ECFMG® is an organization committed to promoting excellence in international medical education.



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             Mr. Tommy Swate
             October 26, 2018
             Page 2 of 3

             21, 2018, September 14, 2018, and October 18, 2018 (enclosed for your reference) are related
             to the issue surrounding USAT's
                                       USAT’s operation of branch campuses in the United States. Through
                                                                ECFMG’s policy regarding branch campuses
             these correspondences, ECFMG advised USAT of ECFMG's
             operating in countries outside the main campus country. To reiterate: in order for students and
             graduates of an international medical school to have eligibility to apply for ECFMG Certification,
             ECFMG policy requires (among other things) confirmation from the appropriate government
             authority in the branch campus country that the branch campus is authorized to operate as a
             medical school in the branch campus country.

                    When ECFMG became aware that USAT was operating a campus in Miami, FL, United
             States, ECFMG requested USAT to provide ECFMG with the documentation from the United
             States Department of Education and/or the Florida Department of Education confirming that
             USAT’s Miami branch campus is authorized to operate as a medical school in the United States.
             USAT's
             This documentation should cover the entire time period during which the USAT Miami branch
             campus has been in operation. To date, ECFMG has no record of receipt of such
             documentation from USAT.

                      As a result, ECFMG updated its ECFMG's
                                                        ECFMG’s Sponsor Note in the World World Directory of
                                                                                                Directory of
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             Medical Schools (World
                               (World Directory) for USAT to reflect that 2019 and later graduates of USAT
             are no longer eligible to apply for ECFMG certification. ECFMG also provided USAT students
             with this information and guidance on how this information impacted them. If USAT students
             still have questions about this, they should contact ECFMG directly as outlined in ECFMG's
                                                                                                  ECFMG’s
             message to them.

                                                    USAT’s charter has a provision in which the government
                      ECFMG does not dispute that USAT's
                                               “relocate to an area of convenience"
             of Montserrat permits USAT to "relocate                      convenience” if faced with "natural
                                                                                                     “natural
             disaster or unforeseen circumstances."
                                       circumstances.” The charter indicates "This
                                                                                 “This would not affect any
             permission granted to the MCL-USAT by the Government of Montserrat."Montserrat.” However, the
             government of Montserrat is not in a position to authorize the establishment of a medical school
             campus or conduction of other educational activity in another country. Thus, this section of
             USAT’s charter is irrelevant to the matter of the United States'
             USAT's                                                   States’ recognition of USAT's
                                                                                             USAT’s activities
             within its sovereign borders.

                    In reference to your question regarding ECFMG's
                                                             ECFMG’s temporary relocation of some medical
             schools impacted by natural disasters, it is not appropriate for ECFMG to disclose its
             communication with other medical school officials. However, we can assure you that the safety
             of students and school officials is of the highest priority to ECFMG and ECFMG has and will
             continue to be supportive of and flexible with students and medical schools during periods of
             temporary relocation and operational recovery. ECFMG is not aware of any recent natural
             disasters impacting the island of Montserrat that would require a temporary relocation of USAT.

                    ECFMG now understands that in addition to Florida, USAT operates campuses in
             Texas, Puerto Rico, and Maryland. Should
                                                  Should the United States Department of Education
             and/or the Departments of Education for Florida, Texas, Puerto Rico, and Maryland provide
             ECFMG with documentation that USAT is authorized to operate its medical school branch
             campuses in the United States, ECFMG will be happy to review USAT'sUSAT’s eligibility for an
             ECFMG Sponsor Note in the WorldWorld Directory.  Until that time, USAT's ECFMG Sponsor
                                                                               USAT’s
             Note for USAT will remain as is.




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             Mr. Tommy Swate
             October 26, 2018
             Page 3 of 3

                     Finally, we note that your letter indicates that USAT has conducted classes "in “in locations
                                    for 15 years without incident..."
             other than Montserrat for                     incident…” [emphasis in original]. This is troubling to
             ECFMG, as ECFMG defines an international medical graduate as a physician who received
             his/her basic medical degree or qualification from a medical school located outside the United
             States and Canada. If USAT has not conducted any medical education in Montserrat for the
             entirety of its existence, but instead has done so at facilities in the United States, then its
             graduates, by definition, are not international medical graduates and therefore are not eligible
             for ECFMG Certification. As a US medical school, we understand that USAT would be subject
             to accreditation by the Liaison Committee on Medical Education (LCME) which is the U.S.
             Department of Education-recognized accrediting body for programs leading to the M.D.
             degree in the United States. ECFMG is not aware that USAT has been so accredited by
             LCME.


                                                                           Sincerely,




                                                                           Ms. Kara Corrado, JD
                                                                           Ms.
                                                                           Vice President for Operations


             End:
             Encl: As noted.




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                                                                                                        Appendix R


              From:             Corrado, Kara
              To:               "swatemd"
              Cc:               "carla.konvk(agmail.com"; "billreillawagmail.com";
                                "carla.konvkngmail.com";   "billreillaw(Dgmail.com"; Katz. Francine
              Subject:          RE: Hearing for Dr. Tulp -- Response Required
              Date:             Wednesday, November 14, 2018 3:19:00 PM


              Dear Mr. Swate,

              Thank you for your email. As we understand that you and Mr. Reil are representing Dr. Tulp in the
              matter related to the allegations of irregular behavior, I am sending the materials that the ECFMG
              Committee will review when considering these allegations. I will send the attachments in 5 separate
              emails, as they are quite large. Please let me know if you have not received them. Please note that
              this email will also be provided to the Committee.

              ECFMG’s Medical Education Credentials Committee is comprised of members of ECFMG's
              ECFMG's                                                                          ECFMG’s Board of
              Trustees and ECFMG’s
                            ECFMG's President and CEO. ECFMG staff and legal counsel will also be present at the
              meeting. These individuals will introduce themselves to you and Dr. Tulp at the meeting; thus it is not
              necessary for ECFMG to give you the names of these individuals in advance of the meeting. Further, it
              is not appropriate for ECFMG to give you the addresses of these individuals, either now or at the
              meeting.

                                                                                          ECFMG’s update to its World
              Again, and as stated in my October 26, 2018 letter, we clarify for you that ECFMG's
              Directory of
              Directory   of Medical
                             Medical Schools Sponsor Note for USAT is unrelated to the allegations of irregular
              behavior for Dr. Tulp. ECFMG's
                                       ECFMG’s update to USAT's
                                                         USAT’s Sponsor Note is related to its branch campus
              activities in the United States. ECFMG requested USAT to provide ECFMG with the documentation
              from the United States Department of Education and/or the Florida Department of Education confirming
                   USAT’s Miami branch campus is authorized to operate as a medical school in the United States.
              that USAT's
              To date, ECFMG has no record of receipt of such documentation from USAT. Should the United
              States Department of Education and/or the Departments of Education for Florida, Texas, Puerto Rico,
              and Maryland (where ECFMG understand USAT has branch campuses) provide ECFMG with
              documentation that USAT is authorized to operate its medical school branch campuses in the United
                                                      USAT’s eligibility for an ECFMG Sponsor Note in the World
              States, ECFMG will be happy to review USAT's
                                          USAT’s ECFMG Sponsor Note for USAT will remain as is.
              Directory. Until that time, USAT's

              Since ECFMG has not alleged irregular behavior against USAT (the institution) there is no need for a
              hearing for USAT. Nor is there any right to a hearing with ECFMG for USAT for any matter. ECFMG
              will not entertain any request to review the actions it has taken with respect to USAT's
                                                                                                USAT’s Sponsor Note at
              Dr. Tulp's
                   Tulp’s irregular behavior hearing.

              Dr.
              Dr. Tulp is scheduled to appear before the ECFMG Committee with you and Mr. Reil (Dr. Tulp's     Tulp’s
              attorneys) on Wednesday November 28.    28, 2018 at 9:00 AM at the Rittenhouse Hotel.
                                                                                                  Hotel, 210 West
              Rittenhouse Square ., Philadelphia ., PA 19103. Please arrive at 8:45 AM. In accordance with
              ECFMG’s standard practice, Dr. Tulp will be scheduled for 20 minutes, during which time he will have
              ECFMG's
              the opportunity to present his response to these allegations (either personally or through his counsel)
              and the ECFMG Committee members, ECFMG counsel, and staff will have the opportunity to ask
              questions. After that, Dr. Tulp may provide a brief, closing statement.

              Sincerely,

              Kara Corrado

              ______________________________________________________
              Ms. Kara Corrado, J.D.
              Vice President for Operations
              Educational Commission for Foreign Medical Graduates (ECFMG)




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              3624 Market Street
              Philadelphia, PA 19104

              TEL: +1.215.823.2273
              kcorrado@ecfmg.org I www.ecfmg.org

              From: swatemd@aol.com [mailto:swatemd@aol.com]
              Sent: Friday, November 09, 2018 6:28 PM
              To: Corrado, Kara; carla.konyk@gmail.com
              Subject: Re: Hearing for Dr. Tulp -- Response Required

              External Email. Please Proceed with Caution.

              Mr. Riel and I will represent Dr. Tulp at the hearing on October 28th. Please send a copy of the
              October 28 agenda and written policy and procedure to my attention at swatemd@aol.com. Please
              forward copies of all documents submitted to the committee members prior to the hearing.

               I did not receive your letter of October 26 until this afternoon by e mail. I am requesting the names
              and addresses of the committee members plus the individuals other than the committee members that
              will be at the hearing. Also, please send me ALL the evidence that will be presented at the hearing so
              that Dr. Tulp can prepare for the hearing.

              I represent both Dr. Tulp and USAT. I will send a formal demand by certified mail for ECFMG to stop
              the tortious inference with the operation of USAT immediately. The ECFMG has taken action against
              USAT without giving USAT the opportunity to respond in a formal setting. To save time and expense, I
              am request a hearing on behalf of USAT on October 28, 2018. Please inform me of the person or
              persons who authorized the letters to USATs' students? What person or entity made a decision to
              arbitrarily without a hearing block certain USATs' students scores from being disclosed? Tommy
              Swate
              -----Original  Message-----
                   Original Message
              From: Corrado, Kara <KCorrado@ecfmg.org>
              To: swatemd <swatemd@aol.com>
              Sent: Fri, Nov 9, 2018 2:19 pm
              Subject: RE: Hearing for Dr. Tulp -- Response Required

              Dear Mr. Swate,

              I just resent the letter to you. I had emailed it to you on October 26, 2018. Please let me
              know if you have received it.

              Please advise if you are representing Dr. Tulp and if Dr. Tulp will be appearing at the
              meeting.

              Sincerely,

              Kara Corrado

              ______________________________________________________
              Ms. Kara Corrado, J.D.
              Vice President for Operations
              Educational Commission for Foreign Medical Graduates (ECFMG)
              3624 Market Street
              Philadelphia, PA 19104




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              TEL: +1.215.823.2273
              kcorrado@ecfmg.org I www.ecfmg.org

              From: swatemd [ractitsnswatemdaaol.com]
                              [mailto:swatemd(aaol.com]
              Sent: Friday, November 09, 2018 3:03 PM
              To: Corrado, Kara
              Subject: Re: Hearing for Dr. Tulp -- Response Required

              External Email. Please Proceed with Caution.

              I have not received a letter dated October 26th from you. Please e mail the LETTER to me .
              Both attorrneys will appear on the 28th. I can not respond until I receive your letter. Tommy
              Swate



              Sent from my T-Mobile 4G LTE Device

              -------- Original message --------
              From: "Corrado, Kara" <KCorrado@ecfmg.org>
              Date: 11/9/18 1:01 PM (GMT-06:00)
              To: swatemd@aol.com, billreillaw@gmail.com
              Cc: "Katz, Francine" <fkatz@ECFMG.org>
              Subject: Hearing for Dr. Tulp -- Response Required

              Gentleman:


                                   ECFMG’s October 26, 2018 letter to you regarding USAT. We
              I am following up on ECFMG's
              understand that you both are counsel for USAT.


              As you know, ECFMG will review the allegations of irregular behavior for Dr. Tulp on
              November 28, 2018. Dr. Tulp has a right to a personal appearance at that meeting
              with his legal counsel.


              Please reply to this email by November 14, 2018 and indicate:
              If you are representing Dr. Tulp in this matter; and
              If Dr. Tulp plans to attend the meeting in person (and if so, which of his attorneys will be present).


              If we do not receive a reply from you on or before November 14, 2018, we will
              assume that Dr. Tulp is not making a personal appearance. Dr. Tulp's
                                                                              Tulp’s case is
              scheduled to be reviewed on November 28, 2018 whether or not he makes a
              personal appearance.


              Sincerely,




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              Kara Corrado


              ______________________________________________________
              Ms. Kara Corrado, J.D.
              Vice President for Operations
              Educational Commission for Foreign Medical Graduates (ECFMG)
              3624 Market Street
              Philadelphia, PA 19104


              TEL: +1.215.823.2273
              kcorrado@ecfmg.org I www.ecfmg.org




              Disclaimer
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              The information
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                                                       communication from       ECFMG® /
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From:                             swatemd <swatemd@aol.com>
Sent:                             Friday, November 16, 2018 2:16 PM
To:                               Corrado, Kara
Subject:                          RE: Hearing for Dr. Tulp -- Response Required


External Email. Please Proceed with Caution.


Thank you . I have received documents Tommy Swate



Sent from my T-Mobile 4G LTE Device

-------- Original message --------
                        <KCorrado@ecfmg.org>
From: "Corrado, Kara" <KConado@ecfmg.org>
Date: 11/16/18 1:04 PM (GMT-06:00)
To: swatemd <swatemd@aol.com>
Cc: carla.konyk@gmail.com, billreillaw@gmail.com, "Katz, Francine" <fkatz@ECFMG.org>
Subject: RE: Hearing for Dr. Tulp -- Response Required

Dear Mr. Swate,

I am writing to confirm that you have received the materials that the ECFMG Committee will review at its
meeting on November 28, 2018 related to the allegations of irregular behavior for Dr. Tulp. All documents
were emailed to you on Wednesday, November 14, 2018. I have also sent the documents to you via Federal
Express today.

Please let us know if you have not received the documents.

Sincerely,

Kara Corrado

______________________________________________________
Ms. Kara Corrado, J.D.
Vice President for Operations
Educational Commission for Foreign Medical Graduates (ECFMG)
3624 Market Street
Philadelphia, PA 19104

TEL: +1.215.823.2273
kcorrado@ecfmg.org I www.ecfmg.org

From: Corrado, Kara
Sent: Wednesday, November 14, 2018 3:19 PM
To: 'swatemd'
Cc: 'carla.konyk@gmail.com'; 'billreillaw@gmail.com'; Katz, Francine
Subject: RE: Hearing for Dr. Tulp -- Response Required

Dear Mr. Swate,

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Thank you for your email. As we understand that you and Mr. Reil are representing Dr. Tulp in the matter related to the
allegations of irregular behavior, I am sending the materials that the ECFMG Committee will review when considering
these allegations. I will send the attachments in 5 separate emails, as they are quite large. Please let me know if you
have not received them. Please note that this email will also be provided to the Committee.

ECFMG’s Medical Education Credentials Committee is comprised of members of ECFMG's
ECFMG's                                                                            ECFMG’s Board of Trustees and
ECFMG's
ECFMG’s President and CEO. ECFMG staff and legal counsel will also be present at the meeting. These individuals will
introduce themselves to you and Dr. Tulp at the meeting; thus it is not necessary for ECFMG to give you the names of
these individuals in advance of the meeting. Further, it is not appropriate for ECFMG to give you the addresses of these
individuals, either now or at the meeting.

Again, and as stated in my October 26, 2018 letter, we clarify for you that ECFMG's
                                                                            ECFMG’s update to its World
                                                                                                  World Directory of
                                                                                                                  of
Medical Schools Sponsor Note for USAT is unrelated to the allegations of irregular behavior for Dr. Tulp. ECFMG's
Medical                                                                                                   ECFMG’s
update to USAT's
           USAT’s Sponsor Note is related to its branch campus activities in the United States. ECFMG requested USAT
to provide ECFMG with the documentation from the United States Department of Education and/or the Florida
                                         USAT’s Miami branch campus is authorized to operate as a medical school in
Department of Education confirming that USAT's
the United States. To date, ECFMG has no record of receipt of such documentation from USAT. Should the United
States Department of Education and/or the Departments of Education for Florida, Texas, Puerto Rico, and Maryland
(where ECFMG understand USAT has branch campuses) provide ECFMG with documentation that USAT is authorized to
operate its medical school branch campuses in the United States, ECFMG will be happy to review USAT's
                                                                                                   USAT’s eligibility for an
ECFMG Sponsor Note in the World                                 USAT’s ECFMG Sponsor Note for USAT will remain as is.
                              World Directory. Until that time, USAT's

Since ECFMG has not alleged irregular behavior against USAT (the institution) there is no need for a hearing for USAT.
Nor is there any right to a hearing with ECFMG for USAT for any matter. ECFMG will not entertain any request to review
the actions it has taken with respect to USAT's                     Tulp's irregular behavior hearing.
                                         USAT’s Sponsor Note at Dr. Tulp’s

Dr. Tulp is scheduled to appear before the ECFMG Committee with you and Mr. Reil (Dr. Tulp's       Tulp’s attorneys) on
Wednesday November 28, 2018 at 9:00 AM at the Rittenhouse Hotel, 210 West Rittenhouse
Square , Philadelphia , PA 19103. Please arrive at 8:45 AM. In accordance with ECFMG's ECFMG’s standard practice, Dr. Tulp
will be scheduled for 20 minutes, during which time he will have the opportunity to present his response to these
allegations (either personally or through his counsel) and the ECFMG Committee members, ECFMG counsel, and staff
will have the opportunity to ask questions. After that, Dr. Tulp may provide a brief, closing statement.

Sincerely,

Kara Corrado

______________________________________________________
Ms. Kara Corrado, J.D.
Vice President for Operations
Educational Commission for Foreign Medical Graduates (ECFMG)
3624 Market Street
Philadelphia, PA 19104

TEL: +1.215.823.2273
kcorrado@ecfmg.org I www.ecfmg.org

From: swatemd@aol.com [mailto:swatemd@aol.com]
Sent: Friday, November 09, 2018 6:28 PM
To: Corrado, Kara; carla.konyk@gmail.com
Subject: Re: Hearing for Dr. Tulp -- Response Required

External Email. Please Proceed with Caution.

Mr. Riel and I will represent Dr. Tulp at the hearing on October 28th. Please send a copy of the October 28 agenda and
written policy and procedure to my attention at swatemd@aol.com. Please forward copies of all documents submitted to
the committee members prior to the hearing.



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I did not receive your letter of October 26 until this afternoon by e mail. I am requesting the names and addresses of the
committee members plus the individuals other than the committee members that will be at the hearing. Also, please send
me ALL the evidence that will be presented at the hearing so that Dr. Tulp can prepare for the hearing.

I represent both Dr. Tulp and USAT. I will send a formal demand by certified mail for ECFMG to stop the
tortious inference with the operation of USAT immediately. The ECFMG has taken action against USAT without giving
USAT the opportunity to respond in a formal setting. To save time and expense, I am request a hearing on behalf of
USAT on October 28, 2018. Please inform me of the person or persons who authorized the letters to USATs' students?
What person or entity made a decision to arbitrarily without a hearing block certain USATs' students scores from being
disclosed? Tommy Swate
     Original Message
-----Original Message-----
From: Corrado, Kara <KCorrado@ecfmg.org>
To: swatemd <swatemd@aol.com>
Sent: Fri, Nov 9, 2018 2:19 pm
Subject: RE: Hearing for Dr. Tulp -- Response Required

Dear Mr. Swate,

I just resent the letter to you. I had emailed it to you on October 26, 2018. Please let me know if you have
received it.

Please advise if you are representing Dr. Tulp and if Dr. Tulp will be appearing at the meeting.

Sincerely,

Kara Corrado

______________________________________________________
Ms. Kara Corrado, J.D.
Vice President for Operations
Educational Commission for Foreign Medical Graduates (ECFMG)
3624 Market Street
Philadelphia, PA 19104

TEL: +1.215.823.2273




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 From:
 From:                                     Corrado, Kara
                                           Corrado,  Kara <KCorrado@ecfmg.org>
                                                           <KCorrado@ecfmg.org>
 Sent:
 Sent:                                     Thursday, January
                                           Thursday,  January 10,
                                                              10, 2019  10:31 AM
                                                                  2019 10:31   AM
 To:
 To:                                       Katz, Francine;
                                           Katz, Francine; McEnroe,
                                                           McEnroe, Elisa
                                                                    Elisa P.;
                                                                          P.; Klayman,
                                                                              Klayman, Matthew
                                                                                       Matthew D.;
                                                                                               D.; Cover,
                                                                                                   Cover, Lisa
                                                                                                          Lisa
 Subject:
 Subject:                                  FW: Transcript
                                           FW:  Transcript from
                                                           from Hearing
                                                                Hearing
 Attachments:
 Attachments:                              olt112818.pdf
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 From: Corrado,
 From: Corrado, Kara
                Kara
 Sent: Thursday,
 Sent:  Thursday, January
                  January 10,
                          10, 2019 9:44 AM
                              2019 9:44 AM
     o.tulp@usat.edu
 To: o.tulp@usat.edu
 Cc: billreillaw@gmail.com;
 Cc: billreillaw@gmail.com; 'swatemd@aol.com'
                            'swatemd@aol.com'
 Subject: Transcript
 Subject: Transcript from
                     from Hearing
                          Hearing

 Dear Dr. Tulp,

 Please find attached the transcript of the November 28, 2018 proceedings.

 Sincerely,

 Kara Corrado

 ______________________________________________________
 Ms. Kara Corrado, J.D.
 Vice President for Operations
 Educational Commission for Foreign Medical Graduates (ECFMG)
 3624 Market Street
 Philadelphia, PA 19104

 TEL: +1.215.823.2273
 kcorrado@ecfmg.org I www.ecfmg.org



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               APPEARANCES:
      î
      2        ÛÝÚÓÙ STAFF
               ECFMG ÍÌßÚÚ
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      3        Ó®ò
               Mr. É·´´·¿³
                   William Éò  Ð·²-µ§
                            W. Pinsky
               Ó®ò Ü»²²·- Óò
               Mr. Dennis     Ü±²±¸«»
                           M. Donohue
      ì
      4        Ó-ò
               Ms. Õ¿®¿
                   Kara Ý±®®¿¼±
                        Corrado
               Ó-ò Ô·-¿ L.
               Ms. Lisa Ôò Ý±ª»®
                            Cover
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      5        Ó-ò Íª»¬´¿²¿ Gridneva
               Ms. Svetlana  Ù®·¼²»ª¿
               Ó®ò Í½±¬¬ Ó»¿´»§
               Mr. Scott Mealey
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      6        Ó-ò Î±-»³¿®§ Ý¿®´·²
               Ms. Rosemary  Carlin
      é
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               ÛÝÚÓÙ Board
               ECFMG Þ±¿®¼ Ó»³¾»®-
                           Members
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               Ü®ò Ó¿®§»´´»²
               Dr.           Ù«-·½
                   Maryellen Gusic
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      9        Ü®ò Ronald
               Dr. Î±²¿´¼ R.
                          Îò Blanck
                             Þ´¿²½µ
               Ü®ò Barbara
               Dr. Þ¿®¾¿®¿ Barzansky
                           Þ¿®¦¿²-µ§
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     10        Ü®ò Peter
               Dr. Ð»¬»® Buckley
                         Þ«½µ´»§
               Ü®ò Andrew
               Dr. ß²¼®»© Ú·´¿µ
                          Filak
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     11        Ü®ò Ram
               Dr. Î¿³ Õ®·-¸²¿
                       Krishna
               Ü®ò Dotun
               Dr. Ü±¬«² Ogunyemi
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     12        Ü®ò Ö¿³»-
               Dr.       Ð»´»¹¿²±
                   James Pelegano
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      6                           ÜÎò GUSIC:
                                  DR. ÙËÍ×Ýæ            É»
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                                         Ü®ò Tulp
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                        statements.
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     12                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Û´·-¿ Ó½Û²®±»ô
                                                          Elisa McEnroe,
     ïí
     13                ±«¬-·¼» counsel
                       outside ½±«²-»´ for
                                       º±® ECFMG.
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                                  MS. ÕßÌÆæ
                                      KATZ:         ×ù³ Ú®¿²½·-
                                                    I'm Francis Õ¿¬¦ò
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     16                           ÜÎò ÝÎß×Ùæ
                                  DR. CRAIG:            Í¬»ª» Ý®¿·¹ô
                                                        Steve Craig,
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                        board member.
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     18                           ÜÎò OGUNYEMI:
                                  DR. ÑÙËÒÇÛÓ×æ            Ü®ò Ogunyemi,
                                                           Dr. Ñ¹«²§»³·ô
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     19                ÛÝÚÓÙ board
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                                  DR. ÞËÝÕÔÛÇæ Peter
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                                                member.
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     22                           ÜÎò PELEGANO:
                                  DR. ÐÛÔÛÙßÒÑæ            Ö·³ Pelegano,
                                                           Jim Ð»´»¹¿²±ô
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     23                ÛÝÚÓÙ board
                       ECFMG ¾±¿®¼ ³»³¾»®ò
                                   member.
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     24                           ÜÎò ÕÎ×ÍØÒßæ
                                  DR. KRISHNA:           Ü®ò Õ®·-¸²¿ô
                                                         Dr. Krishna,
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                                  DR. FILIK:          ß²¼§ Ú·´·µô
                                                      Andy Filik,
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      3                ÛÝÚÓÙ board
                       ECFMG ¾±¿®¼ ³»³¾»®ò
                                   member.
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      4                           ÜÎò PINSKY:
                                  DR. Ð×ÒÍÕÇæ           Þ·´´ Pinsky,
                                                        Bill Ð·²-µ§ô
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      5                Ð®»-·¼»²¬ and
                       President ¿²¼ ÝÛÑ ±º ECFMG.
                                     CEO of ÛÝÚÓÙò
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      6                           ÜÎò GUSIC:
                                  DR. ÙËÍ×Ýæ          Ó¿®§»´´»² Ù«-·½ô
                                                      Maryellen Gusic,
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      7                 ¾±¿®¼ ³»³¾»®
                        board member ¿²¼ ½¸¿·® of
                                     and chair ±º ¬¸·-
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                                  DR. ÞßÎÆßÒÍÕÇæ             Þ¿®¾¿®¿
                                                             Barbara
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     14                           ÓÍò
                                  MS. ÝÑÎÎßÜÑæ
                                      CORRADO:            Õ¿®¿
                                                          Kara Ý±®®¿¼±ô
                                                               Corrado,
     ïë
     15                ÛÝÚÓÙ staff.
                       ECFMG -¬¿ººò
     ïê
     16                           ÓÍò
                                  MS. ÝÑÊÛÎæ
                                      COVER:          Ô·-¿ Ý±ª»®ô
                                                      Lisa Cover,
     ïé
     17                ÛÝÚÓÙ staff.
                       ECFMG -¬¿ººò
     ïè
     18                           ÓÎò ÜÑÒÑØËÛæ
                                  MR. DONOHUE:            Ü»²²·-
                                                          Dennis
     ïç
     19                Ü±²±¸«»ô ECFMG
                       Donohue, ÛÝÚÓÙ staff.
                                      -¬¿ººò
     îð
     20                           ÓÍò ÙÎ×ÜÒÛÊßæ
                                  MS. GRIDNEVA:            Íª»¬´¿²¿
                                                           Svetlana
     îï
     21                 Ù®·¼²»ª¿ô ECFMG
                        Gridneva, ÛÝÚÓÙ staff.
                                        -¬¿ººò
     îî
     22                           ÓÍò
                                  MS. ÝßÎÔ×Òæ
                                      CARLIN:           Î±-»³¿®§
                                                        Rosemary
     îí
     23                 Ý¿®´·²ô ÛÝÚÓÙ staff.
                        Carlin, ECFMG -¬¿ººò
     îì
     24                           ÓÍò
                                  MS. ÝÑÎÎßÜÑæ
                                      CORRADO:            Ö«-¬ ¾®·»º´§ô
                                                          Just briefly,
   Ù±´µ±© Litigation
   Golkow Ô·¬·¹¿¬·±² Services
                     Í»®ª·½»-                                                 Ð¿¹» 5
                                                                              Page ë
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      ï
      1                 ×ù³ just
                        I'm ¶«-¬ going
                                 ¹±·²¹ to
                                       ¬± iterate
                                          ·¬»®¿¬» ¬¸»
                                                  the
      î
      2                 ¿´´»¹¿¬·±²- for
                        allegations º±® the
                                        ¬¸» ½±³³·¬¬»»ò
                                            committee.
      í
      3                 Ì¸» allegation
                        The ¿´´»¹¿¬·±² is
                                       ·- that
                                          ¬¸¿¬ Dr.
                                               Ü®ò Orien
                                                   Ñ®·»²
      ì
      4                 Ì«´°ô professor
                        Tulp, °®±º»--±® and
                                        ¿²¼ °®»-·¼»²¬ ±º
                                            president of
      ë
      5                 ËÍßÌ engaged
                        USAT »²¹¿¹»¼ ·² ·®®»¹«´¿® behavior
                                     in irregular ¾»¸¿ª·±®
      ê
      6                 ·² ½±²²»½¬·±²
                        in connection ©·¬¸ °®±ª·¼·²¹ false
                                      with providing º¿´-»
      é
      7                 ·²º±®³¿¬·±² to
                        information ¬± ECFMG,
                                       ÛÝÚÓÙô specifically
                                              -°»½·º·½¿´´§
      è
      8                 ¬¸¿¬ Dr.
                        that Ü®ò Ì«´° °®±ª·¼»¼ false
                                 Tulp provided º¿´-»
      ç
      9                 ·²º±®³¿¬·±² to
                        information ¬± ECFMG
                                       ÛÝÚÓÙ regarding
                                             ®»¹¿®¼·²¹
     ïð
     10                 ËÍÌßÌù- United
                        USTAT's Ë²·¬»¼ States
                                       Í¬¿¬»- branch
                                              ¾®¿²½¸
     ïï
     11                 ½¿³°«-»- ¿²¼
                        campuses and ½»®¬·º§·²¹ ¬± the
                                     certifying to ¬¸»
     ïî
     12                 ¿¬¬»²¼¿²½» dates
                        attendance ¼¿¬»- of
                                         ±º several
                                            -»ª»®¿´ USTAT
                                                    ËÍÌßÌ
     ïí
     13                 -¬«¼»²¬- ¿²¼
                        students     ¹®¿¼«¿¬»- ©¸»²
                                 and graduates      ÛÝÚÓÙ
                                               when ECFMG
     ïì
     14                 ¸¿- ·²º±®³¿¬·±² that
                        has information ¬¸¿¬ these
                                             ¬¸»-»
     ïë
     15                 -¬«¼»²¬- ©»®»
                        students      ²±¬ attending
                                 were not ¿¬¬»²¼·²¹ USTAT
                                                    ËÍÌßÌ
     ïê
     16                 ¼«®·²¹ some
                        during -±³» of
                                    ±º the
                                       ¬¸» time
                                           ¬·³» °»®·±¼- ¬±
                                                periods to
     ïé
     17                 ©¸·½¸ Ü®ò Tulp
                        which Dr. Ì«´° certified.
                                       ½»®¬·º·»¼ò
     ïè
     18                           Ü®ò Tulp
                                  Dr. Ì«´° is
                                           ·- ¸»®» ¬±¼¿§ along
                                              here today ¿´±²¹
     ïç
     19                 ©·¬¸
                        with ¸·-
                             his ¿¬¬±®²»§- ¬± address
                                 attorneys to ¿¼¼®»--
     îð
     20                 ¬¸»-» allegations
                        these ¿´´»¹¿¬·±²- and
                                          ¿²¼ to
                                              ¬± answer
                                                 ¿²-©»®
     îï
     21                 ¿²§ questions
                        any ¯«»-¬·±²- that
                                      ¬¸¿¬ the
                                           ¬¸» committee
                                               ½±³³·¬¬»»
     îî
     22                 ³¿§
                        may ¸¿ª»ò
                            have.
     îí
     23                           ÜÎò GUSIC:
                                  DR. ÙËÍ×Ýæ          Ñ°»²·²¹
                                                      Opening
     îì
     24                 -¬¿¬»³»²¬-ò
                        statements.
   Ù±´µ±© Litigation
   Golkow Ô·¬·¹¿¬·±² Services
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      ï
      1                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ì¸¿²µ §±«ò
                                                      Thank you.            ×
                                                                            I
      î
      2                 ¿-µ»¼ the
                        asked ¬¸» name
                                  ²¿³» of
                                       ±º the
                                          ¬¸» officer
                                              ±ºº·½»®
      í
      3                ±«¬-·¼» the
                       outside ¬¸» door,
                                   ¼±±®ô and
                                         ¿²¼ ¸»
                                             he ®»º«-»¼
                                                refused
      ì
      4                 ¬± give
                        to ¹·ª» ³»
                                me ¸·- ²¿³»ò
                                   his name.                 Ý±«´¼
                                                             Could §±«
                                                                   you
      ë
      5                 ¬»´´ ³»
                        tell me ©¸± ¬¸» officer
                                who the ±ºº·½»® outside
                                                ±«¬-·¼»
      ê
      6                 ¬¸» door
                        the ¼±±® ·-á
                                 is?
      é
      7                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            ×¬ù- a
                                                          It's ¿
      è
      8                -»½«®·¬§ officer
                       security ±ºº·½»® ©»ùª» ¾®±«¹¸¬ in
                                        we've brought ·²
      ç
      9                º±® our
                       for ±«® own
                               ±©² protection
                                   °®±¬»½¬·±² in
                                              ·² ½¿-»
                                                 case ©»
                                                      we
     ïð
     10                 ²»»¼ ·¬
                        need    ¬¸®±«¹¸±«¬ our
                             it throughout ±«® day's
                                               ¼¿§ù-
     ïï
     11                 °®±½»»¼·²¹-ò
                        proceedings.            Ø»ù- an
                                                He's ¿² off-duty
                                                        ±ººó¼«¬§
     ïî
     12                Ð¸·´¿¼»´°¸·¿ °±´·½»
                       Philadelphia        ±ºº·½»®ò
                                    police officer.
     ïí
     13                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ú·®-¬ô × ©±«´¼
                                                      First, I would
     ïì
     14                ´·µ» ¬±
                       like    ¿-µ for
                            to ask º±® the
                                       ¬¸» óó ×ùª» asked
                                           -- I've ¿-µ»¼
     ïë
     15                 ¿²¼ I've
                        and ×ùª» ¿-µ»¼ ¿²¼ I've
                                 asked and ×ùª» ¿-µ»¼ º±®
                                                asked for
     ïê
     16                 ¬¸» packet
                        the °¿½µ»¬ ¬¸¿¬
                                   that ©¿-
                                        was °®»-»²¬»¼ ¬±
                                            presented to
     ïé
     17                 ¬¸» committee
                        the ½±³³·¬¬»» ³»³¾»®-ò
                                      members.                  ×
                                                                I ©±«´¼
                                                                  would
     ïè
     18                ´·µ» ¿
                       like a ½±°§ ±º the
                              copy of ¬¸» packet,
                                          °¿½µ»¬ô the
                                                  ¬¸»
     ïç
     19                 ·²º±®³¿¬·±² that
                        information ¬¸¿¬ ©¿- -«¾³·¬¬»¼ to
                                         was submitted ¬±
     îð
     20
     20                 ¬¸» committee
                        the ½±³³·¬¬»» ³»³¾»®- -± that
                                      members so ¬¸¿¬ I
                                                      ×
     îï
     21                 ©·´´ µ²±© ©¸¿¬
                        will know what ©¿- ½±²-·¼»®»¼ by
                                       was considered ¾§
     îî
     22                 ¬¸» committee
                        the ½±³³·¬¬»» before
                                      ¾»º±®» ©»
                                             we ½¿³» ¸»®»
                                                came here
     îí
     23                 ¬±¼¿§ because
                        today ¾»½¿«-» §±«ù®» ½±²-·¼»®·²¹
                                      you're considering
     îì
     24                 ·²º±®³¿¬·±² that
                        information ¬¸¿¬ I
                                         × ³¿§ ±® ³¿§
                                           may or     ²±¬
                                                  may not
   Ù±´µ±© Litigation
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      ï
      1                 µ²±© ¿¾±«¬ò
                        know about.             ß²¼ that's
                                                And ¬¸¿¬ù-
      î
      2                º«²¼¿³»²¬¿´´§ unfair
                       fundamentally «²º¿·® to
                                            ¬± ³§ ½´·»²¬ô
                                               my client,
      í
      3                º±® ³§
                       for my ½´·»²¬ ¬± have
                              client to ¸¿ª» to
                                             ¬± defend
                                                ¼»º»²¼
      ì
      4                 ¿¹¿·²-¬ potential
                        against °±¬»²¬·¿´ information
                                          ·²º±®³¿¬·±² that
                                                      ¬¸¿¬
      ë
      5                 ©» ¼±²ù¬ ¸¿ª»ò
                        we don't have.
      ê
      6                           Ú·®-¬ô
                                  First, ×
                                         I ©±«´¼ ¿-µ for
                                           would ask º±® a
                                                         ¿
      é
      7                 ½±°§ of
                        copy ±º that.
                                ¬¸¿¬ò
      è
      8                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸»®»ù-
                                                          There's
      ç
      9                 ¿½¬«¿´´§ ¿
                        actually   ¾´¿½µ binder
                                 a black ¾·²¼»® ®·¹¸¬ ·²
                                                right in
     ïð
     10                º®±²¬ of
                       front ±º §±«ò
                                you.              É» ¿´-± ¸¿ª»
                                                  We also have
     ïï
     11                 °®±ª·¼»¼ ¬¸¿¬
                        provided      ±² ³±®»
                                 that on      ¬¸¿² one
                                         more than ±²»
     ïî
     12                ±½½¿-·±² °®·±®
                       occasion       ¬± this
                                prior to ¬¸·- proceeding,
                                              °®±½»»¼·²¹ô
     ïí
     13                 ©¸·½¸ ·- our
                        which is ±«® usual
                                     «-«¿´ practice
                                           °®¿½¬·½» even
                                                    »ª»²
     ïì
     14                 ©·¬¸±«¬
                        without §±« ¿-µ·²¹ò
                                you asking.                Ì¸¿¬ù- ©¸¿¬
                                                           That's what
     ïë
     15                 ©» ¼±ò
                        we do.
     ïê
     16                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É¸»®»
                                                      Where ·- ¬¸»
                                                            is the
     ïé
     17                ´»¬¬»® ¬¸¿¬
                       letter that §±« -»²¬ to
                                   you sent ¬± ¬¸»
                                               the
     ïè
     18                 ½±³³·¬¬»» ³»³¾»®-
                        committee         ¿¼¼®»--·²¹ this?
                                  members addressing ¬¸·-á
     ïç
     19                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸» ³¿¬»®·¿´-
                                                          The materials
     îð
     20                 °®»-»²¬»¼ to
                        presented ¬± ¬¸» ½±³³·¬¬»»
                                     the committee
     îï
     21                 ®»¹¿®¼·²¹ ¬¸·- circumstance
                        regarding this ½·®½«³-¬¿²½» ©·¬¸
                                                    with
     îî
     22                Ü®ò Tulp's
                       Dr. Ì«´°ù- ½¸¿®¹»- ±º irregular
                                  charges of ·®®»¹«´¿®
     îí
     23                 ¾»¸¿ª·±® ¿®»
                        behavior are °®»-»²¬»¼ ·² ¬¸¿¬
                                     presented in that
     îì
     24                 ¾·²¼»® ¬±
                        binder to §±«ò
                                  you.
   Ù±´µ±© Litigation
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      ï
      1                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ asking
                                                      I'm ¿-µ·²¹ §±«
                                                                 you
      î
      2                º±® the
                       for ¬¸» letter
                               ´»¬¬»® §±« -»²¬ to
                                      you sent ¬± the
                                                  ¬¸»
      í
      3                 ½±³³·¬¬»» ³»³¾»®-ò
                        committee members.
      ì
      4                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            × don't
                                                          I ¼±²ù¬ know
                                                                  µ²±©
      ë
      5                 ©¸¿¬
                        what §±«ù®» ¬¿´µ·²¹ about.
                             you're talking ¿¾±«¬ò
      ê
      6                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ç±« didn't
                                                      You ¼·¼²ù¬ send
                                                                 -»²¼
      é
      7                 ¬¸»³ ¿
                        them   ´»¬¬»® explaining
                             a letter »¨°´¿·²·²¹ ©¸¿¬ ¬¸·-
                                                 what this
      è
      8                 ©¿-á
                        was?
      ç
      9                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É» -»²¬ those
                                                          We sent ¬¸±-»
     ïð
     10                 ³¿¬»®·¿´-ò
                        materials.
     ïï
     11                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É¸¿¬ ¿¾±«¬ the
                                                      What about ¬¸»
     ïî
     12                ´»¬¬»® ¬¸¿¬
                       letter that ©»²¬
                                   went ©·¬¸ ¬¸»
                                        with the
     ïí
     13                 ³¿¬»®·¿´-á
                        materials?
     ïì
     14                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸±-»
                                                          Those ¿®» ¬¸»
                                                                are the
     ïë
     15                 ³¿¬»®·¿´- ·²½´«¼·²¹ any
                        materials including ¿²§
     ïê
     16                 ½±®®»-°±²¼»²½» ©·¬¸
                        correspondence      ·¬ò
                                       with it.
     ïé
     17                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ß´´ the
                                                      All ¬¸»
     ïè
     18                 ½±®®»-°±²¼»²½» ©±«´¼
                        correspondence       ¾» ·²½´«¼»¼
                                       would be included
     ïç
     19                 ©·¬¸
                        with ¬¸·-
                             this ³¿¬»®·¿´á
                                  material?
     îð
     20                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ý±®®»½¬ò
                                                          Correct.
     îï
     21                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ sorry.
                                                      I'm -±®®§ò
     îî
     22                 É¸»®» ·- ¬¸»
                        Where is the ½±®®»-°±²¼»²½» ¬¸¿¬
                                     correspondence that
     îí
     23                 §±« -»²¬ ¬±
                        you sent    ¬¸» committee?
                                 to the ½±³³·¬¬»»á
     îì
     24                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸·- is
                                                          This ·- the
                                                                  ¬¸»
   Ù±´µ±© Litigation
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      ï
      1                 -¿³» ³¿¬»®·¿´
                        same          ¬¸¿¬ §±«
                             material that you ©»®»
                                               were
      î
      2                 °®±ª·¼»¼ò
                        provided.           Ò±ª»³¾»® ïì¬¸ §±«
                                            November 14th     ¹±¬
                                                          you got
      í
      3                 ·¬ by
                        it ¾§ e-mail,
                              »ó³¿·´ô and
                                      ¿²¼ Ò±ª»³¾»® ïë¬¸
                                          November 15th
      ì
      4                 §±« ¹±¬ it
                        you got ·¬ by
                                   ¾§ Ú»¼»®¿´ Û¨°®»--ò
                                      Federal Express.
      ë
      5                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           ×ù³ asking
                                                       I'm ¿-µ·²¹ for
                                                                  º±®
      ê
      6                 ¬¸» letters
                        the ´»¬¬»®- that
                                    ¬¸¿¬ §±« -»²¬ to
                                         you sent ¬± these
                                                     ¬¸»-»
      é
      7                 ½±³³·¬¬»» ³»³¾»®-ò
                        committee members.                Ç±« ¶«-¬
                                                          You just
      è
      8                 ¼·¼²ù¬ send
                        didn't -»²¼ this
                                    ¬¸·- out
                                         ±«¬ to
                                             ¬± ¬¸»
                                                the
      ç
      9                 ½±³³·¬¬»» ³»³¾»®-
                        committee         ¶«-¬ blindly.
                                  members just ¾´·²¼´§ò
     ïð
     10                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ë²º±®¬«²¿¬»
                                                          Unfortunate
     ïï
     11                 º±® them,
                        for ¬¸»³ô potentially
                                  °±¬»²¬·¿´´§ there's
                                              ¬¸»®»ù- a
                                                      ¿
     ïî
     12                 ´±¬ of
                        lot ±º ³¿¬»®·¿´- ¬¸»§ ¸¿ª»
                               materials they      ¬±
                                              have to
     ïí
     13                 ®»ª·»©ô ¿²¼ they
                        review, and ¬¸»§ carefully
                                         ½¿®»º«´´§ ®»ª·»©
                                                   review
     ïì
     14                 ¬¸» ³¿¬»®·¿´-
                        the           °®»-»²¬»¼ to
                            materials presented ¬± them
                                                   ¬¸»³ as
                                                        ¿-
     ïë
     15                 °®»-»²¬»¼ to
                        presented ¬± §±«ò
                                     you.                É» ¹»¬ ¿²
                                                         We get an
     ïê
     16                 »´»½¬®±²·½ ½±°§ô
                        electronic copy, ³§-»´º
                                         myself ·²½´«¼»¼
                                                included
     ïé
     17                 ©¸·½¸
                        which §±«
                              you ©»®» °®±ª·¼»¼ by
                                  were provided ¾§ e-mail
                                                   »ó³¿·´
     ïè
     18                 ±² Ò±ª»³¾»®
                        on          ïì¬¸ò
                           November 14th.
     ïç
     19                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           Í± §±«ù®»
                                                       So you're
     îð
     20                 ¬»´´·²¹ ³»
                        telling me ¬¸¿¬
                                   that §±« ¼·¼ not
                                        you did ²±¬ send
                                                    -»²¼
     îï
     21                 ¬¸»³ ¿
                        them   ´»¬¬»® explaining
                             a letter »¨°´¿·²·²¹ this
                                                 ¬¸·-
     îî
     22                 ³¿¬»®·¿´
                        material ¿²¼ »¨°´¿·²·²¹ ¬¸»
                                 and explaining the
     îí
     23                 ¿´´»¹¿¬·±² ¬±
                        allegation    ¬¸» committee
                                   to the ½±³³·¬¬»»
     îì
     24                 ³»³¾»®-ò
                        members.
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      ï
      1                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸¿¬ ³¿¬»®·¿´
                                                          That material
      î
      2                 ·- ¿-
                        is    °®»-»²¬»¼ to
                           as presented ¬± the
                                           ¬¸» committee.
                                               ½±³³·¬¬»»ò
      í
      3                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ç±«ù®» not
                                                      You're ²±¬
      ì
      4                 ¿²-©»®·²¹ ³§
                        answering    ¯«»-¬·±²ò
                                  my question.
      ë
      5                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            ×ù³ not
                                                          I'm ²±¬ ¸»®»
                                                                  here
      ê
      6                 ¬± ¿²-©»®
                        to answer §±«® ¯«»-¬·±²-ô sir.
                                  your questions, -·®ò
      é
      7                 É»ù®»
                        We're ¸»®» º±® §±«®
                              here for your ½´·»²¬ ¬±
                                            client to
      è
      8                »¨°´¿·² to
                       explain ¬± us
                                  «- the
                                     ¬¸» charges
                                         ½¸¿®¹»- of
                                                 ±º
      ç
      9                 ·®®»¹«´¿® behavior
                        irregular ¾»¸¿ª·±® against
                                           ¿¹¿·²-¬ him.
                                                   ¸·³ò
     ïð
     10                           ×º §±«
                                  If you ¸¿ª» ¿² opening
                                         have an ±°»²·²¹
     ïï
     11                 -¬¿¬»³»²¬ §±«
                        statement you ©±«´¼ ´·µ» to
                                      would like ¬± ³¿µ»ô
                                                    make,
     ïî
     12                 ©»ù®» ·²¬»®»-¬»¼ in
                        we're interested ·² ¸»¿®·²¹ ·¬ò
                                            hearing it.
     ïí
     13                Ñ«® committee
                       Our ½±³³·¬¬»» ¸¿- ¯«»-¬·±²- for
                                     has questions º±®
     ïì
     14                 §±«®
                        your ½´·»²¬ô
                             client, ¿²¼ ¬¸»² ©»
                                     and then we ©·´´
                                                 will
     ïë
     15                 ½±²-·¼»® ¬¸»
                        consider the ½¸¿®¹»- ±º ·®®»¹«´¿®
                                     charges of irregular
     ïê
     16                 ¾»¸¿ª·±®ò
                        behavior.
     ïé
     17                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ì¸·- committee
                                                      This ½±³³·¬¬»»
     ïè
     18                 ¸¿- ²± ¶«®·-¼·½¬·±²
                        has no              ±ª»® Dr.
                               jurisdiction over Ü®ò Tulp.
                                                     Ì«´°ò
     ïç
     19                 É» -¸±©»¼ up
                        We showed «° ¬±¼¿§ ¿- it
                                     today as ·¬ stands
                                                 -¬¿²¼-
     îð
     20                º±® negotiation.
                       for ²»¹±¬·¿¬·±²ò               Ç±« all
                                                      You ¿´´ ¸¿ª» ²±
                                                              have no
     îï
     21                ´»¹¿´ jurisdiction
                       legal ¶«®·-¼·½¬·±² to
                                          ¬± determine
                                             ¼»¬»®³·²»
     îî
     22                 ¿²§¬¸·²¹ò
                        anything.
     îí
     23                           Í± ¿½½±®¼·²¹´§ô
                                  So accordingly, °´»¿-» ¾»
                                                  please be
     îì
     24                 ¿¼ª·-»¼ that
                        advised ¬¸¿¬ ©»ù®» ²±¬ ©¿·ª·²¹
                                     we're not waiving
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      ï
      1                ¾»½¿«-» ©»ù®»
                       because we're ¸»®» ¿²§
                                     here any
      î
      2                ¶«®·-¼·½¬·±²¿´ issues
                       jurisdictional ·--«»- that
                                             ¬¸¿¬ ³¿§ ¾»
                                                  may be
      í
      3                ¿¼¼®»--»¼ at
                       addressed ¿¬ ¿²±¬¸»® º±®«³ at
                                    another forum ¿¬
      ì
      4                ¿²±¬¸»® day.
                       another ¼¿§ò
      ë
      5                          Í·²½» the
                                 Since ¬¸» ECFMG
                                           ÛÝÚÓÙ ¸¿-
                                                 has ³¿¼» ¬¸»
                                                     made the
      ê
      6                ¿´´»¹¿¬·±²ô it
                       allegation, ·¬ should
                                      -¸±«´¼ ¸¿ª» ¬¸»
                                             have the
      é
      7                -±´» ¿²¼
                       sole     »¨½´«-·ª» burden
                            and exclusive ¾«®¼»² of
                                                 ±º
      è
      8                °®±±ºò
                       proof.        Í± ©¸±
                                     So     ·- presenting
                                        who is °®»-»²¬·²¹ the
                                                          ¬¸»
      ç
      9                »ª·¼»²½» ¿¹¿·²-¬
                       evidence         Ü®ò Tulp?
                                against Dr. Ì«´°á
     ïð
     10                          Ì¸·- ·-
                                 This    ²±¬ the
                                      is not ¬¸» U.S.
                                                 ËòÍò
     ïï
     11                Ý±²¹®»--
                       Congress ©¸»®»
                                where §±« ½¿² ³¿µ»
                                      you can      ¾´·²¼
                                              make blind
     ïî
     12                ¿´´»¹¿¬·±²- and
                       allegations ¿²¼ attempt
                                       ¿¬¬»³°¬ to
                                               ¬± have
                                                  ¸¿ª»
     ïí
     13                ¬¸» person
                       the °»®-±² °®±ª» ¬¸»§ are
                                  prove they ¿®» not
                                                 ²±¬
     ïì
     14                ¹«·´¬§ò
                       guilty.         ß²¼ ¬¸¿¬ù-
                                       And that's ©¸¿¬ù-
                                                  what's
     ïë
     15                ±½½«®®·²¹ ¸»®»
                       occurring      ¬±¼¿§ô just
                                 here today, ¶«-¬ blatant
                                                  ¾´¿¬¿²¬
     ïê
     16                ¿½½«-¿¬·±²- and
                       accusations ¿²¼ then
                                       ¬¸»² assuming
                                            ¿--«³·²¹ ¸»ù-
                                                     he's
     ïé
     17                ¹«·´¬§ò
                       guilty.         ß²¼ §±«
                                       And     ¸¿ª» ¸·³
                                           you have him ½±³»
                                                        come
     ïè
     18                ¸»®» º±® 20
                       here for îð ³·²«¬»- ¬± explain
                                   minutes to »¨°´¿·² ©¸§
                                                      why
     ïç
     19                ¸»ù-
                       he's ²±¬ ¹«·´¬§ò
                            not guilty.
     îð
     20                          Ç±« ¸¿ª»
                                 You      ¿ duty
                                     have a ¼«¬§ of
                                                 ±º
     îï
     21                °®»-»²¬·²¹ §±«®
                       presenting      »ª·¼»²½»ô ½®»¼·¾´»
                                  your evidence, credible
     îî
     22                »ª·¼»²½» before
                       evidence ¾»º±®» Dr.
                                       Ü®ò Ì«´°
                                           Tulp ¸¿- ¬±
                                                has to
     îí
     23                ¿²-©»® ¿²§¬¸·²¹ò
                       answer anything.              ×¬ù- §±«®
                                                     It's your
     îì
     24                ¾«®¼»²ò
                       burden.
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      ï
      1                           Ò±©ô §±«
                                  Now,     ½´¿·³ §±«
                                       you claim     ¿®»
                                                 you are
      î
      2                ¾¿-·²¹ ¬¸·-
                       basing      ±² the
                              this on ¬¸» preponderance
                                          °®»°±²¼»®¿²½»
      í
      3                ±º evidence.
                       of »ª·¼»²½»ò             É¸¿¬ »ª·¼»²½» are
                                                What evidence ¿®»
      ì
      4                 §±« °®»-»²¬·²¹ here
                        you presenting ¸»®» today
                                            ¬±¼¿§ ¬¸¿¬ Ü®ò
                                                  that Dr.
      ë
      5                 Ì«´° ª·±´¿¬»¼
                        Tulp          ¿²§¬¸·²¹á
                             violated anything?                   Ò±²»ò
                                                                  None.
      ê
      6                           ß´-±ô there
                                  Also, ¬¸»®» appears
                                              ¿°°»¿®- to
                                                      ¬± be
                                                         ¾» a
                                                            ¿
      é
      7                 ½±ó³·²¹´·²¹ of
                        co-mingling ±º the
                                       ¬¸» prosecutorial
                                           °®±-»½«¬±®·¿´
      è
      8                 ¿²¼ jury
                        and ¶«®§ functions.
                                 º«²½¬·±²-ò                Ç±« are
                                                           You ¿®» both
                                                                   ¾±¬¸
      ç
      9                 ³¿µ·²¹
                        making ¬¸»
                               the ½´¿·³- ¿²¼ acting
                                   claims and ¿½¬·²¹ as
                                                     ¿-
     ïð
     10                 ¶«¼¹» and
                        judge ¿²¼ jury.
                                  ¶«®§ò
     ïï
     11                           É»
                                  We ¸¿ª» ¿-µ»¼ for
                                     have asked º±® discovery
                                                    ¼·-½±ª»®§
     ïî
     12                ±º documents,
                       of ¼±½«³»²¬-ô especially
                                     »-°»½·¿´´§ any
                                                ¿²§
     ïí
     13                ´»¬¬»®- or
                       letters ±® ½±®®»-°±²¼»²½»
                                  correspondence ¬¸¿¬
                                                 that
     ïì
     14                 ¸¿ª» ¾»»² sent
                        have been -»²¬ to
                                       ¬± the
                                          ¬¸» ½±³³·¬¬»»
                                              committee
     ïë
     15                 ³»³¾»®-ò
                        members.         Ì¸» claim
                                         The ½´¿·³ that
                                                   ¬¸¿¬ §±« ¶«-¬
                                                        you just
     ïê
     16                -»²¬ ¬¸»
                       sent the ½±³³·¬¬»»
                                committee ³»³¾»®- ¬¸·-
                                          members this
     ïé
     17                 ©·¬¸±«¬ ¿²§ explanation
                        without any »¨°´¿²¿¬·±² doesn't
                                                ¼±»-²ù¬
     ïè
     18                 ³»»¬
                        meet ¿²§ µ·²¼ of
                             any kind ±º test
                                         ¬»-¬ of
                                              ±º
     ïç
     19                 ½®»¼·¾·´·¬§ò
                        credibility.
     îð
     20                           Ì¸» ECFMG
                                  The ÛÝÚÓÙ is
                                            ·- either
                                               »·¬¸»® ¿½¬·²¹
                                                      acting
     îï
     21                 ¿- quasi
                        as ¯«¿-· government
                                 ¹±ª»®²³»²¬ entity
                                            »²¬·¬§ or
                                                   ±®
     îî
     22                 ¿½¬·²¹ under
                        acting «²¼»® ¿ ½±²¬®¿½¬ basis.
                                     a contract ¾¿-·-ò
     îí
     23                 Ò±©ô §±«
                        Now, you ½´¿·³ ¬¸¿¬ §±«
                                 claim that you ¿®» ¿
                                                are a
     îì
     24                 °®·ª¿¬» nonprofit
                        private ²±²°®±º·¬ entity.
                                          »²¬·¬§ò                     Í± the
                                                                      So ¬¸»
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      ï
      1                 ±²´§ ®»¿-±²
                        only        ¬¸¿¬ §±«
                             reason that     ½±«´¼ be
                                         you could ¾»
      î
      2                 ·²¬»®¿½¬·²¹ ©·¬¸
                        interacting      Ü®ò Tulp
                                    with Dr. Ì«´° ·- ±²
                                                  is on
      í
      3                 ¬¸» basis
                        the ¾¿-·- of
                                  ±º ½±²¬®¿½¬ò
                                     contract.                   É¸»®» ·-
                                                                 Where is
      ì
      4                 ¬¸» contract?
                        the ½±²¬®¿½¬á
      ë
      5                           Ü®ò Tulp's
                                  Dr. Ì«´°ù- doesn't
                                             ¼±»-²ù¬ ¸¿ª» ¿
                                                     have a
      ê
      6                 ½±²¬®¿½¬ ©·¬¸
                        contract with §±« ¿´´ò
                                      you all.                   Í± §±«
                                                                 So you
      é
      7                 ¸¿ª»
                        have ²±
                             no ®·¹¸¬ ¬± tortuously
                                right to ¬±®¬«±«-´§
      è
      8                 ·²¬»®º»®» ©·¬¸
                        interfere      ¸·- business
                                  with his ¾«-·²»--
      ç
      9                 °®¿½¬·½»- or
                        practices ±® ¬±®¬«±«-´§
                                     tortuously ·²¬»®º»®»
                                                interfere
     ïð
     10                 ©·¬¸
                        with ¸·- -¬«¼»²¬-ò
                             his students.
     ïï
     11                           ÛÝÚÓÙ ¸¿-
                                  ECFMG     °®·²¬»¼ ¿²¼
                                        has printed and
     ïî
     12                 °«¾´·-¸»¼ derogatory
                        published ¼»®±¹¿¬±®§ information
                                             ·²º±®³¿¬·±²
     ïí
     13                 ¿¾±«¬ USAT.
                        about ËÍßÌò             É¸»¬¸»® ·¬ù- ¬®«»
                                                Whether it's      ±®
                                                             true or
     ïì
     14                 ²±¬ true,
                        not ¬®«»ô at
                                  ¿¬ least
                                     ´»¿-¬ the
                                           ¬¸» target
                                               ¬¿®¹»¬ of
                                                      ±º
     ïë
     15                 ¬¸±-» accusations
                        those ¿½½«-¿¬·±²- should
                                          -¸±«´¼ ¸¿ª»
                                                 have ¸¿¼
                                                      had
     ïê
     16                 ¬¸» opportunity
                        the ±°°±®¬«²·¬§ to
                                        ¬± address
                                           ¿¼¼®»-- those
                                                   ¬¸±-»
     ïé
     17                 ¿½½«-¿¬·±²- before
                        accusations ¾»º±®» §±« ¹± out
                                           you go ±«¬ and
                                                      ¿²¼
     ïè
     18                 ¿¬¬»³°¬ to
                        attempt ¬± ®«·² ¬¸» school,
                                   ruin the -½¸±±´ô ©¸·½¸
                                                    which
     ïç
     19                 ·- ©¸¿¬
                        is what §±«
                                you ¸¿ª» ¼±²» causing
                                    have done ½¿«-·²¹
     îð
     20                 °®±¾¿¾´§ ³·´´·±²-
                        probably          ±º dollars
                                 millions of ¼±´´¿®- ©±®¬¸
                                                     worth
     îï
     21                 ±º damages.
                        of ¼¿³¿¹»-ò
     îî
     22                           ×º §±«ù®»
                                  If        ²±¬ a
                                     you're not ¿ quasi
                                                  ¯«¿-·
     îí
     23                 ¹±ª»®²³»²¬ entity,
                        government »²¬·¬§ô everybody
                                           »ª»®§¾±¼§ in
                                                     ·²
     îì
     24                 ¬¸·- ®±±³
                        this      ·- going
                             room is ¹±·²¹ to
                                           ¬± be
                                              ¾» liable
                                                 ´·¿¾´»
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      ï
      1                º±® ©¸¿¬»ª»®
                       for          ¼¿³¿¹»- ©»
                           whatever damages we ½¿²
                                               can °®±ª»ò
                                                   prove.
      î
      2                 Ç±«ùª» ¿´®»¿¼§
                        You've         °®»¶«¼¹»¼ the
                               already prejudged ¬¸» case
                                                     ½¿-»
      í
      3                 ¾§ ¬¿µ·²¹
                        by        ¿½¬·±² against
                           taking action ¿¹¿·²-¬ USAT
                                                 ËÍßÌ by
                                                      ¾§
      ì
      4                 ®»º«-·²¹
                        refusing ¬±
                                 to ®»´»¿-» ¼±½«³»²¬- of
                                    release documents ±º
      ë
      5                 ¬¸»·® students.
                        their -¬«¼»²¬-ò             Ì±¬¿´´§ ¸¿ª»
                                                    Totally have
      ê
      6                 ®»º«-»¼ ¬± ®»´»¿-»
                        refused to         ¼±½«³»²¬- of
                                   release documents ±º
      é
      7                 -¬«¼»²¬- ¬¸»
                        students     -¬«¼»²¬- are
                                 the students ¿®» entitled
                                                  »²¬·¬´»¼
      è
      8                 ¬± ¸¿ª»
                        to have ®»´»¿-»¼ò
                                released.
      ç
      9                           ß¹¿·²ô ®»°»¿¬·²¹
                                  Again, repeating ³§-»´ºô
                                                   myself,
     ïð
     10                 §±«ù®» »·¬¸»® a
                        you're either ¿ quasi
                                        ¯«¿-· government
                                              ¹±ª»®²³»²¬
     ïï
     11                 ¿¹»²½§ or
                        agency ±® §±« ¿®» a
                                  you are ¿ °®·ª¿¬»
                                            private
     ïî
     12                 ¿¹»²½§ò
                        agency.        ß °®·ª¿¬»
                                       A         ¿¹»²½§ §±«
                                         private agency     ¹±¬
                                                        you got
     ïí
     13                 ¬± ¸¿ª»
                        to      ¿ contract.
                           have a ½±²¬®¿½¬ò                Ï«¿-·
                                                           Quasi
     ïì
     14                ¹±ª»®²³»²¬ ¿¹»²½§
                       government agency §±« ¹±¬ to
                                         you got ¬± have
                                                    ¸¿ª»
     ïë
     15                 ¿¬ least
                        at ´»¿-¬ ¿² ¿--»³¾´¿²½» of
                                 an assemblance ±º due
                                                   ¼«»
     ïê
     16                 °®±½»-- ©¸·½¸
                        process       ¬¸»®»ù- none
                                which there's ²±²» here.
                                                   ¸»®»ò
     ïé
     17                           × asked
                                  I ¿-µ»¼ for
                                          º±® the
                                              ¬¸» ®«´»- ¿²¼
                                                  rules and
     ïè
     18                 ®»¹«´¿¬·±²- ¿²¼ the
                        regulations and ¬¸» °®±¬±½±´- º±®
                                            protocols for
     ïç
     19                 ¬¸»-» ³»»¬·²¹-ò
                        these meetings.             ß°°¿®»²¬´§ô there
                                                    Apparently, ¬¸»®»
     îð
     20                 ·- ²±²»
                        is      ±¬¸»® than
                           none other ¬¸¿² ©¸¿¬ù-
                                           what's ·² ¬¸»
                                                  in the
     îï
     21                »§»- of
                       eyes ±º the
                               ¬¸» beholders
                                   ¾»¸±´¼»®- of
                                             ±º the
                                                ¬¸»
     îî
     22                 °»±°´» ©¸±
                        people who ®«² ¬¸» ECFMG.
                                   run the ÛÝÚÓÙò
     îí
     23                           É¸¿¬ù-
                                  What's ¬¸» °®±¬±½±´á
                                         the protocol?                  ×
                                                                        I
     îì
     24                 ¿-µ»¼ for
                        asked º±® the
                                  ¬¸» agenda.
                                      ¿¹»²¼¿ò                  × got
                                                               I ¹±¬ a
                                                                     ¿
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      ï
      1                 ¾®·»º statement
                        brief -¬¿¬»³»²¬ to
                                        ¬± show
                                           -¸±© up
                                                «° at
                                                   ¿¬
      î
      2                 èæìëò
                        8:45.       ß²¼ ¸»®»
                                    And here ©» ¿®» at
                                             we are ¿¬
      í
      3                 ¬»² o'clock,
                        ten ±ù½´±½µô ¬±¬¿´ ¼·-®»-°»½¬º«´
                                     total disrespectful
      ì
      4                 ¬± ³§
                        to    ½´·»²¬ ¿²¼
                           my client and ³§-»´º ¬± have
                                         myself to ¸¿ª» us
                                                        «-
      ë
      5                 -¸±© up
                        show «° at
                                ¿¬ 8:45
                                   èæìë and
                                        ¿²¼ then
                                            ¬¸»² be
                                                 ¾»
      ê
      6                 ¬»² o'clock
                        ten ±ù½´±½µ before
                                    ¾»º±®» §±«
                                           you ¸¿ª» «-
                                               have us
      é
      7                 ½±³» ·²
                        come    ¿²¼ address
                             in and ¿¼¼®»-- §±«ò
                                            you.
      è
      8                           Í± ©»
                                  So we ¸¿ª» ²±¬ received
                                        have not ®»½»·ª»¼ the
                                                          ¬¸»
      ç
      9                 ®«´»- ¿²¼ ®»¹«´¿¬·±²-
                        rules and             º±® ¬¸»
                                  regulations for the
     ïð
     10                 ¸»¿®·²¹ ²±® ¸¿ª»
                        hearing nor have ©» -»»² any
                                         we seen ¿²§ right
                                                     ®·¹¸¬
     ïï
     11                 ¬¸¿¬ §±«
                        that you ¸¿ª» ±¬¸»® than
                                 have other ¬¸¿²
     ïî
     12                 »--»²¬·¿´´§ blackmailing
                        essentially ¾´¿½µ³¿·´·²¹ the
                                                 ¬¸»
     ïí
     13                 -¬«¼»²¬- ¿²¼
                        students and ¬»´´·²¹ ¬¸» students,
                                     telling the -¬«¼»²¬-ô
     ïì
     14                 ©»´´ô ·º §±«
                        well, if     ¼±²ù¬ send
                                 you don't -»²¼ ·² ¬¸»-»
                                                in these
     ïë
     15                 º±®³-ô ©»ù®»
                        forms,       ¹±·²¹ to
                               we're going ¬± ¸±´¼
                                              hold §±«®
                                                   your
     ïê
     16                 ®»½±®¼-
                        records ¸±-¬¿¹»ô
                                hostage, ©¸·½¸
                                         which ¸¿-
                                               has
     ïé
     17                 ®»-«´¬»¼
                        resulted ·² -¬«¼»²¬- either
                                 in students »·¬¸»® being
                                                    ¾»·²¹
     ïè
     18                 ¿½½»°¬»¼ for
                        accepted º±® ®»-·¼»²½§ ¿²¼ not
                                     residency and ²±¬
     ïç
     19                 ¾»·²¹ able
                        being ¿¾´» ¬± ½±²¬·²«» ©·¬¸
                                   to continue      ¬¸»
                                               with the
     îð
     20                 ®»-·¼»²½§ ±® ²±¬
                        residency or     ¾»·²¹ able
                                     not being ¿¾´» to
                                                    ¬± be
                                                       ¾»
     îï
     21                 ·²¬»®ª·»©»¼ for
                        interviewed º±® the
                                        ¬¸» ®»-·¼»²½§ò
                                            residency.
     îî
     22                           Ì¸¿¬ ·-
                                  That    ±«® opening
                                       is our ±°»²·²¹
     îí
     23                 -¬¿¬»³»²¬ò
                        statement.              ×º §±«
                                                If     ¸¿ª» any
                                                   you have ¿²§
     îì
     24                 ¯«»-¬·±²-ô §±«
                        questions,     ½¿² address
                                   you can ¿¼¼®»-- them
                                                   ¬¸»³ to
                                                        ¬±
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      ï
      1                 ³»ò
                        me.     Ü®ò Ì«´°
                                Dr. Tulp ©·´´ ²±¬ be
                                         will not ¾»
      î
      2                 ¿²-©»®·²¹ any
                        answering ¿²§ questions.
                                      ¯«»-¬·±²-ò
      í
      3                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ó®ò Í©¿¬»ô do
                                                          Mr. Swate, ¼±
      ì
      4                 §±«
                        you ¸¿ª»
                            have ¿²§ -«¾-¬¿²¬·ª» ®»-°±²-»
                                 any substantive response
      ë
      5                ±® statement
                       or -¬¿¬»³»²¬ ©·¬¸
                                    with ®»-°»½¬ ¬± the
                                         respect to ¬¸»
      ê
      6                 ½¸¿®¹»- of
                        charges ±º ·®®»¹«´¿® ¾»¸¿ª·±®
                                   irregular behavior
      é
      7                 ¿¹¿·²-¬ §±«®
                        against your ½´·»²¬á
                                     client?
      è
      8                           É»ùª»
                                  We've ¸»¿®¼
                                        heard §±«® °®±½»¼«®¿´
                                              your procedural
      ç
      9                 ½±²½»®²-ò
                        concerns.           ß²¼ just
                                            And ¶«-¬ for
                                                     º±® ¬¸»
                                                         the
     ïð
     10                 °«®°±-»- of
                        purposes ±º the
                                    ¬¸» ®»½±®¼ô
                                        record, ©»
                                                we
     ïï
     11                 ¼·-¿¹®»» ¿½®±--
                        disagree        ¬¸» board
                                 across the ¾±¿®¼ ©·¬¸
                                                  with
     ïî
     12                 §±«®
                        your ¿´´»¹¿¬·±²- ¿²¼ §±«®
                             allegations and your
     ïí
     13                 -¬¿¬»³»²¬- ¿¾±«¬
                        statements       ¬¸» state
                                   about the -¬¿¬» of
                                                   ±º
     ïì
     14                 ¿ºº¿·®-ò
                        affairs.         × think
                                         I ¬¸·²µ for
                                                 º±® everybody's
                                                     »ª»®§¾±¼§ù-
     ïë
     15                 ¬·³» ×ù³
                        time I'm ²±¬ ¹±·²¹ to
                                 not going ¬± go
                                              ¹± through
                                                 ¬¸®±«¹¸
     ïê
     16                 ¬¸»³ ¿²¼
                        them     »²«³»®¿¬» each
                             and enumerate »¿½¸ ¿²¼ »ª»®§
                                                and every
     ïé
     17                -·²¹´» one
                       single ±²» of
                                  ±º them.
                                     ¬¸»³ò
     ïè
     18                           ×º ¿²¼
                                  If and ©¸»²
                                         when ©» »ª»® ended
                                              we ever »²¼»¼ up
                                                            «°
     ïç
     19                ¼»¿´·²¹ ©·¬¸
                       dealing with ¬¸»-» ·--«»- ·²
                                    these issues    ¬¸»
                                                 in the
     îð
     20                 ½±«®¬ of
                        court ±º law,
                                 ´¿©ô ©»
                                      we ©±«´¼ ¼»¿´ ©·¬¸
                                         would deal with
     îï
     21                 ¬¸»³ ¬¸»²
                        them      ¿²¼ ©»
                             then and    º»»´ very
                                      we feel ª»®§
     îî
     22                 ½±²º·¼»²¬ óó
                        confident
     îí
     23                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          × can
                                                      I ½¿² ¿--«®»
                                                            assure §±«
                                                                   you
     îì
     24                 ©»ù®» ¹±·²¹ to
                        we're going ¬± end
                                       »²¼ up
                                           «° in
                                              ·² federal
                                                 º»¼»®¿´
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      ï
      1                 ½±«®¬ò
                        court.
      î
      2                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            × let
                                                          I ´»¬ §±«
                                                                you
      í
      3                 -°»¿µò
                        speak.       Ý¿²
                                     Can §±« ´»¬ ³»
                                         you let    -°»¿µá
                                                 me speak?
      ì
      4                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ sorry.
                                                      I'm -±®®§ò
      ë
      5                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:           Ü± §±«
                                                         Do     ¸¿ª»
                                                            you have
      ê
      6                 ¿²§ statement
                        any -¬¿¬»³»²¬ ©·¬¸ ®»¹¿®¼ to
                                      with regard ¬± the
                                                     ¬¸»
      é
      7                 ¿½¬«¿´ substantive
                        actual -«¾-¬¿²¬·ª» allegations
                                           ¿´´»¹¿¬·±²- of
                                                       ±º
      è
      8                 ·®®»¹«´¿® behavior?
                        irregular ¾»¸¿ª·±®á
      ç
      9                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É» ½¿² go
                                                      We can ¹±
     ïð
     10                 ¬¸®±«¹¸ this
                        through ¬¸·- °¿¹» ¾§ page.
                                     page by °¿¹»ò
     ïï
     11                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            × don't
                                                          I ¼±²ù¬ ³»¿²
                                                                  mean
     ïî
     12                 ¬± go
                        to ¹± through
                              ¬¸®±«¹¸ it
                                      ·¬ page
                                         °¿¹» by
                                              ¾§ page.
                                                 °¿¹»ò
     ïí
     13                ß®» §±«
                       Are you ¸»®»
                               here ¬±¼¿§ -¿§·²¹ ¬¸¿¬
                                    today saying that óó
                                                      --
     ïì
     14                 ·- ·¬
                        is    Ü®ò Tulp?
                           it Dr. Ì«´°á             × ©±«´¼
                                                    I       -¿§ Tulp
                                                      would say Ì«´°
     ïë
     15                 ©·¬¸
                        with ¿² Ôò
                             an L.
     ïê
     16                           ÜÎò TULP:
                                  DR. ÌËÔÐæ         ×¬ù- Tulp.
                                                    It's Ì«´°ò
     ïé
     17                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:           ß®» §±«
                                                         Are     -¿§·²¹
                                                             you saying
     ïè
     18                 ¬¸¿¬ Dr.
                        that Ü®ò Ì«´° ¼·¼ not
                                 Tulp did ²±¬ °®±ª·¼»
                                              provide
     ïç
     19                 ·²½±®®»½¬ information
                        incorrect ·²º±®³¿¬·±² to
                                              ¬± ECFMG
                                                 ÛÝÚÓÙ
     îð
     20                 ©·¬¸
                        with ®»¹¿®¼ ¬± branch
                             regard to ¾®¿²½¸ ½¿³°«-»- ·²
                                              campuses in
     îï
     21                 ¬¸» United
                        the Ë²·¬»¼ States?
                                   Í¬¿¬»-á
     îî
     22                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Í¸±© ³»
                                                      Show me §±«®
                                                              your
     îí
     23                »ª·¼»²½» ¬¸¿¬
                       evidence that ¸» ¼·¼ò
                                     he did.
     îì
     24                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»
                                                          We ¸¿ª» »ó³¿·´
                                                             have e-mail
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      ï
      1                 ½±®®»-°±²¼»²½» from
                        correspondence º®±³ ¸·³
                                            him ·² ¿´´
                                                in all
      î
      2                 ½¿°- saying
                        caps -¿§·²¹ that
                                    ¬¸¿¬ there
                                         ¬¸»®» ©»®» ²±¬
                                               were not
      í
      3                 ½¿³°«-»- ·²
                        campuses    ¬¸» United
                                 in the Ë²·¬»¼ States.
                                               Í¬¿¬»-ò
      ì
      4                ß²¼ ©»
                       And we ¸¿ª» -·¹²·º·½¿²¬ evidence
                              have significant »ª·¼»²½»
      ë
      5                 ¬± ¬¸»
                        to the ½±²¬®¿®§ò
                               contrary.              É»
                                                      We ©»®»
                                                         were
      ê
      6                 ©±²¼»®·²¹ ·º óó
                        wondering if --
      é
      7                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É¸¿¬ù-
                                                      What's §±«®
                                                             your
      è
      8                 ¼»º·²·¬·±² of
                        definition ±º campus?
                                      ½¿³°«-á
      ç
      9                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ó¿§¾»
                                                          Maybe ¬¸¿¬ù-
                                                                that's
     ïð
     10                 -±³»¬¸·²¹ §±«
                        something     ½¿² illuminate
                                  you can ·´´«³·²¿¬» for
                                                     º±®
     ïï
     11                «- ¿¾±«¬
                       us about ©¸¿¬
                                what §±«® ½´·»²¬ù- ª·»©
                                     your client's view
     ïî
     12                 ·- of
                        is ±º a
                              ¿ campus,
                                ½¿³°«-ô ©¸»¬¸»®
                                        whether ¬¸»®»
                                                there ©¿-
                                                      was
     ïí
     13                »¼«½¿¬·±² taking
                       education ¬¿µ·²¹ place
                                        °´¿½» in
                                              ·² ¬¸»
                                                 the
     ïì
     14                 Ë²·¬»¼ States
                        United Í¬¿¬»- for
                                      º±® USTAT.
                                          ËÍÌßÌò
     ïë
     15                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ì¸» burden
                                                      The ¾«®¼»² of
                                                                 ±º
     ïê
     16                 °®±±º is
                        proof ·- ²±¬ ±² Dr.
                                 not on Ü®ò Tulp.
                                            Ì«´°ò                     Ì¸»
                                                                      The
     ïé
     17                 ¾«®¼»² of
                        burden ±º proof
                                  °®±±º is
                                        ·- on
                                           ±² the
                                              ¬¸» ECFMG.
                                                  ÛÝÚÓÙò
     ïè
     18                           Ò±©ô Dr.
                                  Now, Ü®ò Tulp
                                           Ì«´° is
                                                ·- not
                                                   ²±¬ going
                                                       ¹±·²¹
     ïç
     19                 ¬± ¿¼¼®»--
                        to address ¿
                                   a ²»¾«´±«- ¼»º·²·¬·±²
                                     nebulous definition
     îð
     20                ±º ½¿³°«-»-ò
                       of campuses.             Ç±« show
                                                You -¸±© ³»
                                                         me §±«®
                                                            your
     îï
     21                 ©®·¬¬»² ¼»º·²·¬·±² of
                        written definition ±º ½¿³°«-»- ¿²¼
                                              campuses and
     îî
     22                 ©»ù´´ ¿¼¼®»-- that.
                        we'll address ¬¸¿¬ò
     îí
     23                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ü·¼ USTAT
                                                          Did ËÍÌßÌ
     îì
     24                 °®±ª·¼» any
                        provide ¿²§ student
                                    -¬«¼»²¬ ©·¬¸ ¿²§
                                            with any
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      ï
      1                 ³»¼·½¿´ -½¸±±´ basic
                        medical school ¾¿-·½ science
                                             -½·»²½»
      î
      2
      2                 »¼«½¿¬·±² in
                        education ·² ¬¸» Ë²·¬»¼ States?
                                     the United Í¬¿¬»-á
      í
      3                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           É»´´ô
                                                       Well, §»-ô ·¬
                                                             yes, it
      ì
      4
      4                 ¼·¼ò
                        did.
      ë
      5                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ø»ù- shaking
                                                          He's -¸¿µ·²¹
      ê
      6
      6                 ¸·-
                        his ¸»¿¼ô ²±ô and
                            head, no, ¿²¼ §±« ¶«-¬ said,
                                          you just -¿·¼ô
      é
      7
      7                 §»-ò
                        yes.      Í± ³¿§¾»
                                  So maybe §±« -¸±«´¼ let
                                           you should ´»¬ §±«®
                                                          your
      è
      8                 ½´·»²¬ speak
                        client -°»¿µ ¬±
                                     to ®»-°±²¼ò
                                        respond.
      ç
      9
      9                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           Ü®ò Ì«´°
                                                       Dr.      ·- not
                                                           Tulp is ²±¬
     ïð
     10                 ¹±·²¹ to
                        going ¬± be
                                 ¾» talking
                                    ¬¿´µ·²¹ today.
                                            ¬±¼¿§ò                       Ì¸»
                                                                         The
     ïï
     11                 ²»¨¬ ¬·³»
                        next time §±«
                                  you ¸»¿® ¸·³ talk
                                      hear him ¬¿´µ is
                                                    ·-
     ïî
     12
     12                 ¹±·²¹ to
                        going ¬± be
                                 ¾» in
                                    ·² federal
                                       º»¼»®¿´ court.
                                               ½±«®¬ò
     ïí
     13                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Í±ô §»-ô
                                                          So,      ¬¸»®»
                                                              yes, there
     ïì
     14                 ©¿- »¼«½¿¬·±² in
                        was education ·² the
                                         ¬¸» United
                                             Ë²·¬»¼
     ïë
     15                 Í¬¿¬»-á
                        States?
     ïê
     16                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           Ì¸»®» ©¿-
                                                       There     ²±
                                                             was no
     ïé
     17                 ½¿³°«- ·²
                        campus    ¬¸» United
                               in the Ë²·¬»¼ States.
                                             Í¬¿¬»-ò
     ïè
     18                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Í± ³§
                                                          So    ¯«»-¬·±²
                                                             my question
     ïç
     19                 ©¿-ô
                        was, ©¿-
                             was ¬¸»®» ¿²§ education
                                 there any »¼«½¿¬·±² for
                                                     º±®
     îð
     20
     20                 ¾¿-·½ ³»¼·½¿´
                        basic         -½·»²½»- provided
                              medical sciences °®±ª·¼»¼ in
                                                        ·²
     îï
     21                 ¬¸» United
                        the Ë²·¬»¼ States?
                                   Í¬¿¬»-á
     îî
     22
     22                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           É¸¿¬ ¼± §±«
                                                       What do you ³»¿²
                                                                   mean
     îí
     23                 ¾§ education?
                        by »¼«½¿¬·±²á
     îì
     24                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»®» ¬¸»®» any
                                                          Were there ¿²§
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      ï
      1                ´·ª» lectures
                       live ´»½¬«®»- provided
                                     °®±ª·¼»¼ in
                                              ·² ¬¸»
                                                 the
      î
      2                 Ë²·¬»¼ States
                        United Í¬¿¬»- for
                                      º±® USAT?
                                          ËÍßÌá
      í
      3                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ó§
                                                      My
      ì
      4                «²¼»®-¬¿²¼·²¹ is
                       understanding ·- the
                                        ¬¸» lectures
                                            ´»½¬«®»- ©»®»
                                                     were
      ë
      5                º±® some
                       for -±³» extent
                                »¨¬»²¬ ©¿-
                                       was °®»°¿®»¼ ¾§
                                           prepared by
      ê
      6                 ¬¸» Internet,
                        the ×²¬»®²»¬ô that
                                      ¬¸¿¬ type
                                           ¬§°» of
                                                ±º thing.
                                                   ¬¸·²¹ò
      é
      7                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸¿¬ ©¿-
                                                          That     ²±¬
                                                               was not
      è
      8                 ®»-°±²-·ª»
                        responsive ¬±
                                   to ³§ ¯«»-¬·±²ò
                                      my question.                      Ó§
                                                                        My
      ç
      9                 ¯«»-¬·±² ©¿-
                        question was óó
                                     -
     ïð
     10                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ç±«ù®» not
                                                      You're ²±¬
     ïï
     11                 ½®±--ó»¨¿³·²·²¹ ³»ô
                        cross-examining me, Ý±«²-»´ò
                                            Counsel.
     ïî
     12                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»´´ô ×ù³
                                                          Well, I'm
     ïí
     13                 ¿-µ·²¹ §±«
                        asking     ¯«»-¬·±²- and
                               you questions ¿²¼ trying
                                                 ¬®§·²¹ to
                                                        ¬±
     ïì
     14                 ¾» ³±®»
                        be      -°»½·º·½ óó
                           more specific --
     ïë
     15                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É» ½¿²ù¬ answer
                                                      We can't ¿²-©»®
     ïê
     16                 ¬¸» questions
                        the ¯«»-¬·±²- because
                                      ¾»½¿«-» §±«
                                              you ¸¿ª»²ù¬
                                                  haven't
     ïé
     17                 ¼»º·²»¼ ©¸¿¬
                        defined what ½¿³°«- ·-ò
                                     campus is.                   Ç±«
                                                                  You
     ïè
     18                 ¸¿ª»²ù¬ ¼»º·²»¼ ©¸¿¬
                        haven't defined      ¬¸»
                                        what the
     ïç
     19                 ®»¹«´¿¬·±²- º±® ¸¿ª·²¹
                        regulations for        ¿² off-site
                                        having an ±ººó-·¬»
     îð
     20                 ½¿³°«- ©¸»®»
                        campus where §±« ¿´´±©»¼ other
                                     you allowed ±¬¸»®
     îï
     21                 -½¸±±´- to
                        schools ¬± ¸¿ª» ±ººó-·¬» campuses,
                                   have off-site ½¿³°«-»-ô
     îî
     22                 ¾«¬ §±«
                        but     ¿¬¬¿½µ»¼ USTAT
                            you attacked ËÍÌßÌ for
                                               º±® some
                                                   -±³»
     îí
     23                 ®»¿-±²ò
                        reason.
     îì
     24                           Ò±©ô §±«
                                  Now,     ½¿²²±¬ disagree
                                       you cannot ¼·-¿¹®»»
   Ù±´µ±© Litigation
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      ï
      1                 ¬¸¿¬ §±«
                        that you ¸¿ª» ¿´´±©»¼ other
                                 have allowed ±¬¸»®
      î
      2                 -½¸±±´- to
                        schools ¬± ¸¿ª» ±ººó-·¬» campuses
                                   have off-site ½¿³°«-»-
      í
      3                 ¼«» to
                        due ¬± ²¿¬«®¿´ °®±¾´»³-ò
                               natural problems.                    Ç±«ùª»
                                                                    You've
      ì
      4                 ¾»»² ¬±´¼
                        been told ©¸¿¬ ¬¸» natural
                                  what the ²¿¬«®¿´
      ë
      5                 °®±¾´»³- ©»®»ò
                        problems were.
      ê
      6                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸¿¬ ©¿-
                                                          That     ²±¬
                                                               was not
      é
      7                 ³§ ¯«»-¬·±²ò
                        my question.            Ó§ ¯«»-¬·±² ©¿-ô
                                                My question was,
      è
      8                 ©»®»
                        were ¬¸»®»
                             there ¿²§ ´·ª» lectures
                                   any live ´»½¬«®»-
      ç
      9                 °®±ª·¼»¼ ¬±
                        provided    -¬«¼»²¬- of
                                 to students ±º USTAT
                                                ËÍÌßÌ or
                                                      ±®
     ïð
     10                 ¾¿-·½ ³»¼·½¿´
                        basic         -½·»²½»- in
                              medical sciences ·² ¬¸»
                                                  the
     ïï
     11                 Ë²·¬»¼ States?
                        United Í¬¿¬»-á
     ïî
     12                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ not
                                                      I'm ²±¬ a
                                                              ¿
     ïí
     13                 ©·¬²»--ò
                        witness.         Í± §±«
                                         So     ¼±²ù¬ get
                                            you don't ¹»¬ to
                                                          ¬±
     ïì
     14                 ½®±--ó»¨¿³·²» ³»ò
                        cross-examine me.
     ïë
     15                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            × ³¿§
                                                          I     ²±¬ be
                                                            may not ¾»
     ïê
     16                 ¿¾´» ¬±
                        able    ¿-µ §±«
                             to ask     ¯«»-¬·±²- ¿-
                                    you questions    ¿
                                                  as a
     ïé
     17                 ©·¬²»--ò
                        witness.         × ©±«´¼
                                         I       ²±®³¿´´§ ask
                                           would normally ¿-µ
     ïè
     18                 §±«®
                        your ½´·»²¬ò
                             client.
     ïç
     19                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ç±«ù®» not
                                                      You're ²±¬ going
                                                                 ¹±·²¹
     îð
     20                 ¬± be
                        to ¾» able
                              ¿¾´» ¬± ¼± that
                                   to do ¬¸¿¬ because
                                              ¾»½¿«-» §±«
                                                      you
     îï
     21                 ¸¿ª»²ù¬ ¹·ª»² ³»
                        haven't given    »²±«¹¸
                                      me enough
     îî
     22                 ·²º±®³¿¬·±² to
                        information ¬± prepare
                                       °®»°¿®» ³§
                                               my ½´·»²¬ò
                                                  client.
     îí
     23                 Ì¸·- star
                        This -¬¿® chamber
                                  ½¸¿³¾»® proceedings,
                                          °®±½»»¼·²¹-ô
     îì
     24                 ¸»ù-
                        he's ²±¬ ¹±·²¹ to
                             not going ¬± participate
                                          °¿®¬·½·°¿¬» in.
                                                      ·²ò
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      ï
      1                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:           Ü»-°·¬» the
                                                         Despite ¬¸»
      î
      2                º±«® ·²½¸»-
                       four        ±º paper
                            inches of °¿°»® óó
                                            -
      í
      3                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ô»¬ù- go
                                                      Let's ¹± through
                                                               ¬¸®±«¹¸
      ì
      4                »¿½¸ of
                       each ±º the
                               ¬¸» óó
                                   --
      ë
      5                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ç±« ¸¿¼
                                                          You     -±³»
                                                              had some
      ê
      6                 ½±²½»®²- ¬¸¿¬
                        concerns      ¾§ not
                                 that by ²±¬ taking
                                             ¬¿µ·²¹ §±«
                                                    you
      é
      7                »¨¿½¬´§ at
                       exactly ¿¬ 8:45
                                  èæìë ©¸»²
                                       when ©»
                                            we ¿-µ»¼ ¬¸¿¬
                                               asked that
      è
      8                 §±« ¾» ¸»®»
                        you be      º±® a
                               here for ¿ 9:00
                                          çæðð ¸»¿®·²¹
                                               hearing
      ç
      9                «²¬·´ 10:00
                       until ïðæðð ©¿- ¿ ©¿-¬»
                                   was a       ±º time.
                                         waste of ¬·³»ò
     ïð
     10                 É»
                        We ¿°±´±¹·¦»
                           apologize ·º
                                     if §±« º»»´ that
                                        you feel ¬¸¿¬ ©¿§ò
                                                      way.
     ïï
     11                 Ì¸¿¬ ©¿-
                        That was ²±¬
                                 not ¿¬ ¿´´ the
                                     at all ¬¸» ·²¬»²¬·±²ò
                                                intention.
     ïî
     12                 Ì¸·- ·-
                        This    ¿ busy
                             is a ¾«-§ committee.
                                       ½±³³·¬¬»»ò                     É»
                                                                      We
     ïí
     13                ¼±²ù¬ ¸¿ª»
                       don't have ¬¸» ¬·³» or
                                  the time ±® the
                                              ¬¸» ³¿²
                                                  man
     ïì
     14                 ©·¬¸
                        with ¬± -·¬ ¸»®»
                             to sit      ¿²¼ go
                                    here and ¹± ¬¸®±«¹¸
                                                through
     ïë
     15                »ª»®§ single
                       every -·²¹´» °¿¹» ¬¸¿¬ ©»
                                    page that we °®±ª·¼»¼
                                                 provided
     ïê
     16                 §±«
                        you ©»»µ- ¿¹±ò
                            weeks ago.
     ïé
     17                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ °®»°¿®»¼
                                                      I'm          ¬±
                                                          prepared to
     ïè
     18                ¹± ¬¸®±«¹¸
                       go         »ª»®§ page
                          through every °¿¹» of
                                             ±º this.
                                                ¬¸·-ò
     ïç
     19                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì»´´
                                                          Tell ³»
                                                               me ©¸»®»
                                                                  where
     îð
     20                 ·² ¬¸»®»
                        in there ·¬ °®±ª»- that
                                 it proves ¬¸¿¬ §±«®
                                                your
     îï
     21                 ½´·»²¬ did
                        client ¼·¼ ²±¬ °®±ª·¼» any
                                   not provide ¿²§ ³»¼·½¿´
                                                   medical
     îî
     22                -½¸±±´ education
                       school »¼«½¿¬·±² in
                                        ·² the
                                           ¬¸» United
                                               Ë²·¬»¼
     îí
     23                Í¬¿¬»-ò
                       States.
     îì
     24                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ø» doesn't
                                                      He ¼±»-²ù¬ have
                                                                 ¸¿ª»
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      ï
      1                 ¬¸» burden
                        the ¾«®¼»² of
                                   ±º proof.
                                      °®±±ºò
      î
      2                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»ù®» ¶«-¬
                                                          We're just
      í
      3                ¹±·²¹ around
                       going ¿®±«²¼ ·² ½·®½´»-ò
                                    in circles.                     × ¼±²ù¬
                                                                    I don't
      ì
      4                 µ²±© ¬¸¿¬
                        know      ·¬ù- going
                             that it's ¹±·²¹ to
                                             ¬± be
                                                ¾» ³«½¸
                                                   much
      ë
      5                 ³±®»
                        more ¸»´°º«´
                             helpful ¬± ¬®§ and
                                     to try ¿²¼ °®±½»»¼ò
                                                proceed.
      ê
      6                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ ©·´´·²¹
                                                      I'm         ¬±
                                                          willing to
      é
      7                ¹± ¬¸®±«¹¸
                       go         »ª»®§ page
                          through every °¿¹» of
                                             ±º this.
                                                ¬¸·-ò
      è
      8                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì± ©¸¿¬
                                                          To      »²¼á
                                                             what end?
      ç
      9                 Ç±«ù®» ²±¬
                        You're not ¿²-©»®·²¹
                                   answering ³§ ¯«»-¬·±²-ò
                                             my questions.
     ïð
     10                 É¸¿¬
                        What ¿®»
                             are §±«
                                 you ¸±°·²¹ ¬± get
                                     hoping to ¹»¬ out
                                                   ±«¬ of
                                                       ±º
     ïï
     11                »ª»®§ single
                       every -·²¹´» °¿¹» ±º that?
                                    page of ¬¸¿¬á
     ïî
     12                           ×º §±«
                                  If you ©¿²¬ ¬± sit
                                         want to -·¬ ¸»®» ¿²¼
                                                     here and
     ïí
     13                ´±±µ for
                       look º±® something
                                -±³»¬¸·²¹ specific,
                                          -°»½·º·½ô tell
                                                    ¬»´´
     ïì
     14                 ³»ò
                        me.     É»ùª»
                                We've ¿´´ ®»¿¼ the
                                      all read ¬¸» ³¿¬»®·¿´-ò
                                                   materials.
     ïë
     15                 É»
                        We ½¿²
                           can ¸»´° ¼·®»½¬ §±«ò
                               help direct you.
     ïê
     16                           Ì¿µ» ¿
                                  Take   ´±±µ at
                                       a look ¿¬ Appendix
                                                 ß°°»²¼·¨ E
                                                          Û at
                                                            ¿¬
     ïé
     17                 ¬¸» e-mail
                        the »ó³¿·´ from
                                   º®±³ §±«® ½´·»²¬
                                        your client
     ïè
     18                 -¿§·²¹ô it
                        saying, ·¬ ·- ²±¬ a
                                   is not ¿ ½¿³°«-ò
                                            campus.                       Ñ«®
                                                                          Our
     ïç
     19                ±²´§ ½¿³°«-
                       only        ·- located
                            campus is ´±½¿¬»¼ in
                                              ·²
     îð
     20                Ñ´ª»-¬±²ô Ó±²¬-»®®¿¬ô
                       Olveston,             Þ®·¬·-¸ É»-¬
                                 Montserrat, British West
     îï
     21                 ×²¼·»-ò
                        Indies.
     îî
     22                           Ó§ ¯«»-¬·±²- are
                                  My questions ¿®» trying
                                                   ¬®§·²¹ to
                                                          ¬±
     îí
     23                «²¼»®-¬¿²¼ ©¸»¬¸»®
                       understand         ¬¸»®» ©¿-
                                  whether there was
     îì
     24                 ³»¼·½¿´ -½¸±±´ education
                        medical school »¼«½¿¬·±² in
                                                 ·² the
                                                    ¬¸»
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      ï
      1                 Ë²·¬»¼ States.
                        United Í¬¿¬»-ò
      î
      2                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ì¸¿¬ù- not
                                                      That's ²±¬ ©¸¿¬
                                                                 what
      í
      3                 óó
                        -- ©¸¿¬
                           what §±«ù®» ¬®§·²¹ to
                                you're trying ¬± do
                                                 ¼± is
                                                    ·- ask
                                                       ¿-µ
      ì
      4                 ¬¸¿¬ question
                        that ¯«»-¬·±² and
                                      ¿²¼ then
                                          ¬¸»² leap
                                               ´»¿° frog
                                                    º®±¹
      ë
      5                 ¬± ³¿µ»
                        to      ´·µ» ¬¸¿¬ù-
                           make like        ¬¸» ½¿³°«-ò
                                     that's the campus.
      ê
      6                           Ù·ª» ³»
                                  Give me §±«® ¼»º·²·¬·±² of
                                          your definition ±º
      é
      7                 ©¸¿¬
                        what ¿
                             a ½¿³°«- ·- and
                               campus is ¿²¼ then
                                             ¬¸»² give
                                                  ¹·ª» ³»
                                                       me
      è
      8                 ¬¸» cases
                        the ½¿-»- in
                                  ·² ©¸·½¸
                                     which §±«ùª»
                                           you've ¿´´±©»¼
                                                  allowed
      ç
      9                 ½¿³°«-»- ¬±
                        campuses    ±°»®¿¬» outside
                                 to operate ±«¬-·¼» of
                                                    ±º
     ïð
     10                 ¬¸»·® original
                        their ±®·¹·²¿´ address.
                                       ¿¼¼®»--ò
     ïï
     11                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ð»®¸¿°- §±«®
                                                          Perhaps your
     ïî
     12                 ½´·»²¬ô if
                        client, ·º ©»
                                   we ©±«´¼ ¾» allowed,
                                      would be ¿´´±©»¼ô
     ïí
     13                 ½±«´¼ provide
                        could °®±ª·¼» us
                                      «- an
                                         ¿² explanation
                                            »¨°´¿²¿¬·±² of
                                                        ±º
     ïì
     14                 ©¸¿¬
                        what ¸»
                             he ³»¿²¬ ¾§ campus
                                meant by ½¿³°«- ·² ¬¸·-
                                                in this
     ïë
     15                »ó³¿·´ because
                       e-mail ¾»½¿«-» the
                                      ¬¸» committee
                                          ½±³³·¬¬»» is
                                                    ·-
     ïê
     16                 ·²¬»®»-¬»¼ ·²
                        interested in ¸»¿®·²¹ ¬¸¿¬ò
                                      hearing that.
     ïé
     17                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          × ©±«´¼
                                                      I       ´·µ» to
                                                        would like ¬±
     ïè
     18                 µ²±© ©¸¿¬
                        know what §±«® ¼»º·²·¬·±² of
                                  your definition ±º
     ïç
     19                 ½¿³°«- ·-ò
                        campus is.
     îð
     20                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ø»ù- the
                                                          He's ¬¸» one
                                                                   ±²»
     îï
     21                 ©¸± «-»¼ ¬¸»
                        who used the ©±®¼
                                     word ¸»®»ò
                                          here.                   ×ù³
                                                                  I'm
     îî
     22                 ·²¬»®»-¬»¼ ¬±
                        interested    µ²±© ©¸¿¬
                                   to know what ¸»
                                                he ³»¿²-
                                                   means
     îí
     23                 ¾§ ·¬ò
                        by it.
     îì
     24                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×ù³ asking
                                                      I'm ¿-µ·²¹ §±«ô
                                                                 you,
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      ï
      1                 ©¸¿¬ù-
                        what's §±«® ¼»º·²·¬·±² of
                               your definition ±º ½¿³°«-á
                                                  campus?
      î
      2                 Í»½±²¼´§ô ©¸¿¬ù-
                        Secondly,        ¬¸» exceptions
                                  what's the »¨½»°¬·±²- to
                                                        ¬±
      í
      3                 ¸¿ª·²¹
                        having ¿² ±ººó-·¬» campus?
                               an off-site ½¿³°«-á
      ì
      4                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É» ¿°°®»½·¿¬»
                                                          We appreciate
      ë
      5                 §±« ¾»·²¹ ¸»®»
                        you being      ¬±¼¿§ò
                                  here today.                  É»ù®»
                                                               We're
      ê
      6                 ©±®µ·²¹ ±² ¬®§·²¹
                        working on        ¬± understand
                                   trying to «²¼»®-¬¿²¼
      é
      7                 ¬¸» facts
                        the º¿½¬- and
                                  ¿²¼ circumstances
                                      ½·®½«³-¬¿²½»- in
                                                    ·²
      è
      8                 ¬¸·- ½¿-»ò
                        this case.              ß°°¿®»²¬´§ô ©»ù®»
                                                Apparently, we're
      ç
      9                ¹±·²¹ to
                       going ¬± be
                                ¾» left
                                   ´»º¬ ©·¬¸ ¿ ½±´¼
                                        with a cold
     ïð
     10                 ®»½±®¼ ¾»½¿«-» §±«®
                        record because your ½´·»²¬ ·-
                                            client is
     ïï
     11                 ®»º«-·²¹
                        refusing ¬± ¿²-©»® any
                                 to answer ¿²§ questions.
                                               ¯«»-¬·±²-ò
     ïî
     12                           × think
                                  I ¬¸·²µ at
                                          ¿¬ this
                                             ¬¸·- time
                                                  ¬·³» it
                                                       ·¬
     ïí
     13                 ³¿µ»- -»²-»ô unless
                        makes sense, «²´»-- there's
                                            ¬¸»®»ù- any
                                                    ¿²§
     ïì
     14                 ½´±-·²¹ statement
                        closing -¬¿¬»³»²¬ §±«
                                          you ©¿²¬ ¬±
                                              want to
     ïë
     15                 ³¿µ»ô ¬¸¿¬ ©»
                        make, that    ¿¼¶±«®²ò
                                   we adjourn.
     ïê
     16                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ÛÝÚÓÙ ·-
                                                      ECFMG is
     ïé
     17                 ¿¼¶±«®²·²¹ ¬¸·-
                        adjourning this ©·¬¸±«¬ «- having
                                        without us ¸¿ª·²¹
     ïè
     18                 ¬¸» ability
                        the ¿¾·´·¬§ to
                                    ¬± go
                                       ¹± through
                                          ¬¸®±«¹¸ ¬¸»·®
                                                  their
     ïç
     19                »ºº±®¬-ò
                       efforts.
     îð
     20                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            ×- there
                                                          Is ¬¸»®»
     îï
     21                 ¿²§¬¸·²¹ ·²
                        anything    °¿®¬·½«´¿® §±«
                                 in particular you ©¿²¬ ¬±
                                                   want to
     îî
     22                ¹± ¬¸®±«¹¸á
                       go through?               É» °®±ª·¼»¼ this
                                                 We provided ¬¸·- to
                                                                  ¬±
     îí
     23                 §±«
                        you óó
                            -
     îì
     24                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          × ©¿²¬
                                                      I      ¬± go
                                                        want to ¹±
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      ï
      1                 ¬¸®±«¹¸ the
                        through ¬¸» ©¸±´» ¬¸·²¹ò
                                    whole thing.
      î
      2                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Í¬¿®¬ on
                                                          Start ±² page
                                                                   °¿¹»
      í
      3                ±²»ò
                       one.       É¸¿¬
                                  What ·- ·¬ §±«
                                       is it you ©¿²¬ ¬± talk
                                                 want to ¬¿´µ
      ì
      4                 ¬± us
                        to «- about
                              ¿¾±«¬ it?
                                    ·¬á
      ë
      5                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ì¸» ³¿¬¬»®
                                                      The        ¸¿-
                                                          matter has
      ê
      6                 ¾»»² brought
                        been ¾®±«¹¸¬ ¬± ¬¸» Ý×Ûù-
                                     to the CIE's
      é
      7                 ¿¬¬»²¬·±²ò
                        attention.              É¸»®» ·- the
                                                Where is ¬¸» letter
                                                             ´»¬¬»® or
                                                                    ±®
      è
      8                 ©¸¿¬»ª»®
                        whatever ·²º±®³¿¬·±²
                                 information ©¿- ¾®±«¹¸¬
                                             was brought
      ç
      9                 ¬± ¬¸»
                        to the ¿¬¬»²¬·±²á
                               attention?
     ïð
     10                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»ù®» ²±¬ ¸»®»
                                                          We're not here
     ïï
     11                 ¬± ¿²-©»®
                        to        ¯«»-¬·±²-ô sir.
                           answer questions, -·®ò                     ×º §±«
                                                                      If you
     ïî
     12                 ¸¿ª»
                        have ¿
                             a ½´±-·²¹ -¬¿¬»³»²¬ or
                               closing statement ±®
     ïí
     13                 -±³»¬¸·²¹ specific
                        something -°»½·º·½ §±«
                                           you ©¿²¬ ¬±
                                               want to
     ïì
     14                 °±·²¬ out
                        point ±«¬ to
                                  ¬± us
                                     «- so
                                        -± ©» «²¼»®-¬¿²¼
                                           we understand
     ïë
     15                 ¬¸» allegations
                        the ¿´´»¹¿¬·±²- better
                                        ¾»¬¬»® that
                                               ¬¸¿¬ are
                                                    ¿®»
     ïê
     16                ´±¼¹»¼ ¿¹¿·²-¬
                       lodged against §±«®
                                      your ½´·»²¬ô ¬¸¿¬
                                           client, that
     ïé
     17                 ©±«´¼ ¾» ¸»´°º«´ò
                        would be helpful.
     ïè
     18                           Ì¸¿¬ù- ©¸§
                                  That's why ©»ù®»
                                             we're ¸»®»
                                                   here ¬±¼¿§ô
                                                        today,
     ïç
     19                 ¬¸» due
                        the ¼«» process
                                °®±½»-- §±«ù®» -¿§·²¹ that
                                        you're saying ¬¸¿¬
     îð
     20                 §±«
                        you ©¿²¬»¼ò
                            wanted.             É»ù®» ¸»®» to
                                                We're here ¬± try
                                                              ¬®§ to
                                                                  ¬±
     îï
     21                «²¼»®-¬¿²¼ ©¸¿¬
                       understand      ·¬ is
                                  what it ·- that
                                             ¬¸¿¬ §±«ù®»
                                                  you're
     îî
     22                 ¬®§·²¹ ¬±
                        trying    ¼± ¸»®»ò
                               to do here.
     îí
     23                           ß²¼ candidly,
                                  And ½¿²¼·¼´§ô I
                                                × appreciate
                                                  ¿°°®»½·¿¬»
     îì
     24                 §±« ¿¼ª±½¿¬·²¹ on
                        you advocating ±² behalf
                                          ¾»¸¿´º of
                                                 ±º §±«®
                                                    your
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      ï
      1                 ½´·»²¬ò
                        client.        ×¬ù- ²±¬ productive
                                       It's not °®±¼«½¬·ª» here
                                                           ¸»®»
      î
      2                 ·º ©»
                        if    ½¿²ù¬ understand
                           we can't «²¼»®-¬¿²¼ the
                                               ¬¸»
      í
      3                «²¼»®´§·²¹ facts
                       underlying º¿½¬- as
                                        ¿- §±«® ½´·»²¬
                                           your client
      ì
      4                 ³»¿²- ¬¸»³ ¿²¼
                        means them and ©¿²¬- ÛÝÚÓÙ to
                                       wants ECFMG ¬±
      ë
      5                «²¼»®-¬¿²¼ ¬¸»³ò
                       understand them.
      ê
      6                           Í± ·º
                                  So    ¬¸·- is
                                     if this ·- §±«® °±-·¬·±²
                                                your position
      é
      7                 ¬¸¿¬ §±«ù®»
                        that        ¶«-¬ going
                             you're just ¹±·²¹ to
                                               ¬± ½±³»
                                                  come
      è
      8                 ¸»®»
                        here ¿²¼ ±¾-¬®«½¬ô then
                             and obstruct, ¬¸»² ¬¸¿¬ù-
                                                that's
      ç
      9                 ¶«-¬ ¸±©
                        just how ·¬ù- ¹±·²¹ to
                                 it's going ¬± be
                                               ¾» ¿²¼
                                                  and
     ïð
     10                 ©»ù®» ²±¬ ©¿-¬·²¹
                        we're not         ¬¸·- committee's
                                  wasting this ½±³³·¬¬»»ù-
     ïï
     11                 ¬·³»ò
                        time.      Ì¸»§
                                   They ¸¿ª» ¿ busy
                                        have a ¾«-§ ¿¹»²¼¿ô
                                                    agenda,
     ïî
     12                 ¿²¼ ©»ùª»
                        and       ¹±¬ to
                            we've got ¬± keep
                                         µ»»° going.
                                              ¹±·²¹ò
     ïí
     13                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ×¬ù- a
                                                      It's ¿ ©¿-¬» ±º
                                                             waste of
     ïì
     14                 ¬¸» committee's
                        the ½±³³·¬¬»»ù- time
                                        ¬·³» ©¸»²
                                             when §±«ù®»
                                                  you're
     ïë
     15                ¹±·²¹ to
                       going ¬± destroy
                                ¼»-¬®±§ somebody's
                                        -±³»¾±¼§ù- good
                                                   ¹±±¼
     ïê
     16                 ²¿³» ¿²¼
                        name     ¹±±¼ ®»°«¬¿¬·±²
                             and good reputation ©·¬¸±«¬
                                                 without
     ïé
     17                 ¬»´´·²¹ them
                        telling ¬¸»³ ©¸¿¬
                                     what §±«ù®» ½´¿·³·²¹ò
                                          you're claiming.
     ïè
     18                ß¬ least
                       At ´»¿-¬ ·² Ì»¨¿-ô before
                                in Texas, ¾»º±®» ©»
                                                 we
     ïç
     19                »¨»½«¬» somebody,
                       execute -±³»¾±¼§ô ©» ¿¬ least
                                         we at ´»¿-¬ ¬»´´
                                                     tell
     îð
     20                 ¬¸»³ ©¸¿¬
                        them      ¬¸» claim
                             what the ½´¿·³ is
                                            ·- for
                                               º±®
     îï
     21                »¨»½«¬·²¹ them.
                       executing ¬¸»³ò
     îî
     22                           Ç±«ùª» ®»º«-»¼ò
                                  You've refused.              Ç±«ùª»
                                                               You've
     îí
     23                 -¬±²» ©¿´´»¼
                        stone walled ³» ±² the
                                     me on ¬¸» procedures.
                                               °®±½»¼«®»-ò
     îì
     24                 ×ùª» ¿-µ»¼
                        I've       º±® ©®·¬¬»²
                             asked for         °®±½»¼«®»-
                                       written procedures
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      ï
      1                º±® this
                       for ¬¸·- ½±³³·¬¬»»ò
                                committee.                 ß°°¿®»²¬´§ô
                                                           Apparently,
      î
      2                 ¬¸»®»ù- none.
                        there's ²±²»ò            ×¬ù- ©¸¿¬»ª»®
                                                 It's whatever §±«
                                                               you
      í
      3                 ©¿²¬
                        want ¬±
                             to ³¿µ»
                                make ¬¸»³ò
                                     them.
      ì
      4                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Í·®ô §±«ùª»
                                                          Sir, you've
      ë
      5                ¹±¬¬»² ¬¸»
                       gotten the °±´·½§ ¿²¼ °®±½»¼«®»-
                                  policy and procedures
      ê
      6                ±² ·®®»¹«´¿®
                       on           ¾»¸¿ª·±® ³«´¬·°´»
                          irregular behavior multiple
      é
      7                 ¬·³»-ò
                        times.       Ç±«ù¼ like
                                     You'd ´·µ» to
                                                ¬± say
                                                   -¿§ ¬¸¿¬ ¬¸»
                                                       that the
      è
      8                 ®»½±®¼ -¿§- ©¸¿¬
                        record says what §±« -¿§ it
                                         you say ·¬ says.
                                                    -¿§-ò
      ç
      9                 ×¬ ¶«-¬
                        It      ¼±»-²ù¬ò
                           just doesn't.
     ïð
     10                           É»ù®» ¬®§·²¹ to
                                  We're trying ¬± follow
                                                  º±´´±© the
                                                         ¬¸»
     ïï
     11                 ¾»-¬ °®±½»¼«®»
                        best procedure ©» °±--·¾´§ can,
                                       we possibly ½¿²ô
     ïî
     12                 ¿²¼ §±«
                        and     ¿²¼ §±«®
                            you and      ½´·»²¬ ¿®»
                                    your client are
     ïí
     13                ±¾-¬®«½¬·²¹ us
                       obstructing «- in
                                      ·² being
                                         ¾»·²¹ ¿¾´» ¬±
                                               able to
     ïì
     14                 ½±´´»½¬ the
                        collect ¬¸» information.
                                    ·²º±®³¿¬·±²ò                    ß¬ this
                                                                    At ¬¸·-
     ïë
     15                 °±·²¬ô ×
                        point,   ¼±²ù¬ think
                               I don't ¬¸·²µ that
                                             ¬¸¿¬ ·¬ù-
                                                  it's
     ïê
     16                 °®±¼«½¬·ª» ¬±
                        productive    ½±²¬·²«» the
                                   to continue ¬¸»
     ïé
     17                 °®±½»»¼·²¹ò
                        proceeding.
     ïè
     18                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É»ù®» »²¬·¬´»¼
                                                      We're entitled
     ïç
     19                 ¬± know
                        to µ²±© ©¸¿¬
                                what °®±½»¼«®» ¬¸·-
                                     procedure this
     îð
     20                 ½±³³·¬¬»» is
                        committee ·- operating
                                     ±°»®¿¬·²¹ under.
                                               «²¼»®ò                         Ç±«
                                                                              You
     îï
     21                 ¶«-¬ ½¿²ù¬
                        just       ±°»®¿¬» under
                             can't operate «²¼»® ©¸¿¬»ª»®
                                                 whatever
     îî
     22                 §±«
                        you ©¿²¬
                            want ¬±
                                 to ³¿µ» ·¬ò
                                    make it.
     îí
     23                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ç±«ùª» ¹±¬¬»²
                                                          You've gotten
     îì
     24                 ¬¸» policies
                        the °±´·½·»- ¿²¼ °®±½»¼«®»-ò
                                     and procedures.
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      ï
      1                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           Ò±ô × ¸¿ª»²ù¬ò
                                                       No, I haven't.
      î
      2                 ×ùª» gotten
                        I've ¹±¬¬»² óó
                                    --
      í
      3                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸»§ù®»
                                                          They're
      ì
      4                 ¿ª¿·´¿¾´» on
                        available ±² ¬¸» ×²¬»®²»¬ò
                                     the Internet.
      ë
      5                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           × ¸¿ª»
                                                       I have ®»½»·ª»¼
                                                              received
      ê
      6                 ¾®±¿¼ statements,
                        broad -¬¿¬»³»²¬-ô §±« ½¿² do
                                          you can ¼±
      é
      7                 ©¸¿¬»ª»®
                        whatever §±«
                                 you ©¿²¬ò
                                     want.
      è
      8                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ì¸» ®»½±®¼
                                                          The record
      ç
      9                 ©·´´
                        will ®»º´»½¬
                             reflect óó
                                     --
     ïð
     10                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           ß²¼ that's
                                                       And ¬¸¿¬ù- not
                                                                  ²±¬ a
                                                                      ¿
     ïï
     11                 ©®·¬¬»² °±´·½§ and
                        written policy ¿²¼ procedure.
                                           °®±½»¼«®»ò                          ß²¼
                                                                               And
     ïî
     12                 ¬¸¿¬ ©·´´
                        that      ²±¬ stand
                             will not -¬¿²¼ up
                                            «° under
                                               «²¼»® any
                                                     ¿²§
     ïí
     13                 ¬¸»±®§ò
                        theory.
     ïì
     14                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É»ùª»
                                                          We've °®±ª·¼»¼
                                                                provided
     ïë
     15                 ¬¸»³ ¬±
                        them to §±« ·² ©®·¬·²¹
                                you in         ¿²¼ the
                                       writing and ¬¸»
     ïê
     16                 ´·²µ ¬±
                        link    ¬¸» URL
                             to the ËÎÔ ©¸»®» ¬¸»§ are
                                        where they ¿®»
     ïé
     17                 ¿ª¿·´¿¾´» publically
                        available °«¾´·½¿´´§ on
                                             ±² ¬¸»
                                                the
     ïè
     18                 ×²¬»®²»¬ò
                        Internet.           × ¼±²ù¬ think
                                            I don't ¬¸·²µ at
                                                          ¿¬ this
                                                             ¬¸·-
     ïç
     19                 °±·²¬ there's
                        point ¬¸»®»ù- anything
                                      ¿²§¬¸·²¹ else
                                               »´-» that's
                                                    ¬¸¿¬ù-
     îð
     20                 ©±®¬¸ «- discussing
                        worth us ¼·-½«--·²¹ at
                                            ¿¬ this
                                               ¬¸·-
     îï
     21                 ³±³»²¬ò
                        moment.        Ì¸¿²µ
                                       Thank §±«ò
                                             you.
     îî
     22                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:           Ç±«ù®»
                                                       You're
     îí
     23                 ¬»®³·²¿¬·²¹ óó
                        terminating --
     îì
     24                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ç»-ô ×ù³
                                                          Yes, I'm
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      ï
      1                 ¬»®³·²¿¬·²¹ the
                        terminating ¬¸» proceeding.
                                        °®±½»»¼·²¹ò
      î
      2                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          ÛÝÚÓÙ ·-
                                                      ECFMG is
      í
      3                 ¬»®³·²¿¬·²¹ this
                        terminating ¬¸·- prior
                                         °®·±® to
                                               ¬± us
                                                  «-
      ì
      4                 °®»-»²¬·²¹ our
                        presenting ±«® evidence.
                                       »ª·¼»²½»ò
      ë
      5                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            É» ¿-µ»¼ §±«
                                                          We asked you
      ê
      6                 ¬± °®»-»²¬
                        to         »ª·¼»²½»ô and
                           present evidence, ¿²¼ all
                                                 ¿´´ §±«
                                                     you
      é
      7                 ¼·¼ ©¿-
                        did     °®»-»²¬ legal
                            was present ´»¹¿´ argument.
                                              ¿®¹«³»²¬ò
      è
      8                           É¸¿¬ù-
                                  What's §±«® ±ºº»® of
                                         your offer ±º proof?
                                                       °®±±ºá
      ç
      9                 É¸¿¬
                        What ©±«´¼
                             would §±« ´·µ» to
                                   you like ¬± provide?
                                               °®±ª·¼»á
     ïð
     10                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          É»ù´´ ¹± through
                                                      We'll go ¬¸®±«¹¸
     ïï
     11                »ª»®§ page
                       every °¿¹» of
                                  ±º this.
                                     ¬¸·-ò
     ïî
     12                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            ×² particular,
                                                          In °¿®¬·½«´¿®ô
     ïí
     13                 ©¸¿¬
                        what ©±«´¼
                             would §±« ´·µ» to
                                   you like ¬± provide?
                                               °®±ª·¼»á
     ïì
     14                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          Ú·®-¬ô ×ù¼ like
                                                      First, I'd ´·µ»
     ïë
     15                 ¬± know
                        to µ²±© ©¸±
                                who Ó-ò Í¿®¿ Ý±´·²-
                                    Ms. Sara        ·-á
                                             Colins is?
     ïê
     16                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Ú®±³ ¬¸»
                                                          From the
     ïé
     17                 Ú´±®·¼¿ Ü»°¿®¬³»²¬ of
                        Florida Department ±º Education?
                                              Û¼«½¿¬·±²á
     ïè
     18                           ÓÎò ÍÉßÌÛæ
                                  MR. SWATE:          × don't
                                                      I ¼±²ù¬ know
                                                              µ²±© ©¸±
                                                                   who
     ïç
     19                 ¬¸·- ·-ò
                        this is.
     îð
     20                           ÓÍò
                                  MS. Ó½ÛÒÎÑÛæ
                                      McENROE:            Í± ©¸¿¬
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                       providing ¿²§ evidence.
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                                              hereby certify ¬¸¿¬
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               the witness ©¿- ¼«´§ sworn
                           was duly -©±®² by
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                                             me ¿²¼ ¬¸¿¬
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      ë
      5        ¬¸» deposition
               the ¼»°±-·¬·±² is
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                                   true ®»½±®¼ ±º the
                                        record of ¬¸»
      ê
      6        ¬»-¬·³±²§ given
               testimony ¹·ª»² by
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                       LISA CAPALDO
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     10                Ü¿¬»¼æ
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                       EDUCATIONAL COMMISSION FOR                                   3624 Market Street
ECFMG®                 FOREIGN MEDICAL GRADUATES                                    Philadelphia PA 19104-2685 USA
                                                                                    215-386-5900 I 215-386-9767 Fax
                                                                                    www.ecfmg.org

PERSONAL AND CONFIDENTIAL
VIA EMAIL: o.tuip usat.edu

                                                    December 14, 2018

Dr. Orien L. Tulp
Professor and President
University of Science, Arts & Technology (USAT) Faculty of Medicine
Main Campus
S. Mayfield Estate Drive
Olveston
MONTSERRAT

Dear Dr. Tulp:

         I am writing to inform you that the ECFMG Medical Education Credentials Committee
("ECFMG Committee") has completed its review of the allegation that you, individually and in
your capacity as an official of University of Science, Arts & Technology (USAT) Faculty of
Medicine, Montserrat, engaged in irregular behavior in connection with providing false
information to ECFMG. Specifically, you provided false information to ECFMG when you (1)
notified ECFMG that USAT does not operate a branch campus in Miami, FL and (2) certified to
the attendance dates of several USAT students and graduates when ECFMG has information
that these students were not attending USAT during some of the time periods to which you
certified.

        In advance of the review, the members of the ECFMG Committee were provided with
the documents listed in ECFMG's October 18, 2018 letter and ECFMG's November 14, 2018
emails. A hardcopy of the complete file was also sent to your attorney, Mr. Tommy Swate, on
November 16, 2018 via Federal Express. On November 16, 2018, Mr, Swate acknowledged
receipt of this complete file. You made a personal appearance before the ECFMG Committee
accompanied by your legal counsel, Mr. Swate. A copy of the transcript of' the proceedings will
be sent to you as soon as it is available.

        The ECFMG Committee considered the documentation presented to it and Mr. Swate's
statements. Following careful review, the ECFMG Committee determined that you engaged in
irregular behavior in connection with providing false information to ECFMG.

     The ECFMG Committee has determined that ECFMG will not accept any documents signed
/ certified by you for ECFMG on behalf of USAT, or any other medical school, for a minimum of
five years from today; thereafter, the prohibition shall end only upon a petition to ECFMG
conclusively demonstrating to the satisfaction of the ECFMG Committee a familiarity with, and
willingness to adhere to, ECFMG polices. Your ECFMG Medical School Web Portal (EMSWP)
account will remain deactivated.

       In light of the ECFMG Committee's findings, the ECFMG Sponsor Note for USAT in the
World Directory of Medical Schools (World Directory) will be updated as follows:




     ECFMG® is an organization committed to promoting excellence in international medical education.

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Dr. Orien L. Tulp
December 14, 2018
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           In 2018, ECFMG determined that a certain official of the University of Science
           Arts & Technology engaged in irregular behavior in connection with providing
           false information to ECFMG.

This note will remain in USAT's ECFMG Sponsor Note in the World Directory for five years,
regardless of whether USAT changes its name, ownership, and/or location.

        Additionally, in accordance with the ECFMG Policies and Procedures Regarding
Irregular Behavior, a permanent annotation that you engaged in irregular behavior will be
included in your ECFMG record. ECFMG may report the ECFMG Committee's determination of
irregular behavior to the Federation of State Medical Boards of the United States, U.S. state and
international medical licensing authorities, directors of graduate medical education programs,
and to any other organization or individual who, in the judgment of ECFMG, has a legitimate
interest in such information.

       As noted in the enclosed ECFMG Rules of Appellate Procedure, decisions of the
ECFMG Medical Education Credentials Committee may be appealed within the 30-day time
period specified.


                                                      Sincerely,



                                                      William W. Pinsky, MD FAAP FACC
                                                      President and CEO


CC: Tommy Swate, Esq. swatemd aol.com
    William Reil, Esq. billreillawnqmail.com

Encl: As noted.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DR. ORIEN L. TULP,
                                                           Case No. 2:18-cv-05540-WB
                       Plaintiff,
                                                           Hon. Wendy Beetlestone
v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES and DR.
WILLIAM W. PINSKY,

                       Defendants.



       DECLARATION OF KARA CORRADO IN SUPPORT OF DEFENDANTS'
      OPPOSITION TO PLAINTIFF'S MOTION FOR A PRELIMINARY AND/OR
                        PERMANENT INJUNCTION

        I, Kara Corrado, declare as follows:

        1.     I am currently employed as the Vice President for Operations at the Educational

Commission for Foreign Medical Graduates ("ECFMG"). I have been employed in various

capacities at ECFMG since 2004.

        2.     I make this Declaration in connection with the above-captioned action. I have

personal knowledge of the facts stated herein and if called as a witness could and would testify to

those facts.

        3.     Beginning in September 2018, students and graduates of University of Science,

Arts and Technology ("USAT") seeking services related to ECFMG Certification were required

to complete and submit an affidavit attesting to the accuracy of the medical school information

provided to ECFMG.




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       4,      Ultimately, more than 300 USAT students and graduates submitted affidavits to

ECFMG indicating that they took classes in the United States. None of the students indicated

that he or she took all of his or her basic science courses in Montserrat.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the forgoing is true

and correct to the best of my knowledge.



EXECUTED: January 10, 2019                               CffLaA, tet- e.
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                                                                    Kara Corrado




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                                  DISTRICT OF PENNSYLVANIA

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       ORIEN L. TULP,
                TULP,
                                                 Case
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                                                      No.     2:18-cv-05540-WB
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 4
 4              Plaintiff,
                Plaintiff,

5
5      v.
       v.                                        Philadelphia, Pennsylvania
                                                 Philadelphia, Pennsylvania
                                                 January
                                                 January 24,
                                                         24, 2019
                                                             2019
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6      EDUCATIONAL COMMISSION
       EDUCATIONAL            FOR
                   COMMISSION FOR                2:03
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                                                      p.m.
       FOREIGN MEDICAL
       FOREIGN MEDICAL GRADUATES, et
                       GRADUATES, et
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 7     al,
       al,

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8               Defendants.
                Defendants.

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                  TRANSCRIPT OF  PRELIMINARY INJUNCTION HEARING
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10                   BEFORE THE
                     BEFORE  THE HONORABLE
                                 HONORABLE WENDY BEETLESTONE
                                           WENDY BEETLESTONE
                       UNITED  STATES DISTRICT
                       UNITED STATES  DISTRICT COURT
                                               COURT JUDGE
                                                     JUDGE
11
11

12
12     APPEARANCES:
       APPEARANCES:
       For the Plaintiff:
       For the Plaintiff:                      Tommy Swate, Esquire
                                               Tommy Swate,  Esquire
13
13                                             403 Wild Plum
                                               403 Wild Plum
                                               Houston,
                                               Houston, TX
                                                        TX 77013
                                                             77013
14
14
                                               William
                                               William C. Reil, Esquire
                                                       C. Reil, Esquire
15
15                                             1515 Market Street,
                                               1515 Market Street, Suite
                                                                   Suite 1200
                                                                         1200
                                               Philadelphia, PA 19102
                                               Philadelphia, PA  19102
16
16
       For the Defendants:
       For the Defendants:                     Elisa P.
                                               Elisa  P. McEnroe,
                                                         McEnroe, Esquire
                                                                   Esquire
17
17                                             Matthew D.
                                               Matthew     Klayman, Esquire
                                                        D. Klayman,  Esquire
                                               Caitlyn  Barrett, Esquire
                                               Caitlyn Barrett,  Esquire
18
18                                             Morgan Lewis
                                               Morgan  Lewis Bockius,
                                                             Bockius, LLP
                                                                       LLP
                                               1701  Market Street
                                               1701 Market  Street
19
19                                             Philadelphia,  PA 19103-2921
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       Court Recorder:
       Court Recorder:                         Michael Mani
                                               Michael Mani
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       Transcription Service:
       Transcription Service:                  Chris
                                               Chris Hwang
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                     DEFENDANTS
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             (Call to order at
                            at 2:03
                               2:03 p.m.)
                                    p.m.)

2
2                  THE
                   THE COURT RECORDER:
                       COURT RECORDER:         All rise.
                                               All rise.   Court is now
                                                           Court is now in
                                                                        in

3
3      session, the Honorable
       session, the Honorable Wendy Beetlestone presiding.
                              Wendy Beetlestone presiding.

 4
 4                 THE
                   THE COURT:
                       COURT:    Good afternoon, have
                                 Good afternoon, have a
                                                      a seat.
                                                        seat.

5
5                  MR. REIL:
                   MR. REIL:    Good
                                Good day, Your Honor.
                                     day, Your Honor.

6
6                  THE
                   THE COURT:
                       COURT:    This is the
                                 This is the matter
                                             matter of
                                                    of Tulp
                                                       Tulp v.
                                                            v.

 7
 7     Educational Commission
       Educational            for Foreign
                   Commission for         Medical Graduates.
                                  Foreign Medical Graduates.            It's
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8
8      hearing on the
       hearing on the preliminary
                      preliminary injunction.
                                  injunction.          Can I have
                                                       Can I have some
                                                                  some

 9
 9     introductions, please?
       introductions, please?

10
10                 MR. REIL:
                   MR. REIL:    I'm William
                                I'm William C. Reil for
                                            C. Reil for the
                                                        the Plaintiff.
                                                            Plaintiff.

11
11                 You introduce yourself.
                   You introduce yourself.

12
12                 MR. SWATE:
                   MR. SWATE:    Tommy Swate for
                                 Tommy Swate for the
                                                 the Plaintiff.
                                                     Plaintiff.

13
13                 THE
                   THE COURT:
                       COURT:    Okay.
                                 Okay.     This is the
                                           This is the Plaintiff
                                                       Plaintiff Mr.
                                                                 Mr. Tulp,
                                                                     Tulp,

14
14     Dr.
       Dr. Tulp?
           Tulp?

15
15                 MR. TULP:
                   MR. TULP:    I'm Orien
                                I'm Orien Tulp, the Plaintiff.
                                          Tulp, the Plaintiff.

16
16                 THE
                   THE COURT:
                       COURT:    Okay.
                                 Okay.     Defense?
                                           Defense?

17
17                 MS. MCENROE:
                   MS. MCENROE:    Good
                                   Good afternoon,
                                        afternoon, Your
                                                   Your Honor, Elisa
                                                        Honor, Elisa

18
18     McEnroe for
       McEnroe for Morgan
                   Morgan Lewis
                          Lewis on behalf of
                                on behalf of the
                                             the Educational
                                                 Educational

19
19     Commission for Foreign
       Commission for Foreign Medical
                              Medical Graduates
                                      Graduates and
                                                and Dr. Pinsky, both
                                                    Dr. Pinsky, both

20
20     of the
       of the Defendants.
              Defendants.

21
21                 Today
                   Today with me, I
                         with me, I have
                                    have my
                                         my colleagues Matt Klayman
                                            colleagues Matt Klayman and
                                                                    and

22
22     Caitlyn Barrett.
       Caitlyn Barrett.     I also
                            I also have the General
                                   have the General Counsel for ECFMG
                                                    Counsel for ECFMG

23
23     Francine Katz here
       Francine Katz      at the
                     here at the table
                                 table with
                                       with us.
                                            us.

24
24                 THE
                   THE COURT:
                       COURT:    Okay.
                                 Okay.

25
25                 MS. MCENROE:
                   MS. MCENROE:    And we
                                   And we have two fact
                                          have two fact witnesses,
                                                        witnesses, who
                                                                   who




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1
1      requested to attend
       requested to attend as
                           as well, Ms. Kara
                              well, Ms. Kara Corrado
                                             Corrado and
                                                     and Lisa
                                                         Lisa Cover,
                                                              Cover,

2
2      two executives
       two executives from
                      from ECFMG.
                           ECFMG.

3
3                 THE
                  THE COURT:
                      COURT:    Okay.
                                Okay.     So
                                          So before
                                             before we begin, I
                                                    we begin, I just
                                                                just want to
                                                                     want to

 4
 4     clarify exactly what
       clarify exactly what we're
                            we're doing
                                  doing here today.
                                        here today.         So in looking
                                                            So in looking at
                                                                          at

5
5      the complaint,
       the            it is
           complaint, it is a
                            a little
                              little unclear to me
                                     unclear to me as exactly what
                                                   as exactly what

6
6      causes of action
       causes of action are
                        are being
                            being asserted.
                                  asserted.       And what
                                                  And      I glean
                                                      what I       from it,
                                                             glean from it,

 7
 7     and Mr. Reil
       and Mr. Reil or
                    or Mr.
                       Mr. Swate,
                           Swate, you
                                  you should tell me
                                      should tell me if
                                                     if I'm incorrect.
                                                        I'm incorrect.

8
8                 The first cause
                  The first       of action
                            cause of action is
                                            is tortiously
                                               tortiously interfering
                                                          interfering

 9
 9     with the contract
       with the          between the
                contract between the students of USAT
                                     students of      and against
                                                 USAT and against

10
10     ECFMG.
       ECFMG.   And that
                And that is
                         is a
                            a common
                              common law
                                     law tortious
                                         tortious interference
                                                  interference with
                                                               with

11
11     contract
       contract claim; is that
                claim; is that correct?
                               correct?

12
12                MR. REIL:
                  MR. REIL:    Yes,
                               Yes, Your Honor.
                                    Your Honor.

13
13                THE
                  THE COURT:
                      COURT:    Okay.
                                Okay.     Next one as
                                          Next one as I
                                                      I understand it is
                                                        understand it is

14
14     it's a
       it's a violation of due
              violation of due process
                               process claim
                                       claim against -- do
                                             against --    I refer
                                                        do I       to
                                                             refer to

15
15     you as ECFMG
       you as ECFMG or
                    or ECF?
                       ECF?     Or what's
                                Or        the best
                                   what's the best way of --
                                                   way of --

16
16                MS. MCENROE:
                  MS. MCENROE:    ECFMG would
                                  ECFMG would be
                                              be our
                                                 our preferred acronym,
                                                     preferred acronym,

17
17     but whatever
       but whatever works for Your
                    works for Your Honor.
                                   Honor.

18
18                THE
                  THE COURT:
                      COURT:    That's fine.
                                That's fine.    Okay, violation
                                                Okay, violation of
                                                                of due
                                                                   due

19
19     process against ECFMG,
       process against ECFMG, which
                              which appears to be
                                    appears to    a §1983
                                               be a §1983 claim
                                                          claim

20
20     alleging that ECFMG
       alleging that ECFMG violated
                           violated Tulp's
                                    Tulp's procedural
                                           procedural due
                                                      due process
                                                          process

21
21     rights as protected
       rights as           by the
                 protected by the 14th
                                  14th Amendment;
                                       Amendment; is
                                                  is that
                                                     that correct?
                                                          correct?

22
22                MR. REIL:
                  MR. REIL:    Yes,
                               Yes, Your Honor.
                                    Your Honor.

23
23                THE
                  THE COURT:
                      COURT:    And then
                                And then the
                                         the third
                                             third cause of action,
                                                   cause of action,

24
24     fraudulent misrepresentation,
       fraudulent misrepresentation, abuse
                                     abuse of
                                           of process, and negligent
                                              process, and negligent

25
25     representation against ECFMG
       representation against ECFMG appears
                                    appears to
                                            to be
                                               be three
                                                  three separate
                                                        separate




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1
1      common law claims
       common law        -- common
                  claims -- common law
                                   law fraud,
                                       fraud, common law abuse
                                              common law abuse of
                                                               of

2
2      process, and common
       process, and        law negligent
                    common law negligent misrepresentation.
                                         misrepresentation.           Is that
                                                                      Is that

3
3      correct?
       correct?

 4
 4                MR. REIL:
                  MR. REIL:    Yes,
                               Yes, Your Honor.
                                    Your Honor.

5
5                 THE
                  THE COURT:
                      COURT:    And then
                                And then finally,
                                         finally, the
                                                  the fourth
                                                      fourth cause of
                                                             cause of

6
6      action, a violation
       action, a violation of
                           of procedural
                              procedural and
                                         and substantive
                                             substantive due process
                                                         due process

 7
 7     against all Defendants
       against all Defendants appears to be
                              appears to be a §1983 claim
                                            a §1983       alleging
                                                    claim alleging

8
8      that Defendants
       that            violated Tulp's
            Defendants violated Tulp's procedural
                                       procedural and
                                                  and substantive
                                                      substantive due
                                                                  due

 9
 9     process
       process rights as protected
               rights as protected by the 14th
                                   by the 14th Amendment.
                                               Amendment.          Is that
                                                                   Is that

10
10     correct?
       correct?

11
11                MR. REIL:
                  MR. REIL:    Yes,
                               Yes, Your Honor.
                                    Your Honor.

12
12                THE
                  THE COURT:
                      COURT:    Okay, and
                                Okay,     in terms
                                      and in terms of
                                                   of this
                                                      this hearing today,
                                                           hearing today,

13
13     are
       are you
           you proceeding
               proceeding under each of
                          under each    the causes
                                     of the        of action
                                            causes of action or
                                                             or any
                                                                any

14
14     particular one?
       particular one?

15
15                MR. REIL:
                  MR. REIL:    I think
                               I think we're -- I
                                       we're -- I think
                                                  think the
                                                        the emphasis
                                                            emphasis

16
16     today will
       today      be on
             will be on the
                        the lack
                            lack of
                                 of due
                                    due process.
                                        process.         I won't
                                                         I       say we're
                                                           won't say we're

17
17     not
       not proceeding on the
           proceeding on the others,
                             others, but I think
                                     but I think that
                                                 that would
                                                      would be
                                                            be

18
18     featured as
       featured as --
                   --

19
19                THE
                  THE COURT:
                      COURT:    So procedural
                                So procedural and
                                              and substantive
                                                  substantive due
                                                              due

20
20     process.
       process.   So that
                  So that is
                          is the
                             the second
                                 second and the fourth
                                        and the fourth cause of action?
                                                       cause of action?

21
21                MR. REIL:
                  MR. REIL:    I think
                               I think there
                                       there are -- they'll
                                             are -- they'll be
                                                            be our
                                                               our main
                                                                   main

22
22     arguments,
       arguments, yes.
                  yes.

23
23                THE
                  THE COURT:
                      COURT:    Okay, and
                                Okay,     if I
                                      and if I look
                                               look at
                                                    at your motion, I
                                                       your motion, I

24
24     believe it
       believe it is
                  is for
                     for a
                         a preliminary
                           preliminary and
                                       and a
                                           a permanent injunction.
                                             permanent injunction.

25
25                MR. REIL:
                  MR. REIL:    Yeah, and/or a
                               Yeah, and/or a permanent.
                                              permanent.




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                                  SAppx0409
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1
1                 THE
                  THE COURT:
                      COURT:    And/or a
                                And/or a permanent.
                                         permanent.       Now obviously, at
                                                          Now obviously, at

2
2      this stage,
       this        I'm not
            stage, I'm     going to
                       not going to --
                                    -- it's
                                       it's way too early
                                            way too early in
                                                          in the
                                                             the game
                                                                 game

3
3      for a
       for a permanent injunction.
             permanent injunction.        So we
                                          So    are going
                                             we are       to proceed
                                                    going to proceed under
                                                                     under

 4
 4     the preliminary
       the             injunction rubric.
           preliminary injunction rubric.

5
5                 MR. REIL:
                  MR. REIL:    That's fine.
                               That's fine.

6
6                 THE
                  THE COURT:
                      COURT:    Okay, so
                                Okay, so your first witness,
                                         your first          or if
                                                    witness, or if you
                                                                   you

 7
 7     want to make
       want to make an
                    an argument,
                       argument, up to you.
                                 up to you.

8
8                 MR. REIL:
                  MR. REIL:    I think,
                               I think, given the time
                                        given the time constraints
                                                       constraints we
                                                                   we

 9
 9     have
       have here, maybe we
            here, maybe we would just call
                           would just      the first
                                      call the first witness.
                                                     witness.          I'd
                                                                       I'd

10
10     like to
       like to --
               -- there's
                  there's two
                          two witnesses
                              witnesses here from ECFMG.
                                        here from ECFMG.

11
11                I'd like
                  I'd like to
                           to make
                              make the
                                   the motion
                                       motion for
                                              for sequestration.
                                                  sequestration.         I'm
                                                                         I'm

12
12     going to call
       going to      Ms. Corrado.
                call Ms. Corrado.       The other witness
                                        The other         I believe
                                                  witness I         is Ms.
                                                            believe is Ms.

13
13     Cover.
       Cover.   I request
                I         that she
                  request that she be
                                   be submit --
                                      submit --

14
14                THE
                  THE COURT:
                      COURT:    Any objection
                                Any objection to
                                              to sequestering Ms. Cover?
                                                 sequestering Ms. Cover?

15
15                MS. MCENROE:
                  MS. MCENROE:    No
                                  No objection.
                                     objection.

16
16                THE
                  THE COURT:
                      COURT:    Ms. Cover,
                                Ms. Cover, could
                                           could you
                                                 you please leave the
                                                     please leave the

17
17     courtroom and wait
       courtroom and      outside?
                     wait outside?

18
18                Ms. Corrado,
                  Ms. Corrado, could
                               could you
                                     you please
                                         please approach the bench?
                                                approach the bench?

19
19     The
       The witness
           witness chair is there.
                   chair is there.

20
20                And Mr.
                  And Mr. Mani,
                          Mani, please
                                please swear
                                       swear the
                                             the witness.
                                                 witness.

21
21                THE
                  THE COURT RECORDER:
                      COURT RECORDER:         Please raise
                                              Please raise your
                                                           your right
                                                                right hand.
                                                                      hand.

22
22     State and spell
       State and spell your name for
                       your name for the
                                     the record?
                                         record?

23
23                THE WITNESS:
                  THE WITNESS:    Kara Corrado,
                                  Kara Corrado, K-A-R-A
                                                K-A-R-A C-O-R-R-A-D-O.
                                                        C-O-R-R-A-D-O.

24
24                                   KARA CORRADO
                                     KARA CORRADO

25
25     called as a
       called as a witness for the
                   witness for the Plaintiff,
                                   Plaintiff, having
                                              having been
                                                     been duly
                                                          duly sworn
                                                               sworn




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1
1      testified as
       testified as follows:
                    follows:

2
2                  THE
                   THE COURT:
                       COURT:    Have a
                                 Have a seat.
                                        seat.

3
3                  THE WITNESS:
                   THE WITNESS:    Thank
                                   Thank you.
                                         you.

 4
 4                 THE
                   THE COURT:
                       COURT:    Mr. Reil,
                                 Mr. Reil, your
                                           your witness.
                                                witness.

5
5                                 DIRECT EXAMINATION
                                  DIRECT EXAMINATION

6
6      BY MR.
       BY MR. REIL:
              REIL:

 7
 7           Q
             Q     Ms. Corrado,
                   Ms.          I understand
                       Corrado, I understand you're employed by
                                             you're employed by ECFMG
                                                                ECFMG

8
8      and I know
       and I      I'm going
             know I'm       to get
                      going to     the initials
                               get the initials wrong a couple
                                                wrong a        times.
                                                        couple times.

 9
 9     Sometimes even though
       Sometimes even though I
                             I realize
                               realize I'll
                                       I'll refer them as
                                            refer them as the
                                                          the board,
                                                              board,

10
10     although I know
       although I      the board
                  know the board is
                                 is only
                                    only part of them.
                                         part of them.

11
11           All right,
             All right, can
                        can you tell the
                            you tell the Court
                                         Court what
                                               what you
                                                    you do for ECFMG?
                                                        do for ECFMG?

12
12           A
             A     Yes.
                   Yes.   I am
                          I am the
                               the vice
                                   vice president
                                        president for
                                                  for operations at
                                                      operations at

13
13     ECFMG.
       ECFMG.

14
14           Q
             Q     Okay, and
                   Okay, and what are those
                             what are those --
                                            -- what
                                               what are
                                                    are you
                                                        you duties?
                                                            duties?

15
15           A
             A     I am
                   I am primarily
                        primarily responsible for oversight
                                  responsible for           of our
                                                  oversight of our ECFMG
                                                                   ECFMG

16
16     certificate program, as
       certificate program, as well
                               well as
                                    as a
                                       a primary
                                         primary source verification
                                                 source verification

17
17     for some
       for      of our
           some of our international
                       international clients,
                                     clients, and
                                              and oversight
                                                  oversight of
                                                            of our
                                                               our

18
18     special investigations team
       special investigations team and
                                   and medical education resources
                                       medical education resources

19
19     team.
       team.

20
20           Q
             Q     I understand
                   I understand you're an attorney,
                                you're an           is that
                                          attorney, is that --
                                                            --

21
21                 MR. REIL:
                   MR. REIL:    Your Honor, I'd
                                Your Honor, I'd ask -- I
                                                ask -- I didn't -- I'd
                                                         didn't -- I'd ask
                                                                       ask

22
22     that I
       that I be
              be able
                 able to
                      to use leading questions
                         use leading questions with this witness.
                                               with this witness.

23
23     She's a managerial
       She's a managerial employee
                          employee of the Defendant
                                   of the           and she's
                                          Defendant and       sent
                                                        she's sent

24
24     several letters to
       several letters to the
                          the --
                              -- involving
                                 involving this
                                           this case to the
                                                case to the Plaintiff?
                                                            Plaintiff?

25
25                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, if I
                                        Honor, if I may?
                                                    may?       If the
                                                               If the request
                                                                      request




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1
1      is to
       is to cross-examine the witness,
             cross-examine the          I have
                               witness, I have no
                                               no objection
                                                  objection being that
                                                            being that

2
2      it's our
       it's our witness.
                witness.    If the
                            If the request is to
                                   request is to be
                                                 be hostile to the
                                                    hostile to the

3
3      witness, I have
       witness, I      an objection.
                  have an objection.

 4
 4                MR. REIL:
                  MR. REIL:    I'm not
                               I'm     going to
                                   not going to --
                                                --

5
5                 THE
                  THE COURT:
                      COURT:    Well --
                                Well --

6
6                 MR. REIL:
                  MR. REIL:    -- use
                               --     the term
                                  use the term hostile.
                                               hostile.

 7
 7                THE
                  THE COURT:
                      COURT:    Well, I
                                Well, I think
                                        think we
                                              we should
                                                 should be
                                                        be clear that in
                                                           clear that in

8
8      my courtroom,
       my courtroom, hostility towards a
                     hostility towards a witness is completely
                                         witness is completely

 9
 9     forbidden.
       forbidden.   Cross -- vigorous
                    Cross -- vigorous cross-examination is allowed.
                                      cross-examination is allowed.

10
10                MS. MCENROE:
                  MS. MCENROE:    No
                                  No objection to that.
                                     objection to that.

11
11                THE
                  THE COURT:
                      COURT:    And given
                                And       that there's
                                    given that there's no
                                                       no objection,
                                                          objection, you
                                                                     you

12
12     should
       should cross-examine.
              cross-examine.     And the
                                 And the aim of the
                                         aim of the allowing
                                                    allowing you to
                                                             you to

13
13     cross-examine a witness
       cross-examine a         is simply
                       witness is        to get
                                  simply to     things done
                                            get things      as quickly
                                                       done as quickly

14
14     as
       as possible.
          possible.

15
15                MR. REIL:
                  MR. REIL:    I understand.
                               I understand.

16
16     BY MR.
       BY MR. REIL:
              REIL:

17
17          Q
            Q     I don't
                  I don't know if I
                          know if I asked
                                    asked you,
                                          you, you're
                                               you're an
                                                      an attorney?
                                                         attorney?

18
18          A
            A     I have
                  I      a J.D.
                    have a      from Temple
                           J.D. from Temple University.
                                            University.

19
19          Q
            Q     Okay, now
                  Okay, now can
                            can you
                                you describe for the
                                    describe for the record
                                                     record briefly
                                                            briefly

20
20     what is ECFMG?
       what is ECFMG?    I'll call
                         I'll call them
                                   them the
                                        the board.
                                            board.

21
21          A
            A     ECFMG is
                  ECFMG is the
                           the Educational
                               Educational Commission for Foreign
                                           Commission for Foreign

22
22     Medical Graduates.
       Medical Graduates.     We are
                              We are a
                                     a nonprofit,
                                       nonprofit, private organization
                                                  private organization

23
23     that was
       that     established initially
            was established initially to
                                      to screen international medical
                                         screen international medical

24
24     graduates,
       graduates, who
                  who were coming to
                      were coming to the
                                     the United
                                         United States
                                                States seeking
                                                       seeking

25
25     residency
       residency programs,
                 programs, you
                           you know,
                               know, and turns into
                                     and turns into graduate
                                                    graduate medical
                                                             medical




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1
1      education.
       education.

2
2            Q
             Q     Is ECFMG
                   Is ECFMG an
                            an accrediting
                               accrediting agency?
                                           agency?

3
3            A
             A     No,
                   No, sir.
                       sir.

 4
 4                 THE
                   THE COURT:
                       COURT:    Did
                                 Did you say no?
                                     you say no?

5
5                  THE WITNESS:
                   THE WITNESS:    No.
                                   No.

6
6                  THE
                   THE COURT:
                       COURT:    No.
                                 No.

 7
 7     BY MR.
       BY MR. REIL:
              REIL:

8
8            Q
             Q     Okay, am
                   Okay, am I
                            I correct that a
                              correct that   foreign medical
                                           a foreign medical student
                                                             student

 9
 9     cannot
       cannot practice as a
              practice as a physician
                            physician in
                                      in the
                                         the United
                                             United States
                                                    States without
                                                           without

10
10     certification by ECFMG?
       certification by ECFMG?       Is that
                                     Is that substantially
                                             substantially correct?
                                                           correct?

11
11           A
             A     Generally, the licensing
                   Generally, the licensing boards in the
                                            boards in the United States
                                                          United States

12
12     will
       will require ECFMG certification
            require ECFMG certification for
                                        for international
                                            international medical
                                                          medical

13
13     graduates, but it's
       graduates, but it's the
                           the discretion of each
                               discretion of each state
                                                  state board
                                                        board who they
                                                              who they

14
14     license.
       license.    But generally,
                   But generally, yes, they require
                                  yes, they         ECFMG certification.
                                            require ECFMG certification.

15
15           Q
             Q     And I
                   And I --
                         -- and
                            and we'll probably be
                                we'll probably be using this term
                                                  using this term a
                                                                  a lot,
                                                                    lot,

16
16     what
       what does that mean
            does that mean ECFMG
                           ECFMG certification?
                                 certification?          What exactly
                                                         What exactly is
                                                                      is it
                                                                         it

17
17     that they
       that they certify?
                 certify?

18
18           A
             A     So in order
                   So in order to
                               to obtain
                                  obtain ECFMG
                                         ECFMG certification, an
                                               certification, an

19
19     international medical
       international medical graduate
                             graduate must
                                      must meet the requirements
                                           meet the              for
                                                    requirements for

20
20     certification.
       certification.

21
21           And roughly,
             And          there are
                 roughly, there are two
                                    two such
                                        such requirements.
                                             requirements.           There are
                                                                     There are

22
22     examination requirements
       examination requirements and there are
                                and there     medical education
                                          are medical education

23
23     requirements.
       requirements.

24
24           Q
             Q     And ECFMG
                   And ECFMG certifies these things
                             certifies these things to
                                                    to state medical
                                                       state medical

25
25     boards?
       boards?




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1
1           A
            A     So
                  So we
                     we certify the individuals.
                        certify the individuals.       So if
                                                       So if the
                                                             the individual
                                                                 individual

2
2      meets those
       meets those requirements, they will
                   requirements, they      issued a
                                      will issued a certificate.
                                                    certificate.              That
                                                                              That

3
3      certificate is what
       certificate is      they can
                      what they can use then as
                                    use then as part of the
                                                part of the

 4
 4     requirements to get
       requirements to     into a
                       get into a graduate
                                  graduate medical education program
                                           medical education program

5
5      and to be
       and to be able
                 able to
                      to take
                         take Step 3 of
                              Step 3    the USMLE
                                     of the       and then
                                            USMLE and then to
                                                           to --
                                                              --

6
6      ultimately to be
       ultimately to be licensed.
                        licensed.

 7
 7          Q
            Q     So
                  So undergraduates, foreign undergraduate
                     undergraduates, foreign               students and
                                             undergraduate students and

8
8      even graduates
       even graduates register
                      register with the --
                               with the -- ECFMG;
                                           ECFMG; is
                                                  is that
                                                     that correct?
                                                          correct?

 9
 9          A
            A     If they
                  If they are
                          are seeking entrance to
                              seeking entrance to graduate medical
                                                  graduate medical

10
10     education in
       education in the
                    the United
                        United States, then yes,
                               States, then      they would
                                            yes, they would have to
                                                            have to

11
11     come through ECFMG.
       come through ECFMG.

12
12          Q
            Q     Now
                  Now Dr.
                      Dr. Tulp
                          Tulp had
                               had a
                                   a hearing
                                     hearing here in Philadelphia
                                             here in Philadelphia where
                                                                  where

13
13     ECFMG is
       ECFMG is located
                located at
                        at 36th
                           36th and Market on
                                and Market on November
                                              November 28th of this
                                                       28th of this

14
14     year,
       year, correct?
             correct?

15
15          A
            A     The meeting was
                  The meeting     actually at
                              was actually    the Rittenhouse
                                           at the Rittenhouse Hotel.
                                                              Hotel.

16
16          Q
            Q     Oh, right,
                  Oh,        it was
                      right, it was your -- I
                                    your -- I stand
                                              stand corrected.
                                                    corrected.

17
17          A
            A     That's okay.
                  That's okay.

18
18          Q
            Q     It was
                  It     the Rittenhouse
                     was the Rittenhouse Hotel that day.
                                         Hotel that day.        Well, you
                                                                Well, you

19
19     were
       were present at that
            present at that immediate
                            immediate meeting?
                                      meeting?

20
20          A
            A     Yes,
                  Yes, sir.
                       sir.

21
21          Q
            Q     Okay, and
                  Okay, and Ms.
                            Ms. Cover
                                Cover was
                                      was present
                                          present at that meeting?
                                                  at that meeting?

22
22          A
            A     She
                  She was.
                      was.

23
23          Q
            Q     And Dr.
                  And     Pinsky --
                      Dr. Pinsky --

24
24          A
            A     Yes.
                  Yes.

25
25          Q
            Q     -- was
                  -- was present at that
                         present at that meeting?
                                         meeting?




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1
1            A
             A     Yes.
                   Yes.

2
2            Q
             Q     Okay, now
                   Okay, now Dr.
                             Dr. Tulp, that was
                                 Tulp, that was a
                                                a hearing for what's
                                                  hearing for what's

3
3      called irregular behavior,
       called irregular behavior, correct?
                                  correct?

 4
 4           A
             A     Yes.
                   Yes.

5
5            Q
             Q     Before we
                   Before    talk about
                          we talk about that,
                                        that, is
                                              is Dr.
                                                 Dr. Tulp -- is
                                                     Tulp -- is he
                                                                he a
                                                                   a

6
6      foreign medical
       foreign medical student
                       student that's
                               that's registered
                                      registered with the ECFMG?
                                                 with the ECFMG?

 7
 7           A
             A     No.
                   No.

8
8            Q
             Q     Well, does
                   Well, does he
                              he have some sort
                                 have some sort of
                                                of a
                                                   a contract
                                                     contract with
                                                              with

 9
 9     ECFMG?
       ECFMG?

10
10           A
             A     Not that I'm
                   Not that I'm aware
                                aware of.
                                      of.

11
11           Q
             Q     All right.
                   All right.    Did
                                 Did he ever agree
                                     he ever       to submit
                                             agree to submit himself in
                                                             himself in

12
12     any way
       any     to ECFMG?
           way to ECFMG?

13
13           A
             A     I don't
                   I don't know if I
                           know if I understand,
                                     understand, I'm
                                                 I'm sorry.
                                                     sorry.          The --
                                                                     The --

14
14           Q
             Q     Well, did
                   Well, did Dr.
                             Dr. Tulp ever say
                                 Tulp ever     I agree
                                           say I       that ECFMG
                                                 agree that ECFMG has
                                                                  has

15
15     power over me
       power over me to
                     to determine
                        determine whether I have
                                  whether I      met irregular
                                            have met irregular

16
16     behavior?
       behavior?    Is there
                    Is there any
                             any documents or verbal
                                 documents or verbal agreements like
                                                     agreements like

17
17     that?
       that?

18
18           A
             A     Not that I'm
                   Not that I'm aware
                                aware of.
                                      of.

19
19           Q
             Q     I see.
                   I see.   All right.
                            All right.         Is --
                                               Is -- to
                                                     to your
                                                        your knowledge,
                                                             knowledge, well, I
                                                                        well, I

20
20     don't
       don't want
             want you to speak
                  you to speak for
                               for your -- to
                                   your -- to your
                                              your knowledge,
                                                   knowledge, has
                                                              has

21
21     anyone from ECFMG
       anyone from ECFMG ever
                         ever visited the school,
                              visited the school, which
                                                  which Dr.
                                                        Dr. Tulp is
                                                            Tulp is

22
22     the president
       the           of, the
           president of, the USAT?
                             USAT?         Has anybody
                                           Has anybody ever
                                                       ever visited the
                                                            visited the

23
23     school
       school do
              do you
                 you know, inspection?
                     know, inspection?

24
24           A
             A     Not that I'm
                   Not that I'm aware
                                aware of.
                                      of.

25
25           Q
             Q     Okay, now
                   Okay,     the school
                         now the school in
                                        in USAT,
                                           USAT, am I correct
                                                 am I         that it's
                                                      correct that it's



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1
1      been in
       been in existence
               existence since
                         since about
                               about 2003,
                                     2003, roughly about 15
                                           roughly about 15 years?
                                                            years?

2
2      Were you
       Were     aware of
            you aware of that?
                         that?

3
3             A
              A   I'm aware
                  I'm aware that
                            that we
                                 we received
                                    received a
                                             a copy
                                               copy of
                                                    of a charter for
                                                       a charter for

 4
 4     USAT,
       USAT, which
             which shows that it
                   shows that it was incorporated in
                                 was incorporated in 2003, I believe,
                                                     2003, I believe,

5
5      yes.
       yes.

6
6             Q
              Q   A charter
                  A         from the
                    charter from the government
                                     government of Montserrat?
                                                of Montserrat?

 7
 7            A
              A   Yes,
                  Yes, sir.
                       sir.

8
8                 MR. REIL:
                  MR. REIL:    Okay, well,
                               Okay, well, maybe
                                           maybe with the Court's
                                                 with the Court's

 9
 9     permission,
       permission, can I give
                   can I      the witness
                         give the         proposed exhibits
                                  witness proposed exhibits that
                                                            that I
                                                                 I

10
10     made, one
       made, one of
                 of the
                    the notes?
                        notes?

11
11                THE
                  THE COURT:
                      COURT:     You may.
                                 You may.

12
12                MR. REIL:
                  MR. REIL:    May approach?
                               May approach?

13
13                THE
                  THE COURT:
                      COURT:     You may.
                                 You may.

14
14     BY MR.
       BY MR. REIL:
              REIL:

15
15            Q
              Q   Will you
                  Will     take a
                       you take a moment
                                  moment to
                                         to look
                                            look at those and
                                                 at those     I'll have
                                                          and I'll have

16
16     further questions.
       further questions.     And you
                              And you were talking about,
                                      were talking about, well,
                                                          well, why
                                                                why don't
                                                                    don't

17
17     you take a
       you take a look
                  look at
                       at Exhibit
                          Exhibit 3
                                  3 --
                                    -- Exhibit
                                       Exhibit C --
                                               C --

18
18            A
              A   Uh-huh.
                  Uh-huh.

19
19            Q
              Q   -- on
                  -- on page 5 of
                        page 5 of the
                                  the packet
                                      packet that
                                             that I
                                                  I submitted to you?
                                                    submitted to you?

20
20     Tell me when
       Tell me when you
                    you have it.
                        have it.

21
21            A
              A   I have
                  I      it, sir.
                    have it, sir.

22
22            Q
              Q   Okay, now
                  Okay,     that's several
                        now that's several pages
                                           pages and
                                                 and I'm
                                                     I'm not
                                                         not going to
                                                             going to

23
23     ask
       ask you to read
           you to      through that
                  read through that before.
                                    before.         Do
                                                    Do you
                                                       you know
                                                           know whether that
                                                                whether that

24
24     is a
       is a --
            -- an
               an agreement
                  agreement between
                            between --
                                    -- with the government
                                       with the government of
                                                           of

25
25     Montserrat basically
       Montserrat basically authorizing
                            authorizing USAT?
                                        USAT?




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1
1            A
             A     My understanding
                   My               is that
                      understanding is that this
                                            this --
                                                 --

2
2                  THE
                   THE COURT:
                       COURT:    Wait, wait,
                                 Wait, wait, hold on a
                                             hold on a second.
                                                       second.        Before you
                                                                      Before you

3
3      ask
       ask substantive
           substantive questions
                       questions about
                                 about a
                                       a particular
                                         particular document,
                                                    document, you must
                                                              you must

 4
 4     seek to have
       seek to      it admitted.
               have it admitted.

5
5                  MR. REIL:
                   MR. REIL:    Yes,
                                Yes, Your Honor, okay.
                                     Your Honor, okay.       Let me lay
                                                             Let me lay a
                                                                        a

6
6      foundation here.
       foundation here.     Are you
                            Are     --
                                you --

 7
 7                 THE
                   THE COURT:
                       COURT:    Well, let's
                                 Well, let's see if we
                                             see if we can -- would
                                                       can -- would you
                                                                    you

8
8      stipulate to the
       stipulate to the admissibility
                        admissibility of
                                      of this
                                         this document?
                                              document?

 9
 9                 MS. MCENROE:
                   MS. MCENROE:    I would
                                   I would stipulate that this
                                           stipulate that this is
                                                               is a
                                                                  a

10
10     document that Dr.
       document that Dr. Tulp
                         Tulp submitted to ECFMG.
                              submitted to ECFMG.           I don't
                                                            I don't know that
                                                                    know that

11
11     we
       we have the ability
          have the ability to
                           to stipulate to authenticity
                              stipulate to authenticity beyond that.
                                                        beyond that.

12
12                 THE
                   THE COURT:
                       COURT:    Would you
                                 Would     oppose its
                                       you oppose its admissibility?
                                                      admissibility?

13
13                 MS. MCENROE:
                   MS. MCENROE:    For these purposes
                                   For these          today, no.
                                             purposes today, no.

14
14                 THE
                   THE COURT:
                       COURT:    Just for the
                                 Just for the --
                                              -- okay,
                                                 okay, so for the
                                                       so for the purposes
                                                                  purposes

15
15     only of
       only of this
               this preliminary
                    preliminary injunction
                                injunction hearing, it is
                                           hearing, it is admitted.
                                                          admitted.

16
16     You
       You can ask substantive
           can ask substantive questions.
                               questions.

17
17           (Plaintiff's Exhibit C
             (Plaintiff's Exhibit C admitted into evidence)
                                    admitted into evidence)

18
18                 MR. REIL:
                   MR. REIL:    Okay.
                                Okay.

19
19     BY MR.
       BY MR. REIL:
              REIL:

20
20           Q
             Q     All right,
                   All        to your
                       right, to your knowledge, is this
                                      knowledge, is this document
                                                         document

21
21     essentially a
       essentially a document from the
                     document from the government of Montserrat,
                                       government of Montserrat, where
                                                                 where

22
22     ECFMG has
       ECFMG     its main
             has its main presence
                          presence authorizing ECFMG to
                                   authorizing ECFMG to operate
                                                        operate as
                                                                as a
                                                                   a

23
23     medical college?
       medical college?

24
24                 MS. MCENROE:
                   MS. MCENROE:    Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.       We would
                                                                We       only
                                                                   would only

25
25     ask for clarification
       ask for               that in
               clarification that in the
                                     the last
                                         last question
                                              question both instances
                                                       both instances




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                                                                         15

1
1      of use
       of     of ECFMG,
          use of ECFMG, I
                        I don't
                          don't mean to be
                                mean to be presumptuous,
                                           presumptuous, but that
                                                         but that

2
2      counsel intended to
       counsel intended to USAT
                           USAT as opposed to
                                as opposed to --
                                              --

3
3                 MR. REIL:
                  MR. REIL:    Yes, I did,
                               Yes, I did, Your
                                           Your Honor.
                                                Honor.

 4
 4                THE
                  THE COURT:
                      COURT:     Sustained, sustained.
                                 Sustained, sustained.      Why don't
                                                            Why don't you
                                                                      you

5
5      repeat the question?
       repeat the question?

6
6                 MR. REIL:
                  MR. REIL:    Okay.
                               Okay.

 7
 7     BY MR.
       BY MR. REIL:
              REIL:

8
8            Q
             Q    All right,
                  All right, have
                             have you seen this
                                  you seen this document
                                                document before?
                                                         before?

 9
 9           A
             A    Yes,
                  Yes, sir.
                       sir.

10
10           Q
             Q    What is
                  What is it?
                          it?

11
11           A
             A    It is
                  It is a
                        a copy of what
                          copy of      appears to
                                  what appears to be the charter
                                                  be the         for
                                                         charter for

12
12     USAT
       USAT with the government
            with the government of Montserrat.
                                of Montserrat.

13
13           Q
             Q    Thank
                  Thank you.
                        you.     All right,
                                 All        I would
                                     right, I       move that
                                              would move that into
                                                              into

14
14     evidence at
       evidence at this
                   this time.
                        time.

15
15                THE
                  THE COURT:
                      COURT:     That
                                 That had been admitted.
                                      had been admitted.      You
                                                              You can
                                                                  can go
                                                                      go

16
16     ahead.
       ahead.

17
17     BY MR.
       BY MR. REIL:
              REIL:

18
18           Q
             Q    Okay, all
                  Okay, all right.
                            right.       Now
                                         Now why
                                             why don't
                                                 don't you take a
                                                       you take a look,
                                                                  look, if
                                                                        if

19
19     you
       you would, at what's
           would, at        Exhibit D
                     what's Exhibit   in the
                                    D in the packet and to
                                             packet and to the
                                                           the

20
20     complaint at page
       complaint at page 10.
                         10.      Okay, it appears
                                  Okay, it         to be
                                           appears to be an affidavit.
                                                         an affidavit.          Do
                                                                                Do

21
21     you
       you recognize it?
           recognize it?

22
22           A
             A    Yes,
                  Yes, sir.
                       sir.

23
23           Q
             Q    Who issued
                  Who issued it?
                             it?

24
24           A
             A    ECFMG.
                  ECFMG.

25
25           Q
             Q    Okay, and
                  Okay, and for
                            for what purpose?
                                what purpose?




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                                                                          16

1           A
            A     ECFMG requested
                  ECFMG           the students
                        requested the          and graduates
                                      students and           of USAT
                                                   graduates of      to
                                                                USAT to

2
2      complete the affidavit
       complete the affidavit attesting to their
                              attesting to their medical
                                                 medical school
                                                         school

3
3      attendance.
       attendance.

 4
 4          Q
            Q     I see.
                  I see.

5
5           A
            A     So
                  So we
                     we could
                        could determine in what
                              determine in      location they
                                           what location they took
                                                              took

6
6      their basic
       their basic sciences.
                   sciences.

 7
 7          Q
            Q     And I
                  And I see on this
                        see on this affidavit,
                                    affidavit, if
                                               if you
                                                  you go about
                                                      go about

8
8      two-thirds of
       two-thirds of the
                     the way down, you
                         way down, you see
                                       see where it says
                                           where it      I'm attaching
                                                    says I'm attaching

 9
 9     the following
       the following documentation.
                     documentation.           Do
                                              Do you
                                                 you see that?
                                                     see that?

10
10          A
            A     Yes.
                  Yes.

11
11          Q
            Q     So this is
                  So this is an
                             an affidavit
                                affidavit that
                                          that also
                                               also requests passports,
                                                    requests passports,

12
12     airline tickets, various
       airline tickets, various documents,
                                documents, correct?
                                           correct?

13
13          A
            A     Yes.
                  Yes.

14
14          Q
            Q     Okay.
                  Okay.    Now at the
                           Now at the hearing,
                                      hearing, when
                                               when we
                                                    we arrived at the
                                                       arrived at the

15
15     hearing at the
       hearing at the Rittenhouse
                      Rittenhouse Square in November
                                  Square in November 28th,
                                                     28th, we
                                                           we were
                                                              were

16
16     given a big
       given a big black
                   black book
                         book of exhibits.
                              of exhibits.          Are you
                                                    Are     familiar with
                                                        you familiar      the,
                                                                     with the,

17
17     you
       you know, that that
           know, that that happened?
                           happened?

18
18          A
            A     Yes.
                  Yes.

19
19          Q
            Q     Okay, and
                  Okay, and we
                            we hadn't seen that
                               hadn't seen that black book before
                                                black book before the
                                                                  the

20
20     hearing,
       hearing, correct?
                correct?

21
21          A
            A     No.
                  No.

22
22          Q
            Q     No.
                  No.

23
23          A
            A     That's
                  That's not
                         not correct.
                             correct.

24
24          Q
            Q     All right
                  All right now,
                            now, were
                                 were affidavits in the
                                      affidavits in the hearing?
                                                        hearing?          Were
                                                                          Were

25
25     affidavits in the
       affidavits in the black
                         black book
                               book at the hearing?
                                    at the hearing?




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                                  SAppx0419
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                                                                         17

1
1            A
             A     Yes.
                   Yes.

2
2            Q
             Q     Okay, a
                   Okay, a couple
                           couple hundred
                                  hundred of them, correct?
                                          of them, correct?

3
3            A
             A     Yes.
                   Yes.

 4
 4           Q
             Q     Okay, and
                   Okay, and many
                             many of
                                  of them
                                     them were
                                          were redacted,
                                               redacted, were they not?
                                                         were they not?

5
5            A
             A     They
                   They were.
                        were.

6
6            Q
             Q     Okay.
                   Okay.   So our
                           So our --
                                  -- we
                                     we were
                                        were given
                                             given affidavits purportedly
                                                   affidavits purportedly

 7
 7     from our
       from our students
                students with the names
                         with the names redacted, correct?
                                        redacted, correct?

8
8            A
             A     That's
                   That's correct.
                          correct.

 9
 9           Q
             Q     Okay.
                   Okay.   How are
                           How are we supposed to
                                   we supposed to investigate
                                                  investigate what those
                                                              what those

10
10     students
       students said in the
                said in the affidavit?
                            affidavit?

11
11           A
             A     We redacted
                   We          the names
                      redacted the       of the
                                   names of the students --
                                                students --

12
12           Q
             Q     Uh-huh.
                   Uh-huh.

13
13           A
             A     -- but
                   -- but not the attendance
                          not the attendance dates information --
                                             dates information --

14
14           Q
             Q     Okay.
                   Okay.

15
15           A
             A     -- to
                   -- to demonstrate that there
                         demonstrate that there was
                                                was a
                                                    a significant
                                                      significant number
                                                                  number

16
16     of students.
       of students.

17
17           Q
             Q     Well, on
                   Well, on a
                            a particular
                              particular affidavit
                                         affidavit that
                                                   that was
                                                        was redacted,
                                                            redacted,

18
18     was there any
       was there any way for Dr.
                     way for Dr. Tulp to contact
                                 Tulp to         that student
                                         contact that         to see
                                                      student to see

19
19     if the
       if the information
              information was
                          was accurate?
                              accurate?

20
20                 MS. MCENROE:
                   MS. MCENROE:    Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.       I just
                                                                I just want to
                                                                       want to

21
21     -- I
       -- I wasn't
            wasn't sure if the
                   sure if the witness
                               witness was finished with
                                       was finished with her last
                                                         her last

22
22     answer before the
       answer before the question began.
                         question began.         I just
                                                 I just want to --
                                                        want to --

23
23                 THE
                   THE COURT:
                       COURT:    Were you
                                 Were     finished with
                                      you finished with your answer?
                                                        your answer?

24
24                 THE WITNESS:
                   THE WITNESS:    With
                                   With respect to the
                                        respect to the affidavits?
                                                       affidavits?

25
25                 THE
                   THE COURT:
                       COURT:    Correct.
                                 Correct.




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1
1                  THE WITNESS:
                   THE WITNESS:    Yes.
                                   Yes.        Sorry.
                                               Sorry.   Yeah, it's okay.
                                                        Yeah, it's okay.

2
2                  MS. MCENROE:
                   MS. MCENROE:    I'm
                                   I'm sorry
                                       sorry about that.
                                             about that.

3
3      BY MR.
       BY MR. REIL:
              REIL:

 4
 4           Q
             Q     Okay, so
                   Okay,    these affidavits
                         so these affidavits were
                                             were used
                                                  used by is it
                                                       by is it fair
                                                                fair to
                                                                     to

5
5      say the board
       say the board or
                     or ECFMG
                        ECFMG to
                              to investigate
                                 investigate irregular
                                             irregular behavior
                                                       behavior

6
6      against
       against Dr.
               Dr. Tulp?
                   Tulp?

 7
 7           A
             A     So the affidavits
                   So the affidavits were
                                     were presented to the
                                          presented to the board
                                                           board of
                                                                 of

8
8      trustee --
       trustee -- the
                  the redacted
                      redacted affidavits
                               affidavits were
                                          were presented to the
                                               presented to the board
                                                                board

 9
 9     of trustees
       of trustees to
                   to demonstrate that a
                      demonstrate that a significant
                                         significant number of the
                                                     number of the

10
10     students that had
       students that had returned the affidavits
                         returned the            to us
                                      affidavits to    indicated that
                                                    us indicated that

11
11     they did
       they did not
                not do their basic
                    do their basic sciences in Montserrat.
                                   sciences in Montserrat.

12
12           There
             There were a number
                   were a        of affidavits
                          number of            that were
                                    affidavits that      also included
                                                    were also included

13
13     that were
       that were not
                 not redacted
                     redacted and those were
                              and those were specifically to show
                                             specifically to      the
                                                             show the

14
14     instances where
       instances where Dr.
                       Dr. Tulp
                           Tulp has
                                has provided information that
                                    provided information that

15
15     conflicted
       conflicted with the affidavit
                  with the affidavit information
                                     information that
                                                 that we
                                                      we got from the
                                                         got from the

16
16     students.
       students.

17
17           Q
             Q     Did the --
                   Did the -- I
                              I think
                                think there
                                      there was
                                            was a
                                                a board of several
                                                  board of several

18
18     doctors if I
       doctors if I remember.
                    remember.      Did they receive
                                   Did they         the affidavits
                                            receive the affidavits prior
                                                                   prior

19
19     to the
       to the hearing?
              hearing?

20
20           A
             A     Yes, they received
                   Yes, they          the same
                             received the      materials that
                                          same materials that you
                                                              you

21
21     received.
       received.

22
22           Q
             Q     So the affidavits
                   So the affidavits were
                                     were used
                                          used as
                                               as an investigative
                                                  an investigative

23
23     material by
       material by ECFMG
                   ECFMG to
                         to give
                            give to
                                 to the
                                    the board?
                                        board?

24
24           A
             A     I mean,
                   I mean, they
                           they were
                                were used
                                     used as
                                          as support --
                                             support --

25
25           Q
             Q     Okay.
                   Okay.




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1
1            A
             A     -- to
                   -- to the
                         the allegation
                             allegation that
                                        that we
                                             we made,
                                                made, yes.
                                                      yes.

2
2            Q
             Q     All right.
                   All right.    Okay, so
                                 Okay, so ECFMG
                                          ECFMG did the investigation
                                                did the investigation in
                                                                      in

3
3      this case
       this      and then
            case and then they
                          they submitted it to
                               submitted it to the
                                               the board
                                                   board of ECFMG,
                                                         of ECFMG,

 4
 4     correct?
       correct?

5
5            A
             A     Yes, ECFMG staff,
                   Yes, ECFMG        that's our
                              staff, that's our normal procedure in
                                                normal procedure in

6
6      these types
       these types of
                   of cases.
                      cases.

 7
 7           Q
             Q     So that there
                   So that there was no distinction
                                 was no distinction in
                                                    in the
                                                       the way this
                                                           way this

8
8      proceeding
       proceeding went, the proceeding
                  went, the proceeding for
                                       for irregular
                                           irregular behavior.
                                                     behavior.             There
                                                                           There

 9
 9     was
       was distinct between the
           distinct between the investigatory
                                investigatory and
                                              and the
                                                  the adjudicatory.
                                                      adjudicatory.

10
10     It was
       It     all ECFMG?
          was all ECFMG?     Do
                             Do you
                                you understand
                                    understand my
                                               my question?
                                                  question?

11
11                 MS. MCENROE:
                   MS. MCENROE:    Objection.
                                   Objection.     Objection,
                                                  Objection, Your Honor, to
                                                             Your Honor, to

12
12     the extent
       the extent it
                  it calls for a
                     calls for   legal conclusion.
                               a legal conclusion.           I'm not
                                                             I'm not quite
                                                                     quite sure
                                                                           sure

13
13     counsel's
       counsel's getting at with
                 getting at      that question.
                            with that question.

14
14                 THE
                   THE COURT:
                       COURT:    Sustained.
                                 Sustained.

15
15     BY MR.
       BY MR. REIL:
              REIL:

16
16           Q
             Q     Did ECFMG employ
                   Did ECFMG employ outside investigators?
                                    outside investigators?

17
17           A
             A     I'm sorry?
                   I'm sorry?

18
18           Q
             Q     In the
                   In the --
                          -- with
                             with reference to the
                                  reference to the irregular
                                                   irregular charges
                                                             charges

19
19     against
       against Dr.
               Dr. Tulp,
                   Tulp, did ECFMG employ
                         did ECFMG employ outside
                                          outside investigators?
                                                  investigators?

20
20           A
             A     In our
                   In our review of the
                          review of the school,
                                        school, yes.
                                                yes.

21
21           Q
             Q     Okay, did
                   Okay,     they visit
                         did they visit the
                                        the school?
                                            school?

22
22           A
             A     That's my understanding.
                   That's my understanding.

23
23           Q
             Q     They
                   They did?
                        did?

24
24           A
             A     Yes.
                   Yes.

25
25           Q
             Q     Okay.
                   Okay.   Did
                           Did we
                               we receive at the
                                  receive at the hearing the identity
                                                 hearing the identity of
                                                                      of



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                                                                         20

1
1      those investigators
       those investigators and
                           and any
                               any report from them?
                                   report from them?

2
2            A
             A     No.
                   No.

3
3            Q
             Q     Okay.
                   Okay.    Now let me
                            Now let me ask
                                       ask you this.
                                           you this.      Okay, why
                                                          Okay, why don't
                                                                    don't you
                                                                          you

 4
 4     take a
       take a look
              look at
                   at page
                      page 4, if you
                           4, if you will, that's Exhibit
                                     will, that's Exhibit B.
                                                          B.

5
5            A
             A     Yes.
                   Yes.

6
6            Q
             Q     Would you
                   Would     tell the
                         you tell the Court
                                      Court what that is?
                                            what that is?

 7
 7           A
             A     This,
                   This, sir, is a
                         sir, is a --
                                   -- appears to be
                                      appears to be a
                                                    a screenshot
                                                      screenshot of the
                                                                 of the

8
8      listing in
       listing in the
                  the World
                      World Directory
                            Directory of Medical Schools
                                      of Medical         for USAT.
                                                 Schools for USAT.

 9
 9           Q
             Q     Okay, and
                   Okay, and do
                             do you
                                you see there where
                                    see there       it says,
                                              where it       oh, about
                                                       says, oh, about a
                                                                       a

10
10     little more
       little more than
                   than a
                        a halfway
                          halfway down,
                                  down, note
                                        note as of January
                                             as of January 1st?
                                                           1st?

11
11           A
             A     Yes,
                   Yes, sir.
                        sir.

12
12           Q
             Q     Would you
                   Would you read that into
                             read that into the
                                            the record?
                                                record?

13
13                 MR. REIL:
                   MR. REIL:    It's short,
                                It's short, Your
                                            Your Honor.
                                                 Honor.

14
14     BY MR.
       BY MR. REIL:
              REIL:

15
15           Q
             Q     Just that sentence
                   Just that          and I'll
                             sentence and I'll have
                                               have a follow up
                                                    a follow up

16
16     question.
       question.

17
17           A
             A     Yes.
                   Yes.    "Note, as
                           "Note, as of
                                     of January
                                        January 1st,
                                                1st, 2019,
                                                     2019, students and
                                                           students and

18
18     graduates of this
       graduates of this medical
                         medical school
                                 school with
                                        with a graduation year
                                             a graduation      of 2019
                                                          year of 2019

19
19     and later are
       and later are not eligible to
                     not eligible to apply to ECFMG
                                     apply to ECFMG for
                                                    for ECFMG
                                                        ECFMG

20
20     certification,
       certification, which also renders
                      which also         them ineligible
                                 renders them ineligible to
                                                         to apply
                                                            apply to
                                                                  to

21
21     ECFMG for
       ECFMG for the
                 the United States medical
                     United States         licensing examinations
                                   medical licensing examinations as
                                                                  as a
                                                                     a

22
22     step towards ECFMG
       step towards ECFMG certification."
                          certification."

23
23           Q
             Q     Okay, and
                   Okay, and this
                             this went
                                  went on this World
                                       on this World Directory of
                                                     Directory of

24
24     Medical Schools
       Medical Schools website?
                       website?

25
25           A
             A     I'm --
                   I'm -- did
                          did you just ask
                              you just ask me -- I'm
                                           me -- I'm sorry, did you
                                                     sorry, did you ask
                                                                    ask




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1
1      me if
       me if it
             it was present there?
                was present there?

2
2            Q
             Q     Yes?
                   Yes?

3
3            A
             A     Yes.
                   Yes.

 4
 4           Q
             Q     This is where
                   This is       --
                           where --

5
5            A
             A     Yes, it is.
                   Yes, it is.

6
6            Q
             Q     So
                   So students
                      students could see this,
                               could see this, anybody
                                               anybody could
                                                       could see it,
                                                             see it,

 7
 7     right?
       right?

8
8            A
             A     Yes,
                   Yes, correct.
                        correct.

 9
 9           Q
             Q     Okay.
                   Okay.   Now the hearing
                           Now the         involving irregular
                                   hearing involving irregular behavior
                                                               behavior

10
10     was on November
       was on          28th of
              November 28th of 2018.
                               2018.           This
                                               This was
                                                    was published, this meaning
                                                        published, this meaning

11
11     the document
       the          that we
           document that    just referred
                         we just          to here
                                 referred to      about the
                                             here about the World
                                                            World

12
12     Directory of Medical
       Directory of Medical Schools,
                            Schools, this
                                     this was
                                          was put
                                              put on the website
                                                  on the website well
                                                                 well

13
13     before the
       before the hearing,
                  hearing, wasn't it?
                           wasn't it?

14
14           A
             A     Yes.
                   Yes.

15
15                 THE
                   THE COURT:
                       COURT:    Let me clarify
                                 Let me clarify that.
                                                that.       When you
                                                            When you say this
                                                                     say this

16
16     was
       was put on the
           put on the website,
                      website, do
                               do you
                                  you mean that the
                                      mean that the note
                                                    note was included
                                                         was included

17
17     in the
       in the website entry or
              website entry or that
                               that the
                                    the entry
                                        entry was included in
                                              was included in the
                                                              the

18
18     website?
       website?

19
19                 THE WITNESS:
                   THE WITNESS:    The
                                   The note,
                                       note, Your
                                             Your Honor,
                                                  Honor, was published on
                                                         was published on

20
20     the entry.
       the entry.

21
21                 THE
                   THE COURT:
                       COURT:    Prior to
                                 Prior to the
                                          the hearing?
                                              hearing?

22
22                 THE WITNESS:
                   THE WITNESS:    Prior to
                                   Prior to the
                                            the hearing,
                                                hearing, yes.
                                                         yes.

23
23     BY MR.
       BY MR. REIL:
              REIL:

24
24           Q
             Q     All right.
                   All right.    All right,
                                 All right, now let's talk
                                            now let's talk about
                                                           about the
                                                                 the

25
25     hearing on November
       hearing on          28th.
                  November 28th.        The
                                        The hearing
                                            hearing was
                                                    was supposed to take
                                                        supposed to take



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1
1      place over a
       place over a time
                    time span
                         span of
                              of 20
                                 20 minutes,
                                    minutes, correct?
                                             correct?

2
2            A
             A     Yes, that's our
                   Yes, that's our usual procedure for
                                   usual procedure for --
                                                       --

3
3            Q
             Q     Right, right.
                   Right, right.

 4
 4           A
             A     -- those
                   -- those types
                            types of
                                  of hearings.
                                     hearings.

5
5            Q
             Q     Did the ECFMG
                   Did the ECFMG Board
                                 Board of
                                       of Physicians
                                          Physicians present any
                                                     present any

6
6      witnesses at the
       witnesses at the hearing?
                        hearing?

 7
 7           A
             A     No, that --
                   No, that -- we
                               we don't normally present
                                  don't normally present witnesses at
                                                         witnesses at

8
8      our hearings.
       our hearings.

 9
 9           Q
             Q     I see,
                   I see, did the ECFMG
                          did the ECFMG board
                                        board present
                                              present any documents at
                                                      any documents at

10
10     the hearing?
       the hearing?

11
11           A
             A     No, the documents
                   No, the           are always
                           documents are always produced
                                                produced before the
                                                         before the

12
12     hearing.
       hearing.

13
13           Q
             Q     Okay, what
                   Okay, what documents
                              documents were
                                        were produced
                                             produced at the hearing?
                                                      at the hearing?

14
14           A
             A     So
                   So we -- so
                      we --    ECFMG staff,
                            so ECFMG staff, whenever
                                            whenever we
                                                     we have
                                                        have allegations
                                                             allegations

15
15     irregular behavior
       irregular behavior and
                          and individuals
                              individuals who
                                          who are
                                              are coming to make
                                                  coming to make a
                                                                 a

16
16     personal appearance as
       personal appearance as Dr.
                              Dr. Tulp
                                  Tulp did, as a
                                       did, as a courtesy
                                                 courtesy to
                                                          to them,
                                                             them, we
                                                                   we

17
17     always
       always provide a copy
              provide a copy of
                             of the
                                the materials that we
                                    materials that we have
                                                      have previously
                                                           previously

18
18     sent to them
       sent to them at
                    at the
                       the meeting,
                           meeting, so that if
                                    so that if they
                                               they are
                                                    are questioned
                                                        questioned

19
19     about a document,
       about a           they can
               document, they can reference it there
                                  reference it there if
                                                     if they
                                                        they haven't
                                                             haven't

20
20     brought it
       brought it themselves.
                  themselves.

21
21           Q
             Q     At this
                   At this particular point hearing
                           particular point hearing on
                                                    on November
                                                       November 28th,
                                                                28th,

22
22     isn't it
       isn't it a
                a fact,
                  fact, Ms.
                        Ms. Corrado, that no
                            Corrado, that no documents
                                             documents were entered
                                                       were entered

23
23     into evidence
       into evidence at
                     at the
                        the hearing
                            hearing by ECFMG?
                                    by ECFMG?

24
24                 MS. MCENROE:
                   MS. MCENROE:     Objection,
                                    Objection, Your
                                               Your Honor.
                                                    Honor.       To the extent
                                                                 To the extent

25
25     it calls
       it       for a
          calls for a legal
                      legal conclusion,
                            conclusion, the
                                        the concept of evidence
                                            concept of evidence sounds
                                                                sounds




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                                                                          23

1
1      poor and legalish
       poor and legalish when this was
                         when this was more of an
                                       more of an administrative
                                                  administrative

2
2      proceeding by a
       proceeding by a private
                       private not-for-profit entity.
                               not-for-profit entity.

3
3                  MR. REIL:
                   MR. REIL:    If I
                                If I may,
                                     may, Your
                                          Your Honor, this person's
                                               Honor, this          an
                                                           person's an

 4
 4     attorney.
       attorney.    They've been involved
                    They've been involved in
                                          in the
                                             the situation.
                                                 situation.           I'm
                                                                      I'm simply
                                                                          simply

5
5      asking, and she
       asking, and she was at the
                       was at the hearing,
                                  hearing, did
                                           did she observe or
                                               she observe or did she
                                                              did she

6
6      acknowledge of any
       acknowledge of any documents
                          documents being entered into
                                    being entered into evidence
                                                       evidence at the
                                                                at the

 7
 7     hearing.
       hearing.

8
8                  THE
                   THE COURT:
                       COURT:    Is there
                                 Is there any
                                          any process
                                              process whereby
                                                      whereby documents
                                                              documents

 9
 9     get introduced into
       get introduced into evidence
                           evidence at
                                    at such
                                       such a
                                            a hearing?
                                              hearing?

10
10                 THE WITNESS:
                   THE WITNESS:     No,
                                    No, we
                                        we don't
                                           don't have
                                                 have a
                                                      a process like that.
                                                        process like that.

11
11                 THE
                   THE COURT:
                       COURT:    So in
                                 So in this
                                       this case, there was
                                            case, there was no evidence
                                                            no evidence

12
12     that was
       that     introduced into
            was introduced into --
                                --

13
13                 THE WITNESS:
                   THE WITNESS:     No.
                                    No.

14
14                 THE
                   THE COURT:
                       COURT:    -- there
                                 -- there were
                                          were no
                                               no documents that were
                                                  documents that were

15
15     introduced into
       introduced into evidence,
                       evidence, because there was
                                 because there was no
                                                   no process to do
                                                      process to do

16
16     that?
       that?

17
17                 THE WITNESS:
                   THE WITNESS:     Correct.
                                    Correct.

18
18                 THE
                   THE COURT:
                       COURT:    Okay, go
                                 Okay, go ahead.
                                          ahead.

19
19     BY MR.
       BY MR. REIL:
              REIL:

20
20           Q
             Q     Testimony, Ms. Corrado,
                   Testimony, Ms. Corrado, you
                                           you were at the
                                               were at the hearing.
                                                           hearing.               Was
                                                                                  Was

21
21     there any
       there any testimony
                 testimony entered
                           entered --
                                   -- was there any
                                      was there any testimony
                                                    testimony

22
22     presented at the
       presented at the hearing?
                        hearing?

23
23           A
             A     No, because my
                   No, because my recollection
                                  recollection was that counsel
                                               was that counsel would
                                                                would

24
24     not let Dr.
       not let Dr. Tulp
                   Tulp give any testimony.
                        give any testimony.

25
25           Q
             Q     All right.
                   All right.




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                                   SAppx0426
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1
1                  THE
                   THE COURT:
                       COURT:    As in
                                 As in his counsel?
                                       his counsel?

2
2                  THE WITNESS:
                   THE WITNESS:     As in
                                    As in his
                                          his counsel.
                                              counsel.

3
3                  THE
                   THE COURT:
                       COURT:    As in
                                 As in his
                                       his counsel.
                                           counsel.

 4
 4     BY MR.
       BY MR. REIL:
              REIL:

5
5            Q
             Q     Now in any
                   Now in any of
                              of the
                                 the materials
                                     materials that
                                               that were
                                                    were sent to us
                                                         sent to    from
                                                                 us from

6
6      ECFMG, did
       ECFMG,     any of
              did any of them
                         them address
                              address Dr.
                                      Dr. Tulp
                                          Tulp was being "tried"
                                               was being "tried" for
                                                                 for

 7
 7     irregular behavior,
       irregular behavior, did
                           did any -- do
                               any --    any materials
                                      do any materials from
                                                       from ECFMG
                                                            ECFMG

8
8      indicate which
       indicate which side
                      side Dr.
                           Dr. Tulp or the
                               Tulp or the board
                                           board has the burden
                                                 has the burden of
                                                                of

 9
 9     proof?
       proof?

10
10           A
             A     So our irregular
                   So our irregular behave
                                    behave --
                                           -- we
                                              we have
                                                 have a
                                                      a set of irregular
                                                        set of irregular

11
11     behavior procedures
       behavior            that were
                procedures that were sent
                                     sent with the letter
                                          with the letter that
                                                          that details
                                                               details

12
12     the allegation.
       the allegation.

13
13           We provided
             We          -- we
                provided --    list in
                            we list in the
                                       the letter
                                           letter all of the
                                                  all of the

14
14     information that
       information that we
                        we have to support
                           have to         the allegation,
                                   support the             evidence,
                                               allegation, evidence,

15
15     if you
       if you will and we
              will and    provide that
                       we provide that to
                                       to the
                                          the individual.
                                              individual.             And then
                                                                      And then

16
16     the individual
       the individual has to provide
                      has to provide an explanation and
                                     an explanation and can
                                                        can come to
                                                            come to

17
17     the hearing
       the         to provide
           hearing to provide an explanation if
                              an explanation if they
                                                they wish.
                                                     wish.

18
18           Q
             Q     ECFMG brought
                   ECFMG brought charges
                                 charges of irregular behavior
                                         of irregular          against
                                                      behavior against

19
19     Dr.
       Dr. Tulp.
           Tulp.    Did they ever
                    Did they ever send
                                  send out
                                       out any
                                           any sort of a
                                               sort of a letter,
                                                         letter, notice,
                                                                 notice,

20
20     document to Dr.
       document to Dr. Tulp or his
                       Tulp or his attorneys indicating who
                                   attorneys indicating who had the
                                                            had the

21
21     burden of
       burden of proof
                 proof at
                       at the
                          the hearing?
                              hearing?

22
22           A
             A     We sent
                   We      a letter
                      sent a letter that
                                    that outlined
                                         outlined the
                                                  the allegation
                                                      allegation and
                                                                 and

23
23     asked for Dr.
       asked for Dr. Tulp's
                     Tulp's response to that
                            response to that allegation.
                                             allegation.             We
                                                                     We did not
                                                                        did not

24
24     use the phrase
       use the        "you have
               phrase "you      the burden
                           have the burden of
                                           of proof", but we
                                              proof", but    outlined
                                                          we outlined

25
25     what the allegation
       what the allegation is
                           is and
                              and asked for a
                                  asked for a response.
                                              response.




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1
1           Q
            Q      Okay.
                   Okay.

2
2           A
            A      And then
                   And then presented
                            presented him
                                      him with
                                          with an
                                               an opportunity to appear
                                                  opportunity to appear

3
3      personally at the
       personally at the hearing to respond
                         hearing to         to the
                                    respond to the allegations
                                                   allegations of
                                                               of

 4
 4     irregular behavior
       irregular behavior and
                          and to
                              to answer
                                 answer any
                                        any questions that our
                                            questions that our board
                                                               board

5
5      of trustees
       of trustees may
                   may have
                       have had.
                            had.

6
6           Q
            Q      But nowhere
                   But         in its
                       nowhere in its description
                                      description of the hearing
                                                  of the hearing did
                                                                 did

 7
 7     ECFMG ever
       ECFMG ever indicate
                  indicate that
                           that the
                                the burden
                                    burden of
                                           of proof
                                              proof was on ECFMG
                                                    was on ECFMG or
                                                                 or on
                                                                    on

8
8      Dr.
       Dr. Tulp?
           Tulp?    Do I have
                    Do I      that right?
                         have that right?

 9
 9          A
            A      Yes.
                   Yes.

10
10          Q
            Q      All right,
                   All right, now ECFMG sent
                              now ECFMG sent us
                                             us a -- sent
                                                a -- sent us the --
                                                          us the -- Dr.
                                                                    Dr.

11
11     Tulp and his
       Tulp and     attorneys, they
                his attorneys, they sent
                                    sent us
                                         us a transcript of
                                            a transcript of the
                                                            the

12
12     November 28th hearing.
       November 28th hearing.      Were you
                                   Were you aware of that?
                                            aware of that?

13
13          A
            A      Yes.
                   Yes.

14
14          Q
            Q      Okay, does
                   Okay,      it indicate
                         does it indicate anywhere in those
                                          anywhere in those 32
                                                            32 pages
                                                               pages

15
15     that any
       that any evidence
                evidence was introduced by
                         was introduced    ECFMG at
                                        by ECFMG at the
                                                    the November
                                                        November 28th
                                                                 28th

16
16     hearing?
       hearing?

17
17                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, if I
                                        Honor, if I may
                                                    may object?
                                                        object?       There is
                                                                      There is

18
18     a transcript
       a transcript of
                    of the
                       the proceeding
                           proceeding that
                                      that I
                                           I would
                                             would request be entered
                                                   request be entered

19
19     into evidence
       into evidence to
                     to serve
                        serve as the record
                              as the        of what
                                     record of      actually happened
                                               what actually happened

20
20     in that
       in that proceeding as the
               proceeding as the best evidence.
                                 best evidence.

21
21                 THE
                   THE COURT:
                       COURT:   Oh, you
                                Oh,     can do
                                    you can    that in
                                            do that in --
                                                       -- when
                                                          when you take
                                                               you take

22
22     over the
       over the witness if you
                witness if     like.
                           you like.

23
23                 MS. MCENROE:
                   MS. MCENROE:    Sure.
                                   Sure.

24
24                 THE
                   THE COURT:
                       COURT:    You
                                 You can continue to
                                     can continue to ask
                                                     ask your
                                                         your questions.
                                                              questions.

25
25                 MR. REIL:
                   MR. REIL:    Okay.
                                Okay.   I happen
                                        I        to have
                                          happen to have a copy of
                                                         a copy of the
                                                                   the



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1
1      transcript here,
       transcript here, which
                        which I'd like to
                              I'd like to mark
                                          mark as Exhibit H,
                                               as Exhibit H, with the
                                                             with the

2
2      Court's
       Court's permission and show
               permission and      it to
                              show it to the
                                         the witness?
                                             witness?

3
3                  THE
                   THE COURT:
                       COURT:    Go ahead.
                                 Go ahead.

 4
 4     BY MR.
       BY MR. REIL:
              REIL:

5
5           Q
            Q      Ms. Corrado
                   Ms.         --
                       Corrado --

6
6                  MR. REIL:
                   MR. REIL:    Oh, may
                                Oh, may the
                                        the record
                                            record reflect that I've
                                                   reflect that I've

 7
 7     handed the witness
       handed the         the exhibit,
                  witness the exhibit, that
                                       that I've
                                            I've handed -- I
                                                 handed -- I think
                                                             think it
                                                                   it

8
8      goes the other
       goes the other way around, I've
                      way around, I've handed the exhibit
                                       handed the exhibit to
                                                          to the
                                                             the

 9
 9     witness, okay.
       witness, okay.

10
10     BY MR.
       BY MR. REIL:
              REIL:

11
11          Q
            Q      All right,
                   All right, you
                              you have the transcript
                                  have the transcript of the hearing
                                                      of the hearing

12
12     there, 32
       there, 32 pages.
                 pages.     Can
                            Can you
                                you point to somewhere
                                    point to           in the
                                             somewhere in the transcript
                                                              transcript

13
13     where ECFMG is
       where ECFMG is offering
                      offering any evidence against
                               any evidence against Dr.
                                                    Dr. Tulp?
                                                        Tulp?

14
14                 THE
                   THE COURT:
                       COURT:   I need
                                I need you to ask
                                       you to ask a
                                                  a more focused
                                                    more focused

15
15     question.
       question.    You
                    You can't ask her
                        can't ask     to look
                                  her to look through
                                              through 32
                                                      32 pages of
                                                         pages of

16
16     transcript at
       transcript at this
                     this point.
                          point.

17
17                 MR. REIL:
                   MR. REIL:    Okay, all
                                Okay, all right.
                                          right.

18
18     BY MR.
       BY MR. REIL:
              REIL:

19
19          Q
            Q      You
                   You were at the
                       were at the hearing,
                                   hearing, correct?
                                            correct?

20
20          A
            A      Yes.
                   Yes.

21
21          Q
            Q      Okay, do
                   Okay, do you
                            you have any recollection
                                have any recollection of ECFMG through
                                                      of ECFMG through

22
22     its --
       its -- ECFMG
              ECFMG entering
                    entering any
                             any evidence
                                 evidence into
                                          into the
                                               the record at the
                                                   record at the

23
23     November 28th hearing?
       November 28th hearing?

24
24          A
            A      No, because we
                   No, because we don't -- that's
                                  don't -- that's not part of
                                                  not part of our
                                                              our

25
25     process.
       process.    We provide
                   We provide the
                              the evidence
                                  evidence in
                                           in advance to both
                                              advance to both the
                                                              the board
                                                                  board



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1
1      and the individual.
       and the individual.

2
2           Q
            Q     All right,
                  All        and the
                      right, and the hearing
                                     hearing was terminated by
                                             was terminated by Ms.
                                                               Ms.

3
3      McEnroe, correct?
       McEnroe, correct?

 4
 4          A
            A     That's
                  That's correct.
                         correct.

5
5           Q
            Q     And is
                  And is it
                         it fair
                            fair to
                                 to say,
                                    say, based on a
                                         based on a administrative
                                                    administrative

6
6      record that contains
       record that          no evidence,
                   contains no evidence, that
                                         that Dr.
                                              Dr. Tulp
                                                  Tulp was found
                                                       was found

 7
 7     guilty of irregular
       guilty of irregular behavior?
                           behavior?

8
8           A
            A     I --
                  I -- there
                       there was evidence presented
                             was evidence presented at the meeting.
                                                    at the meeting.            So
                                                                               So

 9
 9     I can't
       I       agree to
         can't agree to that
                        that statement,
                             statement, because
                                        because we did have
                                                we did      evidence
                                                       have evidence

10
10     presented to the
       presented to the parties
                        parties before the meeting.
                                before the meeting.

11
11          Q
            Q     At --
                  At -- I'm
                        I'm talking
                            talking about
                                    about evidence
                                          evidence in
                                                   in the
                                                      the record at the
                                                          record at the

12
12     hearing?
       hearing?   Was --
                  Was --

13
13          A
            A     We --
                  We --

14
14          Q
            Q     -- we
                  --    established there
                     we established there wasn't.
                                          wasn't.

15
15          A
            A     We don't
                  We don't have a process
                           have a process to
                                          to enter
                                             enter evidence
                                                   evidence on
                                                            on a
                                                               a record
                                                                 record

16
16     at our
       at our administration
              administration meetings.
                             meetings.

17
17          Q
            Q     But there's
                  But there's a
                              a transcript?
                                transcript?

18
18          A
            A     There's a transcript
                  There's a transcript when
                                       when an individual makes
                                            an individual makes a
                                                                a

19
19     personal appearance, we
       personal appearance, we have
                               have a
                                    a court
                                      court reporter and we
                                            reporter and we will --
                                                            will --

20
20          Q
            Q     All right.
                  All right.

21
21          A
            A     -- transcribe
                  -- transcribe the
                                the appearance,
                                    appearance, yes.
                                                yes.

22
22          Q
            Q     All right.
                  All right.    Was Dr.
                                Was Dr. Tulp found guilty,
                                        Tulp found         and I'll
                                                   guilty, and I'll use
                                                                    use

23
23     the word
       the word guilty because it's
                guilty because it's not a criminal
                                    not a criminal case in quotes,
                                                   case in quotes, was
                                                                   was

24
24     Dr.
       Dr. Tulp found guilty
           Tulp found        of irregular
                      guilty of irregular behavior
                                          behavior on
                                                   on November
                                                      November 28th
                                                               28th

25
25     based on
       based on any
                any evidence
                    evidence in
                             in the
                                the record?
                                    record?        And I'm
                                                   And I'm talking
                                                           talking about the
                                                                   about the




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1
1      transcript.
       transcript.

2
2                  THE
                   THE COURT:
                       COURT:    Let me clarify
                                 Let me clarify that,
                                                that, because I don't
                                                      because I don't

3
3      think it's
       think it's good to use
                  good to     the term
                          use the term guilty.
                                       guilty.         What is
                                                       What is the
                                                               the term
                                                                   term used
                                                                        used

 4
 4     by --
       by --

5
5                  MR. REIL:
                   MR. REIL:    Culpable, Your Honor.
                                Culpable, Your Honor.

6
6                  THE
                   THE COURT:
                       COURT:    -- ECFMG
                                 -- ECFMG in
                                          in these
                                             these contexts?
                                                   contexts?

 7
 7                 THE WITNESS:
                   THE WITNESS:    We
                                   We determined that he
                                      determined that    engaged in
                                                      he engaged in

8
8      irregular behavior.
       irregular behavior.

 9
 9                 THE
                   THE COURT:
                       COURT:    Okay.
                                 Okay.

10
10                 THE WITNESS:
                   THE WITNESS:    So
                                   So we
                                      we made
                                         made a
                                              a determination of irregular
                                                determination of irregular

11
11     behavior.
       behavior.

12
12     BY MR.
       BY MR. REIL:
              REIL:

13
13           Q
             Q     My question
                   My          is, is
                      question is, is there
                                      there anything in the
                                            anything in the --
                                                            -- from
                                                               from the
                                                                    the

14
14     hearing or in
       hearing or in the
                     the transcript
                         transcript that
                                    that you
                                         you recall that supports
                                             recall that supports

15
15     that, any
       that, any evidence
                 evidence in
                          in the
                             the record in the
                                 record in the transcript?
                                               transcript?

16
16           A
             A     We don't
                   We       --
                      don't --

17
17           Q
             Q     I'm sorry.
                   I'm sorry.

18
18           A
             A     In the
                   In the transcript,
                          transcript, no,
                                      no, but the transcript
                                          but the transcript is
                                                             is not the
                                                                not the

19
19     evidence --
       evidence -- it's
                   it's not
                        not all
                            all of the evidence
                                of the evidence that
                                                that we
                                                     we present.
                                                        present.                When
                                                                                When

20
20     someone makes a
       someone makes a --
                       -- an
                          an appearance
                             appearance at the meeting,
                                        at the meeting, we take the
                                                        we take the

21
21     information that
       information that we
                        we have
                           have already
                                already collected.
                                        collected.

22
22           And if
             And if they
                    they make
                         make a
                              a personal
                                personal appearance, the committee
                                         appearance, the committee can
                                                                   can

23
23     consider the personal
       consider the personal appearance
                             appearance that
                                        that they
                                             they make
                                                  make and
                                                       and any
                                                           any

24
24     statements that they
       statements that they make
                            make together
                                 together to
                                          to make a determination
                                             make a determination

25
25     about irregular behavior.
       about irregular behavior.



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1
1           So the determination
            So the determination was
                                 was made
                                     made on the basis
                                          on the       of the
                                                 basis of the

2
2      appearance and the
       appearance and the evidence
                          evidence that
                                   that we
                                        we provided to the
                                           provided to the individual
                                                           individual

3
3      and to the
       and to the board
                  board members
                        members to
                                to review.
                                   review.

 4
 4          Q
            Q     Did
                  Did Dr.
                      Dr. Tulp say anything
                          Tulp say anything at the hearing?
                                            at the hearing?

5
5           A
            A     I don't
                  I don't recall
                          recall him saying anything
                                 him saying anything at the hearing.
                                                     at the hearing.

6
6           Q
            Q     We've used
                  We've      the phrase
                        used the phrase "irregular
                                        "irregular behavior"
                                                   behavior" several
                                                             several

 7
 7     times here.
       times here.    Can
                      Can you explain to
                          you explain to the
                                         the Court
                                             Court what irregular
                                                   what irregular

8
8      behavior is?
       behavior is?

 9
 9          A
            A     Yes, ECFMG generally
                  Yes, ECFMG           defines irregular
                             generally defines irregular behavior as
                                                         behavior as

10
10     any action
       any action or
                  or attempted
                     attempted action
                               action by
                                      by an individual or
                                         an individual or on
                                                          on behalf
                                                             behalf of
                                                                    of

11
11     an individual that
       an individual that could
                          could or
                                or would
                                   would subvert the processes
                                         subvert the           of
                                                     processes of

12
12     ECFMG.
       ECFMG.

13
13          So an example
            So an example of
                          of an
                             an irregular
                                irregular behavior is providing
                                          behavior is           false
                                                      providing false

14
14     information to
       information to ECFMG
                      ECFMG or
                            or providing false documents
                               providing false           to ECFMG.
                                               documents to ECFMG.

15
15                MR. REIL:
                  MR. REIL:    So if
                               So if I
                                     I may
                                       may have
                                           have a
                                                a moment,
                                                  moment, Your Honor.
                                                          Your Honor.

16
16     BY MR.
       BY MR. REIL:
              REIL:

17
17          Q
            Q     If you
                  If you would look at
                         would look at page
                                       page 12, Exhibit 5.
                                            12, Exhibit 5.         Do
                                                                   Do you
                                                                      you have
                                                                          have

18
18     that?
       that?

19
19          A
            A     Yes,
                  Yes, yes,
                       yes, sir.
                            sir.

20
20          Q
            Q     That's a letter
                  That's a letter of
                                  of November
                                     November 21st from you,
                                              21st from      Ms.
                                                        you, Ms.

21
21     Corrado --
       Corrado --

22
22          A
            A     Yes.
                  Yes.

23
23          Q
            Q     -- to
                  -- to my
                        my co-counsel Mr. Swate?
                           co-counsel Mr. Swate?

24
24          A
            A     Yes,
                  Yes, sir.
                       sir.

25
25          Q
            Q     Okay.
                  Okay.   And down
                          And      I think
                              down I think in
                                           in the
                                              the last
                                                  last paragraph, it
                                                       paragraph, it




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                                                                          30
                                                                          30

1
1      says in support
       says in         of its
               support of its mission.
                              mission.        I'd like
                                              I'd like to
                                                       to read that and
                                                          read that and ask
                                                                        ask

2
2      you a follow
       you a follow up
                    up question.
                       question.

3
3           A
            A     Okay.
                  Okay.

 4
 4          Q
            Q     All right.
                  All right.    "In support
                                "In support of its mission
                                            of its         to protect
                                                   mission to         the
                                                              protect the

5
5      public, individuals that
       public, individuals that have
                                have or
                                     or have
                                        have attempted to subvert
                                             attempted to subvert

6
6      ECFMG's policies
       ECFMG's          and procedures
               policies and procedures are
                                       are subject to ECFMG's
                                           subject to ECFMG's policies
                                                              policies

 7
 7     and
       and procedures on irregular
           procedures on irregular behavior."
                                   behavior."        Are you
                                                     Are you defining
                                                             defining

8
8      irregular behavior
       irregular behavior there?
                          there?

 9
 9          A
            A     In that
                  In that particular sentence?
                          particular sentence?

10
10          Q
            Q     Yes,
                  Yes, generally.
                       generally.

11
11          A
            A     I mean,
                  I mean, we're saying individuals
                          we're saying individuals who
                                                   who have attempted
                                                       have attempted

12
12     to subvert
       to         our policies
          subvert our policies and
                               and procedures
                                   procedures are
                                              are subject to the
                                                  subject to the

13
13     irregular behavior
       irregular behavior policies
                          policies and
                                   and procedures.
                                       procedures.

14
14          Q
            Q     Okay.
                  Okay.

15
15          A
            A     And then
                  And then we follow that
                           we follow that with
                                          with a link to
                                               a link to the
                                                         the irregular
                                                             irregular

16
16     behavior policies
       behavior          and procedures,
                policies and procedures, which
                                         which has the definition
                                               has the            of
                                                       definition of

17
17     irregular behavior
       irregular behavior contained
                          contained within it.
                                    within it.

18
18          Q
            Q     Well, is
                  Well, is there
                           there something
                                 something more to the
                                           more to the definition of
                                                       definition of

19
19     irregular behavior
       irregular behavior than
                          than what
                               what I've just read?
                                    I've just read?

20
20          A
            A     There is a
                  There is a definition of irregular
                             definition of irregular behavior included
                                                     behavior included

21
21     in the
       in the irregular
              irregular behavior
                        behavior policies and procedures,
                                 policies and procedures, which is
                                                          which is

22
22     mentioned in
       mentioned in the
                    the next
                        next sentence
                             sentence in
                                      in the
                                         the link.
                                             link.

23
23          Q
            Q     Okay.
                  Okay.

24
24          A
            A     That
                  That had all the
                       had all the --
                                   -- had already been
                                      had already been provided
                                                       provided to
                                                                to

25
25     counsel
       counsel prior this November
               prior this November 21st letter.
                                   21st letter.




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1
1           Q
            Q     Other than
                  Other than --
                             -- what
                                what does the link,
                                     does the link, if
                                                    if you
                                                       you know --
                                                           know --

2
2           A
            A     Uh-huh.
                  Uh-huh.

3
3           Q
            Q     -- what
                  -- what does it add
                          does it add to
                                      to what's in that
                                         what's in that sentence,
                                                        sentence, what
                                                                  what

 4
 4     I just
       I just read
              read you?
                   you?

5
5           A
            A     I don't
                  I don't know it from
                          know it from the
                                       the top
                                           top of
                                               of my
                                                  my head,
                                                     head, but it
                                                           but it

6
6      provides all of
       provides all of the
                       the definition
                           definition of irregular behavior
                                      of irregular behavior and
                                                            and all
                                                                all of
                                                                    of

 7
 7     our policies
       our          and procedures
           policies and procedures about irregular behavior,
                                   about irregular behavior, what
                                                             what we
                                                                  we

8
8      do
       do when
          when we allege irregular
               we allege irregular behavior,
                                   behavior, what the process
                                             what the         is, et
                                                      process is, et

 9
 9     cetera.
       cetera.

10
10          Q
            Q     Uh-huh.
                  Uh-huh.    Now
                             Now how is an
                                 how is an individual
                                           individual supposed to know
                                                      supposed to know

11
11     whether or not
       whether or     they've attempted
                  not they've           to subvert
                              attempted to         ECFMG's policies
                                           subvert ECFMG's policies

12
12     and
       and procedures?
           procedures?    How is
                          How is a
                                 a person
                                   person supposed to know
                                          supposed to      that?
                                                      know that?

13
13                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Calls for
                                                               Calls for

14
14     speculation or a
       speculation or a hypothetical.
                        hypothetical.

15
15                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

16
16     BY MR.
       BY MR. REIL:
              REIL:

17
17          Q
            Q     Is that
                  Is that the
                          the definition
                              definition of irregular procedure
                                         of irregular           I just
                                                      procedure I just

18
18     read,
       read, give fair notice
             give fair        to an
                       notice to    individual of
                                 an individual of what they're being
                                                  what they're being

19
19     accused of?
       accused of?

20
20                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Misstates
                                                               Misstates

21
21     testimony.
       testimony.    I believe
                     I believe the
                               the witness just said
                                   witness just      that he
                                                said that he had
                                                             had not
                                                                 not

22
22     provided the whole
       provided the       definition of
                    whole definition    irregular behavior
                                     of irregular behavior and
                                                           and she
                                                               she

23
23     could
       could not
             not recite it off
                 recite it off the
                               the top
                                   top of
                                       of her
                                          her head.
                                              head.

24
24                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

25
25     BY MR.
       BY MR. REIL:
              REIL:



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1
1            Q
             Q    All right.
                  All right.     And you
                                 And     can't tell
                                     you can't tell us -- is
                                                    us -- is there
                                                             there any
                                                                   any

2
2      place
       place where
             where you
                   you can tell us
                       can tell    if that
                                us if that --
                                           -- let's
                                              let's strike that.
                                                    strike that.

3
3            Is that
             Is that is
                     is that
                        that definition
                             definition of irregular behavior
                                        of irregular          in your
                                                     behavior in your

 4
 4     letter to
       letter to Dr. Swate, is
                 Dr. Swate, is that
                               that inaccurate?
                                    inaccurate?

5
5            A
             A    Is my
                  Is my statement in the
                        statement in the letter
                                         letter inaccurate?
                                                inaccurate?

6
6            Q
             Q    Yeah,
                  Yeah, what I just
                        what I just read in support
                                    read in support of its mission?
                                                    of its mission?

 7
 7           A
             A    No,
                  No, no.
                      no.

8
8            Q
             Q    Is that
                  Is that inaccurate?
                          inaccurate?

 9
 9           A
             A    No.
                  No.

10
10           Q
             Q    Okay.
                  Okay.    Okay, now
                           Okay,     the --
                                 now the -- we
                                            we went
                                               went over I think
                                                    over I think it's
                                                                 it's

11
11     Exhibit B,
       Exhibit B, the
                  the placement
                      placement in
                                in the
                                   the World
                                       World Directory
                                             Directory of Medical
                                                       of Medical

12
12     Schools I'll call
       Schools I'll      it.
                    call it.

13
13           A
             A    Uh-huh.
                  Uh-huh.

14
14           Q
             Q    Was there
                  Was there any
                            any indication
                                indication as to whether
                                           as to         or not
                                                 whether or not Dr.
                                                                Dr.

15
15     Tulp
       Tulp would be allowed
            would be allowed to
                             to bring that up
                                bring that    at his
                                           up at his hearing?
                                                     hearing?

16
16           A
             A    I don't
                  I don't know
                          know what
                               what Dr.
                                    Dr. Tulp
                                        Tulp would
                                             would have
                                                   have brought
                                                        brought up at
                                                                up at

17
17     the hearing
       the         if he
           hearing if he was --
                         was --

18
18           Q
             Q    Well, let's
                  Well, let's put
                              put it
                                  it this
                                     this way.
                                          way.

19
19                THE
                  THE COURT:
                      COURT:     Let the witness
                                 Let the         finish.
                                         witness finish.

20
20     BY MR.
       BY MR. REIL:
              REIL:

21
21           Q
             Q    Yes.
                  Yes.

22
22           A
             A    If he
                  If    testified, I
                     he testified, I don't
                                     don't know
                                           know what
                                                what he
                                                     he would
                                                        would have
                                                              have

23
23     brought up.
       brought up.

24
24           Q
             Q    Okay, did
                  Okay, did you ever indicate
                            you ever indicate that
                                              that the
                                                   the placement
                                                       placement

25
25     involving the
       involving the World
                     World Directory of Medical
                           Directory of Medical Schools
                                                Schools was
                                                        was not
                                                            not a
                                                                a




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1
1      subject for the
       subject for the hearing?
                       hearing?

2
2           A
            A     What I
                  What I indicated
                         indicated was that the
                                   was that the note that we
                                                note that we placed in
                                                             placed in

3
3      the World
       the World Directory
                 Directory was
                           was not
                               not related to the
                                   related to the allegation of
                                                  allegation of

 4
 4     irregular behavior.
       irregular behavior.

5
5           That is, it
            That is, it was
                        was related to our
                            related to our request for information
                                           request for information

6
6      from USAT.
       from USAT.    USAT
                     USAT did not provide
                          did not         that information
                                  provide that information and
                                                           and we placed
                                                               we placed

 7
 7     that note
       that      into the
            note into the World
                          World Directory at that
                                Directory at that time.
                                                  time.          It was
                                                                 It was not
                                                                        not

8
8      related to the
       related to the allegations
                      allegations of irregular behavior.
                                  of irregular behavior.

 9
 9          Q
            Q     I see.
                  I see.

10
10          A
            A     So
                  So we
                     we did in the
                        did in the letter
                                   letter tell,
                                          tell, I
                                                I think,
                                                  think, Mr.
                                                         Mr. Swate.
                                                             Swate.

11
11          Q
            Q     Well, let's
                  Well, let's look
                              look at
                                   at that
                                      that letter
                                           letter that
                                                  that you
                                                       you wrote to Mr.
                                                           wrote to Mr.

12
12     Swate.
       Swate.   Would you
                Would you go to page
                          go to page 23
                                     23 of
                                        of my exhibit pack.
                                           my exhibit pack.

13
13          A
            A     Uh-huh.
                  Uh-huh.

14
14          Q
            Q     And I
                  And I think
                        think that's
                              that's the
                                     the letter
                                         letter of 11/14/18 --
                                                of 11/14/18 --

15
15          A
            A     Uh-huh.
                  Uh-huh.

16
16          Q
            Q     -- to Dr.
                  -- to     --
                        Dr. --

17
17                MR. REIL:
                  MR. REIL:    Yeah, and a
                               Yeah, and a lawyer,
                                           lawyer, Your
                                                   Your Honor --
                                                        Honor --

18
18     BY MR.
       BY MR. REIL:
              REIL:

19
19          Q
            Q     -- to Dr.
                  -- to Dr. Tommy Swate?
                            Tommy Swate?      It's under
                                              It's       Exhibit G.
                                                   under Exhibit G.

20
20          A
            A     Uh-huh.
                  Uh-huh.

21
21          Q
            Q     Do
                  Do you
                     you have that?
                         have that?

22
22          A
            A     I do.
                  I do.

23
23          Q
            Q     Okay, by
                  Okay, by the
                           the way, at this
                               way, at this hearing,
                                            hearing, were any witnesses
                                                     were any witnesses

24
24     from the
       from the USAT besides Dr.
                USAT besides Dr. Tulp allowed to
                                 Tulp allowed to be
                                                 be present?
                                                    present?

25
25          A
            A     You mean on
                  You mean on behalf
                              behalf of
                                     of Dr.
                                        Dr. Tulp or?
                                            Tulp or?




                                  SAppx0436
                                  SAppx0436
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1
1            Q
             Q     Yes, on the
                   Yes, on the 28th.
                               28th.

2
2            A
             A     So
                   So no.
                      no.

3
3            Q
             Q     No, okay, all
                   No, okay, all right.
                                 right.        How
                                               How about
                                                   about students from the
                                                         students from the

 4
 4     USAT?
       USAT?     Were they
                 Were they allowed
                           allowed to
                                   to be
                                      be present
                                         present and testify?
                                                 and testify?

5
5            A
             A     No, but that's
                   No, but that's part
                                  part of
                                       of our
                                          our normal
                                              normal process
                                                     process when --
                                                             when --

6
6            Q
             Q     I see.
                   I see.

 7
 7           A
             A     -- we
                   -- we have an allegation
                         have an allegation of irregular behavior,
                                            of irregular behavior, we
                                                                   we

8
8      don't let --
       don't let -- we
                    we don't typically permit
                       don't typically permit anyone to bring
                                              anyone to bring

 9
 9     witnesses.
       witnesses.

10
10           Q
             Q     Okay, if
                   Okay, if you take a
                            you take a look
                                       look at
                                            at page
                                               page 23 --
                                                    23 --

11
11           A
             A     Uh-huh.
                   Uh-huh.

12
12           Q
             Q     -- in
                   -- in the
                         the letter
                             letter of
                                    of November 14th, 2018
                                       November 14th, 2018 to
                                                           to Mr.
                                                              Mr. Swate?
                                                                  Swate?

13
13           A
             A     Uh-huh.
                   Uh-huh.

14
14           Q
             Q     All right,
                   All right, down one, two,
                              down one, two, three,
                                             three, four
                                                    four paragraphs.
                                                         paragraphs.

15
15           A
             A     Uh-huh.
                   Uh-huh.

16
16           Q
             Q     Fourth
                   Fourth paragraph, the second
                          paragraph, the second sentence, all right.
                                                sentence, all right.

17
17     Let me read
       Let me      it to
              read it to you and I'll
                         you and I'll have a follow
                                      have a follow up
                                                    up question.
                                                       question.

18
18           A
             A     Okay.
                   Okay.

19
19           Q
             Q     It says,
                   It says, you
                            you write, "Nor is
                                write, "Nor is there
                                               there any
                                                     any right to a
                                                         right to a

20
20     hearing
       hearing with ECFMG for
               with ECFMG for USAT for any
                              USAT for any matter."
                                           matter."          It's the
                                                             It's the next
                                                                      next

21
21     sentence I'm interested
       sentence I'm interested in.
                               in.

22
22          "ECFMG will
            "ECFMG will not entertain any
                        not entertain any request to review
                                          request to        the
                                                     review the

23
23     actions that is
       actions that is taken
                       taken with
                             with respect to USAT's
                                  respect to USAT's sponsor
                                                    sponsor note at
                                                            note at

24
24     Dr.
       Dr. Tulp's irregular behavior
           Tulp's irregular behavior here."
                                     here."         And that's
                                                    And that's sponsor
                                                               sponsor note,
                                                                       note,

25
25     we're talking about
       we're talking about the
                           the Exhibit
                               Exhibit B
                                       B we've
                                         we've already
                                               already discussed,
                                                       discussed,




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1
1      right?
       right?

2
2           A
            A     That's
                  That's correct.
                         correct.

3
3           Q
            Q     Okay, now
                  Okay,     that decision
                        now that          to exclude
                                 decision to exclude that
                                                     that evidence
                                                          evidence from
                                                                   from

 4
 4     the hearing,
       the hearing, did
                    did Dr.
                        Dr. Tulp
                            Tulp have any input
                                 have any input in
                                                in that?
                                                   that?

5
5           A
            A     Well, I
                  Well, I sent it to
                          sent it to his
                                     his attorneys,
                                         attorneys, so.
                                                    so.

6
6           Q
            Q     Okay.
                  Okay.    Well, was
                           Well,     there a
                                 was there a procedure
                                             procedure whereby
                                                       whereby he
                                                               he could
                                                                  could

 7
 7     object to
       object to that?
                 that?

8
8           A
            A     There's
                  There's no
                          no such procedure.
                             such procedure.

 9
 9          Q
            Q     I see.
                  I see.

10
10                MR. REIL:
                  MR. REIL:    Could I have
                               Could I have one
                                            one moment,
                                                moment, Your
                                                        Your Honor?
                                                             Honor?

11
11                THE
                  THE COURT:
                      COURT:    Mike, can
                                Mike, can you
                                          you put that computer
                                              put that computer down on
                                                                down on

12
12     the thing,
       the thing, on
                  on the
                     the podium?
                         podium?       Put it
                                       Put it down, I can't
                                              down, I can't see.
                                                            see.

13
13                MR. REIL:
                  MR. REIL:    That's all the
                               That's all the questions I have
                                              questions I      of this
                                                          have of this

14
14     witness at this
       witness at this time,
                       time, Your
                             Your Honor.
                                  Honor.

15
15                THE
                  THE COURT:
                      COURT:    Cross?
                                Cross?

16
16                Not that one.
                  Not that one.     This
                                    This one.
                                         one.    This
                                                 This one
                                                      one here.
                                                          here.    Thank
                                                                   Thank you.
                                                                         you.

17
17     And maybe
       And maybe put
                 put the
                     the microphone
                         microphone down.
                                    down.

18
18                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I was
                                        Honor, I was actually going to
                                                     actually going to ask
                                                                       ask

19
19     if I
       if I could approach and
            could approach and approach the witness
                               approach the         from the
                                            witness from the lectern
                                                             lectern

20
20     if that's
       if that's okay
                 okay with
                      with you?
                           you?

21
21                THE
                  THE COURT:
                      COURT:    That's fine, that's
                                That's fine, that's fine.
                                                    fine.       I just
                                                                I just

22
22     couldn't
       couldn't see above the
                see above the computer
                              computer monitor.
                                       monitor.

23
23                MS. MCENROE:
                  MS. MCENROE:     Neither
                                   Neither can
                                           can I.
                                               I.    So thank you.
                                                     So thank you.

24
24          (Counsel
            (Counsel confer)
                     confer)

25
25                MS. MCENROE:
                  MS. MCENROE:     May I
                                   May I approach the lectern,
                                         approach the lectern, Your Honor?
                                                               Your Honor?




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1
1                 THE
                  THE COURT:
                      COURT:    You may.
                                You may.

2
2                                 CROSS-EXAMINATION
                                  CROSS-EXAMINATION

3
3      BY MS.
       BY MS. MCENROE:
              MCENROE:

 4
 4          Q
            Q     Good afternoon, Ms.
                  Good afternoon, Ms. Corrado.
                                      Corrado.

5
5           A
            A     Hi.
                  Hi.

6
6           Q
            Q     You
                  You understand I'm counsel
                      understand I'm counsel for
                                             for the
                                                 the Educational
                                                     Educational

 7
 7     Commission for Foreign
       Commission for Foreign Medical
                              Medical Graduates and Dr.
                                      Graduates and Dr. Pinsky today?
                                                        Pinsky today?

8
8           A
            A     Yes.
                  Yes.

 9
 9          Q
            Q     I'd like
                  I'd like to
                           to ask
                              ask you a couple
                                  you a couple questions
                                               questions about the
                                                         about the

10
10     areas of testimony
       areas of testimony you
                          you were just asked
                              were just asked about.
                                              about.

11
11          A
            A     Yes.
                  Yes.

12
12          Q
            Q     First, I'd like
                  First, I'd like to
                                  to give
                                     give you
                                          you a
                                              a chance to clarify,
                                                chance to          if
                                                          clarify, if

13
13     you'd like to,
       you'd like to, about
                      about whether
                            whether or
                                    or not
                                       not you
                                           you are
                                               are an attorney?
                                                   an attorney?

14
14          A
            A     I am
                  I am not an attorney.
                       not an attorney.       I have
                                              I have a law degree,
                                                     a law degree, so
                                                                   so I'm
                                                                      I'm

15
15     not a practicing
       not a            attorney.
             practicing attorney.

16
16          Q
            Q     Early on
                  Early on in
                           in the
                              the questioning from counsel
                                  questioning from         for Dr.
                                                   counsel for Dr.

17
17     Tulp,
       Tulp, you
             you were asked to
                 were asked to question
                               question about the relationship,
                                        about the               if
                                                  relationship, if

18
18     any, between ECFMG
       any, between ECFMG and
                          and Dr.
                              Dr. Tulp,
                                  Tulp, do
                                        do you
                                           you remember that
                                               remember that

19
19     testimony?
       testimony?

20
20          A
            A     Yes.
                  Yes.

21
21          Q
            Q     In particular,
                  In particular, you
                                 you were
                                     were asked if there
                                          asked if there was a contract
                                                         was a contract

22
22     or any
       or any other
              other kind of agreement.
                    kind of agreement.        Do
                                              Do you
                                                 you understand that
                                                     understand that

23
23     testimony?
       testimony?

24
24          A
            A     Yes.
                  Yes.

25
25          Q
            Q     How is it
                  How is it that
                            that ECFMG
                                 ECFMG has interfaced, if
                                       has interfaced, if at
                                                          at all,
                                                             all, with
                                                                  with




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1
1      Dr.
       Dr. Tulp?
           Tulp?

2
2           A
            A      Dr.
                   Dr. Tulp is one
                       Tulp is one of
                                   of the
                                      the --
                                          -- what
                                             what we
                                                  we refer to as
                                                     refer to as our
                                                                 our

3
3      authorized
       authorized signatory for USAT.
                  signatory for USAT.         So he
                                              So    -- I
                                                 he -- I believe,
                                                         believe, and
                                                                  and I'm
                                                                      I'm

 4
 4     sorry if I
       sorry if I get
                  get your title wrong,
                      your title        is the
                                 wrong, is the president
                                               president and the dean
                                                         and the dean

5
5      of USAT.
       of USAT.

6
6           As such,
            As such, he
                     he can
                        can certify
                            certify documents
                                    documents or
                                              or he
                                                 he was able to
                                                    was able to

 7
 7     certify
       certify documents and information
               documents and information to
                                         to ECFMG
                                            ECFMG on
                                                  on behalf
                                                     behalf of the
                                                            of the

8
8      medical school.
       medical school.

 9
 9          For international medical
            For international medical schools that we
                                      schools that    interact with,
                                                   we interact with,

10
10     we
       we will, once the
          will, once the school
                         school has established that
                                has established that it
                                                     it meets
                                                        meets the
                                                              the

11
11     requirements for its
       requirements for its students
                            students and
                                     and graduates to be
                                         graduates to be eligible
                                                         eligible for
                                                                  for

12
12     ECFMG certification,
       ECFMG certification, we typically communicate
                            we typically communicate with the school
                                                     with the school

13
13     officials, collect
       officials,         the information
                  collect the information that
                                          that we
                                               we need from them
                                                  need from them in
                                                                 in

14
14     order to
       order to be
                be able
                   able to
                        to process
                           process the
                                   the applications and the
                                       applications and the

15
15     certifications of their
       certifications of their students.
                               students.        So in
                                                So in that
                                                      that way,
                                                           way, we
                                                                we have
                                                                   have

16
16     communicated
       communicated with
                    with Dr.
                         Dr. Tulp
                             Tulp since I believe
                                  since I believe around
                                                  around 2003.
                                                         2003.

17
17          Q
            Q      So
                   So speaking
                      speaking nuts
                               nuts and
                                    and bolts in terms
                                        bolts in terms of
                                                       of Dr.
                                                          Dr. Tulp
                                                              Tulp doing
                                                                   doing

18
18     anything --
       anything --

19
19          A
            A      Uh-huh.
                   Uh-huh.

20
20          Q
            Q      -- that
                   -- that comes to ECFMG
                           comes to ECFMG --
                                          --

21
21          A
            A      Uh-huh.
                   Uh-huh.

22
22          Q
            Q      -- can
                   -- can you explain that
                          you explain that a little bit
                                           a little bit more just from
                                                        more just from a
                                                                       a

23
23     practical
       practical standpoint?
                 standpoint?

24
24          A
            A      Yes,
                   Yes, so the individuals
                        so the individuals who
                                           who are
                                               are students
                                                   students and
                                                            and

25
25     graduates of international
       graduates of international medical
                                  medical schools
                                          schools would
                                                  would apply to ECFMG
                                                        apply to ECFMG



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1
1      to take
       to take the
               the United States medical
                   United States         licensing examinations
                                 medical licensing examinations and
                                                                and

2
2      also
       also need to submit
            need to submit their
                           their credentials,
                                 credentials, which includes their
                                              which includes their

3
3      final medical
       final medical diploma and their
                     diploma and their final
                                       final medical
                                             medical school
                                                     school

 4
 4     transcript.
       transcript.

5
5             ECFMG has
              ECFMG     to authenticate
                    has to authenticate that
                                        that information.
                                             information.          We
                                                                   We need to
                                                                      need to

6
6      authenticate
       authenticate whether
                    whether you're
                            you're actually
                                   actually a
                                            a student at a
                                              student at a school or
                                                           school or

 7
 7     not.
       not.

8
8             And so
              And so Dr.
                     Dr. Tulp
                         Tulp would sign off
                              would sign off on
                                             on applications,
                                                applications, saying to
                                                              saying to

 9
 9     ECFMG essentially
       ECFMG essentially this
                         this --
                              -- yes, this person
                                 yes, this        is a
                                           person is a student
                                                       student or is a
                                                               or is a

10
10     graduate at USAT
       graduate at      and they've
                   USAT and they've completed their basic
                                    completed their       sciences.
                                                    basic sciences.

11
11            In the
              In the same
                     same way,
                          way, he
                               he would
                                  would complete forms for
                                        complete forms for diplomas.
                                                           diplomas.

12
12     Yes, this diploma
       Yes, this         is authentic
                 diploma is authentic and
                                      and fill
                                          fill out
                                               out the
                                                   the information
                                                       information

13
13     that we
       that we require to verify
               require to verify the
                                 the credentials of students
                                     credentials of          and
                                                    students and

14
14     graduates.
       graduates.

15
15            Q
              Q    You testified in
                   You testified in response to questions
                                    response to           from counsel
                                                questions from counsel

16
16     about a finding
       about a finding of
                       of irregular
                          irregular behavior
                                    behavior as
                                             as against
                                                against Dr.
                                                        Dr. Tulp; is
                                                            Tulp; is

17
17     that correct?
       that correct?

18
18            A
              A    That's
                   That's correct.
                          correct.

19
19            Q
              Q    Could
                   Could you explain what
                         you explain what action, if any,
                                          action, if any, ECFMG
                                                          ECFMG took
                                                                took as
                                                                     as

20
20     a result
       a        of that
         result of that finding
                        finding of irregular behavior
                                of irregular          against Dr.
                                             behavior against Dr.

21
21     Tulp?
       Tulp?

22
22            A
              A    Yes,
                   Yes, so ECFMG put
                        so ECFMG put a
                                     a sanction
                                       sanction on
                                                on Dr.
                                                   Dr. Tulp for a
                                                       Tulp for a

23
23     minimum of
       minimum of five
                  five years that we
                       years that we will
                                     will not
                                          not accept any documents
                                              accept any documents

24
24     from --
       from -- signed or certified
               signed or certified by
                                   by Dr.
                                      Dr. Tulp on behalf
                                          Tulp on behalf of
                                                         of USAT
                                                            USAT or
                                                                 or

25
25     any other
       any other medical
                 medical school
                         school for
                                for that
                                    that period of time.
                                         period of time.



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1
1           After that
            After that period
                       period of
                              of time
                                 time expires,
                                      expires, we
                                               we will
                                                  will consider
                                                       consider

2
2      accepting
       accepting Dr.
                 Dr. Tulp as a
                     Tulp as a signatory
                               signatory again for medical
                                         again for medical school if
                                                           school if

3
3      he meets certain
       he meets certain requirements.
                        requirements.         And I'm
                                              And I'm sorry I don't
                                                      sorry I don't have
                                                                    have

 4
 4     them.
       them.    I can't
                I can't remember them off
                        remember them     the top
                                      off the top of
                                                  of my
                                                     my head,
                                                        head, but
                                                              but

5
5      basically, that
       basically, that he satisfies the
                       he satisfies the requirements that we
                                        requirements that we have,
                                                             have,

6
6      conditions that we
       conditions that we have, to be
                          have, to be able to accept
                                      able to accept him
                                                     him again.
                                                         again.

 7
 7          Q
            Q      Is it
                   Is it fair
                         fair to
                              to say
                                 say that
                                     that the
                                          the action taken by
                                              action taken by ECFMG
                                                              ECFMG in
                                                                    in

8
8      light of
       light of the
                the finding
                    finding of
                            of irregular
                               irregular behavior
                                         behavior with
                                                  with respect to Dr.
                                                       respect to Dr.

 9
 9     Tulp
       Tulp was limited to
            was limited to his
                           his role
                               role as
                                    as an
                                       an authorized
                                          authorized signatory
                                                     signatory on
                                                               on

10
10     behalf of
       behalf of USAT to ECFMG?
                 USAT to ECFMG?

11
11          A
            A      Yes, that's correct,
                   Yes, that's          I mean,
                               correct, I mean, if
                                                if he
                                                   he still
                                                      still signs
                                                            signs

12
12     transcripts for
       transcripts for students,
                       students, we
                                 we wouldn't
                                    wouldn't reject a transcript
                                             reject a transcript

13
13     because that's
       because that's an
                      an official
                         official document
                                  document of
                                           of USAT, but we
                                              USAT, but we would
                                                           would need
                                                                 need

14
14     another official from
       another official from USAT to authenticate
                             USAT to              it.
                                     authenticate it.

15
15          Q
            Q     And really
                  And        just briefly,
                      really just briefly, what is the
                                           what is the process or how
                                                       process or how

16
16     hard is it
       hard is it to
                  to get somebody else
                     get somebody else to
                                       to be, sorry, an
                                          be, sorry, an authorized
                                                        authorized

17
17     official from
       official from USAT?
                     USAT?

18
18          A
            A      We --
                   We -- I
                         I mean,
                           mean, it's
                                 it's not
                                      not that
                                          that hard.
                                               hard.       We would
                                                           We       just
                                                              would just

19
19     reach out to
       reach out to the
                    the medical
                        medical school to ask
                                school to ask who
                                              who would be able
                                                  would be able to
                                                                to

20
20     sign off for
       sign off for the
                    the school
                        school --
                               --

21
21          Q
            Q      For --
                   For --

22
22          A
            A     -- for
                  -- for just
                         just our,
                              our, you
                                   you know,
                                       know, vice
                                             vice dean, things like
                                                  dean, things like

23
23     that.
       that.

24
24          Q
            Q      So
                   So USAT
                      USAT would
                           would not be disqualified
                                 not be disqualified then
                                                     then from
                                                          from having an
                                                               having an

25
25     authorized
       authorized signatory?
                  signatory?




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1
1             A
              A    Correct, that's correct.
                   Correct, that's correct.

2
2             Q
              Q    You
                   You were asked some
                       were asked      questions about
                                  some questions about a
                                                       a black binder --
                                                         black binder --

3
3             A
              A    Yes.
                   Yes.

 4
 4            Q
              Q   -- being
                  -- being given to counsel
                           given to counsel for
                                            for Dr.
                                                Dr. Tulp at a
                                                    Tulp at a November
                                                              November

5
5      28th
       28th hearing.
            hearing.      Do
                          Do you
                             you remember that?
                                 remember that?

6
6             A
              A    Yes.
                   Yes.

 7
 7            Q
              Q   And I
                  And I couldn't
                        couldn't catch it in
                                 catch it in the
                                             the testimony
                                                 testimony about
                                                           about your
                                                                 your

8
8      explanation about
       explanation about whether those materials
                         whether those materials had been provided
                                                 had been          to
                                                          provided to

 9
 9     Dr.
       Dr. Tulp
           Tulp prior to the
                prior to the proceeding.
                             proceeding.       Could
                                               Could you explain that?
                                                     you explain that?

10
10            A
              A    Yes,
                   Yes, so
                        so we provide the
                           we provide the materials to individuals
                                          materials to individuals prior
                                                                   prior

11
11     to the
       to the hearing.
              hearing.     Those
                           Those materials
                                 materials were
                                           were sent
                                                sent via email to
                                                     via email to Dr.
                                                                  Dr.

12
12     Tulp's
       Tulp's counsel.
              counsel.

13
13            And I
              And I got an acknowledgement
                    got an acknowledgement that
                                           that they
                                                they were
                                                     were received by
                                                          received by

14
14     email, but
       email, but I
                  I also
                    also sent
                         sent them
                              them by
                                   by a
                                      a hard
                                        hard copy by Federal
                                             copy by Federal Express,
                                                             Express,

15
15     too.
       too.

16
16            Q
              Q    There
                   There was
                         was some
                             some discussion,
                                  discussion, sorry, there was
                                              sorry, there was some
                                                               some

17
17     discussion about certain
       discussion about certain materials
                                materials being
                                          being redacted in the
                                                redacted in the

18
18     materials provided
       materials          to Dr.
                 provided to Dr. Tulp.
                                 Tulp.

19
19            A
              A    Uh-huh.
                   Uh-huh.

20
20            Q
              Q    Can
                   Can you explain why,
                       you explain why, please?
                                        please?

21
21            A
              A    So
                   So we
                      we put about over
                         put about over 300,
                                        300, I
                                             I think,
                                               think, affidavits
                                                      affidavits in
                                                                 in the
                                                                    the

22
22     materials.
       materials.    And we
                     And we redacted their names,
                            redacted their        the individuals'
                                           names, the individuals' names
                                                                   names

23
23     on that
       on that bundle
               bundle and
                      and their
                          their identification
                                identification numbers,
                                               numbers, because
                                                        because we
                                                                we

24
24     wanted to --
       wanted to -- we just wanted
                    we just        to make
                            wanted to make sure that we're
                                           sure that we're protecting
                                                           protecting

25
25     the privacy
       the         of those
           privacy of those students
                            students and that there
                                     and that there would be no
                                                    would be no




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1
1      adverse action taken
       adverse action taken against
                            against them
                                    them for
                                         for providing the information
                                             providing the information

2
2      to ECFMG.
       to ECFMG.

3
3           Q
            Q      And what
                   And what was the purpose
                            was the purpose of
                                            of sending the students
                                               sending the students

 4
 4     those affidavits?
       those affidavits?

5
5           A
            A      We sent
                   We      the affidavits
                      sent the affidavits to
                                          to the
                                             the students, because we
                                                 students, because we

6
6      wanted to determine
       wanted to determine where they had
                           where they had done their basic
                                          done their basic sciences.
                                                           sciences.

 7
 7     We had
       We had had information that
              had information that USAT
                                   USAT was operating a
                                        was operating a campus in the
                                                        campus in the

8
8      United States in
       United States in Florida.
                        Florida.       And Dr.
                                       And Dr. Tulp
                                               Tulp had indicated that
                                                    had indicated that that
                                                                       that

 9
 9     was
       was not
           not correct.
               correct.

10
10          So
            So we
               we still
                  still were
                        were getting information contrary
                             getting information          to that.
                                                 contrary to that.             So
                                                                               So

11
11     we
       we decided to send
          decided to      the affidavit
                     send the           to the
                              affidavit to the students to get
                                               students to get

12
12     information from
       information from the
                        the students
                            students about
                                     about where they actually
                                           where they actually did
                                                               did

13
13     their basic
       their basic sciences.
                   sciences.

14
14          Q
            Q      Why, if
                   Why, if at
                           at all,
                              all, was it a
                                   was it a concern for ECFMG
                                            concern for ECFMG about
                                                              about

15
15     where the USAT
       where the USAT students took their
                      students took their basic
                                          basic sciences?
                                                sciences?

16
16          A
            A      So ECFMG has
                   So ECFMG has requirements
                                requirements about the medical
                                             about the medical schools
                                                               schools

17
17     that we
       that we will accept and
               will accept and --
                               --

18
18                 MR. REIL:
                   MR. REIL:    Objection.
                                Objection.    Beyond the
                                              Beyond the scope
                                                         scope of
                                                               of my
                                                                  my

19
19     examination.
       examination.

20
20                 THE
                   THE COURT:
                       COURT:   Overruled.
                                Overruled.

21
21     BY MS.
       BY MS. MCENROE:
              MCENROE:

22
22          Q
            Q      You may answer.
                   You may answer.

23
23          A
            A      Okay, sorry.
                   Okay, sorry.    So
                                   So we
                                      we have
                                         have requirements around, you
                                              requirements around, you

24
24     know,
       know, what international medical
             what international medical school is.
                                        school is.

25
25          In fact,
            In fact, an
                     an international
                        international medical -- we
                                      medical -- we define an
                                                    define an




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1
1      international medical
       international medical graduate
                             graduate as
                                      as an individual who
                                         an individual who has
                                                           has

2
2      received their education
       received their education outside
                                outside of
                                        of the
                                           the --
                                               -- their
                                                  their medical
                                                        medical

3
3      education outside
       education outside of
                         of the
                            the United
                                United States
                                       States and
                                              and Canada.
                                                  Canada.

 4
 4                And so
                  And so we
                         we have
                            have requirements from the
                                 requirements from the government
                                                       government

5
5      officials where
       officials       the school
                 where the school is
                                  is located
                                     located that
                                             that the
                                                  the school
                                                      school has to
                                                             has to

6
6      meet.
       meet.

 7
 7                 So the school
                   So the school has -- the
                                 has -- the government
                                            government has to say,
                                                       has to say, yes,
                                                                   yes,

8
8      essentially, I'm
       essentially, I'm sort
                        sort of
                             of oversimplifying, but the
                                oversimplifying, but the government
                                                         government

 9
 9     has to say,
       has to say, yes, this is
                   yes, this is a
                                a medical
                                  medical school.
                                          school.         You recognize
                                                          You           it as
                                                              recognize it as

10
10     such.
       such.    And its
                And its graduates
                        graduates are eligible for
                                  are eligible for licensure
                                                   licensure in
                                                             in our
                                                                our

11
11     country.
       country.   And then
                  And then ECFMG
                           ECFMG will
                                 will recognize that.
                                      recognize that.

12
12                But if
                  But if the
                         the school
                             school has a branch
                                    has a branch campus outside of
                                                 campus outside of that
                                                                   that

13
13     country,
       country, we also require
                we also         the branch
                        require the branch campus
                                           campus country to provide
                                                  country to provide

14
14     that same
       that      type of
            same type of information.
                         information.         Do
                                              Do you
                                                 you recognize it as
                                                     recognize it as a
                                                                     a

15
15     medical school?
       medical school?    And are
                          And are its
                                  its graduates eligible to
                                      graduates eligible to practice in
                                                            practice in

16
16     your
       your country?
            country?

17
17                 So if you
                   So if you were
                             were having only classes
                                  having only         in the
                                              classes in the United
                                                             United

18
18     States,
       States, we
               we would need that
                  would need that documentation from the
                                  documentation from the United
                                                         United

19
19     States, but also,
       States, but also, you might be
                         you might be a
                                      a United
                                        United States
                                               States school.
                                                      school.

20
20          Q
            Q      So
                   So you
                      you were asked some
                          were asked some questions about the
                                          questions about the role
                                                              role and
                                                                   and

21
21     purpose of ECFMG?
       purpose of ECFMG?     At the
                             At the beginning
                                    beginning of
                                              of your testimony, you
                                                 your testimony, you

22
22     remember being asked
       remember being asked that?
                            that?

23
23          A
            A      Yes.
                   Yes.

24
24          Q
            Q     And can
                  And can you explain a
                          you explain a little
                                        little bit more about
                                               bit more about why it's
                                                              why it's

25
25     concern to ECFMG,
       concern to ECFMG, for
                         for example,
                             example, if
                                      if there
                                         there were to be
                                               were to be




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1
1      predominantly education in
       predominantly education in the
                                  the United States that
                                      United States that you
                                                         you were just
                                                             were just

2
2      talking about?
       talking about?

3
3           A
            A     So,
                  So, you
                      you know, if the
                          know, if the person
                                       person is
                                              is educated
                                                 educated only
                                                          only in
                                                               in the
                                                                  the

 4
 4     United States, then
       United States, then they
                           they may
                                may not
                                    not be
                                        be considered an international
                                           considered an international

5
5      medical graduate.
       medical graduate.     So they
                             So they might
                                     might not even be
                                           not even    eligible or
                                                    be eligible or

6
6      subject to ECFMG
       subject to ECFMG certification
                        certification if
                                      if they're
                                         they're not
                                                 not an international
                                                     an international

 7
 7     medical graduate.
       medical graduate.

8
8           If they
            If they went to medical
                    went to medical school in the
                                    school in the United
                                                  United States, and
                                                         States, and

 9
 9     my understanding
       my               is they
          understanding is they would
                                would have to go
                                      have to    to a
                                              go to a school that was
                                                      school that was

10
10     accredited by the
       accredited by the LCME,
                         LCME, which is the
                               which is the Liaison
                                            Liaison Committee
                                                    Committee on
                                                              on

11
11     Medical Education.
       Medical Education.

12
12          So
            So we
               we have to make
                  have to make sure
                               sure that
                                    that we're
                                         we're not,
                                               not, you
                                                    you know,
                                                        know, we are
                                                              we are

13
13     dealing
       dealing with international medical
               with international medical graduates
                                          graduates only
                                                    only because that
                                                         because that

14
14     is our
       is our scope.
              scope.     That is what
                         That is what we
                                      we are
                                         are authorized to deal
                                             authorized to deal with.
                                                                with.

15
15          Q
            Q     Does ECFMG certify
                  Does ECFMG certify U.S.-based
                                     U.S.-based medical
                                                medical school
                                                        school

16
16     graduates?
       graduates?

17
17          A
            A     No.
                  No.

18
18          Q
            Q     So
                  So you -- ECFMG
                     you -- ECFMG wouldn't
                                  wouldn't grant a certificate
                                           grant a             to a
                                                   certificate to a

19
19     Penn Med
       Penn Med grad?
                grad?

20
20          A
            A     No,
                  No, correct,
                      correct, we
                               we would not.
                                  would not.       We could
                                                   We could not.
                                                            not.

21
21          Q
            Q     There
                  There was
                        was some
                            some discussion, jumping to
                                 discussion, jumping to back to the
                                                        back to the

22
22     hearing that you
       hearing that you were asked some
                        were asked some questions about, you
                                        questions about, you remember
                                                             remember

23
23     the November
       the          28th hearing?
           November 28th hearing?

24
24          A
            A     Yes.
                  Yes.

25
25          Q
            Q     There
                  There was
                        was some
                            some discussion
                                 discussion about
                                            about a
                                                  a sponsor
                                                    sponsor note in the
                                                            note in the



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1
1      World Directory.
       World Directory.     And I
                            And I believe
                                  believe you
                                          you read
                                              read some -- a
                                                   some -- a note from
                                                             note from

2
2      that language
       that language out
                     out into
                         into the
                              the record.
                                  record.         Do
                                                  Do you
                                                     you remember that?
                                                         remember that?

3
3           A
            A     Yes,
                  Yes, uh-huh.
                       uh-huh.

 4
 4          Q
            Q     And there
                  And there was a question
                            was a question about the sequence
                                           about the          of
                                                     sequence of

5
5      events.
       events.   Could
                 Could you explain a
                       you explain   little bit
                                   a little bit more
                                                more in
                                                     in terms
                                                        terms of the
                                                              of the

6
6      note and the
       note and the sponsor note, I'm
                    sponsor note, I'm sorry, in the
                                      sorry, in the World
                                                    World Directory
                                                          Directory

 7
 7     with
       with regards to USAT
            regards to      vis a
                       USAT vis a vis the irregular
                                  vis the irregular behavior
                                                    behavior

8
8      proceeding against Dr.
       proceeding against Dr. Tulp?
                              Tulp?

 9
 9          A
            A     Right.
                  Right.    So when
                            So when we became aware
                                    we became       that there
                                              aware that there was
                                                               was a
                                                                   a

10
10     possibility that there
       possibility that there was
                              was a
                                  a campus in the
                                    campus in the United States for
                                                  United States for

11
11     USAT,
       USAT, we
             we reached out by
                reached out by letter
                               letter officially to USAT
                                      officially to      to ask.
                                                    USAT to ask.               We
                                                                               We

12
12     said
       said we
            we understand there's campus
               understand there's        in the
                                  campus in the United States.
                                                United States.           Can
                                                                         Can

13
13     you
       you please provide us
           please provide us with the documentation
                             with the               from the
                                      documentation from the

14
14     Department of Education
       Department of Education that
                               that authorizes
                                    authorizes you to have
                                               you to have a
                                                           a medical
                                                             medical

15
15     school and to
       school and to conduct
                     conduct your
                             your activities in the
                                  activities in the United States?
                                                    United States?

16
16          And we
            And we got a response
                   got a          that that
                         response that that was
                                            was not
                                                not accurate.
                                                    accurate.           We
                                                                        We

17
17     talked about
       talked about the
                    the affidavit
                        affidavit process.
                                  process.        We asked
                                                  We asked the
                                                           the information
                                                               information

18
18     from the
       from the students.
                students.

19
19          And around,
            And around, I
                        I think
                          think it
                                it was
                                   was October
                                       October 18th,
                                               18th, when
                                                     when we
                                                          we had asked
                                                             had asked

20
20     for the
       for the documentation from USAT
               documentation from USAT about the --
                                       about the -- its
                                                    its U.S.
                                                        U.S. branch
                                                             branch

21
21     campuses I had
       campuses I had not
                      not receive it, then
                          receive it, then we made a
                                           we made a determination
                                                     determination

22
22     that we
       that we could
               could not accept students
                     not accept students and
                                         and graduates from that
                                             graduates from that

23
23     medical school.
       medical school.     That
                           That would
                                would be effective Jan.
                                      be effective      1, 2019.
                                                   Jan. 1, 2019.

24
24          We notified
            We          the students.
               notified the students.         We put
                                              We     the note
                                                 put the      in the
                                                         note in the

25
25     directory, but that
       directory, but that action
                           action was
                                  was related only to
                                      related only to not
                                                      not receiving
                                                          receiving




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1
1      the documentation
       the               from the
           documentation from the United
                                  United States officials that
                                         States officials that the
                                                               the

2
2      school
       school was
              was recognized in the
                  recognized in the United
                                    United States.
                                           States.

3
3           And we
            And    offered in
                we offered in a
                              a letter,
                                letter, so if you
                                        so if you get the
                                                  get the

 4
 4     documentation,
       documentation, give
                      give us the documentation
                           us the documentation so
                                                so we
                                                   we can
                                                      can consider,
                                                          consider, we
                                                                    we

5
5      can
       can reconsider the sponsor
           reconsider the sponsor note.
                                  note.

6
6           Q
            Q     To
                  To date,
                     date, has ECFMG gotten
                           has ECFMG gotten such
                                            such documentation
                                                 documentation

 7
 7     regarding authorization for
       regarding authorization for USAT to conduct
                                   USAT to         education in
                                           conduct education in the
                                                                the

8
8      United States?
       United States?

 9
 9          A
            A     No.
                  No.

10
10          Q
            Q     Do
                  Do you
                     you have an estimate
                         have an estimate of
                                          of how
                                             how many times ECFMG
                                                 many times ECFMG has
                                                                  has

11
11     asked for such
       asked for such documentation?
                      documentation?

12
12          A
            A     Um --
                  Um --

13
13          Q
            Q     Would it
                  Would it be
                           be fair
                              fair to
                                   to say
                                      say multiple times?
                                          multiple times?

14
14          A
            A     Multiple, yeah,
                  Multiple,       I mean,
                            yeah, I       more than
                                    mean, more than once.
                                                    once.

15
15          Q
            Q     What is
                  What is the
                          the purpose of a
                              purpose of a sponsor
                                           sponsor note in the
                                                   note in the World
                                                               World

16
16     Directory just briefly?
       Directory just briefly?

17
17          A
            A     So the sponsor
                  So the sponsor note, the World
                                 note, the World Directory of Medical
                                                 Directory of Medical

18
18     Schools is a
       Schools is a listing
                    listing of
                            of the
                               the world's
                                   world's medical
                                           medical schools.
                                                   schools.           And there
                                                                      And there

19
19     are over 3,000
       are over 3,000 medical
                      medical schools in the
                              schools in the world.
                                             world.         We do
                                                            We do not
                                                                  not accept
                                                                      accept

20
20     grad -- you
       grad -- you know,
                   know, we do not
                         we do not accept
                                   accept graduates from all
                                          graduates from all 3,000.
                                                             3,000.

21
21          There are a
            There are a subset of those
                        subset of those medical
                                        medical schools
                                                schools whose
                                                        whose

22
22     graduates are eligible
       graduates are eligible to
                              to apply to ECFMG
                                 apply to ECFMG for
                                                for certification,
                                                    certification,

23
23     which means ultimately,
       which means             they're allowed
                   ultimately, they're         to continue
                                       allowed to          to try
                                                  continue to try and
                                                                  and

24
24     practice medicine in
       practice medicine in the
                            the United
                                United States.
                                       States.

25
25          We used
            We      a sponsor
               used a         note in
                      sponsor note in the
                                      the World
                                          World Directory on a
                                                Directory on a medical
                                                               medical




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1
1      school to indicate
       school to indicate to
                          to the
                             the public
                                 public and to the
                                        and to the students and
                                                   students and

2
2      graduates of that
       graduates of that school
                         school whether
                                whether or
                                        or not those students
                                           not those          and
                                                     students and

3
3      graduates are eligible
       graduates are eligible to
                              to apply to ECFMG
                                 apply to ECFMG for
                                                for certification.
                                                    certification.

 4
 4          So it's the
            So it's the way in which
                        way in which we
                                     we communicate
                                        communicate publicly the
                                                    publicly the

5
5      eligibility, if
       eligibility, if you
                       you will,
                           will, of the school's
                                 of the school's graduates to start
                                                 graduates to start

6
6      the process
       the         of ECFMG
           process of ECFMG certification.
                            certification.

 7
 7          Q
            Q     And I'd
                  And I'd like
                          like to
                               to direct
                                  direct your
                                         your attention in the
                                              attention in the packet
                                                               packet

8
8      of exhibits
       of exhibits that
                   that were given to
                        were given to you by counsel?
                                      you by counsel?

 9
 9          A
            A     Uh-huh.
                  Uh-huh.

10
10          Q
            Q     Back to
                  Back to Exhibit
                          Exhibit E,
                                  E, which is the
                                     which is the sponsor note.
                                                  sponsor note.

11
11          A
            A     Uh-huh.
                  Uh-huh.

12
12          Q
            Q     Let me know
                  Let me know when
                              when you
                                   you have it?
                                       have it?

13
13          A
            A     Okay, I
                  Okay, I have it.
                          have it.

14
14          Q
            Q     And it's
                  And it's fair
                           fair to
                                to say
                                   say earlier,
                                       earlier, you testified this
                                                you testified this is
                                                                   is a
                                                                      a

15
15     copy of the
       copy of the sponsor note for
                   sponsor note for USAT?
                                    USAT?

16
16          A
            A     Yes,
                  Yes, uh-huh.
                       uh-huh.

17
17                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, I'm
                                               I'm not
                                                   not sure that this
                                                       sure that this got
                                                                      got

18
18     admitted into evidence.
       admitted into evidence.

19
19                THE
                  THE COURT:
                      COURT:    It did
                                It     not.
                                   did not.

20
20                MS. MCENROE:
                  MS. MCENROE:     So
                                   So I'd like to
                                      I'd like to move for its
                                                  move for its admission?
                                                               admission?

21
21                THE
                  THE COURT:
                      COURT:    Any objection?
                                Any objection?

22
22                MR. REIL:
                  MR. REIL:    No,
                               No, Your Honor.
                                   Your Honor.

23
23                THE
                  THE COURT:
                      COURT:    It's admitted.
                                It's admitted.

24
24          (Defendant's Exhibit E
            (Defendant's Exhibit E admitted into evidence)
                                   admitted into evidence)

25
25     BY MS.
       BY MS. MCENROE:
              MCENROE:



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1
1           Q
            Q     Ms. Corrado,
                  Ms.          if you
                      Corrado, if     could just
                                  you could just very
                                                 very briefly,
                                                      briefly, I
                                                               I know
                                                                 know

2
2      you
       you were
           were directed to one
                directed to one portion
                                portion of this document.
                                        of this document.          I'd like to
                                                                   I'd like to

3
3      direct
       direct your attention up
              your attention    a little
                             up a little bit
                                         bit higher.
                                             higher.

 4
 4          A
            A     Uh-huh.
                  Uh-huh.

5
5           Q
            Q     There's a list
                  There's a list of
                                 of graduation -- there's
                                    graduation -- there's a
                                                          a range from
                                                            range from

6
6      2003 to 2018.
       2003 to 2018.

 7
 7          A
            A     Uh-huh.
                  Uh-huh.

8
8           Q
            Q     What is
                  What is that
                          that indicative
                               indicative of?
                                          of?

 9
 9          A
            A     That is the
                  That is the listing
                              listing of
                                      of the
                                         the graduate -- the
                                             graduate -- the graduation
                                                             graduation

10
10     years for which
       years for       ECFMG will
                 which ECFMG will accept
                                  accept graduates of this
                                         graduates of this school.
                                                           school.             So
                                                                               So

11
11     in other
       in other words, it's not
                words, it's not just
                                just that
                                     that your
                                          your school is listed
                                               school is listed in
                                                                in the
                                                                   the

12
12     World Directory
       World Directory with our sponsor
                       with our sponsor note.
                                        note.        Your
                                                     Your school
                                                          school has to be
                                                                 has to be

13
13     listed and
       listed and your
                  your graduation
                       graduation year
                                  year has to be
                                       has to    listed.
                                              be listed.

14
14          So if you
            So if you graduated in 2005,
                      graduated in 2005, we
                                         we will
                                            will still accept the
                                                 still accept the 2005
                                                                  2005

15
15     graduate from USAT.
       graduate from USAT.     But if
                               But if you
                                      you graduated in 2020,
                                          graduated in 2020, currently,
                                                             currently,

16
16     we
       we will
          will not accept your
               not accept your application for certification.
                               application for certification.

17
17          Q
            Q     So I just
                  So I just want to make
                            want to make sure it's clear.
                                         sure it's clear.         So is it
                                                                  So is it

18
18     true that
       true that today,
                 today, ECFMG
                        ECFMG would
                              would still
                                    still accept, for example,
                                          accept, for example, 2018
                                                               2018

19
19     USAT
       USAT grads --
            grads --

20
20          A
            A     Yes.
                  Yes.

21
21          Q
            Q     -- for
                  -- for certification if they
                         certification if they meet
                                               meet all the other
                                                    all the other

22
22     requirements?
       requirements?

23
23          A
            A     Yes.
                  Yes.

24
24          Q
            Q     And are
                  And are there
                          there enhanced
                                enhanced procedures
                                         procedures on
                                                    on USAT applicants?
                                                       USAT applicants?

25
25          A
            A     There are.
                  There are.




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1
1           Q
            Q     Can
                  Can you explain what
                      you explain      that means?
                                  what that means?

2
2           A
            A     Yes,
                  Yes, so the affidavit
                       so the affidavit process
                                        process that
                                                that we touched on
                                                     we touched on

3
3      earlier is
       earlier is a
                  a requirement for USAT
                    requirement for USAT students and graduates
                                         students and graduates

 4
 4     currently.
       currently.

5
5           Essentially, in
            Essentially, in order
                            order to
                                  to receive ECFMG services,
                                     receive ECFMG           they need
                                                   services, they need

6
6      to complete
       to          that affidavit
          complete that affidavit and
                                  and submit to ECFMG.
                                      submit to ECFMG.          And once
                                                                And      ECFMG
                                                                    once ECFMG

 7
 7     has
       has reviewed it and
           reviewed it and accepted
                           accepted it,
                                    it, then
                                        then we
                                             we will
                                                will continue to
                                                     continue to

8
8      provide
       provide services to those
               services to those graduates
                                 graduates and
                                           and students.
                                               students.

 9
 9          Q
            Q     So looking back
                  So looking back to
                                  to the
                                     the November
                                         November 28th
                                                  28th hearing and I'll
                                                       hearing and I'll

10
10     try to
       try to be
              be quick.
                 quick.

11
11                THE
                  THE COURT:
                      COURT:    Hang on,
                                Hang on, wait.
                                         wait.     So the note
                                                   So the      talks about
                                                          note talks about

12
12     students and graduates
       students and graduates of this medical
                              of this medical school
                                              school with a graduation
                                                     with a graduation

13
13     year of 2019.
       year of 2019.    You see that?
                        You see that?

14
14                THE WITNESS:
                  THE WITNESS:     Yes.
                                   Yes.

15
15                THE
                  THE COURT:
                      COURT:    When is
                                When is --
                                        -- when
                                           when would
                                                would students
                                                      students of
                                                               of USAT
                                                                  USAT

16
16     normally
       normally graduate?
                graduate?     What month
                              What       in 2019?
                                   month in 2019?

17
17                THE WITNESS:
                  THE WITNESS:     I don't
                                   I don't know,
                                           know, Your
                                                 Your Honor,
                                                      Honor, when they
                                                             when they

18
18     would
       would normally
             normally graduate.
                      graduate.      This
                                     This note is meant
                                          note is meant to
                                                        to indicate
                                                           indicate that
                                                                    that

19
19     as of the
       as of the first
                 first of
                       of this
                          this year,
                               year, 2019,
                                     2019, we
                                           we will
                                              will not accept any
                                                   not accept any

20
20     graduates.
       graduates.

21
21                THE
                  THE COURT:
                      COURT:    Do
                                Do you
                                   you know
                                       know whether there have
                                            whether there      been any
                                                          have been any

22
22     graduates of USAT
       graduates of      in 2019?
                    USAT in 2019?

23
23                THE WITNESS:
                  THE WITNESS:     I do
                                   I do not
                                        not know that, Your
                                            know that,      Honor.
                                                       Your Honor.

24
24                THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.

25
25                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.




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1
1      BY MS.
       BY MS. MCENROE:
              MCENROE:

2
2           Q
            Q     So moving back
                  So moving back to
                                 to the
                                    the November
                                        November 28th
                                                 28th hearing,
                                                      hearing, you
                                                               you were
                                                                   were

3
3      asked a number
       asked a        of questions
               number of questions about
                                   about submission into evidence
                                         submission into evidence and
                                                                  and

 4
 4     other procedural
       other            events at
             procedural events    the November
                               at the November 28th
                                               28th hearing.
                                                    hearing.

5
5           Just
            Just very briefly, can
                 very briefly, can you estimate or
                                   you estimate or how many years
                                                   how many years have
                                                                  have

6
6      you been attending
       you been attending or
                          or participating
                             participating in
                                           in this
                                              this kind of irregular
                                                   kind of irregular

 7
 7     behavior proceeding
       behavior proceeding with
                           with personal
                                personal appearances on behalf
                                         appearances on behalf of
                                                               of

8
8      ECFMG?
       ECFMG?

 9
 9          A
            A     Sure, 10.
                  Sure, 10.

10
10          Q
            Q     And so
                  And so you say 10
                         you say 10 years?
                                    years?

11
11          A
            A     10 years,
                  10 years, yes, sorry.
                            yes, sorry.

12
12          Q
            Q     And an
                  And an estimate
                         estimate of,
                                  of, if
                                      if you
                                         you can
                                             can ballpark,
                                                 ballpark, how
                                                           how many
                                                               many of
                                                                    of

13
13     these kind
       these      of proceedings
             kind of proceedings you participated in?
                                 you participated in?

14
14          A
            A     So 30.
                  So 30.

15
15          Q
            Q     And so,
                  And     just very
                      so, just very briefly,
                                    briefly, in
                                             in terms
                                                terms of the process
                                                      of the         at
                                                             process at

16
16     the hearing,
       the          I know
           hearing, I      that there
                      know that there was
                                      was some testimony that
                                          some testimony that it's
                                                              it's a
                                                                   a

17
17     20-minute
       20-minute hearing.
                 hearing.     Can
                              Can you
                                  you please explain the
                                      please explain the expected
                                                         expected

18
18     process --
       process --

19
19          A
            A     Sure.
                  Sure.

20
20          Q
            Q     -- of
                  -- of that
                        that type
                             type of
                                  of hearing?
                                     hearing?

21
21          A
            A     Sure,
                  Sure, so
                        so when an individual
                           when an individual makes
                                              makes a
                                                    a personal
                                                      personal

22
22     appearance before the
       appearance before the board
                             board of trustees, we
                                   of trustees, we give a very
                                                   give a very

23
23     brief --
       brief -- staff
                staff will give a
                      will give a very
                                  very brief
                                       brief outline of the
                                             outline of the allegation
                                                            allegation

24
24     as -- of
       as -- of the
                the irregular
                    irregular behavior.
                              behavior.

25
25          The individual will
            The individual      be given
                           will be given approximately
                                         approximately 20 minutes to
                                                       20 minutes to



                                  SAppx0452
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1      provide a statement,
       provide a            if they
                 statement, if they will.
                                    will.        Usually, they have
                                                 Usually, they have an
                                                                    an

2
2      opening statement.
       opening statement.      They
                               They can
                                    can have
                                        have counsel there with
                                             counsel there      them if
                                                           with them if

3
3      they want.
       they want.

 4
 4          Once they've
            Once they've concluded their opening
                         concluded their opening statement, then the
                                                 statement, then the

5
5      board is
       board is able
                able to
                     to ask
                        ask questions.
                            questions.        They'll generally ask
                                              They'll generally ask

6
6      questions of the
       questions of the individual.
                        individual.

 7
 7          Once the
            Once the questioning is finished,
                     questioning is finished, the
                                              the individual's
                                                  individual's invited
                                                               invited

8
8      to give
       to      a closing
          give a         statement and
                 closing statement     then they're
                                   and then they're excused
                                                    excused from
                                                            from the
                                                                 the

 9
 9     hearing.
       hearing.

10
10          Q
            Q     In your
                  In      experience, based
                     your experience, based just
                                            just from
                                                 from your
                                                      your view,
                                                           view, what
                                                                 what

11
11     is the
       is the purpose of that
              purpose of that hearing?
                              hearing?

12
12          A
            A     The --
                  The --

13
13                MR. REIL:
                  MR. REIL:    I'm going
                               I'm       to object,
                                   going to object, Your Honor, to
                                                    Your Honor, to the
                                                                   the

14
14     extent that
       extent that we're talking about
                   we're talking about hearings other than
                                       hearings other than Dr.
                                                           Dr. Tulp's
                                                               Tulp's

15
15     hearing, I don't
       hearing, I       think it's
                  don't think it's relevant.
                                   relevant.

16
16                MS. MCENROE:
                  MS. MCENROE:     That's fair, Your
                                   That's fair, Your Honor.
                                                     Honor.      I can
                                                                 I can

17
17     withdraw the question
       withdraw the          and ask
                    question and     it a
                                 ask it a different
                                          different way.
                                                    way.

18
18                THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.

19
19     BY MS.
       BY MS. MCENROE:
              MCENROE:

20
20          Q
            Q     Ms. Corrado,
                  Ms. Corrado, what
                               what was the purpose
                                    was the purpose of
                                                    of Dr.
                                                       Dr. Tulp's
                                                           Tulp's

21
21     hearing on November
       hearing on          28th?
                  November 28th?

22
22          A
            A     He
                  He was -- has
                     was --     a right
                            has a       to a
                                  right to a personal
                                             personal appearance,
                                                      appearance, which
                                                                  which

23
23     he elected to
       he elected to take.
                     take.     And the
                               And the purpose
                                       purpose would be for
                                               would be for him to
                                                            him to

24
24     provide
       provide his explanation about
               his explanation       the allegation
                               about the            and to
                                         allegation and to answer
                                                           answer any
                                                                  any

25
25     questions that the
       questions that the committee
                          committee would
                                    would have for him.
                                          have for him.




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                                  SAppx0453
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1
1           Q
            Q      We already
                   We already discussed briefly the
                              discussed briefly the materials provided
                                                    materials provided

2
2      to him
       to     in advance
          him in advance of
                         of the
                            the hearing.
                                hearing.        In your
                                                In      view, did
                                                   your view, did you expect
                                                                  you expect

3
3      that additional
       that additional evidence
                       evidence would
                                would be
                                      be submitted by ECFMG
                                         submitted by ECFMG at that
                                                            at that

 4
 4     hearing?
       hearing?

5
5           A
            A      No.
                   No.

6
6                  MR. REIL:
                   MR. REIL:    Objection.
                                Objection.

 7
 7                 THE
                   THE COURT:
                       COURT:   Basis?
                                Basis?

8
8                  MR. REIL:
                   MR. REIL:    I think,
                                I think, Your
                                         Your Honor, in her
                                              Honor, in her personal view
                                                            personal view

 9
 9     here, I'm not
       here, I'm not sure
                     sure how that relate
                          how that        -- I
                                   relate -- I don't think it's
                                               don't think it's

10
10     relevant.
       relevant.

11
11                 THE
                   THE COURT:
                       COURT:    Re-ask the
                                 Re-ask the question.
                                            question.

12
12     BY MS.
       BY MS. MCENROE:
              MCENROE:

13
13          Q
            Q      Sure.
                   Sure.

14
14                 THE
                   THE COURT:
                       COURT:    Different
                                 Different way.
                                           way.

15
15     BY MS.
       BY MS. MCENROE:
              MCENROE:

16
16          Q
            Q      Did it surprise
                   Did it surprise you,
                                   you, based
                                        based on
                                              on your experience of
                                                 your experience of

17
17     having
       having gone to over
              gone to over 30
                           30 of these hearings
                              of these          in the
                                       hearings in the past 10 years,
                                                       past 10 years,

18
18     that ECFMG
       that ECFMG did
                  did not present any
                      not present any additional materials beyond
                                      additional materials beyond the
                                                                  the

19
19     black binder
       black binder --
                    --

20
20          A
            A      No.
                   No.

21
21          Q
            Q      -- at
                   -- at the
                         the hearing of Dr.
                             hearing of Dr. Tulp?
                                            Tulp?

22
22          A
            A      No.
                   No.

23
23                 MR. REIL:
                   MR. REIL:    Objection to
                                Objection to whether the witness
                                             whether the witness was
                                                                 was

24
24     surprised.
       surprised.    Ask that
                     Ask that it
                              it be
                                 be rephrased.
                                    rephrased.

25
25                 THE
                   THE COURT:
                       COURT:    Overruled.
                                 Overruled.




                                  SAppx0454
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1
1                  Go ahead.
                   Go ahead.

2
2                  THE WITNESS:
                   THE WITNESS:    No, I was
                                   No, I was not
                                             not surprised.
                                                 surprised.

3
3                  MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, I have
                                        Honor, I have nothing else on
                                                      nothing else on

 4
 4     cross at this
       cross at this time.
                     time.      I will
                                I will have
                                       have additional
                                            additional questions for the
                                                       questions for the

5
5      witness.
       witness.    So it's
                   So it's at
                           at your
                              your prerogative if you'd
                                   prerogative if you'd rather me have
                                                        rather me have

6
6      the witness
       the         on the
           witness on the stand
                          stand once.
                                once.

 7
 7                 THE
                   THE COURT:
                       COURT:    Let's just get,
                                 Let's just get, yeah, let's get
                                                 yeah, let's     this --
                                                             get this --

8
8      you
       you now
           now got the witness
               got the witness on
                               on direct in your
                                  direct in your case.
                                                 case.

 9
 9                 MS. MCENROE:
                   MS. MCENROE:    Great.
                                   Great.

10
10                 THE
                   THE COURT:
                       COURT:    Go ahead.
                                 Go ahead.

11
11                 MS. MCENROE:
                   MS. MCENROE:    Thank
                                   Thank you,
                                         you, Your
                                              Your Honor
                                                   Honor and I'll be
                                                         and I'll be as
                                                                     as

12
12     brief as
       brief as I
                I can.
                  can.

13
13                                DIRECT EXAMINATION
                                  DIRECT EXAMINATION

14
14     BY MS.
       BY MS. MCENROE:
              MCENROE:

15
15          Q
            Q      Ms. Corrado,
                   Ms. Corrado, why
                                why did ECFMG change
                                    did ECFMG        the sponsor
                                              change the sponsor note
                                                                 note

16
16     for USAT
       for      in the
           USAT in the World
                       World Directory?
                             Directory?

17
17          A
            A      We changed
                   We         the sponsor
                      changed the sponsor note in the
                                          note in the World
                                                      World Directory,
                                                            Directory,

18
18     so that we
       so that we could let students
                  could let students know
                                     know what the status
                                          what the        of the
                                                   status of the

19
19     school
       school was.
              was.

20
20          And the
            And the note
                    note was changed because
                         was changed because we
                                             we did
                                                did not
                                                    not have the
                                                        have the

21
21     documentation from USAT
       documentation from      from the
                          USAT from the Department
                                        Department of Education in
                                                   of Education in

22
22     Florida or the
       Florida or the other
                      other states
                            states where they were
                                   where they      operating that
                                              were operating that

23
23     authorized their school
       authorized their school in
                               in those
                                  those states.
                                        states.

24
24          Q
            Q      And why
                   And why did ECFMG allege
                           did ECFMG        irregular behavior
                                     allege irregular behavior against
                                                               against

25
25     Dr.
       Dr. Tulp?
           Tulp?




                                  SAppx0455
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1
1           A
            A     When we
                  When    asked Dr.
                       we asked Dr. Tulp if he
                                    Tulp if he had
                                               had a -- that
                                                   a -- that we -- I'm
                                                             we -- I'm

2
2      sorry,
       sorry, we asked --
              we asked -- we advised Dr.
                          we advised Dr. Tulp that we
                                         Tulp that we understood that
                                                      understood that

3
3      he
       he had a --
          had a -- that
                   that USAT
                        USAT had
                             had a
                                 a campus in Miami
                                   campus in Miami and
                                                   and we
                                                       we asked for
                                                          asked for

 4
 4     the documentation
       the               in a
           documentation in a letter
                              letter on August 21st.
                                     on August 21st.

5
5           And the
            And the response that we
                    response that we got from Dr.
                                     got from Dr. Tulp
                                                  Tulp was that it
                                                       was that it is
                                                                   is

6
6      not a campus.
       not a campus.    There
                        There was
                              was not -- education
                                  not -- education was
                                                   was not
                                                       not occurring
                                                           occurring

 7
 7     there.
       there.   It was
                It     an administrative
                   was an administrative site
                                         site only.
                                              only.

8
8           So
            So when
               when we
                    we got the affidavits
                       got the affidavits from
                                          from the
                                               the students that
                                                   students that

 9
 9     essentially said
       essentially      they all
                   said they all took
                                 took their
                                      their classes in Miami
                                            classes in Miami or some
                                                             or some

10
10     other location
       other location in
                      in the
                         the United
                             United States,
                                    States, and
                                            and had
                                                had not
                                                    not gone to
                                                        gone to

11
11     Montserrat, that
       Montserrat, that conflicted
                        conflicted with the information
                                   with the information that
                                                        that Dr.
                                                             Dr. Tulp
                                                                 Tulp

12
12     had
       had given
           given us.
                 us.    And then
                        And then in
                                 in our
                                    our view, that was
                                        view, that was providing false
                                                       providing false

13
13     information to
       information to ECFMG.
                      ECFMG.     So
                                 So we
                                    we alleged irregular behavior.
                                       alleged irregular behavior.

14
14          Q
            Q     Just briefly, could
                  Just briefly, could you explain how
                                      you explain     this concern
                                                  how this concern came
                                                                   came

15
15     to the
       to the attention
              attention of
                        of ECFMG
                           ECFMG regarding the location
                                 regarding the location of the
                                                        of the

16
16     education for
       education for USAT?
                     USAT?

17
17          A
            A     Sure.
                  Sure.   In roughly
                          In         the summer
                             roughly the summer of
                                                of 2017, ECFMG, we
                                                   2017, ECFMG, we were
                                                                   were

18
18     conducting a project
       conducting a project to
                            to re-verify a number
                               re-verify a        of medical
                                           number of medical schools
                                                             schools

19
19     located in
       located in the
                  the Caribbean.
                      Caribbean.       And we
                                       And we were
                                              were doing
                                                   doing research
                                                         research on them.
                                                                  on them.

20
20     And we
       And we had
              had not
                  not gotten any information
                      gotten any information back from Montserrat
                                             back from Montserrat

21
21     regarding
       regarding USAT.
                 USAT.

22
22          And our
            And our team
                    team was looking into
                         was looking into it
                                          it and found a
                                             and found a number
                                                         number of
                                                                of

23
23     videos online that
       videos online that seem
                          seem to
                               to indicate
                                  indicate that
                                           that --
                                                --

24
24                MR. REIL:
                  MR. REIL:    Objection to
                               Objection to what the team
                                            what the team found.
                                                          found.        It's
                                                                        It's

25
25     hearsay.
       hearsay.




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1
1                 THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

2
2                 MR. REIL:
                  MR. REIL:    And --
                               And --

3
3                 THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

 4
 4                MR. REIL:
                  MR. REIL:    -- I
                               -- I don't think it's
                                    don't think it's --
                                                     -- it's
                                                        it's not
                                                             not based
                                                                 based on
                                                                       on

5
5      the witness'
       the          personal knowledge.
           witness' personal knowledge.

6
6                 THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

 7
 7                MR. REIL:
                  MR. REIL:    I'm sorry,
                               I'm        Your Honor.
                                   sorry, Your Honor.      I didn't
                                                           I didn't hear.
                                                                    hear.

8
8                 THE WITNESS:
                  THE WITNESS:     So
                                   So we
                                      we got
                                         got an inkling that
                                             an inkling that was some
                                                             was some

 9
 9     activity
       activity happening in the
                happening in the United
                                 United States.
                                        States.         We did
                                                        We did some
                                                               some research.
                                                                    research.

10
10     We --
       We -- but
             but ultimately,
                 ultimately, we
                             we got
                                got an email on
                                    an email on August
                                                August 8th
                                                       8th of
                                                           of 2018
                                                              2018

11
11     from a
       from a prospective parent of
              prospective parent of a
                                    a USAT student, who
                                      USAT student, who said
                                                        said my
                                                             my son is
                                                                son is

12
12     going to --
       going to --

13
13                MR. REIL:
                  MR. REIL:    Objection to
                               Objection to what
                                            what a
                                                 a prospective
                                                   prospective parent
                                                               parent

14
14     said.
       said.

15
15                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.    Sustained.
                                              Sustained.

16
16                THE WITNESS:
                  THE WITNESS:     So then, we
                                   So then, we requested
                                               requested USAT to provide
                                                         USAT to provide

17
17     us
       us with
          with documentation about their
               documentation about their Miami
                                         Miami campus.
                                               campus.

18
18     BY MS.
       BY MS. MCENROE:
              MCENROE:

19
19          Q
            Q     And you
                  And     mentioned doing
                      you mentioned doing some
                                          some re-verification of
                                               re-verification of

20
20     schools in the
       schools in the Caribbean?
                      Caribbean?

21
21          A
            A     Uh-huh.
                  Uh-huh.

22
22          Q
            Q     Very briefly,
                  Very briefly, why
                                why was ECFMG doing
                                    was ECFMG       that?
                                              doing that?

23
23          A
            A     So ECFMG had
                  So ECFMG had done another investigation
                               done another investigation on
                                                          on another
                                                             another

24
24     medical school.
       medical school.    And we
                          And we wanted to reach
                                 wanted to       out to
                                           reach out to make
                                                        make sure that
                                                             sure that

25
25     that medical
       that medical school still had
                    school still     its --
                                 had its -- met
                                            met the
                                                the eligibility
                                                    eligibility



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1
1      requirements.
       requirements.    And at
                        And at the
                               the same time, we
                                   same time, we decided to do
                                                 decided to    an
                                                            do an

2
2      eligibility requirement
       eligibility             for all
                   requirement for all of the schools
                                       of the         in that
                                              schools in that area.
                                                              area.

3
3           And we
            And    are targeting
                we are targeting actually
                                 actually different areas of
                                          different areas of the
                                                             the world
                                                                 world

 4
 4     moving forward
       moving forward to
                      to re-verify information that
                         re-verify information that we
                                                    we previously
                                                       previously

5
5      received for schools.
       received for schools.

6
6           Q
            Q     There's been some
                  There's been some discussion
                                    discussion of the change
                                               of the        of the
                                                      change of the

 7
 7     sponsor
       sponsor note and the
               note and the finding
                            finding for
                                    for irregular
                                        irregular behavior
                                                  behavior against
                                                           against Dr.
                                                                   Dr.

8
8      Tulp.
       Tulp.

 9
 9          We're just
            We're just wondering
                       wondering what, if any
                                 what, if any impact,
                                              impact, you
                                                      you know
                                                          know of
                                                               of

10
10     those actions
       those actions having been on
                     having been on students of USAT,
                                    students of USAT, how that's
                                                      how that's

11
11     impacted them
       impacted them in
                     in any
                        any way?
                            way?

12
12          A
            A     My --
                  My -- the
                        the students -- if
                            students -- if the
                                           the students
                                               students did
                                                        did not
                                                            not

13
13     graduate by December
       graduate by          of 2018,
                   December of       then the
                               2018, then the students
                                              students would
                                                       would have to
                                                             have to

14
14     transfer to
       transfer to other
                   other medical
                         medical schools if they
                                 schools if they wanted to continue
                                                 wanted to          to
                                                           continue to

15
15     take USMLE
       take       examinations and
            USMLE examinations     to pursue
                               and to        ECFMG certification,
                                      pursue ECFMG                but
                                                   certification, but

16
16     those who
       those who had
                 had graduated
                     graduated prior
                               prior are
                                     are moving through the
                                         moving through the pipeline.
                                                            pipeline.

17
17          Q
            Q     And those
                  And those students,
                            students, you
                                      you said if they
                                          said if they wanted to
                                                       wanted to

18
18     proceed through USAT
       proceed through USAT USMLE examinations, if
                            USMLE examinations, if they
                                                   they had
                                                        had

19
19     transferred, what
       transferred,      if any
                    what if any impact
                                impact on their prior
                                       on their prior credits taken on
                                                      credits taken on

20
20     USAT being eligible
       USAT being eligible for
                           for ECFMG
                               ECFMG certification,
                                     certification, what impact if
                                                    what impact if any
                                                                   any

21
21     would that have
       would that      been?
                  have been?

22
22          A
            A     Well, so
                  Well,    they --
                        so they -- their
                                   their --
                                         -- they
                                            they would be able
                                                 would be able to
                                                               to

23
23     transfer their
       transfer their prior
                      prior credits
                            credits from
                                    from USAT to whatever
                                         USAT to          their new
                                                 whatever their new

24
24     medical school
       medical        is.
               school is.

25
25          Q
            Q     Do
                  Do you
                     you have any understanding
                         have any understanding of
                                                of what impact ECFMG's
                                                   what impact ECFMG's



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1
1      actions
       actions vis a vis
               vis a vis the
                         the sponsor
                             sponsor note
                                     note and the World
                                          and the World Directory
                                                        Directory were
                                                                  were

2
2      -- as
       -- as to
             to Dr.
                Dr. Tulp
                    Tulp would
                         would have
                               have on the ability
                                    on the         for USAT
                                           ability for      to provide
                                                       USAT to provide

3
3      medical education
       medical education generally to students
                         generally to          in Montserrat,
                                      students in Montserrat, who
                                                              who have
                                                                  have

 4
 4     no inclination of
       no inclination of coming
                         coming to
                                to ECFMG?
                                   ECFMG?

5
5           A
            A     Yeah, they --
                  Yeah, they --

6
6                 MR. REIL:
                  MR. REIL:    Objection to
                               Objection to the
                                            the question.
                                                question.       It's compound
                                                                It's compound

 7
 7     and I think
       and I think there
                   there has to be
                         has to be a foundation that
                                   a foundation that the
                                                     the witness
                                                         witness has
                                                                 has

8
8      some
       some personal
            personal knowledge
                     knowledge here.
                               here.          She's
                                              She's not in as
                                                    not in as an expert.
                                                              an expert.

 9
 9                MS. MCENROE:
                  MS. MCENROE:     I'll withdraw
                                   I'll          the question
                                        withdraw the          then.
                                                     question then.

10
10                THE
                  THE COURT:
                      COURT:    Okay.
                                Okay.

11
11     BY MS.
       BY MS. MCENROE:
              MCENROE:

12
12          Q
            Q     Ms. Corrado,
                  Ms. Corrado, we
                               we were talking briefly
                                  were talking briefly about
                                                       about

13
13     recertification in the
       recertification in the Caribbean.
                              Caribbean.          Do
                                                  Do you
                                                     you remember that?
                                                         remember that?

14
14          A
            A     Uh-huh.
                  Uh-huh.

15
15          Q
            Q     And you
                  And     mentioned another
                      you mentioned another school that had
                                            school that had gone
                                                            gone

16
16     through a
       through a process of investigation.
                 process of investigation.         What school
                                                   What school was that?
                                                               was that?

17
17          A
            A     Atlantic University
                  Atlantic University School of Medicine
                                      School of Medicine in
                                                         in St.
                                                            St. Lucia.
                                                                Lucia.

18
18          Q
            Q     And was
                  And     --
                      was --

19
19                THE
                  THE COURT:
                      COURT:    And I'm
                                And I'm sorry,
                                        sorry, in
                                               in where?
                                                  where?

20
20                THE WITNESS:
                  THE WITNESS:     In
                                   In St.
                                      St. Lucia.
                                          Lucia.

21
21     BY MS.
       BY MS. MCENROE:
              MCENROE:

22
22          Q
            Q     And was
                  And     there any
                      was there any finding
                                    finding of irregular behavior
                                            of irregular          as to
                                                         behavior as to

23
23     any medical
       any medical school official in
                   school official in that
                                      that --
                                           --

24
24          A
            A     Yes.
                  Yes.

25
25          Q
            Q     -- investigation?
                  -- investigation?



                                  SAppx0459
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1
1           A
            A      Yes.
                   Yes.

2
2           Q
            Q      And what
                   And what was the action
                            was the action or
                                           or what
                                              what was the finding,
                                                   was the finding, if
                                                                    if

3
3      any, of the
       any, of the --
                   -- ECFMG
                      ECFMG with
                            with respect to that
                                 respect to that medical
                                                 medical school
                                                         school

 4
 4     official?
       official?

5
5           A
            A      The --
                   The --

6
6                  MR. REIL:
                   MR. REIL:    Objection to
                                Objection to another investigation.
                                             another investigation.

 7
 7     Relevance.
       Relevance.

8
8                  THE
                   THE COURT:
                       COURT:   Relevance?
                                Relevance?

 9
 9                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor,
                                        Honor, I'm just trying
                                               I'm just trying to
                                                               to

10
10     establish there's
       establish there's a
                         a precedent
                           precedent here for how
                                     here for     ECFMG conducted
                                              how ECFMG conducted

11
11     itself.
       itself.

12
12                 THE
                   THE COURT:
                       COURT:   Overruled.
                                Overruled.    Go ahead.
                                              Go ahead.

13
13                 THE WITNESS:
                   THE WITNESS:    So ECFMG found
                                   So ECFMG found that
                                                  that officials and
                                                       officials and

14
14     employees of
       employees of the
                    the university
                        university had engaged in
                                   had engaged in irregular
                                                  irregular behavior.
                                                            behavior.

15
15     And they
       And they were similarly sanctioned
                were similarly            in that.
                               sanctioned in that.

16
16                 They are --
                   They are -- they
                               they have been --
                                    have been -- we
                                                 we will not accept
                                                    will not accept

17
17     documents
       documents certified by those
                 certified by those officials
                                    officials for
                                              for a minimum of
                                                  a minimum    five
                                                            of five

18
18     years after which
       years after       they have
                   which they      to meet
                              have to meet certain
                                           certain requirements if we
                                                   requirements if we

19
19     will
       will consider them again
            consider them again for
                                for that
                                    that school or for
                                         school or for any
                                                       any other
                                                           other

20
20     medical school.
       medical school.

21
21          Q
            Q      We also
                   We also talked
                           talked briefly
                                  briefly a little earlier
                                          a little earlier when looking
                                                           when looking

22
22     at the
       at the sponsor
              sponsor note about enhanced
                      note about enhanced procedures on students
                                          procedures on students at
                                                                 at

23
23     USAT.
       USAT.    Do
                Do you
                   you remember that?
                       remember that?

24
24          A
            A      Yes.
                   Yes.

25
25          Q
            Q      And you
                   And     mentioned that
                       you mentioned that pertained to the
                                          pertained to the affidavit
                                                           affidavit




                                  SAppx0460
                                  SAppx0460
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1
1      process; is that
       process; is that correct?
                        correct?

2
2           A
            A     That's
                  That's correct.
                         correct.

3
3           Q
            Q     Was --
                  Was -- has ECFMG ever
                         has ECFMG ever used a similar
                                        used a         enhanced
                                               similar enhanced

 4
 4     procedure on any
       procedure on any other
                        other medical
                              medical school?
                                      school?

5
5           A
            A     Yes, in the
                  Yes, in the case of the
                              case of the Atlantic
                                          Atlantic University
                                                   University School of
                                                              School of

6
6      Medicine for
       Medicine for one,
                    one, but
                         but others
                             others as
                                    as well.
                                       well.

 7
 7          Q
            Q     And in
                  And in any
                         any of
                             of those
                                those other
                                      other circumstances
                                            circumstances when ECFMG
                                                          when ECFMG

8
8      has imposed enhanced
       has imposed enhanced procedures
                            procedures involving
                                       involving these
                                                 these affidavits,
                                                       affidavits, has
                                                                   has

 9
 9     it ever
       it ever been
               been that
                    that there
                         there were then no
                               were then    findings of
                                         no findings of irregular
                                                        irregular

10
10     behavior or
       behavior or no
                   no changes to a
                      changes to a sponsor
                                   sponsor note
                                           note as a result?
                                                as a result?

11
11          A
            A     Yes.
                  Yes.

12
12          Q
            Q     Has ECFMG ever
                  Has ECFMG ever investigated
                                 investigated other
                                              other medical
                                                    medical schools
                                                            schools

13
13     where there was
       where there was communication
                       communication with the medical
                                     with the medical school about a
                                                      school about a

14
14     change to a
       change to a sponsor note and
                   sponsor note     then the
                                and then the medical
                                             medical school
                                                     school was
                                                            was able
                                                                able

15
15     to provide
       to         ECFMG with
          provide ECFMG      the information
                        with the information sought?
                                             sought?

16
16          A
            A     Yes, there has.
                  Yes, there has.

17
17          Q
            Q     And then
                  And then in
                           in that
                              that circumstance,
                                   circumstance, was there any
                                                 was there any change
                                                               change

18
18     to the
       to the medical
              medical school
                      school listing
                             listing the
                                     the sponsor
                                         sponsor note?
                                                 note?

19
19          A
            A     Yes,
                  Yes, we
                       we updated the sponsor
                          updated the sponsor note.
                                              note.

20
20          Q
            Q     To
                  To reflect?
                     reflect?

21
21          A
            A     To
                  To reflect that the
                     reflect that the graduates
                                      graduates were eligible once
                                                were eligible once

22
22     again for certification.
       again for certification.

23
23          Q
            Q     Was it
                  Was it your intention if
                         your intention if that
                                           that information
                                                information had been
                                                            had been

24
24     provided that was
       provided that was requested from Dr.
                         requested from Dr. Tulp
                                            Tulp with
                                                 with regards to the
                                                      regards to the

25
25     eligibility --
       eligibility -- sorry, authorization to
                      sorry, authorization to have medical school
                                              have medical school




                                  SAppx0461
                                  SAppx0461
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1
1      education in
       education in the
                    the United
                        United States
                               States been
                                      been provided to ECFMG
                                           provided to ECFMG that
                                                             that

2
2      ECFMG would
       ECFMG would do the same
                   do the same thing
                               thing in
                                     in this
                                        this circumstance?
                                             circumstance?

3
3           A
            A     Yes.
                  Yes.

 4
 4                MS. MCENROE:
                  MS. MCENROE:     I have
                                   I have no further questions
                                          no further           at this
                                                     questions at this

5
5      time.
       time.

6
6                 THE
                  THE COURT:
                      COURT:    Mr. Reil,
                                Mr. Reil, you
                                          you have
                                              have redirect on your
                                                   redirect on      own
                                                               your own

 7
 7     witness and cross
       witness and       on Ms.
                   cross on Ms. McEnroe's
                                McEnroe's witness.
                                          witness.

8
8                 MR. REIL:
                  MR. REIL:    Brief redirect,
                               Brief redirect, Your
                                               Your Honor.
                                                    Honor.

 9
 9                THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.

10
10                              REDIRECT EXAMINATION
                                REDIRECT EXAMINATION

11
11     BY MR.
       BY MR. REIL:
              REIL:

12
12          Q
            Q     You just gave
                  You just gave some testimony, Ms.
                                some testimony, Ms. Corrado,
                                                    Corrado, concerning
                                                             concerning

13
13     the affidavits,
       the affidavits, Exhibit
                       Exhibit D, the affidavits
                               D, the affidavits of these students
                                                 of these students

14
14     filled out
       filled out that
                  that ECFMG
                       ECFMG sent
                             sent to
                                  to them.
                                     them.        Would you
                                                  Would     take a
                                                        you take   look at
                                                                 a look at

15
15     that affidavit
       that affidavit on
                      on page
                         page 10?
                              10?       I have
                                        I have a
                                               a question
                                                 question on it.
                                                          on it.

16
16          A
            A     I have
                  I      it, sir.
                    have it, sir.

17
17          Q
            Q     Okay, did
                  Okay,     ECFMG in
                        did ECFMG in that
                                     that affidavit
                                          affidavit threaten
                                                    threaten the
                                                             the

18
18     students
       students with irregular behavior
                with irregular          if they
                               behavior if they didn't fill out
                                                didn't fill out the
                                                                the

19
19     affidavit?
       affidavit?

20
20          A
            A     No,
                  No, sir.
                      sir.

21
21          Q
            Q     If you
                  If you go to page
                         go to page 11
                                    11 there.
                                       there.       Okay, if
                                                    Okay, if you
                                                             you go
                                                                 go down
                                                                    down on
                                                                         on

22
22     page 11 to
       page 11 to I
                  I guess the second
                    guess the        to the
                              second to the last
                                            last paragraph,
                                                 paragraph, where it
                                                            where it

23
23     says ECFMG reserves
       says ECFMG          the right.
                  reserves the right.         Do
                                              Do you
                                                 you see that?
                                                     see that?

24
24          A
            A     Uh-huh.
                  Uh-huh.

25
25          Q
            Q     Please read
                  Please      it into
                         read it into the
                                      the record, that sentence.
                                          record, that sentence.




                                  SAppx0462
                                  SAppx0462
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1
1           A
            A      "ECFMG reserves
                   "ECFMG          the right
                          reserves the       to bring
                                       right to bring allegations of
                                                      allegations of

2
2      irregular behavior
       irregular behavior against
                          against you in accordance
                                  you in accordance with its policies
                                                    with its policies

3
3      and
       and procedures
           procedures showing ECFMG obtained
                      showing ECFMG obtained information
                                             information that
                                                         that

 4
 4     indicates that
       indicates that you
                      you have engaged in
                          have engaged in irregular
                                          irregular behavior
                                                    behavior with
                                                             with

5
5      respect to any
       respect to any documentation
                      documentation submitted
                                    submitted as
                                              as part of this
                                                 part of this

6
6      process."
       process."

 7
 7          Q
            Q      All right,
                   All right, now
                              now what
                                  what was the purpose
                                       was the purpose of ECFMG putting
                                                       of ECFMG putting

8
8      the --
       the -- that
              that language
                   language with the affidavit?
                            with the affidavit?

 9
 9          A
            A      This is to
                   This is to serve as a
                              serve as a reminder to those
                                         reminder to those students that
                                                           students that

10
10     they need
       they      to provide
            need to provide correct
                            correct and
                                    and accurate information to
                                        accurate information to ECFMG.
                                                                ECFMG.

11
11     And that
       And that if
                if they
                   they don't, they could
                        don't, they could be
                                          be subject to our
                                             subject to our irregular
                                                            irregular

12
12     behavior procedures.
       behavior procedures.

13
13          Q
            Q      What if
                   What if they
                           they didn't fill out
                                didn't fill     the affidavit?
                                            out the affidavit?

14
14          A
            A      There
                   There were a number
                         were a        of students
                                number of          that didn't
                                          students that        fill out
                                                        didn't fill out

15
15     the affidavit.
       the affidavit.    They -- we
                         They --    just don't
                                 we just       -- we
                                         don't -- we won't
                                                     won't provide
                                                           provide

16
16     services to them
       services to them until they fill
                        until they fill it
                                        it out.
                                           out.

17
17          Q
            Q      I see.
                   I see.   All right,
                            All right, when
                                       when you
                                            you say
                                                say you
                                                    you won't
                                                        won't provide
                                                              provide

18
18     services to them,
       services to them, if
                         if you
                            you don't
                                don't provide
                                      provide services to them,
                                              services to them, that
                                                                that

19
19     means they'll
       means they'll never be able
                     never be      to become
                              able to become a
                                             a practicing
                                               practicing physician in
                                                          physician in

20
20     the United
       the        States, am
           United States, am I
                             I correct?
                               correct?

21
21          A
            A      It means
                   It means they
                            they won't be able
                                 won't be      to proceed
                                          able to         to get
                                                  proceed to     ECFMG
                                                             get ECFMG

22
22     certification.
       certification.

23
23          Q
            Q      ECFMG certification
                   ECFMG               is necessary
                         certification is           for a
                                          necessary for   foreign
                                                        a foreign

24
24     medical student
       medical         to practice
               student to practice as
                                   as a
                                      a physician in the
                                        physician in the United
                                                         United

25
25     States?
       States?




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1
1                 MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Asked and
                                                               Asked and

2
2      answered and also
       answered and also to
                         to the
                            the extent
                                extent it
                                       it purports to seek
                                          purports to seek a legal
                                                           a legal

3
3      conclusion.
       conclusion.

 4
 4                MR. REIL:
                  MR. REIL:    I'll withdraw
                               I'll          the question,
                                    withdraw the question, Your
                                                           Your Honor.
                                                                Honor.

5
5      BY MR.
       BY MR. REIL:
              REIL:

6
6           Q
            Q     Okay, there
                  Okay, there was
                              was some testimony that
                                  some testimony that was elicited
                                                      was elicited

 7
 7     before my
       before my examination
                 examination where
                             where you
                                   you were
                                       were asked about a
                                            asked about a campus.
                                                          campus.              Do
                                                                               Do

8
8      you
       you remember that?
           remember that?

 9
 9          A
            A     Yes.
                  Yes.

10
10          Q
            Q     Does ECFMG define
                  Does ECFMG        anywhere in
                             define anywhere in its
                                                its policies
                                                    policies or
                                                             or

11
11     procedures
       procedures what a campus
                  what a campus is?
                                is?

12
12          A
            A     Not to my
                  Not to my knowledge.
                            knowledge.

13
13                MR. REIL:
                  MR. REIL:    That's all I
                               That's all I have,
                                            have, Your
                                                  Your Honor.
                                                       Honor.

14
14                THE
                  THE COURT:
                      COURT:    Okay, thank
                                Okay, thank you
                                            you very
                                                very much.
                                                     much.       You can leave
                                                                 You can leave

15
15     the stand.
       the stand.

16
16                THE WITNESS:
                  THE WITNESS:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

17
17          (Witness excused)
            (Witness excused)

18
18                THE
                  THE COURT:
                      COURT:    We're going
                                We're       to take
                                      going to take a five-minute break
                                                    a five-minute break

19
19     and
       and get back and
           get back and have Ms. Cover
                        have Ms.       on the
                                 Cover on the stand
                                              stand ready to go
                                                    ready to go when
                                                                when

20
20     we
       we get back in.
          get back in.

21
21                THE
                  THE COURT RECORDER:
                      COURT RECORDER:         All rise.
                                              All rise.

22
22                THE
                  THE COURT:
                      COURT:    Thank
                                Thank you.
                                      you.

23
23          (Recess at 3:21
            (Recess at 3:21 p.m.,
                            p.m., until
                                  until 3:32
                                        3:32 p.m.)
                                             p.m.)

24
24                THE
                  THE COURT RECORDER:
                      COURT RECORDER:         All rise.
                                              All rise.

25
25                THE
                  THE COURT:
                      COURT:    Okay, Mr.
                                Okay, Mr. Reil,
                                          Reil, the
                                                the witness please?
                                                    witness please?




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                                  SAppx0464
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1                 THE
                  THE COURT RECORDER:
                      COURT RECORDER:         Please raise
                                              Please raise your
                                                           your right
                                                                right hand.
                                                                      hand.

2
2      State and spell
       State and spell your name for
                       your name for the
                                     the record?
                                         record?

3
3                 THE WITNESS:
                  THE WITNESS:     Lisa Brenda Cover,
                                   Lisa Brenda Cover, L-I-S-A
                                                      L-I-S-A C-O-V-E-R.
                                                              C-O-V-E-R.

 4
 4                                     LISA COVER
                                       LISA COVER

5
5      called as a
       called as a witness for the
                   witness for the Plaintiff,
                                   Plaintiff, having
                                              having been
                                                     been duly
                                                          duly sworn
                                                               sworn

6
6      testified as
       testified as follows:
                    follows:

 7
 7                THE
                  THE COURT:
                      COURT:    Have a
                                Have a seat.
                                       seat.       Your
                                                   Your witness?
                                                        witness?

8
8                 MR. REIL:
                  MR. REIL:    Your Honor, at
                               Your Honor,    this point,
                                           at this point, we
                                                          we have
                                                             have decided
                                                                  decided

 9
 9     not to examine
       not to examine Ms.
                      Ms. Cover.
                          Cover.

10
10                THE
                  THE COURT:
                      COURT:    Oh, okay.
                                Oh, okay.

11
11                MR. REIL:
                  MR. REIL:    With no
                               With    objection if
                                    no objection if the
                                                    the Court
                                                        Court allows.
                                                              allows.

12
12                THE
                  THE COURT:
                      COURT:    Would you
                                Would     -- Ms.
                                      you -- Ms. McEnroe,
                                                 McEnroe, would
                                                          would have
                                                                have

13
13     brought in
       brought in Ms.
                  Ms. Cover in your
                      Cover in your case in chief?
                                    case in chief?

14
14                MS. MCENROE:
                  MS. MCENROE:     No
                                   No questions.
                                      questions.

15
15                THE
                  THE COURT:
                      COURT:    Okay, you
                                Okay,     can leave
                                      you can leave the
                                                    the stand.
                                                        stand.

16
16                THE WITNESS:
                  THE WITNESS:     Thank
                                   Thank you.
                                         you.

17
17          (Witness excused)
            (Witness excused)

18
18                THE
                  THE COURT:
                      COURT:    Okay, let's
                                Okay, let's have -- would
                                            have -- would you
                                                          you want -- do
                                                              want -- do

19
19     you
       you want to put
           want to put Mr.
                       Mr. Tulp
                           Tulp on -- Dr.
                                on -- Dr. Tulp on the
                                          Tulp on the stand?
                                                      stand?

20
20                MR. REIL:
                  MR. REIL:    Yes.
                               Yes.    And with
                                       And      the Court's
                                           with the         permission,
                                                    Court's permission,

21
21     Attorney Swate
       Attorney Swate will examine Dr.
                      will examine Dr. Tulp.
                                       Tulp.

22
22                THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.

23
23                THE
                  THE COURT RECORDER:
                      COURT RECORDER:         Raise your
                                              Raise your right
                                                         right hand.
                                                               hand.   State
                                                                       State

24
24     your
       your name for the
            name for the record?
                         record?

25
25                THE WITNESS:
                  THE WITNESS:     Dr.
                                   Dr. Orien
                                       Orien Lee
                                             Lee Tulp.
                                                 Tulp.




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1
1                                      ORIEN TULP
                                       ORIEN TULP

2
2      Plaintiff, having
       Plaintiff,        been duly
                  having been duly sworn testified as
                                   sworn testified    follows:
                                                   as follows:

3
3                 THE
                  THE COURT:
                      COURT:    Have a
                                Have a seat.
                                       seat.

 4
 4                Your
                  Your witness.
                       witness.

5
5                 MR. SWATE:
                  MR. SWATE:    If it
                                If it please
                                      please the
                                             the Court.
                                                 Court.

6
6                                DIRECT EXAMINATION
                                 DIRECT EXAMINATION

 7
 7     BY MR.
       BY MR. SWATE:
              SWATE:

8
8           Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, what is your
                            what is your professional
                                         professional position
                                                      position

 9
 9     currently?
       currently?

10
10          A
            A     I'm president
                  I'm           of the
                      president of the University
                                       University of
                                                  of Science, Art, and
                                                     Science, Art, and

11
11     Technology.
       Technology.

12
12          Q
            Q     And that's
                  And that's USAT?
                             USAT?

13
13          A
            A     That's
                  That's USAT.
                         USAT.

14
14          Q
            Q     And how
                  And     long has
                      how long has USAT been in
                                   USAT been in operation?
                                                operation?

15
15          A
            A     15 years,
                  15 years, 4 months.
                            4 months.

16
16          Q
            Q     All right,
                  All        are you
                      right, are     a part
                                 you a part owner
                                            owner of
                                                  of USAT?
                                                     USAT?

17
17          A
            A     Yes.
                  Yes.

18
18          Q
            Q     What credentials
                  What             that you
                       credentials that you have, just briefly,
                                            have, just          to
                                                       briefly, to

19
19     support
       support your position at
               your position at present?
                                present?

20
20          A
            A     There -- I
                  There -- I have a Ph.D.,
                             have a Ph.D., two
                                           two PhDs,
                                               PhDs, an M.D.
                                                     an M.D.          And I've
                                                                      And I've

21
21     been active
       been active as
                   as a
                      a professor
                        professor for
                                  for over
                                      over 40
                                           40 years.
                                              years.

22
22          Q
            Q     Now for most
                  Now for most of
                               of your professional life,
                                  your professional life, 43
                                                          43 years,
                                                             years, do
                                                                    do

23
23     you -- what,
       you --       a military
              what, a military officer?
                               officer?

24
24          A
            A     Yes, I was.
                  Yes, I was.    I served
                                 I        in the
                                   served in the United
                                                 United States Army,
                                                        States Army,

25
25     active in Reserve
       active in Reserve components
                         components 43
                                    43 years, 5 months,
                                       years, 5 months, and
                                                        and 26
                                                            26 days.
                                                               days.




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                                  SAppx0466
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1
1           Q
            Q     Did
                  Did you
                      you receive any awards?
                          receive any awards?

2
2           A
            A     Yes, I have
                  Yes, I      many.
                         have many.

3
3           Q
            Q     Well, just
                  Well, just a
                             a couple?
                               couple?

 4
 4          A
            A     Including the
                  Including the Congressional Award of
                                Congressional Award    Regional Merit,
                                                    of Regional Merit,

5
5      including three
       including three meritorious
                       meritorious service
                                   service awards, two from
                                           awards, two from the
                                                            the

6
6      Commonwealth of Pennsylvania,
       Commonwealth of Pennsylvania, and
                                     and commendation metals, the
                                         commendation metals, the

 7
 7     Citizenship Medal from
       Citizenship Medal from the
                              the Sons
                                  Sons of American Resolution
                                       of American            --
                                                   Resolution --

8
8      Revolution.
       Revolution.

 9
 9          We have
            We      many, many
               have many, many awards
                               awards that
                                      that I've
                                           I've received over the
                                                received over the

10
10     course of my
       course of my military
                    military career,
                             career, including
                                     including the
                                               the eighth
                                                   eighth award
                                                          award of the
                                                                of the

11
11     Garde
       Garde Nationale, the eighth
             Nationale, the eighth one
                                   one in
                                       in history
                                          history was
                                                  was awarded to me
                                                      awarded to me

12
12     for having
       for        a significant
           having a significant academic and professional
                                academic and professional career
                                                          career and
                                                                 and

13
13     simultaneous to my
       simultaneous to my military
                          military career.
                                   career.

14
14          Q
            Q     Have
                  Have you
                       you received any public
                           received any public awards?
                                               awards?

15
15          A
            A     Yes, I've received
                  Yes, I've          several presidential
                            received several presidential voluntary
                                                          voluntary

16
16     service awards from
       service awards from several
                           several presidents of the
                                   presidents of the United States.
                                                     United States.

17
17     And I
       And I received an exultation
             received an exultation from
                                    from President
                                         President William
                                                   William Jefferson
                                                           Jefferson

18
18     Clinton in 1986.
       Clinton in 1986.

19
19          Q
            Q     In the
                  In the years that you
                         years that you operated in medical
                                        operated in medical school,
                                                            school,

20
20     what
       what has been the
            has been the experience
                         experience of
                                    of your
                                       your students as far
                                            students as far as the
                                                            as the

21
21     results of the
       results of the testing
                      testing done
                              done by ECFMG and
                                   by ECFMG and USMLE?
                                                USMLE?

22
22          A
            A     They've
                  They've done very well.
                          done very well.      We, you
                                               We, you know, provide high
                                                       know, provide high

23
23     quality instruction.
       quality instruction.     The
                                The vast
                                    vast majority of our
                                         majority of our courses, the --
                                                         courses, the --

24
24     the entire,
       the entire, the
                   the full
                       full first
                            first year they can
                                  year they     take from
                                            can take from Montserrat
                                                          Montserrat

25
25     or they
       or they can take from
               can take from virtually
                             virtually anywhere, because there's
                                       anywhere, because there's --
                                                                 --



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1
1      we've
       we've developed beginning 10
             developed beginning 10 years
                                    years ago, because of
                                          ago, because of the
                                                          the volcano,
                                                              volcano,

2
2      we
       we developed
          developed something
                    something called SPOC, Small
                              called SPOC, Small Platform
                                                 Platform Online
                                                          Online

3
3      courses
       courses where
               where you
                     you have
                         have high
                              high quality, the best
                                   quality, the best we
                                                     we can find, all
                                                        can find, all

 4
 4     U.S.
       U.S. certified instructors all
            certified instructors all have taught in
                                      have taught in U.S.
                                                     U.S. medical
                                                          medical

5
5      schools and are
       schools and are all
                       all --
                           -- were board certified
                              were board           in their
                                         certified in their fields.
                                                            fields.

6
6           They
            They present these courses.
                 present these courses.       So they
                                              So they can take them
                                                      can take them pretty
                                                                    pretty

 7
 7     from Montserrat,
       from Montserrat, and
                        and many,
                            many, many
                                  many have
                                       have over the years,
                                            over the        from
                                                     years, from

8
8      anywhere in the
       anywhere in the world.
                       world.

 9
 9          Q
            Q     What has
                  What     been your
                       has been      --
                                your --

10
10                THE
                  THE COURT:
                      COURT:    Mr. --
                                Mr. -- sorry,
                                       sorry, can
                                              can you just get
                                                  you just get to
                                                               to the
                                                                  the

11
11     chase?
       chase?   I accept
                I accept that
                         that Dr.
                              Dr. Tulp
                                  Tulp has these qualifications
                                       has these qualifications and I
                                                                and I

12
12     am for the
       am for the purposes
                  purposes of
                           of this
                              this preliminary injunction hearing,
                                   preliminary injunction hearing,

13
13     that is
       that is not
               not what
                   what we're talking about.
                        we're talking about.

14
14                MR. SWATE:
                  MR. SWATE:    Yes,
                                Yes, Your Honor.
                                     Your Honor.

15
15                THE
                  THE COURT:
                      COURT:    Just cut to
                                Just cut to the
                                            the chase.
                                                chase.

16
16     BY MR.
       BY MR. SWATE:
              SWATE:

17
17          Q
            Q     All right,
                  All right, what is required
                             what is required by every state
                                              by every       in the
                                                       state in the

18
18     union for an
       union for an international
                    international medical
                                  medical graduate to apply
                                          graduate to apply for
                                                            for a
                                                                a

19
19     medical license,
       medical license, whether either restricted
                        whether either            or permanent?
                                       restricted or permanent?

20
20          A
            A     They must have
                  They must      ECFMG certification.
                            have ECFMG certification.         There's the only
                                                              There's the only

21
21     access that's available
       access that's available to
                               to them.
                                  them.

22
22          Q
            Q     Can a medical
                  Can a medical student
                                student United -- international
                                        United -- international medical
                                                                medical

23
23     student be licensed
       student be licensed without that certificate
                           without that             or license?
                                        certificate or license?

24
24          A
            A     Not in the
                  Not in the United States of
                             United States    America
                                           of America

25
25                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Foundation.
                                                               Foundation.




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                                  SAppx0468
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1
1                 THE
                  THE COURT:
                      COURT:    Basis?
                                Basis?        I mean,
                                              I mean, granted.
                                                      granted.   Sustained.
                                                                 Sustained.

2
2                 MS. MCENROE:
                  MS. MCENROE:     It's
                                   It's been
                                        been a long afternoon,
                                             a long afternoon, Your Honor.
                                                               Your Honor.

3
3                 THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

 4
 4                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you.
                                         you.

5
5                 THE
                  THE COURT:
                      COURT:    You
                                You can lay some
                                    can lay      foundation and
                                            some foundation and perhaps
                                                                perhaps

6
6      get there.
       get there.

 7
 7     BY MR.
       BY MR. SWATE:
              SWATE:

8
8           Q
            Q     Well, what
                  Well,      -- getting
                        what --         to the
                                getting to the chase,
                                               chase, what evidence was
                                                      what evidence was

 9
 9     presented by ECFMG
       presented by ECFMG owned
                          owned on the 28th
                                on the      that you
                                       28th that you had
                                                     had committed
                                                         committed any
                                                                   any

10
10     kind of bad
       kind of bad act?
                   act?

11
11          A
            A     None.
                  None.

12
12          Q
            Q     When did
                  When did you find out
                           you find out about
                                        about the
                                              the notebook
                                                  notebook with the
                                                           with the

13
13     various evidence that
       various evidence that was -- that
                             was -- that had been given
                                         had been given to
                                                        to the
                                                           the members
                                                               members

14
14     of the
       of the committee that was
              committee that was supposed to hear
                                 supposed to hear your
                                                  your case?
                                                       case?

15
15          A
            A     On the
                  On the 28th of November,
                         28th of           it was
                                 November, it was placed on the
                                                  placed on the table.
                                                                table.

16
16     It had
       It had no label.
              no label.     We didn't
                            We didn't know
                                      know what it was.
                                           what it was.          It was
                                                                 It     just a
                                                                    was just a

17
17     black book
       black book that
                  that was sitting there.
                       was sitting there.          We had
                                                   We had no opportunity to
                                                          no opportunity to

18
18     review it in
       review it in advance.
                    advance.

19
19          Q
            Q     What evidence
                  What evidence was produced by
                                was produced    the ECFMG
                                             by the ECFMG at
                                                          at that
                                                             that

20
20     meeting that
       meeting that support
                    support any
                            any allegations?
                                allegations?

21
21          A
            A     None.
                  None.

22
22          Q
            Q     What effect
                  What effect does ECFMG placing
                              does ECFMG         that notation
                                         placing that notation on that
                                                               on that

23
23     world list of
       world list of medical
                     medical schools
                             schools have on you
                                     have on you personally,
                                                 personally, and then
                                                             and then

24
24     I'll get
       I'll     to the
            get to the medical
                       medical school?
                               school?

25
25          A
            A     Well, it
                  Well, it certainly blemishes my
                           certainly blemishes my reputation
                                                  reputation




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                                  SAppx0469
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1
1      tremendously.
       tremendously.      In over
                          In over 50
                                  50 years,
                                     years, I've
                                            I've never
                                                 never had a single
                                                       had a single

2
2      complaint from a
       complaint from a student,
                        student, a
                                 a patient,
                                   patient, a
                                            a board,
                                              board, nothing.
                                                     nothing.           I never
                                                                        I never

3
3      expected this.
       expected this.

 4
 4          Q
            Q      When was
                   When     that notation
                        was that          first placed?
                                 notation first placed?

5
5           A
            A      Prior to
                   Prior to September
                            September 11th,
                                      11th, 2018.
                                            2018.       That
                                                        That was the last
                                                             was the last

6
6      date entered on
       date entered on the
                       the sponsor
                           sponsor note
                                   note when it was
                                        when it     -- when
                                                was --      it
                                                       when it

 7
 7     appeared.
       appeared.

8
8           Q
            Q      Was that
                   Was that note placed prior
                            note placed prior to
                                              to any
                                                 any hearing or any
                                                     hearing or any

 9
 9     allegations?
       allegations?

10
10          A
            A      Yes.
                   Yes.

11
11          Q
            Q      Now the ECFMG
                   Now the ECFMG agreed that up
                                 agreed that up until
                                                until January the 1st,
                                                      January the 1st,

12
12     2019, they would
       2019, they       accept documentations
                  would accept                from the
                               documentations from the USAT
                                                       USAT students,
                                                            students,

13
13     correct?
       correct?

14
14          A
            A      That is correct.
                   That is correct.

15
15                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, foundation about
                                        Honor, foundation about what ECFMG
                                                                what ECFMG

16
16     was
       was sent.
           sent.

17
17                 THE
                   THE COURT:
                       COURT:   Sustained.
                                Sustained.

18
18                 MR. SWATE:
                   MR. SWATE:   Ma'am?
                                Ma'am?

19
19                 THE
                   THE COURT:
                       COURT:   Sustained, go
                                Sustained, go ahead.
                                              ahead.      Lay some
                                                          Lay some

20
20     foundation.
       foundation.

21
21     BY MR.
       BY MR. SWATE:
              SWATE:

22
22          Q
            Q      You
                   You were
                       were given a letter
                            given a letter from
                                           from the
                                                the ECFMG
                                                    ECFMG that
                                                          that stated
                                                               stated

23
23     that up
       that up until
               until January the 1st,
                     January the 1st, 2019,
                                      2019, documentation
                                            documentation would be
                                                          would be

24
24     accepted?
       accepted?

25
25          A
            A      That is correct.
                   That is correct.




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                                  SAppx0470
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1           Q
            Q     What harm
                  What harm resulted from allowing
                            resulted from          the USAT
                                          allowing the      to operate
                                                       USAT to operate

2
2      until
       until January the 1st,
             January the 1st, 2019?
                              2019?

3
3           A
            A     I am
                  I am unaware of any
                       unaware of any harm
                                      harm whatsoever.
                                           whatsoever.

 4
 4          Q
            Q     Well, what
                  Well,      magically happened
                        what magically happened at
                                                at midnight on January
                                                   midnight on January

5
5      the 1st,
       the 1st, 2019
                2019 or
                     or December the 31st,
                        December the       2018?
                                     31st, 2018?

6
6           A
            A     ECFMG would
                  ECFMG would no longer accept
                              no longer accept --
                                               --

 7
 7                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor --
                                                   Honor --

8
8                 THE
                  THE COURT:
                      COURT:    What?
                                What?     You finish
                                          You finish your
                                                     your question.
                                                          question.

 9
 9                You
                  You hold.
                      hold.

10
10                Finish
                  Finish your
                         your question.
                              question.

11
11     BY MR.
       BY MR. SWATE:
              SWATE:

12
12          Q
            Q     What occurred
                  What occurred that
                                that would
                                     would cause the ECFMG
                                           cause the ECFMG on
                                                           on December
                                                              December

13
13     the 31st,
       the 31st, 2018
                 2018 to
                      to accept
                         accept documentation
                                documentation and then after
                                              and then after that
                                                             that date
                                                                  date

14
14     not accept documentation,
       not accept                if you
                  documentation, if you know?
                                        know?

15
15          A
            A     Nothing.
                  Nothing.

16
16                THE
                  THE COURT:
                      COURT:    Hold on.
                                Hold on.      Any objection?
                                              Any objection?

17
17                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Foundation.
                                                               Foundation.

18
18                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.     Also, compound.
                                               Also, compound.

19
19     BY MR.
       BY MR. SWATE:
              SWATE:

20
20          Q
            Q     What damages,
                  What          if any,
                       damages, if any, is
                                        is occurring
                                           occurring while
                                                     while allowing
                                                           allowing

21
21     ECFMG to
       ECFMG to post
                post those
                     those notes
                           notes on that world
                                 on that       internet site
                                         world internet      listing
                                                        site listing

22
22     medical schools?
       medical schools?

23
23                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Foundation.
                                                               Foundation.

24
24                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.      Foundation?
                                                Foundation?

25
25     BY MR.
       BY MR. SWATE:
              SWATE:



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1
1           Q
            Q     Are you
                  Are     --
                      you --

2
2           A
            A     Yes.
                  Yes.

3
3           Q
            Q     Are you
                  Are     aware that
                      you aware that the
                                     the notice
                                         notice has
                                                has been
                                                    been posted,
                                                         posted,

 4
 4     correct?
       correct?

5
5           A
            A     Yes, I'm aware
                  Yes, I'm aware the
                                 the notice
                                     notice was
                                            was posted.
                                                posted.

6
6           Q
            Q     Do
                  Do you
                     you have any personal
                         have any personal knowledge of the
                                           knowledge of the effect
                                                            effect of
                                                                   of

 7
 7     posting that notice?
       posting that notice?

8
8           A
            A     Yes.
                  Yes.

 9
 9          Q
            Q     What's your
                  What's your knowledge?
                              knowledge?

10
10          A
            A     It really
                  It        eliminates all
                     really eliminates all new
                                           new applications
                                               applications and it
                                                            and it

11
11     prevents the university
       prevents the            from collecting
                    university from            any uncollected
                                    collecting any uncollected

12
12     tuition.
       tuition.

13
13          Q
            Q     What harm
                  What harm would
                            would result from allowing
                                  result from allowing USA -- by
                                                       USA -- by

14
14     allowing ECFMG to
       allowing ECFMG to continue
                         continue accepting
                                  accepting documents from USAT
                                            documents from USAT

15
15     students
       students until this matter's
                until this matter's resolved?
                                    resolved?

16
16          A
            A     There is no
                  There is no harm.
                              harm.

17
17                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.

18
18                THE
                  THE COURT:
                      COURT:    Basis?
                                Basis?

19
19                MS. MCENROE:
                  MS. MCENROE:     Foundation
                                   Foundation and
                                              and also
                                                  also vague.
                                                       vague.      I'm not
                                                                   I'm not

20
20     sure exactly what
       sure exactly what he means by
                         he means by harm.
                                     harm.

21
21                THE
                  THE COURT:
                      COURT:    Sustained, sustained.
                                Sustained, sustained.

22
22                THE WITNESS:
                  THE WITNESS:     I'm
                                   I'm unaware
                                       unaware of
                                               of any
                                                  any harm.
                                                      harm.

23
23                THE
                  THE COURT:
                      COURT:    Oh, no,
                                Oh, no, don't.
                                        don't.     If I
                                                   If I sustain,
                                                        sustain, you
                                                                 you don't
                                                                     don't

24
24     answer.
       answer.

25
25                THE WITNESS:
                  THE WITNESS:     Okay.
                                   Okay.




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                                  SAppx0472
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1
1                  THE
                   THE COURT:
                       COURT:   Go ahead.
                                Go ahead.

2
2                  THE WITNESS:
                   THE WITNESS:    I'm
                                   I'm sorry,
                                       sorry, Your
                                              Your Honor.
                                                   Honor.

3
3      BY MR.
       BY MR. SWATE:
              SWATE:

 4
 4          Q
            Q      Are you
                   Are     aware of
                       you aware of the
                                    the results of them
                                        results of them posting the
                                                        posting the

5
5      information?
       information?

6
6           A
            A      Yes.
                   Yes.

 7
 7          Q
            Q      And what's
                   And        been the
                       what's been the result?
                                       result?

8
8           A
            A      The
                   The result
                       result has been that
                              has been that all tuition payments
                                            all tuition payments stopped
                                                                 stopped

 9
 9     on or
       on or before
             before October
                    October 1st.
                            1st.       And that
                                       And that has
                                                has made
                                                    made a
                                                         a major impact on
                                                           major impact on

10
10     the economy
       the economy at
                   at the
                      the university.
                          university.         We were
                                              We      admitting about
                                                 were admitting       50
                                                                about 50

11
11     students
       students per month prior
                per month prior to
                                to that.
                                   that.         Since then,
                                                 Since then, not
                                                             not one.
                                                                 one.

12
12          Q
            Q      And this
                   And this was prior to
                            was prior to any
                                         any hearing or finding
                                             hearing or finding of
                                                                of

13
13     irregular behavior,
       irregular behavior, correct?
                           correct?

14
14          A
            A      That is correct.
                   That is correct.

15
15          Q
            Q      Do
                   Do you
                      you have an opinion
                          have an opinion of
                                          of whether it would
                                             whether it       be a
                                                        would be a

16
16     positive event to
       positive event to allow
                         allow USAT to continue
                               USAT to          by ECFMG
                                       continue by ECFMG accepting
                                                         accepting

17
17     documents
       documents until this matter's
                 until this matter's resolved?
                                     resolved?

18
18                 MS. MCENROE:
                   MS. MCENROE:    Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Calls for
                                                               Calls for

19
19     opinion testimony.
       opinion testimony.

20
20                 THE
                   THE COURT:
                       COURT:   Sustained unless
                                Sustained unless you think that
                                                 you think that this
                                                                this can
                                                                     can

21
21     be fact
       be fact witness testimony, opinion
               witness testimony, opinion testimony.
                                          testimony.          Make that
                                                              Make that

22
22     argument.
       argument.

23
23                 MR. SWATE:
                   MR. SWATE:   He has
                                He     specialized knowledge.
                                   has specialized knowledge.        He's been
                                                                     He's been

24
24     an administrator for
       an administrator for 15
                            15 years.
                               years.

25
25                 THE
                   THE COURT:
                       COURT:   So you're
                                So        trying to
                                   you're trying to get
                                                    get him
                                                        him qualified
                                                            qualified as
                                                                      as




                                  SAppx0473
                                  SAppx0473
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1
1      an expert, is
       an expert, is that
                     that what --
                          what --

2
2                 MR. SWATE:
                  MR. SWATE:    Well, he
                                Well,    is an
                                      he is    expert.
                                            an expert.

3
3                 THE
                  THE COURT:
                      COURT:    Well, he's
                                Well, he's not
                                           not until I say
                                               until I say he's
                                                           he's an
                                                                an

 4
 4     expert.
       expert.

5
5                 MR. SWATE:
                  MR. SWATE:    Well, I
                                Well, I understand it, Judge.
                                        understand it, Judge.

6
6                 THE
                  THE COURT:
                      COURT:    So are
                                So are you trying to
                                       you trying to get
                                                     get him
                                                         him qualified as
                                                             qualified as

 7
 7     an expert?
       an expert?

8
8                 MR. SWATE:
                  MR. SWATE:    Okay, I
                                Okay, I understand.
                                        understand.      I will
                                                         I      attempt to
                                                           will attempt to do
                                                                           do

 9
 9     that.
       that.

10
10                THE WITNESS:
                  THE WITNESS:     Okay.
                                   Okay.

11
11                THE
                  THE COURT:
                      COURT:    Okay, I'm
                                Okay, I'm not
                                          not suggesting -- I
                                              suggesting -- I mean,
                                                              mean, if
                                                                    if

12
12     you
       you want to do
           want to    it, you
                   do it, you can try and
                              can try and do it, but
                                          do it, but we've
                                                     we've got
                                                           got go
                                                               go

13
13     through the
       through the process.
                   process.     So why
                                So why don't
                                       don't you
                                             you do it?
                                                 do it?

14
14                MR. SWATE:
                  MR. SWATE:    Yes,
                                Yes, Your Honor.
                                     Your Honor.     I understand.
                                                     I understand.

15
15                THE WITNESS:
                  THE WITNESS:     Okay,
                                   Okay, would
                                         would you
                                               you repeat that question
                                                   repeat that question

16
16     now that we've
       now that we've had --
                      had --

17
17     BY MR.
       BY MR. SWATE:
              SWATE:

18
18          Q
            Q     You've been a
                  You've been a president
                                president and
                                          and professor for USAT
                                              professor for      for 15
                                                            USAT for 15

19
19     years?
       years?

20
20          A
            A     That is correct.
                  That is correct.

21
21          Q
            Q     Are you
                  Are     familiar with
                      you familiar      the standards
                                   with the           for your
                                            standards for your students
                                                               students

22
22     being licensed
       being licensed in
                      in the
                         the United
                             United States?
                                    States?

23
23          A
            A     Yes.
                  Yes.

24
24          Q
            Q     And what's
                  And        this familiarity
                      what's this familiarity based
                                              based on?
                                                    on?

25
25          A
            A     It's based
                  It's based on
                             on experience
                                experience and
                                           and study.
                                               study.




                                  SAppx0474
                                  SAppx0474
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1
1                 MR. SWATE:
                  MR. SWATE:    Your
                                Your Honor, I would
                                     Honor, I would have
                                                    have Dr.
                                                         Dr. Tulp
                                                             Tulp

2
2      admitted as an
       admitted as an expert
                      expert in
                             in medical
                                medical administration.
                                        administration.

3
3                 MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, we
                                               we oppose.
                                                  oppose.      I don't
                                                               I don't really
                                                                       really

 4
 4     understand
       understand what an expert
                  what an expert in
                                 in medical
                                    medical administration
                                            administration is.
                                                           is.            I
                                                                          I

5
5      think that
       think that was factual testimony
                  was factual testimony that
                                        that was just being
                                             was just being elicited
                                                            elicited

6
6      about
       about why -- the
             why -- the basis
                        basis for
                              for a line of
                                  a line of questioning,
                                            questioning, which I don't
                                                         which I don't

 7
 7     have an objection
       have an objection to
                         to that,
                            that, but I don't
                                  but I don't understand
                                              understand him being put
                                                         him being put

8
8      forward as
       forward as an
                  an expert
                     expert at
                            at this
                               this time.
                                    time.

 9
 9                THE
                  THE COURT:
                      COURT:    Sustained.
                                Sustained.

10
10     BY MR.
       BY MR. SWATE:
              SWATE:

11
11          Q
            Q     You -- the
                  You -- the --
                             -- you
                                you have familiarity with
                                    have familiarity      the history
                                                     with the history

12
12     of your
       of your students?
               students?

13
13          A
            A     Yes, I do.
                  Yes, I do.

14
14          Q
            Q     Do
                  Do you
                     you have familiarity with
                         have familiarity      the history
                                          with the         of your
                                                   history of your

15
15     students in going
       students in       into residency
                   going into residency programs?
                                        programs?

16
16          A
            A     Yes,
                  Yes, we
                       we do.
                          do.

17
17          Q
            Q     And what
                  And what has been that
                           has been that history?
                                         history?

18
18          A
            A     That
                  That history
                       history has been highly
                               has been highly successful.
                                               successful.         Most
                                                                   Most

19
19     successful -- most
       successful -- most are
                          are successful in obtaining
                              successful in obtaining not
                                                      not only
                                                          only

20
20     residencies, but some
       residencies, but some medical
                             medical positions, faculty positions
                                     positions, faculty positions at
                                                                  at

21
21     U.S. medical schools
       U.S. medical         following their
                    schools following their board
                                            board certification.
                                                  certification.

22
22          Q
            Q     Your
                  Your student, if you
                       student, if you can
                                       can do this, how
                                           do this, how would
                                                        would you
                                                              you

23
23     describe
       describe your typical student?
                your typical student?

24
24          A
            A     Our typical
                  Our typical students
                              students are exceptional.
                                       are exceptional.         They're
                                                                They're way
                                                                        way

25
25     above -- there
       above -- there is
                      is a
                         a mix
                           mix of
                               of other international medical
                                  other international medical schools
                                                              schools




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                                  SAppx0475
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1
1      from the
       from the region that we've
                region that       interacted with.
                            we've interacted with.

2
2            All --
             All -- the
                    the minimum
                        minimum requirement for most
                                requirement for most questions coming
                                                     questions coming

3
3      in is
       in is a
             a Master's
               Master's degree
                        degree or
                               or higher.
                                  higher.        And that
                                                 And that accounts
                                                          accounts for
                                                                   for about
                                                                       about

 4
 4     90
       90 percent of the
          percent of the total.
                         total.

5
5            Q
             Q     What about
                   What about the
                              the age
                                  age of
                                      of your
                                         your students?
                                              students?        Do
                                                               Do you
                                                                  you have
                                                                      have any
                                                                           any

6
6      information about
       information about that?
                         that?

 7
 7           A
             A     We have
                   We have no age restriction.
                           no age restriction.      Our oldest
                                                    Our oldest graduate
                                                               graduate was
                                                                        was

8
8      73.
       73.

 9
 9           Q
             Q     What kind
                   What      of experience
                        kind of experience on the average
                                           on the average do these
                                                          do these

10
10     students
       students have?
                have?

11
11           A
             A     10 to
                   10 to 20
                         20 years of clinical
                            years of          experience prior
                                     clinical experience prior to
                                                               to coming
                                                                  coming

12
12     into the
       into the program.
                program.     So.
                             So.

13
13           Q
             Q     Are you
                   Are     making a
                       you making a claim today that
                                    claim today that you
                                                     you were
                                                         were denied
                                                              denied due
                                                                     due

14
14     process by the
       process by the ECFMG?
                      ECFMG?

15
15           A
             A     Absolutely.
                   Absolutely.

16
16                 MS. MCENROE:
                   MS. MCENROE:    Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Calls for a
                                                               Calls for a

17
17     legal conclusion.
       legal conclusion.

18
18                 THE
                   THE COURT:
                       COURT:    Sustained.
                                 Sustained.

19
19                 THE WITNESS:
                   THE WITNESS:    Absolutely.
                                   Absolutely.

20
20                 THE
                   THE COURT:
                       COURT:    If I
                                 If I say
                                      say sustained,
                                          sustained, you
                                                     you don't
                                                         don't answer the
                                                               answer the

21
21     question.
       question.

22
22                 THE WITNESS:
                   THE WITNESS:    Oh,
                                   Oh, I'm
                                       I'm so
                                           so sorry.
                                              sorry.

23
23                 THE
                   THE COURT:
                       COURT:    Go ahead.
                                 Go ahead.

24
24     BY MR.
       BY MR. SWATE:
              SWATE:

25
25           Q
             Q     Well, what
                   Well, what notice
                              notice were
                                     were you
                                          you given
                                              given of the charges?
                                                    of the charges?




                                   SAppx0476
                                   SAppx0476
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1
1           A
            A     None.
                  None.

2
2           Q
            Q     What evidence
                  What evidence was presented at
                                was presented at the
                                                 the hearing?
                                                     hearing?

3
3           A
            A     None.
                  None.

 4
 4          Q
            Q     Who terminated
                  Who terminated the
                                 the hearing?
                                     hearing?

5
5           A
            A     Attorney McEnroe.
                  Attorney McEnroe.

6
6           Q
            Q     Were you
                  Were     allowed to
                       you allowed to --
                                      -- were
                                         were your
                                              your attorneys
                                                   attorneys allowed to
                                                             allowed to

 7
 7     put on any
       put on any evidence?
                  evidence?

8
8           A
            A     No.
                  No.

 9
 9                MR. SWATE:
                  MR. SWATE:    Pass the
                                Pass the witness.
                                         witness.

10
10                THE
                  THE COURT:
                      COURT:    All right.
                                All right.

11
11                MS. MCENROE:
                  MS. MCENROE:     May I
                                   May I approach the lectern,
                                         approach the lectern, Your Honor?
                                                               Your Honor?

12
12                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

13
13                MS. MCENROE:
                  MS. MCENROE:     And per
                                   And     efficiencies, I
                                       per efficiencies, I would ask if
                                                           would ask if

14
14     it's all
       it's all right if I
                right if I go
                           go do
                              do my
                                 my cross and my
                                    cross and my --
                                                 --

15
15                THE
                  THE COURT:
                      COURT:    Yes.
                                Yes.

16
16                MS. MCENROE:
                  MS. MCENROE:     It's
                                   It's yes?
                                        yes?

17
17                THE
                  THE COURT:
                      COURT:    Yes, that's fine.
                                Yes, that's fine.

18
18                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

19
19                                CROSS-EXAMINATION
                                  CROSS-EXAMINATION

20
20     BY MS.
       BY MS. MCENROE:
              MCENROE:

21
21          Q
            Q     Hi,
                  Hi, Dr.
                      Dr. Tulp.
                          Tulp.

22
22          A
            A     Good afternoon.
                  Good afternoon.

23
23          Q
            Q     Good afternoon.
                  Good afternoon.      You
                                       You were just asked
                                           were just       about a
                                                     asked about a hearing
                                                                   hearing

24
24     on November
       on          28th; is
          November 28th; is that
                            that correct?
                                 correct?

25
25          A
            A     Yes.
                  Yes.




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                                  SAppx0477
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1
1            Q
             Q     And you
                   And you heard testimony a
                           heard testimony   little bit
                                           a little     earlier today
                                                    bit earlier today

2
2      about a transcript
       about a transcript of
                          of the
                             the hearing?
                                 hearing?

3
3            A
             A     I heard
                   I       it, but
                     heard it, but I
                                   I haven't
                                     haven't read it.
                                             read it.

 4
 4           Q
             Q     Have
                   Have you
                        you received a copy
                            received a copy of it?
                                            of it?

5
5            A
             A     No.
                   No.

6
6            Q
             Q     Do
                   Do you
                      you know if your
                          know if      lawyers have
                                  your lawyers have gotten a copy
                                                    gotten a      of it?
                                                             copy of it?

 7
 7           A
             A     I believe
                   I believe our
                             our attorneys
                                 attorneys have
                                           have received
                                                received a
                                                         a copy
                                                           copy very
                                                                very

8
8      recently.
       recently.

 9
 9           Q
             Q     Does
                   Does USAT
                        USAT have a campus
                             have a        in the
                                    campus in the United States?
                                                  United States?

10
10           A
             A     No.
                   No.

11
11           Q
             Q     Have
                   Have you ever said
                        you ever said that
                                      that you
                                           you USAT
                                               USAT had a campus
                                                    had a        in the
                                                          campus in the

12
12     United States?
       United States?

13
13           A
             A     No.
                   No.

14
14                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, if I
                                        Honor, if I may,
                                                    may, we need a
                                                         we need a minute
                                                                   minute

15
15     for a
       for a technical
             technical hookup
                       hookup so that we
                              so that we can --
                                         can --

16
16                 THE
                   THE COURT:
                       COURT:    Go --
                                 Go --

17
17                 MS. MCENROE:
                   MS. MCENROE:    -- submit
                                   -- submit some evidence to
                                             some evidence to refresh the
                                                              refresh the

18
18     witness'
       witness' recollection.
                recollection.

19
19                 THE
                   THE COURT:
                       COURT:    Go ahead.
                                 Go ahead.     How -- when
                                               How -- when you
                                                           you say
                                                               say a
                                                                   a minute,
                                                                     minute,

20
20     do
       do you mean one
          you mean one minute?
                       minute?

21
21                 MS. MCENROE:
                   MS. MCENROE:    Literally
                                   Literally a
                                             a minute.
                                               minute.       I think
                                                             I think we
                                                                     we have
                                                                        have

22
22     it --
       it --

23
23                 THE
                   THE COURT:
                       COURT:    Got it.
                                 Got it.

24
24                 MS. MCENROE:
                   MS. MCENROE:    And Your
                                   And Your Honor,
                                            Honor, while that's getting
                                                   while that's getting

25
25     queued
       queued up, I would
              up, I       like to
                    would like to submit it initially
                                  submit it initially to
                                                      to refresh the
                                                         refresh the




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1
1      witness'
       witness' recollection.
                recollection.

2
2                 And once
                  And once the
                           the Court gets to
                               Court gets to see it, I
                                             see it, I plan to move
                                                       plan to move for
                                                                    for

3
3      its admission
       its admission on
                     on the
                        the basis
                            basis of
                                  of a
                                     a statement of a
                                       statement of a party opponent?
                                                      party opponent?

 4
 4                THE
                  THE COURT:
                      COURT:    Any objection
                                Any objection to
                                              to submission of the
                                                 submission of the

5
5      transcript?
       transcript?

6
6                 MS. MCENROE:
                  MS. MCENROE:     I'm
                                   I'm sorry,
                                       sorry, not the transcript,
                                              not the transcript, the
                                                                  the

 7
 7     video that we're
       video that       about to
                  we're about to watch.
                                 watch.

8
8                 THE
                  THE COURT:
                      COURT:    The video, okay.
                                The video, okay.     Do
                                                     Do you
                                                        you know
                                                            know what video
                                                                 what video

 9
 9     she's talking about?
       she's talking about?

10
10                MR. SWATE:
                  MR. SWATE:    No.
                                No.    Have
                                       Have we --
                                            we --

11
11                THE
                  THE COURT:
                      COURT:    Okay, well,
                                Okay, well, we'll take a
                                            we'll take   look and
                                                       a look     then
                                                              and then

12
12     I'll ask
       I'll ask you that question
                you that question again.
                                  again.

13
13                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

14
14                Your
                  Your Honor, I think
                       Honor, I think we're
                                      we're having a volume
                                            having a volume problem.
                                                            problem.

15
15                THE
                  THE COURT:
                      COURT:    Mr. Mani,
                                Mr. Mani, can
                                          can you
                                              you solve that?
                                                  solve that?

16
16                MR. SWATE:
                  MR. SWATE:    Judge,
                                Judge, we
                                       we would
                                          would object to this
                                                object to this evidence.
                                                               evidence.

17
17     It hasn't
       It        been authenticated.
          hasn't been authenticated.

18
18                THE
                  THE COURT:
                      COURT:    Well, we're
                                Well,       just about
                                      we're just       -- we're
                                                 about -- we're doing
                                                                doing

19
19     that right
       that right now.
                  now.    That's
                          That's what
                                 what we're
                                      we're doing
                                            doing right
                                                  right now.
                                                        now.

20
20                While we're
                  While we're waiting,
                              waiting, Dr.
                                       Dr. Tulp,
                                           Tulp, have there been
                                                 have there been any
                                                                 any

21
21     2019
       2019 graduates of USAT
            graduates of USAT as of yet
                              as of     this year?
                                    yet this year?

22
22                THE WITNESS:
                  THE WITNESS:     No, there have
                                   No, there have not
                                                  not been.
                                                      been.

23
23                THE
                  THE COURT:
                      COURT:    When would
                                When would be the first
                                           be the first graduation or
                                                        graduation or

24
24     when
       when would
            would have been the
                  have been the first
                                first graduation?
                                      graduation?

25
25                THE WITNESS:
                  THE WITNESS:     In
                                   In June.
                                      June.




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1
1                 THE
                  THE COURT:
                      COURT:    Okay.
                                Okay.

2
2                 MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, while they're working
                                               while they're         on
                                                             working on

3
3      that, in
       that, in the
                the interest
                    interest of
                             of efficiency,
                                efficiency, I'd
                                            I'd be
                                                be happy to move
                                                   happy to move on
                                                                 on

 4
 4     and then circle
       and then        back if
                circle back if that's
                               that's all
                                      all right?
                                          right?

5
5                 THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.

6
6      BY MS.
       BY MS. MCENROE:
              MCENROE:

 7
 7          Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, you testified a
                            you testified a minute
                                            minute ago that you
                                                   ago that you had
                                                                had not
                                                                    not

8
8      gotten any notice
       gotten any        from ECFMG
                  notice from ECFMG about
                                    about the
                                          the allegations
                                              allegations against
                                                          against you;
                                                                  you;

 9
 9     is that
       is that correct?
               correct?

10
10          A
            A     That is correct.
                  That is correct.

11
11                MS. MCENROE:
                  MS. MCENROE:     All right,
                                   All right, before I move
                                              before I      on, it
                                                       move on, it seems
                                                                   seems

12
12     like we
       like we got volume, so
               got volume, so we'll
                              we'll circle
                                    circle back if we
                                           back if we could?
                                                      could?

13
13                THE
                  THE COURT:
                      COURT:    Go ahead.
                                Go ahead.       The -- you'll
                                                The -- you'll be
                                                              be showing the
                                                                 showing the

14
14     video
       video solely for the
             solely for the purposes
                            purposes of
                                     of determining
                                        determining whether -- its
                                                    whether -- its

15
15     admissibility?
       admissibility?

16
16                MS. MCENROE:
                  MS. MCENROE:     Correct.
                                   Correct.      Yes,
                                                 Yes, Your
                                                      Your Honor.
                                                           Honor.

17
17                THE
                  THE COURT:
                      COURT:    Okay, go
                                Okay,    ahead.
                                      go ahead.

18
18                MS. MCENROE:
                  MS. MCENROE:     And Your
                                   And Your Honor,
                                            Honor, we're
                                                   we're only going to
                                                         only going to put
                                                                       put

19
19     in the
       in the first
              first couple minutes.
                    couple minutes.           We're not
                                              We're not going
                                                        going to
                                                              to --
                                                                 --

20
20          (Video
            (Video played at 3:53
                   played at 3:53 p.m.)
                                  p.m.)

21
21          (Music)
            (Music)

22
22                UNIDENTIFIED SPEAKER:
                  UNIDENTIFIED SPEAKER:         Thank
                                                Thank you for joining
                                                      you for joining us.
                                                                      us.      Our
                                                                               Our

23
23     guests today are
       guests today are Professor
                        Professor George Einstein of
                                  George Einstein of USAT
                                                     USAT and
                                                          and Dr.
                                                              Dr.

24
24     Orien Tulp,
       Orien       the president
             Tulp, the president of
                                 of USAT, the British
                                    USAT, the British West
                                                      West Indies-
                                                           Indies-

25
25     based University
       based            of Science,
             University of Science, Arts,
                                    Arts, and
                                          and Technology.
                                              Technology.




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1
1                 It is
                  It is this
                        this institution
                             institution in
                                         in which
                                            which dozens of physicians
                                                  dozens of physicians

2
2      graduate
       graduate successfully,
                successfully, many from humble
                              many from humble beginnings from nations
                                               beginnings from nations

3
3      including the
       including the United States regardless
                     United States            of race
                                   regardless of race or
                                                      or gender
                                                         gender or
                                                                or

 4
 4     culture.
       culture.

5
5                 USAT
                  USAT has
                       has created a program
                           created a program of
                                             of superior excellence and
                                                superior excellence and

6
6      in training
       in training physicians
                   physicians and
                              and other
                                  other professionals to meet
                                        professionals to meet the
                                                              the

 7
 7     demand of scientific
       demand of            and medical
                 scientific and medical needs in this
                                        needs in this global
                                                      global

8
8      technological environment.
       technological environment.

 9
 9                Professor Einstein
                  Professor Einstein and
                                     and Dr.
                                         Dr. Tulp
                                             Tulp will tell us
                                                  will tell us more
                                                               more

10
10     about these achievements
       about these achievements following
                                following these
                                          these messages.
                                                messages.

11
11          (Music)
            (Music)

12
12                With us
                  With us now is Dr.
                          now is     Orien Tulp,
                                 Dr. Orien Tulp, president of USAT,
                                                 president of       the
                                                              USAT, the

13
13     University of Science,
       University of Science, Arts,
                              Arts, and
                                    and Technology, Montserrat.
                                        Technology, Montserrat.

14
14     Pleasure and
       Pleasure and honor to have
                    honor to have you back.
                                  you back.

15
15                MR. TULP:
                  MR. TULP:    Thank
                               Thank you, sir.
                                     you, sir.     Pleasure to
                                                   Pleasure to be
                                                               be back.
                                                                  back.

16
16                UNIDENTIFIED SPEAKER:
                  UNIDENTIFIED SPEAKER:       So many things
                                              So many things are
                                                             are happening
                                                                 happening

17
17     in education
       in education worldwide
                    worldwide and
                              and of
                                  of course in your
                                     course in your part of the
                                                    part of the world.
                                                                world.

18
18     And you
       And you do
               do classes in Miami,
                  classes in Miami, Denver, and Montserrat.
                                    Denver, and Montserrat.           What's
                                                                      What's

19
19     new
       new with
           with USAT?
                USAT?

20
20                MR. TULP:
                  MR. TULP:    USAT is now
                               USAT is     fully accredited
                                       now fully accredited in
                                                            in the
                                                               the United
                                                                   United

21
21     Kingdom.
       Kingdom.   We're now
                  We're     preparing for
                        now preparing for our
                                          our 2014
                                              2014 commencement,
                                                   commencement, which
                                                                 which

22
22     would be held
       would be held right
                     right here in Miami.
                           here in Miami.

23
23                We expect
                  We expect to
                            to graduate more than
                               graduate more than 100
                                                  100 students,
                                                      students, which
                                                                which

24
24     is more
       is more than
               than any
                    any other
                        other Caribbean
                              Caribbean school just by
                                        school just by the
                                                       the way.
                                                           way.           And
                                                                          And

25
25     we'll
       we'll have this --
             have this -- we
                          we want family to
                             want family to come.
                                            come.         It's
                                                          It's a
                                                               a great
                                                                 great




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1
1      opportunity, a
       opportunity, a great experience.
                      great experience.         And it
                                                And it enables
                                                       enables those
                                                               those who
                                                                     who

2
2      graduate to experience
       graduate to experience closure, because now
                              closure, because now it's
                                                   it's another
                                                        another

3
3      chapter of their
       chapter of their career.
                        career.

 4
 4                 UNIDENTIFIED SPEAKER:
                   UNIDENTIFIED SPEAKER:       And USAT
                                               And      is contributing
                                                   USAT is contributing so
                                                                        so

5
5      effectively in
       effectively in the
                      the lives
                          lives and
                                and careers of many
                                    careers of many people in this
                                                    people in this

6
6      part of the
       part of the world.
                   world.

 7
 7                 MR. TULP:
                   MR. TULP:   Yes, it is.
                               Yes, it is.      Yes, it is.
                                                Yes, it is.   We have
                                                              We      a lot
                                                                 have a lot of
                                                                            of

8
8      physicians
       physicians now in the
                  now in the state
                             state of
                                   of Florida.
                                      Florida.         We have
                                                       We have some
                                                               some who are
                                                                    who are

 9
 9     practicing and many
       practicing and many more
                           more are in residency
                                are in           in their
                                       residency in their specialty
                                                          specialty

10
10     training.
       training.

11
11                 It's moving
                   It's moving ahead
                               ahead very
                                     very quickly
                                          quickly and
                                                  and very
                                                      very rapidly.
                                                           rapidly.

12
12     We're now
       We're     the fastest,
             now the fastest, near as I
                              near as I can see, we
                                        can see, we are the fastest
                                                    are the fastest

13
13     growing medical school
       growing medical school in
                              in the
                                 the Caribbean.
                                     Caribbean.

14
14                 UNIDENTIFIED SPEAKER:
                   UNIDENTIFIED SPEAKER:       So the University
                                               So the            of Science,
                                                      University of Science,

15
15     Arts, and
       Arts, and Technology also is
                 Technology also is expanding
                                    expanding into
                                              into other
                                                   other programs, I
                                                         programs, I

16
16     understand.
       understand.    Tell
                      Tell us of these?
                           us of these?

17
17                 MR. TULP:
                   MR. TULP:   Yes,
                               Yes, yes
                                    yes we
                                        we are.
                                           are.      We have
                                                     We      a new
                                                        have a new program
                                                                   program we
                                                                           we

18
18     intend to
       intend to start by September.
                 start by September.          This
                                              This would
                                                   would be medical
                                                         be medical

19
19     acupuncture
       acupuncture designed for physicians,
                   designed for             licensed physicians
                                physicians, licensed            that
                                                     physicians that

20
20     wish to add
       wish to add that.
                   that.

21
21                 We're going
                   We're       to create
                         going to        a unique
                                  create a unique new
                                                  new program,
                                                      program, which
                                                               which

22
22     will lead to
       will lead to a
                    a Master
                      Master of
                             of Science in Medical
                                Science in Medical Acupuncture.
                                                   Acupuncture.

23
23     That'll be conducted
       That'll be           in our
                  conducted in     Miami campus
                               our Miami        to start
                                         campus to start with
                                                         with and
                                                              and

24
24     probably extend that
       probably extend that into
                            into some
                                 some of the other
                                      of the other campuses.
                                                   campuses.

25
25          (Video ended at
            (Video ended at 3:56
                            3:56 p.m.)
                                 p.m.)



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1
1                  MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, I would
                                        Honor, I would make the argument
                                                       make the argument

2
2      that Dr.
       that Dr. Tulp is appearing
                Tulp is appearing here
                                  here on this video
                                       on this video himself, saying
                                                     himself, saying

3
3      referring to a
       referring to a Miami
                      Miami campus,
                            campus, which
                                    which goes directly contradictory
                                          goes directly contradictory

 4
 4     to testimony
       to testimony he said that
                    he said that he
                                 he never
                                    never uses the word
                                          uses the word campus to
                                                        campus to

5
5      describe
       describe USAT's
                USAT's conduct in the
                       conduct in the United
                                      United States.
                                             States.          So I
                                                              So I would
                                                                   would

6
6      submit that it's
       submit that it's admissible
                        admissible as
                                   as an
                                      an admission of a
                                         admission of a party
                                                        party

 7
 7     opponent.
       opponent.

8
8                  THE
                   THE COURT:
                       COURT:   Any objection?
                                Any objection?

 9
 9                 MR. SWATE:
                   MR. SWATE:   It's not
                                It's not --
                                         -- part of the
                                            part of the controversy is
                                                        controversy is

10
10     the definition
       the            of campus.
           definition of campus.

11
11                 THE
                   THE COURT:
                       COURT:   We're not
                                We're     talking about
                                      not talking       the --
                                                  about the -- that
                                                               that

12
12     particular issue.
       particular issue.     We're only
                             We're      talking about
                                   only talking       the admissibility
                                                about the admissibility

13
13     of this
       of this tape.
               tape.    So tell
                        So tell me
                                me why
                                   why you
                                       you oppose its admission?
                                           oppose its admission?

14
14                 MR. SWATE:
                   MR. SWATE:   I don't.
                                I don't.

15
15                 THE
                   THE COURT:
                       COURT:   Okay, it's
                                Okay, it's admitted.
                                           admitted.

16
16          (Defendant's Exhibit D-1
            (Defendant's Exhibit     admitted into
                                 D-1 admitted into evidence)
                                                   evidence)

17
17                 MS. MCENROE:
                   MS. MCENROE:    Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

18
18     BY MS.
       BY MS. MCENROE:
              MCENROE:

19
19          Q
            Q      Dr.
                   Dr. Tulp,
                       Tulp, you
                             you were testifying just
                                 were testifying just a
                                                      a minute ago about
                                                        minute ago about

20
20     not
       not having
           having notice from ECFMG
                  notice from ECFMG with
                                    with respect to the
                                         respect to the issues
                                                        issues on
                                                               on

21
21     going
       going with
             with USAT; is that
                  USAT; is that correct?
                                correct?

22
22          A
            A      That is correct.
                   That is correct.

23
23                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor,
                                        Honor, may I approach
                                               may I          the witness?
                                                     approach the witness?

24
24                 THE
                   THE COURT:
                       COURT:   You may.
                                You may.

25
25                 MS. MCENROE:
                   MS. MCENROE:    And Your
                                   And Your Honor, I have
                                            Honor, I      a copy
                                                     have a copy for
                                                                 for you
                                                                     you




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1      as
       as well if you'd
          well if       like me
                  you'd like me to
                                to hand that up
                                   hand that    if that's
                                             up if that's all
                                                          all right.
                                                              right.

2
2                 THE
                  THE COURT:
                      COURT:    Yes, please.
                                Yes, please.

3
3      BY MS.
       BY MS. MCENROE:
              MCENROE:

 4
 4          Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, do
                            do you
                               you recognize this document?
                                   recognize this document?

5
5           A
            A     I do.
                  I do.

6
6           Q
            Q     What is
                  What is it?
                          it?

 7
 7          A
            A     I recognize
                  I           it, yes.
                    recognize it, yes.

8
8           Q
            Q     Okay, and
                  Okay, and this
                            this is
                                 is a
                                    a letter
                                      letter directed to you,
                                             directed to you, correct?
                                                              correct?

 9
 9          A
            A     That is correct.
                  That is correct.

10
10          Q
            Q     Did
                  Did you
                      you get this letter?
                          get this letter?

11
11          A
            A     I received
                  I          it by
                    received it by email.
                                   email.

12
12                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I would
                                        Honor, I would move for the
                                                       move for the

13
13     admission of this
       admission of this letter?
                         letter?

14
14                THE
                  THE COURT:
                      COURT:    Any objection?
                                Any objection?

15
15                MR. SWATE:
                  MR. SWATE:    No objection.
                                No objection.

16
16                THE
                  THE COURT:
                      COURT:    It's admitted.
                                It's admitted.      What would
                                                    What would you like to
                                                               you like to

17
17     label this
       label this as?
                  as?     We'll label
                          We'll label the
                                      the video
                                          video as
                                                as D-1.
                                                   D-1.

18
18          (Defendant's Exhibit D-2
            (Defendant's Exhibit D-2 admitted
                                     admitted into
                                              into evidence)
                                                   evidence)

19
19                MS. MCENROE:
                  MS. MCENROE:     Great.
                                   Great.     And how
                                              And how about
                                                      about we make this
                                                            we make this D-2?
                                                                         D-2?

20
20                THE
                  THE COURT:
                      COURT:    Got it.
                                Got it.

21
21                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

22
22     BY MS.
       BY MS. MCENROE:
              MCENROE:

23
23          Q
            Q     So
                  So starting from the
                     starting from the top,
                                       top, and it's a
                                            and it's a brief letter, so
                                                       brief letter, so

24
24     I'm going
       I'm       to try
           going to try not
                        not to
                            to go too long
                               go too long on it, but
                                           on it, but it's
                                                      it's from
                                                           from August
                                                                August

25
25     21st,
       21st, 2018.
             2018.    And it
                      And it starts
                             starts out
                                    out saying, "It has
                                        saying, "It has recently come to
                                                        recently come to



                                  SAppx0484
                                  SAppx0484
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1
1      the attention
       the attention of
                     of the
                        the Educational
                            Educational Commission for Foreign
                                        Commission for         Medical
                                                       Foreign Medical

2
2      Graduates that USAT
       Graduates that      in Montserrat
                      USAT in Montserrat is
                                         is operating
                                            operating a
                                                      a satellite
                                                        satellite or
                                                                  or

3
3      branch campus
       branch        in Miami,
              campus in Miami, Florida."
                               Florida."        Do
                                                Do you
                                                   you see that?
                                                       see that?

 4
 4          A
            A     I see
                  I     that.
                    see that.

5
5           Q
            Q     Then it was
                  Then it     explained that,
                          was explained that, "In
                                              "In order
                                                  order for
                                                        for students
                                                            students

6
6      and
       and graduates of an
           graduates of an international
                           international medical
                                         medical school such as
                                                 school such as USAT
                                                                USAT

 7
 7     to have
       to      eligibility to
          have eligibility to apply for ECFMG
                              apply for ECFMG certification, ECFMG
                                              certification, ECFMG

8
8      policy
       policy requires
              requires confirmation from the
                       confirmation from the appropriate
                                             appropriate government
                                                         government

 9
 9     authority in the
       authority in the branch
                        branch campus
                               campus country that the
                                      country that the branch
                                                       branch campus
                                                              campus

10
10     is authorized
       is authorized to
                     to operate
                        operate as
                                as a
                                   a medical
                                     medical school in such
                                             school in      branch
                                                       such branch

11
11     campus
       campus country."
              country."     Do
                            Do you
                               you see that?
                                   see that?

12
12          A
            A     Yeah, I see
                  Yeah, I     that, uh-huh.
                          see that, uh-huh.

13
13          Q
            Q     Have
                  Have you ever provided
                       you ever provided such information to
                                         such information to ECFMG
                                                             ECFMG

14
14     about the operation
       about the operation of
                           of education
                              education in
                                        in the
                                           the United States from
                                               United States from

15
15     USAT?
       USAT?

16
16          A
            A     No, because when
                  No, because      I contacted
                              when I           the Florida
                                     contacted the Florida Department
                                                           Department

17
17     of Education,
       of Education, they
                     they said
                          said it
                               it was
                                  was unnecessary based on
                                      unnecessary based on what our
                                                           what our

18
18     activities actually were.
       activities actually were.       The bulk of
                                       The bulk of our
                                                   our program
                                                       program was
                                                               was online,
                                                                   online,

19
19     about 80 percent
       about 80 percent of
                        of it.
                           it.      And we
                                    And we have
                                           have previously told you
                                                previously told     that.
                                                                you that.

20
20                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, may I approach
                                               may I          the witness?
                                                     approach the witness?

21
21                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

22
22                MS. MCENROE:
                  MS. MCENROE:     And the
                                   And the bench,
                                           bench, Your
                                                  Your Honor.
                                                       Honor.

23
23     BY MS.
       BY MS. MCENROE:
              MCENROE:

24
24          Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, do
                            do you
                               you know
                                   know what this document
                                        what this          is?
                                                  document is?

25
25          A
            A     Yes.
                  Yes.




                                  SAppx0485
                                  SAppx0485
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1
1             Q
              Q   What is
                  What is it?
                          it?

2
2             A
              A   It's a
                  It's a site
                         site support and schedule.
                              support and schedule.

3
3             Q
              Q   And it
                  And it says -- you
                         says -- you see it says
                                     see it      lecture conference
                                            says lecture conference

 4
 4     schedule at the
       schedule at the top?
                       top?

5
5             A
              A   It does
                  It      that.
                     does that.

6
6             Q
              Q   And this
                  And this is
                           is from
                              from University
                                   University of
                                              of Science, Arts, and
                                                 Science, Arts, and

 7
 7     Technology; is that
       Technology; is that correct?
                           correct?

8
8             A
              A   Yes, it is.
                  Yes, it is.

 9
 9                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I would
                                        Honor, I would move for this
                                                       move for this

10
10     admission of D-3,
       admission of      please?
                    D-3, please?

11
11                THE
                  THE COURT:
                      COURT:    Any objection?
                                Any objection?

12
12                MR. SWATE:
                  MR. SWATE:    No,
                                No, Your Honor.
                                    Your Honor.

13
13                THE
                  THE COURT:
                      COURT:    It's admitted.
                                It's admitted.

14
14            (Defendant's Exhibit D-3
              (Defendant's Exhibit D-3 admitted
                                       admitted into
                                                into evidence)
                                                     evidence)

15
15                THE WITNESS:
                  THE WITNESS:     I have
                                   I have one
                                          one question if I'm
                                              question if I'm allowed
                                                              allowed to
                                                                      to

16
16     ask?
       ask?

17
17                THE
                  THE COURT:
                      COURT:    You're not.
                                You're not.

18
18                MS. MCENROE:
                  MS. MCENROE:     At this
                                   At this juncture,
                                           juncture, you
                                                     you are --
                                                         are --

19
19                THE
                  THE COURT:
                      COURT:    You are not.
                                You are not.

20
20                THE WITNESS:
                  THE WITNESS:     Okay.
                                   Okay.

21
21     BY MS.
       BY MS. MCENROE:
              MCENROE:

22
22            Q
              Q   So
                  So you mentioned when
                     you mentioned when you
                                        you were
                                            were questioned by counsel
                                                 questioned by counsel

23
23     about the notice
       about the        of the
                 notice of the allegations
                               allegations of irregular behavior
                                           of irregular behavior

24
24     against
       against you; is that
               you; is that correct?
                            correct?

25
25            A
              A   That's
                  That's correct.
                         correct.




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1
1           Q
            Q     And you
                  And     indicated you
                      you indicated     didn't have
                                    you didn't have any
                                                    any notice of the
                                                        notice of the

2
2      claims of irregular
       claims of irregular behavior
                           behavior against
                                    against you?
                                            you?

3
3           A
            A     I did
                  I did not
                        not have
                            have notice.
                                 notice.

 4
 4                MS. MCENROE:
                  MS. MCENROE:     May I
                                   May I approach,
                                         approach, Your
                                                   Your Honor?
                                                        Honor?

5
5                 THE
                  THE COURT:
                      COURT:    You may.
                                You may.

6
6                 MS. MCENROE:
                  MS. MCENROE:     And the
                                   And the bench,
                                           bench, Your
                                                  Your Honor?
                                                       Honor?

 7
 7                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

8
8      BY MS.
       BY MS. MCENROE:
              MCENROE:

 9
 9          Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, have
                            have you seen this
                                 you seen this letter
                                               letter before?
                                                      before?

10
10          A
            A     I've seen
                  I've      this letter
                       seen this letter before,
                                        before, yes, I have.
                                                yes, I have.

11
11                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I would
                                        Honor, I would move for admission
                                                       move for admission

12
12     as
       as D-4.
          D-4.

13
13                THE
                  THE COURT:
                      COURT:    Any objection?
                                Any objection?     Any objection?
                                                   Any objection?

14
14                MR. SWATE:
                  MR. SWATE:    No.
                                No.

15
15                THE
                  THE COURT:
                      COURT:    It's admitted.
                                It's admitted.

16
16          (Defendant's Exhibit D-4
            (Defendant's Exhibit     admitted into
                                 D-4 admitted into evidence)
                                                   evidence)

17
17     BY MS.
       BY MS. MCENROE:
              MCENROE:

18
18          Q
            Q     So
                  So Dr.
                     Dr. Tulp, I'm going
                         Tulp, I'm       to direct
                                   going to direct you to a
                                                   you to a couple
                                                            couple

19
19     parts of this
       parts of this letter
                     letter in
                            in particular, but I
                               particular, but I don't
                                                 don't want to belabor
                                                       want to belabor

20
20     the point
       the       or take
           point or take too
                         too much
                             much time,
                                  time, but I'm just
                                        but I'm just going to start
                                                     going to start

21
21     from the
       from the beginning.
                beginning.

22
22          That it's addressed
            That it's addressed to
                                to you
                                   you and it says,
                                       and it       "I'm writing
                                              says, "I'm         to
                                                         writing to

23
23     advise
       advise you of the
              you of the allegation
                         allegation that
                                    that you individually and
                                         you individually and your
                                                              your

24
24     capacity as an
       capacity as an official
                      official of the USAT
                               of the      faculty of
                                      USAT faculty of medicine
                                                      medicine

25
25     Montserrat engaged
       Montserrat engaged in
                          in irregular
                             irregular behavior in connection
                                       behavior in connection with
                                                              with




                                  SAppx0487
                                  SAppx0487
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1
1      providing false information
       providing false information to
                                   to ECFMG."
                                      ECFMG."        Do
                                                     Do you see that?
                                                        you see that?

2
2           A
            A     I see
                  I     that.
                    see that.

3
3           Q
            Q     And it
                  And it goes on to
                         goes on to say,
                                    say, "Specifically,
                                         "Specifically, you
                                                        you provided
                                                            provided

 4
 4     false information
       false information to
                         to ECFMG
                            ECFMG when
                                  when you
                                       you notified ECFMG that
                                           notified ECFMG that USAT
                                                               USAT

5
5      does
       does not operate a
            not operate a branch
                          branch campus in Miami,
                                 campus in Miami, Florida,
                                                  Florida, and two,
                                                           and two,

6
6      certified to the
       certified to the attendance
                        attendance dates of several
                                   dates of several USAT
                                                    USAT students
                                                         students and
                                                                  and

 7
 7     graduates
       graduates when ECFMG has
                 when ECFMG     information that
                            has information that these
                                                 these students
                                                       students were
                                                                were

8
8      not attending USAT
       not attending      during some
                     USAT during      the of
                                 some the    time periods
                                          of time periods which
                                                          which you
                                                                you

 9
 9     certified."
       certified."    Do
                      Do you see that?
                         you see that?

10
10          A
            A     Yes, I see
                  Yes, I     that.
                         see that.

11
11                MS. MCENROE:
                  MS. MCENROE:     May I
                                   May I approach,
                                         approach, Your
                                                   Your Honor?
                                                        Honor?

12
12                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

13
13                MS. MCENROE:
                  MS. MCENROE:     And the
                                   And the bench,
                                           bench, Your
                                                  Your Honor?
                                                       Honor?

14
14                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

15
15     BY MS.
       BY MS. MCENROE:
              MCENROE:

16
16          Q
            Q     Dr.
                  Dr. Tulp, this on
                      Tulp, this on its
                                    its face
                                        face is
                                             is an email from
                                                an email from you at
                                                              you at

17
17     the top.
       the top.   Do
                  Do you see that
                     you see that from
                                  from Orien
                                       Orien Tulp?
                                             Tulp?        Is that
                                                          Is that your email
                                                                  your email

18
18     address, o.tulp@usat.edu?
       address, o.tulp@usat.edu?

19
19          A
            A     It is.
                  It is.

20
20          Q
            Q     Do
                  Do you
                     you recognize this email?
                         recognize this email?

21
21          A
            A     I do.
                  I do.

22
22                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, I'd like to
                                               I'd like to move
                                                           move for
                                                                for its
                                                                    its

23
23     admission as D-5?
       admission as D-5?

24
24                THE
                  THE COURT:
                      COURT:    Any objection?
                                Any objection?

25
25                MR. SWATE:
                  MR. SWATE:    No.
                                No.




                                  SAppx0488
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1
1                 THE
                  THE COURT:
                      COURT:    It's admitted.
                                It's admitted.

2
2           (Defendant's Exhibit D-5
            (Defendant's Exhibit     admitted into
                                 D-5 admitted into evidence)
                                                   evidence)

3
3      BY MS.
       BY MS. MCENROE:
              MCENROE:

 4
 4          Q
            Q     This is an
                  This is an email
                             email from
                                   from you to Scott
                                        you to       Mealey.
                                               Scott Mealey.          Do
                                                                      Do you
                                                                         you

5
5      know
       know who Scott Mealey
            who Scott Mealey is?
                             is?

6
6           A
            A     No.
                  No.

 7
 7          Q
            Q     Do
                  Do you
                     you know
                         know whether or not
                              whether or not he
                                             he works
                                                works at the ECFMG?
                                                      at the ECFMG?

8
8           A
            A     I --
                  I -- according
                       according to
                                 to a
                                    a signature
                                      signature block,
                                                block, he
                                                       he does.
                                                          does.

 9
 9          Q
            Q     Okay, do
                  Okay, do you
                           you have any reason
                               have any        to believe
                                        reason to         otherwise?
                                                  believe otherwise?

10
10          A
            A     I have
                  I have no
                         no reason to believe
                            reason to believe otherwise.
                                              otherwise.

11
11          Q
            Q     And this
                  And this email
                           email down below from
                                 down below from Scott Mealey to
                                                 Scott Mealey to you
                                                                 you

12
12     says, "Please see
       says, "Please     the attached
                     see the attached letter
                                      letter regarding
                                             regarding USAT
                                                       USAT U.S.
                                                            U.S.

13
13     satellite
       satellite campus."
                 campus."      Do
                               Do you
                                  you see that?
                                      see that?

14
14          A
            A     I see
                  I     that.
                    see that.

15
15          Q
            Q     And then
                  And then up above, you
                           up above, you wrote, "Dear Mr.
                                         wrote, "Dear Mr. Mealey."
                                                          Mealey."             Do
                                                                               Do

16
16     you
       you see
           see where I am?
               where I am?

17
17          A
            A     I see
                  I     that.
                    see that.

18
18          Q
            Q     And is
                  And is this
                         this an
                              an email
                                 email you
                                       you wrote?
                                           wrote?

19
19          A
            A     This is incorrect
                  This is incorrect information.
                                    information.

20
20          Q
            Q     Correct,
                  Correct, you're
                           you're reading the beginning
                                  reading the           of the
                                              beginning of the email,
                                                               email,

21
21     right?
       right?

22
22          A
            A     Right.
                  Right.

23
23          Q
            Q     This is correct
                  This is         information?
                          correct information?       Did
                                                     Did you
                                                         you write this
                                                             write this

24
24     email?
       email?

25
25          A
            A     I did.
                  I did.




                                  SAppx0489
                                  SAppx0489
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1
1           Q
            Q      And it
                   And it says, like you
                          says, like you were
                                         were reading, "This is
                                              reading, "This is

2
2      incorrect information.
       incorrect information.      The Miami location
                                   The Miami location is
                                                      is an information
                                                         an information

3
3      and testing site
       and testing      only where
                   site only where a
                                   a pre
                                     pre USMLE examination and
                                         USMLE examination and MDME
                                                               MDME

 4
 4     may administered
       may administered and
                        and an
                            an orientation for new
                               orientation for new students is
                                                   students is

5
5      conducted
       conducted prior to the
                 prior to the travelling
                              travelling to
                                         to the
                                            the Caribbean.
                                                Caribbean.           It is
                                                                     It is NOT
                                                                           NOT

6
6      a campus.
       a campus.    Our only
                    Our only campus
                             campus is
                                    is located
                                       located in
                                               in Olveston,
                                                  Olveston, Montserrat,
                                                            Montserrat,

 7
 7     British West
       British West Indies."
                    Indies."      Is that what
                                  Is that what you
                                               you wrote?
                                                   wrote?

8
8           A
            A      That is exactly
                   That is exactly correct.
                                   correct.

 9
 9          Q
            Q      Is it
                   Is it your position that
                         your position that USAT
                                            USAT has
                                                 has done
                                                     done no educational
                                                          no educational

10
10     services for students
       services for          in the
                    students in the United States?
                                    United States?

11
11          A
            A      We have
                   We      an online
                      have an online program.
                                     program.      They
                                                   They can take that
                                                        can take that

12
12     program from anywhere
       program from anywhere in
                             in the
                                the world.
                                    world.        Our most
                                                  Our most distant
                                                           distant graduate
                                                                   graduate

13
13     was from Thailand.
       was from Thailand.

14
14                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor,
                                        Honor, I'd
                                               I'd move to strike
                                                   move to strike as
                                                                  as

15
15     nonresponsive.
       nonresponsive.

16
16                 THE
                   THE COURT:
                       COURT:   Overruled.
                                Overruled.

17
17     BY MS.
       BY MS. MCENROE:
              MCENROE:

18
18          Q
            Q      Do
                   Do you
                      you have any students
                          have any students who
                                            who have
                                                have gotten medical
                                                     gotten medical

19
19     education in
       education in the
                    the United
                        United States?
                               States?

20
20          A
            A      They
                   They received a review
                        received a        lecture, which
                                   review lecture,       is part
                                                   which is      of the
                                                            part of the

21
21     orientation.
       orientation.    We like
                       We like to
                               to showcase
                                  showcase our faculty because
                                           our faculty because our
                                                               our

22
22     faculty are
       faculty are pretty
                   pretty strong
                          strong and
                                 and I
                                     I like
                                       like to
                                            to showcase them.
                                               showcase them.

23
23          Q
            Q      If you
                   If     --
                      you --

24
24          A
            A      So
                   So we'll -- yes,
                      we'll -- yes, we fly a
                                    we fly a couple of faculty
                                             couple of faculty in
                                                               in to
                                                                  to

25
25     give a demonstration
       give a               before you
              demonstration before     join our
                                   you join our schools,
                                                schools, here's
                                                         here's what
                                                                what




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                                  SAppx0490
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1
1      you're
       you're going to get.
              going to get.     The lectures are
                                The lectures are delivered online.
                                                 delivered online.

2
2           Q
            Q     Do
                  Do USAT
                     USAT students
                          students dissect
                                   dissect cadavers in connection
                                           cadavers in connection with
                                                                  with

3
3      their medical
       their medical education?
                     education?

 4
 4          A
            A     Yes,
                  Yes, we
                       we have an agreement
                          have an agreement with the Miami
                                            with the Miami Anatomic
                                                           Anatomic

5
5      Research Center,
       Research Center, who provides that
                        who provides that service for us.
                                          service for us.

6
6           Q
            Q     So
                  So USAT
                     USAT students
                          students dissect
                                   dissect dead
                                           dead human bodies in
                                                human bodies in the
                                                                the

 7
 7     United States, correct?
       United States, correct?

8
8           A
            A     Cadavers.
                  Cadavers.

 9
 9          Q
            Q     Yeah, the same
                  Yeah, the      thing, right?
                            same thing,        I just
                                        right? I just want to make
                                                      want to make

10
10     sure.
       sure.

11
11          A
            A     Cadavers.
                  Cadavers.

12
12          Q
            Q     I'm sorry,
                  I'm        I'm not
                      sorry, I'm     a medical
                                 not a medical doctor, I'm just
                                               doctor, I'm just making
                                                                making

13
13     sure.
       sure.

14
14          A
            A     Yeah.
                  Yeah.

15
15          Q
            Q     But there
                  But there is
                            is dissection of human
                               dissection of human remains,
                                                   remains, cadavers --
                                                            cadavers --

16
16          A
            A     That is --
                  That is --

17
17          Q
            Q     -- in
                  -- in the
                        the United States by
                            United States by USAT
                                             USAT students?
                                                  students?

18
18          A
            A     There is.
                  There is.    There
                               There we also have
                                     we also have an
                                                  an anatomage machine,
                                                     anatomage machine,

19
19     which they do
       which they    a computerized
                  do a computerized dissection prior to
                                    dissection prior to that.
                                                        that.

20
20          Q
            Q     In your
                  In your view, is the
                          view, is the dissection
                                       dissection of
                                                  of human
                                                     human cadavers
                                                           cadavers not
                                                                    not

21
21     education?
       education?

22
22          A
            A     That is education
                  That is education that
                                    that is
                                         is provided
                                            provided by the Miami
                                                     by the Miami

23
23     Anatomic Research
       Anatomic Research Center
                         Center at their location
                                at their location on
                                                  on their
                                                     their campus.
                                                           campus.

24
24          Q
            Q     To
                  To USAT
                     USAT students in the
                          students in the United
                                          United States?
                                                 States?

25
25          A
            A     The
                  The USAT
                      USAT students are in
                           students are in the
                                           the United
                                               United States attending
                                                      States attending




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1
1      that, as
       that, as do
                do students from around
                   students from        the world
                                 around the       attending that
                                            world attending that same,
                                                                 same,

2
2      very
       very same anatomic research
            same anatomic research center for educational
                                   center for educational purposes.
                                                          purposes.

3
3           Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, did
                            did you instruct the
                                you instruct the students at USAT
                                                 students at USAT about
                                                                  about

 4
 4     how to fill
       how to fill out
                   out the
                       the affidavits
                           affidavits requested by the
                                      requested by the Educational
                                                       Educational

5
5      Commission for Medical
       Commission for Medical Graduates?
                              Graduates?

6
6           A
            A     Not
                  Not specifically.
                      specifically.       But if
                                          But if they
                                                 they asked
                                                      asked me
                                                            me for
                                                               for guidance,
                                                                   guidance,

 7
 7     I would
       I would provide to guide
               provide to guide it,
                                it, --
                                    -- but
                                       but haven't
                                           haven't seen the affidavits
                                                   seen the affidavits

8
8      until
       until recently.
             recently.

 9
 9                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, may I approach?
                                               may I approach?

10
10                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

11
11                MS. MCENROE:
                  MS. MCENROE:     And the
                                   And the bench,
                                           bench, Your
                                                  Your Honor?
                                                       Honor?

12
12                THE
                  THE COURT:
                      COURT:    you may.
                                you may.

13
13     BY MS.
       BY MS. MCENROE:
              MCENROE:

14
14          Q
            Q     Dr.
                  Dr. Tulp, I'd like
                      Tulp, I'd like to
                                     to direct
                                        direct your
                                               your attention
                                                    attention

15
15     specifically to the
       specifically to the bolded
                           bolded text
                                  text in
                                       in the
                                          the middle.
                                              middle.

16
16          A
            A     Uh-huh,
                  Uh-huh, uh-huh.
                          uh-huh.

17
17          Q
            Q     That's followed by
                  That's followed by your
                                     your signature
                                          signature block.
                                                    block.         Do
                                                                   Do you
                                                                      you see
                                                                          see

18
18     that?
       that?

19
19          A
            A     Right, I
                  Right, I see that.
                           see that.

20
20          Q
            Q     Is this
                  Is this a
                          a message
                            message that
                                    that you
                                         you wrote?
                                             wrote?

21
21          A
            A     It --
                  It -- apparently
                        apparently I
                                   I did.
                                     did.

22
22          Q
            Q     And who
                  And     is Carla
                      who is Carla (phonetic)
                                   (phonetic) and
                                              and I'm
                                                  I'm going to say
                                                      going to say this
                                                                   this

23
23     wrong I'm sorry,
       wrong I'm sorry, Cognier
                        Cognier (phonetic)?
                                (phonetic)?

24
24          A
            A     Carpanich
                  Carpanich (phonetic) is the
                            (phonetic) is the vice
                                              vice president
                                                   president of the
                                                             of the

25
25     university.
       university.




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1                 MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I would
                                        Honor, I would move for this
                                                       move for this

2
2      admission -- admission
       admission -- admission of this document
                              of this document as
                                               as D-6?
                                                  D-6?

3
3                 THE
                  THE COURT:
                      COURT:    Any objection
                                Any objection to
                                              to admit
                                                 admit it?
                                                       it?

 4
 4                MR. SWATE:
                  MR. SWATE:    No,
                                No, Your Honor.
                                    Your Honor.

5
5                 THE
                  THE COURT:
                      COURT:    Admitted.
                                Admitted.

6
6           (Defendant's Exhibit D-6
            (Defendant's Exhibit     admitted into
                                 D-6 admitted into evidence)
                                                   evidence)

 7
 7     BY MS.
       BY MS. MCENROE:
              MCENROE:

8
8           Q
            Q     And Dr.
                  And Dr. Tulp, this message
                          Tulp, this message says, "Please do
                                             says, "Please do NOT
                                                              NOT use
                                                                  use

 9
 9     the phrase
       the        'campus' when
           phrase 'campus' when referring to the
                                referring to the U.S. sites as
                                                 U.S. sites    that
                                                            as that

10
10     implies approval
       implies approval from
                        from the
                             the U.S.
                                 U.S. Department of Education
                                      Department of Education or the
                                                              or the

11
11     State
       State Department of Education,
             Department of Education, which isn't possible
                                      which isn't possible or likely
                                                           or likely

12
12     as an international
       as an international medical
                           medical school.
                                   school.

13
13          Someone
            Someone reported to the
                    reported to the ECFMG
                                    ECFMG that
                                          that we
                                               we have
                                                  have a Miami campus.
                                                       a Miami campus.

14
14     It is
       It is an
             an administrative
                administrative site
                               site where
                                    where we
                                          we do interviews,
                                             do interviews,

15
15     orientations, and
       orientations, and pre
                         pre USMLE
                             USMLE proctored examinations."
                                   proctored examinations."           Did
                                                                      Did I
                                                                          I

16
16     read that correctly?
       read that correctly?

17
17          A
            A     You
                  You did.
                      did.

18
18          Q
            Q     Do
                  Do you
                     you know if this
                         know if this message
                                      message was
                                              was disseminated to USAT
                                                  disseminated to USAT

19
19     students to not
       students to not use the phrase
                       use the phrase campus?
                                      campus?

20
20          A
            A     I do
                  I do not
                       not know if it
                           know if it was
                                      was or
                                          or not.
                                             not.

21
21          Q
            Q     Is USAT
                  Is      accredited by
                     USAT accredited by CAAM-HP?
                                        CAAM-HP?

22
22          A
            A     No, it is
                  No, it is not
                            not required to be.
                                required to be.

23
23          Q
            Q     Can
                  Can you explain --
                      you explain --

24
24          A
            A     It is
                  It is accredited
                        accredited in
                                   in the
                                      the United
                                          United Kingdom.
                                                 Kingdom.          We're a
                                                                   We're a

25
25     British school.
       British school.




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1
1           Q
            Q     Where is
                  Where is the
                           the headquarters of USAT?
                               headquarters of USAT?

2
2           A
            A     Montserrat, Olveston,
                  Montserrat, Olveston, Montserrat.
                                        Montserrat.

3
3           Q
            Q     And I
                  And I had to get
                        had to     my crib
                               get my crib sheet for all
                                           sheet for     the acronyms
                                                     all the acronyms

 4
 4     in this
       in this case.
               case.    Is it
                        Is it correct
                              correct that
                                      that CAAM-HP is the
                                           CAAM-HP is the Caribbean
                                                          Caribbean

5
5      accreditation authority for
       accreditation authority for education
                                   education in
                                             in medicine
                                                medicine and
                                                         and other
                                                             other

6
6      health
       health professionals?
              professionals?

 7
 7          A
            A     It's an
                  It's an emerging
                          emerging accrediting body.
                                   accrediting body.        It is
                                                            It is accredited
                                                                  accredited

8
8      --

 9
 9          Q
            Q     You
                  You understand --
                      understand --

10
10          A
            A     It has
                  It     accredited --
                     has accredited --

11
11          Q
            Q     Go ahead, I'm
                  Go ahead, I'm sorry.
                                sorry.

12
12          A
            A     It's accredited
                  It's accredited maybe four schools
                                  maybe four schools so far.
                                                     so far.

13
13                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, may I approach?
                                               may I approach?

14
14                THE
                  THE COURT:
                      COURT:    You may.
                                You may.

15
15                MR. SWATE:
                  MR. SWATE:    Your Honor, I'll
                                Your Honor, I'll object to this
                                                 object to this evidence.
                                                                evidence.

16
16     We don't
       We don't know
                know where it came
                     where it      from.
                              came from.        We don't
                                                We don't know
                                                         know how it was
                                                              how it was

17
17     generated.
       generated.    We don't
                     We don't know
                              know whether it's changed
                                   whether it's         or not.
                                                changed or not.

18
18                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, I'm
                                               I'm going to ask
                                                   going to ask some
                                                                some

19
19     questions to try
       questions to try and
                        and establish
                            establish that.
                                      that.

20
20                THE
                  THE COURT:
                      COURT:    Okay, ask
                                Okay, ask him foundational questions.
                                          him foundational questions.

21
21                MS. MCENROE:
                  MS. MCENROE:     Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.

22
22     BY MS.
       BY MS. MCENROE:
              MCENROE:

23
23          Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, has
                            has USAT tried to
                                USAT tried to become
                                              become accredited by
                                                     accredited by

24
24     CAAM-HP?
       CAAM-HP?

25
25          A
            A     We have
                  We      tried, but
                     have tried, but the
                                     the government
                                         government of Montserrat do
                                                    of Montserrat do




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1
1      not accept CAAM
       not accept      as an
                  CAAM as an accrediting
                             accrediting body
                                         body until September 13th,
                                              until September 13th,

2
2      2018.
       2018.

3
3           Q
            Q      I'm sorry,
                   I'm        I didn't
                       sorry, I        quite hear
                                didn't quite hear you.
                                                  you.        Did
                                                              Did you
                                                                  you say
                                                                      say we
                                                                          we

 4
 4     have tried or
       have tried or we
                     we haven't tried?
                        haven't tried?

5
5           A
            A      I have
                   I      attempted, but
                     have attempted, but the
                                         the government in Montserrat
                                             government in Montserrat

6
6      would
       would not accept CAAM
             not accept      as an
                        CAAM as an accrediting
                                   accrediting body
                                               body until September
                                                    until September

 7
 7     13th of
       13th of 2018.
               2018.

8
8           Q
            Q      Do
                   Do you --
                      you --

 9
 9          A
            A      Therefore, they would
                   Therefore, they       not endorse
                                   would not endorse any
                                                     any accreditation
                                                         accreditation

10
10     by CAAM.
       by CAAM.    We were
                   We      inspected by
                      were inspected by CAAM.
                                        CAAM.      We passed
                                                   We passed it
                                                             it with flying
                                                                with flying

11
11     colors.
       colors.

12
12          They interviewed between
            They interviewed between 15 and 20
                                     15 and 20 students
                                               students on
                                                        on campus each
                                                           campus each

13
13     time that
       time that they
                 they were there, but
                      were there, but only
                                      only one
                                           one surveyor
                                               surveyor showed
                                                        showed up.
                                                               up.             He
                                                                               He

14
14     had always Alzheimer's.
       had always Alzheimer's.      He took
                                    He took no
                                            no notes.
                                               notes.     He took no
                                                          He took no

15
15     pictures.
       pictures.    He even
                    He even forgot
                            forgot to
                                   to pay
                                      pay his
                                          his hotel bill.
                                              hotel bill.        I had
                                                                 I     to.
                                                                   had to.

16
16          Q
            Q      Had
                   Had you
                       you seen this letter
                           seen this letter before
                                            before or this
                                                   or this

17
17     determination?
       determination?

18
18          A
            A      I've seen
                   I've      it before.
                        seen it before.

19
19          Q
            Q      You
                   You have?
                       have?

20
20          A
            A      And I
                   And I would like to
                         would like to remark that there
                                       remark that there were more than
                                                         were more than

21
21     100 violations
       100            of the
           violations of the LCME
                             LCME protocol,
                                  protocol, which they said
                                            which they      that they
                                                       said that they

22
22     applied
       applied when they conducted
               when they conducted the
                                   the site
                                       site visit.
                                            visit.

23
23          They're
            They're required to have
                    required to      three surveyors.
                                have three surveyors.          They
                                                               They have
                                                                    have only
                                                                         only

24
24     one, a
       one, a retired physician from
              retired physician from Canada.
                                     Canada.        And the
                                                    And the other two
                                                            other two

25
25     surveyors allegedly indicated
       surveyors allegedly indicated here
                                     here have never been
                                          have never been to
                                                          to



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1
1      Montserrat.
       Montserrat.

2
2                  MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor,
                                        Honor, I'd like to
                                               I'd like to try
                                                           try strike
                                                               strike as
                                                                      as

3
3      nonresponsive everything after
       nonresponsive everything       the witness
                                after the witness said
                                                  said he's
                                                       he's seen
                                                            seen his
                                                                 his

 4
 4     document before?
       document before?

5
5                  THE
                   THE COURT:
                       COURT:    It's stricken.
                                 It's stricken.

6
6                  MS. MCENROE:
                   MS. MCENROE:    Thank
                                   Thank you,
                                         you, Your
                                              Your Honor.
                                                   Honor.       I'd like
                                                                I'd like to
                                                                         to

 7
 7     move for
       move for admission
                admission of
                          of this
                             this document
                                  document as Exhibit D-7?
                                           as Exhibit D-7?

8
8                  THE
                   THE COURT:
                       COURT:    Any objection?
                                 Any objection?

 9
 9                 MR. SWATE:
                   MR. SWATE:    No objection.
                                 No objection.

10
10                 THE
                   THE COURT:
                       COURT:    It's admitted.
                                 It's admitted.

11
11           (Defendant's Exhibit D-7
             (Defendant's Exhibit     admitted into
                                  D-7 admitted into evidence)
                                                    evidence)

12
12     BY MS.
       BY MS. MCENROE:
              MCENROE:

13
13           Q
             Q     I'd like
                   I'd like the
                            the record
                                record direct
                                       direct your
                                              your attention to the
                                                   attention to the red
                                                                    red

14
14     paragraphs in the
       paragraphs in the middle.
                         middle.

15
15           A
             A     Uh-huh.
                   Uh-huh.

16
16           Q
             Q     See the second
                   See the        paragraph there?
                           second paragraph there?

17
17           A
             A     Yeah.
                   Yeah.

18
18           Q
             Q     It says,
                   It       "Following discussions
                      says, "Following discussions of
                                                   of the
                                                      the reviewers
                                                          reviewers

19
19     report,
       report, CAAM-HP
               CAAM-HP determined that this
                       determined that this whole
                                            whole had
                                                  had not
                                                      not provided
                                                          provided

20
20     sufficient evidence to
       sufficient evidence to indicate
                              indicate that
                                       that teaching
                                            teaching activities
                                                     activities were
                                                                were

21
21     actually taking place
       actually taking place in
                             in Montserrat."
                                Montserrat."          Do
                                                      Do you
                                                         you see that?
                                                             see that?

22
22           A
             A     I see
                   I     that.
                     see that.    That is an
                                  That is an incorrect
                                             incorrect statement.
                                                       statement.         They
                                                                          They

23
23     interviewed 15
       interviewed 15 students.
                      students.       They observed classes
                                      They observed classes in
                                                            in session.
                                                               session.

24
24     They
       They were there for
            were there for three
                           three days.
                                 days.

25
25                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor,
                                        Honor, permission to approach?
                                               permission to approach?



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1
1                 THE
                  THE COURT:
                      COURT:    You may.
                                You may.

2
2      BY MS.
       BY MS. MCENROE:
              MCENROE:

3
3           Q
            Q     Dr.
                  Dr. Tulp,
                      Tulp, what I just
                            what I just handed
                                        handed you is an
                                               you is    email chain
                                                      an email chain

 4
 4     that includes
       that includes a
                     a message
                       message that
                               that starts
                                    starts with "dear students"
                                           with "dear students" and
                                                                and

5
5      then has
       then has your
                your signature block at
                     signature block at the
                                        the bottom
                                            bottom of the first
                                                   of the first page.
                                                                page.

6
6           A
            A     Uh-huh.
                  Uh-huh.

 7
 7          Q
            Q     Do
                  Do you
                     you see this?
                         see this?

8
8           A
            A     I see
                  I     that.
                    see that.

 9
 9          Q
            Q     Is this
                  Is this a
                          a message
                            message that
                                    that you've
                                         you've seen
                                                seen before?
                                                     before?

10
10          A
            A     I don't
                  I don't know if I've
                          know if I've seen
                                       seen this
                                            this or
                                                 or not.
                                                    not.

11
11          Q
            Q     I'm going
                  I'm       to read
                      going to      a little
                               read a little bit to you
                                             bit to     --
                                                    you --

12
12          A
            A     Yeah.
                  Yeah.

13
13          Q
            Q     -- to
                  -- to see if it
                        see if it refreshes
                                  refreshes your
                                            your recollection?
                                                 recollection?

14
14          A
            A     Yeah.
                  Yeah.

15
15          Q
            Q     If that's
                  If that's all
                            all right?
                                right?

16
16          A
            A     I did
                  I did not
                        not write this.
                            write this.

17
17          Q
            Q     Okay, but
                  Okay, but do
                            do you see your
                               you see your signature
                                            signature block there?
                                                      block there?

18
18          A
            A     My signature
                  My           block appears
                     signature block appears on everything, whether
                                             on everything, whether

19
19     I've signed
       I've        or seen
            signed or      it or
                      seen it or not.
                                 not.

20
20          Q
            Q     Okay, well,
                  Okay,       I want
                        well, I      to see
                                want to see if
                                            if I
                                               I can
                                                 can refresh
                                                     refresh your
                                                             your

21
21     recollection.
       recollection.

22
22          A
            A     That includes the
                  That includes the documents from the
                                    documents from the ECFMG
                                                       ECFMG that
                                                             that I
                                                                  I

23
23     receive.
       receive.   They already have
                  They already have my
                                    my signature
                                       signature attached.
                                                 attached.         I have
                                                                   I have not
                                                                          not

24
24     signed it.
       signed it.    I never
                     I       gave authorization
                       never gave               for them
                                  authorization for them to
                                                         to sign my
                                                            sign my

25
25     documents.
       documents.




                                  SAppx0497
                                  SAppx0497
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1
1                 MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I would
                                        Honor, I would move to strike
                                                       move to strike as
                                                                      as

2
2      nonresponsive.
       nonresponsive.    I don't
                         I don't know
                                 know what
                                      what question the witness
                                           question the witness was
                                                                was

3
3      responding to.
       responding to.

 4
 4                THE
                  THE COURT:
                      COURT:    Stricken.
                                Stricken.

5
5      BY MS.
       BY MS. MCENROE:
              MCENROE:

6
6           Q
            Q     So I'd like
                  So I'd like to
                              to see if I
                                 see if I can
                                          can refresh
                                              refresh your
                                                      your recollection
                                                           recollection

 7
 7     about
       about whether
             whether you've seen this
                     you've seen this before.
                                      before.        So where
                                                     So       it says
                                                        where it      "dear
                                                                 says "dear

8
8      students" on the
       students" on the first
                        first page, then there's
                              page, then there's a
                                                 a paragraph that
                                                   paragraph that

 9
 9     starts ECFMG.
       starts ECFMG.    Do
                        Do you see where
                           you see       I am?
                                   where I am?

10
10          A
            A     Uh-huh.
                  Uh-huh.

11
11          Q
            Q     Okay, and
                  Okay, and it
                            it says, "ECFMG is
                               says, "ECFMG is questioning
                                               questioning our
                                                           our delivery
                                                               delivery

12
12     of the
       of the basic
              basic sciences because some
                    sciences because some students
                                          students didn't attend on
                                                   didn't attend on

13
13     Montserrat due
       Montserrat     to past
                  due to past volcanic
                              volcanic activity on Montserrat."
                                       activity on Montserrat."           Do
                                                                          Do

14
14     you
       you see that?
           see that?

15
15          A
            A     I see
                  I     that.
                    see that.

16
16          Q
            Q     Okay, and
                  Okay, and then
                            then I'd
                                 I'd like
                                     like to
                                          to go to the
                                             go to the second
                                                       second paragraph
                                                              paragraph

17
17     there.
       there.   It starts
                It starts with, "We will
                          with, "We will now begin."
                                         now begin."        Do
                                                            Do you
                                                               you see that?
                                                                   see that?

18
18          A
            A     I see
                  I     that.
                    see that.

19
19          Q
            Q     It says,
                  It       "We will
                     says, "We will now
                                    now begin offering the
                                        begin offering the basic
                                                           basic

20
20     science
       science portion of our
               portion of our program
                              program at
                                      at our
                                         our campus on Montserrat
                                             campus on Montserrat as
                                                                  as

21
21     early as
       early as October
                October 1st,
                        1st, 2018
                             2018 and
                                  and at
                                      at our
                                         our new British Virgin
                                             new British Virgin

22
22     Islands campus
       Islands        as soon
               campus as soon as
                              as January 2019."
                                 January 2019."         Do
                                                        Do you
                                                           you see that?
                                                               see that?

23
23          A
            A     I see
                  I     that.
                    see that.

24
24          Q
            Q     Does that refresh
                  Does that refresh your
                                    your recollection
                                         recollection whether
                                                      whether you've
                                                              you've

25
25     seen this message
       seen this message before,
                         before, whether
                                 whether or
                                         or not
                                            not you've authored it?
                                                you've authored it?



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1
1           Q
            Q     I didn't
                  I        author it.
                    didn't author it.         And I
                                              And I don't
                                                    don't believe that I've
                                                          believe that I've

2
2      actually
       actually seen this before.
                seen this before.

3
3           Q
            Q     Okay, so
                  Okay, so stepping away from
                           stepping away from that
                                              that --
                                                   --

 4
 4          A
            A     But we've
                  But we've have basic sciences
                            have basic          in Montserrat
                                       sciences in Montserrat for
                                                              for many,
                                                                  many,

5
5      many years.
       many years.    We've just
                      We've just graduated the first
                                 graduated the first two
                                                     two students
                                                         students who
                                                                  who

6
6      completed their entire
       completed their entire four
                              four years in Montserrat,
                                   years in Montserrat, the
                                                        the first
                                                            first two
                                                                  two

 7
 7     that did
       that     the entire
            did the entire four
                           four years
                                years basic
                                      basic sciences and clinical
                                            sciences and clinical

8
8      sciences on the
       sciences on the island
                       island of Montserrat.
                              of Montserrat.

 9
 9          The
            The volcano
                volcano was
                        was quieting
                            quieting down
                                     down until about four
                                          until about four years ago,
                                                           years ago,

10
10     it would
       it       erupt every
          would erupt every --
                            -- about
                               about once
                                     once a
                                          a month.
                                            month.          That is not
                                                            That is not a
                                                                        a safe
                                                                          safe

11
11     environment.
       environment.

12
12                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor,
                                        Honor, I'd
                                               I'd move to strike.
                                                   move to strike.

13
13                THE
                  THE COURT:
                      COURT:    Stricken.
                                Stricken.

14
14     BY MS.
       BY MS. MCENROE:
              MCENROE:

15
15          Q
            Q     Stepping away from
                  Stepping away from the
                                     the document, because I
                                         document, because I understand
                                                             understand

16
16     that you
       that     say may
            you say may not
                        not have
                            have seen it before,
                                 seen it before, is
                                                 is it
                                                    it true
                                                       true that
                                                            that USAT
                                                                 USAT

17
17     opened a
       opened a new
                new campus on the
                    campus on the British
                                  British Virgin
                                          Virgin Islands
                                                 Islands in
                                                         in 2019?
                                                            2019?

18
18          A
            A     We have
                  We      been licensed
                     have been licensed in
                                        in the
                                           the British
                                               British Virgin Islands
                                                       Virgin Islands

19
19     for some
       for      time now.
           some time now.

20
20          Q
            Q     And is
                  And is that
                         that going to be
                              going to be the
                                          the same
                                              same USAT or is
                                                   USAT or is that
                                                              that

21
21     going to be
       going to be a
                   a new medical school?
                     new medical school?

22
22          A
            A     We haven't
                  We haven't released that information
                             released that information yet.
                                                       yet.

23
23                THE
                  THE COURT:
                      COURT:    Well, can
                                Well, can you
                                          you respond to the
                                              respond to the question,
                                                             question,

24
24     please?
       please?

25
25                THE WITNESS:
                  THE WITNESS:     It will
                                   It will not
                                           not be
                                               be USAT.
                                                  USAT.




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                                  SAppx0499
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1
1      BY MS.
       BY MS. MCENROE:
              MCENROE:

2
2           Q
            Q     So
                  So you're opening a
                     you're opening a new
                                      new medical
                                          medical school
                                                  school on
                                                         on another
                                                            another

3
3      island in
       island in the
                 the Caribbean; is that
                     Caribbean; is that correct?
                                        correct?

 4
 4          A
            A     Not a volcanic
                  Not a          island.
                        volcanic island.

5
5           Q
            Q     Is USAT
                  Is USAT still in operation?
                          still in operation?

6
6           A
            A     Yes.
                  Yes.

 7
 7          Q
            Q     Does
                  Does USAT
                       USAT have
                            have graduates that ever
                                 graduates that ever practiced medicine
                                                     practiced medicine

8
8      in Montserrat?
       in Montserrat?

 9
 9          A
            A     Yes.
                  Yes.

10
10          Q
            Q     Does
                  Does USAT
                       USAT have
                            have graduates that ever
                                 graduates that ever practiced
                                                     practiced medicine
                                                               medicine

11
11     outside of
       outside of Montserrat
                  Montserrat or
                             or the
                                the United
                                    United States?
                                           States?

12
12          A
            A     Yes.
                  Yes.

13
13          Q
            Q     Does
                  Does USAT
                       USAT have
                            have graduates that have
                                 graduates that      ever practiced
                                                have ever practiced

14
14     medicine in
       medicine in the
                   the United
                       United Kingdom?
                              Kingdom?

15
15          A
            A     I'm not
                  I'm     aware of
                      not aware of any.
                                   any.       We don't
                                              We don't recruit from the
                                                       recruit from the

16
16     United Kingdom that
       United Kingdom that much.
                           much.       My recollection
                                       My              is the
                                          recollection is the United
                                                              United

17
17     Kingdom has
       Kingdom     about 20
               has about 20 or
                            or 30
                               30 medical
                                  medical schools of its
                                          schools of its own
                                                         own and
                                                             and

18
18     they're excellent
       they're excellent medical
                         medical schools.
                                 schools.

19
19          Q
            Q     Are you
                  Are     aware of
                      you aware of any
                                   any USAT
                                       USAT students
                                            students having been
                                                     having been

20
20     charged
       charged with irregular behavior?
               with irregular behavior?

21
21          A
            A     Yes.
                  Yes.

22
22          Q
            Q     In connection
                  In connection with this circumstance
                                with this              that we're
                                          circumstance that we're

23
23     discussing today?
       discussing today?

24
24          A
            A     Yes.
                  Yes.

25
25          Q
            Q     Who was
                  Who     that?
                      was that?




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1
1           A
            A     I'm not
                  I'm     at liberty
                      not at liberty to
                                     to say.
                                        say.

2
2                 THE
                  THE COURT:
                      COURT:    Respond to
                                Respond to the
                                           the question.
                                               question.

3
3                 THE WITNESS:
                  THE WITNESS:     The
                                   The one
                                       one student that told
                                           student that told me
                                                             me he'd made
                                                                he'd made

 4
 4     one call,
       one       a single
           call, a        call to
                   single call to the
                                  the ECFMG.
                                      ECFMG.        And on
                                                    And on the
                                                           the basis
                                                               basis of that
                                                                     of that

5
5      single
       single call,
              call, he
                    he was assigned irregular
                       was assigned irregular behavior.
                                              behavior.

6
6                 When he
                  When    applied to
                       he applied to take
                                     take the
                                          the Puerto Rico Medical
                                              Puerto Rico Medical Board
                                                                  Board

 7
 7     Exam, they
       Exam, they denied
                  denied him because of
                         him because    irregular behavior
                                     of irregular behavior on
                                                           on the
                                                              the

8
8      basis of
       basis of a
                a single phone call
                  single phone      to the
                               call to the ECFMG,
                                           ECFMG, when
                                                  when all
                                                       all he
                                                           he was
                                                              was

 9
 9     asking for is
       asking for is guidance
                     guidance on
                              on how to apply
                                 how to apply for
                                              for step
                                                  step one.
                                                       one.

10
10          Q
            Q     When did
                  When     that happen?
                       did that happen?

11
11          A
            A     A couple
                  A couple years ago.
                           years ago.

12
12          Q
            Q     Do
                  Do you
                     you have any understanding
                         have any understanding whether that --
                                                whether that -- was it
                                                                was it

13
13     all in connection
       all in connection with the circumstances
                         with the circumstances with
                                                with regard to where
                                                     regard to where

14
14     USAT
       USAT has
            has conducted its medical
                conducted its         education?
                              medical education?

15
15          A
            A     I am
                  I am not aware that
                       not aware that it
                                      it was
                                         was connected
                                             connected or
                                                       or not
                                                          not connected
                                                              connected

16
16     to that.
       to that.

17
17          Q
            Q     Do -- what
                  Do --      is that
                        what is that student's
                                     student's name?
                                               name?

18
18          A
            A     I don't
                  I don't know
                          know whether it was
                               whether it was connected
                                              connected or
                                                        or not,
                                                           not, but
                                                                but

19
19     that's --
       that's -- but
                 but --
                     --

20
20          Q
            Q     I'm sorry,
                  I'm sorry, doctor, I was
                             doctor, I was asking
                                           asking about the student's
                                                  about the student's

21
21     name?
       name?

22
22          A
            A     I mean,
                  I mean, I
                          I can't
                            can't give
                                  give you the student's
                                       you the           name.
                                               student's name.

23
23                THE
                  THE COURT:
                      COURT:    Respond to
                                Respond to the
                                           the question.
                                               question.

24
24     BY MS.
       BY MS. MCENROE:
              MCENROE:

25
25          Q
            Q     If you
                  If you know?
                         know?




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1
1           A
            A      Yeah, it'll come
                   Yeah, it'll      to me.
                               come to me.     I know
                                               I know his
                                                      his name, but it's
                                                          name, but it's a
                                                                         a

2
2      very long Spanish
       very long Spanish name.
                         name.

3
3           Q
            Q      Do
                   Do you
                      you have an understanding
                          have an understanding of
                                                of whether the action
                                                   whether the action

 4
 4     ECFMG took
       ECFMG took against
                  against you
                          you with
                              with respect to the
                                   respect to the allegation of
                                                  allegation of

5
5      irregular behavior
       irregular behavior prevents
                          prevents you from opening
                                   you from         a new
                                            opening a new medical
                                                          medical

6
6      school in the
       school in the British
                     British Virgin
                             Virgin Islands?
                                    Islands?

 7
 7          A
            A      Anyone can
                   Anyone     open a
                          can open a medical
                                     medical school if they
                                             school if they have the
                                                            have the

8
8      resources to do
       resources to do so.
                       so.

 9
 9          Q
            Q      Is it
                   Is it fair
                         fair to
                              to say
                                 say that
                                     that it
                                          it is
                                             is not preventing you
                                                not preventing     from
                                                               you from

10
10     opening a
       opening a new medical school
                 new medical school in
                                    in the
                                       the British
                                           British Virgin
                                                   Virgin Islands?
                                                          Islands?

11
11          A
            A      It doesn't
                   It         prevent us
                      doesn't prevent    from opening
                                      us from         it, but
                                              opening it,     it would
                                                          but it would

12
12     prevent
       prevent us from attracting
               us from attracting students.
                                  students.

13
13          Q
            Q      So
                   So you
                      you said --
                          said --

14
14          A
            A      There's
                   There's no
                           no chance that we
                              chance that we could
                                             could attract
                                                   attract students
                                                           students with
                                                                    with

15
15     that note
       that      on the
            note on the World
                        World Directory.
                              Directory.        That's only two-thirds
                                                That's only two-thirds of
                                                                       of

16
16     the note.
       the note.    The other third
                    The other third was
                                    was removed
                                        removed after the subpoenas
                                                after the subpoenas were
                                                                    were

17
17     delivered.
       delivered.

18
18                 MS. MCENROE:
                   MS. MCENROE:    Your
                                   Your Honor, I strike
                                        Honor, I strike as nonresponsive
                                                        as nonresponsive

19
19     to any
       to any question that was
              question that was pending.
                                pending.

20
20                 THE
                   THE COURT:
                       COURT:   It's --
                                It's -- I'm
                                        I'm not
                                            not going to strike
                                                going to strike it,
                                                                it, but
                                                                    but

21
21     would
       would you
             you please just answer
                 please just answer the
                                    the question?
                                        question?

22
22                 THE WITNESS:
                   THE WITNESS:    Would
                                   Would you
                                         you rephrase the question,
                                             rephrase the question, so I
                                                                    so I

23
23     can
       can understand it?
           understand it?

24
24                 MS. MCENROE:
                   MS. MCENROE:    So
                                   So I'm just trying
                                      I'm just trying to
                                                      to understand --
                                                         understand --

25
25                 THE
                   THE COURT:
                       COURT:   Let me just
                                Let me just ask
                                            ask a
                                                a series of questions.
                                                  series of questions.



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1
1                 MS. MCENROE:
                  MS. MCENROE:     Yeah, thank you,
                                   Yeah, thank you, Your
                                                    Your Honor.
                                                         Honor.

2
2                 THE
                  THE COURT:
                      COURT:     Are you
                                 Are     opening a
                                     you opening a new
                                                   new school in the
                                                       school in the

3
3      British Virgin
       British Virgin Islands?
                      Islands?

 4
 4                THE WITNESS:
                  THE WITNESS:     None in our
                                   None in our plan.
                                               plan.

5
5                 THE
                  THE COURT:
                      COURT:     And when
                                 And when you
                                          you say
                                              say our,
                                                  our, who is our?
                                                       who is our?

6
6                 THE WITNESS:
                  THE WITNESS:     The
                                   The university.
                                       university.

 7
 7                THE
                  THE COURT:
                      COURT:     So USAT?
                                 So USAT?

8
8                 THE WITNESS:
                  THE WITNESS:     USAT
                                   USAT would
                                        would sponsor it.
                                              sponsor it.

 9
 9                THE
                  THE COURT:
                      COURT:     USAT
                                 USAT will
                                      will sponsor the university
                                           sponsor the            in the
                                                       university in the

10
10     British Virgin
       British Virgin Islands?
                      Islands?

11
11                THE WITNESS:
                  THE WITNESS:     Yes,
                                   Yes, we
                                        we were invited about
                                           were invited       two years
                                                        about two years

12
12     ago to begin
       ago to begin claiming for this.
                    claiming for this.         But I
                                               But I mean,
                                                     mean, by
                                                           by British
                                                              British Virgin
                                                                      Virgin

13
13     Islands.
       Islands.

14
14                THE
                  THE COURT:
                      COURT:     And will
                                 And      the new
                                     will the new university
                                                  university be
                                                             be called
                                                                called

15
15     USAT?
       USAT?

16
16                THE WITNESS:
                  THE WITNESS:     No.
                                   No.

17
17                THE
                  THE COURT:
                      COURT:     What will
                                 What      it be
                                      will it be called?
                                                 called?

18
18                THE WITNESS:
                  THE WITNESS:     As far
                                   As far as I know,
                                          as I       it will
                                               know, it      be called
                                                        will be called the
                                                                       the

19
19     University of Health
       University of Health and
                            and Humanities,
                                Humanities, British
                                            British Virgin
                                                    Virgin Islands
                                                           Islands or
                                                                   or

20
20     the Virgin
       the Virgin Islands.
                  Islands.     You can
                               You     leave out
                                   can leave     the British.
                                             out the British.

21
21                THE
                  THE COURT:
                      COURT:     You indicated that
                                 You indicated that it
                                                    it would
                                                       would have
                                                             have

22
22     difficulty
       difficulty recruiting students?
                  recruiting students?

23
23                THE WITNESS:
                  THE WITNESS:     Yes.
                                   Yes.

24
24                THE
                  THE COURT:
                      COURT:     Well, when
                                 Well, when you
                                            you said that, were
                                                said that, were you
                                                                you

25
25     referring to USAT
       referring to      in Montserrat?
                    USAT in Montserrat?         Or were
                                                Or were you suggesting that
                                                        you suggesting that



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1      the new
       the     British Virgin
           new British Virgin Island
                              Island school
                                     school would
                                            would have
                                                  have difficulty
                                                       difficulty

2
2      recruiting
       recruiting students?
                  students?

3
3                 THE WITNESS:
                  THE WITNESS:     It would
                                   It would have
                                            have difficulty
                                                 difficulty recruiting
                                                            recruiting

 4
 4     students because of
       students because of the
                           the activities
                               activities with the sponsored
                                          with the sponsored note on
                                                             note on

5
5      the --
       the -- for
              for USAT Montserrat.
                  USAT Montserrat.

6
6                 THE
                  THE COURT:
                      COURT:     Well, the
                                 Well, the sponsor
                                           sponsor note is associated
                                                   note is associated with
                                                                      with

 7
 7     USAT,
       USAT, correct?
             correct?

8
8                 THE WITNESS:
                  THE WITNESS:     That's
                                   That's correct.
                                          correct.

 9
 9                THE
                  THE COURT:
                      COURT:     So what
                                 So      is your
                                    what is your understanding
                                                 understanding about
                                                               about how
                                                                     how

10
10     that note
       that note can
                 can connect
                     connect with the British
                             with the British Virgin
                                              Virgin Islands?
                                                     Islands?

11
11                THE WITNESS:
                  THE WITNESS:     Because the
                                   Because the ownership
                                               ownership of the new
                                                         of the new

12
12     university began with
       university began with USAT.
                             USAT.

13
13     BY MS.
       BY MS. MCENROE:
              MCENROE:

14
14           Q
             Q    Dr.
                  Dr. Tulp,
                      Tulp, do
                            do you
                               you have an understanding
                                   have an               -- you
                                           understanding -- you

15
15     testified a
       testified a little
                   little earlier
                          earlier about
                                  about some
                                        some graduates from USAT
                                             graduates from      being
                                                            USAT being

16
16     able to practice
       able to          medicine in
               practice medicine in Montserrat
                                    Montserrat and
                                               and other
                                                   other places
                                                         places

17
17     outside the
       outside the United States; is
                   United States; is that
                                     that correct?
                                          correct?

18
18           A
             A    Yes,
                  Yes, uh-huh.
                       uh-huh.

19
19           Q
             Q    Do
                  Do you
                     you have any understanding
                         have any understanding of
                                                of whether ECFMG is
                                                   whether ECFMG is at
                                                                    at

20
20     all involved in
       all involved in the
                       the licensure
                           licensure or
                                     or certification of those
                                        certification of those

21
21     graduates?
       graduates?

22
22           A
             A    In 2005,
                  In       there were
                     2005, there      not.
                                 were not.       The body there
                                                 The body there is
                                                                is the
                                                                   the CAAM
                                                                       CAAM

23
23     C exam, the
       C exam, the Caribbean Medical Board
                   Caribbean Medical Board Exam.
                                           Exam.          If they
                                                          If they were to
                                                                  were to

24
24     apply today,
       apply today, they
                    they would
                         would not
                               not be
                                   be able to.
                                      able to.

25
25           Q
             Q    And that's
                  And that's a
                             a decision of the
                               decision of the Montserratian
                                               Montserratian



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1
1      government?
       government?

2
2            A
             A    No, that's a
                  No, that's a decision of the
                               decision of the ECFMG,
                                               ECFMG, because
                                                      because the
                                                              the ECFMG
                                                                  ECFMG

3
3      sponsor
       sponsor note applies to
               note applies to the
                               the United
                                   United States
                                          States of America, but
                                                 of America,     the
                                                             but the

 4
 4     ECFMG cooperates
       ECFMG cooperates with virtually every
                        with virtually every medical board in
                                             medical board in the
                                                              the

5
5      world.
       world.

6
6            They all refer
             They all       to your
                      refer to your services.
                                    services.        I've seen
                                                     I've seen documents that
                                                               documents that

 7
 7     you
       you have
           have sent to me
                sent to me to
                           to certify from Australia,
                              certify from Australia, from
                                                      from Denmark,
                                                           Denmark,

8
8      from other
       from other countries, from any
                  countries, from any other -- and
                                      other -- and Canada.
                                                   Canada.           Canada
                                                                     Canada has
                                                                            has

 9
 9     already
       already suspended access for
               suspended access for USAT
                                    USAT graduates
                                         graduates based
                                                   based on the ECFMG
                                                         on the ECFMG

10
10     sponsoring
       sponsoring note.
                  note.

11
11           Q
             Q    Dr.
                  Dr. Tulp,
                      Tulp, has
                            has USAT sought accreditation
                                USAT sought               to be
                                            accreditation to be a
                                                                a U.S.
                                                                  U.S.

12
12     medical school?
       medical school?

13
13           A
             A    No, it has
                  No, it has not.
                             not.

14
14                MS. MCENROE:
                  MS. MCENROE:     I have
                                   I have nothing further, Your
                                          nothing further,      Honor.
                                                           Your Honor.

15
15                THE
                  THE COURT:
                      COURT:     Redirect and
                                 Redirect and cross
                                              cross of Ms. McEnroe's
                                                    of Ms. McEnroe's

16
16     direct?
       direct?

17
17                                CROSS-EXAMINATION
                                  CROSS-EXAMINATION

18
18     BY MR.
       BY MR. SWATE:
              SWATE:

19
19           Q
             Q    Doctor?
                  Doctor?

20
20           A
             A    Yeah.
                  Yeah.

21
21           Q
             Q    As we
                  As we sit
                        sit here in this
                            here in this room today, is
                                         room today, is USAT a licensed
                                                        USAT a licensed

22
22     medical school
       medical        by Montserrat?
               school by Montserrat?

23
23           A
             A    Yes, it is.
                  Yes, it is.

24
24           Q
             Q    And also,
                  And also, is
                            is there
                               there another
                                     another entity
                                             entity other than
                                                    other than

25
25     Montserrat that
       Montserrat that licensed
                       licensed --
                                -- that
                                   that accredits
                                        accredits USAT?
                                                  USAT?




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1
1            A
             A    Yes, the ASIC
                  Yes, the ASIC in
                                in the
                                   the U.K., the accrediting
                                       U.K., the             system for
                                                 accrediting system for

2
2      international schools,
       international schools, colleges,
                              colleges, and
                                        and universities except --
                                            universities except -- and
                                                                   and

3
3      that's an
       that's an institutional
                 institutional accreditation
                               accreditation as opposed to
                                             as opposed to a
                                                           a

 4
 4     programmatic accreditation.
       programmatic accreditation.

5
5            Q
             Q    And --
                  And --

6
6            A
             A    But we're
                  But       also accredited
                      we're also accredited by the AICP,
                                            by the AICP, which is in
                                                         which is in

 7
 7     the United
       the        States.
           United States.     That's the American
                              That's the American Institute
                                                  Institute for
                                                            for Clinical
                                                                Clinical

8
8      Psychotherapy.
       Psychotherapy.     And also
                          And also by
                                   by the
                                      the American
                                          American Association
                                                   Association for
                                                               for Higher
                                                                   Higher

 9
 9     Education and
       Education and Accreditation.
                     Accreditation.            And that
                                               And that latter
                                                        latter one is also
                                                               one is also

10
10     institutional.
       institutional.

11
11           Q
             Q    Is the
                  Is the ECFMG
                         ECFMG an
                               an accrediting agent of
                                  accrediting agent of a
                                                       a medical
                                                         medical

12
12     school?
       school?

13
13                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.       Foundation.
                                                                Foundation.

14
14                THE
                  THE COURT:
                      COURT:     You
                                 You can answer the
                                     can answer the question.
                                                    question.

15
15                THE WITNESS:
                  THE WITNESS:     I may
                                   I may answer?
                                         answer?

16
16                THE
                  THE COURT:
                      COURT:     Go ahead.
                                 Go ahead.

17
17                THE WITNESS:
                  THE WITNESS:     No, the ECFMG
                                   No, the ECFMG is
                                                 is not
                                                    not an accrediting
                                                        an accrediting

18
18     body.
       body.

19
19     BY MR.
       BY MR. SWATE:
              SWATE:

20
20           Q
             Q    But they
                  But they acted
                           acted as
                                 as an
                                    an accrediting
                                       accrediting body,
                                                   body, correct?
                                                         correct?

21
21           A
             A    Yes, they do.
                  Yes, they do.

22
22           Q
             Q    Essentially what
                  Essentially      -- let's
                              what -- let's go through the
                                            go through the process
                                                           process of
                                                                   of

23
23     what
       what was
            was happening to students
                happening to students who
                                      who were
                                          were sending in requests
                                               sending in          for
                                                          requests for

24
24     information from
       information from the
                        the ECFMG,
                            ECFMG, based on your
                                   based on your knowledge
                                                 knowledge of
                                                           of what
                                                              what was
                                                                   was

25
25     happening?
       happening?




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1            A
             A    They
                  They were told they
                       were told they should
                                      should transfer
                                             transfer it
                                                      it to
                                                         to another
                                                            another

2
2      medical school
       medical        immediately.
               school immediately.         They
                                           They were told that
                                                were told that they
                                                               they had to
                                                                    had to

3
3      complete those affidavits
       complete those affidavits or they could
                                 or they could be assigned irregular
                                               be assigned irregular

 4
 4     behavior or
       behavior or be
                   be fined
                      fined --
                            -- alleged
                               alleged for
                                       for perjury.
                                           perjury.

5
5                 There are various
                  There are various penalties
                                    penalties for
                                              for someone
                                                  someone who may have
                                                          who may have

6
6      graduated 10 years
       graduated 10       ago and
                    years ago and may
                                  may or
                                      or may
                                         may or
                                             or not
                                                not remember the exact
                                                    remember the exact

 7
 7     dates that they
       dates that they started
                       started school.
                               school.

8
8            Q
             Q    If you
                  If you know,
                         know, what
                               what was being --
                                    was being -- what
                                                 what was
                                                      was happening to
                                                          happening to

 9
 9     the students
       the students who
                    who didn't
                        didn't send in the
                               send in the affidavit, their records?
                                           affidavit, their records?

10
10     What was
       What was happening to their
                happening to their records, if you
                                   records, if you know?
                                                   know?

11
11           A
             A    Those
                  Those records are frozen
                        records are frozen and they cannot
                                           and they cannot proceed any
                                                           proceed any

12
12     farther until
       farther       they complete
               until they complete the
                                   the affidavits.
                                       affidavits.

13
13           Q
             Q    What's the
                  What's the effect
                             effect of
                                    of having frozen records
                                       having frozen         from the
                                                     records from the

14
14     ECFMG?
       ECFMG?

15
15           A
             A    You
                  You cannot proceed to
                      cannot proceed to the
                                        the residency
                                            residency or licensure.
                                                      or licensure.

16
16           Q
             Q    These letters that
                  These letters that they
                                     they presented
                                          presented here today, did
                                                    here today, did

17
17     they present
       they         those letters
            present those letters to
                                  to you?
                                     you?

18
18           A
             A    No, they do
                  No, they do not.
                              not.

19
19           Q
             Q    Let me finish
                  Let me finish my
                                my question.
                                   question.

20
20           A
             A    Oh.
                  Oh.

21
21           Q
             Q    It --
                  It -- by
                        by someone from the
                           someone from the USFMG in the
                                            USFMG in the hearing?
                                                         hearing?

22
22           A
             A    No, they do
                  No, they do not.
                              not.

23
23           Q
             Q    They
                  They didn't
                       didn't give
                              give you an opportunity
                                   you an             to respond
                                          opportunity to         to
                                                         respond to

24
24     those letters,
       those letters, did they?
                      did they?

25
25           A
             A    No, they do
                  No, they do not.
                              not.




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1
1            Q
             Q    And one
                  And one of
                          of the
                             the letters
                                 letters is
                                         is obviously
                                            obviously written by
                                                      written by

2
2      someone other than
       someone other than you?
                          you?

3
3            A
             A    Yes.
                  Yes.

 4
 4                MS. MCENROE:
                  MS. MCENROE:     Objection,
                                   Objection, Your
                                              Your Honor.
                                                   Honor.      Foundation.
                                                               Foundation.

5
5      And is
       And is that
              that a
                   a question?
                     question?

6
6                 THE
                  THE COURT:
                      COURT:     Sustained.
                                 Sustained.

 7
 7     BY MR.
       BY MR. SWATE:
              SWATE:

8
8            Q
             Q    Appendix H,
                  Appendix H, do
                              do you
                                 you have that in
                                     have that in front
                                                  front of
                                                        of you?
                                                           you?

 9
 9           A
             A    What page
                  What page would that be?
                            would that be?

10
10           Q
             Q    I don't
                  I don't know, I just
                          know, I just have exhibit that
                                       have exhibit that --
                                                         -- it
                                                            it would be
                                                               would be

11
11     one of
       one of the
              the last
                  last letters
                       letters she
                               she showed
                                   showed you.
                                          you.

12
12                MR. SWATE:
                  MR. SWATE:     Your Honor, can
                                 Your Honor,     I approach
                                             can I approach the
                                                            the witness?
                                                                witness?

13
13                THE
                  THE COURT:
                      COURT:     You may.
                                 You may.

14
14                THE WITNESS:
                  THE WITNESS:     Yeah.
                                   Yeah.

15
15                MR. SWATE:
                  MR. SWATE:     I'm going
                                 I'm       to show
                                     going to show you
                                                   you what's the what
                                                       what's the      I
                                                                  what I

16
16     have is it's
       have is it's right
                    right here, Appendix H.
                          here, Appendix H.         And on
                                                    And    the back
                                                        on the back of that,
                                                                    of that,

17
17     there's a
       there's a letter
                 letter supposedly
                        supposedly from
                                   from you.
                                        you.         Would you
                                                     Would you read the last
                                                               read the last

18
18     sentence of that
       sentence of that letter?
                        letter?

19
19                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, this was
                                        Honor, this was a letter was
                                                        a letter was not
                                                                     not

20
20     authenticated --
       authenticated --

21
21                THE
                  THE COURT:
                      COURT:     Yeah.
                                 Yeah.

22
22                MS. MCENROE:
                  MS. MCENROE:     -- and
                                   -- and not
                                          not admitted into evidence.
                                              admitted into evidence.

23
23                THE
                  THE COURT:
                      COURT:     Yeah, this document
                                 Yeah, this document was
                                                     was not
                                                         not admitted.
                                                             admitted.          So
                                                                                So

24
24     therefore, any
       therefore, any questioning
                      questioning about it is
                                  about it is not appropriate.
                                              not appropriate.

25
25                MR. SWATE:
                  MR. SWATE:     I'm not
                                 I'm     questioning the
                                     not questioning the letter
                                                         letter or
                                                                or



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1
1      anything it stands
       anything it        for.
                   stands for.       I'm
                                     I'm requesting other than
                                         requesting other than redirect, as
                                                               redirect, as

2
2      a cross
       a       of her
         cross of her redirect?
                      redirect?       Because obviously,
                                      Because obviously, the
                                                         the letter
                                                             letter is
                                                                    is not
                                                                       not

3
3      from him.
       from him.

 4
 4                 THE
                   THE COURT:
                       COURT:    Right on
                                 Right on direct,
                                          direct, there
                                                  there was the talk
                                                        was the talk about
                                                                     about

5
5      authentication and admissibility.
       authentication and admissibility.        And it
                                                And it was
                                                       was determined
                                                           determined during
                                                                      during

6
6      that examination
       that examination that
                        that it
                             it was
                                was not from him.
                                    not from him.          So therefore,
                                                           So therefore, it
                                                                         it

 7
 7     was
       was not admitted.
           not admitted.

8
8                  MR. SWATE:
                   MR. SWATE:    Okay, thank
                                 Okay, thank you.
                                             you.

 9
 9     BY MR.
       BY MR. SWATE:
              SWATE:

10
10           Q
             Q     Now they talked
                   Now they talked a
                                   a little
                                     little bit
                                            bit about this CAAM
                                                about this CAAM

11
11     accreditation.
       accreditation.

12
12           A
             A     Right.
                   Right.

13
13           Q
             Q     When does
                   When      that have
                        does that      to be
                                  have to    in place?
                                          be in place?

14
14           A
             A     2023.
                   2023.

15
15           Q
             Q     It doesn't
                   It doesn't have to be
                              have to be in
                                         in place
                                            place now,
                                                  now, does it?
                                                       does it?

16
16           A
             A     No.
                   No.

17
17           Q
             Q     Have
                   Have you
                        you got a valid
                            got a valid license
                                        license from
                                                from Montserrat?
                                                     Montserrat?

18
18           A
             A     That is correct.
                   That is correct.

19
19           Q
             Q     At this
                   At this time?
                           time?

20
20           A
             A     That is correct.
                   That is correct.

21
21           Q
             Q     In 2023,
                   In       it's going
                      2023, it's       to be
                                 going to    like Cinderella?
                                          be like Cinderella?

22
22           A
             A     Yeah.
                   Yeah.

23
23                 MS. MCENROE:
                   MS. MCENROE:    Objection.
                                   Objection.

24
24                 THE
                   THE COURT:
                       COURT:    Sustained.
                                 Sustained.

25
25     BY MR.
       BY MR. SWATE:
              SWATE:



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1
1            Q
             Q    Okay.
                  Okay.

2
2            A
             A    In 2023,
                  In 2023, we'll
                           we'll have it done.
                                 have it done.

3
3                 THE
                  THE COURT:
                      COURT:     So if
                                 So if I
                                       I sustain an objection,
                                         sustain an objection, you
                                                               you do
                                                                   do not
                                                                      not

 4
 4     answer the question.
       answer the question.

5
5                 THE WITNESS:
                  THE WITNESS:     So.
                                   So.

6
6      BY MR.
       BY MR. SWATE:
              SWATE:

 7
 7           Q
             Q    Just one last
                  Just one last question
                                question and
                                         and I'll
                                             I'll pass the witness.
                                                  pass the witness.

8
8      And I
       And I believe
             believe I've
                     I've asked
                          asked you, but just
                                you, but just to
                                              to --
                                                 -- they
                                                    they presented
                                                         presented

 9
 9     none of this
       none of this evidence
                    evidence to
                             to the
                                the committee at the
                                    committee at the hearing,
                                                     hearing, did
                                                              did

10
10     they?
       they?

11
11           A
             A    No, they did
                  No, they did not.
                               not.

12
12                MR. SWATE:
                  MR. SWATE:     Pass.
                                 Pass.

13
13                THE
                  THE COURT:
                      COURT:     Now Ms. McEnroe,
                                 Now Ms. McEnroe, I
                                                  I believe
                                                    believe at
                                                            at this
                                                               this point,
                                                                    point,

14
14     it would
       it       be your
          would be your redirect
                        redirect of their cross?
                                 of their cross?

15
15                MS. MCENROE:
                  MS. MCENROE:     Your
                                   Your Honor, I have
                                        Honor, I have no further
                                                      no further

16
16     questions.
       questions.    Thank
                     Thank you.
                           you.

17
17                THE
                  THE COURT:
                      COURT:     You
                                 You can leave the
                                     can leave the stand.
                                                   stand.

18
18                Anyone else
                  Anyone else any
                              any other
                                  other witnesses?
                                        witnesses?         No.
                                                           No.

19
19           (Witness excused)
             (Witness excused)

20
20                MS. MCENROE:
                  MS. MCENROE:     Not from --
                                   Not from --

21
21                THE
                  THE COURT:
                      COURT:     Okay, from
                                 Okay, from Plaintiff,
                                            Plaintiff, any
                                                       any other
                                                           other

22
22     witnesses?
       witnesses?

23
23                MR. SWATE:
                  MR. SWATE:     Your Honor, before
                                 Your Honor, before we
                                                    we rest,
                                                       rest, we
                                                             we have
                                                                have some
                                                                     some

24
24     documents
       documents we'd like to
                 we'd like to put into evidence.
                              put into evidence.

25
25                THE
                  THE COURT:
                      COURT:     Well, do
                                 Well, do you
                                          you have
                                              have a
                                                   a witness
                                                     witness who
                                                             who can --
                                                                 can --




                                   SAppx0510
                                   SAppx051 0
